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                                Exhibit B

        Appendix of Exhibits to Amended Complaint

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                                EXHIBIT 1

                  The Parties Where Volunteers Pack
                  Abortion Pills for Red-State Women
                                  - WSJ




                                                                  App. 000001
9/17/24, 11:10 AM                                                The Parties Where Volunteers Pack Abortion Pills for Red-State Women - WSJ
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  https://www.wsj.com/us-news/abortion-pill-parties-shipping-148e3c15



                             The Parties Where Volunteers Pack Abortion Pills
                                          for Red-State Women
                           Amid risks, volunteers are mobilizing to assist networks that mail abortion medication
                                                    to women in states with strict limits


  By Scott Calvert              Follow       | Photographs by Kayana Szymczak for WSJ
  Aug. 12, 2024 9:00 pm ET



  SOMERVILLE, Mass.—The women huddling around the conference table shuttled the small cardboard boxes
  along, assembly-line style. Into each went medical-information paperwork and a handwritten note proclaiming,
  “We wish you the best!” Then came the critical addition, a two-drug regimen that ends a pregnancy.

  This tiny Boston-area office represents a new bulwark in America’s abortion battle. Volunteers are mobilizing
  with growing frequency for pill-packing parties to help strangers in faraway states circumvent strict laws. On a
  recent Monday evening, the group filled 350 boxes—in-home abortion kits ready for mailing to women in states
  such as Texas and Florida with near-total or six-week abortion bans.

  Melissa Fischer, a 57-year-old internist, sees these efforts as a way to assist people tripped up by geography. “I
  strongly believe where somebody lives shouldn’t dictate their access to critical healthcare,” she said.

  Retirees and professionals ate pizza, sipped Chardonnay in red plastic cups and chatted while working
  purposefully. Many portray the sessions as a tangible way to push back against the 2022 Supreme Court ruling
  that eliminated a constitutional right to abortion.

  “It’s a little bit of an antidote to hopelessness,” said Judy Fleishman, 70, a medical educator. “There’s something
  you can do.”




  Women prepare in-home abortion kits at a ‘pill-packing party’ at the MAP’s offices.


  Growing urgency

                                                                                                                                            App. 000002
https://www.wsj.com/us-news/abortion-pill-parties-shipping-148e3c15                                                                                                   1/6
9/17/24, 11:10 AM                                   The Parties Where Volunteers Pack Abortion Pills for Red-State Women - WSJ
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  The parties support the Massachusetts Medication Abortion Access Project, also known as the MAP, part of a
  growing movement to send abortion pills into ban states, often for just a few dollars. The nearly year-old MAP,
  like similar programs, leverages a state shield law meant to protect clinicians from legal jeopardy, including
  extradition. Massachusetts is among eight states with such laws.

                                                         These operations are intensifying amid more heated political debates.
                                                         Vice President Kamala Harris is spotlighting abortion rights in her
                                                         presidential bid, while Republicans struggle to articulate a winning
                                                         message.

                                                         From July 2023 to March, shield-law groups provided more than
                                                         68,000 abortion kits by mail to residents in states with tight limits on
                                                         the procedure or telemedicine, according to WeCount, an abortion-
                                                         data project sponsored by the Society of Family Planning, which backs
                                                         abortion rights.

                                                         Shield-law providers accounted for about 9,500 medication abortions
                                                         in March, up from 5,620 in July 2023, WeCount says.

                                                         “I think as long as we see states that are passing more and more
                                                         restrictions, we’re going to see these numbers continue to grow,” said
                                                         WeCount co-chair Ushma Upadhyay, a professor at the University of
                                                         California at San Francisco.




  Patient packages include two abortion medications, instructions and additional information.

  Abortions reached nearly 100,000 nationwide in March, up from 84,000 in May 2022, according to WeCount,
  despite 18 states imposing near-total or six-week bans. Medication abortions now outnumber surgical
  procedures. Nearly 20% of all abortions are via drugs sent by mail, including from bricks-and-mortar clinics.

  So far, efforts targeting telemedicine abortions have failed. The Supreme Court in June rejected a bid to restrict
  access to mifepristone, one of the two abortion drugs. Some Republicans in Congress, including vice presidential
  nominee JD Vance, have called for enforcing the 1873 Comstock Act, a federal law barring the shipping of
  abortion drugs. More recently Vance has said the issue should be left to states.


  Risk and pushback
                                                                                                                        App. 000003
https://www.wsj.com/us-news/abortion-pill-parties-shipping-148e3c15                                                                   2/6
9/17/24, 11:10 AM                                   The Parties Where Volunteers Pack Abortion Pills for Red-State Women - WSJ
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  MAP co-founder Angel Foster said the pill-packing parties are essential to its operations.

  Still, legal experts say there are risks for those involved in mailing pills to states with bans.

  Angel Foster, 50, a doctor who helped launch the MAP last fall, trusts the Massachusetts shield law. But because
  it doesn’t apply in other states, she won’t visit her mother and stepfather in South Carolina and avoids flights
  that require stopovers in Texas.

  Maureen Paul, the MAP’s medical director, doesn’t feel safe visiting her brother in Florida, where a six-week ban
  took effect in May. “We are no strangers to risk. I’ve had my home picketed, I’ve had death threats,” she said.
  “But we’re not fearful, we’re not paralyzed. We’re determined to act.”

  Frustrated officials in states with stringent laws can’t disrupt the mail, but some are warning providers.
  Arkansas Attorney General Tim Griffin, a Republican, demanded two entities in May stop helping state residents
  get the pills, asserting such actions violate Arkansas law.

  One warning went to Choices Women’s Medical Center in New York, which doesn’t mail pills but removed from
  its website wording about Arkansans taking clinic-provided pills at home. Founder Merle Hoffman said she
  thinks Griffin misunderstood how her clinic operates. A cease-and-desist letter also went to Aid Access, the
  largest shield-law provider, which disputes the allegations.




                                                                                                                        App. 000004
https://www.wsj.com/us-news/abortion-pill-parties-shipping-148e3c15                                                                   3/6
9/17/24, 11:10 AM                                   The Parties Where Volunteers Pack Abortion Pills for Red-State Women - WSJ
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  The Massachusetts Medication Abortion Access Project’s office in Somerville, Mass.

  Antiabortion groups say it is dangerous for women to take these pills without medical supervision. Providers
  say it’s safe and that they screen for potential problems.

  Pill-mailers are in new legal terrain. “No one has challenged any of these laws yet,” said Rachel Rebouché, dean
  of the Temple University Beasley School of Law. “Texas has not tried to prosecute [clinicians], they haven’t been
  sued, a medical board hasn’t tried to discipline them. That’s not to say those things aren’t possible.”

  In Massachusetts, Paul, a 74-year-old doctor, is one of four prescribers at the MAP. In 1968, pregnant at age 18,
  she couldn’t get a hospital abortion and feared seeking an illegal one. She carried to term and gave up her child
  for adoption, an experience she calls “deeply traumatic and defining.”

  Launched last fall, the MAP is a project of Cambridge Reproductive Health Consultants, a nonprofit co-founded
  by Foster that has worked to boost medication abortion access in countries including Thailand, Pakistan and
  Uganda—and saw a need for similar work in the U.S. MAP harnesses websites like plancpills.org to get the word
  out to women nationwide. Prospective patients fill out intake forms online and mainly correspond by email,
  although some talk by phone with Foster or a prescriber.

  The program accepts patients up to the 11th week of pregnancy, aiming to get pills to them by 12 weeks. Most are
  earlier than nine weeks, Foster said. Despite a $250 list price, patients pay about $130 on average; a third pay
  $25 or less.


  The 6 p.m. party




                                                                                                                        App. 000005
https://www.wsj.com/us-news/abortion-pill-parties-shipping-148e3c15                                                                   4/6
9/17/24, 11:10 AM                                   The Parties Where Volunteers Pack Abortion Pills for Red-State Women - WSJ
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  Tote bags containing the MAP’s patient packages are carried to a post office for mailing.

  At the MAP’s office, before the recent pill-packing party, Foster read aloud comments women shared on intake
  forms. A Nebraska mother wrote: “I was using protection, but it failed, and I cannot afford to have another child
  right now.” A Florida woman with a diabetic 5-year-old said: “I am struggling to pay my bills, and I’m not
  mentally ready to bring another child into my life yet.”

  Nearby, a MAP staffer printed address labels for 45 boxes of pills before packing them into tote bags for the trip
  to the post office. They were bound for 19 states, including Texas, Georgia and Florida.

  Around 6 p.m., the volunteers filed in from work or home to replenish the supply of preloaded boxes. The
  gatherings jumped from monthly to twice-monthly in July, the MAP’s busiest month with 560 boxes shipped,
  and are set to go weekly this fall.

  Sonia Dettmann, 81, a retired clinical social worker, hasn’t missed any. “I feel that abortion care is healthcare,
  and this is one way of supporting healthcare for folks from states where abortion is banned. It’s that simple,” she
  said as she dropped mifepristone cartons into each box.




  A handwritten card is included with each MAP package.

  Another regular, Erin Gately, 47, likes to write notes in gold ink for “a little extra touch.” An OB-GYN nurse
  practitioner, she sees “the challenges that come with an unplanned pregnancy and, whether somebody decides
  to continue with that unplanned pregnancy or not, it’s their choice.”

  As boxes circulated around the table, conversation pinged from the Paris Olympics to a promising birth-control
  gel for men. Amid upbeat banter, the crew kept their production line humming. Though they fell short of Foster’s
                                                                                                                        App. 000006
https://www.wsj.com/us-news/abortion-pill-parties-shipping-148e3c15                                                                   5/6
9/17/24, 11:10 AM                                   The Parties Where Volunteers Pack Abortion Pills for Red-State Women - WSJ
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  goal of packing 475 boxes, she assured them 350 was more than fine.
                                                                                                 Page 10 of 467 PageID 9506

  “I am very impressed with us,” she said.

  Write to Scott Calvert at scott.calvert@wsj.com

  Appeared in the August 13, 2024, print edition as 'Abortion Fight Has New Front: Pill Parties'.




                                                                                                                        App. 000007
https://www.wsj.com/us-news/abortion-pill-parties-shipping-148e3c15                                                                   6/6
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                               EXHIBIT 2

      FDA, Center for Drug Evaluation and Research,
           Summary Review of 020687Orig1s020




                                                                   App. 000008
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    CENTER FOR DRUG EVALUATION AND
               RESEARCH

                      APPLICATION NUMBER:


                       020687Orig1s020

                    SUMMARY REVIEW




                                                                   App. 000009
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                            Summary Review for Regulatory Action

              Date                                March 29, 2016
              Subject                             Summary Review
              NDA #/Supplement #                  20687/S-020
              Applicant name                      Danco Laboratories, LLC
              Date of submission                  May 28, 2015
              Date of submission receipt          May 29, 2015
              PDUFA goal date                     March 29, 2016
              Proprietary name/established name   Mifeprex/mifepristone
              Dosage form/strength                Oral tablet/200 mg
              Dosage regimen                      Mifeprex 200 mg tablet orally followed in 24-48
                                                  hours by 800 mcg buccal misoprostol
              Proposed indication                 Mifeprex is a progestin antagonist indicated, in a
                                                  regimen with misoprostol, for the medical
                                                  termination of intrauterine pregnancy through 70
                                                  days gestation
              Action                              Approval




                                                     1
                                                                                         App. 000010
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              1. Introduction
              2. Background
              3. CMC
              4. Nonclinical Pharmacology/Toxicology
              5. Clinical Pharmacology
              6. Clinical Microbiology
              7. Efficacy/Statistics
              8. Safety
              9. Advisory Committee Meeting
              10. Pediatrics
              11. Other Relevant Regulatory Issues
              12. Labeling
              13. Decision/Action/Risk Benefit Assessment

              1. Introduction

              Danco Laboratories, LLC, referred to hereafter as the Applicant, submitted an efficacy
              supplement (S-020) to NDA 20687 for Mifeprex (mifepristone). The Applicant sought
              the following changes to its approved application:
                  1.                                     Decrease mifepristone dose from 600 to 200 mg,
                                                 (b) (4)


                      followed by misoprostol at a dose increased from 400 mcg to 800 mcg,
                      administered buccally instead of orally; see below:
                      • Day One: Mifeprex Administration (oral)
                             One 200 mg tablet of Mifeprex is taken in a single oral dose
                      • After a 24-48 hour interval: Misoprostol Administration (buccal)(minimum
                          24-hour interval between Mifeprex and misoprostol)
                             Four 200 mcg tablets (total dose: 800 mcg) of misoprostol are taken by the
                             buccal route

                  2. Removal of the instruction that administration of misoprostol must be done in-
                      clinic, to allow for administration at home or other location convenient for the
                      woman
                  3. Administration of misoprostol at 24-48 hours instead of 48 hours after Mifeprex
                  4. Follow-up, although still needed, not restricted to in clinic at 14 days after
                      Mifeprex
                  5. Increase in the maximum gestational age from 49 days to 70 days
                  6. Change of the labeled time for expected expulsion of pregnancy from 4-24 hours
                      to 2-24 hours post misoprostol administration
                  7. Addition that a repeat 800 mcg buccal dose of misoprostol may be used if needed
                  8. Change of “physician” to “healthcare provider” in the label and Risk Evaluation
                      and Mitigation Strategies (REMS) document
                  9. Change in the indication statement to add reference to use of misoprostol:
                      “Mifeprex is indicated, in a regimen with misoprostol, for the medical termination
                      of pregnancy through 70 days gestation.”
                  10. Removal of references to “under Federal law” from the Prescriber’s Agreement
                      under the REMS


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                  11. Labeling changes addressing the pediatric requirements under the Pediatric
                      Research Equity Act

              This efficacy supplement submission includes information from published studies, review
              articles and additional information from the authors of some of the publications. These
              published studies evaluated reproductive age women in the U.S. and outside the U.S. who
              had early medical termination with mifepristone, in a regimen with misoprostol,
              including women up through 70 days of gestation.

              This memorandum serves as the Division’s decisional memorandum for the efficacy
              supplement.

              2. Background

              The active ingredient of Mifeprex, mifepristone, is a progestin antagonist. Mifeprex, in a
              regimen with misoprostol, is approved for the medical termination of pregnancy up
              through 49 days’ gestation. The approved dosing regimen is currently labeled as follows:
                  • Day 1: The patient takes three 200 mg tablets of Mifeprex in a single oral dose in
                     the clinic, medical office, or hospital.
                  • Day 3: The patient returns to the clinic, medical office, or hospital and takes two
                     200 mcg tablets of misoprostol orally.
                  • Day 14: The patient returns for a follow-up visit to confirm that a complete
                     termination has occurred.

              At the time of the September, 2000 approval, FDA restricted distribution of Mifeprex
              under 21 CFR 314.520, requiring that Mifeprex be dispensed only by or under the
              supervision of a physician who meets certain qualifications. With the passage of
              FDAAA in 2007, Mifeprex was deemed to have in effect an approved REMS. The
              Applicant submitted a formal REMS, which was approved on June 8, 2011 and consisted
              of the following: a Medication Guide, elements to assure safe use (ETASU A [special
              certification of healthcare providers who prescribe Mifeprex], ETASU C [dispensing
              only in certain healthcare settings], and ETASU D [safe use condition of a signed Patient
              Agreement]), an implementation system and a timetable for assessments. The goals of the
              REMS were 1) To provide information to patients about the benefits and risks of
              Mifeprex before they make a decision whether to take the drug and 2) To minimize the
              risk of serious complications by requiring prescribers to certify that they are qualified to
              prescribe Mifeprex and are able to assure patient access to appropriate medical facilities
              to manage any complications. The REMS for Mifeprex incorporated the restrictions
              under which the drug was originally approved.

              Since 2011, the Applicant has submitted two REMS assessment reports. The Agency
              review of these reports determined that the REMS goals were being met and that no
              modifications were required to the REMS at that time.




                                                           3
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              FDA held a pre-NDA meeting with the Applicant on January 29, 2015, to discuss
              proposed labeling and REMS changes to be submitted in this efficacy supplement. These
              changes were submitted with the efficacy supplement.

              The Applicant submitted published literature and supportive information to support
              changes to the dose, dosing regimen, gestational age, revisions to labeling, modifications
              to the REMS document, and to address PREA requirements. The Agency accepts the use
              of peer reviewed literature as primary data for an application under the framework of a
              505(b)(2) application.

              3. CMC

              No new CMC information was submitted with this efficacy supplement. The CMC team
              determined no additional review or inspections were required. The CMC team completed
              a review of the labeling and found the CMC sections of labeling (sections 3, 11 and 16)
              acceptable (See review dated March 29, 2016). The CMC review team recommends
              approval of the efficacy supplement; refer also to the CMC review of the separate
              supplement proposing a single tablet blister pack for Mifeprex, dated January 11, 2016.
              There are no outstanding CMC issues or postmarketing commitments or requirements.

              Comment: On March 10, 2016, a separate CMC supplement was approved that allowed
              the packaging of individual 200 mg tablets of mifepristone; previously packaging
              consisted of three 200 mg tablets per blister pack (a total of 600 mg Mifeprex as
              administered under the originally approved dosing regimen).

              4. Nonclinical Pharmacology/Toxicology

              No new nonclinical information was submitted in this supplement. The
              Pharmacology/Toxicology team revised labeling to conform to the Pregnancy and
              Lactation Labeling Rule. There are no outstanding nonclinical issues. The
              Pharmacology/Toxicology review team recommends approval of the efficacy
              supplement; refer to the Pharmacology/Toxicology review dated March 4, 2016.

              5. Clinical Pharmacology

              The Applicant did not conduct any new clinical pharmacology studies pertaining to the
              proposed                  regimen, but provided information on pharmacokinetics (PK) of
                                (b) (4)


              misoprostol following various routes of administration. The PK of the 200 mg Mifeprex
              tablet has not been characterized in women, but data are available in men and were
              submitted in the original NDA. The Clinical Pharmacology review team determined that
              the PK data were appropriate for inclusion in labeling. Review of the labeling pertinent
              to the Clinical Pharmacology sections is complete and labeling relevant to
              pharmacokinetics and pharmacodynamics is acceptable. There are no outstanding
              Clinical Pharmacology issues or postmarketing commitments or requirements. The
              clinical pharmacology review team recommends approval of the efficacy supplement;
              refer to the Clinical Pharmacology review dated March 29, 2016.



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              6. Clinical Microbiology

              Not applicable.

              7. Efficacy/Statistics

              The Applicant submitted published literature as the primary evidence to support the
              efficacy (and safety) of the proposed dosing regimen (refer to the Clinical Review dated
              March 29, 2016, Section 9.5 for a list of submitted references). Most published articles
              submitted by the Applicant and reviewed by the clinical review team reported the
              primary efficacy endpoint as complete termination of pregnancy without further medical
              or surgical intervention; the Division considers this to be a clinically relevant endpoint.

              The majority of the publications included a statement that the study was conducted under
              institutional review board (IRB) or Ethical Review Committee approval and the women
              gave informed consent. The clinical review team concluded that the published literature
              was adequate as the primary information source to support the changes proposed in the
              efficacy supplement. During the course of the review, the team also requested and
              received more detailed information from select publications from their authors via
              communication with the Applicant.

              Although there were slight demographic differences among the published studies from
              the database, these differences were not expected to alter the efficacy or safety of
              Mifeprex. Therefore, for the majority of the proposed efficacy changes, the clinical team
              assessed efficacy information from a subset of publications that evaluated a given
              proposed change. An independent statistical review was not needed for this review of
              published literature.

              The clinical review team identified several major proposed clinical changes in the
              efficacy supplement. As these major changes are interrelated, in some cases data from a
              given study were relied on to provide evidence to support multiple changes. These major
              changes as considered by the clinical team included:
                  1. A proposed dosing regimen consisting of mifepristone 200 mg orally followed by
                      the buccal administration of 800 mcg misoprostol including:
                          a. Use of a revised interval between mifepristone and misoprostol from 48
                              hours to 24-48 hours
                          b. Allowing home administration of misoprostol
                          c. Use of an additional dose of misoprostol
                  2. Support for extending the gestation age through 70 days
                  3. Flexibility in follow-up visit: follow-up is needed in the range of 7-14 days after
                      Mifeprex administration; the specific nature and exact timing of the follow-up to
                      be agreed upon by the healthcare provider and patient.
                  4. Change in who can provide Mifeprex from physician to healthcare provider who
                      prescribes




                                                           5
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              The following section summarizes the clinical review team’s evaluations that supported
              the above proposed changes:

                  1. Support for the proposed dose and dosing regimen of 200 mg of Mifeprex orally
                     and 800 mcg of misoprostol buccally 24-48 hours after Mifeprex administration:
                     The clinical review team reviewed the submission and identified studies and
                     review articles that evaluated over 35,000 women who were treated with efficacy
                     in the 91-98% range. For additional details on the efficacy from these studies,
                     please refer to Section 6 of the Clinical Review.

                  2. Support for extending the gestational age to 70 days:
                     The Applicant submitted a number of published articles and systematic reviews
                     that supported the proposed dose and dosing regimen. Four studies and one
                     systematic review evaluated the exact proposed dosing regimen through 70 days
                     gestation. These include three prospective observational studies (Winikoff et al
                     2012 1, Boersma et al 2 , Sanhueza Smith et al 3) and one randomized controlled
                     trial (RCT) (Olavarrieta et al 4) that had a primary objective of evaluating medical
                     abortion provision by non-physicians. The systematic review by Chen and
                     Creinin 5 covered 20 studies including over 30,000 women; all but one of the
                     studies used the proposed regimen in gestations through 70 days (the remaining
                     study used 400 mcg of buccal misoprostol). For those publications that provided
                     overall success rates, these were in the range of 97-98%. Other relevant
                     publications include the systematic review by Raymond 6 of 87 studies, which
                     covered a variety of misoprostol doses and routes of administration used with 200
                     mg of mifepristone. Assessing the efficacy by misoprostol dose, the paper noted
                     that doses ≥ 800 mcg had a success rate of 96.8%, with an ongoing pregnancy rate
                     of 0.7%.




              1
                Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days of
              gestational age. Obstet Gynecol 2012; 120: 1070-6
              2
                Boersma AA, Meyboom-de Jong B, Kleiverda G. Mifepristone followed by home administration of
              buccal misoprostol for medical abortion up to 70 days of amenorrhoea in a general practice in Curacao. Eur
              J Contracept Reprod Health Care 2011; 16: 61-6
              3
                 Sanhueza Smith P, Pena M, Dzuba IG, et al. Safety, efficacy and acceptability of outpatient
              mifepristone-misoprostol medical abortion through 70 days since last menstrual period in public sector
              facilities in Mexico City. Reprod Health Matters 2015; 22: 75-82
              4
                Olavarrieta CD, Ganatra B, Sorhaindo A, Karver TS, Seuc A, Villalobos A, Garcia SG, Pérez M,
              Bousieguez M, Sanhueza P. Nurse versus physician-provision of early medical abortion in Mexico: a
              randomized controlled non-inferiority trial. Bull World Health Organ 2015; 93: 249-258
              5
                Chen MJ, Creinin MD. Mifepristone with Buccal Misoprostol for Medical Abortion Obstet Gynecol: a
              Systematic Review. Obstet Gynecol 2015; 126(1): 12-21
              6
                Raymond EG & Grimes DA. The comparative safety of legal induced abortion and childbirth in the
              United States. Obstet Gynecol 2012; 119: 215-9


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                        The original dosing regimen specifies taking misoprostol 2 days after Mifeprex.
                        This efficacy supplement proposes a more flexible time frame of 24 to 48 hours
                        between Mifeprex and misoprostol administration. Data from a review article by
                        Wedisinghe et al 7 evaluated different time intervals using administration of
                        misoprostol after Mifeprex. A meta-analysis of all five studies found a non-
                        significant odds ratio for failure for shorter vs. longer dosing intervals, but a trend
                        for lower success if a dosing interval < 8 hours is used. Chen & Creinin’s
                        systematic review 8 of 20 studies including over 33,000 women, all but one using
                        the proposed regimen, compared the success of dosing intervals of 24 hours with
                        intervals ranging from 24-48 hours. The success rate in six studies that used a 24-
                        hour interval through 63 days gestation was 94.2%, compared to the rate of 96.8%
                        in 14 studies that used a 24-48 hour interval, and this difference was statistically
                        significant. The clinical team concluded that the efficacy of the revised dosing
                        regimen was not compromised by revising the dosing interval to 24-48 hours. In
                        addition, they noted that the overall rate of ongoing pregnancies did not differ
                        significantly by dosing interval.

                  3. Administration of misoprostol after Mifeprex administration at home: Currently,
                     the dosing regimen specifies that misoprostol is taken in the clinic setting
                     following Mifeprex administration. No specific publication evaluated treatment
                     outcomes with use of misoprostol at home compared to in-clinic dosing.
                     However, one large literature review (Raymond et al 9) evaluated a variety of
                     mifepristone treatment regimens with different misoprostol doses, routes of
                     administration and dosing intervals used in gestations through 63 days. Roughly
                     half of the studies included in this review did not require women to take
                     misoprostol in-clinic. Rates of treatment failure and of ongoing pregnancy were
                     very similar regardless of whether misoprostol was taken in-clinic or at another
                     location. The clinical review team concluded that the review provided sufficient
                     data to support labeling that misoprostol does not need to be restricted to in-clinic
                     administration.

                  4. Use of a repeat misoprostol dose, if necessary: The Applicant submitted several
                     published studies that supported use of a repeat misoprostol dose, when complete
                     uterine expulsion did not occur after the initial misoprostol dose following
                     Mifeprex. In clinical practice, the usual treatment for incomplete expulsion
                     (retained products of conception) may include either a repeat dose of misoprostol,
                     expectant management or a surgical procedure (suction aspiration or a dilation
                     and curettage). Studies that specifically report the success rate of a repeat dose of
                     misoprostol are:

              7
                Wedisinghe L and Elsandabesee D. Flexible mifepristone and misoprostol administration interval for
              first-trimester medical termination. Contraception 2010; 81(4): 269-74. doi: 10.1016/
              j.contraception.2009.09.007. Epub Oct 29, 2009
              8
                Creinin MD, Fox MC, Teal S, Chen A, Schaff EA, Meyn LA. MOD Study Trial Group: A randomized
              comparison of misoprostol 6-8 hours versus 24 hours after mifepristone for abortion. Obstet Gynecol 2004;
              103: 851-859
              9
                Raymond EG & Grimes DA. The comparative safety of legal induced abortion and childbirth in the
              United States. Obstet Gynecol 2012; 119: 215-9


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                        •   Winikoff et al 10 – studied the proposed regimen through 70 days gestation; of
                            the few women who received a second dose for an incomplete abortion at
                            follow-up, the success rate was 91% at 57-63 days and 67% at 64-70 days.
                        •   Chen and Creinin 11 – a systematic review of 20 studies, all but one of which
                            used the proposed regimen up through 70 days; success of a second dose
                            ranged from 91-100%
                        •   Boersma et al 12 – included pregnancies through 70 days treated with the
                            proposed regimen; five of 330 women took a second dose due to absence of
                            bleeding 48 hours after first dose; the success rate was 80%
                        •   Louie et al 13 – studied the proposed regimen to 63 days; in 16 women (of
                            863) who took a second dose of misoprostol, the success rate was 100%
                        •   Chong et al 14 – compared the proposed regimen to a lower dose of
                            misoprostol; the success of a second dose of misoprostol was 92% overall, but
                            the number of women in each dose arm getting a second dose was not
                            specified.
                        •   Winikoff et al 15 – 14 women in the proposed regimen took a second dose of
                            misoprostol with a success rate of 92.9%.

                        Using the information from the above studies and other supportive data, the
                        clinical team concluded that the available data support the efficacy of a repeat
                        dose of misoprostol if complete expulsion has not occurred. The relatively high
                        complete pregnancy termination rates indicate that this option is likely to reduce
                        the need for a surgical intervention.

                   5. Requirements regarding follow-up care: Current labeling states that women will
                      return to the clinic 14 days after Mifeprex administration for follow-up. This
                      provision was based on the follow up regimen in the U.S. phase 3 trial that
                      supported the initial approval in 2000. Although the Applicant submitted several
                      studies that evaluated flexibility in the time of follow-up, the key publication
                      identified by the review team that addressed this issue was a 2013 article by


              10
                 Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days
              of gestational age. Obstet Gynecol 2012; 120: 1070-6
              11
                 Creinin MD, Fox MC, Teal S, Chen A, Schaff EA, Meyn LA. MOD Study Trial Group: A randomized
              comparison of misoprostol 6-8 hours versus 24 hours after mifepristone for abortion. Obstet Gynecol 2004;
              103: 851-859
              12
                 Boersma AA, Meyboom-de Jong B, Kleiverda G. Mifepristone followed by home administration of
              buccal misoprostol for medical abortion up to 70 days of amenorrhoea in a general practice in Curacao. Eur
              J Contracept Reprod Health Care 2011; 16: 61-6
              13
                 Louie KS, Tsereteli T, Chong E, Ailyeva F, Rzayeva G, Winikoff B. Acceptability and feasibility of
              mifepristone medical abortion in the early first trimester in Azerbaijan. Eur J Contracept Reprod Health
              Care 2014; 19(6): 457-464
              14
                 Chong E, Tsereteli T, Nguyen NN, Winikoff B. A randomized controlled trial of different buccal
              misoprostol doses in mifepristone medical abortion. Contraception 2012; 86: 251-256
              15
                 Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AB, Gonzales J, Howe M, Moskowitz J,
              Prine L, Shannon CS. Two distinct oral routes of misoprostol in mifepristone medical abortion: a
              randomized controlled trial. Obstet Gynecol 2008; 112(6): 1303-1310



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              8. Safety

              The safety of the proposed dosing regimen for Mifeprex was supported by the evidence
              from submitted published literature and postmarketing experience. The focus of the
              safety analysis was on published studies that evaluated the proposed dosing regimen
              (Mifeprex 200 mg followed by 800 mcg misoprostol buccally 24-48 hours later), with
              comparison to the known safety profile of the currently approved dosing regimen.

              Exposure: Per the Applicant’s submission, the clinical review concluded that there have
              been approximately 2.5 million uses of Mifeprex by U.S. women since the drug’s
              approval in 2000. The clinical review team estimated that exposure to the proposed
              dosing regimen for their safety analysis was based on approximately 30,000 patients
              (refer to Table 11 for a list of references used to evaluate safety). Such exposure volume
              is sufficient to characterize the safety profile of the proposed dosing regimen and other
              proposed changes in this efficacy supplement.

              Deaths: Deaths with medical abortion rarely occur and causality can be difficult to
              determine. Most of the publications did not specifically report any deaths with medical
              abortion with Mifeprex. Among the seven U.S. studies submitted to support the safety
              profile of Mifeprex and misoprostol, only one (Grossman, et al 18) explicitly addressed
              deaths and noted that there were no deaths among 578 subjects evaluated in the study.
              Only one observational study (Goldstone, et al 19) from Australia contained a report of a
              death after a mifepristone and misoprostol dosing regimen. In this retrospective review of
              13,345 pregnancy terminations, the authors identified one death from sepsis. The article
              stated that the death was in an individual who failed to follow-up with her healthcare
              provider despite showing signs of illness. Based on this information, deaths in association
              with abortion are extremely rare.

              Deaths reported from the postmarketing experience of Mifeprex are summarized below in
              the Postmarketing Experience section.

              Nonfatal serious adverse events: The clinical review team identified key nonfatal serious
              adverse events (SAEs) associated with the proposed dosing regimen for Mifeprex. These
              SAEs include: hospitalization, serious infection, bleeding requiring transfusion and
              ectopic pregnancy. Section 7 of the clinical review dated March 29, 2016, provides a
              detailed discussion of reported rates of hospitalization, serious infection, bleeding
              requiring transfusion and ectopic pregnancy. The latter is not an adverse reaction
              because an ectopic pregnancy would exist prior to the Mifeprex regimen; it represents
              instead a failure to diagnose an ectopic pregnancy. Overall rates identified by the clinical
              review team from the published literature are as follows:
                  • Hospitalization: 0.04-0.6% in U.S. studies of over 14,000 women; 0-0.7% in
                      international studies of over 1,200 women

              18
                 Grossman D, Grindlay K, Buchacker T, Lane K, Blanchard K. Effectivenesss and acceptability of
              medical abortion provided thorugh telemedicine. Obstet Gynecol 2011;118:296-303.
              19
                 Goldstone P, Michelson J, Williamson E. Early medical abortion using low-dose mifepristone followed
              by buccal misoprostol: A large Australian observational study. Med J Austral 2012; 197: 282-6.


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                   •    Serious infection/sepsis: 0-0.2% in U.S. and international studies of over 12,000
                        women
                   •    Transfusion: 0.03-0.5% in U.S. studies of over 17,000 women; 0-0.1% in
                        international studies of over 12,000 women

              A study by Upadhyay et al 20 reported a 0.31% rate of major complications (including
              incomplete or failed abortion, hemorrhage, infection or uterine perforation that required
              hospitalization, surgery or transfusion) for medical abortions (dosing regimen
              unspecified) through 63 days; this was about double the rate reported for first trimester
              aspiration abortions and statistically significantly higher. However, these rates were
              driven by higher rates of incomplete/failed abortion; rates of hemorrhage (0.14%) and
              infection (0.23%) did not differ from those associated with aspirations.

              Only one submitted study reported an ectopic pregnancy. This study (Winikoff et al 21)
              reported one ectopic among 847 women (0.12%).

              Comment: The proposed dosing regimen has been studied extensively in the literature
              using U.S. and global sites. Serious adverse events including deaths, hospitalization,
              serious infections, bleeding requiring transfusion and ectopic pregnancy are rarely
              reported. The rates of these serious adverse events are well below 1% and do not suggest
              a safety profile different from the original approved Mifeprex dosing regimen. Although
              there is less serious adverse event data on women who received Mifeprex and
              misoprostol between 64-70 days of gestation, the data from a U.S. study of 379 women
              (Winikoff et al) 22 in that gestational age is reassuring that the rates of these serious
              adverse events are not clinically different from that of other gestational age ranges.

              In summary, based on the published literature, nonfatal serious adverse events occur with
              Mifeprex and misoprostol use with rates generally less than 1%. Increased gestational
              age (64-70 weeks) was not associated with an increased incidence of nonfatal SAEs.
              Other submission- specific safety issues that were evaluated including uterine rupture and
              angioedema/anaphylaxis are discussed in the Postmarketing Experience section below.

              Loss to follow-up: The studies included in this safety review revealed a wide range of
              loss to follow-up, from 0.6% loss to follow-up in the study with telephone follow-up
              (Ngoc et al 23) to 22% in the Grossman et al 24 study using telemedicine to deliver medical


              20
                 Upadhyay UD, Desai S, Lidar V, Waits TA, Grossman D, Anderson P, Taylor D. Incidence of emergency
              department visits and complications after abortion. Obstet Gynecol 2015;125(1):175-183.
              21
                 Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AB, Gonzales J, Howe M, Moskowitz J,
              Prine L, Shannon CS. Two distinct oral routes of misoprostol in mifepristone medical abortion: a
              randomized controlled trial. Obstet Gynecol 2008;112(6):1303-1310.
              22
                 Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days of
              gestational age. Obstet Gynecol 2012;120:1070-6.
              23
                 Ngoc NTN, et al. Acceptability and feasibility of phone follow-up after early medical abortion in
              Vietnam: A randomized controlled trial. Obstet Gynecol 2014;123:88-95.
              24
                 Grossman D, Grindlay K, Buchacker T, Lane K, Blanchard K. Effectivenesss and acceptability of
              medical abortion provided thorugh telemedicine. Obstet Gynecol 2011;118:296-303.


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              abortion services.

              Comment: Based on these data reviewed by the clinical review team, there is no literature
              that suggests that follow-up modality alters safety. Therefore, labeling will not be
              directive regarding follow-up; that will be a decision left to the patient and provider.

              Common adverse events: The clinical review team evaluated common adverse reaction
              data and compared U.S. and global study locations. The comparison revealed that there
              were differences in the frequency of common adverse reactions, with the reporting rates
              considerably higher among the U.S. studies. There is no reason to anticipate regional
              differences in the safety profile for the same treatment regimen, so these differences
              likely reflect lower ascertainment or subject reporting of adverse reactions in non-U.S.
              studies. Regardless, inclusion of this non-U.S. data in labeling would not be appropriate,
              as it is unlikely to be informative to the U.S. population of users. The data to be reported
              in labeling is outlined in Table 1 below:

              Table 1: Common Adverse Events (≥ 15%) in U.S. Studies of the Proposed Dosing Regimen
              Adverse             # U.S.         Number of                  Range of                Upper Gestational Age of
              Reaction            studies        Evaluable Women            frequency (%)           Studies Reporting Outcome
              Nausea              3              1,248                      51-75%                  70 days
              Weakness            2              630                        55-58%                  63 days
              Fever/chills        1              414                        48%                     63 days
              Vomiting            3              1,248                      37-48%                  70 days
              Headache            2              630                        41-44%                  63 days
              Diarrhea            3              1,248                      18-43%                  70 days
              Dizziness           2              630                        39-41%                  63 days
              Source: Data from Middleton 25, Winikoff 26 and Winikoff 27 as outlined in Table 2 of the CDTL review dated March
              29, 2016.

              One concerning adverse event is severe vaginal bleeding. Severe vaginal bleeding can
              result in interventions such as hospitalization and transfusion and may be associated with
              infection. The overall rate of bleeding across publications varied between 0.5% and 4.2%.
              Two publications (Sanhueza Smith et al 28 and Gatter et al 29) evaluated clinically
              significant bleeding by gestational age. Although the publications reported slightly
              different rates, there was no trend of increased bleeding requiring intervention with
              Mifeprex and misoprostol use with increasing gestational age.


              25
                 Middleton T, et al. Randomized trial of mifepristone and buccal or vaginal misoprostol for abortion
              through 56 days of last menstrual period. Contraception 2005; 72: 328-32
              26
                 Winikoff B, Dzuba IG, Chong E, et al. Extending outpatient medical abortion services through 70 days
              of gestational age. Obstet Gynecol 2012; 120: 1070-6
              27
                 Winikoff B, Dzuba IG, Creinin MD, Crowden WA, Goldberg AB, Gonzales J, Howe M, Moskowitz J,
              Prine L, Shannon CS. Two distinct oral routes of misoprostol in mifepristone medical abortion: a
              randomized controlled trial. Obstet Gynecol 2008; 112(6): 1303-1310
              28
                 Sanhueza Smith P, Pena M, Dzuba IG, et al. Safety, efficacy and acceptability of outpatient mifepristone-
              misoprostol medical abortion through 70 days since last menstrual period in public sector facilities in
              Mexico City. Reprod Health Matters 2015;22:75-82.
              29
                 Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and buccal
              misoprostol through 63 days. Contraception 2015; 91:269-273.


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                   To evaluate each of these changes, the reviewers evaluated the adverse event
                   information regarding:
                   • Changing the timing interval between Mifeprex and misoprostol and change in
                       the gestational age to 70 days: Support for the 24-48 hour interval and use up
                       through 70 days was primarily based on a large systematic review by Shaw et
                       al 33. This review evaluated studies looking at different follow-up modalities and
                       demonstrated that there are a variety of acceptable alternatives to in-clinic follow-
                       up that can identify cases in which there is need for additional intervention. In
                       addition, the systematic review did not identify any significant difference in
                       adverse events with different time intervals. Based on these findings, labeling
                       will not be directive regarding specific details of how follow-up should be
                       performed; this will be a decision between the patient and her healthcare provider.

                   •    Home administration of misoprostol: The Applicant supplied several published
                        studies that supported this change including Gatter et al 34 and Ireland et al 35.
                        These studies reported on large numbers of women in the U.S. who took
                        misoprostol at home. The authors showed that home administration of
                        misoprostol, as part of the proposed regimen, is associated with exceedingly low
                        rates of serious adverse events, and with rates of common adverse events
                        comparable to those in the studies of clinic administration of misoprostol that
                        supported the initial approval in 2000. Given that information is available on
                        approximately 45,000 women from the published literature, half of which
                        incorporated home use of misoprostol, there is no clinical reason to restrict the
                        location in which misoprostol may be taken. Given the fact that the onset of
                        cramping and bleeding occurs rapidly (i.e., generally within 2 hours) after
                        misoprostol dosing, allowing dosing at home increases the chance that the woman
                        will be in an appropriate and safe location when the process begins.

                   •    Use of a repeat dose of misoprostol: Safety reporting from studies that evaluated
                        a repeat dose of misoprostol did not specifically assess the subset of women who
                        received a second dose, but no unexpected findings were identified. One
                        randomized controlled trial (Coyaji et al 36) conducted in 300 women seeking
                        medical abortion in India looked at a single misoprostol dose as compared to two
                        misoprostol doses. Although there was no difference in the complete pregnancy
                        termination rate in women who received a second misoprostol dose compared to
                        those who did not, the repeat misoprostol dose reduced the need for surgical
                        intervention. This study was reassuring in that there was no significant difference
                        in the adverse events observed—similar percentages of women experienced

              33
                  Shaw KA, Topp NJ, Shaw JG, Blumenthal PB. Mifepristone-misoprostol dosing interval and effect on
              induction abortion times. Obstet Gynecol 2013;121(6):1335-1347.
              34
                  Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and
              buccal misoprostol through 63 days. Contraception 2015; 91:269-273.
              35
                 Ireland LD, Gatter M, Chen AY. Medical compared with surgical abortion for effective pregnancy
              termination in the first trimester. Obstet Gynecol 2015;126:22-8.
              36
                  Coyaji K, Krishna U, Ambardekar S, Bracken H, Raote V, Mandlekar A, Winikoff B. Are two doses of
              misoprostol after mifepristone for early abortion better than one? BJOG 2007;114:271-278.


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                        cramping (87% in the single dose group, 89% in the repeat dose group), nausea
                        (both groups 1%), vomiting (both groups 0%), and diarrhea (0% in the single dose
                        group versus 2% in the repeat dose group). A supportive systematic review by
                        Gallo et al 37 also provided safety information on subjects who received repeat
                        misoprostol. In this review, the only side effects discussed in the trials were
                        diarrhea, which was more common on those groups receiving misoprostol orally
                        than in those receiving it exclusively vaginally (26-27% versus 9%). Rash was
                        reported <1%. Based on these findings, labeling will be changed because the
                        misoprostol dose does not need to be restricted to in clinic administration to
                        assure safe pregnancy termination using the proposed dosing regimen. Given the
                        onset of bleeding and cramping after misoprostol, allowing home administration
                        increases the likelihood that a woman will be in an appropriate and safe location
                        when the pregnancy termination process begins.

                   •    Change in the follow-up timeframe and method of follow-up: The Applicant
                        submitted several articles that described different methodologies in follow-up
                        including phone calls and standardized instructions. The clinical reviewers
                        evaluated a study in Scotland by Cameron et al 38 that evaluated self-assessment as
                        compared to standard follow-up methodologies (clinic visit or phone call). Most
                        of the women chose self-assessment over an in-clinic visit or phone call, and there
                        were no significant differences in adverse outcomes between women who
                        underwent self-assessment of health compared to those who had a clinic visit or
                        phone call. Among women with an ongoing pregnancy after Mifeprex and
                        misoprostol, the majority self-identified and presented within two-weeks for care.
                        Based on this information and the other data from the Raymond systematic
                        article 39 that did not identify a difference in failure rate for earlier (less than one
                        week) as compared to one week or greater of follow-up, sufficient support was
                        provided to use a broadened window of 7 to 14 days for follow-up. This revised
                        follow-up time frame will be included in labeling.

                   •    Allowing providers other than physicians to provide Mifeprex: The current
                        Prescriber’s Agreement in the REMS specifies that “…Mifeprex must be
                        provided by or under the supervision of a physician who meets the following
                        qualifications…” In addition, current labeling states that Mifeprex will be
                        supplied only to licensed physicians who sign and return a Prescriber’s
                        Agreement. However, labeling states that other healthcare providers, acting under
                        the supervision of a qualified physician, may also provide Mifeprex to patients.
                        Several published studies submitted by the Applicant indicate that health care
                        providers such as nurse practitioners, nurse midwives, and physician assistants are


              37
                 Gallo MF, Cahill S, Castelman L, Mitchell EMH. A systematic review of more than one dose of
              misoprostol after mifepristone for abortion up to 10 weeks gestation. Contraception 2006;74:36-41.
              38
                 Cameron ST, Glasier A, Johnstone A, Dewart H, Campbell A. Can women determine the success of early
              medical termination of pregnancy themselves? Contraception 2015;91:6-11.
              39
                 Raymond EG & Grimes DA. The comparative safety of legal induced abortion and childbirth in the
              United States. Obstet Gynecol 2012; 119: 215-9


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                        currently providing abortion services. One of these studies (Kopp Kallner et al 40 )
                        was a randomized controlled trial of 1,068 women in Sweden who were
                        randomized to receive medical abortion care from two nurse midwives
                        experienced in medical terminations and trained in early pregnancy ultrasound
                        versus a group of 34 physicians with varying training and experience. Success
                        rates were ≥ 96% regardless of gestational age. The nurse midwife group had few
                        complications, though this was not statistically significant (4.1% for nurse
                        midwives, versus 6.1% for doctors, p=0.14). No serious complications were
                        reported and no blood transfusions were administered in the study. Based on this
                        and other supportive studies, the information supports the efficacy and safety of
                        allowing healthcare providers other than physicians can effectively and safely
                        provide abortion services, provided that they meet the requirements for
                        certification described in the REMS. The clinical team also felt that the term
                        “healthcare provider who prescribes” would be the appropriate terminology as
                        prescribing ability is a critical factor in dispensing Mifeprex.

              The clinical review team concluded that the evidence demonstrated acceptable safety for
              each of the above proposed changes, and I concur with their conclusion. The proposed
              dosing regimen has a similar safety profile as the original regimen approved in 2000.
              Adverse outcomes of interest, such as deaths, serious infection, transfusions, ectopic
              pregnancies and uterine rupture, remain rare, and are not necessarily attributable to
              Mifeprex use. Overall, the rate of deaths and nonfatal serious adverse events are
              acceptably low, and data for the proposed regimen do not suggest a safety profile that
              deviates from that of the originally approved regimen No association between adverse
              outcomes and increasing gestational age was identified. Finally, the available information
              supports the safety of the other proposed changes, including increasing the flexibility of
              the time interval between Mifeprex and misoprostol, at home use of misoprostol, use of a
              repeat dose of misoprostol, change in the follow-up timeframe and allowing health care
              providers other than physicians to prescribe and dispense Mifeprex were acceptable.

              9. Advisory Committee Meeting

              Mifeprex is not a new molecular entity requiring discussion before an advisory
              committee. In addition, an advisory committee was not necessary as the application did
              not raise complex scientific or other issues that would warrant holding an AC before
              approval.

              10. Pediatrics

              This efficacy supplement triggered requirements under the Pediatric Research Equity Act
              (PREA). The Agency granted a partial PREA waiver for pre-menarcheal females ages
              birth to 12 years because it would be impossible to conduct studies in this pediatric
              population, as pregnancy does not exist in premenarcheal females.

              40
                Kopp Kallner H, Fiala C, Stephansson O, Gemzell-Danielsson K. Home self-administration of vaginal
              misoprostol for medical abortion at 50-63 days compared with gestation of below 50 days. Human Reprod
              2010;25(5):1153-1157.


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              The Applicant fulfilled the remaining PREA requirement in postmenarcheal females by
              submitting published studies of Mifeprex for pregnancy termination in postmenarcheal
              females less than 17 years old. Efficacy and safety information in these adolescents was
              based on a U.S. study in 322 postmenarcheal adolescents (Gatter et al 41). Of the 322
              adolescents, 106 of these adolescents were under 16; see Table 2 below:

              Table 2: Age and Number of Adolescents Undergoing Medical Abortion (Gatter et al 42)
                   Age of Subject         Number of Subjects
                                             evaluated
                        11                        1
                        12                        1
                        13                        2
                        14                       20
                        15                       82
                        16                      216
              Source: Refer to Table 17 of the Medical Officer’s review dated March 29, 2016

              The Gatter et al 43 study reported that postmenarchal females less than 18 years old had a
              98.7% pregnancy termination rate as compared to females aged 18-24, who had a rate of
              98.1%. This article reported that loss to follow-up was slightly higher in those less than
              18 years old, however, age did not adversely impact efficacy outcomes.

              One issue was whether adolescents would comply with at home use of misoprostol. The
              Gatter 44 et al study incorporated at home use of misoprostol into the Mifeprex dose
              regimen given to all females, including postmenarchal females less than 18 years old.
              The overall efficacy in adolescents was similar to that of all older women. This
              information supports at home administration of misoprostol in postmenarchal females
              under 17.

              Two other published studies provided additional efficacy on Mifeprex use by adolescents
              for pregnancy termination:
                   • Phelps et al 45 evaluated data from 28 adolescents aged 14 to 17, at ≤ 56 days
                      gestation, using Mifeprex 200 mg followed 48 hours later by misoprostol 800
                      mcg vaginally. In this study, 100% of subjects had a complete pregnancy
                      termination, with five not requiring misoprostol.




              41
                 Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and buccal
              misoprostol through 63 days. Contraception 2015; 91:269-273.
              42
                 Ibid.
              43
                 Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and buccal
              misoprostol through 63 days. Contraception 2015; 91:269-273.
              44
                 Gatter M, Cleland K, Nucatola DL. Efficacy and safety of medical abortion using mifepristone and buccal
              misoprostol through 63 days. Contraception 2015; 91:269-273.
              45
                 Phelps RH, et al. Mifepristone abortion in minors. Contraception 2001;64:339-343.


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                                                                   App. 000031
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              The        concurred with use of the term “healthcare providers who prescribe.” To
                    (b) (6)


              support a change in the REMS that would allow qualified healthcare providers other than
              physicians to prescribe Mifeprex through the Mifeprex REMS program, the Applicant
              provided information from over 3,200 women in randomized controlled trials and 596
              women in prospective cohort studies comparing medical abortion care by physicians
              versus other providers (nurses or nurse midwives). These studies were conducted in a
              variety of settings (international, urban, rural, and low-resource). No differences in
              serious adverse events, ongoing pregnancy or incomplete abortion were identified
              between the groups. Given that providers other than physicians are providing family
              planning and abortion care under supervision and that the approved labeling and REMS
              program stipulate that prescribers must be able to refer patients for additional care,
              including surgical management, allowing these prescribers to participate in the Mifeprex
              REMS program is acceptable.

              The       also concurred with the teams’ recommendation to remove the Patient
                    (b) (6)


              Agreement (ETASU D) from the REMS although some                     members commented that
                                                                          (b) (6)


              additional support for the review team’s rationale for this modification was needed. The
              review team’s rationale for this change was:




                                             APPEARS THIS WAY ON ORIGINAL




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                  •     The safety profile of Mifeprex is well-characterized over 15 years of experience,
                        with known risks occurring rarely; the safety profile has not changed over the
                        period of surveillance.
                  •     Established clinical practice includes patient counseling and Informed Consent,
                        and, more specifically with Mifeprex, includes counseling on all options for
                        termination of pregnancy, access to pain management and emergency services if
                        needed.
                  •     Medical abortion with Mifeprex is provided by a well-established group of
                        organizations and their associated providers who are knowledgeable in this area
                        of women’s health. Their documents and guidelines cover all the safety
                        information that also appears in the Patient Agreement.
                  •     ETASUs A and C remain in place: The Prescriber’s Agreement under ETASU A
                        requires that providers “explain the procedure, follow-up, and risks to each patient
                        and give her an opportunity to discuss them.” The REMS will continue to require
                        that Mifeprex be dispensed to patients only in certain healthcare settings,
                        specifically, clinics, medical offices, and hospitals. This ensures that Mifeprex
                        can only be dispensed under the direct supervision of a certified prescriber.
                  •     Labeling mitigates risk: The Medication Guide, which will remain a part of
                        labeling, contains the same risk information covered under the Patient Agreement.

              The Mifeprex REMS program will have a modified ETASU REMS that will continue to
              ensure that Mifeprex can only be prescribed by certified prescribers and be dispensed to
              patients in certain healthcare settings, specifically, clinics, medical offices and hospitals.
              The Medication Guide will continue to be distributed to patients required under 21 CFR
              part 208. As required for all ETASU REMS, ongoing assessments of the Mifeprex REMS
              program will continue to ensure that the modified Mifeprex REMS program is meeting
              its goals.

              13. Decision/Action/Risk Benefit Assessment

              Decision:

              All regulatory and scientific requirements have been adequately addressed in this efficacy
              supplement. Review teams involved in this supplement have recommended approval of
              the supplement from their disciplines’ perspective. The submitted efficacy and safety
              information supported approval of the proposed dosing regimen through 70 days
              gestation, and other changes discussed in this summary memo. This supplement will
              receive an Approval action.

              Benefit Risk Assessment:

              This efficacy supplement provided substantial evidence of efficacy for the proposed
              dosing regimen through 70 days gestation. The efficacy findings were similar to those
              that led to the approval of the original dosing regimen in 2000. In addition, the submitted
              published literature supported other changes sought in this efficacy supplement that will


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              be reflected in labeling: 1) a more flexible time interval of 24 to 48 hours between
              Mifeprex and misoprostol administration, 2) the option of at home administration of
              misoprostol, 3) the option of repeat misoprostol dosing, if clinically indicated, 4)
              flexibility in the follow–up time frame of 7 to 14 days, and 5) permitting qualified
              healthcare providers other than physicians to prescribe Mifeprex.

              The safety findings of the proposed dosing regimen were acceptable and were similar to
              those seen with the original dosing regimen approved in 2000.

              After review of the REMS modifications proposed by the Sponsor, I concur with the
              clinical team and            recommendations that:
                                   (b) (6)




              1.      The Medication Guide can be removed from the Mifeprex REMS program. The
              Medication Guide requirements under 21 CFR part 208 require the Medication Guide to
              be distributed to patients. Mifeprex will only be dispensed by a healthcare professional
              who will be knowledgeable and able to provide the patient instructions on appropriate use
              of the drug, including what potential side effects may occur or follow-up that may be
              required as appropriate, and who will answer any questions the patient may have. In that
              setting, the Medication Guide will already be a required available tool for counseling.
              Therefore, given the existing requirements under 21 CFR part 208, I concur that there is
              no reason for the Medication Guide to specifically be a part of the REMS.

              2.     The Prescriber Agreement Form (ETASU A) as revised reflects current FDA
              format and content to conform to current REMS programs and reflect the labeling
              changes that will be approved in this supplement. I concur that the changes are
              acceptable.

              3.      Revision of the Mifeprex REMS goals (ETASU C) will adequately mitigate the
              risk of serious complications by requiring certification of healthcare providers who
              prescribe and ensuring the Mifeprex is dispensed only in certain healthcare settings by or
              under the supervision of a certified prescriber.

              4.       Removal of the Patient Agreement Form (ETASU D): I concur with the clinical
              review team that the Patient Agreement Form, which requires a patient’s signature, does
              not add to safe use conditions for the patient for this REMS and is a burden for patients.
              It is standard of care for patients undergoing pregnancy termination to undergo extensive
              counseling and informed consent. The Patient Agreement Form contains duplicative
              information already provided by each healthcare provider or clinic. I believe that it is
              much more critical for the healthcare provider who orders or prescribes Mifeprex to
              provide and discuss informed consent derived from their own practice so that care can be
              individualized for the patient.




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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
                               (b) (6)


     03/29/2016




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                               EXHIBIT 3

      FDA, Center for Drug Evaluation and Research,
           Mifepristone Summary Review 2023




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   CENTER FOR DRUG EVALUATION AND RESEARCH

                             Approval Package for:

                           APPLICATION NUMBER:
                                 020687Orig1s025

Trade Name:         Mifeprex Tablets 200 mg

Generic or Proper   Mifepristone
Name:
Sponsor:            Danco Laboratories, LLC

Approval Date:      January 3, 2023

Indication:         For modification to the approved single, shared
                    system (SSS) risk evaluation and mitigation strategy
                    (REMS) for mifepristone 200 mg tablets, in a regimen
                    with misoprostol, for the medical termination of
                    intrauterine pregnancy through 70 days gestation, as well
                    as corresponding labeling revisions to the prescribing
                    information and the Medication Guide to align with the
                    modification to the Mifepristone REMS Program.




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  CENTER FOR DRUG EVALUATION AND RESEARCH

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 Reviews / Information Included in this NDA Review.

Approval Letter                                                            X
Other Action Letters
Labeling                                                                   X
REMS                                                                       X
Summary Review                                                             X
Officer/Employee List
Office Director Memo
Cross Discipline Team Leader Review
Clinical Review(s)
Product Quality Review(s)
Non-Clinical Review(s)
Statistical Review(s)
Clinical Microbiology / Virology Review(s)
Clinical Pharmacology Review(s)
Other Reviews                                                              X
Risk Assessment and Risk Mitigation Review(s)                              X
Proprietary Name Review(s)
Administrative/Correspondence Document(s)                                  X




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                      APPLICATION NUMBER:

                        020687Orig1s025


                   APPROVAL LETTER




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               Information on submitting SPL files using eList may be found in the guidance for
               industry SPL Standard for Content of Labeling Technical Qs and As. 2

               The SPL will be accessible from publicly available labeling repositories.

               Also within 14 days, amend all pending supplemental applications that include labeling
               changes for this NDA, including CBE supplements for which FDA has not yet issued an
               action letter, with the content of labeling [21 CFR 314.50(l)(1)(i)] in Microsoft Word
               format, that includes the changes approved in this supplemental application, as well as
               annual reportable changes. To facilitate review of your submission(s), provide a
               highlighted or marked-up copy that shows all changes, as well as a clean Microsoft
               Word version. The marked-up copy should provide appropriate annotations, including
               supplement number(s) and annual report date(s).

               We request that the labeling approved today be available on your website within 10
               days of receipt of this letter.


               REQUIRED PEDIATRIC ASSESSMENTS

               Under the Pediatric Research Equity Act (PREA) (21 U.S.C. 355c), all applications for
               new active ingredients (which includes new salts and new fixed combinations), new
               indications, new dosage forms, new dosing regimens, or new routes of administration
               are required to contain an assessment of the safety and effectiveness of the product for
               the claimed indication in pediatric patients unless this requirement is waived, deferred,
               or inapplicable.

               Because none of these criteria apply to your application, you are exempt from this
               requirement.

               RISK EVALUATION AND MITIGATION STRATEGY (REMS) REQUIREMENTS

               The Mifepristone REMS Program, of which Mifeprex is a member, was originally
               approved on April 11, 2019, and the most recent REMS modification was approved on
               May 14, 2021. The Mifepristone REMS Program consists of elements to assure safe
               use, an implementation system, and a timetable for submission of assessments of the
               REMS.

               In order to ensure the benefits of Mifeprex outweigh its risks and to minimize burden on
               the healthcare delivery system of complying with the REMS, we determined that you
               were required to make the REMS modifications outlined in our REMS Modification


               2 We update guidances periodically. For the most recent version of a guidance, check the FDA Guidance

               Documents Database https://www.fda.gov/RegulatoryInformation/Guidances/default.htm.

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               Notification letter dated December 16, 2021. In addition the following modifications were
               communicated during the course of the review:

                    •   Revisions to the REMS goal to align with the updated REMS requirements.

                    •   Replacing serial number with recording of NDC and lot number of mifepristone
                        dispensed.

                    •   Additional edits for clarification and consistency in the REMS Document and
                        REMS materials (Prescriber Agreement Forms, Patient Agreement Form, and
                        Pharmacy Agreement Forms).

               Your proposed modified REMS, received on June 22, 2022, amended and appended to
               this letter, is approved. The modified REMS consists of the elements to assure safe
               use, implementation system, and a timetable for submission of assessments of the
               REMS.

               The modification of the approved REMS must be fully implemented within 120 calendar
               days of this letter.

               This shared system REMS, known as the Mifepristone REMS Program, currently
               includes those products listed on the FDA REMS website 3.

               Other products may be added in the future if additional NDAs or ANDAs are approved.

               The timetable for submission of assessments of the REMS must be revised to one year
               from the date of the approval of the modified SSS REMS (1/3/2023) and annually
               thereafter.

               The revised REMS assessment plan must include, but is not limited to, the following:
                Program Implementation and Operations
                1. REMS Certification Statistics
                   a. Prescribers
                       i. Number of certified prescribers who have certified with the Sponsor’s
                          distributor(s) and number who have submitted Prescriber Agreement Forms
                          to Certified Pharmacies
                      ii. Number and percentage of newly certified prescribers
                     iii. Number and percentage of active certified prescribers (i.e., who ordered
                          mifepristone or submitted a prescription during the reporting period)

                    b. Pharmacies

               3
                https://www.accessdata.fda.gov/scripts/cder/rems/index.cfm
               U.S. Food and Drug Administration
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                          i.
                           Number of certified pharmacies
                         ii.
                           Number and percentage of newly certified pharmacies
                        iii.
                           Number and percentage of active certified pharmacies (i.e., that dispensed
                           mifepristone during the reporting period)
                    c. Wholesalers/Distributors
                        i. Number of authorized wholesalers/distributors
                       ii. Number and percentage of newly authorized wholesalers/distributors
                      iii. Number and percentage of active authorized wholesalers/distributors (i.e. that
                           shipped mifepristone during the reporting period)

                2. Utilization Data
                   a. Total number of tablets shipped by wholesalers/distributors, stratified by Certified
                       Prescriber or Certified Pharmacy location
                   b. Number of prescriptions dispensed from pharmacies

                3. REMS Compliance Data
                   a. Audits: Summary of audit activities for each stakeholder (i.e., certified
                          pharmacies and wholesalers/distributors) including but not limited to:
                       i.    A copy of the final audit plan for each stakeholder type (provide for the current
                             reporting period)
                      ii.    The number of audits expected, and the number of audits performed
                     iii.    The number and type of deficiencies noted
                    iv.      For those with deficiencies noted, report the corrective and preventive actions
                             (CAPAs) required, if any, to address the deficiencies, including the status
                             (e.g., completed, not completed, in progress) (provide for the current reporting
                             period)
                      v.     For any stakeholders that did not complete the CAPA within the timeframe
                             specified in the audit plan, describe actions taken (provide for the current
                             reporting period)
                    vi.      A summary report of all resulting changes to processes and procedures
                             necessary to ensure compliance with the REMS requirements (provide for the
                             current reporting period)
                   b. A summary report of non-compliance, associated corrective action plans
                          (CAPAs), and the status of CAPAs including but not limited to:
                       i.    A copy of the final non-compliance plans for Pharmacies and Distributors
                             (provide for the current reporting period)
                      ii.    For each instance of noncompliance below (iii-v), report the following
                             information (provide for the current reporting period):
                             1. A unique, anonymized ID for the stakeholder(s) associated with the non-
                                 compliance event to enable tracking over time
                             2. The source of the non-compliance data (e.g., self-reported, audit, other)
                             3. A root cause analysis of the non-compliance
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               www.fda.gov
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                               4. Actions to prevent future occurrences and outcomes of such actions
                        iii.   Prescriber compliance
                               1. Number and percentage of certified prescribers who became decertified
                                  as a result of non- compliance
                                  • Provide a summary of reasons for decertification (provide for the
                                      current reporting period)
                               2. Summary and analysis of any program deviations and corrective actions
                                  taken (provide for the current reporting period)
                        iv.    Pharmacy compliance
                               1. Number and percentage of prescriptions dispensed that were written by
                                  prescriber(s) who did not submit a Prescriber Agreement to the dispensing
                                  Certified Pharmacy
                               2. Number and percentage of mifepristone tablets dispensed by non-certified
                                  pharmacies
                               3. Number and percentage of pharmacies that became decertified as a result
                                  of non- compliance
                                  • Provide a summary of reasons for decertification (provide for the
                                      current reporting period)
                               4. An assessment of prescription delivery timelines, including percentage
                                  delivered more than four days after receipt of the prescription, duration
                                  and causes for delay. A proposal for this assessment will be submitted
                                  within 60 days of the approval of the REMS Modification.
                               5. Summary and analysis of any program deviations and corrective actions
                                  taken (provide for the current reporting period)
                        v.     Wholesaler/distributor compliance
                               1. Number of healthcare providers who successfully ordered mifepristone
                                  who were not certified
                               2. Number of non-certified pharmacies that successfully ordered mifepristone
                               3. Number of shipments sent to non-certified prescriber receiving locations
                               4. Number of shipments sent to non-certified pharmacy receiving locations
                               5. Summary and analysis of any program deviations and corrective actions
                                  taken (provide for the current reporting period)


                Overall Assessment of REMS Effectiveness

               The requirements for assessments of an approved REMS under section 505-1(g)(3)
               include with respect to each goal included in the strategy, an assessment of the extent
               to which the approved strategy, including each element of the strategy, is meeting the
               goal or whether one or more such goals or such elements should be modified.

               We remind you that in addition to the REMS assessments submitted according to the
               timetable in the approved REMS, you must include an adequate rationale to support a

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               proposed REMS modification for the addition, modification, or removal of any goal or
               element of the REMS, as described in section 505-1(g)(4) of the FDCA.

               We also remind you that you must submit a REMS assessment when you submit a
               supplemental application for a new indication for use, as described in section 505-
               1(g)(2)(A) of the FDCA. This assessment should include:

                    a) An evaluation of how the benefit-risk profile will or will not change with the new
                       indication;

                    b) A determination of the implications of a change in the benefit-risk profile for the
                       current REMS;

                    c) If the new indication for use introduces unexpected risks: A description of those
                       risks and an evaluation of whether those risks can be appropriately managed
                       with the currently approved REMS.

                    d) If a REMS assessment was submitted in the 18 months prior to submission of the
                       supplemental application for a new indication for use: A statement about whether
                       the REMS was meeting its goals at the time of that last assessment and if any
                       modifications of the REMS have been proposed since that assessment.

                    e) If a REMS assessment has not been submitted in the 18 months prior to
                       submission of the supplemental application for a new indication for use: Provision
                       of as many of the currently listed assessment plan items as is feasible.

                    f) If you propose a REMS modification based on a change in the benefit-risk profile
                       or because of the new indication of use, submit an adequate rationale to support
                       the modification, including: Provision of the reason(s) why the proposed REMS
                       modification is necessary, the potential effect on the serious risk(s) for which the
                       REMS was required, on patient access to the drug, and/or on the burden on the
                       health care delivery system; and other appropriate evidence or data to support
                       the proposed change. Additionally, include any changes to the assessment plan
                       necessary to assess the proposed modified REMS. If you are not proposing
                       REMS modifications, provide a rationale for why the REMS does not need to be
                       modified.

               If the assessment instruments and methodology for your REMS assessments are not
               included in the REMS supporting document, or if you propose changes to the submitted
               assessment instruments or methodology, you should update the REMS supporting
               document to include specific assessment instrument and methodology information at
               least 90 days before the assessments will be conducted. Updates to the REMS
               supporting document may be included in a new document that references previous
               REMS supporting document submission(s) for unchanged portions. Alternatively,
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               updates may be made by modifying the complete previous REMS supporting document,
               with all changes marked and highlighted.

               Prominently identify the submission containing the assessment instruments and
               methodology with the following wording in bold capital letters at the top of the first page
               of the submission:

                        NDA 020687 REMS ASSESSMENT METHODOLOGY
                        (insert concise description of content in bold capital letters, e.g.,
                        ASSESSMENT METHODOLOGY, PROTOCOL, SURVEY METHODOLOGIES,
                        AUDIT PLAN, DRUG USE STUDY)

               An authorized generic drug under this NDA must have an approved REMS prior to
               marketing. Should you decide to market, sell, or distribute an authorized generic drug
               under this NDA, contact us to discuss what will be required in the authorized generic
               drug REMS submission.

               We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved
               covered application with elements to assure safe use from using any element to block
               or delay approval of an application under section 505(b)(2) or (j). A violation of this
               provision in 505-1(f) could result in enforcement action.

               Prominently identify any submission containing the REMS assessments or proposed
               modifications of the REMS with the following wording in bold capital letters at the top of
               the first page of the submission as appropriate:

                        NDA 020687 REMS ASSESSMENT

                                    or

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        CHANGES BEING EFFECTED IN 30 DAYS
                        PROPOSED MINOR REMS MODIFICATION

                                    or

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

                                    or

                        NEW SUPPLEMENT FOR NDA 020687/S-000/
                        PRIOR APPROVAL SUPPLEMENT


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                          PROPOSED REMS MODIFICATIONS DUE TO SAFETY LABELING
                          CHANGES SUBMITTED IN SUPPLEMENT XXX

                                    or

                        NEW SUPPLEMENT (NEW INDICATION FOR USE)
                        FOR NDA 020687/S-000
                          REMS ASSESSMENT
                          PROPOSED REMS MODIFICATION (if included)

               Should you choose to submit a REMS revision, prominently identify the submission
               containing the REMS revisions with the following wording in bold capital letters at the
               top of the first page of the submission:

                        REMS REVISIONS FOR NDA 020687

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, or website screenshots are only in PDF format,
               they may be submitted as such, but Word format is preferred.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               FDA can accept the REMS document in Structured Product Labeling (SPL) format. If
               you intend to submit the REMS document in SPL format, as soon as possible, but no
               later than 14 days from the date of this letter, submit the REMS document in SPL format
               using the FDA automated drug registration and listing system (eLIST).

               For more information on submitting REMS in SPL format, please email
               FDAREMSwebsite@fda.hhs.gov
               .
               PATENT LISTING REQUIREMENTS

               Pursuant to 21 CFR 314.53(d)(2) and 314.70(f), certain changes to an approved NDA
               submitted in a supplement require you to submit patent information for listing in the
               Orange Book upon approval of the supplement. You must submit the patent information
               required by 21 CFR 314.53(d)(2)(i)(A) through (C) and 314.53(d)(2)(ii)(A) and (C), as
               applicable, to FDA on Form FDA 3542 within 30 days after the date of approval of the
               supplement for the patent information to be timely filed (see 21 CFR
               314.53(c)(2)(ii)). You also must ensure that any changes to your approved NDA that
               require the submission of a request to remove patent information from the Orange Book
               are submitted to FDA at the time of approval of the supplement pursuant to 21 CFR
               314.53(d)(2)(ii)(B) and 314.53(f)(2)(iv).



               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
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               REPORTING REQUIREMENTS

               We remind you that you must comply with reporting requirements for an approved NDA
               (21 CFR 314.80 and 314.81).


               If you have any questions, call
                                                                         (b) (6)




                                                   Sincerely,

                                                   {See appended electronic signature page}
                                                                                                (b) (6)




                                                Center for Drug Evaluation and Research
               ENCLOSURE(S):
                 • Content of Labeling
                      o Prescribing Information
                      o Medication Guide
                      o REMS Document
                      o Prescriber Agreement
                      o Patient Agreement Form
                      o Pharmacy Agreement Form




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
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     CENTER FOR DRUG EVALUATION AND
                RESEARCH

                      APPLICATION NUMBER:


                        020687Orig1s025


                            LABELING




                                                                   App. 000051
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      HIGHLIGHTS OF PRESCRIBING INFORMATION                                             ---------------------DOSAGE FORMS AND STRENGTHS----------------------
      These highlights do not include all the information needed to use                 Tablets containing 200 mg of mifepristone each, supplied as 1 tablet on one
      MIFEPREX safely and effectively. See full prescribing information for             blister card (3)
      MIFEPREX.
                                                                                        -------------------------------CONTRAINDICATIONS------------------------------
      MIFEPREX® (mifepristone) tablets, for oral use                                    • Confirmed/suspected ectopic pregnancy or undiagnosed adnexal mass (4)
      Initial U.S. Approval: 2000                                                       • Chronic adrenal failure (4)
                                                                                        • Concurrent long-term corticosteroid therapy (4)
       WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR                               • History of allergy to mifepristone, misoprostol, or other prostaglandins (4)
                                       BLEEDING                                         • Hemorrhagic disorders or concurrent anticoagulant therapy (4)
              See full prescribing information for complete boxed warning.              • Inherited porphyria (4)
      Serious and sometimes fatal infections and bleeding occur very rarely             • Intrauterine device (IUD) in place (4)
      following spontaneous, surgical, and medical abortions, including
      following MIFEPREX use.                                                            -----------------------WARNINGS AND PRECAUTIONS------------------------
      • Atypical Presentation of Infection. Patients with serious bacterial             • Ectopic pregnancy: Exclude before treatment. (5.4)
          infections and sepsis can present without fever, bacteremia or                • Rhesus immunization: Prevention needed as for surgical abortion. (5.5)
          significant findings on pelvic examination. A high index of suspicion is
          needed to rule out serious infection and sepsis. (5.1)                        ------------------------------ADVERSE REACTIONS-------------------------------
      • Bleeding. Prolonged heavy bleeding may be a sign of incomplete                  Most common adverse reactions (>15%) are nausea, weakness, fever/chills,
          abortion or other complications and prompt medical or surgical                vomiting, headache, diarrhea, and dizziness. (6)
          intervention may be needed. (5.2)
      MIFEPREX is only available through a restricted program called the                To report SUSPECTED ADVERSE REACTIONS, contact Danco
      mifepristone REMS Program (5.3).                                                  Laboratories, LLC at 1-877-432-7596 or
      Before prescribing MIFEPREX, inform the patient about these risks.                medicaldirector@earlyoptionpill.com or FDA at 1-800-FDA-1088 or
      Ensure the patient knows whom to call and what to do if they experience           www.fda.gov/medwatch.
      sustained fever, severe abdominal pain, prolonged heavy bleeding, or
      syncope, or if they experience abdominal pain or discomfort or general            ------------------------------DRUG INTERACTIONS-------------------------------
      malaise for more than 24 hours after taking misoprostol.                          • CYP3A4 inducers can lower mifepristone concentrations. (7.1)
                                                                                        • CYP3A4 inhibitors can increase mifepristone concentrations. Use with
      ----------------------------INDICATIONS AND USAGE---------------------------          caution. (7.2)
      MIFEPREX is a progestin antagonist indicated, in a regimen with                   • CYP3A4 substrate concentrations can be increased. Caution with
      misoprostol, for the medical termination of intrauterine pregnancy through 70         coadministration of substrates with narrow therapeutic margin. (7.3)
      days gestation. (1)
                                                                                        -----------------------USE IN SPECIFIC POPULATIONS------------------------
       ----------------------DOSAGE AND ADMINISTRATION-----------------------           • Pregnancy: Risk of fetal malformations in ongoing pregnancy if not
      • 200 mg MIFEPREX on Day 1, followed 24-48 hours after MIFEPREX                       terminated is unknown. (8.1)
          dosing by 800 mcg buccal misoprostol. (2.1)
      • Instruct the patient what to do if significant adverse reactions occur. (2.2)   See 17 for PATIENT COUNSELING INFORMATION, Medication
      • Follow-up is needed to confirm complete termination of pregnancy. (2.3)         Guide.

                                                                                                                                                Revised: 01/2023

      _______________________________________________________________________________________________________________________________________


      FULL PRESCRIBING INFORMATION: CONTENTS*                                               7.2 Drugs that May Increase Exposure (Effect of CYP 3A4 Inhibitors
                                                                                                 on MIFEPREX)
      WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR                                    7.3 Effects of MIFEPREX on Other Drugs (Effect of MIFEPREX on
      BLEEDING                                                                                   CYP 3A4 Substrates)
      1 INDICATIONS AND USAGE                                                           8 USE IN SPECIFIC POPULATIONS
      2 DOSAGE AND ADMINISTRATION                                                           8.1 Pregnancy
         2.1 Dosing Regimen                                                                 8.2 Lactation
         2.2 Patient Management Following Misoprostol Administration                        8.4 Pediatric Use
         2.3 Post-treatment Assessment: Day 7 to 14                                     10 OVERDOSAGE
         2.4 Contact for Consultation                                                   11 DESCRIPTION
      3 DOSAGE FORMS AND STRENGTHS                                                      12 CLINICAL PHARMACOLOGY
      4 CONTRAINDICATIONS                                                                   12.1 Mechanism of Action
      5 WARNINGS AND PRECAUTIONS                                                            12.2 Pharmacodynamics
         5.1 Infections and Sepsis                                                          12.3 Pharmacokinetics
         5.2 Uterine Bleeding                                                           13 NONCLINICAL TOXICOLOGY
         5.3 Mifepristone REMS Program                                                      13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
         5.4 Ectopic Pregnancy                                                          14 CLINICAL STUDIES
         5.5 Rhesus Immunization                                                        16 HOW SUPPLIED/STORAGE AND HANDLING
      6 ADVERSE REACTIONS                                                               17 PATIENT COUNSELING INFORMATION
         6.1 Clinical Trials Experience
         6.2 Postmarketing Experience                                                   *Sections or subsections omitted from the full prescribing information are not
      7 DRUG INTERACTIONS                                                               listed.
         7.1 Drugs that May Reduce MIFEPREX Exposure (Effect of
             CYP 3A4 Inducers on MIFEPREX)




      ____________________________________________________________________________________________________________________________________

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               FULL PRESCRIBING INFORMATION


                          WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR BLEEDING
                 Serious and sometimes fatal infections and bleeding occur very rarely following
                 spontaneous, surgical, and medical abortions, including following MIFEPREX use. No
                 causal relationship between the use of MIFEPREX and misoprostol and these events
                 has been established.
                 •      Atypical Presentation of Infection. Patients with serious bacterial infections (e.g.,
                        Clostridium sordellii) and sepsis can present without fever, bacteremia, or
                        significant findings on pelvic examination following an abortion. Very rarely, deaths
                        have been reported in patients who presented without fever, with or without
                        abdominal pain, but with leukocytosis with a marked left shift, tachycardia,
                        hemoconcentration, and general malaise. A high index of suspicion is needed to
                        rule out serious infection and sepsis [see Warnings and Precautions (5.1)].
                 •      Bleeding. Prolonged heavy bleeding may be a sign of incomplete abortion or other
                        complications and prompt medical or surgical intervention may be needed. Advise
                        patients to seek immediate medical attention if they experience prolonged heavy
                        vaginal bleeding [see Warnings and Precautions (5.2)].
                 Because of the risks of serious complications described above, MIFEPREX is available
                 only through a restricted program under a Risk Evaluation and Mitigation Strategy
                 (REMS) called the mifepristone REMS Program [see Warnings and Precautions (5.3)].
                 Before prescribing MIFEPREX, inform the patient about the risk of these serious
                 events. Ensure that the patient knows whom to call and what to do, including going to
                 an Emergency Room if none of the provided contacts are reachable, if they experience
                 sustained fever, severe abdominal pain, prolonged heavy bleeding, or syncope, or if
                 they experience abdominal pain or discomfort, or general malaise (including
                 weakness, nausea, vomiting, or diarrhea) for more than 24 hours after taking
                 misoprostol.




               1        INDICATIONS AND USAGE
               MIFEPREX is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation.

               2        DOSAGE AND ADMINISTRATION
               2.1 Dosing Regimen
               For purposes of this treatment, pregnancy is dated from the first day of the last menstrual
               period. The duration of pregnancy may be determined from menstrual history and clinical
               examination. Assess the pregnancy by ultrasonographic scan if the duration of pregnancy is
               uncertain or if ectopic pregnancy is suspected.
               Remove any intrauterine device (“IUD”) before treatment with MIFEPREX begins [see
               Contraindications (4)].
               The dosing regimen for MIFEPREX and misoprostol is:

                                                                                                                2

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               •    MIFEPREX 200 mg orally + misoprostol 800 mcg buccally
                    •   Day One: MIFEPREX Administration
                        One 200 mg tablet of MIFEPREX is taken in a single oral dose.
                    •   Day Two or Three: Misoprostol Administration (minimum 24-hour interval between
                        MIFEPREX and misoprostol)
                        Four 200 mcg tablets (total dose 800 mcg) of misoprostol are taken by the buccal route.

                        Tell the patient to place two 200 mcg misoprostol tablets in each cheek pouch (the area
                        between the cheek and gums) for 30 minutes and then swallow any remnants with water
                        or another liquid (see Figure 1).
                        Figure 1




                        2 pills between cheek and gum on left side + 2 pills between cheek and gum on
                        right side
               Patients taking MIFEPREX must take misoprostol within 24 to 48 hours after taking MIFEPREX.
               The effectiveness of the regimen may be lower if misoprostol is administered less than 24 hours
               or more than 48 hours after mifepristone administration.
               Because most women will expel the pregnancy within 2 to 24 hours of taking misoprostol [see
               Clinical Studies (14)], discuss with the patient an appropriate location for them to be when
               taking the misoprostol, taking into account that expulsion could begin within 2 hours of
               administration.
               2.2 Patient Management Following Misoprostol Administration
               During the period immediately following the administration of misoprostol, the patient may need
               medication for cramps or gastrointestinal symptoms [see Adverse Reactions (6)].
               Give the patient:
                    •   Instructions on what to do if significant discomfort, excessive vaginal bleeding or other
                        adverse reactions occur
                    •   A phone number to call if the patient has questions following the administration of the
                        misoprostol
                    •   The name and phone number of the healthcare provider who will be handling
                        emergencies.




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               2.3 Post-treatment Assessment: Day 7 to 14
               Patients should follow-up with their healthcare provider approximately 7 to 14 days after the
               administration of MIFEPREX. This assessment is very important to confirm that complete
               termination of pregnancy has occurred and to evaluate the degree of bleeding. Termination can
               be confirmed by medical history, clinical examination, human Chorionic Gonadotropin (hCG)
               testing, or ultrasonographic scan. Lack of bleeding following treatment usually indicates failure;
               however, prolonged or heavy bleeding is not proof of a complete abortion.
               The existence of debris in the uterus (e.g., if seen on ultrasonography) following the treatment
               procedure will not necessarily require surgery for its removal.
               Patients should expect to experience vaginal bleeding or spotting for an average of 9 to 16
               days. Women report experiencing heavy bleeding for a median duration of 2 days. Up to 8% of
               women may experience some type of bleeding for more than 30 days. Persistence of heavy or
               moderate vaginal bleeding at the time of follow-up, however, could indicate an incomplete
               abortion.
               If complete expulsion has not occurred, but the pregnancy is not ongoing, patients may be
               treated with another dose of misoprostol 800 mcg buccally. There have been rare reports of
               uterine rupture in women who took MIFEPREX and misoprostol, including women with prior
               uterine rupture or uterine scar and women who received multiple doses of misoprostol within 24
               hours. Patients who choose to use a repeat dose of misoprostol should have a follow-up visit
               with their healthcare provider in approximately 7 days to assess for complete termination.
               Surgical evacuation is recommended to manage ongoing pregnancies after medical abortion
               [see Use in Specific Populations (8.1)]. Advise the patient whether you will provide such care or
               will refer them to another provider as part of counseling prior to prescribing MIFEPREX.
               2.4 Contact for Consultation
               For consultation 24 hours a day, 7 days a week with an expert in mifepristone, call Danco
               Laboratories at 1-877-4 Early Option (1-877-432-7596).

               3        DOSAGE FORMS AND STRENGTHS
               Tablets containing 200 mg of mifepristone each, supplied as 1 tablet on one blister card.
               MIFEPREX tablets are light yellow, cylindrical, and bi-convex tablets, approximately 11 mm in
               diameter and imprinted on one side with “MF.”

               4        CONTRAINDICATIONS
               •    Administration of MIFEPREX and misoprostol for the termination of pregnancy (the
                    “treatment procedure”) is contraindicated in patients with any of the following conditions:
                    -    Confirmed or suspected ectopic pregnancy or undiagnosed adnexal mass (the treatment
                         procedure will not be effective to terminate an ectopic pregnancy) [see Warnings and
                         Precautions (5.4)]
                    -    Chronic adrenal failure (risk of acute adrenal insufficiency)
                    -    Concurrent long-term corticosteroid therapy (risk of acute adrenal insufficiency)
                    -    History of allergy to mifepristone, misoprostol, or other prostaglandins (allergic reactions
                         including anaphylaxis, angioedema, rash, hives, and itching have been reported [see
                         Adverse Reactions (6.2)])
                    -    Hemorrhagic disorders or concurrent anticoagulant therapy (risk of heavy bleeding)




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                    -    Inherited porphyrias (risk of worsening or of precipitation of attacks)
               •    Use of MIFEPREX and misoprostol for termination of intrauterine pregnancy is
                    contraindicated in patients with an intrauterine device (“IUD”) in place (the IUD might
                    interfere with pregnancy termination). If the IUD is removed, MIFEPREX may be used.

               5        WARNINGS AND PRECAUTIONS
               5.1 Infection and Sepsis
               As with other types of abortion, cases of serious bacterial infection, including very rare cases of
               fatal septic shock, have been reported following the use of MIFEPREX [see Boxed Warning].
               Healthcare providers evaluating a patient who is undergoing a medical abortion should be alert
               to the possibility of this rare event. A sustained (> 4 hours) fever of 100.4°F or higher, severe
               abdominal pain, or pelvic tenderness in the days after a medical abortion may be an indication
               of infection.
               A high index of suspicion is needed to rule out sepsis (e.g., from Clostridium sordellii) if a patient
               reports abdominal pain or discomfort or general malaise (including weakness, nausea, vomiting,
               or diarrhea) more than 24 hours after taking misoprostol. Very rarely, deaths have been
               reported in patients who presented without fever, with or without abdominal pain, but with
               leukocytosis with a marked left shift, tachycardia, hemoconcentration, and general malaise. No
               causal relationship between MIFEPREX and misoprostol use and an increased risk of infection
               or death has been established. Clostridium sordellii infections have also been reported very
               rarely following childbirth (vaginal delivery and caesarian section), and in other gynecologic and
               non-gynecologic conditions.
               5.2 Uterine Bleeding
               Uterine bleeding occurs in almost all patients during a medical abortion. Prolonged heavy
               bleeding (soaking through two thick full-size sanitary pads per hour for two consecutive hours)
               may be a sign of incomplete abortion or other complications, and prompt medical or surgical
               intervention may be needed to prevent the development of hypovolemic shock. Counsel
               patients to seek immediate medical attention if they experience prolonged heavy vaginal
               bleeding following a medical abortion [see Boxed Warning].
               Women should expect to experience vaginal bleeding or spotting for an average of 9 to 16 days.
               Women report experiencing heavy bleeding for a median duration of 2 days. Up to 8% of all
               subjects may experience some type of bleeding for 30 days or more. In general, the duration of
               bleeding and spotting increased as the duration of the pregnancy increased.
               Decreases in hemoglobin concentration, hematocrit, and red blood cell count may occur in
               patients who bleed heavily.
               Excessive uterine bleeding usually requires treatment by uterotonics, vasoconstrictor drugs,
               surgical uterine evacuation, administration of saline infusions, and/or blood transfusions. Based
               on data from several large clinical trials, vasoconstrictor drugs were used in 4.3% of all subjects,
               there was a decrease in hemoglobin of more than 2 g/dL in 5.5% of subjects, and blood
               transfusions were administered to ≤ 0.1% of subjects. Because heavy bleeding requiring
               surgical uterine evacuation occurs in about 1% of patients, special care should be given to
               patients with hemostatic disorders, hypocoagulability, or severe anemia.




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               5.3 Mifepristone REMS Program
               MIFEPREX is available only through a restricted program under a REMS called the mifepristone
               REMS Program, because of the risks of serious complications [see Warnings and Precautions
               (5.1, 5.2)].
               Notable requirements of the mifepristone REMS Program include the following:
                    •    Prescribers must be certified with the program by completing the Prescriber Agreement
                         Form.
                    •    Patients must sign a Patient Agreement Form.
                    •    MIFEPREX must only be dispensed to patients by or under the supervision of a certified
                         prescriber, or by certified pharmacies on prescriptions issued by certified prescribers.
               Further information is available at 1-877-4 Early Option (1-877-432-7596).
               5.4 Ectopic Pregnancy
               MIFEPREX is contraindicated in patients with a confirmed or suspected ectopic pregnancy
               because MIFEPREX is not effective for terminating ectopic pregnancies [see Contraindications
               (4)]. Healthcare providers should remain alert to the possibility that a patient who is undergoing
               a medical abortion could have an undiagnosed ectopic pregnancy because some of the
               expected symptoms experienced with a medical abortion (abdominal pain, uterine bleeding)
               may be similar to those of a ruptured ectopic pregnancy. The presence of an ectopic pregnancy
               may have been missed even if the patient underwent ultrasonography prior to being prescribed
               MIFEPREX.
               Patients who became pregnant with an IUD in place should be assessed for ectopic pregnancy.
               5.5 Rhesus Immunization
               The use of MIFEPREX is assumed to require the same preventive measures as those taken
               prior to and during surgical abortion to prevent rhesus immunization.

               6        ADVERSE REACTIONS
               The following adverse reactions are described in greater detail in other sections:
               -    Infection and sepsis [see Warnings and Precautions (5.1)]
               -    Uterine bleeding [see Warnings and Precautions (5.2)]
               6.1 Clinical Trials Experience
               Because clinical studies are conducted under widely varying conditions, adverse reaction rates
               observed in the clinical studies of a drug cannot be directly compared to rates in the clinical
               studies of another drug and may not reflect the rates observed in practice.
               Information presented on common adverse reactions relies solely on data from U.S. studies,
               because rates reported in non-U.S. studies were markedly lower and are not likely generalizable
               to the U.S. population. In three U.S. clinical studies totaling 1,248 women through 70 days
               gestation who used mifepristone 200 mg orally followed 24-48 hours later by misoprostol 800
               mcg buccally, women reported adverse reactions in diaries and in interviews at the follow-up
               visit. These studies enrolled generally healthy women of reproductive age without
               contraindications to mifepristone or misoprostol use according to the MIFEPREX product label.
               Gestational age was assessed prior to study enrollment using the date of the woman’s last
               menstrual period, clinical evaluation, and/or ultrasound examination.




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               About 85% of patients report at least one adverse reaction following administration of
               MIFEPREX and misoprostol, and many can be expected to report more than one such reaction.
               The most commonly reported adverse reactions (>15%) were nausea, weakness, fever/chills,
               vomiting, headache, diarrhea, and dizziness (see Table 1). The frequency of adverse reactions
               varies between studies and may be dependent on many factors, including the patient population
               and gestational age.
               Abdominal pain/cramping is expected in all medical abortion patients and its incidence is not
               reported in clinical studies. Treatment with MIFEPREX and misoprostol is designed to induce
               uterine bleeding and cramping to cause termination of an intrauterine pregnancy. Uterine
               bleeding and cramping are expected consequences of the action of MIFEPREX and misoprostol
               as used in the treatment procedure. Most patients can expect bleeding more heavily than they
               do during a heavy menstrual period [see Warnings and Precautions (5.2)].
               Table 1 lists the adverse reactions reported in U.S. clinical studies with incidence >15% of
               women.
                                                          Table 1
                  Adverse Reactions Reported in Women Following Administration of Mifepristone (oral) and
                                         Misoprostol (buccal) in U.S. Clinical Studies
                 Adverse          # U.S.       Number of             Range of        Upper Gestational Age of
                 Reaction        studies    Evaluable Women       frequency (%)         Studies Reporting
                                                                                            Outcome
                 Nausea             3             1,248               51-75%                 70 days
                 Weakness           2              630                55-58%                 63 days
                 Fever/chills       1              414                 48%                   63 days
                 Vomiting           3             1,248               37-48%                 70 days
                 Headache           2              630                41-44%                 63 days
                 Diarrhea           3             1,248               18-43%                 70 days
                 Dizziness          2              630                39-41%                 63 days

               One study provided gestational-age stratified adverse reaction rates for women who were 57-63
               and 64-70 days; there was little difference in frequency of the reported common adverse
               reactions by gestational age.
               Information on serious adverse reactions was reported in six U.S. and four non-U.S. clinical
               studies, totaling 30,966 women through 70 days gestation who used mifepristone 200 mg orally
               followed 24-48 hours later by misoprostol 800 mcg buccally. Serious adverse reaction rates
               were similar between U.S. and non-U.S. studies, so rates from both U.S. and non-U.S. studies
               are presented. In the U.S. studies, one studied women through 56 days gestation, four through
               63 days gestation, and one through 70 days gestation, while in the non-U.S. studies, two
               studied women through 63 days gestation, and two through 70 days gestation. Serious adverse
               reactions were reported in <0.5% of women. Information from the U.S. and non-U.S. studies is
               presented in Table 2.




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                                                             Table 2
                 Serious Adverse Reactions Reported in Women Following Administration of Mifepristone (oral) and
                                    Misoprostol (buccal) in U.S. and Non-U.S. Clinical Studies
                 Adverse                             U.S.                                    Non-U.S.
                 Reaction            # of      Number of           Range of      # of     Number of    Range of
                                   studies     Evaluable          frequency    studies    Evaluable   frequency
                                                 Women                (%)                   Women         (%)
                 Transfusion             4           17,774          0.03-0.5%         3         12,134      0-0.1%
                 Sepsis                  1            629               0.2%           1         11,155     <0.01%*

                 ER visit               2              1,043           2.9-4.6%         1            95         0
                 Hospitalization        3             14,339          0.04-0.6%         3          1,286     0-0.7%
                 Related to
                 Medical
                 Abortion
                 Infection without      1               216                0            1         11,155      0.2%
                 sepsis
                 Hemorrhage            NR               NR                NR            1         11,155      0.1%
                 NR= Not reported
                 * This outcome represents a single patient who experienced death related to sepsis.
               6.2       Postmarketing Experience
               The following adverse reactions have been identified during postapproval use of MIFEPREX
               and misoprostol. Because these reactions are reported voluntarily from a population of
               uncertain size, it is not always possible to reliably estimate their frequency or establish a causal
               relationship to drug exposure.
               Infections and infestations: post-abortal infection (including endometritis, endomyometritis,
               parametritis, pelvic infection, pelvic inflammatory disease, salpingitis)
               Blood and the lymphatic system disorders: anemia
               Immune system disorders: allergic reaction (including anaphylaxis, angioedema, hives, rash,
               itching)
               Psychiatric disorders: anxiety
               Cardiac disorders: tachycardia (including racing pulse, heart palpitations, heart pounding)
               Vascular disorders: syncope, fainting, loss of consciousness, hypotension (including
               orthostatic), light-headedness
               Respiratory, thoracic and mediastinal disorders: shortness of breath
               Gastrointestinal disorders: dyspepsia
               Musculoskeletal, connective tissue and bone disorders: back pain, leg pain
               Reproductive system and breast disorders: uterine rupture, ruptured ectopic pregnancy,
               hematometra, leukorrhea
               General disorders and administration site conditions: pain

               7        DRUG INTERACTIONS
               7.1 Drugs that May Reduce MIFEPREX Exposure (Effect of CYP 3A4 Inducers on
                   MIFEPREX)
               CYP450 3A4 is primarily responsible for the metabolism of mifepristone. CYP3A4 inducers such
               as rifampin, dexamethasone, St. John’s Wort, and certain anticonvulsants (such as phenytoin,
               phenobarbital, carbamazepine) may induce mifepristone metabolism (lowering serum
               concentrations of mifepristone). Whether this action has an impact on the efficacy of the dose



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               regimen is unknown. Refer to the follow-up assessment [see Dosage and Administration (2.3 )]
               to verify that treatment has been successful.
               7.2 Drugs that May Increase MIFEPREX Exposure (Effect of CYP 3A4 Inhibitors on
                   MIFEPREX)
               Although specific drug or food interactions with mifepristone have not been studied, on the basis
               of this drug’s metabolism by CYP 3A4, it is possible that ketoconazole, itraconazole,
               erythromycin, and grapefruit juice may inhibit its metabolism (increasing serum concentrations
               of mifepristone). MIFEPREX should be used with caution in patients currently or recently treated
               with CYP 3A4 inhibitors.
               7.3 Effects of MIFEPREX on Other Drugs (Effect of MIFEPREX on CYP 3A4 Substrates)
               Based on in vitro inhibition information, coadministration of mifepristone may lead to an increase
               in serum concentrations of drugs that are CYP 3A4 substrates. Due to the slow elimination of
               mifepristone from the body, such interaction may be observed for a prolonged period after its
               administration. Therefore, caution should be exercised when mifepristone is administered with
               drugs that are CYP 3A4 substrates and have narrow therapeutic range.

               8        USE IN SPECIFIC POPULATIONS
               8.1 Pregnancy
               Risk Summary
               MIFEPREX is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation. Risks to pregnant patients are discussed
               throughout the labeling.
               Refer to misoprostol labeling for risks to pregnant patients with the use of misoprostol.
               The risk of adverse developmental outcomes with a continued pregnancy after a failed
               pregnancy termination with MIFEPREX in a regimen with misoprostol is unknown; however, the
               process of a failed pregnancy termination could disrupt normal embryo-fetal development and
               result in adverse developmental effects. Birth defects have been reported with a continued
               pregnancy after a failed pregnancy termination with MIFEPREX in a regimen with misoprostol.
               In animal reproduction studies, increased fetal losses were observed in mice, rats, and rabbits
               and skull deformities were observed in rabbits with administration of mifepristone at doses lower
               than the human exposure level based on body surface area.
               Data
               Animal Data
               In teratology studies in mice, rats and rabbits at doses of 0.25 to 4.0 mg/kg (less than 1/100 to
               approximately 1/3 the human exposure based on body surface area), because of the
               antiprogestational activity of mifepristone,fetal losses were much higher than in control animals.
               Skull deformities were detected in rabbit studies at approximately 1/6 the human exposure,
               although no teratogenic effects of mifepristone have been observed to date in rats or mice.
               These deformities were most likely due to the mechanical effects of uterine contractions
               resulting from inhibition of progesterone action.
               8.2 Lactation
               MIFEPREX is present in human milk. Limited data demonstrate undetectable to low levels of
               the drug in human milk with the relative (weight-adjusted) infant dose 0.5% or less as compared
               to maternal dosing. There is no information on the effects of MIFEPREX in a regimen with




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               misoprostol in a breastfed infant or on milk production. Refer to misoprostol labeling for
               lactation information with the use of misoprostol. The developmental and health benefits of
               breast-feeding should be considered along with any potential adverse effects on the breast-fed
               child from MIFEPREX in a regimen with misoprostol.
               8.4 Pediatric Use
               Safety and efficacy of MIFEPREX have been established in pregnant females. Data from a
               clinical study of MIFEPREX that included a subset of 322 females under age 17 demonstrated a
               safety and efficacy profile similar to that observed in adults.


               10       OVERDOSAGE
               No serious adverse reactions were reported in tolerance studies in healthy non-pregnant female
               and healthy male subjects where mifepristone was administered in single doses greater than
               1800 mg (ninefold the recommended dose for medical abortion). If a patient ingests a massive
               overdose, the patient should be observed closely for signs of adrenal failure.


               11       DESCRIPTION
               MIFEPREX tablets each contain 200 mg of mifepristone, a synthetic steroid with
               antiprogestational effects. The tablets are light yellow in color, cylindrical, and bi-convex, and
               are intended for oral administration only. The tablets include the inactive ingredients colloidal
               silica anhydrous, corn starch, povidone, microcrystalline cellulose, and magnesium stearate.
               Mifepristone is a substituted 19-nor steroid compound chemically designated as 11ß-[p-
               (Dimethylamino)phenyl]-17ß-hydroxy-17-(1-propynyl)estra-4,9-dien-3-one. Its empirical formula
               is C29H35NO2. Its structural formula is:




               The compound is a yellow powder with a molecular weight of 429.6 and a melting point of 192-
               196°C. It is very soluble in methanol, chloroform and acetone and poorly soluble in water,
               hexane and isopropyl ether.


               12       CLINICAL PHARMACOLOGY
               12.1 Mechanism of Action
               The anti-progestational activity of mifepristone results from competitive interaction with
               progesterone at progesterone-receptor sites. Based on studies with various oral doses in
               several animal species (mouse, rat, rabbit, and monkey), the compound inhibits the activity of
               endogenous or exogenous progesterone, resulting in effects on the uterus and cervix that, when
               combined with misoprostol, result in termination of an intrauterine pregnancy.
               During pregnancy, the compound sensitizes the myometrium to the contraction-inducing activity




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               of prostaglandins.
               12.2 Pharmacodynamics
               Use of MIFEPREX in a regimen with misoprostol disrupts pregnancy by causing decidual
               necrosis, myometrial contractions, and cervical softening, leading to the expulsion of the
               products of conception.
               Doses of 1 mg/kg or greater of mifepristone have been shown to antagonize the endometrial
               and myometrial effects of progesterone in women.
               Antiglucocorticoid and antiandrogenic activity: Mifepristone also exhibits antiglucocorticoid and
               weak antiandrogenic activity. The activity of the glucocorticoid dexamethasone in rats was
               inhibited following doses of 10 to 25 mg/kg of mifepristone. Doses of 4.5 mg/kg or greater in
               human beings resulted in a compensatory elevation of adrenocorticotropic hormone (ACTH)
               and cortisol. Antiandrogenic activity was observed in rats following repeated administration of
               doses from 10 to 100 mg/kg.
               12.3 Pharmacokinetics
               Mifepristone is rapidly absorbed after oral ingestion with non-linear pharmacokinetics for Cmax
               after single oral doses of 200 mg and 600 mg in healthy subjects.
               Absorption
               The absolute bioavailability of a 20 mg mifepristone oral dose in females of childbearing age is
               69%. Following oral administration of a single dose of 600 mg, mifepristone is rapidly absorbed,
               with a peak plasma concentration of 1.98 ± 1.0 mg/L occurring approximately 90 minutes after
               ingestion.
               Following oral administration of a single dose of 200 mg in healthy men (n=8), mean Cmax was
               1.77 ± 0.7 mg/L occurring approximately 45 minutes after ingestion. Mean AUC0-∞ was 25.8 ± 6.2
               mg*hr/L.
               Distribution
               Mifepristone is 98% bound to plasma proteins, albumin, and α1-acid glycoprotein. Binding to the
               latter protein is saturable, and the drug displays nonlinear kinetics with respect to plasma
               concentration and clearance.
               Elimination
               Following a distribution phase, elimination of mifepristone is slow at first (50% eliminated
               between 12 and 72 hours) and then becomes more rapid with a terminal elimination half-life of
               18 hours.
               Metabolism
               Metabolism of mifepristone is primarily via pathways involving N-demethylation and terminal
               hydroxylation of the 17-propynyl chain. In vitro studies have shown that CYP450 3A4 is primarily
               responsible for the metabolism. The three major metabolites identified in humans are: (1) RU 42
               633, the most widely found in plasma, is the N-monodemethylated metabolite; (2) RU 42 848,
               which results from the loss of two methyl groups from the 4-dimethylaminophenyl in position
               11ß; and (3) RU 42 698, which results from terminal hydroxylation of the 17-propynyl chain.
               Excretion
               By 11 days after a 600 mg dose of tritiated compound, 83% of the drug has been accounted for
               by the feces and 9% by the urine. Serum concentrations are undetectable by 11 days.




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               Specific Populations
               The effects of age, hepatic disease and renal disease on the safety, efficacy and
               pharmacokinetics of mifepristone have not been investigated.


               13       NONCLINICAL TOXICOLOGY
               13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
               Carcinogenesis
               No long-term studies to evaluate the carcinogenic potential of mifepristone have been
               performed.
               Mutagenesis
               Results from studies conducted in vitro and in animals have revealed no genotoxic potential for
               mifepristone. Among the tests carried out were: Ames test with and without metabolic activation;
               gene conversion test in Saccharomyces cerevisiae D4 cells; forward mutation in
               Schizosaccharomyces pompe P1 cells; induction of unscheduled DNA synthesis in cultured
               HeLa cells; induction of chromosome aberrations in CHO cells; in vitro test for gene mutation in
               V79 Chinese hamster lung cells; and micronucleus test in mice.
               Impairment of Fertility
               In rats, administration of 0.3 mg/kg mifepristone per day caused severe disruption of the estrus
               cycles for the three weeks of the treatment period. Following resumption of the estrus cycle,
               animals were mated and no effects on reproductive performance were observed.


               14       CLINICAL STUDIES
               Safety and efficacy data from clinical studies of mifepristone 200 mg orally followed 24-48 hours
               later by misoprostol 800 mcg buccally through 70 days gestation are reported below. Success
               was defined as the complete expulsion of the products of conception without the need for
               surgical intervention. The overall rates of success and failure, shown by reason for failure based
               on 22 worldwide clinical studies (including 7 U.S. studies) appear in Table 3.
               The demographics of women who participated in the U.S. clinical studies varied depending on
               study location and represent the racial and ethnic variety of American females. Females of all
               reproductive ages were represented, including females less than 18 and more than 40 years of
               age; most were 27 years or younger.




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                                                           Table 3
                          Outcome Following Treatment with Mifepristone (oral) and Misoprostol (buccal)
                                                 Through 70 Days Gestation
                                                       U.S. Trials                     Non-U.S. Trials
                                  N                                   16,794                                  18,425
                 Complete Medical Abortion                            97.4%                                   96.2%


                     Surgical Intervention*                           2.6%                                    3.8%
                     Ongoing Pregnancy**                              0.7%                                    0.9%
                 *  Reasons for surgical intervention include ongoing pregnancy, medical necessity, persistent or heavy bleeding
                    after treatment, patient request, or incomplete expulsion.
                 ** Ongoing pregnancy is a subcategory of surgical intervention, indicating the percent of women who have
                    surgical intervention due to an ongoing pregnancy.


               The results for clinical studies that reported outcomes, including failure rates for ongoing
               pregnancy, by gestational age are presented in Table 4.
                                                             Table 4
                             Outcome by Gestational Age Following Treatment with Mifepristone and
                                   Misoprostol (buccal) for U.S. and Non-U.S. Clinical Studies
                                      <49 days                 50-56 days                 57-63 days               64-70 days
                              N        %     Number of   N      %     Number of    N       %     Number of   N      %     Number of
                                             Evaluable                Evaluable                  Evaluable                Evaluable
                                              Studies                  Studies                    Studies                  Studies
               Complete     12,046    98.1      10     3,941   96.8       7       2,294   94.7       9       479   92.7       4
               medical
               abortion
               Surgical     10,272    0.3        6     3,788   0.8          6     2,211     2          8     453   3.1          3
               intervention
               for ongoing
               pregnancy


               One clinical study asked subjects through 70 days gestation to estimate when they expelled the
               pregnancy, with 70% providing data. Of these, 23-38% reported expulsion within 3 hours and
               over 90% within 24 hours of using misoprostol.


               16       HOW SUPPLIED/STORAGE AND HANDLING
               is only available through a restricted program called the Mifepristone REMS Program [see
               Warnings and Precautions (5.3)].
               MIFEPREX is supplied as light yellow, cylindrical, and bi-convex tablets imprinted on one side
               with “MF.” Each tablet contains 200 mg of mifepristone. One tablet is individually blistered on
               one blister card that is packaged in an individual package (National Drug Code 64875-001-01).
               Store at 25°C (77°F); excursions permitted to 15 to 30°C (59 to 86°F) [see USP Controlled
               Room Temperature].




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               17       PATIENT COUNSELING INFORMATION
               Advise the patient to read the FDA-approved patient labeling (Medication Guide), included with
               each package of MIFEPREX. Additional copies of the Medication Guide are available by
               contacting Danco Laboratories at 1-877-4 Early Option (1-877-432-7596) or from
               www.earlyoptionpill.com.
               Serious Infections and Bleeding
                    •    Inform the patient that uterine bleeding and uterine cramping will occur [see Warnings
                         and Precautions (5.2)].
                    •    Advise the patient that serious and sometimes fatal infections and bleeding can occur
                         very rarely [see Warnings and Precautions (5.1, 5.2)].
                    •    MIFEPREX is only available through a restricted program called the Mifepristone REMS
                         Program [see Warnings and Precautions (5.3)]. Under the mifepristone REMS Program:
                            o   Patients must sign a Patient Agreement Form.
                            o   MIFEPREX is only dispensed by or under the supervision of certified prescribers
                                or by certified pharmacies on prescriptions issued by certified prescribers.
               Provider Contacts and Actions in Case of Complications
                    •    Ensure that the patient knows whom to call and what to do, including going to an
                         Emergency Room if none of the provided contacts are reachable, or if the patient
                         experiences complications including prolonged heavy bleeding, severe abdominal pain,
                         or sustained fever [see Boxed Warning].
                    •
               Compliance with Treatment Schedule and Follow-up Assessment
                    •    Advise the patient that it is necessary to complete the treatment schedule, including a
                         follow-up assessment approximately 7 to14 days after taking MIFEPREX [see Dosage
                         and Administration (2.3)].
                    •    Explain that
                            o   prolonged heavy vaginal bleeding is not proof of a complete abortion,
                            o   if the treatment fails and the pregnancy continues, the risk of fetal malformation is
                                unknown,
                            o   it is recommended that ongoing pregnancy be managed by surgical termination
                                [see Dosage and Administration (2.3)]. Advise the patient whether you will
                                provide such care or will refer them to another provider.
               Subsequent Fertility
                    •    Inform the patient that another pregnancy can occur following medical abortion and
                         before resumption of normal menses.
                    •    Inform the patient that contraception can be initiated as soon as pregnancy expulsion
                         has been confirmed, or before resuming sexual intercourse.
               MIFEPREX is a registered trademark of Danco Laboratories, LLC.




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               Manufactured for:
               Danco Laboratories, LLC
               P.O. Box 4816
               New York, NY 10185
               1-877-4 Early Option (1-877-432-7596)
               www.earlyoptionpill.com


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                                                          MEDICATION GUIDE
                                        Mifeprex (MIF-eh-prex) (mifepristone tablets, for oral use
                 Read this information carefully before taking Mifeprex and misoprostol. It will help you understand how
                 the treatment works. This Medication Guide does not take the place of talking with your healthcare
                 provider.
                 What is the most important information I should know about Mifeprex?
                 What symptoms should I be concerned with? Although cramping and bleeding are an expected part
                 of ending a pregnancy, rarely, serious and potentially life-threatening bleeding, infections, or other
                 problems can occur following a miscarriage, surgical abortion, medical abortion, or childbirth. Seeking
                 medical attention as soon as possible is needed in these circumstances. Serious infection has resulted
                 in death in a very small number of cases. There is no information that use of Mifeprex and misoprostol
                 caused these deaths. If you have any questions, concerns, or problems, or if you are worried about any
                 side effects or symptoms, you should contact your healthcare provider. You can write down your
                 healthcare provider’s telephone number here ________________________.
                 Be sure to contact your healthcare provider promptly if you have any of the following:

                 • Heavy Bleeding. Contact your healthcare provider right away if you bleed enough to soak through
                   two thick full-size sanitary pads per hour for two consecutive hours or if you are concerned about
                   heavy bleeding. In about 1 out of 100 women, bleeding can be so heavy that it requires a surgical
                   procedure (surgical aspiration or D&C).

                 • Abdominal Pain or “Feeling Sick.” If you have abdominal pain or discomfort, or you are “feeling
                   sick,” including weakness, nausea, vomiting, or diarrhea, with or without fever, more than 24 hours
                   after taking misoprostol, you should contact your healthcare provider without delay. These
                   symptoms may be a sign of a serious infection or another problem (including an ectopic pregnancy,
                   a pregnancy outside the womb).
                 • Fever. In the days after treatment, if you have a fever of 100.4°F or higher that lasts for more than 4
                   hours, you should contact your healthcare provider right away. Fever may be a symptom of a
                   serious infection or another problem.
                 If you cannot reach your healthcare provider, go to the nearest hospital emergency room.
                 What to do if you are still pregnant after Mifeprex with misoprostol treatment. If you are still
                 pregnant, your healthcare provider will talk with you about a surgical procedure to end your pregnancy.
                 In many cases, this surgical procedure can be done in the office/clinic. The chance of birth defects if
                 the pregnancy is not ended is unknown.
                 Talk with your healthcare provider. Before you take Mifeprex, you should read this Medication Guide
                 and you and your healthcare provider should discuss the benefits and risks of your using Mifeprex.




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                 What is Mifeprex?
                 Mifeprex is used in a regimen with another prescription medicine called misoprostol, to end an
                 early pregnancy. Early pregnancy means it is 70 days (10 weeks) or less since your last menstrual
                 period began. Mifeprex is not approved for ending pregnancies that are further along. Mifeprex blocks
                 a hormone needed for your pregnancy to continue. When you use Mifeprex on Day 1, you also need to
                 take another medicine called misoprostol 24 to 48 hours after you take Mifeprex, to cause the
                 pregnancy to be passed from your uterus.
                 The pregnancy is likely to be passed from your uterus within 2 to 24 hours after taking Mifeprex and
                 misoprostol. When the pregnancy is passed from the uterus, you will have bleeding and cramping that
                 will likely be heavier than your usual period. About 2 to 7 out of 100 women taking Mifeprex will need a
                 surgical procedure because the pregnancy did not completely pass from the uterus or to stop bleeding.
                 Who should not take Mifeprex?
                 Some patients should not take Mifeprex. Do not take Mifeprex if you:

                 • Have a pregnancy that is more than 70 days (10 weeks). Your healthcare provider may do a clinical
                   examination, an ultrasound examination, or other testing to determine how far along you are in
                   pregnancy.

                 • Are using an IUD (intrauterine device or system). It must be taken out before you take Mifeprex.
                 • Have been told by your healthcare provider that you have a pregnancy outside the uterus (ectopic
                   pregnancy).

                 • Have problems with your adrenal glands (chronic adrenal failure).

                 • Take a medicine to thin your blood.
                 • Have a bleeding problem.
                 • Have porphyria.

                 • Take certain steroid medicines.
                 • Are allergic to mifepristone, misoprostol, or medicines that contain misoprostol, such as Cytotec or
                   Arthrotec.
                 Ask your healthcare provider if you are not sure about all your medical conditions before taking this
                 medicine to find out if you can take Mifeprex.
                 What should I tell my healthcare provider before taking Mifeprex?
                 Before you take Mifeprex, tell your healthcare provider if you:
                 • cannot follow-up within approximately 7 to 14 days of your first visit
                 • are breastfeeding. Mifeprex can pass into your breast milk. The effect of the Mifeprex and
                   misoprostol regimen on the breastfed infant or on milk production is unknown.
                 • are taking medicines, including prescription and over-the-counter medicines, vitamins, and herbal
                   supplements.
                   Mifeprex and certain other medicines may affect each other if they are used together. This can
                   cause side effects.




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                 How should I take Mifeprex?
                 • Mifeprex will be given to you by a healthcare provider or pharmacy.
                 • You and your healthcare provider will plan the most appropriate location for you to take the
                   misoprostol, because it may cause bleeding, cramps, nausea, diarrhea, and other symptoms that
                   usually begin within 2 to 24 hours after taking it.

                 • Most women will pass the pregnancy within 2 to 24 hours after taking the misoprostol tablets.
                 Follow the instruction below on how to take Mifeprex and misoprostol:
                 Mifeprex (1 tablet) orally + misoprostol (4 tablets) buccally
                 Day 1:
                        •   Take 1 Mifeprex tablet by mouth.
                 24 to 48 hours after taking Mifeprex:
                        •   Take 4 misoprostol tablets by placing 2 tablets in
                            each cheek pouch (the area between your teeth
                            and cheek - see Figure A) for 30 minutes and then
                            swallow anything left over with a drink of water or
                            another liquid.
                        •   The medicines may not work as well if you take
                            misoprostol sooner than 24 hours after Mifeprex
                            or later than 48 hours after Mifeprex.

                        •   Misoprostol often causes cramps, nausea,
                            diarrhea, and other symptoms. Your healthcare
                            provider may send you home with medicines for
                            these symptoms.

                                                                                  Figure A (2 tablets between your left
                                                                                  cheek and gum and 2 tablets between
                                                                                  your right cheek and gum).
                 Follow-up Assessment at Day 7 to 14:

                 • This follow-up assessment is very important. You must follow-up with your healthcare provider
                   about 7 to 14 days after you have taken Mifeprex to be sure you are well and that you have had
                   bleeding and the pregnancy has passed from your uterus.
                 • Your healthcare provider will assess whether your pregnancy has passed from your uterus. If your
                   pregnancy continues, the chance that there may be birth defects is unknown. If you are still
                   pregnant, your healthcare provider will talk with you about a surgical procedure to end your
                   pregnancy.
                 • If your pregnancy has ended, but has not yet completely passed from your uterus, your provider will
                   talk with you about other choices you have, including waiting, taking another dose of misoprostol, or
                   having a surgical procedure to empty your uterus.




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                 When should I begin birth control?
                 You can become pregnant again right after your pregnancy ends. If you do not want to become
                 pregnant again, start using birth control as soon as your pregnancy ends or before you start having
                 sexual intercourse again.
                 What should I avoid while taking Mifeprex and misoprostol?
                 Do not take any other prescription or over-the-counter medicines (including herbal medicines or
                 supplements) at any time during the treatment period without first asking your healthcare provider
                 about them because they may interfere with the treatment. Ask your healthcare provider about what
                 medicines you can take for pain and other side effects.
                 What are the possible side effects of Mifeprex and misoprostol?
                 Mifeprex may cause serious side effects. See “What is the most important information I should
                 know about Mifeprex?”
                 Cramping and bleeding. Cramping and vaginal bleeding are expected with this treatment. Usually,
                 these symptoms mean that the treatment is working. But sometimes you can get cramping and
                 bleeding and still be pregnant. This is why you must follow-up with your healthcare provider
                 approximately 7 to 14 days after taking Mifeprex. See “How should I take Mifeprex?” for more
                 information on your follow-up assessment. If you are not already bleeding after taking Mifeprex, you
                 probably will begin to bleed once you take misoprostol, the medicine you take 24 to 48 hours after
                 Mifeprex. Bleeding or spotting can be expected for an average of 9 to16 days and may last for up to 30
                 days. Your bleeding may be similar to, or greater than, a normal heavy period. You may see blood
                 clots and tissue. This is an expected part of passing the pregnancy.
                 The most common side effects of Mifeprex treatment include: nausea, weakness, fever/chills, vomiting,
                 headache, diarrhea and dizziness. Your provider will tell you how to manage any pain or other side
                 effects. These are not all the possible side effects of Mifeprex.
                 Call your healthcare provider for medical advice about any side effects that bother you or do not go
                 away. You may report side effects to FDA at 1-800-FDA-1088.
                 General information about the safe and effective use of Mifeprex.
                 Medicines are sometimes prescribed for purposes other than those listed in a Medication
                 Guide. This Medication Guide summarizes the most important information about Mifeprex. If
                 you would like more information, talk with your healthcare provider. You may ask your
                 healthcare provider for information about Mifeprex that is written for healthcare professionals.
                 For more information about Mifeprex, go to www.earlyoptionpill.com or call 1-877-4 Early
                 Option (1-877-432-7596).


                 Manufactured for: Danco Laboratories, LLC
                 P.O. Box 4816
                 New York, NY 10185
                 1-877-4 Early Option (1-877-432-7596) www.earlyoptionpill.com
               This Medication Guide has been approved by the U.S. Food and Drug Administration.         Approval
               01/2023




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                      APPLICATION NUMBER:

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                                 REMS




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               Initial Shared System REMS approval: 04/2019
               Most Recent Modification: 01/2023

                                                           Mifepristone Tablets, 200 mg
                                                              Progestin Antagonist
                                     RISK EVALUATION AND MITIGATION STRATEGY (REMS)
                                      SINGLE SHARED SYSTEM FOR MIFEPRISTONE 200 MG

               I.     GOAL
               The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated with
               mifepristone by:
                    a) Requiring healthcare providers who prescribe mifepristone to be certified in the Mifepristone
                       REMS Program.
                    b) Ensuring that mifepristone is only dispensed by or under the supervision of certified prescribers, or
                       by certified pharmacies on prescriptions issued by certified prescribers.
                    c) Informing patients about the risk of serious complications associated with mifepristone.

               II. REMS ELEMENTS
               A. Elements to Assure Safe Use
               1. Healthcare providers who prescribe mifepristone must be specially certified.
                        a. To become specially certified to prescribe mifepristone, healthcare providers must:
                            i. Review the Prescribing Information for mifepristone.
                            ii. Complete a Prescriber Agreement Form. By signing1 a Prescriber Agreement Form,
                                 prescribers agree that:
                                1) They have the following qualifications:
                                   a) Ability to assess the duration of pregnancy accurately
                                   b) Ability to diagnose ectopic pregnancies
                                   c) Ability to provide surgical intervention in cases of incomplete abortion or severe
                                      bleeding, or to have made plans to provide such care through others, and ability to
                                      assure patient access to medical facilities equipped to provide blood transfusions and
                                      resuscitation, if necessary
                                2) They will follow the guidelines for use of mifepristone (see b.i-vii below).
                        b. As a condition of certification, prescribers must follow the guidelines for use of mifepristone
                           described below:
                            i. Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the
                                 mifepristone treatment regimen are fully explained. Ensure any questions the patient may
                                 have prior to receiving mifepristone are answered.
                            ii. Ensure that the healthcare provider and patient sign the Patient Agreement Form.



               1
                   In this REMS, the terms “sign” and “signature” include electronic signatures.



                                                                                                              App. 0000721
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                            iii. Ensure that the patient is provided with a copy of the Patient Agreement Form and
                                Medication Guide.
                            iv. Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                            v. Ensure that any deaths are reported to the Mifepristone Sponsor that provided the
                                mifepristone, identifying the patient by a non-identifiable reference and including the NDC
                                and lot number from the package of mifepristone that was dispensed to the patient.
                            vi. If mifepristone will be dispensed by a certified pharmacy:
                               1) Provide the certified pharmacy a signed Prescriber Agreement Form.
                               2) Assess appropriateness of dispensing mifepristone when contacted by a certified
                                  pharmacy about patients who will receive mifepristone more than 4 calendar days after
                                  the prescription was received by the certified pharmacy.
                               3) Obtain the NDC and lot number of the package of mifepristone the patient received in
                                  the event the prescriber becomes aware of the death of the patient.
                            vii. The certified prescriber who dispenses mifepristone or who supervises the dispensing of
                                mifepristone must:
                               1) Provide an authorized distributor with a signed Prescriber Agreement Form.
                               2) Ensure that the NDC and lot number from each package of mifepristone dispensed are
                                  recorded in the patient’s record.
                               3) Ensure that healthcare providers under their supervision follow guidelines i.-v.
                        c. Mifepristone Sponsors must:
                            i. Ensure that healthcare providers who prescribe their mifepristone are specially certified in
                                accordance with the requirements described above and de-certify healthcare providers who
                                do not maintain compliance with certification requirements.
                           ii. Ensure prescribers previously certified in the Mifepristone REMS Program complete the
                               new Prescriber Agreement Form:
                               1) Within 120 days after approval of this modification, for those previously certified
                                  prescribers submitting prescriptions to certified pharmacies.
                               2) Within one year after approval of this modification, if previously certified and ordering
                                  from an authorized distributor.
                            iii. Ensure that healthcare providers can complete the certification process by email or fax to an
                                authorized distributor and/or certified pharmacy.
                            iv. Provide the Prescribing Information and their Prescriber Agreement Form to healthcare
                                providers who inquire about how to become certified.
                            v. Ensure annually with each certified prescriber that their locations for receiving mifepristone
                                are up to date.
                            The following materials are part of the Mifepristone REMS Program:
                             • Prescriber Agreement Form for Danco Laboratories, LLC
                             • Prescriber Agreement Form for GenBioPro, Inc.
                             • Patient Agreement Form



                                                                                                              App. 0000732
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               2. Pharmacies that dispense mifepristone must be specially certified
                        a. To become specially certified to dispense mifepristone, pharmacies must:
                            i. Be able to receive Prescriber Agreement Forms by email and fax.
                            ii. Be able to ship mifepristone using a shipping service that provides tracking information.
                            iii. Designate an authorized representative to carry out the certification process on behalf of the
                                pharmacy.
                            iv. Ensure the authorized representative oversees implementation and compliance with the
                                Mifepristone REMS Program by doing the following:
                               1) Review the Prescribing Information for mifepristone.
                               2) Complete a Pharmacy Agreement Form. By signing a Pharmacy Agreement Form, the
                                  authorized representative agrees that the pharmacy will put processes and procedures in
                                  place to ensure the following requirements are completed:
                                   a) Verify that the prescriber is certified by confirming their completed Prescriber
                                      Agreement Form was received with the prescription or is on file with the pharmacy.
                                   b) Dispense mifepristone such that it is delivered to the patient within 4 calendar days of
                                      the date the pharmacy receives the prescription, except as provided in c) below.
                                   c) Confirm with the prescriber the appropriateness of dispensing mifepristone for
                                      patients who will receive the drug more than 4 calendar days after the date the
                                      pharmacy receives the prescription and document the prescriber’s decision.
                                   d) Record in the patient’s record the NDC and lot number from each package of
                                      mifepristone dispensed.
                                   e) Track and verify receipt of each shipment of mifepristone.
                                   f)   Dispense mifepristone in its package as supplied by the Mifepristone Sponsor.
                                   g) Report any patient deaths to the prescriber, including the NDC and lot number from
                                      the package of mifepristone dispensed to the patient, and remind the prescriber of
                                      their obligation to report the deaths to the Mifepristone Sponsor that provided the
                                      mifepristone. Notify the Mifepristone Sponsor that provided the dispensed
                                      mifepristone that the pharmacy submitted a report of death to the prescriber,
                                      including the name and contact information for the prescriber and the NDC and lot
                                      number of the dispensed product.
                                   h) Not distribute, transfer, loan or sell mifepristone except to certified prescribers or
                                      other locations of the pharmacy.
                                   i)   Maintain records of Prescriber Agreement Forms.
                                   j)   Maintain records of dispensing and shipping.
                                   k) Maintain records of all processes and procedures including compliance with those
                                      processes and procedures.
                                   l)   Maintain the identity of the patient and prescriber as confidential, including limiting
                                        access to patient and prescriber identity only to those personnel necessary to dispense
                                        mifepristone in accordance with the Mifepristone REMS Program requirements, or as
                                        necessary for payment and/or insurance purposes.
                                   m) Train all relevant staff on the Mifepristone REMS Program requirements.



                                                                                                                App. 0000743
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                                   n) Comply with audits carried out by the Mifepristone Sponsors or a third party acting
                                      on behalf of the Mifepristone Sponsors to ensure that all processes and procedures
                                      are in place and are being followed.
                        b. Mifepristone Sponsors must:
                            i. Ensure that pharmacies are specially certified in accordance with the requirements described
                                above and de-certify pharmacies that do not maintain compliance with certification
                                requirements.
                            ii. Ensure that pharmacies can complete the certification process by email and fax to an
                                authorized distributor.
                            i. Verify annually that the name and contact information for the pharmacy’s authorized
                                representative corresponds to that of the current designated authorized representative for the
                                certified pharmacy, and if different, require the pharmacy to recertify with the new
                                authorized representative.
                            The following materials are part of the Mifepristone REMS Program:
                              • Pharmacy Agreement Form for Danco Laboratories, LLC
                              • Pharmacy Agreement Form for GenBioPro, Inc.
               3. Mifepristone must be dispensed to patients with evidence or other documentation of safe use
                  conditions as ensured by the certified prescriber in signing the Prescriber Agreement Form.
                        a. The patient must sign a Patient Agreement Form indicating that the patient has:
                            i. Received, read and been provided a copy of the Patient Agreement Form.
                            ii. Received counseling from the healthcare provider regarding the risk of serious complications
                                associated with mifepristone.

               B. Implementation System
               1. Mifepristone Sponsors must ensure that their mifepristone is only distributed to certified prescribers and
                  certified pharmacies by:
                        a. Ensuring that distributors who distribute their mifepristone comply with the program
                           requirements for distributors.
                            i. The distributors must put processes and procedures in place to:
                                1) Complete the certification process upon receipt of a Prescriber Agreement Form or
                                   Pharmacy Agreement Form.
                                2) Notify healthcare providers and pharmacies when they have been certified by the
                                   Mifepristone REMS Program.
                                3) Ship mifepristone only to certified pharmacies or locations identified by certified
                                   prescribers.
                                4) Not ship mifepristone to pharmacies or prescribers who become de-certified from the
                                   Mifepristone REMS Program.
                                5) Provide the Prescribing Information and their Prescriber Agreement Form to healthcare
                                   providers who (1) attempt to order mifepristone and are not yet certified, or (2) inquire
                                   about how to become certified.
                            ii. Put processes and procedures in place to maintain a distribution system that is secure,



                                                                                                              App. 0000754
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                                 confidential and follows all processes and procedures, including those for storage, handling,
                                 shipping, tracking package serial numbers, NDC and lot numbers, proof of delivery and
                                 controlled returns of mifepristone.
                            iii. Train all relevant staff on the Mifepristone REMS Program requirements.
                            iv. Comply with audits by Mifepristone Sponsors or a third party acting on behalf of
                                 Mifepristone Sponsors to ensure that all processes and procedures are in place and are being
                                 followed for the Mifepristone REMS Program. In addition, distributors must maintain
                                 appropriate documentation and make it available for audits.
                        b. Ensuring that distributors maintain secure and confidential distribution records of all shipments
                           of mifepristone.
               2. Mifepristone Sponsors must monitor their distribution data to ensure compliance with the
                  Mifepristone REMS Program.
               3. Mifepristone Sponsors must ensure that adequate records are maintained to demonstrate that the
                  Mifepristone REMS Program requirements have been met, including, but not limited to records of
                  mifepristone distribution; certification of prescribers and pharmacies; and audits of pharmacies and
                  distributors. These records must be readily available for FDA inspections.
               4. Mifepristone Sponsors must audit their new distributors within 90 calendar days and annually
                  thereafter after the distributor is authorized to ensure that all processes and procedures are in place
                  and functioning to support the requirements of the Mifepristone REMS Program. Mifepristone
                  Sponsors will take steps to address their distributor compliance if noncompliance is identified.
               5. Mifepristone Sponsors must audit their certified pharmacies within 180 calendar days after the
                  pharmacy places its first order of mifepristone, and annually thereafter audit certified pharmacies that
                  have ordered mifepristone in the previous 12 months, to ensure that all processes and procedures are
                  in place and functioning to support the requirements of the Mifepristone REMS Program.
                  Mifepristone Sponsors will take steps to address their pharmacy compliance if noncompliance is
                  identified.
               6. Mifepristone Sponsors must take reasonable steps to improve implementation of and compliance with
                  the requirements of the Mifepristone REMS Program based on monitoring and assessment of the
                  Mifepristone REMS Program.
               7. Mifepristone Sponsors must report to FDA any death associated with mifepristone whether or not
                  considered drug-related, as soon as possible but no later than 15 calendar days from the initial receipt
                  of the information by the Mifepristone Sponsor. This requirement does not affect the sponsors’ other
                  reporting and follow-up requirements under FDA regulations.

               C. Timetable for Submission of Assessments
               The NDA Sponsor must submit REMS assessments to FDA one year from the date of the approval of the
               modified REMS (1/3/2023) and annually thereafter. To facilitate inclusion of as much information as
               possible while allowing reasonable time to prepare the submission, the reporting interval covered by each
               assessment should conclude no earlier than 90 calendar days before the submission date for that
               assessment. The NDA Sponsor must submit each assessment so that it will be received by the FDA on or
               before the due date.




                                                                                                              App. 0000765
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                                              MIFEPREX® (Mifepristone) Tablets, 200 mg

                                                  PRESCRIBER AGREEMENT FORM
               Mifeprex* (Mifepristone) Tablets, 200 mg, is indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy through 70 days gestation. Please see Prescribing Information and
               Medication Guide for complete safety information.
               To become a certified prescriber, you must:
                 • If you submit Mifeprex prescriptions for dispensing from certified pharmacies:
                    o   Submit this form to each certified pharmacy to which you intend to submit Mifeprex prescriptions.
                        The form must be received by the certified pharmacy before any prescriptions are dispensed by
                        that pharmacy.
                  • If you order Mifeprex for dispensing by you or healthcare providers under your supervision:
                    o   Submit this form to the distributor. This form must be received by the distributor before the first
                        order will be shipped to the healthcare setting.
                    o   Healthcare settings, such as medical offices, clinics, and hospitals, where Mifeprex will be
                        dispensed by or under the supervision of a certified prescriber in the Mifepristone REMS
                        Program do not require pharmacy certification.
               Prescriber Agreement: By signing this form, you agree that you meet the qualifications below and will
               follow the guidelines for use. You are responsible for overseeing implementation and compliance with the
               Mifepristone REMS Program. You also understand that if the guidelines below are not followed, the
               distributor may stop shipping mifepristone to the locations that you identify and certified pharmacies may
               stop accepting your mifepristone prescriptions.
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 • Ability to assess the duration of pregnancy accurately.
                 • Ability to diagnose ectopic pregnancies.
                 • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                   made plans to provide such care through others, and be able to assure patient access to medical
                   facilities equipped to provide blood transfusions and resuscitation, if necessary.
                 • Has read and understood the Prescribing Information for mifepristone. The Prescribing Information is
                   available by calling 1-877-4 EARLY OPTION (1-877-432-7596 toll-free), or by visiting
                   www.earlyoptionpill.com.

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 • Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the mifepristone
                   treatment regimen are fully explained. Ensure any questions the patient may have prior to receiving
                   mifepristone are answered.
                 • Ensure the healthcare provider and patient sign the Patient Agreement Form.
                 • Ensure that the patient is provided with a copy of the Patient Agreement Form and Medication Guide.
                 • Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                 • Ensure that any deaths of patients who received Mifeprex are reported to Danco Laboratories, LLC,
                   identifying the patient by a non-identifiable reference and including the NDC and lot number from the
                   package of Mifeprex that was dispensed to the patient.


                                                                 *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                              P.O. Box 4816-New York, NY 10185
                                                              1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                              App. 000077
Reference ID: 5103833
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               Ensure that healthcare providers under your supervision follow the guidelines listed above.
                 • If Mifeprex will be dispensed through a certified pharmacy:
                    o   Assess appropriateness of dispensing Mifeprex when contacted by a certified pharmacy about
                        patients who will receive Mifeprex more than 4 calendar days after the prescription was received
                        by the certified pharmacy.
                    o   Obtain the NDC and lot number of the package of Mifeprex the patient received in the event the
                        prescriber becomes aware of the death of a patient.
                 • If Mifeprex will be dispensed by you or by healthcare providers under your supervision:
                    o   Ensure the NDC and lot number from each package of Mifeprex are recorded in the patient’s
                        record.

               I understand that a certified pharmacy may dispense mifepristone made by a different manufacturer than
               that stated on this Prescriber Agreement Form.


               Print Name:                                                        Title:
               Signature:                                                         Date:
               Medical License #                                                  State
               NPI #
               Practice Setting Address:
               Return completed form to Mifeprex@dancodistributor.com or fax to 1-866-227-3343.


               Approved 01/2023 [Doc control ID]




                                                              *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                           P.O. Box 4816-New York, NY 10185
                                                           1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                           App. 000078
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               PRESCRIBER AGREEMENT FORM                                                   Mifepristone Tablets, 200 mg
               Mifepristone Tablets, 200 mg, is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation. Please see Prescribing Information and Medication
               Guide for complete safety information.
               To become a certified prescriber, you must:
                 • If you submit mifepristone prescriptions for dispensing from certified pharmacies:
                    o    Submit this form to each certified pharmacy to which you intend to submit mifepristone
                         prescriptions. The form must be received by the certified pharmacy before any prescriptions are
                         dispensed by that pharmacy.
                  • If you order mifepristone for dispensing by you or healthcare providers under your
                    supervision:
                    o    Submit this form to the distributor. This form must be received by the distributor before the first
                         order will be shipped to the healthcare setting.
                    o    Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be
                         dispensed by or under the supervision of a certified prescriber in the Mifepristone REMS
                         Program do not require pharmacy certification.
               Prescriber Agreement: By signing this form, you agree that you meet the qualifications below and will
               follow the guidelines for use. You are responsible for overseeing implementation and compliance with the
               Mifepristone REMS Program. You also understand that if the guidelines below are not followed, the
               distributor may stop shipping mifepristone to the locations that you identify and certified pharmacies may
               stop accepting your mifepristone prescriptions.
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 • Ability to assess the duration of pregnancy accurately.
                 • Ability to diagnose ectopic pregnancies.
                 • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                   made plans to provide such care through others, and be able to assure patient access to medical
                   facilities equipped to provide blood transfusions and resuscitation, if necessary.
                 • Has read and understood the Prescribing Information for mifepristone. The Prescribing Information is
                   available by calling 1-855-MIFE-INFO (1-855—643-3463 toll-free), or by visiting www.MifeInfo.com.

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 • Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the mifepristone
                   treatment regimen are fully explained. Ensure any questions the patient may have prior to receiving
                   mifepristone are answered.
                 • Ensure the healthcare provider and patient sign the Patient Agreement Form.
                 • Ensure that the patient is provided with a copy of the Patient Agreement Form and Medication Guide.
                 • Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                 • Ensure that any deaths of patients who received mifepristone are reported to GenBioPro, Inc. that
                   provided the mifepristone, identifying the patient by a non-identifiable reference and including the
                   NDC and lot number from the package of mifepristone that was dispensed to the patient.
               Ensure that healthcare providers under your supervision follow the guidelines listed above.




                                                                  GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                      1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com
                                                                                                              App. 000079
Reference ID: 5103833
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                 • If mifepristone will be dispensed through a certified pharmacy:
                    o    Assess appropriateness of dispensing mifepristone when contacted by a certified pharmacy
                         about patients who will receive mifepristone more than 4 calendar days after the prescription
                         was received by the certified pharmacy.
                    o    Obtain the NDC and lot number of the package of mifepristone the patient received in the event
                         the prescriber becomes aware of the death of a patient.
                 • If mifepristone will be dispensed by you or by healthcare providers under your supervision:
                    o    Ensure the NDC and lot number from each package of mifepristone are recorded in the patient’s
                         record.

               I understand that a certified pharmacy may dispense mifepristone made by a different manufacturer than
               that stated on this Prescriber Agreement Form.


               Print Name:                                                           Title:
               Signature:                                                            Date:
               Medical License #                                                     State
               NPI #
               Practice Setting Address:
               Return completed form to RxAgreements@GenBioPro.com or fax to 1-877-239-8036


               Approved 01/2023 [Doc control ID]




                                                                 GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                     1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com
                                                                                                          App. 000080
Reference ID: 5103833
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                 PATIENT AGREEMENT FORM                                              Mifepristone Tablets, 200 mg
                 Healthcare Providers: Counsel the patient on the risks of mifepristone. Both you and the patient must
                 provide a written or electronic signature on this form.
                 Patient Agreement:
               1.       I have decided to take mifepristone and misoprostol to end my pregnancy and will follow my
                        healthcare provider's advice about when to take each drug and what to do in an emergency.
               2.       I understand:
                        a. I will take mifepristone on Day 1.
                        b. I will take the misoprostol tablets 24 to 48 hours after I take mifepristone.
               3.       My healthcare provider has talked with me about the risks, including:
                         • heavy bleeding
                         • infection
               4.       I will contact the clinic/office/provider right away if in the days after treatment I have:
                          • a fever of 100.4°F or higher that lasts for more than four hours
                          • heavy bleeding (soaking through two thick full-size sanitary pads per hour for two hours in a
                               row)
                          • severe stomach area (abdominal) pain or discomfort, or I am “feeling sick,” including weakness,
                               nausea, vomiting, or diarrhea, more than 24 hours after taking misoprostol
                                — these symptoms may be a sign of a serious infection or another problem (including an
                               ectopic pregnancy, a pregnancy outside the womb).
                         My healthcare provider has told me that these symptoms listed above could require emergency
                         care. If I cannot reach the clinic/office/provider right away, my healthcare provider has told me who
                         to call and what to do.
               5.       I should follow up with my healthcare provider about 7 to 14 days after I take mifepristone to be sure
                        that my pregnancy has ended and that I am well.
               6.       I know that, in some cases, the treatment will not work. This happens in about 2 to 7 out of 100
                        women who use this treatment. If my pregnancy continues after treatment with mifepristone and
                        misoprostol, I will talk with my provider about a surgical procedure to end my pregnancy.
               7.       If I need a surgical procedure because the medicines did not end my pregnancy or to stop heavy
                        bleeding, my healthcare provider has told me whether they will do the procedure or refer me to
                        another healthcare provider who will.
               8.       I have the MEDICATION GUIDE for mifepristone.
               9.       My healthcare provider has answered all my questions.



               Patient Signature:                                  Patient Name (print):                        Date:




               Provider Signature:                                 Provider Name (print):                       Date:

               Patient Agreement Forms may be provided, completed, signed, and transmitted in paper or electronically.
                         01/2023




                                                                                                               App. 000081
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                                              MIFEPREX®(Mifepristone) Tablets, 200mg
                                                PHARMACY AGREEMENT FORM
           Pharmacies must designate an authorized representative to carry out the certification process and oversee
           implementation and compliance with the Mifepristone REMS Program on behalf of the pharmacy.
           Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be dispensed by or
           under the supervision of a certified prescriber in the Mifepristone REMS Program do not require pharmacy
           certification.
           By signing this form, as the Authorized Representative I certify that:
           • Each location of my pharmacy that will dispense Mifeprex is able to receive Prescriber Agreement Forms by
              email and fax.
           • Each location of my pharmacy that will dispense Mifeprex is able to ship Mifeprex using a shipping service
              that provides tracking information.
           • I have read and understood the Prescribing Information for Mifeprex. The Prescribing Information is available
              by calling 1-877-4 EARLY OPTION (1-877-432-7596 toll-free) or online at www.earlyoptionpill.com; and
           • Each location of my pharmacy that will dispense Mifeprex will put processes and procedures in place to
              ensure the following requirements are completed. I also understand that if my pharmacy does not complete
              these requirements, the distributor may stop accepting Mifeprex orders.
              o Verify that the prescriber is certified in the Mifepristone REMS Program by confirming their completed
                  Prescriber Agreement Form was received with the prescription or is on file with your pharmacy.
              o Dispense Mifeprex such that it is delivered to the patient within 4 calendar days of the date the pharmacy
                  receives the prescription, except as provided in the following bullet.
              o Confirm with the prescriber the appropriateness of dispensing Mifeprex for patients who will receive the
                  drug more than 4 calendar days after the date the pharmacy receives the prescription and document the
                  prescriber’s decision.
              o Record in the patient’s record the NDC and lot number from each package of Mifeprex dispensed.
              o Track and verify receipt of each shipment of Mifeprex.
              o Dispense mifepristone in its package as supplied by Danco Laboratories, LLC.
              o Report any patient deaths to the prescriber, including the NDC and lot number from the package of
                  Mifeprex dispensed to the patient, and remind the prescriber of their obligation to report the deaths to
                  Danco Laboratories, LLC. Notify Danco that your pharmacy submitted a report of death to the prescriber,
                  including the name and contact information for the prescriber and the NDC and lot number of the
                  dispensed product.
              o Not distribute, transfer, loan or sell mifepristone except to certified prescribers or other locations of the
                  pharmacy.
              o Maintain records of Prescriber Agreement Forms, dispensing and shipping, and all processes and
                  procedures including compliance with those processes and procedures.
              o Maintain the identity of Mifeprex patients and prescribers as confidential and protected from disclosure
                  except to the extent necessary for dispensing under this REMS or as necessary for payment and/or
                  insurance.
              o Train all relevant staff on the Mifepristone REMS Program requirements.
              o Comply with audits carried out by the Mifepristone Sponsors or a third party acting on behalf of the
                  Mifepristone Sponsors to ensure that all processes and procedures are in place and are being followed.

           Any new authorized representative must complete and submit the Pharmacy Agreement Form.
           Authorized Representative Name:                                               Title:


                                                                   *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                                P.O. Box 4816-New York, NY 10185
                                                                1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                            App. 000082
Reference ID: 5103833
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           Signature:                                                                Date:
           Email:                                 Phone:                             Preferred __ email __ phone
           Pharmacy Name:
           Pharmacy Address:
           Return completed form to Mifeprex@dancodistributor.com or fax to 1-866-227-3343.




                                                               *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                            P.O. Box 4816-New York, NY 10185
                                                            1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                        App. 000083
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           PHARMACY AGREEMENT FORM                                                                Mifepristone Tablets, 200 mg
           Pharmacies must designate an authorized representative to carry out the certification process and oversee
           implementation and compliance with the Mifepristone REMS Program on behalf of the pharmacy.
           Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be dispensed by or
           under the supervision of a certified prescriber in the Mifepristone REMS Program do not require pharmacy
           certification.
           By signing this form, as the Authorized Representative I certify that:
           • Each location of my pharmacy that will dispense mifepristone is able to receive Prescriber Agreement Forms
              by email and fax.
           • Each location of my pharmacy that will dispense mifepristone is able to ship mifepristone using a shipping
              service that provides tracking information.
           • I have read and understood the Prescribing Information for mifepristone. The Prescribing Information is
              available by calling 1-855-MIFE-INFO (1-855-643-3463 toll-free) or online at www.MifeInfo.com; and
           • Each location of my pharmacy that will dispense mifepristone will put processes and procedures in place to
              ensure the following requirements are completed. I also understand that if my pharmacy does not complete
              these requirements, the distributor may stop accepting mifepristone orders.
              o Verify that the prescriber is certified in the Mifepristone REMS Program by confirming their completed
                  Prescriber Agreement Form was received with the prescription or is on file with your pharmacy.
              o Dispense mifepristone such that it is delivered to the patient within 4 calendar days of the date the
                  pharmacy receives the prescription, except as provided in the following bullet.
              o Confirm with the prescriber the appropriateness of dispensing mifepristone for patients who will receive
                  the drug more than 4 calendar days after the date the pharmacy receives the prescription and document
                  the prescriber’s decision.
              o Record in the patient’s record the NDC and lot number from each package of mifepristone dispensed.
              o Track and verify receipt of each shipment of mifepristone.
              o Dispense mifepristone in its package as supplied by GenBioPro, Inc.
              o Report any patient deaths to the prescriber, including the NDC and lot number from the package of
                  mifepristone dispensed to the patient, and remind the prescriber of their obligation to report the deaths to
                  GenBioPro, Inc. Notify GenBioPro that your pharmacy submitted a report of death to the prescriber,
                  including the name and contact information for the prescriber and the NDC and lot number of the
                  dispensed product.
              o Not distribute, transfer, loan or sell mifepristone except to certified prescribers or other locations of the
                  pharmacy.
              o Maintain records of Prescriber Agreement Forms, dispensing and shipping, all processes and procedures
                  including compliance with those processes and procedures.
              o Maintain the identity of mifepristone patients and prescribers as confidential and protected from
                  disclosure except to the extent necessary for dispensing under this REMS or as necessary for payment
                  and/or insurance purposes.
              o Train all relevant staff on the Mifepristone REMS Program requirements.
              o Comply with audits carried out by the Mifepristone Sponsors or a third party acting on behalf of the
                  Mifepristone Sponsors to ensure that all processes and procedures are in place and are being followed.

           Any new authorized representative must complete and submit the Pharmacy Agreement Form.
           Authorized Representative Name:                                               Title:
           Signature:                                                                    Date:
           Email:                                    Phone:                              Preferred __ email __ phone
           Pharmacy Name:
           Pharmacy Address:
           Return completed form to RxAgreements@GenBioPro.com or fax to 1-877-239-8036.


                                                                             GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                              1-855-MIFE-INFO (1-855-643-3463)App.     000084
                                                                                                             - www.MifeInfo.com
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               RESEARCH

                      APPLICATION NUMBER:


                        020687Orig1s025


                    SUMMARY REVIEW




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               EXECUTIVE SUMMARY
               This is a review of the proposed modification to the single, shared system Risk Evaluation and Mitigation
               Strategy (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS Program)
               submitted by Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and by
               GenBioPro, Inc. (GBP) for abbreviated new drug application (ANDA) 091178. The Sponsors submitted
               proposed modification to the Mifepristone REMS Program on June 22, 2022, and amended their
               submissions on October 19, 2022 (Danco), October 20, 2022 (GBP), November 30, 2022 (both),
               December 9, 2022 (both) and December 16, 2022 (both).
               The Mifepristone REMS Program was originally approved on April 11, 2019, to mitigate the risk of
               serious complications associated with mifepristone 200 mg. The most recent REMS modification was
               approved on May 14, 2021. a The Mifepristone REMS Program consists of elements to assure safe use
               (ETASU) A, C and D, an implementation system, and a timetable for submission of assessments of the
               REMS.
               The Sponsors submitted the proposed modification to the REMS in response to the Agency’s REMS
               Modification Notification letters dated December 16, 2021, which required removal of the requirement
               that mifepristone be dispensed only in certain healthcare settings, specifically clinics, medical offices,
               and hospitals (i.e., the “in-person dispensing requirement”) and the addition of certification of
               pharmacies that dispense the drug.
               In addition, the following were addressed during the course of the review:
                   • revisions to the REMS goal to align with the updated REMS requirements.
                   • replacing serial number with recording of NDC and lot number of mifepristone dispensed.
                   • additional edits for clarification and consistency in the REMS Document and REMS materials
                        (Prescriber Agreement Forms, Patient Agreement Form, and Pharmacy Agreement Forms).
               The review team finds the proposed modification to the Mifepristone REMS Program last submitted on
               December 16, 2022, to be acceptable and recommends approval of the REMS modification. The
               proposed REMS modification includes changes to the REMS goal, additional REMS requirements for
               prescribers to incorporate dispensing from certified pharmacies and new REMS requirements for
               pharmacy certification.
               The proposed goal of the modified REMS for mifepristone 200 mg is to mitigate the risk of serious
               complications associated with mifepristone by:
                        a) Requiring healthcare providers who prescribe mifepristone to be certified in the
                           Mifepristone REMS Program.
                        b) Ensuring that mifepristone is only dispensed by or under the supervision of certified
                           prescribers, or by certified pharmacies on prescriptions issued by certified
                           prescribers.
                        c) Informing patients about the risk of serious complications associated with mifepristone.




               a
                The May 14, 2021 REMS modification approved the inclusion of gender neutral language in the Patient
               Agreement Form as well as corresponding minor changes to the REMS document to be consistent with the
               changes made to the Patient Agreement Form.

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               The timetable for submission of assessments of the REMS was modified to one year from the date of the
               approval of the modified REMS and annually thereafter. The assessment plan was revised to align with
               the changes to the REMS and capture additional metrics for drug utilization and REMS operations.
               The modified REMS includes ETASU A, B and D, an implementation system, and a timetable for
               submission of assessments of the REMS. Mifepristone will no longer be required to be dispensed only in
               certain healthcare settings, specifically clinics, medical offices, and hospitals (referred to as the “in-
               person dispensing requirement” for brevity) and will be able to be dispensed from certified pharmacies.

               1. Introduction
               This review evaluates the proposed modification to the single, shared system Risk Evaluation and
               Mitigation Strategy (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS
               Program) submitted by Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and by
               GenBioPro, Inc. (GBP) for abbreviated new drug application (ANDA) 091178.
               The Sponsors initially submitted proposed modification to the Mifepristone REMS Program on June 22,
               2022, in response to the Agency’s REMS Modification Notification letters issued on December 16, 2021,
               to Danco and GBP, requiring the following modification to minimize the burden on the healthcare
               delivery system of complying with the REMS and to ensure that the benefits of the drug outweigh the
               risks:
                     •   removal of the requirement that mifepristone be dispensed only in certain healthcare settings,
                         specifically clinics, medical offices, and hospitals (i.e., the “in-person dispensing requirement”)
                     •   addition of certification of pharmacies that dispense the drug
               Per the Agency’s December 16, 2021, REMS Modification Notification letters, the proposed REMS was
               required to include the following ETASU to mitigate the risk of serious complications associated with
               mifepristone, including at least the following:
                     •   healthcare providers have particular experience or training, or are specially certified
                     •   pharmacies, practitioners, or health care settings that dispense the drug are specially certified
                     •   the drug is dispensed to patients with evidence or other documentation of safe use conditions
               The REMS was also required to include an implementation system and timetable for submission of
               assessments.


               2. Background
                     2.1. Product Information and REMS Information

               Mifepristone is a progestin antagonist indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy (IUP) through 70 days gestation. Mifepristone is available as 200
               mg tablets for oral use.

               Mifeprex (mifepristone) was approved on September 28, 2000, with a restricted distribution
               program under 21 CFR 314.520 (subpart H) b to ensure that the benefits of the drug outweighed

               b
                   NDA approval letter Mifeprex (NDA 020687) dated September 28, 2000.

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               the risk of serious complications associated with mifepristone when used for medical abortion. c
               Mifeprex was deemed to have in effect an approved REMS under section 505-1 of the Federal Food,
               Drug, and Cosmetic Act with the passage of the Food and Drug Administration Amendments Act of 2007
               (FDAAA), and the Mifeprex REMS was approved on June 8, 2011.

               On March 29, 2016, FDA approved an efficacy supplement for Mifeprex, which included changes in the
               dose of Mifeprex and the dosing regimen for taking Mifeprex and misoprostol, as well as a modification
               of the gestational age up to which Mifeprex has been shown to be safe and effective and a modification
               to the process for follow-up after administration of the drug. FDA also approved modification to the
               Mifeprex REMS that reflected the changes approved in the efficacy supplement.1-5 On April 11, 2019,
               FDA approved ANDA 091178 and the Mifepristone REMS Program.6-7 The Mifepristone REMS Program is
               a single, shared system REMS that includes NDA 020687 and ANDA 091178. The goal of the approved
               Mifepristone REMS Program is to mitigate the risk of serious complications associated with mifepristone
               by:
                    a) Requiring healthcare providers who prescribe mifepristone to be certified in the Mifepristone
                        REMS Program (under ETASU A).
                    b) Ensuring that mifepristone is only dispensed in certain healthcare settings by or under the
                        supervision of a certified prescriber (under ETASU C).
                    c) Informing patients about the risk of serious complications associated with mifepristone (under
                        ETASU D).
               The Mifepristone REMS Program was last modified and approved in 2021 to revise the Patient
               Agreement Form to include gender-neutral language; however, the goal of the Mifepristone REMS
               Program has not changed since the initial approval in 2019.

               Under ETASU A, to become specially certified to prescribe mifepristone, a healthcare provider
               must review the prescribing information, complete and sign the Prescriber Agreement Form,
               and agree to follow the guidelines for use of mifepristone. Under ETASU C, in the Mifepristone REMS
               Program as approved prior to today’s action, mifepristone was required to be
               dispensed to patients only in certain healthcare settings, specifically clinics, medical offices, and
               hospitals, by or under the supervision of a certified prescriber. Under ETASU D, mifepristone
               must be dispensed to patients with evidence or other documentation of safe use conditions
               (i.e., the patient must sign a Patient Agreement Form). The approved Mifepristone REMS Program
               includes an implementation system, and a timetable for assessments (one year from the date of the
               initial approval of the REMS on April 11, 2019, and every three years thereafter).
               In April 2021, FDA communicated its intent to exercise enforcement discretion during the COVID-19
               public health emergency (PHE) regarding the in-person dispensing requirement in the Mifepristone
               REMS Program. Specifically, FDA communicated that provided all other requirements of the
               Mifepristone REMS Program are met, the Agency intended to exercise enforcement discretion with
               respect to the in-person dispensing requirement of the Mifepristone REMS Program, including any in-
               person requirements that may be related to the Patient Agreement Form, during the COVID-19 PHE.
               This determination, which FDA made on April 12, 2021, was effective immediately. We also note that
               from July 13, 2020, to January 12, 2021, per a court order, FDA was enjoined from enforcing the in-
               person dispensing requirement of the Mifepristone REMS Program.8


               c
                Mifepristone is also approved in approximately 80 other countries.
               https://gynuity.org/assets/resources/biblio_ref_lst_mife_en.pdf

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               Further, and as we also communicated on April 12, 2021, to the extent all of the other requirements of
               the Mifepristone REMS Program are met, the Agency intended to exercise enforcement discretion
               during the COVID-19 PHE with respect to the dispensing of Mifeprex or the approved generic version of
               Mifeprex, Mifepristone Tablets, 200 mg, through the mail, either by or under the supervision of a
               certified prescriber, or through a mail-order pharmacy when such dispensing is done under the
               supervision of a certified prescriber.


                    2.2. Regulatory History

               The following is a summary of the regulatory history relevant to this review:
                    •   04/11/2019: Approval of the Mifepristone REMS Program, a single, shared system REMS that
                        includes NDA 020687 and ANDA 091178.
                    •   04/12/2021: The Agency issued a General Advice letter to both the NDA and ANDA Applicants,
                        explaining that FDA intended to exercise enforcement discretion during the COVID-19 PHE with
                        respect to the in-person dispensing requirement in the Mifepristone REMS Program, including
                        any in-person requirements that may be related to the Patient Agreement Form.
                    •   05/07/2021: The Agency stated that it would be reviewing the elements of the Mifepristone
                        REMS Program in accordance with section 505-1 of the FD&C Act.
                    •   12/16/2021: The Agency completed its review of the Mifepristone REMS Program and
                        determined, among other things, that the REMS must be modified to remove the in-person
                        dispensing requirement and add pharmacy certification.9
                    •   12/16/2021: REMS Modification Notification letters were sent to both Sponsors stating that the
                        approved Mifepristone REMS Program must be modified to minimize the burden on the
                        healthcare system of complying with the REMS and ensure that the benefits of the drug
                        outweigh the risks.
                    •   04/08/2022: Final written responses to a Type A meeting request were provided to Danco, the
                        point of contact for the Mifepristone REMS Program. The questions pertained to the
                        12/16/2021 REMS Modification Notification letter requirements.
                    •   04/13/2022: The Sponsors requested an extension to 6/30/2022, to submit a proposed REMS
                        modification in response to the Agency’s 12/16/2021 REMS Modification Notification letters.
                    •   04/15/2022: The Agency granted the Sponsors’ request for an extension to submit a proposed
                        REMS modification and conveyed that the modification must be submitted no later than
                        06/30/2022.10
                    •   06/22/2022: Danco and GBP submitted a proposed REMS modification to their respective
                        applications in response to the 12/16/2021 REMS Modification Notification letters.
                    •   07/22/2022: An Information Request was sent to the Sponsors requesting clarification of the
                        proposed prescriber and dispenser requirements and additional rationale to support their
                        proposal.
                    •   08/26/2022: Sponsors submitted responses to 07/22/2022 Information Request.
                    •   09/19/2022: Teleconference was held between Agency and Sponsors where the Agency
                        communicated the REMS requirements that are necessary to support the addition of pharmacy


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                        certification. The Agency proposed focusing on the pharmacy settings where a closed system d
                        REMS could be implemented using the existing email and facsimile based system,
                                                                                                                     (b) (4)


                                                                                        , as the best strategy for an
                        approvable modification by the goal date.
                    •   09/22/2022: An Information Request was sent to Sponsors requesting confirmation that the
                        Sponsors agree with the pharmacy distribution approach outlined in the 09/19/2022
                        teleconference so that the Agency’s feedback could be appropriately tailored.
                    •   09/23/2022: The Sponsors confirmed via email that they were willing to pursue
                                                                                                                       (b) (4)


                                 , as discussed in the 09/19/2022 teleconference. The Sponsors also requested a
                        teleconference to discuss the current modification
                                                                                                                                 (b) (4)


                                   .
                    •   09/27/2022: Comments from the 09/19/2022 teleconference sent to Sponsors with additional
                        comments and requests regarding what will be necessary for pharmacy certification.
                    •   09/29/2022: An Information request was sent to the Sponsors asking for agenda items,
                        questions, and a request to walk through their proposed system for pharmacy certification,
                        including dispensing through mail-order or specialty pharmacies, at the 10/06/2022 scheduled
                        teleconference.
                    •   10/04/2022: Sponsors emailed that they will focus the 10/06/2022 teleconference on the
                        09/27/2022 Agency comments and their mail order and specialty pharmacy distribution model.
                    •   10/06/2022: Teleconference was held between Agency and Sponsors where Sponsors outlined
                        their proposal for pharmacy certification, including dispensing through mail order and specialty
                        pharmacies, as well as their concerns with certain requirements and general timelines.
                    •   10/19/2022: Danco submitted a REMS amendment to their pending sNDA, which included a
                        REMS document and REMS materials. They did not submit a REMS Supporting Document.
                    •   10/20/2022: GBP submitted a REMS amendment to their pending sANDA, which included a
                        REMS document and REMS materials. They did not submit a REMS Supporting Document.
                    •   10/25/2022: Teleconference was held between Agency and Sponsors to discuss the Patient
                        Agreement Form and timing related to shipping a mifepristone prescription from a certified
                        pharmacy to the patient.
                    •   11/23/2022: An Information Request was sent to Sponsors with comments on their proposed
                        REMS Document, submitted on 10/19/2022 (Danco) and 10/20/2022 (GBP).
                    •   11/30/2022: Danco and GBP submitted REMS amendments, which included the REMS
                        Document, to their respective pending supplemental applications.
                    •   12/01/2022: Teleconference was held between Agency and Sponsors to discuss the REMS
                        Document.
                    •   12/05/2022: An Information Request was sent to Sponsors with comments on their proposed
                        REMS Document submitted on 11/30/2022 and discussed at the teleconference on 12/01/2022,
                        and REMS materials submitted to their applications on 10/19/2022 and 10/20/2022.

               d
                “Closed system” in this case refers to a system where prescribers, pharmacies, and distributors are certified or
               authorized in the REMS and the certification of the stakeholder must be verified prior to distribution or dispensing,
               as per the REMS.

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                     •      12/07/2022: Teleconference was held between Agency and Sponsors to discuss the REMS
                            Document and REMS materials the Agency sent to the Sponsors on 12/05/22.
                     •      12/08/2022: Danco and GBP submitted REMS amendments, including the REMS Document,
                            Prescriber Agreement Form, Pharmacy Agreement Form, Patient Agreement Form and REMS
                            Supporting Document, to their respective pending applications.
                     •      12/09/2022: An Information Request was sent to Sponsors with the Agency’s comments on the
                            REMS assessment plan.
                     •      12/14/2022: An Information Request was sent to Sponsors with the Agency’s comments on the
                            REMS Document, Prescriber Agreement Form, Pharmacy Agreement Form, and REMS
                            Supporting Document.
                     •      12/15/2022: Two teleconferences were held between Agency and Sponsors to discuss the
                            proposed REMS Document and REMS materials the Agency sent to the Sponsors on 12/14/22.
                     •      12/16/2022: Sponsors submitted a REMS amendment to their respective applications.


               3. Review of Proposed REMS Modification
                     has discussed the Sponsors’ proposed modification with the review team, which includes members
                (b) (6)


               of the                                                            and the
                                                                         (b) (6)                                    (b) (6)


                                                            ; hereafter referred to as the review team. This review
               includes their input and concurrence with the analysis and proposed changes to the Mifepristone REMS
               Program.


                     3.1. REMS Goal

               The Sponsors proposed modification to the goal for the Mifepristone REMS Program to add that
               mifepristone can also be dispensed from certified pharmacies on prescriptions issued by certified
               prescribers. The proposed REMS goal is:
               The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated with
               mifepristone by:
                          a) Requiring healthcare providers who prescribe mifepristone to be certified in the
                             Mifepristone REMS Program.
                          b) Ensuring that mifepristone is only dispensed by or under the supervision of certified
                             prescribers, or by certified pharmacies on prescriptions issued by certified
                             prescribers.
                          c) Informing patients about the risk of serious complications associated with mifepristone.
               Reviewer Comment: We agree with the Sponsors’ proposal.


                     3.2. REMS Document

               The proposed REMS Document is not in the format as outlined in the 2017 Draft Guidance for Industry,
               Format and Content of a REMS Document.11


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               Reviewer Comment: To avoid the misperception that this REMS modification is making major changes
               to the REMS document that go beyond our December 16, 2021, determination that the REMS must be
               modified to remove the in-person dispensing requirement and add pharmacy certification, CDER staff
               and management discussed whether to change the format of the REMS document to that described in
               the 2017 draft guidance.11 After internal discussion, CDER staff and management aligned not to
               transition the REMS document at this time to the format described in the 2017 draft guidance.

                    3.3. REMS Requirements

                        3.3.1. Addition and Removal of ETASU
               The December 16, 2021, REMS Modification Notification letters specified that the ETASU must be
               modified to minimize the burden on the healthcare delivery system of complying with the REMS and to
               ensure the benefits of the drug outweigh the risks by:
                    •   Removing the requirement that mifepristone be dispensed only in certain healthcare settings,
                        specifically clinics, medical offices and hospitals (i.e., the “in-person dispensing requirement”),
                        and;
                    •   Adding a requirement that pharmacies that dispense the drug be specially certified.
               The Sponsors proposed changes to the REMS as reflected in the subsections below.


                        3.3.2. REMS Participant Requirements and Materials
                            3.3.2.1. Prescriber Requirements
               Consistent with the approved Mifepristone REMS Program prescribers must be specially certified. To
               become specially certified to prescribe mifepristone, healthcare providers who prescribe must
               review the Prescribing Information for mifepristone and complete the Prescriber Agreement Form.
               In signing the Prescriber Agreement Form, prescribers agree they meet certain qualifications and will
               follow the guidelines for use of mifepristone. The guidelines for use include ensuring i) that the
               Patient Agreement Form is reviewed with the patient and the risks of the mifepristone treatment
               regimen are fully explained; ii) that the healthcare provider (HCP) and the patient sign the Patient
               Agreement Form, iii) the patient receives a copy of the Patient Agreement Form and Medication
               Guide, iv) the Patient Agreement Form is placed in the patient’s medical record; v) that any patient
               deaths are reported to the Mifepristone Sponsor that provided the mifepristone, identifying the
               patient by a non-identifiable reference and including the NDC and lot number from the package of
               mifepristone that was dispensed to the patient. The language on the guidelines for use was revised
               from the Mifepristone REMS Program approved in 2021 to clarify that, if the certified prescriber
               supervises the dispensing of mifepristone, they must ensure the guidelines for use of mifepristone
               are followed by those under their supervision. This clarification reflects the ongoing implementation
               of the approved Mifepristone REMS Program. For example, consistent with the approved REMS, the
               Patient Agreement Form does not require the certified prescriber’s signature, but rather the
               signature of the healthcare provider counseling the patient on the risks of mifepristone. Additional
               changes were made globally to provide consistency and clarity of the requirements for certified
               prescribers and healthcare providers who complete tasks under the supervision of certified
               prescribers.
               A certified prescriber may submit the Prescriber Agreement Form to an authorized distributor if the
               certified prescriber wishes to dispense or supervise the dispensing of mifepristone; this is consistent
               with the current requirements of the Mifepristone REMS Program. Additional requirements were


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               added to incorporate mifepristone dispensing by a certified pharmacy. If a healthcare provider
               wishes to prescribe mifepristone by sending a prescription to a certified pharmacy for dispensing,
               the healthcare provider must become certified by providing the pharmacy a Prescriber Agreement
               Form signed by the provider. A certified prescriber must also assess the appropriateness of
               dispensing mifepristone when contacted by a certified pharmacy about patients who will receive
               mifepristone more than four calendar days after the prescription was received by the certified
               pharmacy.
               The NDC and lot number of the dispensed drug will be recorded in the patient’s record when
               mifepristone is dispensed by or under the supervision of a certified prescriber, replacing the
               requirement that serial numbers from each package of mifepristone be recorded in the patient’s
               record. If prescribers become aware of the death of a patient for whom the mifepristone was
               dispensed from a certified pharmacy, the prescribers will be required to obtain the NDC and lot
               number of the package of mifepristone the patient received from the pharmacy.
               The following materials support prescriber requirements:
                   • Prescriber Agreement Form for Danco Laboratories, LLC
                   • Prescriber Agreement Form for GenBioPro, Inc.
                   • Patient Agreement Form
               Reviewer Comment: We agree with the Sponsors’ proposal.
               Although certain activities (review of the Patient Agreement Form with patients and answering any
               questions about treatment, signing, providing a copy to the patient and retaining the Patient Agreement
               Form, providing a copy of the Medication Guide, and ensuring any deaths are reported to the
               Mifepristone Sponsor, recording the NDC and lot number from drug dispensed from the certified
               prescriber or those under their supervision) may be conducted by healthcare providers under the
               supervision of a certified prescriber, the certified prescriber remains responsible for ensuring compliance
               with the requirements of the Mifepristone REMS Program. We agree with the additional language to
               further clarify that the certified prescriber must ensure the guidelines for use of mifepristone are
               followed.
               As proposed, certified prescribers may either, 1) continue to submit the Prescriber Agreement Form to an
               authorized distributor if the certified prescriber is dispensing or supervising the dispensing of the drug
               (as already required in the REMS), or 2) if the drug will be dispensed from a certified pharmacy, submit
               the Prescriber Agreement Form to the certified pharmacy that will dispense the drug (as proposed in the
               modification). Regarding #2, the pharmacy can only fill prescriptions written by a certified prescriber.
               Based on our review of the proposed changes, the review team finds it acceptable for prescribers to
               submit their Prescriber Agreement Form directly to the certified pharmacy. Although certified prescribers
               still have the option of in-person dispensing of the drug, not all prescribers may want to stock
               mifepristone. Typically due to the number of drugs that are available and the expense associated with
               stocking prescription medications intended for outpatient use, most prescribers do not stock many
               medications, if they stock medications at all.
               The proposal to submit a Prescriber Agreement Form to a certified pharmacy provides another option for
               dispensing mifepristone. The burden of providing the Prescriber Agreement Form prior to or when the
               prescription is provided to a certified pharmacy does not create unreasonable burden for prescribers. The
               burden of prescriber certification has been minimized to the extent possible. The Prescriber Agreement
               Form is designed to require minimal time to complete and requires that the prescriber submit it to the
               authorized distributor once, and if the prescriber chooses to use a certified pharmacy to dispense
               mifepristone, they will need to submit the form to the certified pharmacy.

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               There is an additional requirement added for certified pharmacies and certified prescribers in the event
               that a patient will not receive their medication from the certified pharmacy within four calendar days of
               the pharmacy’s receipt of the prescription (for example, if the medication is not in stock). In this
               circumstance, the pharmacy will be required to contact the certified prescriber to make them aware of
               the delay and will be required to obtain from the prescriber confirmation that it is appropriate to
               dispense mifepristone to the patient even though they will receive mifepristone more than four calendar
               days after the prescription was received by the certified pharmacy. This confirmation is intended to
               ensure timeliness of delivery in light of the labeled indication and gestational age. Additional details and
               rationale on the pharmacy requirements to dispense and ship drug in a timely manner are described in
               section 3.3.2.3.
               If a certified prescriber becomes aware of a patient death that occurs subsequent to the use of
               mifepristone dispensed from a pharmacy, the certified prescriber must obtain the NDC and lot number of
               the package of mifepristone the patient received from the pharmacy. This information will be reported to
               the appropriate Mifepristone Sponsor in the same manner prescribers have done previously. This
               additional requirement to obtain the NDC and lot number from the pharmacy is needed to ensure
               consistent adverse event reporting when mifepristone is dispensed from a certified pharmacy.
               Prescriber Agreement Form
               The Sponsors’ proposed changes to the Prescriber Agreement Form aligned with those described above.
               The proposed Prescriber Agreement Form explains the two methods of certification which are: 1)
               submitting the form to the authorized distributor and 2) submitting the form to the dispensing certified
               pharmacy. Further clarification was added that healthcare settings, such as medical offices, clinics, and
               hospitals, where mifepristone will be dispensed by or under the supervision of a certified prescriber in
               the Mifepristone REMS Program do not require pharmacy certification. The statement that certified
               prescribers are responsible for overseeing implementation and compliance with the REMS Program was
               also added. The following statement was added to the form: “I understand that the pharmacy may
               dispense mifepristone made by a different manufacturer than that stated on the Prescriber Agreement
               Form.” The account set up information was removed and replaced with prescriber information response
               fields.
               Reviewer Comment: We agree with the Sponsors’ proposal. Changes in the above prescriber
               requirements were incorporated in the Prescriber Agreement Form.


                           3.3.2.2.     Patient Requirements
               The Patient Agreement Form was updated to clarify that the signatures may be written or electronic, to
               reorganize the risk information about ectopic pregnancy, and to remove the statement that the
               Medication Guide will be taken to an emergency room or provided to a healthcare provider who did not
               prescribe mifepristone so that it is known that the patient had a medical abortion with mifepristone.
               The following materials support patient requirements:
               •    Patient Agreement Form
               Reviewer Comment: We agree with the Sponsors’ proposal.
               The Patient Agreement Form continues to be an important part of standardizing the medication
               information on the use of mifepristone that prescribers communicate to their patients, and also provides
               the information in a brief and understandable format for patients. The requirement to counsel the

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               patient, to provide the patient with the Patient Agreement Form, and to have the healthcare provider
               and patient sign the Patient Agreement Form, ensures that each provider, including new providers,
               informs each patient of the appropriate use of mifepristone, risks associated with treatment, and what
               to do if the patient experiences symptoms that may require emergency care. The form is signed by the
               patient and the provider and placed in the patient’s medical record, and a copy is provided to the
               patient, to document the patient’s acknowledgment of receiving the information from the prescriber.
               The Agency agrees that the further clarification that signatures can be written or electronic is
               appropriate for the continued use of the form.
               The reference to ectopic pregnancy has been reorganized in the document since it is not a risk of the
               drug. The signs and symptoms of an untreated ectopic pregnancy that may persist after mifepristone use
               have been clarified in the section of the form that explains the signs and symptoms of potential problems
               that may occur after mifepristone use.
               The review team agrees with removing the patient’s agreement to take the Medication Guide with them
               if they visit an emergency room or HCP who did not give them mifepristone so the emergency room or
               HCP will understand that the patient is having a medical abortion. Although this statement has been in
               the Medication Guide for a number of years, upon further consideration, the Agency has concluded that
               patients seeking emergency medical care are not likely to carry a Medication Guide with them, the
               Medication Guide is readily available online, and information about medical conditions and previous
               treatments can be obtained at the point of care.


                           3.3.2.3.     Pharmacy Requirements
               The Sponsors proposed that certified pharmacies, in addition to certified prescribers and HCPs under the
               supervision of certified prescribers, can dispense mifepristone. In order for a pharmacy to become
               certified, the pharmacy must designate an authorized representative to carry out the certification
               process and oversee implementation and compliance with the Mifepristone REMS Program on behalf of
               the pharmacy. The Authorized Representative must certify that they have read and understood the
               Prescribing Information for mifepristone. Each location of the pharmacy must be able to receive
               Prescriber Agreement Forms by email and fax and be able to ship mifepristone using a shipping service
               that provides tracking information.
               Additionally, each dispensing pharmacy location must put processes and procedures in place to fulfill
               the REMS requirements. Certified pharmacies must verify prescriber certification by confirming they
               have obtained a copy of the prescriber’s signed Prescriber Agreement Form before dispensing. Certified
               pharmacies must dispense mifepristone such that it is received by the patient within four days from the
               day of prescription receipt by the pharmacy. If the pharmacy will not be able to deliver mifepristone to
               the patient within four days of receipt of the prescription, the pharmacy must contact the prescriber to
               confirm the appropriateness of dispensing mifepristone and document the certified prescriber’s
               decision. The pharmacy must also record the NDC and lot number from each package of mifepristone
               dispensed in the patient’s record, track and verify receipt of each shipment of mifepristone, dispense
               mifepristone in its original package, and only distribute, transfer, loan, or sell mifepristone to certified
               prescribers or between locations of the certified pharmacy. The pharmacy must also report any patient
               deaths to the prescriber, including the NDC and lot number from the package dispensed to the patient,
               and remind the prescriber of their obligation under the REMS to report patient deaths to the Sponsor
               that supplied the mifepristone; the certified pharmacy also must notify the Sponsor that supplied the
               mifepristone that the pharmacy submitted a report of a patient death to the prescriber and include the
               name and contact information for the prescriber as well as the NDC and lot number of the dispensed


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               product. Record-keeping requirements of the pharmacy include records of Prescriber Agreement Forms,
               mifepristone dispensing and shipping, and all processes and procedures and compliance with those
               processes and procedures. Pharmacies must train all relevant staff and participate in compliance audits.
               Pharmacies must also maintain the identity of patients and providers as confidential, including limiting
               access to patient and provider identity only to those personnel necessary to dispense mifepristone in
               accordance with the Mifepristone REMS Program requirements, or as necessary for payment and/or
               insurance purposes. The requirement that mifepristone not be dispensed from retail pharmacies was
               removed.
               The following materials support pharmacy requirements:
               •    Pharmacy Agreement Form for Danco Laboratories, LLC
               •    Pharmacy Agreement Form for GenBioPro, Inc.
               Reviewer Comment: We agree with the Sponsors’ proposal. The Mifepristone REMS Program continues
               to require that mifepristone be prescribed only by certified prescribers. With the removal of the in-person
               dispensing requirement, however, mifepristone can be dispensed from a pharmacy, provided the product
               is prescribed by a certified prescriber and all other requirements of the REMS are met. Given this
               modification to the dispensing requirements in the REMS, it is necessary to add a requirement for
               certification of pharmacies. Adding the pharmacy certification requirement incorporates pharmacies into
               the REMS, ensures that pharmacies are aware of and agree to follow applicable REMS requirements, and
               ensures that mifepristone is only dispensed pursuant to prescriptions that are written by certified
               prescribers. Without pharmacy certification, a pharmacy might dispense product that was not prescribed
               by a certified prescriber. Adding pharmacy certification ensures that the prescriber is certified prior to
               dispensing the product to a patient; certified prescribers, in turn, have agreed to meet all the conditions
               of the REMS, including ensuring that the Patient Agreement Form is completed. In addition, wholesalers
               and distributors can only ship to certified pharmacies. Based on our review and our consideration of the
               distribution model implemented by the Sponsors during the periods when the in-person dispensing
               requirement was not being enforced, as well as REMS assessment data and published literature, we
               conclude that provided all other requirements of the REMS are met, the REMS program, with the
               removal of the in-person dispensing requirement and the addition of a requirement for pharmacy
               certification, will continue to ensure the benefits of mifepristone for medical abortion outweigh the risks
               while minimizing the burden imposed by the REMS on healthcare providers and patients.

               The requirement to maintain confidentiality, including limiting access to patient and provider identity
               only to those personnel necessary for dispensing under the Mifepristone REMS Program or as necessary
               for payment and/or insurance purposes, is included to avoid unduly burdening patient access.

               The Sponsors proposed inclusion of this requirement because of concerns that patients may be reluctant
               or unwilling to seek to obtain mifepristone from pharmacies if they are concerned that confidentiality of
               their medical information could be compromised, potentially exposing them to intimidation, threats, or
               acts of violence by individuals opposed to the use of mifepristone for medical abortion. e Further,
               unwillingness on the part of prescribers to participate in the Mifepristone REMS Program on the basis of

               e
                See e.g., 2020 Violence and Disruption Statistics, National Abortion Federation (Dec. 16, 2021),
               https://prochoice.org/national-abortion-federation-releases-2020-violence-disruption-statistics/;
               Amanda Musa, CNN, Wyoming Authorities Search for a Suspect Believed to Have Set an Abortion Clinic on Fire,
               CNN WIRE (June 10, 2022), https://abc17news.com/news/2022/06/10/wyoming-authorities-search-for-a-suspect-
               believed-to-have-set-an-abortion-clinic-on-fire/.

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               similar confidentiality concerns may unduly burden patient access by limiting the number of prescribers
               who are willing to send prescriptions to certified pharmacies. Addition of this requirement protects
               patient access by requiring the pharmacy to put processes and procedures in place to limit access to
               confidential information to only those individuals who are essential for dispensing mifepristone under the
               Mifepristone REMS Program or as necessary for payment or insurance purposes. Inclusion of this
               requirement for certified pharmacies is consistent with the requirement in the current Mifepristone
               REMS Program, that distributors maintain secure and confidential records.

               Reference to mifepristone not being available in retail pharmacies was removed from the REMS. There is
               no single definition of the term "retail pharmacy” and therefore the scope of the exclusion in the REMS
               was not well defined. Including a restriction in the Mifepristone REMS Program that retail pharmacies
               cannot participate in the REMS may unintentionally prohibit the participation of mail order and specialty
               pharmacies that could, under one or more definitions, also be considered a “retail pharmacy.”

               After reconsideration of the term, “retail,” the Agency concluded that a more appropriate approach was
               to articulate the specific requirements that would be necessary for pharmacy certification. As modified,
               the REMS will not preclude the participation of any pharmacy that meets the certification requirements.
               However, we acknowledge that the provision in the REMS related to pharmacies’ verification of
               prescriber enrollment will likely limit the types of pharmacies that will choose to certify in the REMS. The
               REMS requires that pharmacies dispense mifepristone only after verifying that the prescriber is certified.
               The REMS further requires that pharmacies be able to receive the Prescriber Agreement Forms by email
               and fax.
                                                                                                                   (b) (4)




               The pharmacy certification requirements include that the drug reach patients within four days of the
               certified pharmacy receiving the prescription. During the course of the review, the review team
               concluded that requiring medication delivery to the patient within four days of the pharmacy’s receipt of
               a prescription is acceptable based on the labeled indication and literature,13 while taking into account
               practical shipping considerations (e.g., shipping over weekends and holidays). For patients who will not
               receive the drug within four calendar days of the date the pharmacy receives the prescription, the
               pharmacy must notify the certified prescriber and the certified prescriber must determine if it is still
               appropriate for the certified pharmacy to dispense the drug. The pharmacy must document the certified
               prescriber’s decision. A prescriber’s confirmation that it is appropriate to dispense mifepristone when it
               will not be delivered to the patient within the allotted four days is intended to ensure timeliness of
               delivery in light of the labeled indication and gestational age.




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               Pharmacy Agreement Form
               The proposed Pharmacy Agreement Form is a new form and is the means by which a pharmacy becomes
               certified to dispense mifepristone. The form, which is submitted by an authorized representative on
               behalf of a pharmacy seeking certification, outlines all requirements proposed above. Clarification is
               included in the form that healthcare settings, such as medical offices, clinics, and hospitals, where
               mifepristone will be dispensed by or under the supervision of a certified prescriber in the Mifepristone
               REMS Program, do not require pharmacy certification. Any new authorized representative must
               complete and submit the Pharmacy Agreement Form. Spaces for specific authorized representative
               information and pharmacy name and address are included. The completed form can be submitted by
               email or fax to the authorized distributor.
               Reviewer Comment: We agree with the Sponsors’ proposal. The Pharmacy Agreement Form aligns with
               the pharmacy requirements discussed above.


                           3.3.2.4.     Distributor Requirements
               The Sponsors proposed that the distributors’ processes and procedures in the approved Mifepristone
               REMS Program be updated to ensure that mifepristone is only shipped to clinics, medical offices and
               hospitals identified by certified prescribers and to certified pharmacies. Distributors will continue to
               complete the certification process for any Prescriber Agreement Forms they receive and also will
               complete the certification process for pharmacies upon receipt of a Pharmacy Agreement Form,
               including notifying pharmacies when they become certified. FDA was removed as a potential auditor for
               distributors.

               Reviewer Comment: We agree with the Sponsors’ proposal. At this time, FDA does not audit distributors
               directly, it carries out inspections of Sponsors to monitor industry compliance with REMS requirements.

                        3.3.3. REMS Sponsor Requirements
                            3.3.3.1. Sponsor Requirements to Support Prescriber Certification
               The Sponsors proposed additions to this section of the REMS document, including that Sponsors will
               ensure prescribers can complete the certification process by email or fax to an authorized distributor
               and/or certified pharmacy, and that Sponsors will ensure annually with each certified prescriber that
               their locations for receiving mifepristone are up to date. Sponsors will also ensure prescribers previously
               certified in the Mifepristone REMS Program complete the new Prescriber Agreement Form: (1) within
               120 days after approval of this modification, for those previously certified prescribers submitting
               prescriptions to certified pharmacies, or (2) within one year after approval of this modification, if
               previously certified and ordering from an authorized distributor.
               Reviewer Comment: We agree with the Sponsors’ proposal. The requirement to confirm that the
               locations associated with the certified prescriber are current is parallel to the pharmacy requirement that
               the authorized representative’s contact information is up to date. In determining the pharmacy
               requirement, which is necessary to ensure program compliance and is consistent with other approved
               REMS that include pharmacy certification, the Agency also concluded that a parallel requirement for
               certified prescribers should be added.
               With respect to recertification, it is important that active certified prescribers are informed of and agree
               to new REMS requirements to ensure the continued safe use of mifepristone. There is minimal burden to
               recertification and the timelines allow sufficient time to accomplish recertification.


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                           3.3.3.2.    Sponsor Requirements to Support Pharmacy Certification
               The Sponsors proposed the addition of Sponsor requirements to support pharmacy certification and
               compliance, including ensuring that pharmacies are certified in accordance with the requirements in the
               Mifepristone REMS Program, de-certifying pharmacies that do not maintain compliance with the
               certification requirements, and ensuring that pharmacy certification can be completed by email and fax
               to an authorized distributor. Annually, the authorized representative’s name and contact information
               will be verified to ensure it corresponds to that of the current designated authorized representative for
               the certified pharmacy, and if different, a new authorized representative must certify for the pharmacy.
               All reference to the requirement in the 2021 Mifepristone REMS Program that mifepristone to be
               dispensed to patients only in clinics, medical offices and hospitals by or under the supervision of a
               certified prescriber, and not from retail pharmacies, was removed.
               Reviewer Comment: We agree with the Sponsors’ proposal. Changes are in line with the REMS
               Modification Notification letters sent December 16, 2021. Refer to section 3.3.2.3 Reviewer Comments
               on Pharmacy Certification for rationale for removing the statement that mifepristone is not distributed
               to or dispensed from retail pharmacies. Ensuring that the authorized representative’s contact
               information is up to date is necessary to ensure that there is always a point person who is responsible for
               implementing the Mifepristone REMS Program in their pharmacy and can address any changes that are
               needed if pharmacy audits identify a need for improvement.


                           3.3.3.3.    Sponsor Implementation Requirements
               The Sponsors proposed that they will ensure that adequate records are maintained to demonstrate that
               REMS requirements have been met (including but not limited to records of mifepristone distribution,
               certification of prescribers and pharmacies, and audits of pharmacies and distributors), and that the
               records must be readily available for FDA inspections. The distributor audit requirement was updated to
               audit new distributors within 90 calendar days of becoming authorized and annually thereafter (a one-
               time audit requirement was previously required). The Sponsors also proposed a pharmacy audit
               requirement whereby certified pharmacies that order mifepristone are audited within 180 calendar days
               after the pharmacy places its first order of mifepristone, and annually thereafter for pharmacies that
               ordered in the previous 12 months.
               Reviewer’s Comment: We agree with the Sponsors’ proposal.
               The number of pharmacies that will certify in the REMS is uncertain; therefore, to obtain a reliable
               sample size for the audits, the Sponsors will need to audit all certified pharmacies within 180 calendar
               days after the pharmacy places its first order and annually thereafter for pharmacies that have ordered
               mifepristone in the previous 12 months. Audits performed at 180 days should allow time for
               establishment and implementation of audit protocols and for the Sponsors to perform the audits. With
               the addition of more stakeholders (i.e., certified pharmacies), it is also necessary to audit distributors
               annually to ensure the REMS requirements are followed. The requirement to conduct audits annually
               may be revisited if assessment data shows that the REMS is meeting its goal.


                    3.4. REMS Assessment Timetable

               The Sponsors proposed that assessments must be submitted one year from the approval of the modified
               REMS and annually thereafter, instead of every three years as per the previous requirement.


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               Reviewer’s Comment: We agree with the Sponsors’ proposal. With the addition of new pharmacy
               stakeholders and removal of the in-person dispensing requirement, more frequent assessment after this
               REMS modification is needed to ensure REMS processes are being followed and that the REMS is meeting
               its goal. The requirement can be revisited at a later date if assessment data shows that the modified
               REMS is meeting its goal. The NDA applicant is required to submit assessment reports as outlined in the
               timetable for submission of assessments. These reports address requirements for the Mifepristone REMS
               Program. The Sponsors have indicated that some data will be submitted as separate reports when
               Sponsor-specific information is needed to address the assessment metrics.


               4. Supporting Document
               The Sponsors’ REMS Supporting Document was substantially updated to include information regarding
               the proposed modification under review. Background and rationale from the 12/16/21 REMS
               Modification Notification letters was included. An updated description of the REMS goal and the ETASU
               was also included to align with the changes in the REMS Document and provide further clarification.
               Further explanation of prescriber requirements and rationale for various pharmacy requirements was
               also included.
               Regarding implementation of the modified REMS, the Sponsors additionally proposed that pharmacies
               that received and shipped mifepristone during the Agency’s exercise of enforcement discretion during
               the COVID-19 PHE, that wish to continue to dispense mifepristone, will be required to comply with the
               pharmacy certification requirements within 120 days of approval of the modified REMS.
               The communication strategy to alert current and future prescriber and pharmacy stakeholders was
               outlined. Distributors, certified prescribers that purchased mifepristone in the last twelve months, and
               various professional organizations will receive information about REMS changes within 120 days of
               modification approval. The Sponsors proposed to list pharmacies that agree to be publicly disclosed on
               their respective product websites but disclosure of this nature is not a requirement of the REMS. The
               Sponsors indicated that they anticipate certified pharmacies that do not agree to public disclosure will
               communicate with the certified prescribers they wish to work with.
               The REMS Assessment Plan is discussed in the following section.
               Reviewer’s Comment: We agree with the Sponsors’ proposal. The Supporting Document addresses all
               REMS requirements and provides sufficient clarification of implementation and maintenance of the
               REMS. The implementation requirements for pharmacies currently dispensing mifepristone under FDA’s
               exercise of enforcement discretion during the COVID-19 PHE provide for continued use of these
               pharmacies without breaks in service. The communication strategy is also adequate given the efforts to
               reach both established certified prescribers and potentially new prescribers through professional
               organizations.
               The Sponsors’ plan to communicate which pharmacies are certified to certified prescribers is adequate.
               For the reasons listed in section 3.3.2.3, confidentiality is a concern for REMS stakeholders. Disclosure of
               pharmacy certification status should be a choice made by individual certified pharmacies. The Sponsors
               have indicated that there will be some certified pharmacies that have agreed to publicly disclose their
               status, making this information available to certified prescribers who wish to use a pharmacy to dispense
               mifepristone.

               5. REMS Assessment Plan

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               The REMS Assessment Plan is summarized in the REMS Supporting Document and will be included in the
               REMS Modification Approval letter.
               The REMS Assessment Plan was revised to align with the modified REMS goal and objectives.
               The goal of the Mifepristone REMS Program is to mitigate the risk of serious complications associated
               with mifepristone by:
                    a. Requiring healthcare providers who prescribe mifepristone to be certified in the
                       Mifepristone REMS Program.
                            •   This objective will be assessed using REMS Certification Statistics and REMS
                                Compliance metrics.
                    b. Ensuring that mifepristone is only dispensed by or under the supervision of certified
                       prescribers, or by certified pharmacies on prescriptions issued by certified
                       prescribers.
                            •   This objective will be assessed using REMS Certification Statistics and REMS
                                Compliance metrics.
                    c. Informing patients about the risk of serious complications associated with mifepristone.
                           • This objective will be indirectly assessed using REMS Certification Statistics to avoid
                               compromising patient and prescriber confidentiality. As part of the certification
                               process, healthcare providers agree to:
                               • Ensure that the Patient Agreement Form is reviewed with the patient and the risks
                                   of the mifepristone treatment regimen are fully explained
                               • Ensure that the Patient Agreement Form is signed by the healthcare provider and
                                   the patient
                               • Ensure that the patient is provided with a copy of the Patient Agreement Form and
                                   the Medication Guide
                               • Ensure that the signed Patient Agreement Form is placed in the patient’s medical
                                   record

               The following revisions were made from the Mifepristone REMS Assessment Plan in the April 11, 2019,
               Supplement Approval letter:

               The Assessment Plan Categories of 1) Program Implementation and Operations and 2) Overall
               Assessment of REMS Effectiveness were added.

               REMS Certification Statistics metrics were added to capture certification numbers for program
               stakeholders to assess the first objective of requiring healthcare providers who prescribe mifepristone
               to be certified and the second objective of ensuring that mifepristone is only dispensed by or under the
               supervision of certified prescribers, or by certified pharmacies on prescriptions issued by certified
               prescribers. The total number of certified prescribers who certified with the wholesaler/distributor and
               the total number of certified prescribers who submitted a Prescriber Agreement Form to certified
               pharmacies were added to capture the additional method of prescriber certification. The number of
               newly certified prescribers and the number of active certified prescribers (i.e., those who ordered
               mifepristone or submitted a prescription during the reporting period) were added. Metrics were also
               added to capture the total number of certified, newly certified, and active certified pharmacies as well
               as the total number of authorized, newly authorized, and active authorized wholesaler/distributors.


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               Drug Utilization Data metrics were added to obtain information on shipment and dispensing of
               mifepristone. Metrics were added to capture the total number of tablets shipped by the
               wholesaler/distributor and the number of prescriptions dispensed.

               REMS Compliance Data metrics were added to assess the first objective of requiring healthcare
               providers who prescribe mifepristone to be certified and the second objective of ensuring that
               mifepristone is only dispensed by or under the supervision of certified prescribers, or by certified
               pharmacies on prescriptions issued by certified prescribers. These metrics capture program deviations
               and evaluate overall if the REMS is operating as intended. Metrics include certified pharmacies and
               wholesaler/distributor audit results and a summary of instances of non-compliance and actions taken to
               address non-compliance. Prescriber compliance metrics were added to assess if prescribers are
               decertified along with reasons why. Pharmacy compliance metrics were added to assess if prescriptions
               were dispensed that were written by non-certified prescribers or if mifepristone tablets were dispensed
               by non-certified pharmacies as well as the number of pharmacies that were decertified along with
               reasons why. Wholesaler/distributor metrics were added to assess if shipments were sent to non-
               certified prescribers and non-certified pharmacies and corrective actions taken. The audit plan and non-
               compliance plans will be submitted for FDA review within 60 days after the REMS modification approval.

               The Sponsors were asked to develop an assessment of prescription delivery timelines to determine what
               percentage of prescriptions were delivered on time (within four calendar days) and what percentage
               were delivered late (more than four calendar days) along with the length of the delay and reasons for
               the delay (e.g., mifepristone is out of stock shipment issues, other). The protocol for this assessment
               will be submitted for FDA review within 60 days after the REMS modification approval.

               The revised REMS Assessment Plan is in the Appendix.
               Reviewer’s Comment: We agree with the Sponsors’ proposed REMS Assessment Plan.

               6. Discussion
               The Sponsors submitted changes to the REMS to remove the requirement that mifepristone be
               dispensed only in certain healthcare settings (i.e., the “in-person dispensing requirement”) and to add
               that certified pharmacies can dispense the drug in order to minimize the burden on the healthcare
               delivery system of complying with the REMS and to ensure that the benefits of the drug outweigh the
               risks. The REMS goal was updated to this effect. Changes were required for prescriber requirements and
               Sponsors to support the change in ETASU, and new pharmacy requirements were introduced.
               The qualifications to become a certified prescriber have not changed as a result of the modification to
               the Mifepristone REMS Program; however, clarification has been provided for certain prescriber
               requirements and new prescriber requirements have been added to support pharmacy dispensing.
               Although certain responsibilities may be conducted by staff under the supervision of a certified
               prescriber, the certified prescriber remains responsible for ensuring compliance with the requirements
               of the Mifepristone REMS Program. In order to clarify this, revisions were made throughout the
               prescriber requirements and REMS materials to reflect that the certified prescriber is responsible for
               ensuring that the prescriber requirements are met. Additionally, the review team finds it acceptable that
               certified prescribers who wish to use a certified pharmacy to dispense mifepristone submit their
               Prescriber Agreement Form to the dispensing certified pharmacy
                                                                                                                    (b) (4)


                                                                                         . The burden to prescriber and

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               pharmacy stakeholders of having certified prescribers submit the form directly to the certified pharmacy
               that will be dispensing the mifepristone is not unreasonable and has been minimized to the extent
               possible; it does not impact the safe use of the product. Prescriber requirements necessitated by the
               addition of some pharmacy requirements were added as well and include prescriber responsibilities in
               deciding whether or not mifepristone should be dispensed if the patient will receive the drug from the
               certified pharmacy more than four days after the pharmacy receives the prescription, and prescriber
               adverse event reporting requirements if a prescriber becomes aware of a patient death and the
               mifepristone was dispensed from a certified pharmacy. The addition of the latter requirements will
               ensure consistent adverse event data is relayed to the relevant Mifepristone Sponsor.
               Changes were made to the Patient Agreement Form. Changes to the form were added to improve clarity
               of the safety messages. After further consideration, the patient’s agreement to take the Medication
               Guide with them if they visit an emergency room or HCP who did not give them mifepristone so the
               emergency room or HCP will understand that the patient is having a medical abortion has been removed
               from the Patient Agreement Form. The Medication Guide is not typically carried by patients and this
               information can be obtained at the point of care. Changes align with updates to labeling submitted with
               this modification.13, 14
               The Agency and Sponsors agreed during this modification to focus on certification of pharmacies that
               can receive Prescriber Agreement Forms via email or fax to complete the prescriber certification process.
               The proposed pharmacy certification requirements also support timely dispensing of mifepristone. If the
               mifepristone is shipped to the patient, the REMS requires that it must be delivered within four calendar
               days from the receipt of the prescription by the pharmacy; if the patient will receive the mifepristone
               more than four calendar days from pharmacy receipt of prescription, the REMS requires the pharmacist
               to confirm with the certified prescriber that it is still appropriate to dispense the drug to the patient.
               This allows prescribers to make treatment decisions based on individual patient situations. A
               requirement to maintain confidentiality was also added to avoid unduly burdening patient access since
               patients and prescribers may not utilize pharmacy dispensing if they believe their personal information
               is at risk. Ultimately, the addition of pharmacy distribution with the proposed requirements will offer
               another option for dispensing mifepristone, alleviating burden associated with the REMS.
                                                                                                                  (b) (4)




                        .
               The Agency reviewed the REMS in 2021, and per the review team’s conclusions, a REMS modification
               was necessary to remove the in-person dispensing requirement and add a requirement that pharmacies
               that dispense the drug be specially certified; the review team concluded that these changes could occur
               without compromising patient safety. There have been no new safety concerns identified relevant to the
               REMS ETASUs that the applicants proposed modifying in their June 22, 2022 submissions since the REMS
               Modification Notification letters dated 12/16/2021. It is still the position of the review team that the
               proposed modification is acceptable.
               Because the modification proposed include changes to the ETASU of the Mifepristone REMS Program,
               the assessment plan and timetable of assessments were changed. The assessment plan will capture
               information on pharmacy dispensing and provide valuable insight as to whether the program is
               operating as intended Annual assessments are consistent with other approved REMS modifications for
               major modifications necessitating extensive assessment plan changes.

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               As part of the REMS Assessment Plan, the REMS goal and objectives are assessed using Program
               Implementation and Operations Metrics, including REMS Certification Statistics and REMS Compliance
               Data. The metrics will provide information on the number of certified prescribers, certified pharmacies,
               and authorized wholesalers/distributors as well as if mifepristone is dispensed by non-certified
               prescribers or pharmacies. The Sponsors will use the indirect measure of healthcare provider
               certification to address the objective of informing patients of the risk of serious complications of
               mifepristone, due to concerns with prescriber and patient confidentiality. Although we typically assess
               whether patients are informed of the risks identified in a REMS through patient surveys and/or focus
               groups, we agree that the Sponsors’ continued use of the indirect measure of healthcare provider
               certification adequately addresses the Mifepristone REMS Program objective of informing patients. In
               addition, because of these prescriber and patient confidentiality concerns, we believe it is unlikely that
               the Agency would be able to use the typical methods of assessment of patient knowledge and
               understanding of the risks and safe use of mifepristone.


               7. Conclusions and Recommendations
               The review team finds the proposed REMS modification for the Mifepristone REMS Program, as
               submitted on June 22, 2022, and amended on October 19, 2022 (Danco) and October 20, 2022 (GBP),
               November 30, 2022 (both), December 9 (both), and December 16 (both) acceptable. The REMS
               materials were amended to be consistent with the revised REMS document. The review team
               recommends approval of the Mifepristone REMS Program, received on June 22, 2022, and last amended
               on December 16, 2022, and appended to this review.


               8. References
               1.                          Clinical Review of SE-2 Efficacy Supplement for mifepristone, NDA
                                                   (b) (6)


               020687. March 29, 2016. DARRTS Reference ID: 3909590.
               2.                 Summary Review for Regulatory Action for mifepristone, NDA 020687. March 29,
                                    (b) (6)


               2016. DARRTS Reference ID: 3909594.
               3.                              REMS Review for mifepristone, NDA 020687. March 29, 2016. DARRTS Reference
                                     (b) (6)


               ID: 3909588.
               4.                              REMS Review for mifepristone, NDA 020687. March 29, 2016. DARRTS Reference
                                     (b) (6)


               ID: 3909587.
               5.    Approval Letter for SE-2 Efficacy Supplement for mifepristone, NDA 020687. March 29, 2016.
               DARRTS Reference ID: 3909592.
               6.                   REMS Review for mifepristone, NDA 020687. February 22, 2018. DARRTS Reference ID:
                          (b) (6)


               4224674.
               7.    Approval Letter for SE-20 REMS Supplement for mifepristone, NDA 020687. March 29, 2016.
               DARRTS Reference ID: 4418041.
               8.      Am. Coll. of Obstetricians & Gynecologists v. FDA, 472 F. Supp. 3d 183, 233 (D. Md. July 13,
               2020), order clarified, 2020 WL 8167535 (D. Md. Aug. 19, 2020) (preliminarily enjoining FDA from
               enforcing the in-person dispensing requirement and any other in-person requirements of the



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               Mifepristone SSS REMS); FDA v. Am. Coll. of Obstetricians & Gynecologists, 141 S. Ct. 578 (Jan. 12, 2021)
               (staying the preliminary injunction imposed by the District Court).
               9.                           REMS Modification Rationale Review for mifepristone, NDA 020687.
                                           (b) (6)


               December 16, 2021. DARRTS Reference ID: 4905882.
               10.    General Advice Letter for the single, shared system Risk Evaluation and Mitigation Strategy
               (REMS) for mifepristone, NDA 020687, April 15, 2022. DARRTS ID 4969358.
               11.     Format and Content of a REMS Document Guidance for Industry
               https://www.fda.gov/downloads/Drugs/GuidanceComplianceRegulatoryInformation/Guidances/UCM18
               4128.pdf. Accessed on December 18, 2022.
               12.     Grossman D, Raifman S, Morris N, et.al. Mail-order pharmacy dispensing of mifepristone for
               medication abortion after in-person clinical assessment. Contraception 2022; 107:36-41.
               https://doi.org/10.1016/j.contraception.2021.09.008. This article was included in the literature review
               for the December 16, 2021 REMS Modification Rationale Review, while the article was still in press.


               9. Appendices
               REMS Document

               Prescriber Agreement Form for Danco Laboratories, LLC

               Prescriber Agreement Form for GenBioPro, Inc.

               Patient Agreement Form

               Pharmacy Agreement Form for Danco Laboratories, LLC

               Pharmacy Agreement Form for GenBioPro, Inc.

               Mifepristone REMS Assessment Plan




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               Initial Shared System REMS approval: 04/2019
               Most Recent Modification: 01/2023

                                                           Mifepristone Tablets, 200 mg
                                                              Progestin Antagonist
                                     RISK EVALUATION AND MITIGATION STRATEGY (REMS)
                                      SINGLE SHARED SYSTEM FOR MIFEPRISTONE 200 MG

               I.     GOAL
               The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated with
               mifepristone by:
                    a) Requiring healthcare providers who prescribe mifepristone to be certified in the Mifepristone
                       REMS Program.
                    b) Ensuring that mifepristone is only dispensed by or under the supervision of certified prescribers, or
                       by certified pharmacies on prescriptions issued by certified prescribers.
                    c) Informing patients about the risk of serious complications associated with mifepristone.

               II. REMS ELEMENTS
               A. Elements to Assure Safe Use
               1. Healthcare providers who prescribe mifepristone must be specially certified.
                        a. To become specially certified to prescribe mifepristone, healthcare providers must:
                            i. Review the Prescribing Information for mifepristone.
                            ii. Complete a Prescriber Agreement Form. By signing1 a Prescriber Agreement Form,
                                 prescribers agree that:
                                1) They have the following qualifications:
                                   a) Ability to assess the duration of pregnancy accurately
                                   b) Ability to diagnose ectopic pregnancies
                                   c) Ability to provide surgical intervention in cases of incomplete abortion or severe
                                      bleeding, or to have made plans to provide such care through others, and ability to
                                      assure patient access to medical facilities equipped to provide blood transfusions and
                                      resuscitation, if necessary
                                2) They will follow the guidelines for use of mifepristone (see b.i-vii below).
                        b. As a condition of certification, prescribers must follow the guidelines for use of mifepristone
                           described below:
                            i. Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the
                                 mifepristone treatment regimen are fully explained. Ensure any questions the patient may
                                 have prior to receiving mifepristone are answered.
                            ii. Ensure that the healthcare provider and patient sign the Patient Agreement Form.



               1
                   In this REMS, the terms “sign” and “signature” include electronic signatures.



                                                                                                              App. 0001081
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                            iii. Ensure that the patient is provided with a copy of the Patient Agreement Form and
                                Medication Guide.
                            iv. Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                            v. Ensure that any deaths are reported to the Mifepristone Sponsor that provided the
                                mifepristone, identifying the patient by a non-identifiable reference and including the NDC
                                and lot number from the package of mifepristone that was dispensed to the patient.
                            vi. If mifepristone will be dispensed by a certified pharmacy:
                               1) Provide the certified pharmacy a signed Prescriber Agreement Form.
                               2) Assess appropriateness of dispensing mifepristone when contacted by a certified
                                  pharmacy about patients who will receive mifepristone more than 4 calendar days after
                                  the prescription was received by the certified pharmacy.
                               3) Obtain the NDC and lot number of the package of mifepristone the patient received in
                                  the event the prescriber becomes aware of the death of the patient.
                            vii. The certified prescriber who dispenses mifepristone or who supervises the dispensing of
                                mifepristone must:
                               1) Provide an authorized distributor with a signed Prescriber Agreement Form.
                               2) Ensure that the NDC and lot number from each package of mifepristone dispensed are
                                  recorded in the patient’s record.
                               3) Ensure that healthcare providers under their supervision follow guidelines i.-v.
                        c. Mifepristone Sponsors must:
                            i. Ensure that healthcare providers who prescribe their mifepristone are specially certified in
                                accordance with the requirements described above and de-certify healthcare providers who
                                do not maintain compliance with certification requirements.
                           ii. Ensure prescribers previously certified in the Mifepristone REMS Program complete the
                               new Prescriber Agreement Form:
                               1) Within 120 days after approval of this modification, for those previously certified
                                  prescribers submitting prescriptions to certified pharmacies.
                               2) Within one year after approval of this modification, if previously certified and ordering
                                  from an authorized distributor.
                            iii. Ensure that healthcare providers can complete the certification process by email or fax to an
                                authorized distributor and/or certified pharmacy.
                            iv. Provide the Prescribing Information and their Prescriber Agreement Form to healthcare
                                providers who inquire about how to become certified.
                            v. Ensure annually with each certified prescriber that their locations for receiving mifepristone
                                are up to date.
                            The following materials are part of the Mifepristone REMS Program:
                             • Prescriber Agreement Form for Danco Laboratories, LLC
                             • Prescriber Agreement Form for GenBioPro, Inc.
                             • Patient Agreement Form



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               2. Pharmacies that dispense mifepristone must be specially certified
                        a. To become specially certified to dispense mifepristone, pharmacies must:
                            i. Be able to receive Prescriber Agreement Forms by email and fax.
                            ii. Be able to ship mifepristone using a shipping service that provides tracking information.
                            iii. Designate an authorized representative to carry out the certification process on behalf of the
                                pharmacy.
                            iv. Ensure the authorized representative oversees implementation and compliance with the
                                Mifepristone REMS Program by doing the following:
                               1) Review the Prescribing Information for mifepristone.
                               2) Complete a Pharmacy Agreement Form. By signing a Pharmacy Agreement Form, the
                                  authorized representative agrees that the pharmacy will put processes and procedures in
                                  place to ensure the following requirements are completed:
                                   a) Verify that the prescriber is certified by confirming their completed Prescriber
                                      Agreement Form was received with the prescription or is on file with the pharmacy.
                                   b) Dispense mifepristone such that it is delivered to the patient within 4 calendar days of
                                      the date the pharmacy receives the prescription, except as provided in c) below.
                                   c) Confirm with the prescriber the appropriateness of dispensing mifepristone for
                                      patients who will receive the drug more than 4 calendar days after the date the
                                      pharmacy receives the prescription and document the prescriber’s decision.
                                   d) Record in the patient’s record the NDC and lot number from each package of
                                      mifepristone dispensed.
                                   e) Track and verify receipt of each shipment of mifepristone.
                                   f)   Dispense mifepristone in its package as supplied by the Mifepristone Sponsor.
                                   g) Report any patient deaths to the prescriber, including the NDC and lot number from
                                      the package of mifepristone dispensed to the patient, and remind the prescriber of
                                      their obligation to report the deaths to the Mifepristone Sponsor that provided the
                                      mifepristone. Notify the Mifepristone Sponsor that provided the dispensed
                                      mifepristone that the pharmacy submitted a report of death to the prescriber,
                                      including the name and contact information for the prescriber and the NDC and lot
                                      number of the dispensed product.
                                   h) Not distribute, transfer, loan or sell mifepristone except to certified prescribers or
                                      other locations of the pharmacy.
                                   i)   Maintain records of Prescriber Agreement Forms.
                                   j)   Maintain records of dispensing and shipping.
                                   k) Maintain records of all processes and procedures including compliance with those
                                      processes and procedures.
                                   l)   Maintain the identity of the patient and prescriber as confidential, including limiting
                                        access to patient and prescriber identity only to those personnel necessary to dispense
                                        mifepristone in accordance with the Mifepristone REMS Program requirements, or as
                                        necessary for payment and/or insurance purposes.
                                   m) Train all relevant staff on the Mifepristone REMS Program requirements.



                                                                                                                App. 0001103
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                                   n) Comply with audits carried out by the Mifepristone Sponsors or a third party acting
                                      on behalf of the Mifepristone Sponsors to ensure that all processes and procedures
                                      are in place and are being followed.
                        b. Mifepristone Sponsors must:
                            i. Ensure that pharmacies are specially certified in accordance with the requirements described
                                above and de-certify pharmacies that do not maintain compliance with certification
                                requirements.
                            ii. Ensure that pharmacies can complete the certification process by email and fax to an
                                authorized distributor.
                            i. Verify annually that the name and contact information for the pharmacy’s authorized
                                representative corresponds to that of the current designated authorized representative for the
                                certified pharmacy, and if different, require the pharmacy to recertify with the new
                                authorized representative.
                            The following materials are part of the Mifepristone REMS Program:
                              • Pharmacy Agreement Form for Danco Laboratories, LLC
                              • Pharmacy Agreement Form for GenBioPro, Inc.
               3. Mifepristone must be dispensed to patients with evidence or other documentation of safe use
                  conditions as ensured by the certified prescriber in signing the Prescriber Agreement Form.
                        a. The patient must sign a Patient Agreement Form indicating that the patient has:
                            i. Received, read and been provided a copy of the Patient Agreement Form.
                            ii. Received counseling from the healthcare provider regarding the risk of serious complications
                                associated with mifepristone.

               B. Implementation System
               1. Mifepristone Sponsors must ensure that their mifepristone is only distributed to certified prescribers and
                  certified pharmacies by:
                        a. Ensuring that distributors who distribute their mifepristone comply with the program
                           requirements for distributors.
                            i. The distributors must put processes and procedures in place to:
                                1) Complete the certification process upon receipt of a Prescriber Agreement Form or
                                   Pharmacy Agreement Form.
                                2) Notify healthcare providers and pharmacies when they have been certified by the
                                   Mifepristone REMS Program.
                                3) Ship mifepristone only to certified pharmacies or locations identified by certified
                                   prescribers.
                                4) Not ship mifepristone to pharmacies or prescribers who become de-certified from the
                                   Mifepristone REMS Program.
                                5) Provide the Prescribing Information and their Prescriber Agreement Form to healthcare
                                   providers who (1) attempt to order mifepristone and are not yet certified, or (2) inquire
                                   about how to become certified.
                            ii. Put processes and procedures in place to maintain a distribution system that is secure,



                                                                                                              App. 0001114
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                                 confidential and follows all processes and procedures, including those for storage, handling,
                                 shipping, tracking package serial numbers, NDC and lot numbers, proof of delivery and
                                 controlled returns of mifepristone.
                            iii. Train all relevant staff on the Mifepristone REMS Program requirements.
                            iv. Comply with audits by Mifepristone Sponsors or a third party acting on behalf of
                                 Mifepristone Sponsors to ensure that all processes and procedures are in place and are being
                                 followed for the Mifepristone REMS Program. In addition, distributors must maintain
                                 appropriate documentation and make it available for audits.
                        b. Ensuring that distributors maintain secure and confidential distribution records of all shipments
                           of mifepristone.
               2. Mifepristone Sponsors must monitor their distribution data to ensure compliance with the
                  Mifepristone REMS Program.
               3. Mifepristone Sponsors must ensure that adequate records are maintained to demonstrate that the
                  Mifepristone REMS Program requirements have been met, including, but not limited to records of
                  mifepristone distribution; certification of prescribers and pharmacies; and audits of pharmacies and
                  distributors. These records must be readily available for FDA inspections.
               4. Mifepristone Sponsors must audit their new distributors within 90 calendar days and annually
                  thereafter after the distributor is authorized to ensure that all processes and procedures are in place
                  and functioning to support the requirements of the Mifepristone REMS Program. Mifepristone
                  Sponsors will take steps to address their distributor compliance if noncompliance is identified.
               5. Mifepristone Sponsors must audit their certified pharmacies within 180 calendar days after the
                  pharmacy places its first order of mifepristone, and annually thereafter audit certified pharmacies that
                  have ordered mifepristone in the previous 12 months, to ensure that all processes and procedures are
                  in place and functioning to support the requirements of the Mifepristone REMS Program.
                  Mifepristone Sponsors will take steps to address their pharmacy compliance if noncompliance is
                  identified.
               6. Mifepristone Sponsors must take reasonable steps to improve implementation of and compliance with
                  the requirements of the Mifepristone REMS Program based on monitoring and assessment of the
                  Mifepristone REMS Program.
               7. Mifepristone Sponsors must report to FDA any death associated with mifepristone whether or not
                  considered drug-related, as soon as possible but no later than 15 calendar days from the initial receipt
                  of the information by the Mifepristone Sponsor. This requirement does not affect the sponsors’ other
                  reporting and follow-up requirements under FDA regulations.

               C. Timetable for Submission of Assessments
               The NDA Sponsor must submit REMS assessments to FDA one year from the date of the approval of the
               modified REMS (1/3/2023) and annually thereafter. To facilitate inclusion of as much information as
               possible while allowing reasonable time to prepare the submission, the reporting interval covered by each
               assessment should conclude no earlier than 90 calendar days before the submission date for that
               assessment. The NDA Sponsor must submit each assessment so that it will be received by the FDA on or
               before the due date.




                                                                                                              App. 0001125
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                                              MIFEPREX® (Mifepristone) Tablets, 200 mg

                                                  PRESCRIBER AGREEMENT FORM
               Mifeprex* (Mifepristone) Tablets, 200 mg, is indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy through 70 days gestation. Please see Prescribing Information and
               Medication Guide for complete safety information.
               To become a certified prescriber, you must:
                 • If you submit Mifeprex prescriptions for dispensing from certified pharmacies:
                    o   Submit this form to each certified pharmacy to which you intend to submit Mifeprex prescriptions.
                        The form must be received by the certified pharmacy before any prescriptions are dispensed by
                        that pharmacy.
                  • If you order Mifeprex for dispensing by you or healthcare providers under your supervision:
                    o   Submit this form to the distributor. This form must be received by the distributor before the first
                        order will be shipped to the healthcare setting.
                    o   Healthcare settings, such as medical offices, clinics, and hospitals, where Mifeprex will be
                        dispensed by or under the supervision of a certified prescriber in the Mifepristone REMS
                        Program do not require pharmacy certification.
               Prescriber Agreement: By signing this form, you agree that you meet the qualifications below and will
               follow the guidelines for use. You are responsible for overseeing implementation and compliance with the
               Mifepristone REMS Program. You also understand that if the guidelines below are not followed, the
               distributor may stop shipping mifepristone to the locations that you identify and certified pharmacies may
               stop accepting your mifepristone prescriptions.
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 • Ability to assess the duration of pregnancy accurately.
                 • Ability to diagnose ectopic pregnancies.
                 • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                   made plans to provide such care through others, and be able to assure patient access to medical
                   facilities equipped to provide blood transfusions and resuscitation, if necessary.
                 • Has read and understood the Prescribing Information for mifepristone. The Prescribing Information is
                   available by calling 1-877-4 EARLY OPTION (1-877-432-7596 toll-free), or by visiting
                   www.earlyoptionpill.com.

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 • Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the mifepristone
                   treatment regimen are fully explained. Ensure any questions the patient may have prior to receiving
                   mifepristone are answered.
                 • Ensure the healthcare provider and patient sign the Patient Agreement Form.
                 • Ensure that the patient is provided with a copy of the Patient Agreement Form and Medication Guide.
                 • Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                 • Ensure that any deaths of patients who received Mifeprex are reported to Danco Laboratories, LLC,
                   identifying the patient by a non-identifiable reference and including the NDC and lot number from the
                   package of Mifeprex that was dispensed to the patient.


                                                                 *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                              P.O. Box 4816-New York, NY 10185
                                                              1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                              App. 000113
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               Ensure that healthcare providers under your supervision follow the guidelines listed above.
                 • If Mifeprex will be dispensed through a certified pharmacy:
                    o   Assess appropriateness of dispensing Mifeprex when contacted by a certified pharmacy about
                        patients who will receive Mifeprex more than 4 calendar days after the prescription was received
                        by the certified pharmacy.
                    o   Obtain the NDC and lot number of the package of Mifeprex the patient received in the event the
                        prescriber becomes aware of the death of a patient.
                 • If Mifeprex will be dispensed by you or by healthcare providers under your supervision:
                    o   Ensure the NDC and lot number from each package of Mifeprex are recorded in the patient’s
                        record.

               I understand that a certified pharmacy may dispense mifepristone made by a different manufacturer than
               that stated on this Prescriber Agreement Form.


               Print Name:                                                        Title:
               Signature:                                                         Date:
               Medical License #                                                  State
               NPI #
               Practice Setting Address:
               Return completed form to Mifeprex@dancodistributor.com or fax to 1-866-227-3343.


               Approved 01/2023 [Doc control ID]




                                                              *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                           P.O. Box 4816-New York, NY 10185
                                                           1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                           App. 000114
Reference ID: 5103819
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               PRESCRIBER AGREEMENT FORM                                                   Mifepristone Tablets, 200 mg
               Mifepristone Tablets, 200 mg, is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation. Please see Prescribing Information and Medication
               Guide for complete safety information.
               To become a certified prescriber, you must:
                 • If you submit mifepristone prescriptions for dispensing from certified pharmacies:
                    o    Submit this form to each certified pharmacy to which you intend to submit mifepristone
                         prescriptions. The form must be received by the certified pharmacy before any prescriptions are
                         dispensed by that pharmacy.
                  • If you order mifepristone for dispensing by you or healthcare providers under your
                    supervision:
                    o    Submit this form to the distributor. This form must be received by the distributor before the first
                         order will be shipped to the healthcare setting.
                    o    Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be
                         dispensed by or under the supervision of a certified prescriber in the Mifepristone REMS
                         Program do not require pharmacy certification.
               Prescriber Agreement: By signing this form, you agree that you meet the qualifications below and will
               follow the guidelines for use. You are responsible for overseeing implementation and compliance with the
               Mifepristone REMS Program. You also understand that if the guidelines below are not followed, the
               distributor may stop shipping mifepristone to the locations that you identify and certified pharmacies may
               stop accepting your mifepristone prescriptions.
               Mifepristone must be provided by or under the supervision of a certified prescriber who meets the
               following qualifications:
                 • Ability to assess the duration of pregnancy accurately.
                 • Ability to diagnose ectopic pregnancies.
                 • Ability to provide surgical intervention in cases of incomplete abortion or severe bleeding, or have
                   made plans to provide such care through others, and be able to assure patient access to medical
                   facilities equipped to provide blood transfusions and resuscitation, if necessary.
                 • Has read and understood the Prescribing Information for mifepristone. The Prescribing Information is
                   available by calling 1-855-MIFE-INFO (1-855—643-3463 toll-free), or by visiting www.MifeInfo.com.

               In addition to meeting these qualifications, you also agree to follow these guidelines for use:
                 • Ensure that the Patient Agreement Form is reviewed with the patient and the risks of the mifepristone
                   treatment regimen are fully explained. Ensure any questions the patient may have prior to receiving
                   mifepristone are answered.
                 • Ensure the healthcare provider and patient sign the Patient Agreement Form.
                 • Ensure that the patient is provided with a copy of the Patient Agreement Form and Medication Guide.
                 • Ensure that the signed Patient Agreement Form is placed in the patient's medical record.
                 • Ensure that any deaths of patients who received mifepristone are reported to GenBioPro, Inc. that
                   provided the mifepristone, identifying the patient by a non-identifiable reference and including the
                   NDC and lot number from the package of mifepristone that was dispensed to the patient.
               Ensure that healthcare providers under your supervision follow the guidelines listed above.




                                                                  GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                      1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com
                                                                                                              App. 000115
Reference ID: 5103819
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                 • If mifepristone will be dispensed through a certified pharmacy:
                    o    Assess appropriateness of dispensing mifepristone when contacted by a certified pharmacy
                         about patients who will receive mifepristone more than 4 calendar days after the prescription
                         was received by the certified pharmacy.
                    o    Obtain the NDC and lot number of the package of mifepristone the patient received in the event
                         the prescriber becomes aware of the death of a patient.
                 • If mifepristone will be dispensed by you or by healthcare providers under your supervision:
                    o    Ensure the NDC and lot number from each package of mifepristone are recorded in the patient’s
                         record.

               I understand that a certified pharmacy may dispense mifepristone made by a different manufacturer than
               that stated on this Prescriber Agreement Form.


               Print Name:                                                           Title:
               Signature:                                                            Date:
               Medical License #                                                     State
               NPI #
               Practice Setting Address:
               Return completed form to RxAgreements@GenBioPro.com or fax to 1-877-239-8036


               Approved 01/2023 [Doc control ID]




                                                                 GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                     1-855-MIFE-INFO (1-855-643-3463) - www.MifeInfo.com
                                                                                                          App. 000116
Reference ID: 5103819
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                 PATIENT AGREEMENT FORM                                              Mifepristone Tablets, 200 mg
                 Healthcare Providers: Counsel the patient on the risks of mifepristone. Both you and the patient must
                 provide a written or electronic signature on this form.
                 Patient Agreement:
               1.       I have decided to take mifepristone and misoprostol to end my pregnancy and will follow my
                        healthcare provider's advice about when to take each drug and what to do in an emergency.
               2.       I understand:
                        a. I will take mifepristone on Day 1.
                        b. I will take the misoprostol tablets 24 to 48 hours after I take mifepristone.
               3.       My healthcare provider has talked with me about the risks, including:
                         • heavy bleeding
                         • infection
               4.       I will contact the clinic/office/provider right away if in the days after treatment I have:
                          • a fever of 100.4°F or higher that lasts for more than four hours
                          • heavy bleeding (soaking through two thick full-size sanitary pads per hour for two hours in a
                               row)
                          • severe stomach area (abdominal) pain or discomfort, or I am “feeling sick,” including weakness,
                               nausea, vomiting, or diarrhea, more than 24 hours after taking misoprostol
                                — these symptoms may be a sign of a serious infection or another problem (including an
                               ectopic pregnancy, a pregnancy outside the womb).
                         My healthcare provider has told me that these symptoms listed above could require emergency
                         care. If I cannot reach the clinic/office/provider right away, my healthcare provider has told me who
                         to call and what to do.
               5.       I should follow up with my healthcare provider about 7 to 14 days after I take mifepristone to be sure
                        that my pregnancy has ended and that I am well.
               6.       I know that, in some cases, the treatment will not work. This happens in about 2 to 7 out of 100
                        women who use this treatment. If my pregnancy continues after treatment with mifepristone and
                        misoprostol, I will talk with my provider about a surgical procedure to end my pregnancy.
               7.       If I need a surgical procedure because the medicines did not end my pregnancy or to stop heavy
                        bleeding, my healthcare provider has told me whether they will do the procedure or refer me to
                        another healthcare provider who will.
               8.       I have the MEDICATION GUIDE for mifepristone.
               9.       My healthcare provider has answered all my questions.



               Patient Signature:                                  Patient Name (print):                        Date:




               Provider Signature:                                 Provider Name (print):                       Date:

               Patient Agreement Forms may be provided, completed, signed, and transmitted in paper or electronically.
                         01/2023




                                                                                                               App. 000117
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                                              MIFEPREX®(Mifepristone) Tablets, 200mg
                                                PHARMACY AGREEMENT FORM
           Pharmacies must designate an authorized representative to carry out the certification process and oversee
           implementation and compliance with the Mifepristone REMS Program on behalf of the pharmacy.
           Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be dispensed by or
           under the supervision of a certified prescriber in the Mifepristone REMS Program do not require pharmacy
           certification.
           By signing this form, as the Authorized Representative I certify that:
           • Each location of my pharmacy that will dispense Mifeprex is able to receive Prescriber Agreement Forms by
              email and fax.
           • Each location of my pharmacy that will dispense Mifeprex is able to ship Mifeprex using a shipping service
              that provides tracking information.
           • I have read and understood the Prescribing Information for Mifeprex. The Prescribing Information is available
              by calling 1-877-4 EARLY OPTION (1-877-432-7596 toll-free) or online at www.earlyoptionpill.com; and
           • Each location of my pharmacy that will dispense Mifeprex will put processes and procedures in place to
              ensure the following requirements are completed. I also understand that if my pharmacy does not complete
              these requirements, the distributor may stop accepting Mifeprex orders.
              o Verify that the prescriber is certified in the Mifepristone REMS Program by confirming their completed
                  Prescriber Agreement Form was received with the prescription or is on file with your pharmacy.
              o Dispense Mifeprex such that it is delivered to the patient within 4 calendar days of the date the pharmacy
                  receives the prescription, except as provided in the following bullet.
              o Confirm with the prescriber the appropriateness of dispensing Mifeprex for patients who will receive the
                  drug more than 4 calendar days after the date the pharmacy receives the prescription and document the
                  prescriber’s decision.
              o Record in the patient’s record the NDC and lot number from each package of Mifeprex dispensed.
              o Track and verify receipt of each shipment of Mifeprex.
              o Dispense mifepristone in its package as supplied by Danco Laboratories, LLC.
              o Report any patient deaths to the prescriber, including the NDC and lot number from the package of
                  Mifeprex dispensed to the patient, and remind the prescriber of their obligation to report the deaths to
                  Danco Laboratories, LLC. Notify Danco that your pharmacy submitted a report of death to the prescriber,
                  including the name and contact information for the prescriber and the NDC and lot number of the
                  dispensed product.
              o Not distribute, transfer, loan or sell mifepristone except to certified prescribers or other locations of the
                  pharmacy.
              o Maintain records of Prescriber Agreement Forms, dispensing and shipping, and all processes and
                  procedures including compliance with those processes and procedures.
              o Maintain the identity of Mifeprex patients and prescribers as confidential and protected from disclosure
                  except to the extent necessary for dispensing under this REMS or as necessary for payment and/or
                  insurance.
              o Train all relevant staff on the Mifepristone REMS Program requirements.
              o Comply with audits carried out by the Mifepristone Sponsors or a third party acting on behalf of the
                  Mifepristone Sponsors to ensure that all processes and procedures are in place and are being followed.

           Any new authorized representative must complete and submit the Pharmacy Agreement Form.
           Authorized Representative Name:                                               Title:


                                                                   *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                                P.O. Box 4816-New York, NY 10185
                                                                1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                            App. 000118
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           Signature:                                                                Date:
           Email:                                 Phone:                             Preferred __ email __ phone
           Pharmacy Name:
           Pharmacy Address:
           Return completed form to Mifeprex@dancodistributor.com or fax to 1-866-227-3343.




                                                               *MIFEPREX is a registered trademark of Danco Laboratories, LLC
                                                                                            P.O. Box 4816-New York, NY 10185
                                                            1-877-4-EARLY-OPTION (1-877-432-7596) www.earlyoptionpill.com
                                                                                                        App. 000119
Reference ID: 5103819
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           PHARMACY AGREEMENT FORM                                                                Mifepristone Tablets, 200 mg
           Pharmacies must designate an authorized representative to carry out the certification process and oversee
           implementation and compliance with the Mifepristone REMS Program on behalf of the pharmacy.
           Healthcare settings, such as medical offices, clinics, and hospitals, where mifepristone will be dispensed by or
           under the supervision of a certified prescriber in the Mifepristone REMS Program do not require pharmacy
           certification.
           By signing this form, as the Authorized Representative I certify that:
           • Each location of my pharmacy that will dispense mifepristone is able to receive Prescriber Agreement Forms
              by email and fax.
           • Each location of my pharmacy that will dispense mifepristone is able to ship mifepristone using a shipping
              service that provides tracking information.
           • I have read and understood the Prescribing Information for mifepristone. The Prescribing Information is
              available by calling 1-855-MIFE-INFO (1-855-643-3463 toll-free) or online at www.MifeInfo.com; and
           • Each location of my pharmacy that will dispense mifepristone will put processes and procedures in place to
              ensure the following requirements are completed. I also understand that if my pharmacy does not complete
              these requirements, the distributor may stop accepting mifepristone orders.
              o Verify that the prescriber is certified in the Mifepristone REMS Program by confirming their completed
                  Prescriber Agreement Form was received with the prescription or is on file with your pharmacy.
              o Dispense mifepristone such that it is delivered to the patient within 4 calendar days of the date the
                  pharmacy receives the prescription, except as provided in the following bullet.
              o Confirm with the prescriber the appropriateness of dispensing mifepristone for patients who will receive
                  the drug more than 4 calendar days after the date the pharmacy receives the prescription and document
                  the prescriber’s decision.
              o Record in the patient’s record the NDC and lot number from each package of mifepristone dispensed.
              o Track and verify receipt of each shipment of mifepristone.
              o Dispense mifepristone in its package as supplied by GenBioPro, Inc.
              o Report any patient deaths to the prescriber, including the NDC and lot number from the package of
                  mifepristone dispensed to the patient, and remind the prescriber of their obligation to report the deaths to
                  GenBioPro, Inc. Notify GenBioPro that your pharmacy submitted a report of death to the prescriber,
                  including the name and contact information for the prescriber and the NDC and lot number of the
                  dispensed product.
              o Not distribute, transfer, loan or sell mifepristone except to certified prescribers or other locations of the
                  pharmacy.
              o Maintain records of Prescriber Agreement Forms, dispensing and shipping, all processes and procedures
                  including compliance with those processes and procedures.
              o Maintain the identity of mifepristone patients and prescribers as confidential and protected from
                  disclosure except to the extent necessary for dispensing under this REMS or as necessary for payment
                  and/or insurance purposes.
              o Train all relevant staff on the Mifepristone REMS Program requirements.
              o Comply with audits carried out by the Mifepristone Sponsors or a third party acting on behalf of the
                  Mifepristone Sponsors to ensure that all processes and procedures are in place and are being followed.

           Any new authorized representative must complete and submit the Pharmacy Agreement Form.
           Authorized Representative Name:                                               Title:
           Signature:                                                                    Date:
           Email:                                    Phone:                              Preferred __ email __ phone
           Pharmacy Name:
           Pharmacy Address:
           Return completed form to RxAgreements@GenBioPro.com or fax to 1-877-239-8036.


                                                                             GenBioPro Inc. - PO Box 32011 - Las Vegas, NV 89103
                PUTTING ACCESS INTO PRACTICE                              1-855-MIFE-INFO (1-855-643-3463)App.     000120
                                                                                                             - www.MifeInfo.com
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               The REMS Assessment Plan must include but is not limited to the following items.
                Program Implementation and Operations
                1. REMS Certification Statistics
                   a. Prescribers
                      i. Number of certified prescribers who have certified with the Sponsor’s distributor(s)
                         and number who have submitted Prescriber Agreement Forms to Certified
                         Pharmacies
                     ii. Number and percentage of newly certified prescribers
                    iii. Number and percentage of active certified prescribers (i.e., who ordered mifepristone
                         or submitted a prescription during the reporting period)

                    b. Pharmacies
                       i. Number of certified pharmacies
                      ii. Number and percentage of newly certified pharmacies
                     iii. Number and percentage of active certified pharmacies (i.e., that dispensed
                          mifepristone during the reporting period)
                    c. Wholesalers/Distributors
                       i. Number of authorized wholesalers/distributors
                      ii. Number and percentage of newly authorized wholesalers/distributors
                     iii. Number and percentage of active authorized wholesalers/distributors (i.e. that shipped
                          mifepristone during the reporting period)

                2. Utilization Data
                   a. Total number of tablets shipped by wholesalers/distributors, stratified by Certified
                       Prescriber or Certified Pharmacy location
                   b. Number of prescriptions dispensed from pharmacies

                3. REMS Compliance Data
                   a. Audits: Summary of audit activities for each stakeholder (i.e., certified pharmacies and
                         wholesalers/distributors) including but not limited to:
                      i.    A copy of the final audit plan for each stakeholder type (provide for the current
                            reporting period)
                     ii. The number of audits expected, and the number of audits performed
                    iii. The number and type of deficiencies noted
                    iv.     For those with deficiencies noted, report the corrective and preventive actions
                            (CAPAs) required, if any, to address the deficiencies, including the status (e.g.,
                            completed, not completed, in progress) (provide for the current reporting period)
                     v.     For any stakeholders that did not complete the CAPA within the timeframe specified
                            in the audit plan, describe actions taken (provide for the current reporting period)



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                        vi.   A summary report of all resulting changes to processes and procedures necessary to
                              ensure compliance with the REMS requirements (provide for the current reporting
                              period)
                    b. A summary report of non-compliance, associated corrective action plans (CAPAs), and
                          the status of CAPAs including but not limited to:
                       i.     A copy of the final non-compliance plans for Pharmacies and Distributors (provide
                              for the current reporting period)
                      ii. For each instance of noncompliance below (iii-v), report the following information
                              (provide for the current reporting period):
                              1. A unique, anonymized ID for the stakeholder(s) associated with the non-
                                  compliance event to enable tracking over time
                              2. The source of the non-compliance data (e.g., self-reported, audit, other)
                              3. A root cause analysis of the non-compliance
                              4. Actions to prevent future occurrences and outcomes of such actions
                     iii. Prescriber compliance
                              1. Number and percentage of certified prescribers who became decertified as a result
                                  of non- compliance
                                  • Provide a summary of reasons for decertification (provide for the current
                                      reporting period)
                              2. Summary and analysis of any program deviations and corrective actions taken
                                  (provide for the current reporting period)
                     iv.      Pharmacy compliance
                              1. Number and percentage of prescriptions dispensed that were written by
                                  prescriber(s) who did not submit a Prescriber Agreement to the dispensing
                                  Certified Pharmacy
                              2. Number and percentage of mifepristone tablets dispensed by non-certified
                                  pharmacies
                              3. Number and percentage of pharmacies that became decertified as a result of non-
                                  compliance
                                  • Provide a summary of reasons for decertification (provide for the current
                                      reporting period)
                              4. An assessment of prescription delivery timelines, including percentage delivered
                                  more than four days after receipt of the prescription, duration and causes for
                                  delay. A proposal for this assessment will be submitted within 60 days of the
                                  approval of the REMS Modification.
                              5. Summary and analysis of any program deviations and corrective actions taken
                                  (provide for the current reporting period)
                      v.      Wholesaler/distributor compliance
                              1. Number of healthcare providers who successfully ordered mifepristone who were
                                  not certified
                              2. Number of non-certified pharmacies that successfully ordered mifepristone
                              3. Number of shipments sent to non-certified prescriber receiving locations
                              4. Number of shipments sent to non-certified pharmacy receiving locations


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                          5. Summary and analysis of any program deviations and corrective actions taken
                              (provide for the current reporting period)

               The requirements for assessments of an approved REMS under section 505-1(g)(3) include with
               respect to each goal included in the strategy, an assessment of the extent to which the approved
               strategy, including each element of the strategy, is meeting the goal or whether one or more such
               goals or such elements should be modified.




                                                                                                               3

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                                                                                                    Signature Page 1 of 1
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          --------------------------------------------------------------------------------------------
          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
          --------------------------------------------------------------------------------------------
          /s/
          ------------------------------------------------------------

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                                                                   App. 000125
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                    Subject                REMS Modification Rationale Review
                    Established Name       Mifepristone REMS
                    Name of Applicants     Danco Laboratories, LLC and GenBioPro, Inc.

                    Therapeutic Class      Progestin antagonist
                    Formulation            Oral tablets




                                                                                                   2

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               EXECUTIVE SUMMARY

               This review provides the                                               (     and
                                                                                  (b) (6)   (b) (6)          (b) (6)


                      (          rationale and conclusions regarding modifications to the single, shared system
                         (b) (6)


               Risk Evaluation and Mitigation Strategy (REMS) for mifepristone 200 mg (Mifepristone REMS
               Program) for new drug application (NDA) 20687 and abbreviated new drug application (ANDA)
               91178.

               ANDA 91178 was approved with the approval of the Mifepristone REMS Program on April 11,
               2019 to mitigate the risk of serious complications associated with mifepristone 200 mg. The
               most recent REMS modification was approved on May 14, 2021. The REMS consists of elements
               to assure safe use (ETASU) under ETASU A, C and D, an implementation system, and a timetable
               for submission of assessments. To determine whether a modification to the REMS was
               warranted, FDA undertook a comprehensive review of the published literature; safety
               information collected during the COVID-19 public health emergency (PHE); the one-year REMS
               assessment report of the Mifepristone REMS Program; adverse event data; and information
               provided by advocacy groups, individuals and the Applicants. Our review also included an
               examination of literature references provided by plaintiffs in the Chelius v. Becerra litigation
               discussed below.

               The modifications to the REMS will consist of:

                    •   Removing the requirement under ETASU C that mifepristone be dispensed only in
                        certain healthcare settings, specifically clinics, medical offices, and hospitals (referred to
                        here as the “in-person dispensing requirement” for brevity)

                    •   Adding a requirement under ETASU B that pharmacies that dispense the drug be
                        specially certified

               A REMS Modification Notification letter will be sent to both Applicants in the Single Shared
               System.




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               1. Introduction

               In connection with the Chelius v. Becerra litigation, FDA agreed to undertake a full review of the
               Mifepristone REMS Program, in accordance with the REMS assessment provisions of the
               Federal Food, Drug, and Cosmetic Act (FD&C Act). a This review provides the analysis of the
                                                    (         and the
                                            (b) (6)   (b) (6)                                             (b) (6)


               (            regarding whether any changes are warranted to the single, shared system Risk
                    (b) (6)


               Evaluation and Mitigation Strategy (REMS) for mifepristone (hereafter referred to as the
               Mifepristone REMS Program) for new drug application (NDA) 20687 and abbreviated new drug
               application (ANDA) 91178. The Mifeprex REMS was initially approved in 2011; the single, shared
               system REMS for mifepristone 200 mg, known as the Mifepristone REMS Program, was
               approved in 2019.

               The last time the existing REMS elements to assure safe use (under ETASU A, C and D) were
               reviewed was in the context of our review of supplement S-020 to NDA 20687; these ETASU
               were updated following review and approval of supplement S-020 on March 29, 2016. The key
               changes approved in 2016 are summarized below.

               Changes to labeling included:
                  • Changing the dosing of Mifeprex to 200 mg orally x 1
                  • Extension of maximum gestational age through 70 days
                  • Inclusion of misoprostol in the indication statement
                  • Replacing the term “physician” with “licensed healthcare provider”
                  • Removal of the phrase “Under Federal Law”

               The Mifeprex REMS and REMS materials were updated to reflect the changes above, and
               additional changes were made including:
                  • Removing the Medication Guide as part of the REMS but retaining it as part of labeling.


               2. Background

                      2.1. PRODUCT AND REMS INFORMATION




               a
                   Section 505-1(g)(2) of the FD&C Act (21 U.S.C. § 355-1(g)(2)).

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               Mifepristone is a progestin antagonist indicated, in a regimen with misoprostol, for the medical
               termination of intrauterine pregnancy (IUP) through 70 days gestation. Mifepristone is available
               as 200 mg tablets for oral use.

               Mifeprex (mifepristone) was approved on September 28, 2000 with a restricted distribution
               program under 21 CFR 314.520 (subpart H) b to ensure that the benefits of the drug outweighed
               the risk of serious complications associated with mifepristone when used for medical abortion.
               Mifeprex was deemed to have a REMS under section 505-1 of the Federal Food, Drug, and
               Cosmetic Act with the passage of the Food and Drug Administration Amendments Act (FDAAA)
               of 2007, and the Mifeprex REMS was approved on June 8, 2011. On March 29, 2016, as noted
               above, a supplemental application and REMS modification was approved for Mifeprex. On April
               11, 2019, ANDA 091178 was approved, and the Mifepristone REMS Program was approved. The
               Mifepristone REMS Program is a single, shared system REMS that includes NDA 020687 and
               ANDA 91178.

               The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated
               with mifepristone by:

                     a. Requiring healthcare providers who prescribe mifepristone to be certified in the
                        Mifepristone REMS Program (under ETASU A).
                     b. Ensuring that mifepristone is only dispensed in certain healthcare settings, by or under
                        the supervision of a certified prescriber (under ETASU C).
                     c. Informing patients about the risk of serious complications associated with mifepristone
                        (under ETASU D).

               Under ETASU A, to become specially certified to prescribe mifepristone, a healthcare provider
               must review the prescribing information, complete and sign the Prescriber Agreement Form,
               and follow the guidelines for use of mifepristone. Under ETASU C, mifepristone must be
               dispensed to patients only in certain healthcare settings, specifically clinics, medical offices, and
               hospitals, by or under the supervision of a certified prescriber. Under ETASU D, mifepristone
               must be dispensed to patients with evidence or other documentation of safe use conditions
               (i.e., the patient must sign a Patient Agreement Form). The Mifepristone REMS Program also
               includes an implementation system, and a timetable for assessments (one year from the date
               of the initial approval of the REMS on April 11, 2019, and every three years thereafter).


               b
                   NDA approval letter Mifeprex (NDA 020687) dated September 28, 2000.

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                    2.2. REGULATORY HISTORY AND EVENTS RELEVANT TO THIS REMS
                         MODIFICATION RATIONALE REVIEW

               The following is a summary of significant regulatory history since approval of the REMS
               modification on March 29, 2016:

                    •   03/29/2016: FDA approved an efficacy supplement (S-020) that, among other things,
                        provided a new dosing regimen (200 mg mifepristone, followed in 24 to 48 hours by 800
                        mcg buccal misoprostol), increased the gestational age (GA) to which mifepristone may
                        be used (through 70 days gestation), and modified the REMS.

                    •   03/29/2019: A Citizen Petition was received requesting that FDA revise the product
                        labeling to reflect pre-2016 provisions (including limiting GA to 49 days and requiring
                        patients to make 3 office visits) and that FDA maintain the REMS.

                    •   04/11/2019: ANDA 91178 was approved along with the Single Shared System REMS for
                        Mifepristone 200 mg (Mifepristone REMS Program) for NDA 20687 and ANDA 91178.

                    •   01/31/2020: the COVID-19 public health emergency (PHE) was declared by the Secretary
                        of Health and Human Services (HHS) as having existed since January 27, 2020. c

                    •   7/13/2020: The United States (US) District Court of Maryland granted a preliminary
                        injunction in the ACOG v. FDA litigation to temporarily bar enforcement of the
                        Mifepristone REMS Program in-person dispensing requirement during the COVID-19
                        PHE.

                    •   1/12/2021: US Supreme Court granted a stay of that injunction.

                    •   04/12/2021: FDA issued a General Advice Letter to both the NDA and ANDA Applicants,
                        stating that provided that all other requirements of the Mifepristone REMS Program are
                        met, and given that in-person dispensing of mifepristone for medical termination of
                        early pregnancy may present additional COVID-related risks to patients and healthcare

               c
                 See Secretary of Health and Human Services, Determination that a Public Health Emergency Exists (originally
               issued January 31, 2020, and subsequently renewed), available at
               https://www.phe.gov/emergency/news/healthactions/phe/Pages/default.aspx

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                        personnel because it may involve a clinical visit solely for this purpose, FDA intends to
                        exercise enforcement discretion during the COVID-19 PHE with respect to the in-person
                        dispensing requirement in the Mifepristone REMS Program, including any in-person
                        requirements that may be related to the Patient Agreement Form. FDA further stated
                        that to the extent all of the other requirements of the Mifepristone REMS Program are
                        met, FDA intends to exercise enforcement discretion during the COVID-19 PHE with
                        respect to the dispensing of mifepristone through the mail, either by or under the
                        supervision of a certified prescriber, or through a mail-order pharmacy when such
                        dispensing is done under the supervision of a certified prescriber.

                    •   05/07/2021: FDA stated that it would be reviewing the elements of the Mifepristone
                        REMS Program in accordance with the REMS assessment provisions of section 505-1 of
                        the FD&C Act.

                    •   05/14/2021: A modification was approved for the Mifepristone REMS Program. This
                        modification was to revise the Patient Agreement Form to include gender-neutral
                        language.

                    •   06/30/2021: An Information Request (IR) was sent to the Applicants for additional
                        information on shipments and any program deviations, adverse events, or
                        noncompliance with the REMS that occurred during the period from April 1, 2021
                        through September 30, 2021.

                    •   7/15/2021: An IR was sent to the Applicants to provide the total number of shipments
                        during the period from April 1, 2021 to September 30, 2021 and details on whether any
                        of those shipments were involved in any program deviation or non-compliance.

                    •   8/5/2021: An IR was sent to the Applicants for additional clinical and other information
                        (e.g., adverse events and units of mifepristone shipped) for the period of March 29,
                        2016 through June 30, 2021, to be provided by August 31, 2021. This IR also requested
                        information covering the period of July 1, 2021 through September 30, 2021 and an




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                        aggregate summary (for the period of March 29, 2016 through September 30, 2021), to
                        be provided by October 12, 2021. d

                    •   8/26/2021: The ANDA Applicant submitted a response to the IR issued on 8/5/2021.

                    •   08/27/2021: The NDA Applicant submitted a response to the IR issued on 8/5/2021.

                    •   10/08/2021: The NDA Applicant submitted a response to the June 30 and July 15, 2021
                        IRs as well as an aggregate summary for the period March 29, 2016 through September
                        30, 2021 in response to the August 5, 2021 IR. The NDA Applicant also included a follow-
                        up to their initial response provided on August 27, 2021 to the August 5, 2021 IR.

                    •   10/12/2021: The ANDA Applicant submitted a response to the June 30 and July 15, 2021
                        IRs as well as an aggregate summary for the period March 29, 2016 through September
                        30, 2021 in response to the August 5, 2021 IR.

                    •   10/16/2021: The ANDA Applicant revised their Oct 12, 2012 response to provide a
                        correction to the number of mifepristone tablets.

                    •
                                                                                                                    (b) (4)




                    •   11/02/2021: A                              (      meeting was convened to obtain CDER
                                                                     (b) (6)   (b) (6)


                        concurrence on the removal of the in-person dispensing requirement and the addition
                        of a certification requirement for pharmacies. The                   and senior CDER
                                                                           (b) (6)   (b) (6)


                        leadership concurred with removing the in-person dispensing and adding pharmacy
                        certification.



               3. Rationale for Proposed REMS Modification


               d
                Multiple Information Requests were issued to obtain additional information on drug shipments, any program
               deviations or noncompliance, and use of alternative methods for drug distribution during the COVID-19 PHE.
               These IRs are referenced as appropriate in this document and the one-year REMS Assessment Review of the
               Mifepristone REMS Program, December 16, 2021.

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                     3.1. CURRENT REQUIREMENTS FOR THE APPROVED REMS

               The Mifepristone REMS Program includes elements to assure safe use (ETASU), an
               implementation system, and a timetable for submission of assessments. Elements to assure
               safe use in the current REMS include a prescriber certification requirement (ETASU A), a
               requirement that mifepristone be dispensed only in certain healthcare settings by or under the
               supervision of a certified prescriber (ETASU C), and a requirement that mifepristone be
               dispensed only with documentation of safe use conditions (ETASU D). Documentation of safe
               use conditions under ETASU D consists of a Patient Agreement Form between the prescriber
               and the patient indicating that the patient has received counseling from the prescriber
               regarding the risk of serious complications associated with mifepristone 200 mg for medical
               termination of early pregnancy.

                     3.2. EVALUATION OF THE EVIDENCE

               We reviewed multiple different sources of information, including published literature, safety
               information submitted to the Agency during the COVID-19 PHE, FDA Adverse Event Reporting
               System (FAERS) reports, the first REMS assessment report for the Mifepristone REMS Program,
               and information provided by advocacy groups, individuals, and the Applicants. Our review also
               included an examination of literature references provided by plaintiffs in the Chelius v. Becerra
               litigation. Below is an overview of how information relevant to the current Mifepristone REMS
               Program was retrieved, analyzed, and applied to each of the individual ETASUs to determine if
               further changes should be considered.

               Methods for the literature search

                      conducted a literature search in PubMed and Embase to retrieve publications relevant to
                   (b) (6)


               this review. The time period used for this literature search was between March 29, 2016 (when
               the Mifeprex labeling and REMS were last substantially revised) through July 26, 2021. The
               search terms used were “medical abortion” and “mifepristone” and “pregnancy termination
               and mifepristone.”

               The search retrieved 306 publications from PubMed and 613 from Embase, respectively; the
               search yielded 646 unique publications after eliminating duplications between the two
               databases. The result of our literature search was also supplemented by an examination of
               literature references provided by advocacy groups, individuals, plaintiffs in the Chelius
               litigation, and the Applicants, as well as letters from healthcare providers and researchers.
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               References included in these letters were considered for inclusion in this review using identical
               selection criteria to the         literature search (outlined below).
                                         (b) (6)




               For this review of the REMS,       focused on publications containing safety data related to
                                                (b) (6)


               outcomes of medical abortion (objective safety data) obtained from our literature search and
               from the references provided to us relevant to the REMS ETASUs. We excluded systematic
               reviews and meta-analyses because these publications did not include original safety data
               related to the outcomes of medical abortion. The following are examples of materials that were
               excluded from our literature search:

                    •   Information from survey studies or qualitative studies that evaluated perspectives on
                        and/or satisfaction with medical abortion procedures from patients, pharmacists, clinic
                        staff, or providers, even if the study assessed REMS ETASUs. These surveys or qualitative
                        studies did not include objective safety data related to outcomes of medical abortion.

                    •   Opinions, commentaries, or policy/advocacy statements. These publications did not
                        include objective safety data related to outcomes of medical abortion.

                    •   Safety data related to mifepristone use for second trimester medical abortion. These
                        publications reported data not applicable to the approved indication for medical
                        abortion up to 70 days gestation.

                    •   Safety data related to mifepristone use for spontaneous first trimester abortion (i.e.,
                        miscarriages). These publications reported data not applicable to the approved
                        indication for medical abortion up to 70 days gestation.

                    •   Safety data that pertained only to surgical abortion or did not separate out medical
                        abortion from surgical abortion.

                    •   Other safety information unrelated to the REMS elements (e.g., articles limited to case
                        reports or those discussing unrelated gynecologic or medical issues)

                    •   Publications for which it was not possible to conduct a full review of the methods or
                        results, i.e., the references were limited to an abstract of the study methods and results.

                    •   Publications that provided only general statistics on abortion care in the United States.


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                    •   Information pertinent to molecular or other basic science aspects of mifepristone.

                    •   Data on the logistics of accessing abortion care in general, such as time to appointment
                        or the distance traveled to obtain care.

                    •   Publications that provided data not related specifically to abortion care or the REMS
                        (e.g., references focused on federal poverty guidelines, poverty data, or the financial
                        impact of the COVID-19 pandemic).

               One exception to the above literature search criteria was the inclusion in Section 3.2.2 of this
               review, which discusses the Patient Agreement Form, of publications that discussed changes in
               provider volume. The data discussed in relation to provider volume was obtained from surveys.
               This data was included because changes in provider volume could only be obtained from well-
               conducted survey studies.

               Regarding medical/scientific references submitted with letters from the plaintiffs in the Chelius
               litigation, we applied the same criteria as for the literature search, as described above.


               Letters from the plaintiffs in the Chelius litigation included several references that preceded our
               2016 review of the REMS. Two of those pre-2016 studies were not captured in our 2016
               literature search. These two studies were assessed as part of our current review; their results
               are consistent with the existing safety profile of the approved medical abortion regimen, and
               therefore, support our current conclusions regarding the REMS. See Appendix A.

                        3.2.1. Evaluation of the requirement for healthcare providers who prescribe the
                             drug to be specially certified (ETASU A)


               In order to become specially certified, prescribers must: 1) review the prescribing information
               for mifepristone and 2) complete the Prescriber Agreement Form. In signing the Prescriber
               Agreement Form, prescribers agree they meet the qualifications listed below:

                    •   Ability to assess the duration of pregnancy accurately
                    •   Ability to diagnose ectopic pregnancies
                    •   Ability to provide surgical intervention in cases of incomplete abortion or severe
                        bleeding, or to have made plans to provide such care through others, and ability to

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                        ensure patient access to medical facilities equipped to provide blood transfusions and
                        resuscitation, if necessary.
                    •   Has read and understood the Prescribing Information of mifepristone (which the
                        provider can access by phone or online).
               In addition to meeting these qualifications, as a condition of certification the healthcare
               provider also agrees to follow the guidelines for use below:

                    •   Review the Patient Agreement Form with the patient and fully explain the risks of the
                        mifepristone treatment regimen. Answer any questions the patient may have prior to
                        receiving mifepristone.
                    •   Sign and obtain the patient’s signature on the Patient Agreement Form.
                    •   Provide the patient with a copy of the Patient Agreement Form and the Medication
                        Guide.
                    •   Place the signed Patient Agreement Form in the patient’s medical record.
                    •   Record the serial number from each package of mifepristone in each patient’s record.
                    •   Report deaths to the Applicant, identifying the patient by a non-identifiable patient
                        reference and the serial number from each package of mifepristone.
               The literature review was the primary source of information that contributed to our
               reassessment of ETASU A.
               We continue to be concerned that absent these provider qualifications, serious and potentially
               fatal complications associated with medical abortion, including missed ectopic pregnancy and
               heavy bleeding from incomplete abortion, would not be detected or appropriately managed.
               Our review of the literature did not identify any studies comparing providers who met these
               qualifications with providers who did not. In the absence of such studies, there is no evidence
               to contradict our previous finding that prescribers’ ability to accurately date pregnancies,
               diagnose ectopic pregnancies, and provide surgical intervention or arrange for such care
               through others if needed, is necessary to mitigate the serious risks associated with the use of
               mifepristone in a regimen with misoprostol. Therefore, our review continues to support the
               conclusion that a healthcare provider who prescribes mifepristone should meet the above
               qualifications. We conclude it is reasonable to maintain the requirement for a one-time
               prescriber certification where prescribers attest to having the ability to diagnose an intrauterine




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               pregnancy, to diagnose an ectopic pregnancy, e and to either manage serious complications
               themselves or arrange for other providers to provide the needed care in a timely manner.

               In addition, in signing the Prescriber Agreement Form and placing it in the patient’s medical
               record, the prescribers acknowledge the requirement to report patient deaths associated with
               mifepristone to the manufacturer. Such a requirement ensures that the manufacturer receives
               all reports of patient deaths and, in turn, fulfills its regulatory obligations to report those deaths
               to the FDA.

               As discussed in Section 3.2.2 below, there is a potential for doubling of the number of
               prescribers of mifepristone if the in-person dispensing requirement in ETASU C is removed from
               the Mifepristone REMS Program. Given the potential addition of new prescribers, in addition to
               the considerations described above, we conclude that we should maintain the requirement for
               prescriber certification, to ensure that providers meet the necessary qualifications and adhere
               to the guidelines for use. Our literature review supports that these requirements are still
               necessary, and the potential increase in new prescribers under the REMS is a further reason to
               maintain prescriber certification. Healthcare provider certification continues to be a necessary
               component of the REMS to ensure the benefits of mifepristone for medical abortion outweigh
               the risks. The burden of prescriber certification has been minimized to the extent possible by
               requiring prescribers to certify only one time for each applicant.

                        3.2.2. Evaluation of the requirement for the drug to be dispensed with evidence or
                             other documentation of safe-use conditions (ETASU D)

               In order to receive mifepristone for medical termination of pregnancy through 70 days
               gestation, the patient must sign a Patient Agreement Form indicating that the patient has
               received, read, and been provided a copy of the Patient Agreement Form and received
               counseling from the prescriber regarding the risk of serious complications associated with
               mifepristone for this indication. The Patient Agreement Form ensures that patients are
               informed of the risks of serious complications associated with mifepristone for this indication.


               e
                 American College of Obstetricians and Gynecologists (ACOG) Practice Bulleting Number 191, February 2018.
               Tubal Ectopic Pregnancy. https://www.acog.org/clinical/clinical-guidance/practice-bulletin/articles/2018/03/tubal-
               ectopic-pregnancy. Mifepristone is not effective for terminating ectopic pregnancy. Some of the expected symptoms
               experienced with a medical abortion (abdominal pain, uterine bleeding) may be similar to those of a ruptured ectopic
               pregnancy. A missed ectopic pregnancy that ruptures is a medical emergency that requires immediate surgical
               intervention.

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               In a number of approved REMS, Patient Agreement Forms or Patient Enrollment Forms ensure
               that patients are counseled about the risks of the product and/or informed of appropriate safe
               use conditions. f

               As a condition of certification under the Mifepristone REMS Program, healthcare providers
               must follow the guidelines for use of mifepristone, including reviewing the Patient Agreement
               Form with the patient, fully explaining the risks of the treatment regimen, and answering any
               questions the patient may have before receiving the medication. With this form, the patient
               acknowledges that they have received and read the form, and that they have received the
               counseling regarding when to take mifepristone, the risk of serious complications associated
               with mifepristone and what to do if they experience adverse events (e.g., fever, heavy
               bleeding). Both the healthcare provider and patient must sign the document and the patient
               must receive a copy of the signed form. In addition to the counseling described in the Patient
               Agreement Form, patients also receive a copy of the Medication Guide for mifepristone.
               Ultimately, the Patient Agreement Form serves as an important counseling component, and
               documentation that the safe use conditions of the Mifepristone REMS Program have been
               satisfied, as the prescriber is required to place the signed Patient Agreement Form in the
               patient’s medical record.

               Prior to the March 29, 2016 approval of the S-020 efficacy supplement for Mifeprex, FDA
               undertook a review of all elements of the REMS. At that time, the
                                                                                                (b) (6)


                                                          (                   ), along with the
                                                                      (b) (6)                           (b) (6)


                              (                     ), recommended removal of the Patient Agreement Form
                                            (b) (6)


               (ETASU D). This recommendation received concurrence from the
                                                                                                                 (b) (6)


               on February 23, 2016. The rationale for this recommendation in the 2016
                                                                                                         (b) (6)


               review g is summarized here as follows:

                    •   The safety profile of Mifeprex is well-characterized over 15 years of experience, with
                        known risks occurring rarely; the safety profile has not changed over the period of
                        surveillance.
                    •   Established clinical practice includes patient counseling and documentation of informed
                        consent and evidence shows that practitioners are providing appropriate patient


               f
                REMS@FDA, https://www.accessdata fda.gov/scripts/cder/rems/index.cfm, Accessed November 15, 2021.
               g                                               (b) (6)
                                                                       Clinical Review, NDA 020687/S20, dated March 29, 2016.
               https://darrts fda.gov/darrts/faces/ViewDocument?documentId=090140af803dc7bd& afrRedirect=38617557320374
               5

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                        counseling and education; the Patient Agreement Form is duplicative of these
                        established practices.
                    •   Medical abortion with Mifeprex is provided by a small group of organizations and their
                        associated providers. Their documents and guidelines are duplicated in the Patient
                        Agreement Form.
                    •   ETASUs A and C remain in place: The Prescriber Agreement Form and the requirement
                        that Mifeprex be dispensed to patients only in certain healthcare settings, specifically,
                        clinics, medical offices, and hospitals under the supervision of a certified prescriber,
                        remain in place.
               In light of a memorandum from the Director of the Center for Drug Evaluation and Research, an
               addendum to the                                       March 29, 2016 review and a memorandum
                                                             (b) (6)


               from the signatory authority in         indicated that the Patient Agreement Form would be
                                               (b) (6)


               retained in the REMS. h,i


               The current review of literature from March 29, 2016 to July 26, 2021, is relevant to our
               assessment of the necessity of the Patient Agreement Form as part of the REMS. While our
               literature search yielded no publications which directly addressed this element of the REMS, we
               identified the following literature that focused on the informed consent process. These studies
               were reviewed for their potential relevance on this topic, though the articles do not directly
               assess the need for the Patient Agreement Form as a condition necessary to assure safe use of
               Mifepristone under ETASU D.

                    •   Two studies 1,2 (both authored by Dr. Grossman in 2021) used the Patient Agreement
                        Form and additional clinic-specific written informed consent forms as part of the study
                        methodology. One study evaluated medical abortion with pharmacist dispensing of
                        mifepristone and another evaluated mail-order pharmacy dispensing. Safety and
                        efficacy outcomes were not assessed regarding the element of consent in isolation or
                        the Patient Agreement Form.
                    •   Several studies included use of electronic or verbal consent. Two studies were
                        conducted using signed electronic consent (Chong 3, Kerestes 4). Aiken 5 reported that
                        patients had the option of providing consent verbally and the discussion had to be
                        recorded in the notes. Rocca 6 described obtaining verbal informed consent from
                        patients seeking medical abortion provided in pharmacies or government-certified

               h                       (b) (6)
                                                 Review of proposed REMS modifications to Mifeprex. March 29, 2106.
               i                                                       (b) (6)
                                                                               Summary of Regulatory Action for Mifeprex. March
               29, 2016.

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                        public health facilities by auxiliary nurse midwives (ANMs) in Nepal. Outcomes were not
                        assessed regarding the single element of consent and its role in the efficacy of medical
                        abortion.
                    •   A retrospective chart review (Wiebe 7) was conducted in Canada. This study included
                        telemedicine abortions between January 31, 2017 and January 31, 2019 and a similar
                        group of controls seen in the clinic during the same time frame, matched by date of
                        initial appointment. As part of the telemedicine process, patients read a consent form
                        (not specified whether they could view an electronic version) and gave verbal consent
                        “witnessed by the counselor”. Again, outcomes were not assessed regarding the single
                        element of consent and its role in the efficacy of medical abortion.

               After review, we conclude that there are no outcome data from these studies that address the
               need for the Patient Agreement Form as a condition necessary to assure safe use of
               mifepristone. Nor do any of these studies provide evidence of whether the patient’s informed
               consent has been adequately documented under the process set out in the study protocol.
               Therefore, these studies do not provide evidence that would support removing ETASU D.

               Although           agrees that informed consent in medicine is an established practice, the
                             (b) (6)


               National Abortion Federation’s 2020 Clinical Policy Guidelines for Abortion Care 8 continue to
               include a detailed section on patient education, counseling, and informed consent. The
               guidelines state that these steps are essential parts of the abortion process; that they should be
               conducted by appropriate personnel, with accurate information, including about alternatives
               and potential risks and benefits; and that the patients must have an opportunity to have any
               questions answered to their satisfaction prior to any intervention. Under these guidelines,
               documentation must show that the patient affirms that they understand all the information
               provided and that the decision to undergo an abortion is voluntary. The guidelines specifically
               list the risks that must be addressed at a minimum, including those pertinent to medical
               abortion: hemorrhage, infection, continuing pregnancy, and death. Additionally, Practice
               Bulletins from ACOG 9 and the Society of Family Planning also support detailed patient
               counseling.

               In addition, trends in US clinical practice are developing which could negatively impact
               adequate patient counseling about the risks of medical abortion. One survey by Jones 2017 10 of
               abortion providers in the United States and Canada prior to the COVID-19 pandemic did reveal
               strong adherence to evidence-based guidelines. However, this same survey noted continued
               increasing uptake of medical abortion by US providers. Grossman 11 conducted a US survey in

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               2019 which suggested that the number of obstetrician/gynecologists providing medical
               abortion care may be increasing and that uptake might increase if mifepristone were dispensed
               by pharmacies instead of being dispensed in-person. A subsequent survey of US obstetricians/
               gynecologists by Daniel in 2021 12 evaluated a subsample (n = 868) from a prior national survey
               of providers and found that 164 (19%) reported providing medical abortion in the previous
               year. Of those obstetrician/gynecologists not providing medical abortion, 171 (24%) said they
               would offer the method to their patients if the in-person dispensing requirement for
               mifepristone were removed. This indicates a potential doubling of providers (+ 104%, 95%
               confidence interval (CI): 97% −112%). There were geographical variations, with the largest
               potential increases being in the Midwest (+ 189%, 95% CI: 172% −207%) and the South (+ 118%,
               95% CI: 103% −134%).

               Based on the articles discussed above, removal of the in-person dispensing requirement from
               the Mifepristone REMS Program (as discussed below in section 3.2.3) could significantly
               increase the number of providers to a larger group of practitioners. The Patient Agreement
               Form is an important part of standardizing the medication information on the use of
               mifepristone that prescribers communicate to their patients, and also provides the information
               in a brief and understandable format for patients. The requirement to counsel the patient, to
               provide the patient with the Patient Agreement Form, and to have the healthcare provider and
               patient sign the Patient Agreement Form, ensures that each provider, including new providers,
               informs each patient of the appropriate use of mifepristone, risks associated with treatment,
               and what to do if the patient experiences symptoms that may require emergency care. The
               single-page Patient Agreement Form is in line with other elements of this REMS, in that it
               supports the requirement that certified prescribers be able to accurately assess a patient,
               counsel a patient appropriately and recognize and manage potential complications. The form is
               placed in the patient’s medical record to document the patient’s acknowledgment of receiving
               the information from the prescriber and a copy is provided to the patient. We determined,
               consistent with section 505-1(f)(2) of the FD&C Act, that this does not impose an unreasonable
               burden on providers or patients, and that the Patient Agreement Form remains necessary to
               assure the safe use of Mifepristone.

               After considering potential burden on healthcare providers and patients and considering the
               available data discussed above, including the potential for increased prescribing of mifepristone
               if in-patient dispensing is removed from the REMS, we conclude that the Patient Agreement
               Form should remain a safe use condition in the REMS.


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                        3.2.3. Evaluation of the requirement for drug to be dispensed only in certain
                             healthcare settings (ETASU C)
               Mifepristone applicants must ensure that mifepristone is available to be dispensed to patients
               only in clinics, medical offices, and hospitals by or under the supervision of a certified
               prescriber. This creates what we refer to in this document as an in-person dispensing
               requirement under the REMS; i.e., the patient must be present in person in the clinic, medical
               office or hospital when the drug is dispensed. The mifepristone REMS document states that
               mifepristone may not be distributed to or dispensed through retail pharmacies or settings other
               than these.

               The following information contributed to our analysis of this requirement: Mifepristone REMS
               Program year-one assessment data, postmarketing safety information and literature review.
               REMS Assessment Data
               Reporting period for the Mifepristone REMS Program - April 11, 2019 through February 29, 2020
               We evaluated information included in the one-year (1st) j REMS assessment reports
               for the Mifepristone REMS Program, which included healthcare provider certification data,
               program utilization data, compliance data, audit results and patient exposure data. 13 The
               assessment reports were submitted on April 10, 2020 by the NDA Applicant and April 15, 2020
               by the ANDA Applicant and cover a reporting period from April 11, 2019 through February 29,
               2020. During this reporting period, the NDA Applicant reported                    newly certified healthcare
                                                                                         (b) (4)


               providers, and the ANDA Applicant reported              newly certified healthcare providers in the
                                                               (b) (4)


               Mifepristone REMS Program. The NDA Applicant reported a total of                            certified healthcare
                                                                                                   (b) (4)


               providers (includes new and previously certified) ordered mifepristone during the assessment
               reporting period, and the ANDA Applicant reported a total of                  certified healthcare providers
                                                                                    (b) (4)


               ordered mifepristone during the assessment reporting period. The NDA Applicant estimated
               that a total of            patients were exposed to mifepristone during the assessment reporting
                                  (b) (4)


               period. The ANDA Applicant reported an estimated total of                       patients were exposed to
                                                                                      (b) (4)


               mifepristone during the reporting period.
               During the reporting period, a small number of non-compliance events were reported. The
               authorized distributor for the NDA applicant reported to the NDA Applicant that they
               experienced deviations with scanning of the product serial numbers which were confirmed
               during the February 2020 audit. The authorized distributor conducted a root cause analysis and
               developed a corrective and preventive action (CAPA) on February 12, 2020. The CAPA was

               j
                This REMS assessment report was the first to be submitted following the approval of the single, shared system
               REMS for mifepristone.

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               validated and deployed with monitoring of the system through April 10, 2020. The corrective
               action will prevent similar events from occurring in the future.
               January 27, 2020 through September 30, 2021
               During the timeframe from January 27, 2020 through September 30, 2021, there were periods
               when the in-person dispensing requirement was not being enforced.

                      •   On July 13, 2020, the United States District Court for the District of Maryland granted a
                          preliminary injunction in the ACOG case to temporarily bar enforcement of the in-
                          person dispensing requirement during the COVID-19 PHE.
                      •   On January 12, 2021, the United States Supreme Court issued a stay of the injunction.
                      •   On April 12, 2021, the FDA issued a General Advice Letter informing the applicants of
                          the Agency’s intent to exercise enforcement discretion during the COVID-19 public
                          health emergency regarding the in-person dispensing requirement in the Mifepristone
                          REMS Program. k, l
               To better understand whether there was any impact on safety or noncompliance during the
               periods when the in-person dispensing requirement was not being enforced, we requested
               additional information from the Applicants to provide for more comprehensive assessment of
               the REMS for the time period from January 27, 2020 (the effective date of the COVID-19 PHE) to
               September 30, 2021. We requested the Applicants provide a summary and analysis of any
               program deviation or noncompliance events from the REMS requirements and any adverse
               events that occurred during this time period that had not already been submitted to FDA. As
               part of an additional request for information for the REMS assessment report, the Applicants
               were also asked to submit the adverse events to FAERS and to notify FDA that the reports were
               submitted.

               Between January 27, 2020 and September 30, 2021, the NDA Applicant distributed
                                                                                                                           (b) (4)


               shipments representing                  tablets. The NDA Applicant reported that there were (4)
                                               (b) (4)                                                                   (b)


               shipments representing a total of                tablets sent to (4) non-certified healthcare providers. m,n
                                                        (b) (4)                 (b)


                        of these healthcare providers subsequently became certified while                      did not. Of the
                (b) (4)                                                                                (b) (4)                 (b) (4)


               healthcare providers who were not subsequently certified,                       returned a total of 12 of the 13
                                                                                       (b) (4)




               k
                   FDA General Advice Letter for NDA 20687, April 12, 2021.
               l
                   FDA General Advice Letter for ANDA 091178, April 12, 2021.
               m
                   NDA 020687 September 9, 2021 response to the FDA’s September 2, 2021 Information Request.
               n
                   NDA 020687 October 8, 2021 response to the FDA’s June 30, 2021 Information Request.

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               A total of eight cases that met the search criteria were identified in FAERS and no additional
               case reports were identified in the medical literature. Two of the eight cases reported adverse
               events that occurred when the in-person dispensing requirement in the REMS was being
               enforced (i.e., January 27, 2020 - July 12, 2020 & January 13, 2021 - April 12, 2021). These two
               cases reported the occurrence of uterine/vaginal bleeding (case 1) and uterine/vaginal bleeding
               and sepsis (case 2). Of note, uterine/vaginal bleeding and sepsis are labeled adverse events.
               Five of the eight cases reported adverse events that occurred when the in-person dispensing
               requirement was not being enforced (i.e., July 13, 2020 - January 12, 2021 & April 13, 2021 -
               September 30, 2021). These five cases reported the occurrence of ongoing pregnancy (case 3),
               drug intoxication and death approximately 5 months after ingestion of mifepristone (case 4),
               death [cause of death is currently unknown] (case 5), sepsis and death (case 6), and pulmonary
               embolism (case 7). Although these adverse events occurred during the period when the in-
               person dispensing requirement was not being enforced, the narratives provided in the FAERS
               reports for cases 5, 6, and 7 explicitly stated that mifepristone was dispensed in-person. Of
               note, ongoing pregnancy, and sepsis, including the possibility of fatal septic shock, are labeled
               adverse events. The remaining case from July 2021 reported the occurrence of oral
               pain/soreness (case 8) but did not provide sufficient information to determine the exact date of
               the adverse event. Based upon the U.S. postmarketing data reviewed, no new safety concerns
               were identified by
                                    (b) (6)




               In addition to the FAERS data provided above,           routinely monitors adverse events reported
                                                                      (b) (6)


               to FAERS and published in the medical literature for mifepristone for medical termination of
               pregnancy.           has not identified any new safety concerns with the use of mifepristone for
                            (b) (6)


               medical termination of pregnancy.

               To enable additional review of adverse events, the Applicants were requested q to provide a
               summary and analysis of adverse events reported with incomplete medical abortion requiring
               surgical intervention to complete abortion, blood transfusion following heavy bleeding or
               hemorrhage, ectopic pregnancies, sepsis, infection without sepsis, hospitalization related to
               medical abortion, and emergency department (ED)/urgent care encounter related to medical
               abortion. The Applicant for Mifeprex provided a summary of postmarketing safety information
               from March 29, 2016, when S-020 was approved, through September 30, 2021, on August 27
               and October 8, 2021. During the time period in question,                tablets were shipped, and
                                                                               (b) (4)




               q
                On August 5, 2021, an IR was sent to the Applicants requesting a summary and analysis of adverse events from
               March 29, 2016 through June 30, 2021 and from July 1, 2021 through September 30, 2021.

                                                                                                                               22

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               48 adverse events were received. The 48 adverse events included 4 deaths (one of which
               occurred in 2010 but was reported in 2017), 25 incomplete abortions requiring surgical
               intervention, 17 blood transfusions following heavy vaginal bleeding, 2 ectopic pregnancies, 7
               infections (1 sepsis and 6 infection without sepsis), 13 hospitalizations, and 43 ED or urgent
               care visits related to medical abortion. For the period between January 27, 2020 and
               September 30, 2021, a time frame that includes the entire period when the COVID-19 public
               health emergency (PHE) has been in effect, there were three adverse events reported
               corresponding to the above cases from FAERS identified by              case 1 (uterine/vaginal
                                                                              (b) (6)


               bleeding), case 2 (uterine/vaginal bleeding and sepsis), and case 4 (drug intoxication and
               death).

               The ANDA Applicant provided a summary of postmarketing safety information from April 11,
               2019 (date of ANDA approval) through September 30, 2021. On August 26, 2021, the Applicant
               provided distribution and adverse event information from April 11, 2019 through June 30,
               2021. During this time period, a total of              tablets were shipped. There were 7 adverse
                                                              (b) (4)


               events including 3 deaths (1 from sepsis, 1 from bilateral pulmonary artery thromboemboli, 1 in
               a patient who complained of not being able to breathe), 1 ongoing pregnancy treated with
               uterine aspiration, 2 blood transfusions, 1 sepsis (with death), 1 hospitalization, and 3 ED or
               urgent care visits related to medical abortion. On October 12, 2021 the Applicant provided
               information from July 1, 2021 to September 30, 2021; there were no additional adverse events.
               For the period between January 27, 2020 and September 30, 2021, there were four adverse
               events reported corresponding to the above cases from FAERS identified by                  case 3
                                                                                                  (b) (6)


               (ongoing pregnancy), case 5 (death unknown cause), case 6 (sepsis and death), and case 7
               (pulmonary embolism). r

               The postmarketing data from FAERS were analyzed by        to determine if there was a
                                                                                  (b) (6)


               difference in adverse events between periods when the in-person dispensing requirement was
               being enforced and periods when the in-person dispensing requirement was not being
               enforced. Based on this review, we conclude that there does not appear to be a difference in
               adverse events between periods when the in-person dispensing requirement was being
               enforced and periods when the in-person dispensing requirement was not being enforced. This
               suggests that mifepristone may be safely used without an in-person dispensing requirement.



               r
                The eighth FAERS case, oral pain/soreness, was not within the scope of the August 5, 2021 IR and was not
               considered for this review of postmarketing safety information submitted by the Applicants in response to the IRs.

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                                review of the Applicants’ IR responses, which included the same cases identified by
                             (b) (6)


                             from FAERS, did not change our conclusion. s
                   (b) (6)




               Literature Review
               Published studies have described alternatives in location and method for dispensing
               mifepristone by a certified prescriber (or an equivalent healthcare provider in countries other
               than the US). Some studies have examined replacing in-person dispensing in certain health care
               settings with dispensing at retail pharmacies (Grossman2, Wiebe7, Rocca6) and dispensing
               mifepristone from pharmacies by mail (Grossman1, Upadhyay 14, Hyland 15). Other studies have
               evaluated two modes of dispensing by prescribers: (1) prescribers mailing the medications to
               women (Gynuity study [Raymond 16, Chong3, Anger 17], Kerestes4, Aiken5 (2021)) and (2)
               prescribers using couriered delivery of medications (Reynolds-Wright 18). Other studies have
               evaluated dispensing mifepristone by mail by an entity described as “a partner organization”
               (Aiken 19 (2017), Norton 20, Endler 21). For ease of review, in the sections below that describe
               these studies, we have separated relevant references by the methodology used to dispense
               mifepristone.

               Retail pharmacy dispensing

               Three studies report medical abortion outcomes for retail pharmacy dispensing of mifepristone
               after clinical evaluation. Grossman2 conducted a US-based study in which mifepristone and
               misoprostol were dispensed from a pharmacy partnered with the clinic where the participant
               had an evaluation by ultrasound and counseling. Of the 266 participants enrolled, 260 had
               known abortion outcomes. Complete abortion without additional procedure occurred in 243
               participants (93.5% of those with known outcomes). Seventeen participants (6.5% of those with
               known outcomes) were diagnosed with incomplete abortion and underwent uterine aspiration.
               The reported proportion of complete abortion is within the range described in the approved
               mifepristone labeling. However, the finding represents a lower-than-expected efficacy based on
               the cohort’s GA (84% of participants were at ≤ 56 days GA, a cohort for which the labeled
               success rate is 96.8%). No participants experienced a serious adverse event, were hospitalized,
               or required transfusion. Three participants had ED visits with treatment (intravenous hydration,
               pain medication, pelvic infection after uterine aspiration for incomplete abortion). The study’s


               s
                The reporting period of (b) (6) assessment of the adverse events in FAERS is not identical to the time period for
               summaries of adverse events in the IRs to the Applicants. Therefore, the numbers of cases and adverse events
               summarized in (b) (6) assessment may differ from the numbers of cases and adverse events summarized by the
               Applicants in their responses to IRs (note that each case report may include more than one adverse event).

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               safety and efficacy outcomes are consistent with labeled frequencies. The majority of
               participants (65%) were very satisfied with the experience. There were some complaints from
               participants about not receiving all prescribed medications at the initial pharmacy visit, privacy
               not being adequately maintained, and perceived negative pharmacist attitude.

               Overall, we conclude that this study has limited generalizability because it was conducted in
               two US states and involved partnered pharmacies, some of which were in the same building as
               the clinic. Additionally, all participating pharmacies in this study were required to have a
               pharmacist on duty during clinic hours who had been trained in the study protocol and was
               willing to dispense mifepristone. The study conditions may not be generalizable to US retail
               pharmacies; there is insufficient information to assess this. Rocca6 conducted an observational
               study evaluating 605 participants at ≤63 days GA who obtained medical abortions in Nepal by
               comparing the provision of medical abortion service by newly trained nurse midwives in
               pharmacies to medical abortion provided in government-certified clinics. Participants who
               presented to pharmacy study sites underwent clinical screening including a pelvic exam by
               trained nurse midwives at the pharmacy (which was equipped with an examination room) and
               if eligible for medical abortion, were dispensed mifepristone and misoprostol in the pharmacy
               at the time of their visit. Participants who presented to public health facilities underwent
               clinical screening including pelvic examination by abortion providers including trained nurse
               midwives and if eligible for medical abortion were dispensed mifepristone and misoprostol in
               the clinic at the time of their visit. The authors reported that, with respect to complete abortion
               (>97%) and complications (no hospitalizations or transfusions), evaluation and dispensing in
               pharmacy was non-inferior to in-clinic evaluation and dispensing.

               Wiebe,7 in a retrospective, chart review study conducted in Canada, compared abortion
               outcomes of 182 women at ≤ 70 days GA who underwent medical abortion with telemedicine
               consult, and either received medications by courier or picked them up at a local pharmacy, with
               outcomes of a matched control cohort of 199 women who received the medications at a
               pharmacy after an in-clinic visit. The groups had similar documented complete medical abortion
               outcomes (90%, calculated maintaining subjects with unknown outcomes in the denominator; ≥
               95% calculated with known outcomes only). The telemedicine group had one case of
               hemorrhage (0.5%) and one case of infection requiring antibiotics (0.5%) compared with no
               cases of hemorrhage or infection requiring antibiotics in the in-clinic cohort. The telemedicine
               group had more ED visits (3.3% compared to 1.5% in-clinic cohort). Both models of dispensing
               mifepristone resulted in efficacy and safety outcomes within labeled frequency.


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               None of the three studies described above allow a determination regarding differences in
               safety between in-person dispensing by a certified prescriber in a health care setting and
               dispensing through a retail pharmacy, due to limitations on the generalizability of the studies to
               the current retail pharmacy environment in the US. The outcome findings from the one US
               study (Grossman2), in which the pharmacies were partnered with prescribers, may not be
               generalizable to much of the US as they do not reflect typical prescription medication
               availability with use of retail pharmacy dispensing. Although retail pharmacy dispensing of
               mifepristone and misoprostol in Canada has been described in the literature, there are
               important differences in healthcare systems between Canada and the US that render the
               findings from studies in Canada (Wiebe7) not generalizable to the US. In the Wiebe study, timely
               provision of medication from the retail pharmacy was accomplished by either courier to the
               woman or faxed prescription to the woman’s pharmacy. It is unknown whether conditions that
               allow timely access to medications for medical abortion would occur in retail pharmacies
               throughout the US. Canada’s federal government has reaffirmed that abortion is an essential
               health service t which may have implications affecting access to medical abortion from retail
               pharmacies in Canada. The Rocca6 study evaluated medical abortion provided in Nepali
               pharmacies and essentially moved the abortion provider and clinical examination into the
               pharmacy, a scenario that is not, at this time, applicable to the US retail setting.

               Mail order pharmacy
               Grossman1 published an interim analysis of an ongoing prospective cohort study evaluating
               medical abortion with mifepristone and misoprostol dispensed by mail-order pharmacy after in-
               person clinical assessment. All participants were evaluated for eligibility during a clinic visit with
               GA up to 63 days confirmed with either an ultrasound or examination; instead of receiving
               medication at the clinic visit, participants received medications from a mail-order pharmacy. A
               total of 240 participants have been enrolled; three participants did not take either medication.
               A total of 227 (94.6%) provided some outcome information, of whom 224 provided abortion
               outcome information. Complete abortion without additional procedures occurred in 217
               participants (96.9% of those with known outcomes). Two (0.9%) participants experienced
               serious adverse events (SAE); one received a blood transfusion, and one was hospitalized
               overnight. Nine (4%) participants attended 10 ED visits. In this interim analysis, the outcomes
               are consistent with labeled frequencies. With respect to the time interval between a


               t
                As noted in Mark23 and Martin24, most provincial and federal health insurance programs in Canada cover medical
               abortion, and covered services are free at the point of care.

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               participant’s clinic visit and receipt of medications, of the 224 participants with known abortion
               outcomes, 184 (82.1%) received medication within 3 days. However, 17% received between 4-7
               days and one participant waited over 7 days for receipt. Seven of 216 (3.2%) participants who
               completed the day-3 survey reported compromised confidentiality (e.g., someone found their
               medication, privacy concerns).

               Upadhyay14 reports findings from a retrospective cohort study of 141 women undergoing
               medical abortion in the US without a consultation or visit. Eligibility was assessed based on a
               participant-completed online form collecting pregnancy and medical history. Participants who
               were considered eligible received medication delivered by a mail-order pharmacy. Three
               interactions via text, messaging or telephone occurred to confirm medication administration,
               assessment of expulsion and pregnancy symptoms, and results of a 4-week home pregnancy
               test. Abortion outcome was determined by either the day 3 assessment or the 4-week
               pregnancy test. The investigators reported a complete abortion rate without additional
               procedures of 95% (105 participants out of 110 for whom outcomes were known) and stated
               that no participants had any major adverse events. The proportion of abortion outcomes
               assessed at 3 days versus 4 weeks is not reported. Regardless, determining outcomes at 3 days
               is insufficient to determine outcome rates or safety findings because a 3-day follow-up period is
               too short. Additionally, a substantial number of participants (31) provided no outcomes
               information. Among the 141 participants enrolled, 128 had any follow-up contact with the
               study staff, and 110 provided outcomes information. Excluding outcomes of 22% of the cohort
               is a limitation of this study. This study used a model with numerous deviations from standard
               provision of medical abortion in the US, such as no synchronous interaction with the prescriber
               during informed consent or prior to prescribing medication, no confirmation of self-reported
               medical, surgical, and menstrual history. Further, follow-up information based on a 3-day
               period is insufficient to determine outcome rates or safety findings. These deviations, limited
               follow-up information, and small sample size limit the usefulness of this study.

               Hyland15 describes findings from a cohort study in Australia evaluating medical abortion
               outcomes utilizing telemedicine and a central mail order pharmacy. All participants obtained
               screening tests including ultrasound confirmation of GA. A total of 1010 participants completed
               the screening process and were provided mifepristone and misoprostol. Abortion outcomes
               were determined for 754 (75%) of the 1010. Outcomes for the remaining 256 participants (25%)
               were not included because 31 provided no relevant information after shipment, 14 reported
               not taking misoprostol, and 211 did not have "full follow up” (i.e., known outcome of either
               complete medical abortion, uterine evacuation, or ongoing pregnancy with plan to continue).

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               Complete abortions without additional procedures occurred in 727 participants (96% of those
               with definitively documented outcomes) and is consistent with labeled efficacy. Of the 754
               participants included in the analysis 717 (95%) had no face-to-face clinical encounters after
               medications were mailed while 21 (3%) were admitted to the hospital and 16 (2%) had an
               outpatient encounter. One participant who was hospitalized and underwent a surgical uterine
               evacuation received a transfusion. Not included in the findings are 7 hospitalizations occurring
               in 7 participants who did not have “full follow up”. The authors do not report any other adverse
               events and conclude use of the telemedicine medical abortion service is safe. The reasons for
               hospitalization are not discussed by the authors; therefore, it is unknown why the patients
               were hospitalized. Although the reported number of hospitalizations (3%) is higher than the
               less than 1% in the FDA-approved mifepristone labeling, conclusions regarding the safety
               findings in this study cannot be made in the absence of information about the reasons for
               hospitalization. Other limitations of this study include incomplete information about outcomes
               with face-to-face encounters, and not reporting outcomes of 25% of the enrolled cohort.

               Overall, the three studies evaluating mail order pharmacy dispensing suggest that the efficacy
               of medical abortion is maintained with mail order pharmacy dispensing. In the Grossman1
               study, the interim analysis, although small, does not raise serious safety concerns. We note that
               18% of participants did not receive medications within 3 days; the potential for delay in
               receiving medication by mail could limit the GA eligible for medical abortion through mail order
               pharmacy dispensing, because women at GA closer to 70 days might not receive medication in
               time. A small proportion (3%) of participants raised concerns regarding the issues of
               confidentiality and privacy. Safety findings from the Hyland15 study are difficult to interpret.
               Although only one transfusion is reported, and the authors state the findings demonstrate
               safety, the higher hospitalization rates, and lack of information on the reasons for
               hospitalization do not allow any conclusions about safety findings. Lastly, the Upadhyay14 study
               had no reported adverse events, but the findings are less useful because of the limited follow-
               up, and because medical abortions were provided using a model with numerous deviations
               from standard provision of medical abortion in the US.

               Clinic dispensing by mail
               A total of five studies evaluated clinic dispensing by mail.3,4,5,16, 17 Gynuity Health Projects
               conducted a prospective cohort study (the “TelAbortion” study) evaluating use of telemedicine
               for remote visits and mifepristone being dispensed from clinics via overnight or regular tracked
               mail. Three publications reviewed have reported outcomes for the Gynuity population


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               exclusively: Raymond16 from May 2016 to December 2018, Chong3 from May 2016 to
               September 2020 and Anger17 from March 2020 to September 2020. Due to the pandemic, the
               Gynuity study deviated from the protocol requirement of confirmation of GA by examination or
               ultrasound for many participants treated from March 2020 onward (although none of the three
               publications reported on the single element of dispensing mifepristone from the healthcare
               setting by mail). A fourth study, Kerestes,4 reports outcomes of medical abortion at the
               University of Hawai’i from April 2020 to November 2020: seventy-five (of whom 71 were
               enrolled in the Gynuity study) of the 334 participants in Kerestes were dispensed mifepristone
               by mail after a telemedicine consult. The section below discusses these four studies from the
               US as well as a large UK study by Aiken5 (2021).

               Raymond 16 (2019) reported outcomes from the Gynuity study prior to the pandemic. In the
               TelAbortion study, participants were not required to have an in-person clinic visit; rather, they
               obtained screening tests at laboratories and radiology offices and then communicated with the
               abortion provider by videoconference. If the participant was eligible for treatment, the provider
               dispensed the medications by mail. Of 433 women screened, 165 (38%) either declined to
               schedule the videoconference or did not keep the videoconference appointment. Among the
               268 participants evaluated via videoconference, medication packages were sent to 248.
               Abortion outcomes were determined for 190 (77%) of the 248; outcomes for 58 (23%)
               participants were unknown. Complete abortion without additional procedures occurred in 177
               participants (93% of those with known outcomes). The investigators obtained follow-up
               information from 217 participants after package shipment; there were two hospitalizations
               (one received a transfusion for severe anemia despite having had a complete abortion), and 16
               other participants (7%) had clinical encounters in ED and urgent care centers. The reported
               outcomes in Raymond16 (2019) are similar to outcomes described in approved labeling except
               the combined ED/urgent care center encounters (7%) exceeded the ED visits in approved
               labeling (2.9-4.6%). The authors note that half of the ED/urgent care visits did not entail any
               medical treatment and opine that the increased number of visits may have been due to the
               study participants living farther from the abortion providers.16 All participants received
               medications within 8 days.

               Chong3 updated the findings from the Gynuity study described in Raymond16 and reported on
               1157 medical abortion outcomes, of which approximately 50% occurred during the period of
               the COVID-19 PHE. Although a screening ultrasound was required per the protocol, sites
               determined in 52% (346/669) of abortions that occurred during the period of the COVID-19 PHE
               that, in order to avoid potential exposure to COVID-19 at a health care facility, those

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               participants were not required to obtain a screening ultrasound. Use of urine pregnancy test to
               confirm abortion completion also increased from 67% (144/214) in the 6 months prior to the
               pandemic to 90% (602/669) in the 6 months during the pandemic. Of the 1390 participants to
               whom medicine packages (containing both mifepristone and misoprostol) were mailed, 1157
               (83.2%) had known abortion outcomes. Complete abortion without a procedure occurred in
               1103 participants (95% of the those with a known outcome). Ten women experienced an SAE (5
               transfusions (0.4%) and 7 hospitalizations (0.7%)) and 70 (6%) participants had unplanned
               clinical encounters in ED/urgent care. Surgical interventions were required in 47 participants
               (4.1% of 1390) to complete abortion. The reported outcomes in this study are similar to
               outcomes described in approved labeling, except that the combined ED/urgent care center
               encounters (6%) exceeded the ED visits in approved labeling (2.9-4.6%).

               Anger17 compared outcomes among participants enrolled in the Gynuity study who did versus
               did not have confirmation of GA/intrauterine location with an examination or ultrasound from
               10 jurisdictions across the US. These participants were screened for enrollment from March 25
               through September 15, 2020. All participants had a telemedicine consultation and received
               mifepristone and misoprostol by mail from the healthcare facility. Determination of which
               participants did not require confirmation of GA by examination or ultrasound to be eligible
               depended on the study clinician’s assessment of eligibility for “no-test medication abortion” u
               based on a sample protocol published by Raymond 22 (2020). There were two key differences
               between the two groups. Participants for whom the study clinician determined a pre-abortion
               ultrasound was required were more likely than the participants who had no ultrasound or
               examination to live further than 150 miles from the clinic (51.2% vs. 31.7%) and were more
               likely to have a GA above 63 days (12.0% vs. 1.7%). The study sites shipped 503 medication
               packages during the analysis period; 344 packages went to the “no test” group while 159 went
               to the “test” medical abortion cohort (see figure below). However, because the two cohorts
               were not randomized in this study, they had different baseline characteristics. Consequently,
               findings based on the comparisons between the two cohorts should be interpreted carefully.




               u
                 “No-test medication abortion” refers to medical abortion provided without a pretreatment ultrasound, pelvic
               examination, or laboratory tests when, in the judgment of the provider, doing so is medically appropriate
               (appropriateness based on history and symptoms); “no-test medication abortion” does include post-abortion follow
               up. A sample protocol is described by Raymond et al.22

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               Source: Figure 1 in this publication. MA= medical abortion.


               The investigators’ analyses excluded 91 (18% of 503; 57 in the no-test group and 34 in the test
               group) participants because they did not provide a date of the last menstrual period (LMP), did
               not take mifepristone, or did not have a recorded abortion outcome. Overall, 410 participants
               (81.5% of 503) provided outcomes data. There were no reported ectopic pregnancies in either
               group. The number of ED/urgent care visits and the proportion of unplanned clinical encounters
               that led to medical treatment were not reported. In the no-test group, complete medical
               abortion was confirmed in 271 participants who took medications (94% among those with
               known outcome). In the no-test cohort, two participants were “hospitalized and/or blood
               transfusion,” and 36 (12.5%) had an unplanned clinical encounter (participant sought in-person
               medical care related to abortion and the visit was not planned prior to abortion).

               In the test medical abortion group, complete abortion was confirmed in 123 participants (of
               125 with known outcomes); the completion rate was 98% among those with known outcomes.
               In the test medical abortion group, one participant was “hospitalized and/or blood transfusion,”
               and 10 (8.0%) had an unplanned clinical encounter. The authors concluded that, compared to
               participants who had an ultrasound prior to medical abortion, those without an examination
               prior to medical abortion were more likely to require procedural interventions and had more
               unplanned clinical encounters.

               Kerestes4 was the only publication that linked outcomes of medical abortion with different
               delivery models. Participants included in the report had GA up to 77 days and received

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               medications in Hawaii between April 2020 and January 2020. A total of 334 medication
               packages (to 330 unique participants) were dispensed containing mifepristone and misoprostol;
               three different delivery models were used concurrently: 110 (32.9%) had traditional in-person
               visits, 149 (44.6%) had telemedicine consultation with in-person pick-up of medications, and 75
               (22.5%) were sent medications by mail (71 of these were enrolled through Gynuity’s
               TelAbortion study). Seven participants of the 330 participants who received 334 medication
               packages reported that they did not take them and were excluded from analysis of the
               outcomes. Among participants with follow-up data, the rates of successful medical abortion
               without surgery were 93.6%, 96.8%, and 97.1% in the in-clinic group, telemedicine + in-person
               pickup group, and telemedicine + mail group, respectively; these were consistent with
               outcomes in approved labeling. Blood transfusion was given to two participants (both in the
               telemedicine + in-person pickup group). Eleven participants went to an ED. Although ED visits
               occurred the most frequently in the telemedicine + mail group (four participants or 5.8%) and
               the least in the in-person group (two participants or 2.1%), the study reported no increases in
               other serious adverse events.

               Taken together, the three Gynuity study reports3,16,17 and Kerestes4 support dispensing
               mifepristone and misoprostol by mail after a telemedicine visit. Efficacy was maintained in all
               four studies. All of the studies reported SAEs frequencies comparable to labeled rates, except
               two of the Gynuity study reports (Raymond16, Chong3) and Kerestes4 report a higher frequency
               of ED/urgent care visits than the labeled frequency of ED visits. We do not know whether the
               reporting of combined ED and urgent care visits represents an increased rate of ED visits
               compared to the labeled rate of ED visits (2.9-4.6%). Other labeled SAEs (e.g., transfusion) occur
               infrequently (< 1%).

               Aiken5 (2021) reports outcomes of medical abortion up to 70 days GA in the UK before and
               during the pandemic in a retrospective cohort study. In the UK, prior to the COVID-19
               pandemic, all patients attended an in-clinic visit where they received an ultrasound, were
               administered mifepristone in the clinic, and given misoprostol in-clinic for use at home
               (traditional model). During the pandemic, medical abortion consultations were performed
               remotely by telephone or video. Based on the consultation and questionnaire (including date of
               last menstrual period; menstrual, contraceptive and medical history; symptoms; risk for ectopic
               pregnancy), an assessment of eligibility for treatment via telemedicine was made. If eligible,
               medications were delivered to participants via mail or were made available for collection from
               the clinic for use at home. If the participant was assessed to be ineligible for treatment via


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               telemedicine, an in-person assessment with ultrasound was performed and medications were
               provided from the clinic for home use (hybrid model).

               The study compared the two cohorts: 22,158 obtained medical abortion before the pandemic
               and had in-person visits and dispensing (traditional model) and 29,984 obtained medical
               abortion during the pandemic with either in-person visit and in-person dispensing, or a
               telemedicine visit and dispensing by mail or picked up from the clinic (hybrid model). Outcomes
               were obtained from electronic records and incident databases. Outcomes of all hospitalizations
               related to abortion, ED visits, infection without sepsis, and hemorrhage without transfusion
               were not reported. The investigators’ analysis for non-inferiority determined the efficacy and
               safety were comparable between both cohorts. Complete abortion occurred in > 98% in both
               cohorts. Hemorrhage requiring transfusion was reported in 0.04% and 0.02% of the traditional
               and hybrid cohorts, respectively; this is lower than the labeled 0.5% transfusion rate. There
               were no severe infections requiring hospitalization, major surgery or deaths reported.

               A secondary analysis of the hybrid cohort was reported. Within the 29,984-person hybrid model
               cohort, 11,549 (39%) abortions were conducted in-person (in-person assessment with
               ultrasound was performed and medications provided from the clinic for home use) and 18,435
               (61%) abortions were provided by telemedicine visit, without tests or confirmation of
               GA/intrauterine position by ultrasound, and medications either mailed or picked up from the
               clinic. Outcomes stratified by type of mifepristone dispensing were not reported. The rate of
               complete abortion was slightly higher in the telemedicine group (99.2%) than that in the in-
               person group (98.1%). There were no significant differences in the rates of reported SAEs.
               Adjustments for clinical and demographic characteristics were made because the two groups
               differed in baseline characteristics, including a higher proportion of pregnancies with GA over 6
               weeks in the in-person group (68.2% compared with 55.1%). The authors conclude a hybrid
               model for medical abortion that includes no-test medical abortionu (no ultrasound, no pelvic
               exam, no pregnancy test) is effective and safe.


               We conclude that although the Aiken5 (2021) study has a large sample size and includes 85% of
               all medical abortions performed in England and Wales during the study period, the study has
               limitations. The authors acknowledge the main limitation of their study was that analysis was
               based on deidentified information in the NHS database and the investigators were unable to
               verify the outcomes extracted. Other limitations included that their search only captured


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               outcomes in electronic records and incident databases that met the authors’ defined threshold
               for SAE reporting, and that the labeled abortion outcomes considered serious, such as
               hospitalizations related to abortion, infection without sepsis, hemorrhage without transfusion,
               or ED/urgent care visits, were not all included in the authors’ definition of serious adverse
               event.

               Data from the mail order dispensing studies with telemedicine visits from Gynuity (Raymond,
               Chong and Anger),3,16,17 Kerestes4, and Aiken5 (2021) support that efficacy of medical abortion
               was maintained. The Aiken5 study appears to be of sufficient sample size to determine whether
               safety outcomes with mail dispensing differ from in-person dispensing; however, the study’s
               design did not capture all serious safety outcomes, thus limiting the certainty of the findings.
               Study reports of Raymond16 Chong3, and Kerestes4 all suggest there may be an increase in
               ED/urgent care visits with telemedicine visits and dispensing by mail without increases in other
               adverse events. Anger’s17 comparative analysis suggests a pre-abortion examination may
               decrease the occurrence of procedural intervention and decrease the number of unplanned
               visits for postabortion care. Overall, despite the limitations noted, these studies support that
               dispensing by mail is safe and effective. Although the literature suggests there may be more
               frequent ED/urgent care visits related to the use of mifepristone when dispensed by mail from
               the clinic, there are no apparent increases in other SAEs related to mifepristone use. One
               reason for the increase in frequent ED/urgent care visits in the Raymond16 publication,
               according to its authors, may have been that a substantial proportion of participants lived
               significant distances from their providers and increased distances have been associated with
               higher use of ED following treatment. Raymond16 reported that half of the participants who had
               an ED/urgent care visit did not require medical treatment.

               Clinic dispensing by courier
               Reynolds-Wright18 reported findings from a prospective cohort study of 663 women at less than
               12 weeks’ GA in Scotland undergoing medical abortion at home with use of telemedicine during
               the pandemic (from April 1 to July 9, 2020). The majority of medical abortions (78.7%) used
               telemedicine visits, eliminated pre-abortion ultrasound, and provided mifepristone for pick up
               at the service or by couriered delivery to woman’s home. The number of couriered deliveries
               was not reported; thus, this study does not provide abortion outcomes separately for couriered
               delivery of mifepristone and misoprostol. With access to NHS regional hospital databases, the
               investigators were able to verify pregnancy outcomes and complications. Of the 663
               participants, 642 (98.2%) were under 10 weeks GA, 21 (1.8%) were between 10 and 12 weeks


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               GA, and one participant was never pregnant. A total of 650 participants had complete abortion
               without requiring surgical intervention (98%), 5 (0.8%) an ongoing pregnancy and 4 (0.6%) an
               incomplete abortion. The outcomes from this study in Scotland are consistent with labeled
               mifepristone outcomes. The study shares the same limitations as the Aiken5 (2021) study.

               Partner organization dispensing by mail
               Women on Web (WoW), an internet group, connects patients and providers outside of the US
               and provides medical abortion globally, dispensing mifepristone through “a partner
               organization” by mail. v Medical abortion eligibility is determined using an online questionnaire
               with asynchronous physician review. If eligible, medications are mailed to the women. WoW
               provides help and support by email or instant messaging.

               Aiken19 (2017) conducted a population-based study analyzing findings from 1,636 women in the
               Republic of Ireland and Northern Ireland who were sent medications between 2010 and 2012.
               Receipt of medications was confirmed for 1,181 women, among whom 1,023 confirmed use of
               mifepristone and misoprostol; outcome information was available for 1,000 (61% of women
               sent medications). Of the 1,000 women, the majority (781, 78%) were less than 7 weeks GA and
               219 (22%) were at 7-9 weeks. Complete abortion without surgical intervention occurred in 947
               (94.7% of 1,000 with known outcome); 7 (0.7%) women received a blood transfusion, 26 (2.6%)
               received antibiotics (route of administration undetermined) and 87 (8.7%) sought medical care
               at a hospital or clinic for symptoms related to medical abortion. Hospitalizations related to
               abortion were not reported. The reported proportion of complete abortion is within the range
               labeled for medical abortion up to 70 days (92.7-98.1%). However, the finding of 94.7%
               complete abortion represents a lower-than-expected efficacy based on the cohort’s GA (almost
               80% less than 7 weeks, labeled success for medical abortion ≤ 49 days is 98.1%). This study has
               limitations, including outcomes based on self-report without validation of completed abortion
               by examination or laboratory testing, and no known outcomes for 39% of study cohort.
               Additionally, the authors noted medical abortion was provided in a legally-restrictive setting,
               where the law provided a maximum penalty of life imprisonment for the woman undergoing
               the abortion, which may affect participants’ self-reporting.




               v
                In March 2019, FDA sent a WL to Aidaccess.org, a group affiliated with WoW. Aidaccess.org received this WL
               because it was introducing misbranded and unapproved new drugs into the U.S. In the context of this REMS
               review, studies involving WoW are included solely for purposes of evaluating of data regarding the methods of
               dispensing mifepristone.

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               Endler21 and Norten20 have reported outcomes from WoW cohorts but do not provide relevant
               information on mifepristone dispensing by mail, because neither provide meaningful outcomes
               data for consideration. Endler21 compared the outcomes of self-reported heavy bleeding and
               clinical visits occurring during the “first or second day of abortion” that occurred in women
               undergoing medical abortion at 9 weeks GA or less, with outcomes from women at more than 9
               weeks GA. Outcome data from day 1 or 2 is of limited usefulness. Norten20 describes findings
               from a survey of women who were sent medical abortion medication through WoW and
               provided self-reported outcomes. Results were based on surveys returned from only 37% of
               participants, a return rate that is too low for the study to be considered valid.

               WoW uses a model with numerous deviations from the standard provision of medical abortion
               in the US. For example, this model has no synchronous interaction with the prescriber during
               informed consent or prior to prescribing medication and no confirmation of self-reported
               medical, surgical, and menstrual history or confirmed pregnancy testing. Further, although
               Aiken19 (2017) is a large cohort study, the outcomes are self-reported with no verification of
               complete abortion by laboratory or clinical evaluation and 39% of outcomes are unaccounted
               for. These limitations in the Aiken study result in the data being insufficient to determine the
               safety of dispensing mifepristone by mail through a partner organization.

               4. Discussion

               After review of the published literature, safety information collected during the COVID-19 PHE,
               postmarketing data, information from the first Mifepristone REMS Program assessment report,
               responses to information requests to the Applicants, and information provided by advocacy
               groups, individuals and the plaintiffs in the Chelius v. Becerra litigation, we conclude that the
               REMS can be modified to reduce burden without compromising patient safety.
               Prescriber Certification
               None of the publications we reviewed would support a conclusion that a healthcare provider
               who prescribes mifepristone does not need to meet the qualifications included in the
               Mifepristone REMS Program as described above in section 3.2.1. Absent these provider
               qualifications, serious complications associated with medical abortion, including missed ectopic
               pregnancy and heavy bleeding from incomplete abortion, would not be detected or
               appropriately managed.




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               We conclude that prescriber certification (ETASU A) should be maintained. The current process
               requires the prescriber to agree to the requirements of the Mifepristone REMS Program and to
               attest that they meet the qualifications described in section 3.2.1 above. The REMS has been
               structured to minimize burden to prescribers by requiring only a one-time certification by the
               prescriber for each Applicant. We have determined that healthcare provider certification
               continues to be necessary to ensure the benefits outweigh the risks, especially considering that,
               if the in-person dispensing requirement is removed from the Mifepristone REMS Program, the
               number of new providers may increase (see discussion in section 3.2.2 above).

               Drug to be dispensed with evidence or other documentation of safe use conditions
               The requirement to counsel the patient and provide them with the Patient Agreement Form
               ensures that each patient is informed of the appropriate use of mifepristone, the risks
               associated with treatment, and what to do if they experience symptoms that may require
               emergency care.

               In 2016, we initially recommended eliminating the Patient Agreement Form (see section 3.2.2),
               though the form was ultimately maintained as part of the REMS. As discussed above, our
               current literature review has indicated that there is no basis to remove the Patient Agreement
               Form from the REMS. In addition, surveys we reviewed suggest that if the in-person dispensing
               requirement for mifepristone is removed, there could be a potential doubling of medical
               abortion providers. This potential doubling of medical abortion providers supports the
               continued need to ensure that patients are consistently provided patient education under the
               Mifepristone REMS Program regarding the use and risks of mifepristone. The Patient
               Agreement Form is an important part of standardizing the medication information that
               prescribers communicate to their patients, including new prescribers, and also provides the
               information in a brief and understandable format to patients. We determined, in accordance
               with section 505-1(f)(2) of the FD&C Act, that this does not impose an unreasonable burden on
               providers or patients. w

               Given the likelihood of a potential increase in new prescribers if the in-person dispensing
               requirement is removed from the Mifepristone REMS Program, we conclude that maintaining
               the Patient Agreement Form remains necessary to assure safe use at this time.


               w
                   The Patient Agreement Form can be signed in person or through other means.

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               Drug to be dispensed only in certain healthcare settings
               As discussed above in section 3.2.3, our evaluation of information submitted by the applicants
               in the one-year (1st) REMS assessment report for the Mifepristone REMS Program and in
               response to follow-up requests from the Agency indicates that the number of adverse events
               reported to FDA during the COVID-19 PHE with mifepristone use is small, and the data provide
               no indication that any program deviation or noncompliance with the Mifepristone REMS
               Program contributed to these adverse events. We further conclude, based our review of the
               postmarketing safety data from FAERS during the COVID-19 PHE and information submitted by
               the applicants for the timeframe of January 27, 2020 through September 30, 2021, that there
               does not appear to be a difference in adverse events between periods during the COVID-19 PHE
               when the in-person dispensing requirement was being enforced and periods when the in-
               person dispensing requirement was not being enforced; nor have we identified any new safety
               concerns with the use of mifepristone for medical termination of early pregnancy.

               Alternatives to in-person dispensing of mifepristone have been investigated in several studies
               and countries. The literature review identified 15 publications x that assessed safety outcomes
               from various medication delivery models (US, UK, Canada, Ireland, Australia, Nepal), including
               dispensing by retail and mail order pharmacies, prescribers mailing medications or using
               couriered service to deliver medications, and dispensing by “partner organizations”. The ability
               to generalize the results of these studies to the US population is hampered by differences in
               pre-abortion care (e.g., telemedicine versus in-person, testing), and the usefulness of the
               studies is limited in some instances by small sample sizes and lack of follow-up information on
               outcomes with regard to both safety and efficacy.

                In addition, there are factors which complicate the analysis of the dispensing element alone.
               Some of these factors are: (1) only a few studies have evaluated alternatives for in-person
               dispensing of mifepristone in isolation; for example, most studies on mail dispensing of
               mifepristone also include telemedicine consultation, and (2) because most SAEs with medical
               abortion are infrequent, though they can be life threatening, further evaluation of changes in
               dispensing would require studies with larger numbers of participants. We did not find any large
               clinical studies that were designed to collect safety outcomes in healthcare systems similar to
               the US.




               x
                   The 15 publications correspond to endnote numbers: 1-7, 14-21.

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               Based on the literature identified by our review, dispensing mifepristone by mail from the clinic
               or from a mail order pharmacy does not appear to jeopardize the efficacy of medical abortion.
               The studies we reviewed are not adequate on their own to establish the safety of the model of
               dispensing mifepristone by mail, although the safety and efficacy outcomes reported in these
               studies remain within the ranges described in mifepristone labeling except for increased
               numbers of ED/urgent care visits and hospitalizations.

               Four publications (Raymond16, Chong3, Anger17 and Kerestes4), describe a relevant US cohort
               where dispensing mifepristone from the clinic by mail was paired with telemedicine visits.
               These studies showed that efficacy was maintained and there was no increased frequency of
               SAEs except for higher ED/urgent care visits. The increased ED/urgent care visits were not
               associated with increases of other SAEs, and in the view of one study’s authors (Raymond16),
               may be associated with participants being located significant distances from their providers.
               The Aiken5 (2021) study of a large UK cohort where the clinics mailed mifepristone report small
               (lower than labeled) occurrences of transfusion and no significant infections requiring
               hospitalization. In Grossman1 and Hyland15, where the pharmacies mailed mifepristone after
               prescribers confirmed GA, efficacy is maintained. Grossman’s1 interim analysis found no
               increases in SAEs. Hyland15 reported higher numbers of hospitalizations but did not report
               increases of other SAEs. Overall, while the studies assessing mifepristone dispensing by mail
               suggest more frequent encounters with healthcare providers, they generally support a
               conclusion that dispensing by mail is safe. Despite the limitations of the studies we reviewed,
               we conclude that overall, the outcomes of these studies are not inconsistent with our
               conclusion that, based on the 1st year REMS assessment report and postmarketing safety data,
               mifepristone will remain safe, and efficacy will be maintained if the in-person dispensing
               requirement is removed from the Mifepristone REMS Program.

               Based on the REMS assessment data, FAERS data from the time period when the in-person
               dispensing requirement was not being enforced, our review of the literature, and information
               provided by advocacy groups, individuals, the Applicants, and the plaintiffs in the Chelius v.
               Becerra litigation, we conclude that mifepristone will remain safe and effective for medical
               abortion if the in-person dispensing requirement is removed, provided all the other
               requirements of the REMS are met, and pharmacy certification is added as described below.

               Removing the in-person dispensing requirement will render the REMS less burdensome to
               healthcare providers and patients and provided all other requirements of the REMS are met,
               including the additional requirement for pharmacy certification, the REMS will continue to

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               ensure that the benefits of mifepristone for medical abortion outweigh the risks. Therefore, to
               reduce the burden imposed by the REMS, the Mifepristone REMS Program should be modified
               to remove the in-person dispensing requirement, which would allow, for example, dispensing
               of mifepristone by mail via certified prescribers or pharmacies, in addition to in-person
               dispensing in clinics, medical offices and hospitals as currently outlined in ETASU C.

               New requirement to be added for pharmacy certification

               The current distribution model requires the certified prescriber to dispense mifepristone
               directly to the patient in a clinic, medical office, or hospital. During the periods when the in-
               person dispensing requirement was not being enforced, both applicants used mail order
               pharmacies to receive and hold mifepristone on behalf of the certified healthcare providers
               who had purchased the product.j,y,z Pursuant to a prescription for mifepristone, the mail order
               pharmacy would ship the product to a named patient.

               The Mifepristone REMS Program continues to require that mifepristone be prescribed only by
               certified prescribers. With the removal of the in-person dispensing requirement, however, the
               drug is no longer required to be dispensed only in a clinic, medical office or hospital. Under the
               REMS as modified, mifepristone can be dispensed through a pharmacy, provided the product is
               prescribed by a certified prescriber and all other requirements of the REMS are met. Given this
               modification to the dispensing requirements in the REMS, it is necessary to add a requirement
               for certification of pharmacies under ETASU B. Adding the pharmacy certification requirement
               incorporates pharmacies into the REMS, ensures that pharmacies are aware of and agree to
               follow applicable REMS requirements, and ensures that mifepristone is only dispensed pursuant
               to prescriptions that are written by certified prescribers. Without pharmacy certification, a
               pharmacy might dispense product that was not prescribed by a certified prescriber. Adding
               pharmacy certification ensures that ETASU A is met prior to dispensing the product to a patient;
               certified prescribers, in turn, have agreed to meet all the conditions of the REMS, including
               ensuring that the Patient Agreement Form (ETASU D) is completed. In addition, wholesalers and
               distributors can only ship to certified pharmacies. Based on our review of the safety data and
               our consideration of the distribution model implemented by the Applicants during the periods


               y ANDA 091178: September 23, 2021 response to the September 15, 2021 information request; October 11 and 16,
               2021 responses to the June 30, 2021 and July 15, 2021 information requests; October 26, 2021 response to the
               October 22, 2021 information request; October 29, 2021 response to the October 27 information request.
               z NDA 020687: September 20, 2021 response to the September 15, 2021 information request; October 26, 2021
               response to the October 22 information request.

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               when the in-person dispensing requirement was not being enforced, as well as REMS
               assessment data and published literature, we conclude that provided all other requirements of
               the REMS are met, the REMS program, with the removal of the in-person dispensing
               requirement and the addition of a requirement for pharmacy certification, will continue to
               ensure the benefits of mifepristone for medical abortion outweigh the risks while minimizing
               the burden imposed by the REMS on healthcare providers and patients. As modified, the REMS
               would allow, for example, dispensing by mail order or specialty pharmacies, similar to the
               distribution model used by applicants during the periods when the in-person dispensing
               requirement was not being enforced. aa

               The above recommendations were discussed with the                                        (     and
                                                                                                              (b) (6)   (b) (6)


               senior leadership from CDER on November 2, 2021. The                          along with senior CDER
                                                                           (b) (6)   (b) (6)


               leadership, concurred with removing the in-person dispensing requirement provided that all of
               the remaining REMS requirements are met, including but not limited to prescriber certification
               where prescribers need to attest to having certain qualifications, and maintaining the Patient
               Agreement Form. The                      and senior leadership from CDER were also in favor of
                                      (b) (6)   (b) (6)


               adding pharmacy certification to assure the safe use of mifepristone.

               5. Conclusions and Recommendations

               Based on the results of REMS assessments; our review of safety data collected during the PHE
               as well as data from FAERS; our literature search; and information provided by advocacy
               groups, individuals, the Applicants, and the plaintiffs in the Chelius v. Becerra litigation,
                                                                                                             (b) (6)


               and            have concluded that a REMS modification is necessary and should include the
                      (b) (6)


               following changes:

                    •   Removing the requirement under ETASU C that mifepristone be dispensed only in
                        certain healthcare settings, specifically clinics, medical offices, and hospitals.
                    •   Adding a requirement under ETASU B that pharmacies that dispense the drug be
                        specially certified.


               aa
                 Our current conclusion that the REMS would allow dispensing by mail order or specialty pharmacies is based on
               data received from Applicants relating to the periods when the in-person dispensing requirement was not enforced
               and mail-order pharmacies were used to dispense the product, as well as our analysis of postmarketing safety data
               and available literature. At this time we do not have data (from the Applicants or from other sources) to assess the
               certification of retail pharmacies under the REMS. We have not yet determined the details of pharmacy certification
               requirements, including whether any limitations on the types of pharmacies that may dispense the product are
               necessary.

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                     and       recommend the Applicants be issued a REMS Modification Notification Letter
                   (b) (6)   (b) (6)


               that requests submission within 120 days from the date of the letter.

               6. References

               1
                Grossman D, Raifman S, Morris N, et.al. Mail-order pharmacy dispensing of mifepristone for
               medication abortion after in-person clinical assessment. Contraception 2021; In press.
               doi:https://doi.org/10.1016/j.contraception.2021.09.008
               2
                Grossman D, Baba CF, Kaller S, et al. Medication Abortion With Pharmacist Dispensing of
               Mifepristone. Obstet Gynecol 2021;137:613–22.
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                Chong E, Shochet T, et al. Expansion of a direct-to-patient telemedicine abortion service in the
               United States and experience during the COVID-19 pandemic. Contraception 2021;104:43-48.
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                 Kerestes C, Murayama S, et al. Provision of medication abortion in Hawai‘i during COVID-19:
               Practical experience with multiple care delivery models. Contraception 2021 Jul;104(1):49-53.
               doi:10.1016/j.contraception.2021.03.025. Epub 2021 Mar 28.
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                 Aiken ARA, Lohr PA, et al. Effectiveness, safety and acceptability of no-test medical abortion
               (termination of pregnancy) provided via telemedicine: a national cohort study. BJOG
               2021;128:1464–1474.
               6
                Rocca CH, Puri M, et al. Effectiveness and safety of early medication abortion provided in
               pharmacies by auxiliary nurse-midwives: A non-inferiority study in Nepal. PLoS ONE 2018 13(1):
               e0191174. https://doi.org/10.1371/journal.pone.019117
               7
                 Wiebe ER, Campbell M, et al. Comparing telemedicine to in-clinic medication abortions
               induced with mifepristone and misoprostol. Contracept X. 2020; 2: 100023.
               8
                National Abortion Federation 2020 Clinical Policy Guidelines for Abortion Care, available at
               https://5aa1b2xfmfh2e2mk03kk8rsx-wpengine.netdna-ssl.com/wp-
               content/uploads/2020_CPGs.pdf
               9
                American College of Obstetricians and Gynecologists Committee on Practice Bulletins—
               Gynecology and the Society of Family Planning. Simultaneously published as ACOG Bulletin




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               Number 225: Medication abortion up to 70 days of gestation. Obstet Gynecol 2020;136(4): e31-
               e47 and in Contraception 2020; 102:225-236.
               10
                 Jones HE, O'Connell White K, Norman WV, Guilbert E, Lichtenberg ES, Paul M. First trimester
               medication abortion practice in the United States and Canada. PLoS ONE 2017; 12(10):
               e0186487. https://doi.org/10.1371/journal.pone.0186487
               11
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               sample of obstetrician-gynecologists. Obstet Gynecol 2019;133:477-483.
               12
                 Daniel S, Schulkin J, Grossman D. Obstetrician-gynecologist willingness to provide medication
               abortion with removal of the in-person dispensing requirement for mifepristone.
               Contraception. 2021;104:73-76
               13
                         Review of the one-year REMS assessment report for the Mifepristone REMS
                        (b) (6)


               Program, December 16, 2021.
               14
                 Upadhyay UD, Koenig LR, Meckstroth KR. Safety and Efficacy of Telehealth Medication
               Abortion in the US During the COVID-19 Pandemic. JAMA Network Open. 2021;4(8):e2122320.
               doi:10.1001/jamanetworkopen.2021.22320
               15
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               Australia: Retrospective analysis of the first 18 months. Aust N Z J Obstet Gynaecol 2018;58:
               335-340.
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               under 12 weeks’ gestation: a prospective observational cohort study during the COVID-19
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               19
                 Aiken AR, Digon I, Trussell J, et al. Self reported outcomes and adverse events after medical
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               Northern Ireland. BMJ 2017;357:j2011.
               20
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               through telemedicine: a retrospective cohort study. BJOG 2021; https://doi.org/10.1111/1471-
               0528.16765.
               21
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               abortion through telemedicine after 9 weeks of gestation: a population-based cohort study.
               BJOG 2019;126:609–618.
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                 Raymond EG, Grossman D, Mark A, et.al. Commentary: No-test medication abortion: A
               sample protocol for increasing access during a pandemic and beyond. Contraception
               2020;101:361-366
               23
                 Mark A, Foster A, Perritt J. The future of abortion is now: Mifepristone by mail and in-clinic
               abortion access in the United States. Contraception 2021;104:38-42
               24
                 Martin D, Miller A, Quesnel-Vallee, A, et al. Canada’s global leadership on health 1. Canada’s
               universal health care system: achieving its potential. Lancet 2018; 391:1718-35




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               7. Appendix A

               References Cited in Letters from Plaintiffs
                 References cited in letter from Chelius v. Becerra Plaintiffs (September 29, 2021)
                  References included in the REMS review
                    Aiken A et al. BJOG 2021: 128 (9): 1464-1474

                    Chong, et al. Contraception 2021; 104(1) 43-48

                    Daniel S. et al. Contraception 2021; 104(1): 73-76

                   References excluded from the REMS review                                  Rationale for Exclusion
                    Am. Coll. of Obstetricians & Gynecologists, Position Statement:          Policy/advocacy statement
                    Improving Access to Mifepristone for Reproductive Health Indications
                    (June 2018), https://www.acog.org/clinical-information/policy-and-
                    position-statements/position-statements/2018/improving-access-to-
                    mifepristone-for-reproductive-health-indications

                    House of Delegates, Am. Med. Ass’n., Memorial Resolutions Adopted        Policy/advocacy statement
                    Unanimously No. 504 (2018) https://www.ama-assn.org/sites/ama-
                    assn.org/files/corp/media-browser/public/hod/a18-resolutions.pdf

                    Cong. Of Delegates, Am. Acad. Of Fam. Physicians, Resolution No.         Policy/advocacy statement
                    506 (CoSponsored C) Removing Risk Evaluation and Mitigation
                    Strategy (REMS) Categorization of Mifepristone (May 24, 2018)
                    https://www.reproductiveaccess.org/wp-
                    content/uploads/2019/02/Resolution-No.-506-REMS.pdf

                    Schummers L et al, Contraception 2020; 102(4): 273                       Abstract

                    Upadhyay UD et al.) Obstet & Gynecol 2015; 125: 175                      Published prior to March 29, 2016-
                                                                                             July 26, 2021 timeframe for current
                                                                                             literature review. We note that the
                                                                                             extensive literature review
                                                                                             conducted as part of the 2016
                                                                                             review, which was consistent with
                                                                                             the division’s standard approach for
                                                                                             reviewing an efficacy supplement



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                                                                                           and encompassed 90 references,
                                                                                           did not capture this publication.
                                                                                           However, the authors’ conclusion in
                                                                                           this publication is consistent with
                                                                                           our review of the safety data in
                                                                                           2016.
                    Kapp N et al. Best Pract Clin Obstet Gynaecol. 2020;63:37-44           Abstract. Also outside the scope of
                                                                                           first trimester medical abortion.
                    Fuentes L et al. J Women’s Health 2019; 28 (12): 1623, 1625            Focused on the logistics of
                                                                                           accessing abortion care.
                    Bearak JM, Lancet Pub Health 2017 Nov;2(11): e493, e495-96

                    Cartwright A et al 20 J Med Internet Res 2018 20(5):e10235

                    Barr-Walker J, et al PLoS One 2019;14(4): e0209991

                    Grossman et al JAMA Network 2017;317(4):437, 437-438

                    Dobie S et al 31 Fam Plan Persp 1999; 31(5): 241-244

                    Shelton JD 8 Fam Plan Persp 1976; 8(6):260, 260-262

                    Norris AH et al Am J Pub Health 2020; 110 (8): 1228,1232

                    Upadhyay UD et al Am J Pub Health 2014; 104(9):1687, 1689

                    CDC MMWR Abortion Surveillance – United States, 2018                   Contains primarily general statistics
                    https://www.cdc.gov/mmwr/volumes/69/ss/ss6907a1.htm#T5 down            on abortion care by state.




                 References cited in appendix from Chelius v. Becerra Plaintiffs (September 29, 2021)

                 References included in the REMS review

                 None




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                 References excluded from the REMS review                           Rationale for Exclusion

                 Jones RK et al Guttmacher Institute Abortion Incidence and         Contains primarily general statistics on
                 Service Availability in the United States, 2017 (2019)             abortion care and logistics of accessing
                                                                                    abortion care.
                 Guttmacher Inst, Induced Abortion in the United States (2019)

                 University of Minnesota Healthy Youth Dev. Prevention Rsch         Not related specifically to abortion care.
                 Ctr, 2019 Minnesota Adolescent Sexual Health Report 3 (2019)

                 Jerman J et al Guttmacher Inst, Characteristics of U.S. Abortion   Contains figures on patient characteristics
                 Patients in 2014 and Changes since 2008 (2016)                     from 2008-2014.



                 Roberts CM et al Women’s Health Issues 2014; 24:e211, e215         Focused on cost of abortion.



                 CDC MMWR Abortion Surveillance 2018                                Contains primarily statistics on number of
                                                                                    abortions in the US.
                 https://www.cdc.gov/mmwr/volumes/69/ss/ss6907a1.htm#T7
                 down (last updated Nov. 7, 2020)

                 Jones RK Persp on Sexual & Reprod Health 2017; 49:17, 20           Focused on abortion incidence and service
                                                                                    availability.


                 Fuentes L et al (as above)                                         Focused on logistics of accessing abortion
                                                                                    care.
                 Bearak JM et al (as above)

                 Cartwright A et al (as above)

                 Johns NE et al. BMC Health Serv Res 2017; 17: 287, 294



                 References cited in letter from Society of Family Planning (August 11, 2021)

                 References included in the REMS review

                 Grossman D. Obstet Gynecol 2019;133 (3): 477-483




                                                                                                                                  47

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                 Grossman D et al. Obstet Gynecol 2021; 137 (4): 613-622.

                 Winikoff B et al. Obstet Gynecol 2012; 120: 1070-1076 reviewed in 2016 clinical memo

                 Chen MJ et al. Obstet Gynecol 2015;126(1):12-21 reviewed in 2016 memo

                 Chong et al. Contraception 2021;104(1): 43-48

                 Aiken A et al. BJOG 2021; 128 (9): 1464 -1474

                 Hyland 2018 et al. Aust New Zeal J Obstet Gynaecol 2018; 58 (3): 335-340

                 References excluded from the REMS review                   Rationale for Exclusion

                 Schummers L et al. BMJ Sex Reprod Heal 2021;47(e1)         Abstract

                 Kapp et al. 2020 (as above)                                Abstract

                 Upadhyay et al. 2015 (as above)                            (See rationale above)

                 Srinivasulu et al. Contraception 2021; 104(1):92-97        Survey on clinician perspectives on access to
                                                                            mifepristone.

                 Calloway D et al. Contraception 2021; 104(1): 24-28        Primarily addresses provider stigma around abortion
                                                                            care.

                 Rasmussen et al. Contraception; 104(1): 98-103             Opinion/commentary

                 Cleland et al. Obstet Gynecol 2013;121(1):166-171          Published prior to March 29, 2016 - July 26, 2021
                                                                            timeframe for current literature review. We note that
                                                                            the extensive literature search conducted as part of
                                                                            the 2016 clinical review, which was consistent with
                                                                            the division’s standard approach for reviewing an
                                                                            efficacy supplement and encompassed 90 references,
                                                                            did not capture this publication. However, the
                                                                            authors’ conclusion in this publication is consistent
                                                                            with our review of the safety data in 2016.

                 National Academy of Sciences, Engineering, and             General information about abortion care in the US.
                 Medicine. Safety and Quality of Abortion Care in the       Did not provide safety data relevant to the elements
                 US 2018                                                    of the REMS

                 Raymond EG. Obstet Gynecol 2012: 119(2): 215-219           Does not separate out medical and surgical abortion.



                                                                                                                                   48

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                 Bartlett LA et al. Obstet Gynecol 2004; 103(4): 729-737   Focused on surgical abortion.

                 Jones RK, Jerman J. Time to appointment and delays in     Focused on logistics of accessing abortion care.
                 accessing care among U.S. abortion patients,
                 Guttmacher 2016

                 Foster DG et al. Perspect Sex Reprod Health 2013;         Focused on second trimester abortion.
                 45(4):210-218

                 Ely G et al. Heal Soc Work 2019;44(1):13-21               Focused on logistics of accessing abortion care.



                 Munro S et al. Ann Fam Med 2020; 18(5):413-421.           Survey on physician perspectives on implementing
                                                                           medical abortion with mifepristone.




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                                                                                                    Signature Page 1 of 1
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          --------------------------------------------------------------------------------------------
          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
          --------------------------------------------------------------------------------------------
          /s/
          ------------------------------------------------------------

                                        (b) (6)


          12/16/2021 10:22:50 AM
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          12/16/2021 10:30:08 AM
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          12/16/2021 10:59:01 AM
                                             (b) (6)


          12/16/2021 11:08:07 AM




                                                                                              App. 000174
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     CENTER FOR DRUG EVALUATION AND
                RESEARCH

                      APPLICATION NUMBER:

                         020687Orig1s025

                     OTHER REVIEW(S)




                                                                   App. 000175
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                                                     Review of Labeling
                                                                                   (b) (6)




                 NDA Number/Supplement        020687/025
                 Applicant                    Danco Laboratories, LLC
                 Product Name                 Mifeprex (mifepristone) tablets
                 Therapeutic Class            Progestin antagonist
                 Indication                   For the medical termination of intrauterine pregnancy
                                              through 70 days gestation, in a regimen with misoprostol
                 Material Reviewed            Prescribing Information and Medication Guide received
                                              December 16, 2022
                 Date of Review               January 3, 2023
                 Reviewer
                                                                  (b) (6)




               This memorandum is the                                                    (Division’s) review of
                                                                                      (b) (6)


               the proposed revisions to the labeling and Medication Guide for Mifeprex submitted by Danco
               Laboratories (Applicant) on December 16, 2022. These revisions are to align the language in the
               Prescribing Information and the Medication Guide with the proposed modification to the
               Mifepristone single, shared system Risk Evaluation and Mitigation Strategy (REMS) (referred to
               as the Mifepristone REMS Program) submitted under NDA 020687/Supplement-025, as
               amended.
                    1. Background
               Mifeprex (mifepristone), in a regimen with misoprostol, is indicated for the medical termination
               of intrauterine pregnancy through 70 days gestation. Mifeprex and its approved generic are
               subject to the Mifepristone REMS Program to mitigate the risk of serious complications
               associated with mifepristone. The Mifepristone REMS Program consists of elements to assure
               safe use (ETASU), an implementation system, and a timetable for submission of assessments of
               the REMS.
               The goal of the Mifepristone REMS Program is to mitigate the risk of serious complications
               associated with mifepristone by:
                  • Requiring healthcare providers who prescribe mifepristone to be certified in the
                      Mifepristone REMS Program (ETASU A).
                  • Ensuring that mifepristone is only dispensed in certain healthcare settings by
                      or under the supervision of certified prescribers (ETASU C).
                  • Informing patients about the risk of serious complications associated with mifepristone
                      (ETASU D).

               On December 16, 2021, FDA sent REMS Modification Notification letters to the Applicants for
               Mifeprex and the approved generic version of Mifeprex, Mifepristone Tablets, 200 mg (Danco

                                                              1

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               Laboratories and GenBioPro, respectively). The letters informed the Applicants of the FDA’s
               determination that the approved Mifepristone REMS Program must be modified to minimize
               the burden on the healthcare delivery system of complying with the REMS and to ensure that
               the benefits of the drug outweigh the risks by: (1) removal of the requirement that
               mifepristone be dispensed only in certain healthcare settings, specifically clinics, medical
               offices, and hospitals (i.e., the “in-person dispensing requirement”) (ETASU C) and (2) to add
               the requirement for certification of pharmacies that dispense the drug (ETASU B). 1 For a
               detailed discussion of the modification recommendations refer to the REMS Modification
               Rationale Review, jointly completed by the                                                      and
                                                                                                       (b) (6)


               the                                    on December 16, 2021. 2
                                              (b) (6)




               As proposed by the Applicants in their December 16, 2022, amendments to their pending
               supplements, the modified goal of the Mifepristone REMS Program would read as follows:
                        The goal of the REMS for mifepristone is to mitigate the risk of serious complications
                        associated with mifepristone by:
                        a) Requiring healthcare providers who prescribe mifepristone to be certified in the
                           Mifepristone REMS Program.
                        b) Ensuring that mifepristone is only dispensed by or under the supervision of certified
                           prescribers, or by certified pharmacies on prescriptions issued by certified prescribers.
                        c) Informing patients about the risk of serious complications associated with
                           mifepristone.
               The Division reviewed the Applicant’s proposed revisions to the approved Mifeprex labeling
               under NDA 020687 Supplement 025, as amended, which provides REMS document and
               materials to align with the changes described in the REMS Modification Notification letters.
               Specifically, the requirement that mifepristone must be dispensed to patients in certain
               healthcare settings (ETASU C) was removed and the dispensing of mifepristone through
               specially certified pharmacies (ETASU B) was added. This REMS modification ensures that
               mifepristone is only dispensed by or under the supervision of certified prescribers, or by
               certified pharmacies on prescriptions issued by certified prescribers. There were no changes to
               ETASU A and ETASU D (prescribers must be specially certified and mifepristone must be
               dispensed to patients with evidence of safe use conditions, respectively).
               On December 16, 2022, final labeling for the Mifeprex Prescribing Information (PI) and
               Medication Guide (MG) were received to align with the Mifepristone REMS Program
               modification. This submission is reviewed below. Review of the labeling changes made in the PI

               1
                 REMS Modification Notification letter dated December 16, 2021.
               https://darrts.fda.gov/darrts/faces/ViewDocument?documentId=090140af80633e9f
               2
                 REMS memorandum dated December 16, 2021.
               https://darrts.fda.gov/darrts/faces/ViewDocument?documentId=090140af80633d74

                                                                   2

                                                                                                      App. 000177
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               and in the MG for the approved generic (ANDA 091178) will be completed by the
                                                                                                      (b) (6)


                            .
                    2. Review of Labeling Changes
               Prescribing Information and Medication Guide
               The following two changes were made in both the PI and MG for Mifeprex:
                    1. Gender neutral edits were made throughout the PI and MG.
                        Reviewer comment: The Division agrees to the use of gender-neutral language to align
                        with such changes previously approved for documents associated with this REMS.
                    2. Removal of instructions for patients to take the MG when they visit an emergency room
                       or another healthcare provider who did not prescribe Mifeprex, so the provider knows
                       that the patient is undergoing a medical abortion.
                        Reviewer comment: The Applicant requested this change. Removal of the instructions
                        in the PI and MG aligns with the updated Patient Agreement Form submitted in
                        Supplement S-025, which removes instructions for patients to take the MG to
                        healthcare visits with providers who did not provide Mifeprex. Although these
                        instructions were added to the MG a number of years ago, upon further consideration
                        the Division agrees with removing them because patients seeking emergency medical
                        care are not likely to carry a MG with them, the MG is readily available online, and
                        information about medical conditions and previous treatments can be obtained at the
                        point of care.
               Prescribing Information
               Additional changes were made in the PI to include pharmacy dispensing in Section 5.3
               Mifepristone REMS Program and Section 17 Patient Counseling Information. Typographical
               errors were corrected in Sections 16 and 17.
                    1. Section 5.3 Mifepristone REMS Program
                        The Applicant proposed changes to one of the three bulleted ETASU requirements, to
                        state “MIFEPREX must only be dispensed to patients by or under the supervision of a
                        certified prescriber, or by certified pharmacies on prescriptions issued by certified
                        prescribers.”
                        Reviewer comment: The revised language is consistent with the REMS modification to
                        include certified pharmacy dispensing. The Division agrees with the proposed
                        language.
                    2. Section 17 Patient Counseling Information


                                                               3

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                        The Applicant proposed changes to one of the two bulleted ETASU requirements, to
                        state “MIFEPREX is only dispensed by or under the supervision of certified prescribers or
                        by certified pharmacies on prescriptions issued by certified prescribers.”
                        Reviewer comment: As above, the revised language for the PI for the approved
                        MIFEPREX product is consistent with the REMS modification to include certified
                        pharmacies and the Division agrees with the proposed language.
                    3. Section 16 How Supplied/Storage and Handling and Section 17 Patient Counseling
                       Information
                           a. Both Sections 16 and 17 refer to the “mifepristone REMS Program” which was
                              edited to “Mifepristone REMS Program”.
                           b. In Section 17, reinstatement was made of “a” before Patient Agreement Form in
                              the bullet “Patients must sign a Patient Agreement Form”.
                        Reviewer comment: The Applicant will be informed of these minor edits.
               Medication Guide
               Additional changes were made in the MG within the section titled “How should I take
               Mifeprex?”, as follows:
                  1. Addition of obtaining Mifeprex at a pharmacy: “Mifeprex will be given to you by a
                      healthcare provider or pharmacy.”
                  2. Removal of statement “Your healthcare provider will either give you or prescribe for you
                      4 misoprostol tablets to take 24 to 48 hours later.”
               Reviewer comment: The proposed MG changes for Mifeprex are acceptable to             . The
                                                                                                    (b) (6)


               addition of Mifeprex to be dispensed at a pharmacy reflects the REMS modification change.
               The statement on misoprostol dispensing is removed because it is not necessary to specify in
               the Mifeprex labeling how misoprostol is dispensed. The directions to take misoprostol tablets
               24 to 48 hours after taking mifepristone are maintained in the Mifeprex patient instructions.
                    3. Conclusion
               We received the final proposed labeling revisions to the Prescribing Information and
               Medication Guide from the Applicant on December 16, 2022. The Prescribing Information and
               Medication Guide for Mifeprex were revised to align with the Mifepristone REMS Program
               modification, which include removing the requirement that Mifeprex be dispensed only in
               certain healthcare settings and adding the requirement for pharmacy certification. The
               proposed labeling revisions were reviewed and found to be acceptable with minor edits.
               All labeling changes outlined above will be applied to the approved generic mifepristone
               (ANDA 091178). The                               will review labeling for the approved generic and
                                                        (b) (6)


               ensure it mirrors the updated approved labeling for the Mifeprex product.


                                                                4

                                                                                                  App. 000179
Reference ID: 5103810
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             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24             Page 183 of 467 PageID 9679
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Reference ID: 5103810
Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24   Page 184 of 467 PageID 9680




                                                                   App. 000181
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             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24             Page 185 of 467 PageID 9681
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Reference ID: 5100604
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     CENTER FOR DRUG EVALUATION AND
                RESEARCH

                      APPLICATION NUMBER:


                         020687Orig1s025

RISK ASSESSMENT and RISK MITIGATION
            REVIEW(S)




                                                                   App. 000183
Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24   Page 187 of 467 PageID 9683




                                                                   App. 000184
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                      Page 188 of 467 PageID 9684



               13, 2020 until January 12, 2021, enforcement was barred by an injunction issued in the ACOG v.
               FDA litigation. More recently, on April 12, 2021, the Agency stated its intent to exercise
               enforcement discretion with respect to the in-person dispensing requirement during the COVID-
               19 PHE, which is still ongoing as of the date of this review. These circumstances have provided
               additional information regarding the in-person dispensing requirement as there have been periods
               when the in-person dispensing requirement was not enforced.
               As part of the May 7, 2021, joint motion to stay the Chelius v. Becerra litigation, the Agency
               agreed to undertake a full review the Mifepristone REMS Program, in accordance with the
               REMS assessment provisions of the Federal Food, Drug, and Cosmetic Act (FD&C Act). 1
                                                                                                                  (b) (6)
               After consultations between the
                                      , analyzing several different sources of information, including published
               literature, safety information collected during the COVID-19 PHE, FDA Adverse Event
               Reporting System (FAERS) reports, REMS assessment reports, and information provided by
               advocacy groups, individuals, the Applicants, and the plaintiffs in the Chelius litigation, we
               determined that the approved REMS for mifepristone could be modified without adversely
               impacting patient safety. Importantly, our review did not identify any differences in adverse
               events between periods when the in-person dispensing requirement was being enforced and
               periods when that requirement was not being enforced. The data suggested that the requirements
               for prescriber certification (ETASU A) and the Patient Agreement Form (ETASU D) should be
               maintained, while the in-person dispensing requirement (under ETASU C) could be removed, to
               reduce the burden imposed by the REMS. In determining that the in-person dispensing
               requirement could be removed, we concluded that a new requirement for pharmacy certification
               (ETASU B) is necessary to ensure the benefits of the product outweigh the risks.
                    (b) (6)         (b) (6)                                                 (b) (6)           (b) (6)
                              and          assessment and recommendations were
                                                                   (b) (6)
                                          on November 2, 2021. The         unanimously agreed with our
               recommendations.
               For more detailed information on the review and assessments of the information, refer to the
                                                                            (b) (6)     (b) (6)
               REMS Modification Rationale Review, jointly completed by             and         on December 16,
               2021.
               In conclusion, provided all other conditions of the Mifepristone REMS Program are met and that
               the other elements of the REMS are maintained (ETASU A and D), the following are required:
                      1. Modification of the Mifepristone REMS Program to remove the requirement under
                         ETASU C that mifepristone be dispensed only in certain healthcare settings, specifically
                         clinics, medical offices, and hospitals. This would allow, for example, dispensing of
                         mifepristone by mail, via certified prescribers or pharmacies, in addition to in-person

               1
                   Section 505-1(g)(2) of the FD&C Act (21 U.S.C. § 355-1(g)(2)).

                                                                                                                            2

                                                                                                         App. 000185
Reference ID: 4906018
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                 Page 189 of 467 PageID 9685



                       dispensing in clinics, medical offices and hospitals as currently outlined in ETASU C .
                       We find that this provision is no longer necessary to ensure that the benefits of the drug
                       outweigh the risks and that removing it will help minimize the burden of complying with
                       the REMS on the healthcare delivery system.
                    2. Modification of the Mifepristone REMS Program to add a requirement under ETASU B
                       that pharmacies that dispense the drug be specially certified.


                               (b) (6)      (b) (6)
               Based on the        and         determination that a modified REMS with the components
               described above is necessary to reduce the burden imposed by the REMS and ensure the benefits
               of mifepristone outweigh the risks, FDA is requiring submission of the proposed REMS
               modification within 120 days of the date of the notification letter.




                                                                                                                3

                                                                                                   App. 000186
Reference ID: 4906018
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Reference ID: 4906018
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                                                      Center for Drug Evaluation and Research (CDER)


                 Application Type                              NDA and ANDA
                 Application Number                            NDA 020687 and ANDA 91178
                 Supplement Number, Date                       NDA Supplement-025 and ANDA Supplement-004 received June
                 Received                                      22, 2022 (sequence 18 and 87 respectively) and amended
                                                               October 19, 2022 (sequences 22 and 91 respectively), November
                                                               30, 2022, and December 9, 2022 (sequences 25 and 93
                                                               respectively)
                 Targeted Action Date                          December 19, 2022
                        (b) (6)    #                           2022-1169
                 Reviewer Names                                                                          (b) (6)


                                  (b) (6)                                                  (b) (6)


                                            (b) (6)                                   (b) (6)


                 Review Completion Date                        December 14, 2022
                 Subject                                       Review of proposed Major REMS Modification
                 Established Name                              Mifepristone REMS Program
                 Name of Applicant                             Danco Laboratories, LLC and GenBioPro, Inc.
                 Therapeutic Class                             Progestin antagonist
                 Formulation                                   Oral tablet




                                                                                                                                           App. 000188
Reference ID: 5094402
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                          Page 192 of 467 PageID 9688



                    1. Introduction
               Refer to the proposed modification to the single, shared system Risk Evaluation and Mitigation Strategy
               (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS Program) submitted by
               Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and by GenBioPro, Inc. (GBP)
               for abbreviated new drug application (ANDA) 091178.
               The Applicants submitted proposed modifications to the Mifepristone REMS Program on June 22, 2022
               in response to REMS Modification Notification letters issued on December 16, 2021 to Danco and GBP,
               requiring the following modifications to minimize the burden on the healthcare delivery system of
               complying with the REMS and to ensure that the benefits of the drug outweigh the risks:
                    •   removal of the requirement that mifepristone be dispensed only in certain healthcare settings,
                        specifically clinics, medical offices, and hospitals (i.e., the “in-person dispensing requirement”)
                    •   addition of certification of pharmacies that dispense the drug
               The comments in this review focus on the Applicants’ amendments that were received on December 9,
               2022, which included updates to the REMS Document and materials that were discussed and edited
               during a teleconference between the Agency and Applicants on December 8, 2022.
                    2. Comments to the Sponsor
               General Comments
               The documents have been revised for you per the comments below.
               REMS Document
               We have revisions in the REMS document in the following sections:
                        II. A.2.a.iv.2) l, the language must be updated to replace “provider” with “prescriber,” and to
                        remove the phrase that                                                                       (b) (4)



                                                                                .
                        II.A.2.c.ii A requirement was added to ensure prescribers previously certified in the Mifepristone
                        REMS Program complete the new Prescriber Agreement Form                                       (b) (4)

                                                                                                            .
                        II. A.3, we have the following edits to align with the statue. Mifepristone must be    (b) (4)

                        dispensed (4) to patients with evidence or other documentation of safe use conditions as
                                     (b)

                        ensured by the certified prescriber in signing the Prescriber Agreement Form.
                        II.B.5 must be updated to include: Mifepristone Sponsors must audit their certified pharmacies
                        within 180 calendar days after the pharmacy places its first order of mifepristone, and annually
                        thereafter audit certified pharmacies that have ordered mifepristone in the previous 12 months
                        to ensure that all processes and procedures are in place and functioning to support the
                        requirements of the Mifepristone REMS Program. Mifepristone Sponsors will take steps to
                        address their pharmacy compliance if noncompliance is identified.
               REMS Supporting Document
               We require clarification and revisions in several sections. A red-lined Supporting Document has been
               attached for reference.




                                                                                                              App. 000189
Reference ID: 5094402
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               The wording in the Supporting Document was not consistent with the REMS document and REMS
               materials. Throughout the Supporting Document, the document was revised to align with the wording in
               the REMS Document, Prescriber Agreement Form, Patient Agreement Form, and Pharmacy Agreement
               Form.
               The Supporting Document is inconsistent with respect to grammar and punctuation, as well as with
               respect to capitalization, italicization, and terminology. Review and revise the Supporting Document for
               grammar and punctuation, and for consistency in capitalization, italicization, and terminology.
               The term “                (b) (4)   ” was replaced with “supervised healthcare providers” where applicable.
               There was minimal information about account set up processes for the certified prescribers and
               pharmacies. Include explanation of how accounts will be set up and maintained and what information
               from the account set up process will be used for REMS assessments.
               There was also minimal information about how Sponsors will communicate with each other when
               stakeholders report information that the other needs to know such as when stakeholders report patient
               deaths to the wrong Sponsor or when decertifications of pharmacies or prescribers take place. Clarify
               what actions require timely communication between Sponsors and the timeline in which these actions
               should be reported to the other Sponsor.
               Prescriber Agreement Forms for Danco Laboratories, LLC and GenBioPro, Inc.
                                                                   (b) (4)   . This data will be available through the account set
               up process.
               Pharmacy Agreement Forms for Danco Laboratories, LLC and GenBioPro, Inc.
                                                                        must be removed as it is redundant to the
                                                                              (b) (4)

               language later in the form. The confidentiality requirement later in the form, under the requirements
               that certified pharmacies must put processes and procedures in place to accomplish, must be further
               aligned with the confidentiality requirement added to the REMS Document (discussed above).
               Patient Agreement Form
               The Patient Agreement Form is acceptable.
               Resubmission Instructions
               Accept all track changes and submit the following revised REMS materials by 12/16/22. The next
               submission to the Gateway should include Clean Word, Tracked Word, and pdf formatted versions of
               the following documents and one clean compiled PDF file that includes the REMS Document and all
               REMS materials in their final format:
                        REMS Document
                        Prescriber Agreement Form for Danco Laboratories, LLC
                        Prescriber Agreement Form for GenBioPro, Inc.
                        Pharmacy Agreement Form for Danco Laboratories, LLC
                        Pharmacy Agreement Form for GenBioPro, Inc
                        Patient Agreement Form
                        REMS Supporting Document with the Assessment Plan
               Appendix
               REMS Document
               Prescriber Agreement Form for Danco Laboratories, LLC
               Prescriber Agreement Form for GenBioPro, Inc.




                                                                                                                    App. 000190
Reference ID: 5094402
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               Pharmacy Agreement Form for Danco Laboratories, LLC
               Pharmacy Agreement Form for GenBioPro, Inc
               REMS Supporting Document




                           30 Pages of Draft REMS Documents Have Been Withheld in Full as B4 (CCI/TS)
                                                Immediately Following This Page
                                                                                           App. 000191
Reference ID: 5094402
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             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24             Page 195 of 467 PageID 9691
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Reference ID: 5094402
Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24   Page 196 of 467 PageID 9692




                                                                   App. 000193
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                        Page 197 of 467 PageID 9693



                    1. Introduction
               Refer to the proposed modification to the single, shared system Risk Evaluation and Mitigation Strategy
               (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS Program) submitted by
               Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and from GenBioPro Inc. (GBP)
               for abbreviated new drug application (ANDA) 091178.
               The Applicants submitted proposed modifications to the Mifepristone REMS Program on June 22, 2022
               in response to a REMS Modification Notification letter issued on December 16, 2021 to Danco and GBP,
               requiring the following modifications to minimize the burden on the healthcare delivery system of
               complying with the REMS and to ensure that the benefits of the drug outweigh the risks:
                       removal of the requirement that mifepristone be dispensed only in certain healthcare settings,
                        specifically clinics, medical offices, and hospitals (i.e., the “in‐person dispensing requirement”)
                       addition of certification of pharmacies that dispense the drug
               The comments in this review focus on revisions to the REMS Assessment Plan.


                    2. Comments to the Applicant
               We have provided a draft REMS Assessment Plan as discussed on the December 7, 2022 teleconference.
               The proposed Agency edits have been marked in tracked changes from the Mifepristone REMS
               Assessment Plan in the April 11, 2019, Supplement Approval Letter. Refer to the attached Draft REMS
               Assessment Plan with tracked changes. Review of the REMS proposal is ongoing; these comments
               should not be considered final.

               We have the following comments:

                    1. Provide each assessment plan metric for the two previous, current, and cumulative reporting
                       periods (if applicable) for both the NDA and ANDA unless otherwise noted.
                    2. The Assessment Plan Categories of 1) Program Implementation and Operations and 2) Overall
                       Assessment of REMS Effectiveness were added.
                    3. A REMS Certification Statistics metric was added to capture the following:
                            a. Total number of certified, newly certified, and active prescribers along with a summary
                                of the practice setting of the certified prescribers and the method in which they became
                                certified.
                            b. Total number of certified, newly certified, and active certified pharmacies.
                            c. Total number of authorized, newly authorized, and active wholesaler/distributors.
                    4. A Utilization Data metric was added to capture wholesaler/distributor shipment and pharmacy
                       data.
                    5. A REMS Compliance Data metric was added to capture stakeholder audit results and a summary
                       of instances of non‐compliance and actions taken to address non‐compliance.
               Resubmission Instructions
               Submit the revised REMS Assessment Plan in the REMS Supporting Document with your 12/9/22
               submission. Accept the tracked changes in the draft REMS Assessment Plan with which you agree and
               only indicate any new changes you propose as tracked changes in your next submission. The submission
               should include clean Word, tracked changes Word, and pdf formatted versions of the following
               document.



                                                                                                            App. 000194
Reference ID: 5091040
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               Appendix
               REMS Assessment Plan




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Reference ID: 5091040
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Reference ID: 5091040
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                                                        Center for Drug Evaluation and Research (CDER)


                 Application Type                                NDA and ANDA
                 Application Number                              NDA 020687 and ANDA 91178
                 Supplement Number, Date                         NDA Supplement-025 and ANDA Supplement-004 received June
                 Received                                        22, 2022 (sequence 18 and 87 respectively) and amended
                                                                 October 19, 2022 (sequences 22 and 91 respectively), November
                                                                 30, 2022
                 PDUFA Date                                      December 19, 2022
                        (b) (6)    #                             2022-1169
                 Reviewer Names                                                                            (b) (6)


                                  (b) (6)                                                    (b) (6)


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                 Review Completion Date                          December 5, 2022
                 Subject                                         Review of proposed Major REMS Modification
                 Established Name                                Mifepristone REMS Program
                 Name of Applicant                               Danco Laboratories, LLC and GenBioPro, Inc.
                 Therapeutic Class                               Progestin antagonist
                 Formulation                                     Oral tablet




                                                                                                                                             App. 000197
Reference ID: 5088845
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                        Page 201 of 467 PageID 9697



                    1. Introduction
               Refer to the proposed modification to the single, shared system Risk Evaluation and Mitigation Strategy
               (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS Program) submitted by
               Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and by GenBioPro, Inc. (GBP)
               for abbreviated new drug application (ANDA) 091178.
               The Applicants submitted proposed modifications to the Mifepristone REMS Program on June 22, 2022
               in response to REMS Modification Notification letters issued on December 16, 2021 to Danco and GBP,
               requiring the following modifications to minimize the burden on the healthcare delivery system of
               complying with the REMS and to ensure that the benefits of the drug outweigh the risks:
                    •   removal of the requirement that mifepristone be dispensed only in certain healthcare settings,
                        specifically clinics, medical offices, and hospitals (i.e., the “in-person dispensing requirement”)
                    •   addition of certification of pharmacies that dispense the drug
               The comments in this review focus on the Applicants’ amendments that were received on October 19
               and 20, 2022 and November 30, 2022 (REMS Document). The comments also reflect the REMS
               Document that was further discussed and edited during a teleconference between the Agency and
               Applicants on December 1, 2022.
                    2. Comments to the Sponsor
               General Comments
               We have updated the REMS Document as discussed during the December 1, 2022 teleconference and
               aligned the REMS materials. Your edits, where the Agency agrees, have been accepted and Agency edits
               have been marked in tracked changes. Refer to the attached, red-lined REMS Document and REMS
               Materials. Review of the REMS proposal is ongoing; these comments should not be considered final.
                    •   The Agency has determined that further clarification that certified prescribers are responsible
                        for overseeing implementation and compliance with the REMS Program is appropriate in the
                        Prescriber Agreement Form and has been added. This clarification provides flexibility for
                        certified prescribers in overseeing REMS implementation and compliance. The certified
                        prescriber may do so in a manner that may include the use of a larger healthcare team and
                        delegation of tasks. We have determined that to make additional changes to the prescriber
                        certification requirements would constitute a substantive modification to the REMS that would
                        go beyond the required REMS modifications set forth in the December 16, 2021 REMS
                        Modification Notification letters. Adequate rationale is required to support a proposed REMS
                        modification for the addition, modification, or removal of any goal or element of the REMS, as
                        described in section 505-1(g)(4) of the FD&C Act. Your application does not include such
                        adequate rationale.
                    •   We agree that healthcare settings, such as medical offices, clinics, and hospitals, where
                        mifepristone is dispensed by or under the supervision of a certified prescriber in the
                        Mifepristone REMS Program do not require pharmacy certification and have added this
                        clarification to the Prescriber Agreement Forms and Pharmacy Agreement Forms. These
                        clarifications negate the need for further clarification in the REMS Document as you proposed in
                        the footnote to section II.A.2.
                    •   Moving forward, italicize all proper names of forms e.g. Prescriber Agreement Form in the REMS.

               Prescriber Agreement Forms for Danco Laboratories, LLC and GenBioPro, Inc.




                                                                                                            App. 000198
Reference ID: 5088845
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               The instructions on the Prescriber Agreement Forms were revised for clarity. Prescriber information
               collected on the forms was updated to capture practice setting       (b) (4) address, and an additional line

               for medical license state was added. Duplicative or unnecessary instructions have been removed.
               Pharmacy Agreement Forms for Danco Laboratories, LLC and GenBioPro, Inc.
               The titles of the Pharmacy Agreement Forms were edited to remove “                       (b) (4) .” The REMS

               pharmacy requirements will dictate whether a pharmacy can participate in the Mifepristone REMS
               Program and therefore                                     (b) (4) . Additional information fields regarding

               authorized representatives and pharmacies were added and the term “ (b) (4) ” was replaced with
               “pharmacy.” Duplicative or unnecessary instructions have been removed.
               Patient Agreement Form
               The first paragraph of the form has been aligned with the currently approved Mifepristone REMS
               Program and clarification that signatures on the document can be written or electronic was added. Risk
               information regarding ectopic pregnancy has been reorganized.                                      (b) (4)

                                                                   .
               Resubmission Instructions
               Accept all track changes and submit the following revised REMS materials by 12/08/22. The next
               submission to the Gateway should include Clean Word, Tracked Word, and pdf formatted versions of
               the following documents and one clean compiled PDF file that includes the REMS Document and all
               REMS materials in their final format:
                        REMS Document
                        Prescriber Agreement Form for Danco Laboratories, LLC
                        Prescriber Agreement Form for GenBioPro, Inc.
                        Pharmacy Agreement Form for Danco Laboratories, LLC
                        Pharmacy Agreement Form for GenBioPro, Inc
                        Patient Agreement Form
                        REMS Supporting Document with the Assessment Plan
                        Updated prescription label and Medication Guide
               Appendix
               REMS Document
               Prescriber Agreement Form for Danco Laboratories, LLC
               Prescriber Agreement Form for GenBioPro, Inc.
               Pharmacy Agreement Form for Danco Laboratories, LLC
               Pharmacy Agreement Form for GenBioPro, Inc
               Patient Agreement Form




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Reference ID: 5088845
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Reference ID: 5088845
Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24   Page 204 of 467 PageID 9700




                                                                   App. 000201
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                        Page 205 of 467 PageID 9701



                    1. Introduction
               Refer to the proposed modification to the single, shared system Risk Evaluation and Mitigation Strategy
               (REMS) for mifepristone 200 mg (hereafter referred to as the Mifepristone REMS Program) submitted by
               Danco Laboratories, LLC (Danco) for new drug application (NDA) 020687 and from GenBioPro Inc. (GBP)
               for abbreviated new drug application (ANDA) 091178.
               The Applicants submitted proposed modifications to the Mifepristone REMS Program on June 22, 2022
               in response to a REMS Modification Notification letter issued on December 16, 2021 to Danco and GBP,
               requiring the following modifications to minimize the burden on the healthcare delivery system of
               complying with the REMS and to ensure that the benefits of the drug outweigh the risks:
                    •   removal of the requirement that mifepristone be dispensed only in certain healthcare settings,
                        specifically clinics, medical offices, and hospitals (i.e., the “in-person dispensing requirement”)
                    •   addition of certification of pharmacies that dispense the drug
               Danco amended their submission on October 19, 2022 and GBP amended their submission on October
               20, 2022.


                    2. Comments to the Sponsor
               General Comments
               For clarity, we have used the approved REMS Document to provide edits. Your proposed edits and
               Agency edits have been marked in tracked changes. Refer to the attached, red-lined REMS Document.
               Review of the REMS proposal is ongoing; these comments should not be considered final.

               We have additional questions that must be addressed. Refer to the red-lined REMS Document attached.
               You must address the following question with your next submission:

                    1. Refer to the distributor requirement on page five (in all markup), “Put processes and procedures
                       in place to maintain a distribution system that is secure, confidential and follows all processes
                       and procedures, including those for storage, handling, shipping, tracking package serial
                       numbers, proof of delivery and controlled returns of mifepristone” (underline added for
                       emphasis)

               Clarify whether the packages that are tracked by the distributors will still be done by serial numbers or if
               tracking will only use the NDC and lot numbers.
               REMS Goal




                                                                                                            App. 000202
Reference ID: 5083134
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                       Page 206 of 467 PageID 9702


                                                                                                               (b) (4)




               We have revised the goal to the following:
               “The goal of the REMS for mifepristone is to mitigate the risk of serious complications associated with
               mifepristone by:
                        a) Requiring healthcare providers who prescribe mifepristone to be certified in the Mifepristone
                        REMS Program.
                        b) Ensuring that mifepristone is only dispensed by or under the supervision of certified
                        prescribers or by certified pharmacies.
                        c) Informing patients about the risk of serious complications associated with mifepristone.”
               REMS Document
               We have provided edits to the REMS Document to reflect the requirements communicated in the
               December 16, 2021 letter and to incorporate additional requirements. We have determined that for
               this modification we will not be using the format for the REMS that is in the 2017 draft Guidance for
               Industry - Format and Content of a REMS Document, as not all requirements are easily transferred to
               the newer format and may result in creating unnecessary confusion to stakeholders. Note that all REMS
               Materials and the REMS Supporting Document must align with the REMS Document.
               Prescriber requirements were edited for clarity, brevity and to align with certified prescriber
               qualifications in the currently approved REMS. Additional requirements were needed to address
               situations that may arise if a certified prescriber opts to dispense through a certified pharmacy.
               Pharmacy requirements were revised: to ensure pharmacies are able to ship mifepristone using a
               shipping service that provides tracking information, to include the use of an authorized representative
               to coordinate REMS implementation on behalf of the pharmacy, to dispense mifepristone such that it is
               delivered to the patient within four calendar days of the date the pharmacy receives the prescription,
               and to confirm with the prescriber and document the appropriateness of dispensing mifepristone for
               patients who will not receive the drug within four calendar days of the date the pharmacy receives the
               prescription. Additional record-keeping and reporting requirements were also added.
               Additional Sponsor requirements were added to support prescriber, pharmacy, and distributor REMS
               stakeholder requirements, and to ensure the REMS operates as intended.

               REMS Supporting Document
               The REMS Supporting Document must be included in your next submission and is necessary to help us
               understand how these changes will be implemented before we can take an action.


               Resubmission Instructions
               Submit the following revised REMS materials by 11/30/22. Accept the track changes in the REMS
               Document with which you agree in the Word newly redlined documents and only indicate any new
               changes you propose as redlined changes in your next submission. The next submission to the Gateway
               should include Clean Word, Tracked Word, and pdf formatted versions of the following documents:
                       REMS Document
                       REMS Supporting Document



                                                                                                          App. 000203
Reference ID: 5083134
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24           Page 207 of 467 PageID 9703




               Appendix
               REMS Document




                               5 Pages of Draft REMS Documents Have Been Withheld in Full as B4 (CCI/TS)
                                                    Immediately Following This Page
                                                                                            App. 000204
Reference ID: 5083134
                                                                                                      Signature Page 1 of 1
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                    Page 208 of 467 PageID 9704
          --------------------------------------------------------------------------------------------
          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
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          /s/
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                                         (b) (6)


          11/23/2022 11:42:12 AM
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          11/23/2022 11:48:25 AM
                                         (b) (6)


          11/23/2022 11:51:57 AM
                                                                         (b) (6)


          11/23/2022 11:53:43 AM




                                                                                                 App. 000205
Reference ID: 5083134
Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24   Page 209 of 467 PageID 9705
     CENTER FOR DRUG EVALUATION AND
                RESEARCH

                      APPLICATION NUMBER:

                         020687Orig1s025

ADMINISTRATIVE and CORRESPONDENCE
           DOCUMENTS




                                                                   App. 000206
Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24   Page 210 of 467 PageID 9706




                                                                   App. 000207
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24             Page 211 of 467 PageID 9707
              NDA 020687
              Page 2


               complications associated with mifepristone listed in the labeling of the drug. Modification
               of the Mifepristone REMS to allow dispensing of mifepristone by pharmacies requires
               the addition of certification of pharmacies that dispense the drug.

               Your REMS must include elements to mitigate this risk, including at least the following:
                  Healthcare providers have particular experience or training, or are specially
                     certified

                       Pharmacies, practitioners, or health care settings that dispense the drug are
                        specially certified

                       The drug is dispensed to patients with evidence or other documentation of safe
                        use conditions.

                        The REMS must include an implementation system to monitor, evaluate, and
                        work to improve the implementation of the elements to assure safe use (outlined
                        above). Include an intervention plan to address any findings of non-compliance
                        with the ETASU.

               The proposed REMS must include a timetable for submission of assessments.
               The proposed REMS modification submission should include a new proposed REMS
               document and appended REMS materials, as appropriate, that show the complete
               previously approved REMS with all proposed modifications highlighted and revised
               REMS materials.

               In addition, the submission should also include an update to the REMS supporting
               document that includes a description of all proposed modifications and their potential
               impact on other REMS elements. Revisions to the REMS supporting document should
               be submitted with all changes marked and highlighted.

               Because we have determined that a REMS modification as described above is
               necessary to minimize the burden on the health care delivery system of complying with
               the REMS, and to ensure that the benefits of the drug outweigh the risks, you must
               submit a proposed REMS modification within 120 days of the date of this letter.

               Submit the proposed modified REMS as a Prior Approval supplement (PAS) to your
               NDA.




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
                                                                                             App. 000208
Reference ID: 4906335
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              NDA 020687
              Page 3


               Because FDA is requiring the REMS modifications in accordance with section 505-
               1(g)(4)(B), you are not required to submit an adequate rationale to support the proposed
               modifications, as long as the proposals are consistent with the modifications described
               in this letter. If the proposed REMS modification supplement includes changes that
               differ from the modifications described in this letter, an adequate rationale is required for
               those additional proposed changes in accordance with section 505-1(g)(4)(A).

               Prominently identify the submission with the following wording in bold capital letters at
               the top of the first page of the submission:

                        NEW SUPPLEMENT FOR NDA 020687/S-000
                        PRIOR APPROVAL SUPPLEMENT
                        PROPOSED MAJOR REMS MODIFICATION

               Prominently identify subsequent submissions related to the proposed REMS
               modification with the following wording in bold capital letters at the top of the first page
               of the submission:

                    NDA 020687/S-000
                    PROPOSED REMS MODIFICATION-AMENDMENT

               To facilitate review of your submission, we request that you submit your proposed
               modified REMS and other REMS-related materials in Microsoft Word format. If certain
               documents, such as enrollment forms, are only in PDF format, they may be submitted
               as such, but the preference is to include as many as possible in Word format.

               SUBMISSION OF REMS DOCUMENT IN SPL FORMAT

               In addition to submitting the proposed modified REMS as described above, you can
               also submit the REMS document in Structured Product Labeling (SPL) format. If you
               intend to submit the REMS document in SPL format, include the SPL file with your
               proposed REMS modification submission.

               For more information on submitting REMS in SPL format, please email
               FDAREMSwebsite@fda.hhs.gov.




               U.S. Food and Drug Administration
               Silver Spring, MD 20993
               www.fda.gov
                                                                                               App. 000209
Reference ID: 4906335
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                                                                   App. 000210
                                                                                                    Signature Page 1 of 1
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          --------------------------------------------------------------------------------------------
          This is a representation of an electronic record that was signed
          electronically. Following this are manifestations of any and all
          electronic signatures for this electronic record.
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          /s/
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                                    (b) (6)


          12/16/2021 03:09:07 PM




                                                                                              App. 000211
Reference ID: 4906335
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                                EXHIBIT 4

                Declaration of Dr. Donna Harrison




                                                                   App. 000212
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                                                                   App. 000213
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                                                                   App. 000214
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                                                                   App. 000215
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                                                                   App. 000216
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                                                                   App. 000217
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                                                                   App. 000218
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                                                                   App. 000219
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                                                                   App. 000220
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                                                                   App. 000221
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                                                                   App. 000222
Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24   Page 226 of 467 PageID 9722




                                                                   App. 000223
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                                                                   App. 000224
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                                                                   App. 000225
Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24   Page 229 of 467 PageID 9725




                                EXHIBIT 5

              FDA-Approved Label for Mifepristone




                                                                   App. 000226
                                             This label may not be the latest approved by FDA.
                               For current labeling information, please visit https://www.fda.gov/drugsatfda
             Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                                         Page 230 of 467 PageID 9726
      HIGHLIGHTS OF PRESCRIBING INFORMATION                                             ---------------------DOSAGE FORMS AND STRENGTHS----------------------
      These highlights do not include all the information needed to use                 Tablets containing 200 mg of mifepristone each, supplied as 1 tablet on one
      MIFEPREX safely and effectively. See full prescribing information for             blister card (3)
      MIFEPREX.
                                                                                        -------------------------------CONTRAINDICATIONS------------------------------
      MIFEPREX® (mifepristone) tablets, for oral use                                    • Confirmed/suspected ectopic pregnancy or undiagnosed adnexal mass (4)
      Initial U.S. Approval: 2000                                                       • Chronic adrenal failure (4)
                                                                                        • Concurrent long-term corticosteroid therapy (4)
       WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR                               • History of allergy to mifepristone, misoprostol, or other prostaglandins (4)
                                       BLEEDING                                         • Hemorrhagic disorders or concurrent anticoagulant therapy (4)
              See full prescribing information for complete boxed warning.              • Inherited porphyria (4)
      Serious and sometimes fatal infections and bleeding occur very rarely             • Intrauterine device (IUD) in place (4)
      following spontaneous, surgical, and medical abortions, including
      following MIFEPREX use.                                                            -----------------------WARNINGS AND PRECAUTIONS------------------------
      • Atypical Presentation of Infection. Patients with serious bacterial             • Ectopic pregnancy: Exclude before treatment. (5.4)
          infections and sepsis can present without fever, bacteremia or                • Rhesus immunization: Prevention needed as for surgical abortion. (5.5)
          significant findings on pelvic examination. A high index of suspicion is
          needed to rule out serious infection and sepsis. (5.1)                        ------------------------------ADVERSE REACTIONS-------------------------------
      • Bleeding. Prolonged heavy bleeding may be a sign of incomplete                  Most common adverse reactions (>15%) are nausea, weakness, fever/chills,
          abortion or other complications and prompt medical or surgical                vomiting, headache, diarrhea, and dizziness. (6)
          intervention may be needed. (5.2)
      MIFEPREX is only available through a restricted program called the                To report SUSPECTED ADVERSE REACTIONS, contact Danco
      mifepristone REMS Program (5.3).                                                  Laboratories, LLC at 1-877-432-7596 or
      Before prescribing MIFEPREX, inform the patient about these risks.                medicaldirector@earlyoptionpill.com or FDA at 1-800-FDA-1088 or
      Ensure the patient knows whom to call and what to do if they experience           www.fda.gov/medwatch.
      sustained fever, severe abdominal pain, prolonged heavy bleeding, or
      syncope, or if they experience abdominal pain or discomfort or general            ------------------------------DRUG INTERACTIONS-------------------------------
      malaise for more than 24 hours after taking misoprostol.                          • CYP3A4 inducers can lower mifepristone concentrations. (7.1)
                                                                                        • CYP3A4 inhibitors can increase mifepristone concentrations. Use with
      ----------------------------INDICATIONS AND USAGE---------------------------          caution. (7.2)
      MIFEPREX is a progestin antagonist indicated, in a regimen with                   • CYP3A4 substrate concentrations can be increased. Caution with
      misoprostol, for the medical termination of intrauterine pregnancy through 70         coadministration of substrates with narrow therapeutic margin. (7.3)
      days gestation. (1)
                                                                                        -----------------------USE IN SPECIFIC POPULATIONS------------------------
       ----------------------DOSAGE AND ADMINISTRATION-----------------------           • Pregnancy: Risk of fetal malformations in ongoing pregnancy if not
      • 200 mg MIFEPREX on Day 1, followed 24-48 hours after MIFEPREX                       terminated is unknown. (8.1)
          dosing by 800 mcg buccal misoprostol. (2.1)
      • Instruct the patient what to do if significant adverse reactions occur. (2.2)   See 17 for PATIENT COUNSELING INFORMATION, Medication
      • Follow-up is needed to confirm complete termination of pregnancy. (2.3)         Guide.

                                                                                                                                                Revised: 01/2023

      _______________________________________________________________________________________________________________________________________


      FULL PRESCRIBING INFORMATION: CONTENTS*                                               7.2 Drugs that May Increase Exposure (Effect of CYP 3A4 Inhibitors
                                                                                                 on MIFEPREX)
      WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR                                    7.3 Effects of MIFEPREX on Other Drugs (Effect of MIFEPREX on
      BLEEDING                                                                                   CYP 3A4 Substrates)
      1 INDICATIONS AND USAGE                                                           8 USE IN SPECIFIC POPULATIONS
      2 DOSAGE AND ADMINISTRATION                                                           8.1 Pregnancy
         2.1 Dosing Regimen                                                                 8.2 Lactation
         2.2 Patient Management Following Misoprostol Administration                        8.4 Pediatric Use
         2.3 Post-treatment Assessment: Day 7 to 14                                     10 OVERDOSAGE
         2.4 Contact for Consultation                                                   11 DESCRIPTION
      3 DOSAGE FORMS AND STRENGTHS                                                      12 CLINICAL PHARMACOLOGY
      4 CONTRAINDICATIONS                                                                   12.1 Mechanism of Action
      5 WARNINGS AND PRECAUTIONS                                                            12.2 Pharmacodynamics
         5.1 Infections and Sepsis                                                          12.3 Pharmacokinetics
         5.2 Uterine Bleeding                                                           13 NONCLINICAL TOXICOLOGY
         5.3 Mifepristone REMS Program                                                      13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
         5.4 Ectopic Pregnancy                                                          14 CLINICAL STUDIES
         5.5 Rhesus Immunization                                                        16 HOW SUPPLIED/STORAGE AND HANDLING
      6 ADVERSE REACTIONS                                                               17 PATIENT COUNSELING INFORMATION
         6.1 Clinical Trials Experience
         6.2 Postmarketing Experience                                                   *Sections or subsections omitted from the full prescribing information are not
      7 DRUG INTERACTIONS                                                               listed.
         7.1 Drugs that May Reduce MIFEPREX Exposure (Effect of
             CYP 3A4 Inducers on MIFEPREX)




      ____________________________________________________________________________________________________________________________________

                                                                                                                                    App. 000227                     1
Reference ID: 5103833
                                          This label may not be the latest approved by FDA.
                            For current labeling information, please visit https://www.fda.gov/drugsatfda
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               FULL PRESCRIBING INFORMATION


                          WARNING: SERIOUS AND SOMETIMES FATAL INFECTIONS OR BLEEDING
                 Serious and sometimes fatal infections and bleeding occur very rarely following
                 spontaneous, surgical, and medical abortions, including following MIFEPREX use. No
                 causal relationship between the use of MIFEPREX and misoprostol and these events
                 has been established.
                 •      Atypical Presentation of Infection. Patients with serious bacterial infections (e.g.,
                        Clostridium sordellii) and sepsis can present without fever, bacteremia, or
                        significant findings on pelvic examination following an abortion. Very rarely, deaths
                        have been reported in patients who presented without fever, with or without
                        abdominal pain, but with leukocytosis with a marked left shift, tachycardia,
                        hemoconcentration, and general malaise. A high index of suspicion is needed to
                        rule out serious infection and sepsis [see Warnings and Precautions (5.1)].
                 •      Bleeding. Prolonged heavy bleeding may be a sign of incomplete abortion or other
                        complications and prompt medical or surgical intervention may be needed. Advise
                        patients to seek immediate medical attention if they experience prolonged heavy
                        vaginal bleeding [see Warnings and Precautions (5.2)].
                 Because of the risks of serious complications described above, MIFEPREX is available
                 only through a restricted program under a Risk Evaluation and Mitigation Strategy
                 (REMS) called the mifepristone REMS Program [see Warnings and Precautions (5.3)].
                 Before prescribing MIFEPREX, inform the patient about the risk of these serious
                 events. Ensure that the patient knows whom to call and what to do, including going to
                 an Emergency Room if none of the provided contacts are reachable, if they experience
                 sustained fever, severe abdominal pain, prolonged heavy bleeding, or syncope, or if
                 they experience abdominal pain or discomfort, or general malaise (including
                 weakness, nausea, vomiting, or diarrhea) for more than 24 hours after taking
                 misoprostol.




               1        INDICATIONS AND USAGE
               MIFEPREX is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation.

               2        DOSAGE AND ADMINISTRATION
               2.1 Dosing Regimen
               For purposes of this treatment, pregnancy is dated from the first day of the last menstrual
               period. The duration of pregnancy may be determined from menstrual history and clinical
               examination. Assess the pregnancy by ultrasonographic scan if the duration of pregnancy is
               uncertain or if ectopic pregnancy is suspected.
               Remove any intrauterine device (“IUD”) before treatment with MIFEPREX begins [see
               Contraindications (4)].
               The dosing regimen for MIFEPREX and misoprostol is:

                                                                                                                  2

                                                                                                    App. 000228
Reference ID: 5103833
                                      This label may not be the latest approved by FDA.
                        For current labeling information, please visit https://www.fda.gov/drugsatfda
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               •    MIFEPREX 200 mg orally + misoprostol 800 mcg buccally
                    •     Day One: MIFEPREX Administration
                          One 200 mg tablet of MIFEPREX is taken in a single oral dose.
                    •     Day Two or Three: Misoprostol Administration (minimum 24-hour interval between
                          MIFEPREX and misoprostol)
                          Four 200 mcg tablets (total dose 800 mcg) of misoprostol are taken by the buccal route.

                          Tell the patient to place two 200 mcg misoprostol tablets in each cheek pouch (the area
                          between the cheek and gums) for 30 minutes and then swallow any remnants with water
                          or another liquid (see Figure 1).
                          Figure 1




                          2 pills between cheek and gum on left side + 2 pills between cheek and gum on
                          right side
               Patients taking MIFEPREX must take misoprostol within 24 to 48 hours after taking MIFEPREX.
               The effectiveness of the regimen may be lower if misoprostol is administered less than 24 hours
               or more than 48 hours after mifepristone administration.
               Because most women will expel the pregnancy within 2 to 24 hours of taking misoprostol [see
               Clinical Studies (14)], discuss with the patient an appropriate location for them to be when
               taking the misoprostol, taking into account that expulsion could begin within 2 hours of
               administration.
               2.2 Patient Management Following Misoprostol Administration
               During the period immediately following the administration of misoprostol, the patient may need
               medication for cramps or gastrointestinal symptoms [see Adverse Reactions (6)].
               Give the patient:
                    •     Instructions on what to do if significant discomfort, excessive vaginal bleeding or other
                          adverse reactions occur
                    •     A phone number to call if the patient has questions following the administration of the
                          misoprostol
                    •     The name and phone number of the healthcare provider who will be handling
                          emergencies.




                                                                                                   App. 000229
                                                                                                                      3
Reference ID: 5103833
                                      This label may not be the latest approved by FDA.
                        For current labeling information, please visit https://www.fda.gov/drugsatfda
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               2.3 Post-treatment Assessment: Day 7 to 14
               Patients should follow-up with their healthcare provider approximately 7 to 14 days after the
               administration of MIFEPREX. This assessment is very important to confirm that complete
               termination of pregnancy has occurred and to evaluate the degree of bleeding. Termination can
               be confirmed by medical history, clinical examination, human Chorionic Gonadotropin (hCG)
               testing, or ultrasonographic scan. Lack of bleeding following treatment usually indicates failure;
               however, prolonged or heavy bleeding is not proof of a complete abortion.
               The existence of debris in the uterus (e.g., if seen on ultrasonography) following the treatment
               procedure will not necessarily require surgery for its removal.
               Patients should expect to experience vaginal bleeding or spotting for an average of 9 to 16
               days. Women report experiencing heavy bleeding for a median duration of 2 days. Up to 8% of
               women may experience some type of bleeding for more than 30 days. Persistence of heavy or
               moderate vaginal bleeding at the time of follow-up, however, could indicate an incomplete
               abortion.
               If complete expulsion has not occurred, but the pregnancy is not ongoing, patients may be
               treated with another dose of misoprostol 800 mcg buccally. There have been rare reports of
               uterine rupture in women who took MIFEPREX and misoprostol, including women with prior
               uterine rupture or uterine scar and women who received multiple doses of misoprostol within 24
               hours. Patients who choose to use a repeat dose of misoprostol should have a follow-up visit
               with their healthcare provider in approximately 7 days to assess for complete termination.
               Surgical evacuation is recommended to manage ongoing pregnancies after medical abortion
               [see Use in Specific Populations (8.1)]. Advise the patient whether you will provide such care or
               will refer them to another provider as part of counseling prior to prescribing MIFEPREX.
               2.4 Contact for Consultation
               For consultation 24 hours a day, 7 days a week with an expert in mifepristone, call Danco
               Laboratories at 1-877-4 Early Option (1-877-432-7596).

               3        DOSAGE FORMS AND STRENGTHS
               Tablets containing 200 mg of mifepristone each, supplied as 1 tablet on one blister card.
               MIFEPREX tablets are light yellow, cylindrical, and bi-convex tablets, approximately 11 mm in
               diameter and imprinted on one side with “MF.”

               4        CONTRAINDICATIONS
               •    Administration of MIFEPREX and misoprostol for the termination of pregnancy (the
                    “treatment procedure”) is contraindicated in patients with any of the following conditions:
                    -     Confirmed or suspected ectopic pregnancy or undiagnosed adnexal mass (the treatment
                          procedure will not be effective to terminate an ectopic pregnancy) [see Warnings and
                          Precautions (5.4)]
                    -     Chronic adrenal failure (risk of acute adrenal insufficiency)
                    -     Concurrent long-term corticosteroid therapy (risk of acute adrenal insufficiency)
                    -     History of allergy to mifepristone, misoprostol, or other prostaglandins (allergic reactions
                          including anaphylaxis, angioedema, rash, hives, and itching have been reported [see
                          Adverse Reactions (6.2)])
                    -     Hemorrhagic disorders or concurrent anticoagulant therapy (risk of heavy bleeding)



                                                                                                    App. 000230
                                                                                                                     4
Reference ID: 5103833
                                      This label may not be the latest approved by FDA.
                        For current labeling information, please visit https://www.fda.gov/drugsatfda
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                    -     Inherited porphyrias (risk of worsening or of precipitation of attacks)
               •    Use of MIFEPREX and misoprostol for termination of intrauterine pregnancy is
                    contraindicated in patients with an intrauterine device (“IUD”) in place (the IUD might
                    interfere with pregnancy termination). If the IUD is removed, MIFEPREX may be used.

               5        WARNINGS AND PRECAUTIONS
               5.1 Infection and Sepsis
               As with other types of abortion, cases of serious bacterial infection, including very rare cases of
               fatal septic shock, have been reported following the use of MIFEPREX [see Boxed Warning].
               Healthcare providers evaluating a patient who is undergoing a medical abortion should be alert
               to the possibility of this rare event. A sustained (> 4 hours) fever of 100.4°F or higher, severe
               abdominal pain, or pelvic tenderness in the days after a medical abortion may be an indication
               of infection.
               A high index of suspicion is needed to rule out sepsis (e.g., from Clostridium sordellii) if a patient
               reports abdominal pain or discomfort or general malaise (including weakness, nausea, vomiting,
               or diarrhea) more than 24 hours after taking misoprostol. Very rarely, deaths have been
               reported in patients who presented without fever, with or without abdominal pain, but with
               leukocytosis with a marked left shift, tachycardia, hemoconcentration, and general malaise. No
               causal relationship between MIFEPREX and misoprostol use and an increased risk of infection
               or death has been established. Clostridium sordellii infections have also been reported very
               rarely following childbirth (vaginal delivery and caesarian section), and in other gynecologic and
               non-gynecologic conditions.
               5.2 Uterine Bleeding
               Uterine bleeding occurs in almost all patients during a medical abortion. Prolonged heavy
               bleeding (soaking through two thick full-size sanitary pads per hour for two consecutive hours)
               may be a sign of incomplete abortion or other complications, and prompt medical or surgical
               intervention may be needed to prevent the development of hypovolemic shock. Counsel
               patients to seek immediate medical attention if they experience prolonged heavy vaginal
               bleeding following a medical abortion [see Boxed Warning].
               Women should expect to experience vaginal bleeding or spotting for an average of 9 to 16 days.
               Women report experiencing heavy bleeding for a median duration of 2 days. Up to 8% of all
               subjects may experience some type of bleeding for 30 days or more. In general, the duration of
               bleeding and spotting increased as the duration of the pregnancy increased.
               Decreases in hemoglobin concentration, hematocrit, and red blood cell count may occur in
               patients who bleed heavily.
               Excessive uterine bleeding usually requires treatment by uterotonics, vasoconstrictor drugs,
               surgical uterine evacuation, administration of saline infusions, and/or blood transfusions. Based
               on data from several large clinical trials, vasoconstrictor drugs were used in 4.3% of all subjects,
               there was a decrease in hemoglobin of more than 2 g/dL in 5.5% of subjects, and blood
               transfusions were administered to ≤ 0.1% of subjects. Because heavy bleeding requiring
               surgical uterine evacuation occurs in about 1% of patients, special care should be given to
               patients with hemostatic disorders, hypocoagulability, or severe anemia.




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               5.3 Mifepristone REMS Program
               MIFEPREX is available only through a restricted program under a REMS called the mifepristone
               REMS Program, because of the risks of serious complications [see Warnings and Precautions
               (5.1, 5.2)].
               Notable requirements of the mifepristone REMS Program include the following:
                    •     Prescribers must be certified with the program by completing the Prescriber Agreement
                          Form.
                    •     Patients must sign a Patient Agreement Form.
                    •     MIFEPREX must only be dispensed to patients by or under the supervision of a certified
                          prescriber, or by certified pharmacies on prescriptions issued by certified prescribers.
               Further information is available at 1-877-4 Early Option (1-877-432-7596).
               5.4 Ectopic Pregnancy
               MIFEPREX is contraindicated in patients with a confirmed or suspected ectopic pregnancy
               because MIFEPREX is not effective for terminating ectopic pregnancies [see Contraindications
               (4)]. Healthcare providers should remain alert to the possibility that a patient who is undergoing
               a medical abortion could have an undiagnosed ectopic pregnancy because some of the
               expected symptoms experienced with a medical abortion (abdominal pain, uterine bleeding)
               may be similar to those of a ruptured ectopic pregnancy. The presence of an ectopic pregnancy
               may have been missed even if the patient underwent ultrasonography prior to being prescribed
               MIFEPREX.
               Patients who became pregnant with an IUD in place should be assessed for ectopic pregnancy.
               5.5 Rhesus Immunization
               The use of MIFEPREX is assumed to require the same preventive measures as those taken
               prior to and during surgical abortion to prevent rhesus immunization.

               6        ADVERSE REACTIONS
               The following adverse reactions are described in greater detail in other sections:
               -    Infection and sepsis [see Warnings and Precautions (5.1)]
               -    Uterine bleeding [see Warnings and Precautions (5.2)]
               6.1 Clinical Trials Experience
               Because clinical studies are conducted under widely varying conditions, adverse reaction rates
               observed in the clinical studies of a drug cannot be directly compared to rates in the clinical
               studies of another drug and may not reflect the rates observed in practice.
               Information presented on common adverse reactions relies solely on data from U.S. studies,
               because rates reported in non-U.S. studies were markedly lower and are not likely generalizable
               to the U.S. population. In three U.S. clinical studies totaling 1,248 women through 70 days
               gestation who used mifepristone 200 mg orally followed 24-48 hours later by misoprostol 800
               mcg buccally, women reported adverse reactions in diaries and in interviews at the follow-up
               visit. These studies enrolled generally healthy women of reproductive age without
               contraindications to mifepristone or misoprostol use according to the MIFEPREX product label.
               Gestational age was assessed prior to study enrollment using the date of the woman’s last
               menstrual period, clinical evaluation, and/or ultrasound examination.




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               About 85% of patients report at least one adverse reaction following administration of
               MIFEPREX and misoprostol, and many can be expected to report more than one such reaction.
               The most commonly reported adverse reactions (>15%) were nausea, weakness, fever/chills,
               vomiting, headache, diarrhea, and dizziness (see Table 1). The frequency of adverse reactions
               varies between studies and may be dependent on many factors, including the patient population
               and gestational age.
               Abdominal pain/cramping is expected in all medical abortion patients and its incidence is not
               reported in clinical studies. Treatment with MIFEPREX and misoprostol is designed to induce
               uterine bleeding and cramping to cause termination of an intrauterine pregnancy. Uterine
               bleeding and cramping are expected consequences of the action of MIFEPREX and misoprostol
               as used in the treatment procedure. Most patients can expect bleeding more heavily than they
               do during a heavy menstrual period [see Warnings and Precautions (5.2)].
               Table 1 lists the adverse reactions reported in U.S. clinical studies with incidence >15% of
               women.
                                                          Table 1
                  Adverse Reactions Reported in Women Following Administration of Mifepristone (oral) and
                                         Misoprostol (buccal) in U.S. Clinical Studies
                 Adverse          # U.S.       Number of             Range of        Upper Gestational Age of
                 Reaction        studies    Evaluable Women       frequency (%)         Studies Reporting
                                                                                            Outcome
                 Nausea             3             1,248               51-75%                 70 days
                 Weakness           2              630                55-58%                 63 days
                 Fever/chills       1              414                 48%                   63 days
                 Vomiting           3             1,248               37-48%                 70 days
                 Headache           2              630                41-44%                 63 days
                 Diarrhea           3             1,248               18-43%                 70 days
                 Dizziness          2              630                39-41%                 63 days

               One study provided gestational-age stratified adverse reaction rates for women who were 57-63
               and 64-70 days; there was little difference in frequency of the reported common adverse
               reactions by gestational age.
               Information on serious adverse reactions was reported in six U.S. and four non-U.S. clinical
               studies, totaling 30,966 women through 70 days gestation who used mifepristone 200 mg orally
               followed 24-48 hours later by misoprostol 800 mcg buccally. Serious adverse reaction rates
               were similar between U.S. and non-U.S. studies, so rates from both U.S. and non-U.S. studies
               are presented. In the U.S. studies, one studied women through 56 days gestation, four through
               63 days gestation, and one through 70 days gestation, while in the non-U.S. studies, two
               studied women through 63 days gestation, and two through 70 days gestation. Serious adverse
               reactions were reported in <0.5% of women. Information from the U.S. and non-U.S. studies is
               presented in Table 2.




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                                                             Table 2
                 Serious Adverse Reactions Reported in Women Following Administration of Mifepristone (oral) and
                                    Misoprostol (buccal) in U.S. and Non-U.S. Clinical Studies
                 Adverse                             U.S.                                    Non-U.S.
                 Reaction            # of      Number of           Range of      # of     Number of    Range of
                                   studies     Evaluable          frequency    studies    Evaluable   frequency
                                                 Women                (%)                   Women         (%)
                 Transfusion             4           17,774          0.03-0.5%         3         12,134      0-0.1%
                 Sepsis                  1            629               0.2%           1         11,155     <0.01%*

                 ER visit               2              1,043           2.9-4.6%         1            95         0
                 Hospitalization        3             14,339          0.04-0.6%         3          1,286     0-0.7%
                 Related to
                 Medical
                 Abortion
                 Infection without      1               216                0            1         11,155      0.2%
                 sepsis
                 Hemorrhage            NR               NR                NR            1         11,155      0.1%
                 NR= Not reported
                 * This outcome represents a single patient who experienced death related to sepsis.
               6.2       Postmarketing Experience
               The following adverse reactions have been identified during postapproval use of MIFEPREX
               and misoprostol. Because these reactions are reported voluntarily from a population of
               uncertain size, it is not always possible to reliably estimate their frequency or establish a causal
               relationship to drug exposure.
               Infections and infestations: post-abortal infection (including endometritis, endomyometritis,
               parametritis, pelvic infection, pelvic inflammatory disease, salpingitis)
               Blood and the lymphatic system disorders: anemia
               Immune system disorders: allergic reaction (including anaphylaxis, angioedema, hives, rash,
               itching)
               Psychiatric disorders: anxiety
               Cardiac disorders: tachycardia (including racing pulse, heart palpitations, heart pounding)
               Vascular disorders: syncope, fainting, loss of consciousness, hypotension (including
               orthostatic), light-headedness
               Respiratory, thoracic and mediastinal disorders: shortness of breath
               Gastrointestinal disorders: dyspepsia
               Musculoskeletal, connective tissue and bone disorders: back pain, leg pain
               Reproductive system and breast disorders: uterine rupture, ruptured ectopic pregnancy,
               hematometra, leukorrhea
               General disorders and administration site conditions: pain

               7        DRUG INTERACTIONS
               7.1 Drugs that May Reduce MIFEPREX Exposure (Effect of CYP 3A4 Inducers on
                   MIFEPREX)
               CYP450 3A4 is primarily responsible for the metabolism of mifepristone. CYP3A4 inducers such
               as rifampin, dexamethasone, St. John’s Wort, and certain anticonvulsants (such as phenytoin,
               phenobarbital, carbamazepine) may induce mifepristone metabolism (lowering serum
               concentrations of mifepristone). Whether this action has an impact on the efficacy of the dose



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               regimen is unknown. Refer to the follow-up assessment [see Dosage and Administration (2.3 )]
               to verify that treatment has been successful.
               7.2 Drugs that May Increase MIFEPREX Exposure (Effect of CYP 3A4 Inhibitors on
                   MIFEPREX)
               Although specific drug or food interactions with mifepristone have not been studied, on the basis
               of this drug’s metabolism by CYP 3A4, it is possible that ketoconazole, itraconazole,
               erythromycin, and grapefruit juice may inhibit its metabolism (increasing serum concentrations
               of mifepristone). MIFEPREX should be used with caution in patients currently or recently treated
               with CYP 3A4 inhibitors.
               7.3 Effects of MIFEPREX on Other Drugs (Effect of MIFEPREX on CYP 3A4 Substrates)
               Based on in vitro inhibition information, coadministration of mifepristone may lead to an increase
               in serum concentrations of drugs that are CYP 3A4 substrates. Due to the slow elimination of
               mifepristone from the body, such interaction may be observed for a prolonged period after its
               administration. Therefore, caution should be exercised when mifepristone is administered with
               drugs that are CYP 3A4 substrates and have narrow therapeutic range.

               8        USE IN SPECIFIC POPULATIONS
               8.1 Pregnancy
               Risk Summary
               MIFEPREX is indicated, in a regimen with misoprostol, for the medical termination of
               intrauterine pregnancy through 70 days gestation. Risks to pregnant patients are discussed
               throughout the labeling.
               Refer to misoprostol labeling for risks to pregnant patients with the use of misoprostol.
               The risk of adverse developmental outcomes with a continued pregnancy after a failed
               pregnancy termination with MIFEPREX in a regimen with misoprostol is unknown; however, the
               process of a failed pregnancy termination could disrupt normal embryo-fetal development and
               result in adverse developmental effects. Birth defects have been reported with a continued
               pregnancy after a failed pregnancy termination with MIFEPREX in a regimen with misoprostol.
               In animal reproduction studies, increased fetal losses were observed in mice, rats, and rabbits
               and skull deformities were observed in rabbits with administration of mifepristone at doses lower
               than the human exposure level based on body surface area.
               Data
               Animal Data
               In teratology studies in mice, rats and rabbits at doses of 0.25 to 4.0 mg/kg (less than 1/100 to
               approximately 1/3 the human exposure based on body surface area), because of the
               antiprogestational activity of mifepristone,fetal losses were much higher than in control animals.
               Skull deformities were detected in rabbit studies at approximately 1/6 the human exposure,
               although no teratogenic effects of mifepristone have been observed to date in rats or mice.
               These deformities were most likely due to the mechanical effects of uterine contractions
               resulting from inhibition of progesterone action.
               8.2 Lactation
               MIFEPREX is present in human milk. Limited data demonstrate undetectable to low levels of
               the drug in human milk with the relative (weight-adjusted) infant dose 0.5% or less as compared
               to maternal dosing. There is no information on the effects of MIFEPREX in a regimen with



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               misoprostol in a breastfed infant or on milk production. Refer to misoprostol labeling for
               lactation information with the use of misoprostol. The developmental and health benefits of
               breast-feeding should be considered along with any potential adverse effects on the breast-fed
               child from MIFEPREX in a regimen with misoprostol.
               8.4 Pediatric Use
               Safety and efficacy of MIFEPREX have been established in pregnant females. Data from a
               clinical study of MIFEPREX that included a subset of 322 females under age 17 demonstrated a
               safety and efficacy profile similar to that observed in adults.


               10       OVERDOSAGE
               No serious adverse reactions were reported in tolerance studies in healthy non-pregnant female
               and healthy male subjects where mifepristone was administered in single doses greater than
               1800 mg (ninefold the recommended dose for medical abortion). If a patient ingests a massive
               overdose, the patient should be observed closely for signs of adrenal failure.


               11       DESCRIPTION
               MIFEPREX tablets each contain 200 mg of mifepristone, a synthetic steroid with
               antiprogestational effects. The tablets are light yellow in color, cylindrical, and bi-convex, and
               are intended for oral administration only. The tablets include the inactive ingredients colloidal
               silica anhydrous, corn starch, povidone, microcrystalline cellulose, and magnesium stearate.
               Mifepristone is a substituted 19-nor steroid compound chemically designated as 11ß-[p-
               (Dimethylamino)phenyl]-17ß-hydroxy-17-(1-propynyl)estra-4,9-dien-3-one. Its empirical formula
               is C29H35NO2. Its structural formula is:




               The compound is a yellow powder with a molecular weight of 429.6 and a melting point of 192-
               196°C. It is very soluble in methanol, chloroform and acetone and poorly soluble in water,
               hexane and isopropyl ether.


               12       CLINICAL PHARMACOLOGY
               12.1 Mechanism of Action
               The anti-progestational activity of mifepristone results from competitive interaction with
               progesterone at progesterone-receptor sites. Based on studies with various oral doses in
               several animal species (mouse, rat, rabbit, and monkey), the compound inhibits the activity of
               endogenous or exogenous progesterone, resulting in effects on the uterus and cervix that, when
               combined with misoprostol, result in termination of an intrauterine pregnancy.
               During pregnancy, the compound sensitizes the myometrium to the contraction-inducing activity



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               of prostaglandins.
               12.2 Pharmacodynamics
               Use of MIFEPREX in a regimen with misoprostol disrupts pregnancy by causing decidual
               necrosis, myometrial contractions, and cervical softening, leading to the expulsion of the
               products of conception.
               Doses of 1 mg/kg or greater of mifepristone have been shown to antagonize the endometrial
               and myometrial effects of progesterone in women.
               Antiglucocorticoid and antiandrogenic activity: Mifepristone also exhibits antiglucocorticoid and
               weak antiandrogenic activity. The activity of the glucocorticoid dexamethasone in rats was
               inhibited following doses of 10 to 25 mg/kg of mifepristone. Doses of 4.5 mg/kg or greater in
               human beings resulted in a compensatory elevation of adrenocorticotropic hormone (ACTH)
               and cortisol. Antiandrogenic activity was observed in rats following repeated administration of
               doses from 10 to 100 mg/kg.
               12.3 Pharmacokinetics
               Mifepristone is rapidly absorbed after oral ingestion with non-linear pharmacokinetics for Cmax
               after single oral doses of 200 mg and 600 mg in healthy subjects.
               Absorption
               The absolute bioavailability of a 20 mg mifepristone oral dose in females of childbearing age is
               69%. Following oral administration of a single dose of 600 mg, mifepristone is rapidly absorbed,
               with a peak plasma concentration of 1.98 ± 1.0 mg/L occurring approximately 90 minutes after
               ingestion.
               Following oral administration of a single dose of 200 mg in healthy men (n=8), mean Cmax was
               1.77 ± 0.7 mg/L occurring approximately 45 minutes after ingestion. Mean AUC0-∞ was 25.8 ± 6.2
               mg*hr/L.
               Distribution
               Mifepristone is 98% bound to plasma proteins, albumin, and α1-acid glycoprotein. Binding to the
               latter protein is saturable, and the drug displays nonlinear kinetics with respect to plasma
               concentration and clearance.
               Elimination
               Following a distribution phase, elimination of mifepristone is slow at first (50% eliminated
               between 12 and 72 hours) and then becomes more rapid with a terminal elimination half-life of
               18 hours.
               Metabolism
               Metabolism of mifepristone is primarily via pathways involving N-demethylation and terminal
               hydroxylation of the 17-propynyl chain. In vitro studies have shown that CYP450 3A4 is primarily
               responsible for the metabolism. The three major metabolites identified in humans are: (1) RU 42
               633, the most widely found in plasma, is the N-monodemethylated metabolite; (2) RU 42 848,
               which results from the loss of two methyl groups from the 4-dimethylaminophenyl in position
               11ß; and (3) RU 42 698, which results from terminal hydroxylation of the 17-propynyl chain.
               Excretion
               By 11 days after a 600 mg dose of tritiated compound, 83% of the drug has been accounted for
               by the feces and 9% by the urine. Serum concentrations are undetectable by 11 days.




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               Specific Populations
               The effects of age, hepatic disease and renal disease on the safety, efficacy and
               pharmacokinetics of mifepristone have not been investigated.


               13       NONCLINICAL TOXICOLOGY
               13.1 Carcinogenesis, Mutagenesis, Impairment of Fertility
               Carcinogenesis
               No long-term studies to evaluate the carcinogenic potential of mifepristone have been
               performed.
               Mutagenesis
               Results from studies conducted in vitro and in animals have revealed no genotoxic potential for
               mifepristone. Among the tests carried out were: Ames test with and without metabolic activation;
               gene conversion test in Saccharomyces cerevisiae D4 cells; forward mutation in
               Schizosaccharomyces pompe P1 cells; induction of unscheduled DNA synthesis in cultured
               HeLa cells; induction of chromosome aberrations in CHO cells; in vitro test for gene mutation in
               V79 Chinese hamster lung cells; and micronucleus test in mice.
               Impairment of Fertility
               In rats, administration of 0.3 mg/kg mifepristone per day caused severe disruption of the estrus
               cycles for the three weeks of the treatment period. Following resumption of the estrus cycle,
               animals were mated and no effects on reproductive performance were observed.


               14       CLINICAL STUDIES
               Safety and efficacy data from clinical studies of mifepristone 200 mg orally followed 24-48 hours
               later by misoprostol 800 mcg buccally through 70 days gestation are reported below. Success
               was defined as the complete expulsion of the products of conception without the need for
               surgical intervention. The overall rates of success and failure, shown by reason for failure based
               on 22 worldwide clinical studies (including 7 U.S. studies) appear in Table 3.
               The demographics of women who participated in the U.S. clinical studies varied depending on
               study location and represent the racial and ethnic variety of American females. Females of all
               reproductive ages were represented, including females less than 18 and more than 40 years of
               age; most were 27 years or younger.




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                                                            Table 3
                           Outcome Following Treatment with Mifepristone (oral) and Misoprostol (buccal)
                                                  Through 70 Days Gestation
                                                        U.S. Trials                     Non-U.S. Trials
                                   N                                   16,794                                  18,425
                 Complete Medical Abortion                             97.4%                                   96.2%


                     Surgical Intervention*                            2.6%                                    3.8%
                     Ongoing Pregnancy**                               0.7%                                    0.9%
                 *  Reasons for surgical intervention include ongoing pregnancy, medical necessity, persistent or heavy bleeding
                    after treatment, patient request, or incomplete expulsion.
                 ** Ongoing pregnancy is a subcategory of surgical intervention, indicating the percent of women who have
                    surgical intervention due to an ongoing pregnancy.


               The results for clinical studies that reported outcomes, including failure rates for ongoing
               pregnancy, by gestational age are presented in Table 4.
                                                              Table 4
                              Outcome by Gestational Age Following Treatment with Mifepristone and
                                    Misoprostol (buccal) for U.S. and Non-U.S. Clinical Studies
                                       <49 days                 50-56 days                 57-63 days                64-70 days
                               N        %     Number of   N      %     Number of    N       %     Number of   N       %     Number of
                                              Evaluable                Evaluable                  Evaluable                 Evaluable
                                               Studies                  Studies                    Studies                   Studies
               Complete     12,046     98.1      10     3,941   96.8       7       2,294   94.7       9       479    92.7       4
               medical
               abortion
               Surgical     10,272     0.3        6     3,788   0.8          6     2,211     2          8     453    3.1          3
               intervention
               for ongoing
               pregnancy


               One clinical study asked subjects through 70 days gestation to estimate when they expelled the
               pregnancy, with 70% providing data. Of these, 23-38% reported expulsion within 3 hours and
               over 90% within 24 hours of using misoprostol.


               16       HOW SUPPLIED/STORAGE AND HANDLING
               is only available through a restricted program called the Mifepristone REMS Program [see
               Warnings and Precautions (5.3)].
               MIFEPREX is supplied as light yellow, cylindrical, and bi-convex tablets imprinted on one side
               with “MF.” Each tablet contains 200 mg of mifepristone. One tablet is individually blistered on
               one blister card that is packaged in an individual package (National Drug Code 64875-001-01).
               Store at 25°C (77°F); excursions permitted to 15 to 30°C (59 to 86°F) [see USP Controlled
               Room Temperature].




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               17       PATIENT COUNSELING INFORMATION
               Advise the patient to read the FDA-approved patient labeling (Medication Guide), included with
               each package of MIFEPREX. Additional copies of the Medication Guide are available by
               contacting Danco Laboratories at 1-877-4 Early Option (1-877-432-7596) or from
               www.earlyoptionpill.com.
               Serious Infections and Bleeding
                    •     Inform the patient that uterine bleeding and uterine cramping will occur [see Warnings
                          and Precautions (5.2)].
                    •     Advise the patient that serious and sometimes fatal infections and bleeding can occur
                          very rarely [see Warnings and Precautions (5.1, 5.2)].
                    •     MIFEPREX is only available through a restricted program called the Mifepristone REMS
                          Program [see Warnings and Precautions (5.3)]. Under the mifepristone REMS Program:
                              o   Patients must sign a Patient Agreement Form.
                              o   MIFEPREX is only dispensed by or under the supervision of certified prescribers
                                  or by certified pharmacies on prescriptions issued by certified prescribers.
               Provider Contacts and Actions in Case of Complications
                    •     Ensure that the patient knows whom to call and what to do, including going to an
                          Emergency Room if none of the provided contacts are reachable, or if the patient
                          experiences complications including prolonged heavy bleeding, severe abdominal pain,
                          or sustained fever [see Boxed Warning].
                    •
               Compliance with Treatment Schedule and Follow-up Assessment
                    •     Advise the patient that it is necessary to complete the treatment schedule, including a
                          follow-up assessment approximately 7 to14 days after taking MIFEPREX [see Dosage
                          and Administration (2.3)].
                    •     Explain that
                              o   prolonged heavy vaginal bleeding is not proof of a complete abortion,
                              o   if the treatment fails and the pregnancy continues, the risk of fetal malformation is
                                  unknown,
                              o   it is recommended that ongoing pregnancy be managed by surgical termination
                                  [see Dosage and Administration (2.3)]. Advise the patient whether you will
                                  provide such care or will refer them to another provider.
               Subsequent Fertility
                    •     Inform the patient that another pregnancy can occur following medical abortion and
                          before resumption of normal menses.
                    •     Inform the patient that contraception can be initiated as soon as pregnancy expulsion
                          has been confirmed, or before resuming sexual intercourse.
               MIFEPREX is a registered trademark of Danco Laboratories, LLC.




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               Manufactured for:
               Danco Laboratories, LLC
               P.O. Box 4816
               New York, NY 10185
               1-877-4 Early Option (1-877-432-7596)
               www.earlyoptionpill.com


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                                                          MEDICATION GUIDE
                                         Mifeprex (MIF-eh-prex) (mifepristone tablets, for oral use
                 Read this information carefully before taking Mifeprex and misoprostol. It will help you understand how
                 the treatment works. This Medication Guide does not take the place of talking with your healthcare
                 provider.
                 What is the most important information I should know about Mifeprex?
                 What symptoms should I be concerned with? Although cramping and bleeding are an expected part
                 of ending a pregnancy, rarely, serious and potentially life-threatening bleeding, infections, or other
                 problems can occur following a miscarriage, surgical abortion, medical abortion, or childbirth. Seeking
                 medical attention as soon as possible is needed in these circumstances. Serious infection has resulted
                 in death in a very small number of cases. There is no information that use of Mifeprex and misoprostol
                 caused these deaths. If you have any questions, concerns, or problems, or if you are worried about any
                 side effects or symptoms, you should contact your healthcare provider. You can write down your
                 healthcare provider’s telephone number here ________________________.
                 Be sure to contact your healthcare provider promptly if you have any of the following:
                 • Heavy Bleeding. Contact your healthcare provider right away if you bleed enough to soak through
                   two thick full-size sanitary pads per hour for two consecutive hours or if you are concerned about
                   heavy bleeding. In about 1 out of 100 women, bleeding can be so heavy that it requires a surgical
                   procedure (surgical aspiration or D&C).
                 • Abdominal Pain or “Feeling Sick.” If you have abdominal pain or discomfort, or you are “feeling
                   sick,” including weakness, nausea, vomiting, or diarrhea, with or without fever, more than 24 hours
                   after taking misoprostol, you should contact your healthcare provider without delay. These
                   symptoms may be a sign of a serious infection or another problem (including an ectopic pregnancy,
                   a pregnancy outside the womb).
                 • Fever. In the days after treatment, if you have a fever of 100.4°F or higher that lasts for more than 4
                   hours, you should contact your healthcare provider right away. Fever may be a symptom of a
                   serious infection or another problem.
                 If you cannot reach your healthcare provider, go to the nearest hospital emergency room.
                 What to do if you are still pregnant after Mifeprex with misoprostol treatment. If you are still
                 pregnant, your healthcare provider will talk with you about a surgical procedure to end your pregnancy.
                 In many cases, this surgical procedure can be done in the office/clinic. The chance of birth defects if
                 the pregnancy is not ended is unknown.
                 Talk with your healthcare provider. Before you take Mifeprex, you should read this Medication Guide
                 and you and your healthcare provider should discuss the benefits and risks of your using Mifeprex.




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                 What is Mifeprex?
                 Mifeprex is used in a regimen with another prescription medicine called misoprostol, to end an
                 early pregnancy. Early pregnancy means it is 70 days (10 weeks) or less since your last menstrual
                 period began. Mifeprex is not approved for ending pregnancies that are further along. Mifeprex blocks
                 a hormone needed for your pregnancy to continue. When you use Mifeprex on Day 1, you also need to
                 take another medicine called misoprostol 24 to 48 hours after you take Mifeprex, to cause the
                 pregnancy to be passed from your uterus.
                 The pregnancy is likely to be passed from your uterus within 2 to 24 hours after taking Mifeprex and
                 misoprostol. When the pregnancy is passed from the uterus, you will have bleeding and cramping that
                 will likely be heavier than your usual period. About 2 to 7 out of 100 women taking Mifeprex will need a
                 surgical procedure because the pregnancy did not completely pass from the uterus or to stop bleeding.
                 Who should not take Mifeprex?
                 Some patients should not take Mifeprex. Do not take Mifeprex if you:
                 • Have a pregnancy that is more than 70 days (10 weeks). Your healthcare provider may do a clinical
                   examination, an ultrasound examination, or other testing to determine how far along you are in
                   pregnancy.
                 • Are using an IUD (intrauterine device or system). It must be taken out before you take Mifeprex.
                 • Have been told by your healthcare provider that you have a pregnancy outside the uterus (ectopic
                   pregnancy).
                 • Have problems with your adrenal glands (chronic adrenal failure).
                 • Take a medicine to thin your blood.

                 • Have a bleeding problem.
                 • Have porphyria.

                 • Take certain steroid medicines.
                 • Are allergic to mifepristone, misoprostol, or medicines that contain misoprostol, such as Cytotec or
                   Arthrotec.
                 Ask your healthcare provider if you are not sure about all your medical conditions before taking this
                 medicine to find out if you can take Mifeprex.
                 What should I tell my healthcare provider before taking Mifeprex?
                 Before you take Mifeprex, tell your healthcare provider if you:

                 • cannot follow-up within approximately 7 to 14 days of your first visit
                 • are breastfeeding. Mifeprex can pass into your breast milk. The effect of the Mifeprex and
                   misoprostol regimen on the breastfed infant or on milk production is unknown.
                 • are taking medicines, including prescription and over-the-counter medicines, vitamins, and herbal
                   supplements.
                   Mifeprex and certain other medicines may affect each other if they are used together. This can
                   cause side effects.




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                 How should I take Mifeprex?

                 • Mifeprex will be given to you by a healthcare provider or pharmacy.
                 • You and your healthcare provider will plan the most appropriate location for you to take the
                   misoprostol, because it may cause bleeding, cramps, nausea, diarrhea, and other symptoms that
                   usually begin within 2 to 24 hours after taking it.
                 • Most women will pass the pregnancy within 2 to 24 hours after taking the misoprostol tablets.
                 Follow the instruction below on how to take Mifeprex and misoprostol:
                 Mifeprex (1 tablet) orally + misoprostol (4 tablets) buccally
                 Day 1:
                        •   Take 1 Mifeprex tablet by mouth.
                 24 to 48 hours after taking Mifeprex:

                        •   Take 4 misoprostol tablets by placing 2 tablets in
                            each cheek pouch (the area between your teeth
                            and cheek - see Figure A) for 30 minutes and then
                            swallow anything left over with a drink of water or
                            another liquid.
                        •   The medicines may not work as well if you take
                            misoprostol sooner than 24 hours after Mifeprex
                            or later than 48 hours after Mifeprex.

                        •   Misoprostol often causes cramps, nausea,
                            diarrhea, and other symptoms. Your healthcare
                            provider may send you home with medicines for
                            these symptoms.

                                                                                  Figure A (2 tablets between your left
                                                                                  cheek and gum and 2 tablets between
                                                                                  your right cheek and gum).
                 Follow-up Assessment at Day 7 to 14:

                 • This follow-up assessment is very important. You must follow-up with your healthcare provider
                   about 7 to 14 days after you have taken Mifeprex to be sure you are well and that you have had
                   bleeding and the pregnancy has passed from your uterus.
                 • Your healthcare provider will assess whether your pregnancy has passed from your uterus. If your
                   pregnancy continues, the chance that there may be birth defects is unknown. If you are still
                   pregnant, your healthcare provider will talk with you about a surgical procedure to end your
                   pregnancy.
                 • If your pregnancy has ended, but has not yet completely passed from your uterus, your provider will
                   talk with you about other choices you have, including waiting, taking another dose of misoprostol, or
                   having a surgical procedure to empty your uterus.




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                 When should I begin birth control?
                 You can become pregnant again right after your pregnancy ends. If you do not want to become
                 pregnant again, start using birth control as soon as your pregnancy ends or before you start having
                 sexual intercourse again.
                 What should I avoid while taking Mifeprex and misoprostol?
                 Do not take any other prescription or over-the-counter medicines (including herbal medicines or
                 supplements) at any time during the treatment period without first asking your healthcare provider
                 about them because they may interfere with the treatment. Ask your healthcare provider about what
                 medicines you can take for pain and other side effects.
                 What are the possible side effects of Mifeprex and misoprostol?
                 Mifeprex may cause serious side effects. See “What is the most important information I should
                 know about Mifeprex?”
                 Cramping and bleeding. Cramping and vaginal bleeding are expected with this treatment. Usually,
                 these symptoms mean that the treatment is working. But sometimes you can get cramping and
                 bleeding and still be pregnant. This is why you must follow-up with your healthcare provider
                 approximately 7 to 14 days after taking Mifeprex. See “How should I take Mifeprex?” for more
                 information on your follow-up assessment. If you are not already bleeding after taking Mifeprex, you
                 probably will begin to bleed once you take misoprostol, the medicine you take 24 to 48 hours after
                 Mifeprex. Bleeding or spotting can be expected for an average of 9 to16 days and may last for up to 30
                 days. Your bleeding may be similar to, or greater than, a normal heavy period. You may see blood
                 clots and tissue. This is an expected part of passing the pregnancy.
                 The most common side effects of Mifeprex treatment include: nausea, weakness, fever/chills, vomiting,
                 headache, diarrhea and dizziness. Your provider will tell you how to manage any pain or other side
                 effects. These are not all the possible side effects of Mifeprex.
                 Call your healthcare provider for medical advice about any side effects that bother you or do not go
                 away. You may report side effects to FDA at 1-800-FDA-1088.
                 General information about the safe and effective use of Mifeprex.
                 Medicines are sometimes prescribed for purposes other than those listed in a Medication
                 Guide. This Medication Guide summarizes the most important information about Mifeprex. If
                 you would like more information, talk with your healthcare provider. You may ask your
                 healthcare provider for information about Mifeprex that is written for healthcare professionals.
                 For more information about Mifeprex, go to www.earlyoptionpill.com or call 1-877-4 Early
                 Option (1-877-432-7596).


                 Manufactured for: Danco Laboratories, LLC
                 P.O. Box 4816
                 New York, NY 10185
                 1-877-4 Early Option (1-877-432-7596) www.earlyoptionpill.com
               This Medication Guide has been approved by the U.S. Food and Drug Administration.         Approval
               01/2023




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                                EXHIBIT 6

            Maarit Niinimaki et al., Comparison of
           rates of adverse events in adolescent and
          adult women undergoing medical abortion:
                population register based study




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                                EXHIBIT 9

                  ACOG P rac. Bull. No. 181:
             Prevention of Rh D Alloimmunization




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                                                                                                                       Clinical Management Guidelines for Obstetrician–Gynecologists
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                                                                                                       Number 181, August 2017                                                          (Replaces Practice Bulletin Number 4, May 1999)

                                                                                                        Committee on Practice Bulletins—Obstetrics. This Practice Bulletin was developed by the American College of Obstetricians and Gynecologists’
                                                                                                        Committee on Practice Bulletins—Obstetrics in collaboration with Robert M. Silver, MD.


                                                                                                       Prevention of Rh D Alloimmunization
                                                                                                       Advances in the prevention and treatment of Rh D alloimmunization have been one of the great success stories of
                                                                                                       modern obstetrics. There is wide variation in prevalence rates of Rh D-negative individuals between regions, for
                                                                                                       example from 5% in India to 15% in North America (1). However, high birth rates in low prevalence areas means
                                                                                                       Rh hemolytic disease of the newborn is still an important cause of morbidity and mortality in countries without pro-
                                                                                                       phylaxis programs (1). In such countries, 14% of affected fetuses are stillborn and one half of live born infants suffer
                                                                                                       neonatal death or brain injury (1). The routine use of Rh D immune globulin is responsible for the reduced rate of
                                                                                                       red cell alloimmunization in more economically developed countries. First introduced in the 1970s, the postpartum
                                                                                                       administration of Rh D immune globulin reduced the rate of alloimmunization in at-risk pregnancies from approxi-
                                                                                                       mately 13–16% to approximately 0.5–1.8% (2, 3). The risk was further reduced to 0.14–0.2% with the addition of
                                                                                                       routine antepartum administration (2, 3). Despite considerable proof of efficacy, there are still a large number of cases
                                                                                                       of Rh D alloimmunization because of failure to follow established protocols. In addition, there are new data to help
                                                                                                       guide management, especially with regard to weak D phenotype women. The purpose of this document is to provide
                                                                                                       evidence-based guidance for the management of patients at risk of Rh D alloimmunization.


                                                                                                       Background                                                               established a Working Committee to devise and main-
                                                                                                                                                                                tain a genetically-based numerical terminology for red
                                                                                                       Nomenclature                                                             cell surface antigens. The numerical terminology was
                                                                                                       Nomenclature for red blood cell surface proteins is                      devised for computer storage of information on blood
                                                                                                       complex and can be confusing. The red cell membrane                      groups antigens and to provide a framework for genetic
                                                                                                       contains many anchored surface proteins. Many of                         classification. The numerical terminology is not suitable
                                                                                                       these proteins are polymorphic and carry different blood                 for everyday communication, which has led to a variety
                                                                                                       groups. A blood group system consists of one or more                     of alternative names being used for some blood group
                                                                                                       antigens controlled at a single gene locus, or by two or                 antigens. In an attempt to introduce some uniformity,
                                                                                                       more closely linked homologous genes with little or no                   a recommended list of alternative names for antigens
                                                                                                       observable recombination between them. Most blood                        is available through the International Society of Blood
                                                                                                       group antigens are glycoproteins, and their specificity                  Transfusion (4). In most cases the name or symbol is
                                                                                                       is mostly determined either by the oligosaccharide or                    identical to that originally published, but in a few cases
                                                                                                       amino acid sequence. The 30 human blood group system                     the more commonly used name is provided, as with
                                                                                                       genes have been identified and sequenced, and all the                    ABO and Rh. Specific subtypes or polymorphisms use a
                                                                                                       polymorphisms are known (4).                                             second designation (eg, Rh D, Rh C, Rh E). This docu-
                                                                                                            A variety of terminologies has been used to denote                  ment uses the designation Rh D to signify the erythrocyte
                                                                                                       human blood groups since their discovery in 1900. In                     antigen. Women who carry the Rh D antigen are identi-
                                                                                                       1980, the International Society of Blood Transfusion                     fied as Rh D positive. Those who do not carry the Rh D



                                                                                                       VOL. 130, NO. 2, AUGUST 2017                                                                    OBSTETRICS & GYNECOLOGY                 e57

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                                                                                                       Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                               Page 259 of 467 PageID 9755
                                                                                                       antigen are identified as Rh D negative. Details regard-        ing birth in the third trimester, have a fetal–maternal
                                                                                                       ing the nomenclature for partial D or weak D antigens           hemorrhage (7, 8). The volume of fetal–maternal hemor-
                                                                                                       are described as follows (see “How should a weak D              rhage leading to Rh D alloimmunization can be as small
                                                                                                       blood type be interpreted and what management should            as 0.1 mL or as large as 30 mL (7, 8).
                                                                                                       be undertaken?”). The frequency of the Rh D-negative                  Fetal–maternal hemorrhage also may take place in
                                                                                                       phenotype is most common in individuals of European             the first and second trimesters in association with spon-
                                                                                                       and North American descent (15–17%), is comparatively           taneous pregnancy loss or uterine instrumentation (eg,
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                                                                                                       decreased in the regions of Africa and India (3–8%),            dilation and curettage or evacuation). The risk of Rh D
                                                                                                       and is rarest in Asia (0.1–0.3%) (1, 5). The immune             alloimmunization is estimated to be 1.5–2% in suscep-
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                                                                                                       globulin used specifically to bind the Rh D antigen is          tible women after spontaneous miscarriage and 4–5%
                                                                                                       referred to as Rh D immune globulin or anti-D immune            after dilation and curettage (3, 7). There are insufficient
                                                                                                       globulin. Alloimmunization refers to an immunologic             data from studies that evaluated the efficacy of adminis-
                                                                                                       reaction against foreign antigens that are distinct from        tration of anti-D immune globulin after spontaneous mis-
                                                                                                       antigens on an individual’s cells. In this case, it refers to   carriage and, although alloimmunization appears rare,
                                                                                                       the maternal formation of antibodies against fetal Rh D.        it is possible and recommendations continue to include
                                                                                                       Fetal–maternal hemorrhage is the term used to identify          administration of anti-D immune globulin after such
                                                                                                       varying amounts of fetal cells in the maternal circulation      losses (3, 9, 10). Ectopic pregnancy also may lead to Rh
                                                                                                       from small interruptions at the fetal–maternal placental        D alloimmunization, although data regarding the prob-
                                                                                                       interface (6).                                                  ability are lacking. Until further evidence is available,
                                                                                                                                                                       expert advice continues to recommend administration
                                                                                                       Causes of Rh D Alloimmunization                                 of anti-D immune globulin within 72 hours of suspected
                                                                                                       Rh D alloimmunization occurs when a Rh D-negative               breach of the choriodecidual space (9).
                                                                                                       woman is exposed to red cells expressing the Rh D                     Historically, chorionic villus sampling has been esti-
                                                                                                       antigen. Although the fetal and maternal circulations           mated to carry a 14% risk of fetal–maternal hemorrhage
                                                                                                       are separate, there is often some antenatal mixing of           of 0.6 mL or more (11). Later studies corroborate these
                                                                                                       fetal and maternal blood, even in asymptomatic women.           earlier findings and continue to support the administration
                                                                                                       Events such as miscarriage, ectopic pregnancy, antenatal        of anti-D immune globulin to Rh D-negative women who
                                                                                                       bleeding, and delivery, as well as procedures such as cho-      have chorionic villus sampling (12, 13). Traditionally,
                                                                                                       rionic villus sampling, amniocentesis, pregnancy-related        amniocentesis led to a 2–6% rate of fetal–maternal
                                                                                                       uterine curettage, and surgical treatment of ectopic preg-      hemorrhage, even if the placenta was not traversed (14,
                                                                                                       nancy can lead to maternal exposure to fetal red blood          15). Recent studies suggest the rate of fetal–maternal
                                                                                                       cells and, consequently, Rh D alloimmunization (Box 1).         hemorrhage may be lower than previously thought but
                                                                                                       Between 3% and 11% of women with threatened abor-               not negligible (16, 17) and alloimmunization is possible.
                                                                                                       tion in the first trimester, and approximately 45% giv-         Similarly, other invasive procedures such as cordocen-
                                                                                                                                                                       tesis also can cause fetal–maternal hemorrhage (16) and
                                                                                                                                                                       warrant anti-D immune globulin prophylaxis. Although
                                                                                                                                                                       not invasive, external cephalic version (regardless of
                                                                                                                 Box 1. Potential Sensitizing Events in
                                                                                                                                                                       success) is associated with a 2–6% risk of fetal–maternal
                                                                                                                Rh D-Negative Women in Pregnancy ^
                                                                                                                                                                       hemorrhage and anti-D immune globulin is indicated for
                                                                                                           • Chorionic villus sampling, amniocentesis,                 unsensitized Rh D-negative patients (18, 19).
                                                                                                             cordocentesis
                                                                                                           • Threatened miscarriage or miscarriage                     Anti-D Immune Globulin to Prevent
                                                                                                           • Ectopic pregnancy                                         Alloimmunization
                                                                                                           • Evacuation of molar pregnancy                             Anti-D immune globulin is extracted by cold alcohol
                                                                                                           • Therapeutic termination of pregnancy                      fractionation from plasma donated by individuals with
                                                                                                           • Antepartum hemorrhage                                     high-titer anti-D immune globulin G antibodies. Original
                                                                                                                                                                       work in the 1960s noted maternal sensitization to fetal
                                                                                                           • Abdominal trauma                                          Rh-positive blood could be prevented by administer-
                                                                                                           • Intrauterine fetal death                                  ing anti-D immune globulin. A prophylactic dose of
                                                                                                           • External cephalic version                                 300 micrograms of anti-D immune globulin can prevent
                                                                                                           • Delivery                                                  Rh D alloimmunization after exposure to up to 30 mL of
                                                                                                                                                                       Rh D-positive fetal whole blood or 15 mL of fetal red



                                                                                                       e58 Practice Bulletin Prevention of Rh D Alloimmunization                                 OBSTETRICS & GYNECOLOGY

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                                                                                                       blood cells (20). Subsequently anti-D immune globulin          alloimmunization for exposures larger than 30 mL of
                                                                                                       became more widely available and a single dose given           Rh D-positive fetal whole blood. Rarely, in 2–3 per
                                                                                                       to susceptible Rh D-negative women within 72 hours             1,000 deliveries, a fetal–maternal hemorrhage may be
                                                                                                       of delivery reduced the rate of Rh D alloimmuniza-             greater than 30 mL (6, 7). For this reason, Rh D-negative
                                                                                                       tion by 80–90% (7, 21, 22). However, it became clear           women who give birth to Rh D-positive infants should
                                                                                                       that asymptomatic fetal–maternal hemorrhage during             undergo additional testing to assess the volume of fetal–
                                                                                                       the third trimester triggered alloimmunization in 2%           maternal hemorrhage and guide the amount of Rh D
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                                                                                                       of at-risk women before delivery. This rate was shown          immune globulin required to prevent alloimmunization
                                                                                                       to be reduced to less than 0.2% with routine antenatal         (5, 25, 30, 31). It is advised that all women undergo
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                                                                                                       administration of anti-D immune globulin at 28 weeks           such screening after delivery because a policy of only
                                                                                                       of gestation (7).                                              screening deliveries with high-risk conditions for excess
                                                                                                            In the United States, a recommendation for the            fetal–maternal hemorrhage, such as abruptio placentae
                                                                                                       administration of anti-D immune globulin was intro-            or manual removal of the placenta, will fail to identify a
                                                                                                       duced in the 1970s. The current practice of administer-        large number of cases requiring more than the standard
                                                                                                       ing a single antenatal dose of 300 micrograms of anti-D        postpartum dose of Rh D immune globulin (32).
                                                                                                       immunoglobulin at 28 weeks of gestation followed by a               Screening for fetal–maternal hemorrhage in routine
                                                                                                       second dose after birth when newborn Rh D typing has           situations typically begins with the rosette fetal red blood
                                                                                                       identified the infant as Rh positive, based on recom-          cell assay. The erythrocyte rosette screen is a sensitive,
                                                                                                       mendations from a conference at McMaster University            qualitative test that can detect greater than 2 mL of fetal
                                                                                                       in 1977, is associated with less than a 0.2% rate of Rh        whole blood in the maternal circulation (32). The rosette
                                                                                                       alloimmunization (7, 23). In the United Kingdom, rec-          test is performed by incubation of a maternal blood
                                                                                                       ommendations have differed somewhat from those in the          sample with Rh immunoglobulin that will bind fetal
                                                                                                       United States in that antenatal Rh D immune globulin           Rh D-positive red blood cells, followed by the addition
                                                                                                       using different doses may be given as two injections at        of enzyme-treated reagent indicator red blood cells.
                                                                                                       28 weeks of gestation and at 34 weeks of gestation, or as      Rh D-positive fetal red blood cells present in maternal
                                                                                                       a single administration at 28 weeks of gestation (24, 25).     circulation result in forming aggregates (rosettes) that
                                                                                                       There is no trial comparing the two-dose regimens with         can be visualized by light microscopy. A positive rosette
                                                                                                       a single dose, and no evidence of a difference in efficacy     test should be followed with a method to determine the
                                                                                                       between these regimens (24). However, an observational         percentage of fetal red blood cells in maternal circulation,
                                                                                                       study from the United Kingdom noted better adher-              such as the Kleihauer–Betke test or flow cytometry. The
                                                                                                       ence with the single-dose compared with the two-dose           Kleihauer–Betke acid elution test relies on the principle
                                                                                                       protocol (26). There is also potential cost reduction          that fetal red blood cells contain mostly fetal hemoglobin
                                                                                                       with a single dose (27). Thus, there are no compelling         F, which is resistant to acid elution, whereas adult hemo-
                                                                                                       data indicating a change from the single-dose proce-           globin is acid sensitive. Although the Kleihauer–Betke
                                                                                                       dure currently used in the United States to the two-dose       test is inexpensive and requires no special equipment,
                                                                                                       regimen.                                                       it lacks standardization and precision, and may not be
                                                                                                            Although administration of anti-D immune globu-           accurate in conditions in which the mother has a coexis-
                                                                                                       lin at 28 weeks of gestation is highly effective, phar-        tent medical condition that is associated with red blood
                                                                                                       macokinetic studies suggest that levels of anti-D vary         cells containing an increased percentage of hemoglobin
                                                                                                       between patients and some may not have adequate                F, such as sickle-cell disease and the thalassemias. Flow
                                                                                                       anti-D levels at delivery (28). In the past, some authori-     cytometry is a specialized technique that is an alternative
                                                                                                       ties advised giving a second dose of Rh D immune               method available in some hospitals for quantification of
                                                                                                       globulin in women who have not given birth 12 weeks            fetal–maternal hemorrhage, although its use is limited
                                                                                                       after receiving their antenatal dose (29). However, the        by equipment and staffing costs. Flow cytometry uses
                                                                                                       vast majority of women who give birth more than 12             monoclonal antibodies to hemoglobin F or the Rh D
                                                                                                       weeks after receiving antenatal Rh D immune globulin           antigen with quantification of fluorescence, and is highly
                                                                                                       do not become alloimmunized. Because of this low risk          sensitive and accurate in identifying fetal red blood cells
                                                                                                       of alloimmunization and the fact that 40% of infants of        in maternal blood (32). In clinical situations in which
                                                                                                       Rh D-negative women will be Rh D negative, most                fetal–maternal hemorrhage has occurred in a volume
                                                                                                       guidelines do not recommend that a second dose of              that is not covered by the standard 300 microgram dose
                                                                                                       anti-D immune globulin be given until after delivery           of Rh immune globulin (greater than 30 mL of fetal
                                                                                                       when newborn Rh D typing becomes available. Addi-              whole blood or 15 mL of fetal red cells) additional
                                                                                                       tional anti-D immune globulin is needed to prevent             vials of Rh immune globulin can be administered at one



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                                                                                                       Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                           Page 261 of 467 PageID 9757
                                                                                                        time (up to eight full vials). These additional doses can   Potential Shortage of Anti-D Immune
                                                                                                        be administered intramuscularly at separate sites every     Globulin
                                                                                                        12 hours until the desired dosage has been reached (33,     Anti-D immune globulin is collected by apheresis from
                                                                                                        34). An intravenous Rh immune globulin is available         volunteer donors who have high titers of circulating
                                                                                                        that also may be used in these cases and provides more      anti-Rh D antibodies. The donated plasma is pooled and
                                                                                                        comfort for the patient (34).                               fractionated by commercial manufacturers, and anti-D
                                                                                                             Because Rh D immune globulin is obtained from          immune globulin is prepared in varying doses. In the
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                                                                                                        human plasma, there is a theoretical risk of transmission   1990s, concerns were raised regarding future supplies
                                                                                                        of viral infection. In the 1990s, it was discovered that    of anti-D immune globulin for worldwide demands
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                                                                                                        immune globulin contaminated with hepatitis C virus         because the number of potential donors may dwindle
                                                                                                        had been administered to women from 1977 to 1979            (42). At that time, experts in the United Kingdom esti-
                                                                                                        in Ireland and Germany (35). Most of these exposed          mated that supplies of anti-D immune globulin would be
                                                                                                        women showed only slight to moderate hepatic inflam-        inadequate for immunoprophylaxis of all susceptible Rh
                                                                                                        mation 17–35 years later (35, 36). A later analysis of      D-negative women if standard recommendations were
                                                                                                        samples manufactured between 1991 and 1994 again            followed (43). In Australia in 1995, a shortage prompted
                                                                                                        demonstrated a low potential for transmission of the        importation of anti-D immune globulin. Subsequently,
                                                                                                        hepatitis C virus, with 0.59% of potential exposures        some physicians proposed strictly limiting the dose
                                                                                                        showing evidence of seroconversion (37). Regardless,        given for first-trimester indications and discontinuing
                                                                                                        because the product is a purified immune globulin, the      administration of anti-D immune globulin after external
                                                                                                        risk of viral infection from anti-D immune globulin is      cephalic version (unless fetal–maternal hemorrhage is
                                                                                                        exceedingly low. Since 1985, all plasma used for the        documented), ectopic pregnancy, or threatened miscar-
                                                                                                        production of anti-D immune globulin has been tested        riage (44). Others disagreed, considering it unethical
                                                                                                        for viral infections, and several fractionation and puri-   to withhold anti-D immune globulin in any situation.
                                                                                                        fication steps, including micropore filtration, are used    Estimates regarding future needs compared with poten-
                                                                                                        to remove and inactivate viruses. Other contaminations      tial supply in the United States have not been published.
                                                                                                        and inadvertent exposures have not been reported, and       No reports of supply shortages of anti-D immune
                                                                                                        anti-D immune globulin has been manufactured without        globulin have been published since initial concerns were
                                                                                                        mercury-containing thimerosal since 2001 (38).              expressed 20 years ago. Despite these earlier concerns,
                                                                                                                                                                    national guidelines from the United States, United
                                                                                                        Failure to Prevent Rh D                                     Kingdom, and Canada still recommend routine adminis-
                                                                                                        Alloimmunization                                            tration of anti-D immune globulin to all Rh D-negative
                                                                                                        Rh alloimmunization during pregnancy in Rh D-negative       nonsensitized women in the third trimester, within
                                                                                                        women may still occur. This might be because of a fail-     72 hours of delivery in women giving birth to a
                                                                                                        ure of administering antenatal prophylaxis in the third     Rh-positive infant, or when a sensitizing event occurs
                                                                                                        trimester of pregnancy, insufficient dosage or timely       (eg, ectopic pregnancy, external cephalic version, or
                                                                                                        administration (within 72 hours) of anti-D immune glob-     invasive obstetric procedures such as chorionic villus
                                                                                                        ulin given after a known sensitizing event during preg-     sampling or amniocentesis) (5, 25, 31).
                                                                                                        nancy (or after birth), or an unrecognized fetal–maternal         Other sources of anti-D immune globulin have been
                                                                                                        hemorrhage at some point in the pregnancy (39). In spite    explored. There is the potential to generate recombinant
                                                                                                        of recommendations for immunoprophylaxis, approxi-          Rh D immune globulin, which would alleviate any
                                                                                                        mately 0.1–0.4% of women at risk become sensitized          future shortages of donors. No commercially available,
                                                                                                        during pregnancy (22). A recent retrospective study         efficacious recombinant products are currently available.
                                                                                                        from New Zealand identified reasons for continued cases     Nonetheless, a monoclonal antibody (Roledumab) and a
                                                                                                        of sensitization, including omission of immune globulin     recombinant antibody mixture (Rozrolimupab) are being
                                                                                                        after a recognized sensitizing event in 41% of cases and    designed for prevention of hemolytic disease of the new-
                                                                                                        administration outside of recommended guidelines in         born and are in phase II clinical trials (45, 46).
                                                                                                        13% of cases (40). An additional reason for Rh D alloim-
                                                                                                        munization is the small rate (0.1–0.2%) of spontaneous      Cost Effectiveness of Rh D Prophylaxis
                                                                                                        immunization despite adherence to the recommended           Programs
                                                                                                        prophylaxis protocol (22). These cases most often occur     The cost effectiveness of different screening strategies
                                                                                                        in pregnancies during which there have been no prior        to guide the administration of Rh D immune globulin to
                                                                                                        overt sensitizing events. In other words, prophylaxis is    Rh D-negative pregnant women in circumstances where
                                                                                                        not 100% effective (41).                                    fetal–maternal hemorrhage may occur have been mixed.



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                                                                                                        Strategies of selective administration of Rh D immune           If anti-D antibody is identified, further history should
                                                                                                        globulin depending on partner’s blood type have been            be obtained and investigation undertaken to determine
                                                                                                        shown to be cost equivalent to systematic prophylaxis           whether this is immune mediated or passive (as a result
                                                                                                        (47, 48). If the Rh type of the partner is not known, and       of previous injection of anti-D immune globulin). If it
                                                                                                        given that immunological typing of the father would             is clear that the origin of the anti-D antibodies detected
                                                                                                        probably not be carried out by most clinicians, routine         is a previous routine antenatal anti-D immune globulin
                                                                                                        antenatal prophylaxis remains the preferred option (48).        prophylaxis or anti-D immune globulin given for a
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                                                                                                        Although initial economic analysis of antenatal anti-D          potentially sensitizing event, then the woman should
                                                                                                        immune globulin prophylaxis suggested that it was only          continue to be offered anti-D prophylaxis (25). If Rh
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                                                                                                        cost effective in primigravid women (27, 47), more              D antibodies are present because of sensitization, anti-
                                                                                                        recent data indicate that prophylactic administration to        D immune globulin is not beneficial, and management
                                                                                                        all women at risk is cost beneficial (48).                      should proceed in accordance with protocols for Rh
                                                                                                             Noninvasive determination of fetal Rh status is now        D-alloimmunized pregnancies (58).
                                                                                                        possible through the analysis of cell-free DNA in mater-
                                                                                                        nal plasma. Up to 40% of Rh D-negative pregnant women                How should one deal with the issue of
                                                                                                        will carry an Rh D-negative fetus. In this clinical situa-           paternity?
                                                                                                        tion, antenatal anti-D immune globulin administration is        Reliable rates of nonpaternity are difficult to ascertain
                                                                                                        unnecessary. Concerns have been raised about the unwar-         but a recent review indicates that the mean rate among
                                                                                                        ranted exposure of these pregnant women to a plasma-            population studies is approximately 3% (59). Strategies
                                                                                                        based product (49). Some parts of the world now are using       of selective administration of Rh D immune globulin
                                                                                                        circulating cell-free DNA testing to ascertain the fetal Rh     depending on the partner’s blood type have been shown
                                                                                                        D status and to establish candidates for antenatal anti-D
                                                                                                                                                                        to be cost equivalent to systematic prophylaxis (47, 48).
                                                                                                        immune globulin prophylaxis (50). Recent retrospective
                                                                                                                                                                        If paternity is certain and the father is known to be Rh D
                                                                                                        and prospective observational studies have reported that
                                                                                                                                                                        negative, antenatal prophylaxis is unnecessary. If the Rh
                                                                                                        fetal Rh D status determination in the first trimester has
                                                                                                                                                                        type of the partner is not known, and given that immu-
                                                                                                        a sensitivity greater than 99% and a specificity of greater
                                                                                                                                                                        nological typing of the father would probably not be car-
                                                                                                        than 95% (51–53). However, concerns have been noted
                                                                                                                                                                        ried out by most clinicians, routine antenatal prophylaxis
                                                                                                        because of the rate of inconclusive results (range 2–6%),
                                                                                                                                                                        remains the preferred option (48). An alternative strat-
                                                                                                        which are influenced by race (52, 53).
                                                                                                                                                                        egy is to assess fetal RHD genotype with noninvasive
                                                                                                             Despite the improved accuracy of noninvasive fetal
                                                                                                                                                                        testing and only administer Rh D immune globulin if
                                                                                                        RHD genotyping, cost comparisons with current routine
                                                                                                                                                                        the fetus is Rh D positive. Despite the improved accu-
                                                                                                        prophylaxis of anti-D immunoglobulin at 28 weeks of
                                                                                                                                                                        racies noted with noninvasive fetal RHD genotyping,
                                                                                                        gestation have not shown a consistent benefit. Four cost
                                                                                                                                                                        cost comparisons with current routine prophylaxis of
                                                                                                        analyses from North America and Europe have shown
                                                                                                                                                                        anti-D immunoglobulin at 28 weeks of gestation have
                                                                                                        no economic benefit at current test-cost levels (48,
                                                                                                                                                                        not shown a consistent benefit and, thus, this test is not
                                                                                                        54–56), whereas a single report from Canada suggested
                                                                                                                                                                        routinely recommended (48, 54–56).
                                                                                                        it would be cost effective, although the estimated cost
                                                                                                        of performing the cell-free DNA was based on a low-                  How should a weak D blood type be inter-
                                                                                                        cost, high-throughput method (57). As the cost of this               preted, and what management should be
                                                                                                        technology diminishes, this may become an attractive
                                                                                                                                                                             undertaken?
                                                                                                        and cost-effective strategy. However, at current costs,
                                                                                                        noninvasive assessment of fetal Rh D status is not rec-         In the past, a woman whose blood was typed as weak D
                                                                                                        ommended for routine use at present.                            (formerly known as Du) was thought to have blood cells
                                                                                                                                                                        positive for a variant of the Rh D antigen (60). The prev-
                                                                                                                                                                        alence of serologic weak D phenotypes varies by race
                                                                                                        Clinical Considerations and                                     and ethnicity. Serologic weak D phenotypes are the most
                                                                                                        Recommendations                                                 common D variants detected in Europe and the United
                                                                                                                                                                        States. An estimated 0.2–1.0% of Caucasians inherit
                                                                                                            Is anti-D immune globulin indicated in a                    RHD genes that code for serologic weak D phenotypes
                                                                                                            sensitized pregnancy?                                       and, in the United States, 80% are associated with weak
                                                                                                        All pregnant women should be tested at the time of the          D type 1, 2, or 3 (60). Some of these individuals express
                                                                                                        first prenatal visit for ABO blood group and Rh D type          reduced numbers of normal Rh D antigens whereas
                                                                                                        and screened for the presence of erythrocyte antibodies.        others express partial or abnormal Rh D antigens. It



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                                                                                                       Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                              Page 263 of 467 PageID 9759
                                                                                                        is possible for the latter group to develop antibodies        or 7 3/7 weeks of estimated gestational age (61), and
                                                                                                        against the part of the Rh D antigen that they are miss-      fetal–maternal hemorrhage, although rare, has been
                                                                                                        ing, and several cases of clinically severe Rh D alloim-      documented in 3–11% of women with threatened preg-
                                                                                                        munization have been reported in weak D phenotype             nancy loss from 7 weeks to 13 weeks of gestation (7, 8).
                                                                                                        women (60). Accordingly, the American Association                  Recommendations regarding anti-D immune globu-
                                                                                                        of Blood Banks (AABB) recommends that testing for             lin with threatened miscarriage have been inconsistent.
                                                                                                        weak D is unnecessary in individuals who will be trans-       Several national guidelines recommend against giving
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                                                                                                        fusion recipients of red blood cells (5). This approach       anti-D immune globulin to women with threatened
                                                                                                        categorizes individuals with weak D as Rh D negative          pregnancy loss, particularly if bleeding stops before
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                                                                                                        for transfusion, and if pregnant, they are considered a       12 weeks of gestation (25, 30, 62). Other guidelines
                                                                                                        candidate for anti-D immune globulin, hence avoiding          recommend that anti-D immune globulin should be
                                                                                                        potential Rh D alloimmunization.                              given (as described below) to all Rh D-negative women
                                                                                                             However, the AABB requires that blood donors             with a threatened miscarriage or when vaginal bleeding
                                                                                                        be assessed for weak D and if detected, the donors are        is heavy, repeated, or associated with abdominal pain,
                                                                                                        interpreted to be Rh D positive. This policy prevents         particularly if these events occur as gestational age
                                                                                                        the transfusion of Rh D-negative individuals with weak        approaches 12 weeks (25, 31). Because of insufficient
                                                                                                        D-positive blood, avoiding cases of Rh D alloimmuniza-        evidence that a threatened pregnancy loss before 12
                                                                                                        tion. These seemingly contradictory policies likely have      weeks of gestation requires anti-D immune globulin, no
                                                                                                        helped to avoid potential cases of Rh D alloimmuniza-         recommendation can be made at this time.
                                                                                                        tion. However, it can be extremely confusing for patients
                                                                                                        and clinicians. For example, the same individual may be           Should anti-D immune globulin be given in
                                                                                                        variably characterized as Rh D positive or Rh D nega-             cases of molar pregnancy?
                                                                                                        tive depending upon whether they are a potential donor
                                                                                                                                                                      Although alloimmunization has been reported with
                                                                                                        or recipient and if weak D is or is not assessed (60). This
                                                                                                                                                                      hydatidiform mole (63), the risk is unknown. In theory,
                                                                                                        could easily lead to errors and potential cases of Rh D
                                                                                                                                                                      Rh D alloimmunization should not occur in cases of
                                                                                                        alloimmunization.
                                                                                                                                                                      classic complete molar pregnancy because organogen-
                                                                                                             An attractive solution to this problem is to perform
                                                                                                                                                                      esis does not occur, and Rh D antigens are probably not
                                                                                                        molecular genetic RHD typing in weak D phenotype
                                                                                                                                                                      present on trophoblast cells, although this theory has
                                                                                                        individuals as suggested by the Work Group on RHD
                                                                                                                                                                      been disputed (64–66). In partial and transitional molar
                                                                                                        Genotyping (60). This would allow for consistency in
                                                                                                                                                                      pregnancies, however, the embryonic development may
                                                                                                        Rh D typing for individuals during their lifetime. In addi-
                                                                                                                                                                      cease after erythrocyte production has begun, making
                                                                                                        tion, the administration of Rh D immune globulin could
                                                                                                                                                                      maternal exposure to the Rh D antigen possible (67).
                                                                                                        be avoided in the Rh D individual with serologic weak
                                                                                                                                                                      Given that the diagnosis of partial versus complete molar
                                                                                                        D type 1, 2, or 3, because these are not associated with
                                                                                                                                                                      pregnancy depends on pathologic and cytogenetic evalu-
                                                                                                        risk of Rh D alloimmunization, which could potentially
                                                                                                                                                                      ations, it is reasonable to administer anti-D immune
                                                                                                        reduce the need for tens of thousands of units of Rh D
                                                                                                                                                                      globulin to Rh D-negative women who are suspected of
                                                                                                        immune globulin each year (60). Currently, there is a
                                                                                                                                                                      molar pregnancy and who undergo uterine evacuation
                                                                                                        lack of comprehensive cost-benefit analysis for this
                                                                                                                                                                      (25, 31).
                                                                                                        clinical approach. Clinicians are advised to administer
                                                                                                        Rh D immune globulin to patients with weak D blood
                                                                                                                                                                          How much anti-D immune globulin should
                                                                                                        type in appropriate clinical situations, by the same ratio-
                                                                                                                                                                          be given for first- or second-trimester events
                                                                                                        nale as that for Rh D typing blood donors, until further
                                                                                                        scientific and economic studies are available.
                                                                                                                                                                          (eg, spontaneous abortion, therapeutic
                                                                                                                                                                          abortion, ectopic pregnancy) and invasive
                                                                                                            Is threatened pregnancy loss an indication                    obstetric procedures (eg, chorionic villus
                                                                                                            for anti-D immune globulin prophylaxis?                       sampling, amniocentesis)?
                                                                                                        Whether to administer anti-D immune globulin to               Although the optimal dose of anti-D immune globulin
                                                                                                        a patient with threatened pregnancy loss and a live           for potentially sensitizing events in the first and second
                                                                                                        embryo or fetus at or before 12 weeks of gestation is         trimesters is unknown, because of the smaller fetal red
                                                                                                        controversial, and no evidence-based recommendation           cell mass at these gestations, the recommended dosage is
                                                                                                        can be made. The Rh D antigen has been reported on            typically less than that used for routine antenatal prophy-
                                                                                                        fetal erythrocytes as early as 38 days from fertilization     laxis in the third trimester. At 12 weeks of gestation, the



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                                                                                                        total fetal–placental blood volume is 3 mL or 1.5 mL of            are available, administration of Rh D immune globulin
                                                                                                        fetal red cells (44). Regardless, this volume is adequate          for all cases of ectopic pregnancy in Rh D-negative
                                                                                                        to sensitize some patients, and the risk of Rh D alloim-           women is recommended.
                                                                                                        munization is estimated to be 1.5–2% in susceptible                     Administration of Rh D immune globulin is rec-
                                                                                                        women after spontaneous miscarriage and 4–5% after                 ommended with all invasive diagnostic procedures,
                                                                                                        dilation and curettage (3).                                        such as chorionic villus sampling or amniocentesis, in
                                                                                                              There are no adequate data to support an evidence-           Rh D-negative women when the fetuses could be Rh D
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                                                                                                        based recommendation, and expert opinion varies on                 positive. Doses from 50 micrograms to 120 micrograms
                                                                                                        whether anti-D immune globulin should be given with                have been recommended before 12 weeks of gesta-
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                                                                                                        a spontaneous abortion. Because of the small volume of             tional age (25, 30, 31). For chorionic villus sampling and
                                                                                                        fetal blood and the low incidence of alloimmunization,             amniocentesis performed after 12 weeks of gestation,
                                                                                                        some groups do not recommend prophylactic anti-D                   125 micrograms or 300 micrograms is recommended
                                                                                                        immunoglobulin in cases of spontaneous complete mis-               (30, 31).
                                                                                                        carriage before 12 weeks of gestation when the uterus
                                                                                                        is not instrumented (25, 62). Other experts recommend                   Is second- or third-trimester antenatal
                                                                                                        that either 50 micrograms or 120 micrograms of anti-D                   hemorrhage an indication for anti-D immune
                                                                                                        immune globulin be given after a complete miscarriage                   globulin prophylaxis?
                                                                                                        during the first 12 weeks of gestation (30, 31). Although
                                                                                                                                                                           In patients with antenatal hemorrhage after 20 weeks
                                                                                                        the risk of alloimmunization is low, the consequences
                                                                                                                                                                           of gestation, the risk of Rh D alloimmunization is
                                                                                                        can be significant, and administration of Rh D immune
                                                                                                                                                                           uncertain. However, consensus guidelines recommend
                                                                                                        globulin should be considered in cases of spontaneous
                                                                                                                                                                           that susceptible women with bleeding receive anti-D
                                                                                                        first-trimester miscarriage, especially those that are later
                                                                                                                                                                           prophylaxis (25, 30, 31). Anti-D immune globulin is
                                                                                                        in the first trimester. If given, a dose of at least 50 micro-
                                                                                                                                                                           recommended for Rh D-negative women who experi-
                                                                                                        grams should be administered. Because of the higher risk
                                                                                                                                                                           ence antenatal hemorrhage after 20 weeks of gestation.
                                                                                                        of alloimmunization, Rh D-negative women who have                  Management of the patient with persistent or intermittent
                                                                                                        instrumentation for their miscarriage should receive Rh            antenatal bleeding is complex. The most conservative
                                                                                                        D immune globulin prophylaxis. Patients who have a                 approach may be to assess the volume of fetal–maternal
                                                                                                        miscarriage after 12 weeks of gestation should receive             hemorrhage with a quantitative test (such as the
                                                                                                        300 micrograms of Rh D immune globulin.                            Kleihauer–Betke test). The appropriate amount of Rh D
                                                                                                              Rh D immune globulin should be given to Rh D-                immune globulin then can be administered to cover
                                                                                                        negative women who have pregnancy termination, either              the estimated volume of fetal–maternal hemorrhage. In
                                                                                                        medical or surgical. Most consensus guidelines have rec-           cases of chronic or episodic bleeding this approach may
                                                                                                        ommended 50 micrograms or 120 micrograms of anti-D                 need to be repeated. An intuitive but unproven strategy
                                                                                                        immune globulin up to 12 weeks of gestation (25, 30,               is to monitor the Rh D-negative patient with continuing
                                                                                                        31, 62), and a dose of 300 micrograms after 12 weeks               antenatal hemorrhage with serial indirect Coombs test-
                                                                                                        of gestation (31).                                                 ing for anti-D approximately every 3 weeks. If the result
                                                                                                              Alloimmunization has been reported to occur in               is positive, indicating the persistence of anti-D immune
                                                                                                        24% of women with a ruptured tubal pregnancy (68).                 globulin, then theoretically no additional treatment with
                                                                                                        Again, guidelines differ with regard to the recommended            anti-D immune globulin is necessary. If the Coombs test
                                                                                                        dose of anti-D immune globulin up to 12 weeks of ges-              result is negative, excessive fetal–maternal hemorrhage
                                                                                                        tation, ranging from 50 micrograms to 120 micrograms               may have occurred, and a Kleihauer–Betke test should
                                                                                                        (25, 30, 31, 62). After 12 weeks of gestation, 300 micro-          be performed in order to determine the amount of addi-
                                                                                                        grams Rh D immune globulin is recommended (31).                    tional anti-D immune globulin necessary. However, the
                                                                                                        One expert group differentiates whether anti-D immune              most conservative approach is to administer additional
                                                                                                        globulin should be administered depending upon the                 Rh D immune globulin as needed based on the quantity
                                                                                                        treatment method used for the unruptured ectopic preg-             of fetal–maternal hemorrhage with some authorities rec-
                                                                                                        nancy. Without clear evidence to support the distinction,          ommending an estimation of fetal–maternal hemorrhage
                                                                                                        they do not recommend anti-D immune globulin for                   be carried out at 2-week intervals (25). Finally, it has
                                                                                                        women who solely receive medical management, but a                 been proposed in this clinical situation to use cell-free
                                                                                                        dose of 50 micrograms is recommended in women who                  DNA testing to ascertain the fetal Rh D status and, thus,
                                                                                                        have a surgical procedure to manage an ectopic preg-               avoid repeated administration of doses of anti-D immune
                                                                                                        nancy (62). This notwithstanding, until additional data            globulin with an Rh D-negative fetus (25).



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                                                                                                       Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                            Page 265 of 467 PageID 9761
                                                                                                            Is it necessary to repeat antibody screening             was substantially reduced (7). In a meta-analysis of
                                                                                                            in patients at 28 weeks of gestation before the          six trials with more than 10,000 women that compared
                                                                                                            administration of anti-D immune globulin?                postpartum anti-D immune globulin prophylaxis within
                                                                                                                                                                     72 hours of birth with no treatment or placebo, anti-D
                                                                                                        Current U.S. Preventive Services Task Force guide-           immune globulin greatly lowered the incidence of Rh D
                                                                                                        lines recommend repeated Rh D antibody testing for all       alloimmunization 6 months after birth (risk ratio [RR],
                                                                                                        unsensitized Rh D-negative women at 24–28 weeks of           0.04; 95% CI, 0.02–0.06), and in a subsequent preg-
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                                                                                                        gestation, unless the biological father is known to be Rh    nancy (RR, 0.12; 95% CI, 0.07–0.23) (71). However,
                                                                                                        D negative (grade B recommendation) (69). Consensus          because of concerns of alloimmunization occurring
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                                                                                                        guidelines from around the world recommend that a            before delivery, experts advocated for prophylactic
                                                                                                        routine antenatal antibody screen should be obtained at      antenatal anti-D immune globulin to be given in the
                                                                                                        28 weeks of gestation before administration of anti-D        third trimester (7). Several clinical trials have been
                                                                                                        immune globulin (25, 30, 31). The primary rationale for      conducted; however, the studies have been criticized for
                                                                                                        repeating the antibody screen is to identify women who       being of poor quality and varying substantially in study
                                                                                                        have become alloimmunized before 28 weeks of gesta-          design with many of the studies using historical rather
                                                                                                        tion in order to manage their pregnancies properly. The      than concurrent controls (72). In a meta-analysis of two
                                                                                                        cost effectiveness of routinely repeating the antibody       randomized controlled trials of 3,902 Rh D-negative
                                                                                                        screen has been questioned because of the low incidence      women that compared anti-D immune globulin at 28
                                                                                                        of Rh D alloimmunization occurring before 28 weeks of        weeks and 34 weeks of gestation with no antenatal
                                                                                                        gestation (70). Regardless, routine antibody screening       treatment (but all women who delivered a Rh-positive
                                                                                                        before anti-D immune globulin administration is advised.     infant received postpartum anti-D immune globulin),
                                                                                                                                                                     there was no clear difference in the incidence of Rh D
                                                                                                            How long does the effect of anti-D immune
                                                                                                                                                                     alloimmunization during pregnancy, after the birth of a
                                                                                                            globulin last?                                           Rh-positive infant, or within 12 months after the birth
                                                                                                        The median half-life of anti-D immune globulin is            of a Rh-positive infant. No outcome information was
                                                                                                        23 days in the third trimester (28). If delivery occurs      available on the incidence of Rh D alloimmunization
                                                                                                        within 3 weeks of the standard antenatal anti-D immune       in a subsequent pregnancy (22). However, methods for
                                                                                                        globulin administration, the postnatal dose may be           performing bias-adjusted meta-analysis, which enables
                                                                                                        withheld in the absence of excessive fetal–maternal          adjustment for differences in quality and design and,
                                                                                                        hemorrhage (29). The same is true when anti-D immune         thus, allows all available evidence to be synthesized,
                                                                                                        globulin is given for antenatal procedures, such as          are available. A meta-regression using these techniques
                                                                                                        external cephalic version or amniocentesis, or for           was performed to estimate the association between the
                                                                                                        third-trimester bleeding. An excessive number of fetal       observed effectiveness of different anti-D dose regi-
                                                                                                        erythrocytes not covered by anti-D immune globulin           mens (73). In a bias-adjusted meta-analysis of 10 stud-
                                                                                                        administration can be assumed to have entered maternal       ies, the pooled odds ratio for a reduction of sensitization
                                                                                                        blood if the results of a Kleihauer–Betke test are posi-     was estimated as 0.31 (95% CI, 0.17–0.56). The authors
                                                                                                        tive, and an appropriate dose of Rh-immune globulin          interpreted this result as providing strong evidence for
                                                                                                        should be administered.                                      the effectiveness of routine antenatal anti-D immune
                                                                                                                                                                     globulin prophylaxis in preventing sensitization of
                                                                                                            When should routine antenatal anti-D                     pregnant Rh D-negative women. Prophylactic anti-D
                                                                                                            prophylaxis be given during pregnancy to                 immune globulin should be offered to unsensitized Rh
                                                                                                            prevent alloimmunization?                                D-negative women at 28 weeks of gestation. Following
                                                                                                                                                                     birth, if the infant is confirmed to be Rh D positive, all
                                                                                                        Studies comparing the routine antenatal administration
                                                                                                                                                                     Rh D-negative women who are not known to be sen-
                                                                                                        of anti-D immune globulin to historic controls have
                                                                                                                                                                     sitized should receive anti-D immune globulin within
                                                                                                        shown significant reductions in the incidence of mater-
                                                                                                                                                                     72 hours of delivery.
                                                                                                        nal sensitization to the Rh D antigen. Women originally
                                                                                                        were offered targeted anti-D immunoglobulin with the             Is anti-D immune globulin prophylaxis indi-
                                                                                                        aim of preventing sensitization after the birth of a             cated after abdominal trauma in susceptible
                                                                                                        Rh-positive infant and after other potentially sensitizing
                                                                                                                                                                         pregnant women?
                                                                                                        events such as miscarriage, termination of pregnancy,
                                                                                                        or invasive obstetric procedures. With this approach,        Although the exact risk of Rh D alloimmunization is
                                                                                                        the incidence of hemolytic disease of the newborn            unknown, abdominal trauma is sometimes associated



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                                                                                                        with fetal–maternal hemorrhage, which may lead to               of gestation, provided the routine antenatal prophylaxis
                                                                                                        alloimmunization (74). The efficacy of anti-D immune            was given no earlier than 28 weeks of gestation (31).
                                                                                                        globulin in this clinical situation has not been tested in
                                                                                                        properly designed trials. However, authorities agree that            Should all Rh D-negative women be screened
                                                                                                        anti-D immune globulin should be administered to Rh                  for excessive fetal–maternal hemorrhage
                                                                                                        D-negative women who have experienced abdominal                      after delivery of a Rh D-positive infant?
                                                                                                        trauma (25, 30, 74). In Rh D-negative pregnant patients
                                                                                                                                                                        The risk of excessive fetal–maternal hemorrhage
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                                                                                                        who have experienced abdominal trauma, quantification
                                                                                                                                                                        exceeding 30 mL of Rh D-positive fetal whole blood
                                                                                                        of fetal–maternal hemorrhage should be done to deter-
                                                                                                                                                                        (the amount covered by the standard 300-microgram
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                                                                                                        mine the need for additional doses of anti-D immune
                                                                                                                                                                        dose of anti-D immune globulin) at the time of deliv-
                                                                                                        globulin (74).
                                                                                                                                                                        ery is approximately 2 to 3 per 1,000 (6, 7). Screening
                                                                                                                                                                        only pregnancies designated as high risk of excessive
                                                                                                            Should anti-D immune globulin be given in                   fetal–maternal hemorrhage, including cases of abruptio
                                                                                                            cases of intrauterine fetal death occurring in              placentae, placenta previa, intrauterine manipulation,
                                                                                                            the second or third trimester?                              or fetal death detects only 50% of patients who require
                                                                                                        Fetal death occurs in fetal–maternal hemorrhage in up           additional anti-D immune globulin (79). For this reason,
                                                                                                        to 13% of cases in which no obvious other cause (eg,            it is recommended that all Rh D-negative women giving
                                                                                                        hypertensive disease, fetal anomalies) is found (75–77).        birth to Rh D-positive infants undergo additional testing
                                                                                                                                                                        initially with a qualitative screening test (such as the
                                                                                                        Rh D alloimmunization has been reported in cases of
                                                                                                                                                                        rosette assay) and, if indicated, quantitative testing (such
                                                                                                        fetal death from massive fetal–maternal hemorrhage
                                                                                                                                                                        as the Kleihauer–Betke test) to determine the number of
                                                                                                        (78), although the contribution of this cause to the
                                                                                                                                                                        doses of Rh D immune globulin required (5, 25, 30, 31).
                                                                                                        overall problem of Rh D alloimmunization is unknown.
                                                                                                        The efficacy of anti-D immune globulin in this clinical
                                                                                                                                                                             Should anti-D immune globulin be withheld
                                                                                                        situation has not been tested in properly designed trials.
                                                                                                                                                                             from a woman undergoing postpartum
                                                                                                        However, because the benefits are thought to outweigh
                                                                                                        the risk, anti-D immune globulin should be administered
                                                                                                                                                                             sterilization?
                                                                                                        to Rh D-negative women who experience fetal death in            Although a primary reason to prevent alloimmunization
                                                                                                        the second or third trimester. All such cases should be         is to reduce risk in future pregnancies, there are other
                                                                                                        screened for excessive fetal–maternal hemorrhage at the         indications as well. Pregnancies occur despite steril-
                                                                                                        time of diagnosis of fetal death to determine if additional     ization procedures, and most are intrauterine. In addi-
                                                                                                        anti-D immune globulin is required (25).                        tion, alloimmunization complicates crossmatching of
                                                                                                                                                                        blood products in the future (80). Thus, Rh D-negative
                                                                                                            Should administration of anti-D immune                      women who are undergoing postpartum tubal steriliza-
                                                                                                            globulin be repeated in patients with a preg-               tion are candidates for treatment with anti-D immune
                                                                                                            nancy greater than 40 weeks of gestation?                   globulin. The downside of this approach is the low cost
                                                                                                                                                                        effectiveness of the strategy because of the low
                                                                                                        Anti-D immune globulin appears to persist for approxi-          probabilities of sensitization with the just-completed
                                                                                                        mately 12 weeks in most patients, based on pharmaco-            pregnancy, of sterilization failure, and of a need to
                                                                                                        kinetic studies using modern assay methods (28). In the         receive Rh D incompatible blood in the future (81). If an
                                                                                                        past, some authorities advised giving a second dose of          Rh D-negative woman who has had a sterilization pro-
                                                                                                        Rh D immune globulin to women who have not given                cedure does become pregnant later, even with a miscar-
                                                                                                        birth 12 weeks after receiving their antenatal dose (29).       riage or ectopic pregnancy, she should be offered anti-D
                                                                                                        However, the vast majority of women who give birth              immune globulin in a similar manner as women without
                                                                                                        more than 12 weeks after receiving antenatal Rh D               sterilization.
                                                                                                        immune globulin do not become alloimmunized. There
                                                                                                        is insufficient evidence at this time to make a recom-               What should be done if an Rh D-negative
                                                                                                        mendation for or against administering another dose of               patient is discharged without receiving anti-D
                                                                                                        anti-D immune globulin to a Rh D-negative woman who                  immune globulin after a potentially
                                                                                                        remains undelivered at 40 weeks of gestation. Current                sensitizing event?
                                                                                                        consensus guidelines either have no recommendation
                                                                                                        (25, 30) or state that a repeat antepartum dose of anti-D       The ideal time to administer anti-D immune globulin
                                                                                                        immune globulin is generally not required at 40 weeks           is within 72 hours of a potentially sensitizing event.



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                                                                                                        However, volunteers have received a range of partial to             their miscarriage should receive Rh D immune
                                                                                                        complete protection when anti-D immune globulin was                 globulin prophylaxis.
                                                                                                        given as late as 13 days after exposure (82). The longer            Rh D immune globulin should be given to Rh
                                                                                                        prophylaxis is delayed the less it will be protective, but it       D-negative women who have pregnancy termina-
                                                                                                        has been suggested that a patient may still receive some            tion, either medical or surgical.
                                                                                                        benefit from anti-D immune globulin as late as 28 days
                                                                                                        postpartum (29, 31).                                                Administration of Rh D immune globulin for all
                                                                                                                                                                            cases of ectopic pregnancy in Rh D-negative women
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                                                                                                                                                                            is recommended.
                                                                                                        Summary of
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                                                                                                                                                                            Anti-D immune globulin is recommended for Rh
                                                                                                                                                                            D-negative women who experience antenatal hem-
                                                                                                        Recommendations and                                                 orrhage after 20 weeks of gestation.
                                                                                                        Conclusions                                                         Anti-D immune globulin should be administered to
                                                                                                                                                                            Rh D-negative women who have experienced
                                                                                                        The following recommendations are based on                          abdominal trauma.
                                                                                                        good and consistent scientific evidence (Level A):
                                                                                                                                                                            Anti-D immune globulin should be administered to
                                                                                                            Prophylactic anti-D immune globulin should be                   Rh D-negative women who experience fetal death
                                                                                                            offered to unsensitized Rh D-negative women at 28               in the second or third trimester.
                                                                                                            weeks of gestation. Following birth, if the infant is
                                                                                                            confirmed to be Rh D positive, all Rh D-negative
                                                                                                            women who are not known to be sensitized should             References
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                                                                                                            ation.                                                          Database of Systematic Reviews 2013, Issue 3. Art. No.:
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                                                                                                            RecommendationStatementFinal/rh-d-incompatibility-               orig­i­nal re­search, although re­view ar­ti­cles and com­men­tar­
                                                                                                            screening. (Level III) ^                                         ies also were consulted. Ab­stracts of re­search pre­sent­ed at
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                               EXHIBIT 10

            ACOG Prac. Bull. 193 Ectopic-Pregnancy




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                               EXHIBIT 11

    Will a doctor be able to tell if you’ve taken abortion
                pills? – Women Help Women




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9/17/24, 11:13 AM                                    Will a doctor be able to tell if you've taken abortion pills? — Women Help Women
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    Will a doctor be able to tell if you've taken abortion
    pills?
    Monday, September 23, 2019 blog (/en/blog)                                                                                           Share




    Can a doctor tell if someone has used abortion pills?




     (/en/page/1094/woman-with-laptop-and-mug)


    There are many reasons one might choose to take abortion pills, as opposed to seeking abortion care in a clinical setting. Because 90%
    of US counties (https://data.guttmacher.org/states/table?state=US&topics=58&dataset=data) lack an abortion clinic, she may be unable
    to afford the cost of travel, which also may involve taking one or more days off of work (depending on the abortion regulations in her
    state), finding childcare, lodging, and more. She may prefer to control where and when she takes the pills, and where she experiences
    cramping, bleeding (https://womenhelp.org/en/page/1045/how-much-and-for-how-long-should-you-bleed-after-taking-misoprostol), and
    other symptoms. She may not want her abusive partner (https://womenhelp.org/en/page/976/what-reproductive-coercion-has-to-do-
    with-abortion-access), her parents (https://womenhelp.org/en/page/904/parental-notification-laws-are-toxic-for-young-people-seeking-
    abortion-care), or anyone in her life to find out about her pregnancy or her abortion. If this is the case, she will likely be anxious that,
    even once her abortion is complete (https://womenhelp.org/en/page/991/how-do-i-know-if-my-medical-abortion-was-successful), that
    someone in the future, namely a doctor, will learn that she's had an abortion.

    Can a doctor tell if someone has used abortion pills? The answer is no, if they have been taken orally. (If the pills are inserted into the
    vagina, a doctor may be able to tell if there are traces remaining.) If one took the mifepristone/misoprostol combination, or misoprostol
    on its own, and she does seek medical care because of complications (https://consult.womenhelp.org/en/page/416/signs-of-
    complication), she does not need to tell a health care provider that she took abortion pills. The symptoms of a miscarriage and a
    medical abortion are the same, and there are no tests that can prove one has had a medical abortion(s). (https://nwhn.org/abortion-pills-
    vs-miscarriage-demystifying-experience/)

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https://womenhelp.org/en/page/1093/will-a-doctor-be-able-to-tell-if-you-ve-taken-abortion-pills                                                    1/2
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                   tell if one has had a medical         195-2
                                                 abortion,          Filed 10/11/24
                                                           and in situations              Page
                                                                             where one fears for her288  of 467
                                                                                                     personal safety,PageID
                                                                                                                     or doesn't 9784
                                                                                                                                trust her
    health care provider with this information, that's a good thing. But if neither of these is the case, it's important to consider why someone
    would not want her doctor to know her entire medical history, including abortions. Is she holding back this information out of shame?
    Does she secretly fear that abortion has endangered her fertility? Abortion doesn't impact future fertility, and doctors who traffic in actual
    medicine know this, and should make sure their patients know it as well.

    Abortion stigma (https://womenhelp.org/en/page/946/abortion-stigma-101-and-how-it-interferes-with-access-to-self-managed-abortion),
    or ideas and beliefs about abortion that are medically inaccurate and negative, can result in those who take abortion pills not seeking
    medical care if they need it, taking the pills incorrectly, or getting the pills from sources that aren't safe, since they don't want anyone to
    know that they're seeking abortion. Health care providers should not in any way contribute to the perpetuation of abortion stigma; in fact,
    it's their job to ensure that people get accurate information and medical care regardless of their personal beliefs.

    To learn more about about abortion pills, how they work, what to expect, and more, check out Women Help Women's FAQs




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https://womenhelp.org/en/page/1093/will-a-doctor-be-able-to-tell-if-you-ve-taken-abortion-pills                                                                                                               2/2
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                               EXHIBIT 12

             How do you know if you have abortion
                 complications_ @ AidAccess




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9/17/24, 11:14 AM                                      How do you know if you have abortion complications? @ AidAccess
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  ☰                                                           AidAccess (/en/)
                                             Get Abortion Pills (/en/i-need-an-abortion)


      How do you know if you have abortion
      complications?
      If performed in the first 13 weeks, a medical abortion carries a very small risk of complications.
      This risk is the same as when a woman has a miscarriage.



      What are the possible abortion pill complications and
      what should you do?
      These are the possible complications, their symptoms and treatment:


     Heavy bleeding (occurs in less than 1% of medical abortions)
      Symptom: Bleeding that lasts for more than 2 hours and soaks more than 2 maxi sanitary pads per hour. Feeling
      dizzy or light-headed can be a sign of too much blood loss. This is dangerous to your health and must be treated
      by a doctor.
      Treatment: a vacuum aspiration (curettage.) When available, a woman should start taking 2 Misoprostol under the
      tongue immediately at home before going to the hospital. Very rarely (less than 0.2%) a blood transfusion is
      needed.


     Incomplete abortion
      Symptoms: heavy or persistent bleeding and/or persistent severe pain.
      Treatment: 2 tablets of Misoprostol or/ and a vacuum aspiration (curettage)


     Infection
      Symptom: If you have a fever (more than 100.4 degrees Fahrenheit) for more than 24 hours, or you have a fever
      of more than 102.2 degrees Fahrenheit, there might be an infection that needs treatment.
      Treatment: antibiotics and/or vacuum aspiration.

      If you think you might have a complication you should go to a doctor immediately. You do not have to tell the
      medical staff that you tried to induce an abortion; you can tell them that you had a spontaneous miscarriage.
      Doctors have the obligation to help in all cases and know how to handle a miscarriage.



      Miscarriage vs abortion symptoms
      The symptoms of a miscarriage and an abortion with pills are exactly the same and the doctor will not be able to
      see or test for any evidence of an abortion, as long as the pills have completely dissolved. If you used the
      Misoprostol under the tongue as our protocol recommends, the pills should have dissolved within 30 minutes. If you


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https://aidaccess.org/en/page/459/how-do-you-know-if-you-have-complications-and-what-should-you-do                                 1/2
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      tookCase   2:22-cv-00223-Z
           the pills vaginally, you mustDocument    195-2
                                        check with your fingerFiled 10/11/24
                                                               to make            Page
                                                                       sure that they are291  of 467Traces
                                                                                          dissolved.   PageID
                                                                                                           of the 9787
                                                                                                                  pills
  ☰may be found in the vagina up to four days afterAidAccess
                                                   inserting them. (/en/)
                                                 Get Abortion Pills (/en/i-need-an-abortion)
     Ongoing pregnancy
      Less than 1% of women experience ongoing pregnancy.[1] This can be determined by a pregnancy test after 3
      weeks or an ultrasound within 10 days. If the medical abortion treatment failed, there is a slight increase in the risk
      of birth defects such as deformities of the hands or feet and problems with the nerves of the fetus. To treat an
      ongoing pregnancy, you must repeat a medical or surgical abortion.


      [1] “Low-dose Mifepristone Regimens are Effective and Safe for Early Abortion.” The Guttmacher Institute.
      https://www.guttmacher.org/journals/ipsrh/2013/07/low-dose-mifepristone-regimens-are-effective-and-safe-early-abortion



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                                                                                     We answer all of your abortion pill…
   Support Aid Access (/en/page/301373/support-aid-access)
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                               EXHIBIT 13

 #AbortionChangesYou_ A Case Study to Understand the
    Communicative Tensions in Women’s Medication
                Abortion Narratives




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         ISSN: (Print) (Online) Journal homepage: https://www.tandfonline.com/loi/hhth20




   #AbortionChangesYou: A Case Study to Understand
   the Communicative Tensions in Women’s
   Medication Abortion Narratives

   Katherine A. Rafferty & Tessa Longbons

   To cite this article: Katherine A. Rafferty & Tessa Longbons (2021) #AbortionChangesYou: A Case
   Study to Understand the Communicative Tensions in Women’s Medication Abortion Narratives,
   Health Communication, 36:12, 1485-1494, DOI: 10.1080/10410236.2020.1770507
   To link to this article: https://doi.org/10.1080/10410236.2020.1770507




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HEALTH COMMUNICATION
2021, VOL. 36, NO. 12, 1485–1494
https://doi.org/10.1080/10410236.2020.1770507




#AbortionChangesYou: A Case Study to Understand the Communicative Tensions in
Women’s Medication Abortion Narratives
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    ABSTRACT
    One out of four women in the United States will have an abortion by age 45. While abortion rates are
    steadily declining in the United States, the rate of medication abortions continues to increase, with 39%
    of all abortions being medication abortions. Our study is one of the first to analyze women’s narratives
    after having had a medication abortion. Using relational dialectics theory, we conducted a case study of
    the nonpartisan website, Abortion Changes You. Our contrapuntal analysis rendered four sites of
    dialectical tension found across women’s blog posts: only choice vs. other alternatives, unprepared vs.
    knowledgeable, relief vs. regret, and silence vs. openness. Each site of struggle characterized a different
    noteworthy moment within a woman’s medication abortion experience: the decision, the medication
    abortion process, identity after abortion, and managing the stigmatizing silence before and after the
    abortion. We discuss theoretical and practical implications about how the larger politicized discourses
    prevalent within the abortion debate impact the liminality of women who are contemplating
    a medication abortion and affect their own narrative construction about the medication abortion
    experience.




One out of four women will undergo an abortion procedure                                       to a protocol where most of the abortion occurs individually
in the United States by age 45 (R. K. Jones & Jerman, 2017),                                   at home with limited clinician assistance (Biggs et al., 2019).
and 862, 320 reported abortions occur each year (Jones et al.,                                 Given the privatization of abortion provision, research is
2019). Despite its frequency, abortion remains a highly con-                                   needed to examine the distinct experiences of women who
tested and stigmatized biopolitical public health issue in the                                 have undergone this type of abortion. After all, researchers
United States (Altshuler et al., 2017). The historic Roe v. Wade                               have found that women often elect to have a medication
case has resulted in two nationalized political movements –                                    abortion over a surgical abortion because of more privacy,
Right to Life and Right to Choice – that have juxtaposed                                       convenience, and the perception of having more control
stances on the legality of abortion. However, the stigma and                                   (Newton et al., 2016). However, medication abortion has
shame associated with abortion precede and transcend this                                      been found to have a higher complication rate that results in
historic case. Stormer (2010) concluded that a collective mem-                                 more emergency department visits post-medication abortion
ory of secrets and shame has characterized the topic of abor-                                  compared to post-surgical abortion (Upadhyay et al., 2015).
tion since Planned Parenthood’s 1955 conference, “Abortion                                         Medication abortion practices in the U.S. adhere to the
in the United States”.                                                                         following evidence-based guidelines: using mifepristone in
   While abortion rates are steadily declining in the U.S.                                     combination with a prostaglandin to carry success rates up
(Jones et al., 2019), the rate of medication abortions continues                               to 99% for early pregnancy termination with rare occurrence
to increase. In 2000, the U.S. Food and Drug Administration                                    of serious adverse events. However, the focus of this research
(FDA) approved mifepristone to be used in combination with                                     is on successful terminations, increases in abortion access, and
misoprostol as a form of medication abortion. Since then, the                                  reductions of in-person clinic visits (H. E. Jones et al., 2017).
annual number of medication abortions has risen steadily: less                                 There remains a dearth of research, particularly in the U.S.,
than 6% of all abortions in 2001 to 39% of all abortions in                                    that examines women’s personal experiences with having this
2017 (Jones et al., 2019, 2008). Between 2014–2017, the num-                                   type of abortion procedure (e.g., acknowledging their emo-
ber of medication abortions provided at facilities other than                                  tions, understanding their self-efficacy with completing the
hospitals increased by 25% (Jones et al., 2019). Presently, over                               abortion at home, being aware of whether they are adequately
one-third of all reported abortions in the U.S. are medication                                 informed about the process). To our knowledge, the only
abortions (Jones et al., 2019). In 2016, the FDA protocol                                      study is from Sweden; researchers used semi-structured tele-
expanded provider eligibility for dispensing mifepristone to                                   phone interviews with 119 women who had a medication
women. Thus, abortion provision is transitioning from for-                                     abortion (Hedqvist et al., 2016). They found that almost half
malized medical procedures conducted in health care settings                                   (43%) experienced more bleeding than expected, and one-

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fourth (26%) bled for more than four weeks. In addition, one-       Relational Dialectics Theory (RDT)
third (34%) stated that they received insufficient information      Because talking about one’s abortion experience remains stig-
about what to expect. Women who had never had an abortion           matized and muted (Cockrill & Nack, 2013), examining
nor had gone through childbirth were more likely to feel            women’s stories after having had a medication abortion may
misinformed.                                                        illuminate the competing discourses surrounding this debated
   Scholars know that the medication abortion process is            moral and social issue (e.g., largely evident in the two polar-
distinct from surgical abortions, with the features of medica-      ized movements: Right to Choice v. Right to Life), as well as
tion abortion (e.g., lack of medical presence, time required for    some of the larger dominant discourses from the polarized
abortion completion, personal experiences with pain and             political movements that influence how women tell their own
bleeding) influencing women’s perception and satisfaction           medication abortion story. Given this goal, RDT (Baxter,
(Newton et al., 2016). Yet, this research on women’s satisfac-      2011) is a relevant framework to assess the competing cultural
tion with medication abortion is often conflicting (Kimport         norms and expectations, which are also referred to as dis-
et al., 2012) and limited (Hedqvist et al., 2016). Given that       courses. At any given moment, discourses may be dominant/
women increasingly prefer medication abortion over surgical         centripetal or marginalized/centrifugal (i.e., anything that
abortion (Newton et al., 2016), the need for studying women’s       deviates from the dominant discourse). Scholars use RDT as
experiences post-medication abortion becomes imperative.            a framework to examine the interplay between certain dis-
                                                                    courses that then construct social meaning and reality for
                                                                    individuals. Within the theory, there are four types of utter-
Importance of analyzing unsolicited blogging narratives             ances (i.e., speaking chains) from which dialectical tensions
about one’s abortion                                                (i.e., centripetal vs. centrifugal) may stem: distal already-
                                                                    spokens – utterances reflecting the cultural meaning and dis-
To understand women’s medication abortion experiences, it is        courses that cultural members give voice to in their talk;
important to study platforms where women engage in unsoli-          proximal already-spokens – utterances conveying past mean-
cited talk. Unsolicited talk is ideal for collecting formative      ings and discourses within a given relationship; proximal not-
research that can be studied to explore individual and cultural     yet-spokens – immediate response from the hearer in the
experiences (Baxter, 2011). First, the audience of these texts is   interaction; and distal not-yet-spokens – anticipated responses
a “generalized other” (Mead, 1982), or culture, rather than         of a generalized other within the culture. The purpose of this
a specific individual with whom the author has a relationship       paper is to examine how, if at all, these four types of utterance
(Langellier & Peterson, 2004). The absence of a specific audi-      chains are present within women’s medication abortion
ence encourages narrators to provide an unadulterated account       narratives.
of their experience, rather than tailor their story to specific         A second aspect of RDT (Baxter, 2011) is to understand
individuals (e.g., a friend who has had a certain stance on the     how social reality is created discursively through power.
abortion issue). Similarly, anonymity allows for potentially        Power is located in the struggle between marginalized/centri-
muted or stigmatized groups to post information without fear        fugal and dominant/centripetal discourses. There are three
of sanctioning. In a culture where abortion remains highly          ways that power can be located within discourses: diachronic
contested and talk about having had an abortion is often            separation, synchronic interplay, and discursive transforma-
muted or stigmatized (Altshuler et al., 2017), it is likely that    tion. Diachronic separation occurs when discourses emerge in
women may prefer to self-disclose their medication abortion         different texts or locations. Synchronic interplay is when dis-
experiences online rather than via face-to-face channels.           courses negate (total rejection of a competing discourse),
Furthermore, because women traditionally constitute a co-           counter (offer limited legitimacy to a discourse), and/or enter-
culture who have historically been muted and must strategically     tain (consider multiple worldviews/discourses or general
use communication to participate in a dominant patriarchal          ambivalence toward discourses) one another. Finally, discur-
society (M. Orbe, 2005; M. P. Orbe, 1998), scholars must study      sive transformations occur when the interplay of competing
platforms where women are sharing unsolicited stories in back-      discourses creates new meanings rather than remaining in
channel outlets (e.g., online blogs).                               opposition to one another (Baxter, 2011). This current study
                                                                    will focus on examining the synchronic interplay among the
Online blogs as a platform for unsolicited talk                     centripetal and centrifugal discourses.
One backchannel platform of unsolicited talk is online blogs.
Blogs provide a computer-mediated platform where people
                                                                    A case study of women who have experienced medication
can self-disclose their personal thoughts, feelings, and experi-
                                                                    abortion
ences to others online. The proliferation of blogs in the last
decade has transformed the way that we, as a society, “share,       To analyze women’s personal narratives and the larger dis-
create, and curate information with individuals and commu-          courses influencing their talk about their own medication
nities” (Becker & Freburg, 2014, p. 415). Blogs often resemble      abortion, we conducted a case study of the website www.
online personal journal entries that enable writers to freely       abortionchangesyou.com. We selected this website for sev-
express themselves in ways that may be less face-threatening        eral reasons: it is not openly politicized, bloggers do not
or stigmatizing (M. Jones & Alony, 2008). One of the many           interact with others, bloggers post anonymously, bloggers
applications and uses of blogs is to share experiences and          do not need to create an account in order to post, and the
events through storytelling.                                        platform is a space for unsolicited stories with no reward or
                                                                                                          App. 000292
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compensation to those who post. Furthermore, from                    Data analysis and synthesis
a strategic storytelling standpoint (Tyler, 2007), it is impor-
tant to study women’s blogs from an organization that                The case study approach allows for different data analysis
recognizes and respects each woman’s individual narrative,           strategies (Norander & Brandhorst, 2017). Because the pur-
as opposed to propagating narratives that openly align with          pose of our case study is to develop a thick description of the
the agenda of only one political movement. The woman                 case, using an interpretive analytic strategy is most prudent.
who created this website has had an abortion herself and             We selected Baxter’s (2011) contrapuntal analysis to study the
openly shares this information on the “About Us” page. The           meanings circulating around individual and relational identi-
naming of her own abortion experience grounds co-cultural            ties evidenced within the language choices of the women
theorizing (M. Orbe, 2005; M. P. Orbe, 1998) such that               blogging about their own medication abortion. Given the
other women who feel muted may be empowered and cap-                 larger competing discourses about the legality of abortion in
able of finding similar language strategies.                         the U.S., we felt that the struggle of competing and contra-
    In this case study, we explore the complexity and conse-         dictory discourses would likely be apparent in women’s per-
quentiality of women’s language choices with anonymously             sonal blogging narratives. Further, contrapuntal analysis
telling their own medication abortion story, as well as offer        (Baxter, 2011) offered a critical perspective to our analysis as
the potential to capture the interplay of individual, organiza-      we studied the voices of marginalized women (e.g., women
tional, and social discourses surrounding the abortion debate.       who have had a medication abortion) whose perspectives are
The current divisiveness surrounding the socio-political cli-        often muted and stigmatized in society.
mate in the U.S. about abortion provides further exigency and            To understand the competing discourses and how meaning
credence for this research. Our critical analysis is rooted in the   was constructed through their interplay, we conducted the
interpretive paradigm with the purpose of explaining, describ-       first stages of thematic analysis to identify the discourses
ing, and illustrating the stories that women share on this           evident within each blog post (Braun & Clarke, 2006). This
website (Tracy, 2013). The following research questions              process required the three coders to independently familiarize
guide our iterative analysis:                                        themselves with the entire data set: reading the blogs several
                                                                     times and conducting line-by-line coding that captured the
RQ1: What topics are women disclosing to the “generalized            essence of the story in each line. Many of the inductive
other” in their blog?                                                analytic codes applied to the text were descriptive (e.g., uncer-
                                                                     tainty; not ready), process (e.g., discovering pregnancy, taking
RQ2: What (if any) sites of struggle characterize women’s            the pills), or in vivo codes (e.g., wanted baby; alone; Saldaña,
abortion narrative?                                                  2013). The coders met regularly for five months to discuss the
                                                                     codes independently applied to each blog post. During this
                                                                     time, codes emerged into themes as processes were identified
Methods                                                              in the data and repetitively noticed by all three coders (e.g.,
We conducted a case study approach (Arden Ford et al., 2014)         changing self perception, silence, responsibility, good parent-
of one website, www.abortionchangesyou.com. Case studies             ing). Discrepancies in coding were discussed during coding
are a contextual examination used to understand                      meetings and resolved through group consensus (Strauss &
a phenomenon within a particular context “and with respect           Corbin, 1990).
to multiple perspectives within that context” (Arden Ford                During the third and fourth months of data analysis, we went
et al., 2014, p. 118). By employing a case study approach, we        back to the data set to identify where discourses competed (e.g.,
were able to draw on multiple perspectives (e.g., 98 different       culpability; justification). Here, we paid particular attention to
blog stories) that were rooted in a specific context. This           where the bloggers used instances of negating (e.g., claiming
methodological choice is common in other communication               another discourse as irrelevant or rejecting it), countering (e.g.,
research, where the unit of analysis is an organization and the      offering a particular discursive position in replacement of
goals are to provide an in-depth understanding of the unique         another), and entertaining (e.g., not completely rejecting
particulars and complexities of the case within a larger social      a discourse, but instead noting the potential possibilities with
context (Norander & Brandhorst, 2017).                               different discourses; Baxter, 2011). Women used negating when
   Our case study included 98 blogs from women who have              saying, “can’t,” “not,” “couldn’t,” and “never.” Examples of
had a medication abortion and shared their story on the              countering were most apparent when women used the word
website. We included all blogs posted between                        “but.” Entertaining often occurred when women used the
October 2007 – February 2018. This date range reflects the           words “possibility” and “could have.” Finally, we identified
time period between the submission of the first medication           where and how competing discourses interpenetrated (Baxter,
abortion blog on the website in 2007, and the point at which         2011). Dialogically contractive discursive practices are silenced
we extracted our data for analysis in 2018. Women’s blogs            discourses. Examples of these discursive practices included
ranged in length from one paragraph to three pages of text,          negating talk, such as: “can’t talk about the abortion,” or “there
single-spaced (the average number of words for the 98 blogs          was no other choice.” In contrast, dialogically expansive discur-
was 655 words). All 98 blogs included content about one’s            sive practices are discourses that are encouraged and amplified.
own medication abortion; the vast majority (91 women; 93%)           Women used these discourses when saying things like: “I don’t
also discussed the events and emotions experienced before            want the procedure, but I don’t want the baby” or “hoping for
and after their medication abortion.                                 a brighter future now that it is over.”
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    Data were analyzed until the point of theoretical saturation     The decision: Only choice vs. other alternatives
(i.e., no new thematic categories were present in the blog
                                                                     Part of women’s narratives included a detailed account of
posts; Strauss & Corbin, 1990), which occurred after the 54th
                                                                     their decision to have a medication abortion. This decision
blog post. However, we continued to analyze the remaining
                                                                     was described as being rife with contradiction, and not
blog posts in an effort to verify that our analysis of the
                                                                     a flippant choice. Women enumerated various reasons that
discourses evident in the 54 posts accurately reflected all of
                                                                     were influential in their decision-making process: bad tim-
the posts within the entire data set. Further, we wanted to
                                                                     ing, financial instability, relationship problems, lack of
extract the best exemplars from the entire case study and
                                                                     family support, not married, too young, too many other
desired that quotations within all posts be considered for
                                                                     children, not prepared to be a parent yet, and/or best deci-
representation. Clear and concise exemplars of competing
                                                                     sion given the circumstances. After stating one of the afore-
discourses within women’s narratives were then selected and
                                                                     mentioned reasons, 92 women (94%) also explained that
agreed upon by all coders.
                                                                     abortion was the only or best option given the circum-
                                                                     stances. For example, one woman said: “I felt the child
                                                                     growing inside of me. I was rubbing my stomach without
Trustworthiness and rigor
                                                                     me even knowing. I felt the doubt in my heart, but kept
Evaluation of the quality of case study research should be           telling myself this is the best decision I needed to make”
determined by criteria associated within the naturalistic para-      (6–18-17). A different woman recounted:
digm (Arden Ford et al., 2014). Trustworthiness is the criter-
                                                                        “I always leaned more towards keeping the baby and my boy-
ion that assesses the credibility, transferability, dependability,      friend more towards abortion. I knew I could have the baby but it
and confirmability of the data collection and analysis pro-             would be difficult. We both work jobs that barely pay over mini-
cesses (Lincoln & Guba, 1985). We upheld these principles               mum wage and we both were scared to grow up and care for
when conducting this study by beginning with a careful                  a child” (10-24-17).
design that clearly defined its purpose, research questions,         Collectively, these exemplars illustrate how any possibility of
and notion of “boundedness” (i.e., establishing the limits           keeping the baby was negated by one of the reasons that
and context of the case; Arden Ford et al., 2014). Second,           warranted the need for having a medication abortion. Many
we spent sufficient time developing and analyzing the case:          of the reasons women cited for choosing abortion align with
our analysis transpired over five months. Third, we upheld the       the discourses from the Right to Choice movement: “A preg-
principles of reflexivity by using inductive coding for all blog     nancy to a woman is perhaps one of the most determinative
posts and writing individual and group memos throughout              aspects of her life. It disrupts her body. It disrupts her educa-
the entire coding process as a way to remain transparent and         tion. It disrupts her employment. And it often disrupts her
keep a data audit. Fourth, we had a team of three female             entire family life” (Roe v. Wade).
coders, which allowed for the presence of multiple feminine             However, the decision to have a medication abortion was
perspectives.                                                        not always independently made by the woman. In fact, 52
                                                                     women (53%) reported that the father to their child or other
                                                                     family members (e.g., parents) negated women’s own desires
Findings                                                             to keep the baby. For example, one woman said:
Our research questions focused on the topics that women                 “I remember my husband telling me, ‘well, don’t expect me to be too
discussed in their personal online blogging narrative posted            happy with the idea of having it if you decide to keep it. I won’t be
to www.abortionchangesyou.com (RQ1), and what (if any)                  too loving.’ That was a knife through my heart and I made the tough
sites of struggle were evident in these narratives (RQ2). Our           decision to go through with the abortion” (7-6-12).
contrapuntal analysis (Baxter, 2011) rendered four sites of
                                                                     Other family members also influenced women’s medication
dialectical tension: only choice vs. other alternatives, unpre-
                                                                     abortion decision, albeit her own desires to keep her baby:
pared vs. knowledgeable, relief vs. regret, and silence vs.
openness. Each site of struggle characterized a different               “But my father on the other hand was a different story. He is an
noteworthy moment within a woman’s medication abortion                  old school Puerto Rican who told me that I had to leave if I kept
                                                                        the baby. I had 2 weeks to get an abortion or else he would disown
experience: the decision, the medication abortion process,
                                                                        me forever” (3-8-2018).
identity after the abortion, and managing the stigmatizing
silence before and after the abortion. When recounting their         In both accounts, women communicated their personal
decision to have an abortion, women referenced the struggle          choice to have their baby; yet, their choice was negated by
of only choice vs. other alternatives. As women discussed the        family and friends who advocated that abortion was neces-
medication abortion process, the competing discourse of              sary. Centrifugal discourses about others influencing or pres-
unprepared vs. knowledgeable was evidenced. Women’s nar-             suring women to have an abortion are marginalized
ratives about their identity after the abortion indicated the        discourses.
dialectical struggle of relief vs. regret. Finally, the challenges      Finally, when making their decision, 48 women (49%)
with managing the tension between silence vs. openness               reported vacillating between keeping their baby and having
pervaded women’s narratives. Below we discuss each site              a medication abortion. Ultimately, outside circumstances or
of struggle using exemplar quotes from women’s blogs.                other people influenced their decision to abort. As mentioned
Quotes were not edited from their original post.                     earlier, 92 women (94%) shared that abortion was the best or
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only option available given the circumstances. In many of                     were pulled out slowly. I collapsed screaming on my bathroom
these narratives, women did not believe nor realize that                      floor, sweat, tears, blood, vomit, and shit all over me” (10-9-09).
other alternatives, besides abortion, were tenable options                 Similarly, a different woman recounted:
until after having the abortion. For instance, one woman said:
                                                                              “They told me, if you by chance are in pain you can take these
   “They all tell you ‘it’s your choice’ in the moment, but you don’t         pain relievers. If by chance I’m in pain? That sounded like the
   feel that it is. Being unable to afford it, unable to tell your loved      process would be easy and not so painful. Well NO that was not
   ones, not having the help or feeling unable to support a child.            the case, within 30 minutes I felt really bad cramping. It just kept
   When your partner doesn’t want it like you do. All these things            getting worse and worse. I was crying and moaning from the pain.
   push you, blind you to a decision that you don’t realize will              I literally thought I was dying” (9-2-17).
   destroy you” (8-23-17).
                                                                           In both instances, women’s personal abortion experiences did
Similarly, another woman recounted: “I was kind of excited                 not align with the proximal-already-spoken messages (e.g.,
but I was so scared to tell my family …. I told my mom and                 “it’s just a pill”) that they were told by their medical providers.
her first response was I hope you’re getting an abortion.                      When women’s personal experiences contradicted what
You’re going to be a terrible mom” (11-5-17). Both exemplars               they were originally told by health care providers, family, or
illustrate the distal and proximal already-spoken discourses               friends women felt deceived. One woman communicated her
that influenced each woman’s decision to have a medication                 frustration by saying: “They told me it wouldn’t hurt and
abortion. Ultimately, these centripetal discourses (coming                 I wouldn’t feel a thing. THAT WAS SUCH A LIE. I felt
from society, the pro-choice movement, other people in                     everything, I heard everything, I seen everything. I ended up
their lives, or their own fears) negated the centrifugal dis-              blacking out from the pain and puking all over myself” (11-
course that other alternatives (adoption or keeping their baby)            5-17). Similarly, another woman said:
were justifiable options available to them.
                                                                              “We were told we would go back to normal and it won’t affect us
                                                                              but they were wrong!!! All I feel is emptiness and hatred. I used to
                                                                              be the happiest most positive girl. All I want is to take it back”
The medication abortion process: Unprepared vs.                               (12-15-14).
knowledgeable
                                                                           Even if women did not explicitly report feeling deceived,
Medication abortions where women undergo most of the                       many women stated that they were inadequately prepared
process individually at home with limited assistance from                  about what to expect. For instance, one woman said: “I
a medical provider are becoming more commonplace (Biggs                    knew to expect blood clotting, but nothing could’ve prepared
et al., 2019; H. E. Jones et al., 2017). While this process is             me for seeing her body. It was the color of my own skin, and
generally reported to be safe and adhere to evidence-based                 was actually starting to look like a person” (1-8-16). Within
guidelines (H. E. Jones et al., 2017), little is known about               women’s narratives, they expressed a desire for more detailed
women’s personal experiences with having this type of abor-                information about things such as: potential side effects, the
tion. All women in this case study reported having had                     intensity of cramping and bleeding, what to do after passing
a medication abortion. Forty-eight women (49%) provided                    the baby, and potential negative emotions (e.g., fear, uncer-
detailed accounts of their actual medication abortion experi-              tainty, sadness, pain) felt after the abortion. When this com-
ence at home. Women said things like: “I felt her come out”                prehensive information was not communicated to them prior
(1-8-16). Some women detailed the hardships of this process                to taking the pills at home, women reported feeling misled,
by saying: “I was in so much pain on the bathroom floor”                   misinformed, and even deceived. These types of experiences
(3–15-18); “the pills made me vomit, lose control of my                    and feelings after having had a medication abortion remain
bowels, sweat, faint, pass out, and go into full labor” (10-               centrifugal discourses that are muted within the abortion
9-09); and “I lay on my bed in the fetal position, holding                 debate.
my stomach” (9-5-15). Other women did not self-report such
negative experiences: “The actual process of taking the pill
was frightening but not as bad as I imagined” (9-8-15) and “I              Identity after medication abortion: Relief vs. regret
just popped some pills and got a period” (7-1-15).                         A third site of dialectical struggle was found in women’s talk
   In analyzing women’s talk about the medication abortion                 about their identity after the medication abortion. Most
process, a second site of struggle was identified: knowledgeable           women (N = 81; 83%) reported that their medication abortion
vs. unprepared. In this struggle, women discussed how they                 changed them, which is not surprising given the name of the
were told certain information about the medication abortion                website: Abortion Changes You. Of noteworthy significance is
process (e.g., when to take the pills, what the pills do, the need         understanding how women talked about these changes and
to contact a provider if complications arise), but ultimately              the tension evident in this part of their narrative. Of the 81
this information was insufficient, limited, or misleading.                 women (83%) who stated feeling changed after their medica-
Fourteen women (14%) reported being inadequately prepared                  tion abortion, 75 women (77%) reported being changed in
about what to expect during the medication abortion process.               a negative way. Here, women said things like: “I really thought
For example, one woman said:                                               that I could somehow go back to the way things were before
   “They lied to me and said they would give me some pills that            finding out I was pregnant. But I cannot. I am not the same
   would make it just like a late period with a little cramping … The      person, and my husband is certainly not the same either”
   pain of the contractions was so intense I felt like my intestines       (7–11-11). Negative changes often occurred when women’s
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actual abortion experience did not align with their precon-                term regret was rife with contradiction and also included
ceived ideas about what to expect. These ideas were informed               talk about initial relief. For instance, one woman said: “I
by larger discourses from society, as well as messages from                know I did the right thing for myself and it would be a lot
others (e.g., health care providers). Three women indicated                harder for me right now. But I still would give anything to go
a positive change after their abortion by noting something                 back in time and keep my baby” (11–19-12). Regret was
like:                                                                      regarded as a process that was realized over time and through
                                                                           one’s life experience. One woman stated: “Had I known how
   “Abortion did change my life … As soon as the stomach cramps
   (only slightly worse than regular menstrual pains) went away,
                                                                           badly I would feel now, I would have kept the baby, even if
   I felt like a whole new person. I couldn’t believe how much energy      I had to go through it alone” (10–21-15). Another woman
   I had again. It was like waking out of a deep depression” (7-1-15).     elaborated upon this process by saying:
Positive changes were denoted by experiencing an initial sense                “Knowing what I know now at almost a year later I would not
of relief with no longer being pregnant. Finally, three women                 have the abortion. That was my child and I should have done
                                                                              what I needed to do to give them a great life. I thought I had no
were ambivalent or didn’t report their change as positive or                  options but I did. I should have put my child first. No matter how
negative. One woman said: “I truly believe there is no right                  early the abortion is its still a growing life and i wish i had done
and wrong with this situation, it is a life changer but it’s your             things differently” (4-30-17).
choice” (9-7-10).
                                                                           In both accounts, women defined regret as the emotional
   Women discussed various issues when talking about
                                                                           pain, suffering, remorse, and guilt felt after the medication
change: impact on their emotional health as a result of the
                                                                           abortion. Yet, these emotions were often coupled with initial
abortion, differences in their relationship with their partner/
                                                                           feelings of relief from no longer being pregnant. In sum, the
spouse, and new perspectives on their general views of abor-
                                                                           decision to have a medication abortion was significant, trans-
tion. However, conflicting emotions were evident across all
                                                                           formative, and lifechanging for these women. One woman
women’s blog posts. For instance, one woman said:
                                                                           noted this change by saying: “From the outside, our life
   “I went home and confessed to my mother … She helped pull the           looks exactly the same as it would have. But on the inside,
   gigantic blood clots from my body … No one told me it would be          everything has changed for me” (10–21-15). Collectively, these
   like this; the clinic simply gave me what I asked for without telling   accounts expose how the different emotional changes resulted
   me what it entailed” (7-20-16).
                                                                           in a lived, dialectical tension between their life before the
Similarly, another woman recounted: “I thought maybe after                 abortion and their life after the abortion.
the due date I would feel better, but it doesn’t end there. It
NEVER ends! The pain and emptiness stays there forever”
(4–30-17). In these different accounts, the women alluded to               Managing the comprehensive stigmatizing silence:
their initial expectations of what the medication abortion                 Silence vs. openness
would entail or what others told them would happen after
their abortion. When a woman’s actual medication abortion                  Across women’s narratives, there existed an overarching dia-
experience did not align with these messages, women felt                   lectical tension of silence vs. openness, which was difficult for
disempowered, vulnerable, lost, upset, and sometimes                       many women to manage when interacting with others. In this
deceived.                                                                  struggle, women shared how their medication abortion was
   When discussing the changes experienced after the abor-                 often a solo, private experience that was not openly shared
tion, many women talked about emotional changes. One                       with others. Many women decided not to inform certain
woman said:                                                                family members about their pregnancy and abortion.
                                                                           Women noted feelings of shame, embarrassment, worry, or
   “At first it all seemed like a weight had been lifted and everything    fear as some of the reasons for not telling others. Along with
   was okay then I started to feel really sad and low and now all I do     stating these emotions, women said things like: “I never told
   is think about how many weeks pregnant I would have been and
   what my baby would look like and I miss so much” (4-26-10).
                                                                           the father and I don’t intend to” (8-4-17); “I don’t know if
                                                                           I will ever tell my husband and children about what I did”
As mentioned, processing one’s abortion experience was emo-                (2–11-12); or “I couldn’t talk to my family” (3–16-17). The
tional and took time. Some women wrestled with experiencing                initial decision to remain silent made it difficult to talk openly
negative and difficult emotions after having their abortion. In            with others about their feelings and experiences after their
fact, 37 women (38%) explicitly stated problems with anxiety,              medication abortion. Silence was also experienced in other
depression, drug abuse, and suicidal thoughts as a result of the           ways: one woman was glad she was home alone during her
abortion. For example, one woman said: “I am haunted by the                abortion so no one could hear her, while a different woman
image of my tiny baby. I always will be. I cut myself and even             left the abortion clinic and began crying and said, “why is
wanted to die” (3–22-13). Another woman recounted: “Looking                there so much silence here?” as she was taking her pill alone
at my kids thinking of another beautiful child. Couldn’t live              in her bathroom at home.
with myself. Wishing God would take my life” (12–16-11).                       Even if women did allow certain family members to
Collectively, these exemplars illustrate women’s emotional                 become privy to their abortion decision, openly discussing
changes about processing of their medication abortion.                     their feelings after the abortion remained difficult. When
   Finally, 75 women (77%) explicitly stated that they                     talking with others, one woman said: “I love my husband
regretted their decision to have an abortion. However, the                 but it is beyond difficult for me to talk to him about this,
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because I know he wants nothing more than to just move on            U.S. women are supportive of and nearly one-third are interested
from this” (4–28-18). A different woman recounted: “My               in medication abortion (Biggs et al., 2019). The growing interest
close friends know here but I don’t really feel I can talk to        and practice in this type of abortion provision warrant scholars to
them about it. I don’t feel like i can talk to anyone about it”      understand women’s experiences. Our study is the first in the
(2-9-13). Despite these women’s desires to talk about their          U.S. to conduct a case analysis of women’s online blogging narra-
abortion, others (e.g., the baby’s father, their husband,            tives about having had a medication abortion. We focused on
family members) refused to engage in conversation with               understanding the discursive dynamics and contradictions that
them. As a result, women said things like: “I feel like              influenced and shaped women’s talk about their own experiences.
I have no one to speak to about it since he doesn’t think            Our analysis rendered four sites of dialectical tension: only choice
about it the way I do” (9-8-15), and “I try to talk about it         vs. other alternatives, unprepared vs. knowledgeable, relief vs. regret,
with my family and the baby’s dad but they all tell me it’s in       and silence vs. openness. Each site of struggle characterized
the past” (10–28-17).                                                a different stage of women’s medication abortion narrative: the
    Oftentimes, certain dates (such as their child’s due date) or    decision, the medication abortion process, after-abortion identity,
friends with other babies who are of similar age to their            and the general stigmatizing silence associated with abortion.
“would-have-been child” led to triggering events where                   As other scholars have noted (Kimport & Doty, 2019), we
women desired to express their feelings with others, but felt        found that women relied upon language choices that aligned
like they couldn’t talk openly. For instance, one woman said:        with the existing ideological frameworks from both the Right
“But I haven’t really been able to share the true regret and         to Life and Right to Choice movements. For instance, some
near constant jealously of my loved ones engagements or              women used the words “fetal tissue,” while other women used
pregnancies” (11–21-16). Another woman stated: “I knew               the word “baby” when referencing their pregnancy. Women
I had to have an abortion, but these feelings I have right           also explicitly mentioned distal already-spoken messages from
now I never imagined I’d have. I don’t want to go out,               both movements about how they were told “it’s just a pill” or
I don’t want to tell anyone, all I feel like doing is crying”        “I’ve killed my baby.” Such language choices are not idle
(7-8-18). Thus, the isolation and silence leading up to her own      linguistic distinctions, but rather indicate a woman’s aware-
medication abortion continued to pervade after the abortion,         ness of the different semantics and terminology surrounding
creating additional communication challenges with freely             the larger cultural narratives about abortion. This awareness
expressing her emotions with family and friends.                     was particularly evident when women discussed the overarch-
    Silence was often described as being frustrating and chal-       ing silence stigmatizing one’s abilities to openly talk with
lenging. In fact, 59 women (60%) reported feelings of isolation      family and friends about their medication abortion experi-
and alienation. As a result, some women personally attacked          ence. Thus, women’s talk about their own personal experi-
themselves. For example, one woman said: “I feel like I’m            ences, their justification for having an abortion, and their own
living a lie I get up get ready for work get my family up like       sense-making after the medication abortion were shaped by
normal the days go on like normal but I’m not normal I killed        the available heuristics and frames from larger cultural dis-
my baby I’m a monster!!” (3–14-17). Similarly, a different           courses and political movements (Kimport & Doty, 2019).
woman wrote: “As a mom I feel like a monster and I have                  Cultural narratives of abortion are powerful and construct
to act like nothing happened” (4–18-17). These demeaning             meaning and truth (Ludlow, 2008). While a woman’s personal
language choices (e.g., monster, killer) are present in the          story about her medication abortion is individual and now
distal-already-spoken societal discourses about abortion.            occurs in a more private setting (e.g., at home), this experience
Women’s awareness of these larger discourses led some                remains social and political, defined, and reified by larger cul-
women to write about their intentional use of selective lan-         tural narratives and semantics (Beynon-Jones, 2017; Cockrill &
guage choices when talking about their abortion with others.         Nack, 2013). The sexual liberalism script that reflects positive
One woman shared: “I tried to find an OBGYN that could see           attitudes toward nontraditional sexual behaviors influences indi-
me ASAP. I went in and told them I had a miscarriage                 vidual’s attitudes about abortion (Tokunaga et al., 2015), as well
because I was ashamed of the truth of what I did” (3–21-             as their own narratives about medication abortion. We found
18). Finally, some women reported struggling in silence by           evidence of these larger discourses within women’s talk about
saying things like: “I am in desperate need of assistance and        their own medication abortion, and in particular, their rationale
I am too embarrassed to attend an in person support group”           for their decision, their description of the medication abortion
(11–21-16), and “And when I got home, I had to hold it all in.       process, their reflections on their identity after the abortion, and
I was so ashamed of my choice. I couldn’t let anyone know”           the overall stigmatizing silence resulting in a muted voice and
(2–11-11). Even though these women were able to anon-                the public illegitimacy of their own narrative. For instance, many
ymously write about their abortion on this website, they felt        of the justifiable reasons recounted by women in this case study
muted by their loved ones because of the centripetal dis-            for having an abortion align with the centripetal discourses of
courses of shame and embarrassment associated with                   the Right to Choice movement regarding bodily rights and
abortion.                                                            a woman’s freedom of choice. Among women having abortions
                                                                     in the U.S., finances and lack of readiness are the most com-
                                                                     monly cited reasons for choosing abortion (Finer et al., 2005).
Discussion
                                                                         The presence of larger cultural narratives can result in
A national study that assessed women’s support for and interest in   dialectical tensions as one seeks to construct her own abortion
alternative models of abortion provision found that about half of    narrative and considers disclosing that narrative to others. In
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particular, many women described experiencing both relief             Recent movements such as Shout Your Abortion and
and regret after their abortion. Historically, these two emo-     #YouKnowMe have tried to dispel the stigma and silence
tions have been juxtaposed and positioned as binary emotions      surrounding abortion. However, these movements remain
that are socially and politically aligned (Ehrlich & Doan,        politically aligned and purport the “American Dream” abor-
2019). The Right to Choice movement discourse aligns with         tion narrative: I was able to go to college/graduate/get a good
the notion that abortion proffers emotional relief, whereas the   job due to my abortion. These more recent public narratives
Right to Life movement discourse positions itself with abor-      frame abortion as a restitution or quest experience (Frank,
tion resulting in regret. This polarized alignment and framing    1995), where women are portrayed as being able to return to
results in both movements speaking different languages and        normalcy and good health, or regard their abortion story as
never fully listening nor engaging with the other (Wiederhold,    one part of their personal journey that they were able to
2014). One proposed origin of this framing dates back to the      overcome. While such discourses were evident in some
legal reasoning of the 2007 U.S. Supreme Court case Gonzales      women’s blogs and have been shown to reduce abortion
v. Carhart, where the federal partial-birth abortion ban was      stigma when openly disclosed (Cockrill & Biggs, 2017),
upheld. However, our analysis of women’s narratives post-         many women’s narratives within this case study characterized
medication abortion exposes the complex duality of these two      chaos narratives (Frank, 1995) where the abortion experience
emotions often being experienced in tandem, as opposed to         interrupted their daily lives and left them feeling out of con-
being simplistic binaries. The either-or, unidimensional script   trol. Most notably, over 50% of the sample reported that the
from both the Right to Choice and Right to Life movements –       father to their child or other family members used negating
abortion provides either relief or results in regret – fueled     language as a means to justify a woman’s need for an abor-
a sense of tension for many of the women as they processed        tion, albeit her own desires to keep her baby. In addition, 75
their identity after the abortion and considered openly dis-      women (77%) regretted their decision, and 37 women (38%)
closing those private experiences with others. Thus, these        reported struggling with mental illness and suicidal thoughts
women’s narratives illustrate that one’s individual experiences   after the abortion. While previous scholarship has also found
with having had a medication abortion may result in a both/       evidence of some women experiencing negative outcomes
and: initial relief coupled with later regret. A reliance upon    after an abortion due to a lack of decision-making power
political movement discourses to construct one’s own narra-       and limited social support (Kimport et al., 2011), as well as
tive may continue to marginalize or invalidate one’s own          possible significant relationships between abortion and mental
private medication abortion experience when the larger            health problems (see Fergusson et al., 2013; Reardon, 2018),
scripts remain politically charged and polarized (LaRoche &       these centrifugal discourses remain muted and marginalized
Foster, 2018).                                                    in the U.S. abortion debate.
   The stigma and risk that characterize the topic of abortion
are influenced and shaped by the larger centrifugal discourses
                                                                  Limitations and directions for future research
from both the Right to Choice and Right to Life movements
(Beynon-Jones, 2017; Cockrill & Nack, 2013). For example,         As with all scholarship there are limitations. Most notably,
Cockrill and Nack (2013) found that women seeking an abor-        there is a lack of generalizability due to the limited scope: we
tion often attempt to manage the stigma of abortion through       only analyzed women’s medication abortion narratives anon-
non-disclosure, stating their reasons for having an abortion as   ymously posted to one website. However, it is important to
“exceptional” and necessary, or condemning the Right to Life      note that the purpose of this project was to make analytic
perspectives about abortion. In a different study on Southside    generalizations based on gathering an in-depth descriptive
Chicago African-American adolescent females, the majority of      understanding of these women’s medication abortion narra-
sexually active teens never talked with their parents about the   tives. Second, all qualitative case studies are limited by the
topic of abortion, and almost 20% expressed fears of harm or      sensitivity and integrity of the investigators. We attempted to
eviction if their parent were to learn of an abortion in their    surmount this obstacle by having three qualitatively trained
past (Sisco et al., 2014). In our case study, we found that       female researchers who completed independent coding and
women also experienced stigma, silence, and fear that led         collectively participated in the contrapuntal analysis process.
them to remain private and/or secretive with certain indivi-      Third, case study research is criticized for not having a clear
duals throughout their medication abortion experience.            set of systematic procedures (Yin, 2014). To address this
Silence before or during the medication abortion process          concern, we sought to clarify and provide transparency with
resulted in women experiencing additional challenges later        the methodological techniques used. Fourth, the anonymity
on with talking openly about one’s experiences. Altogether,       of women’s blog submissions to the website did not allow us
these findings align with communication scholars who have         to gather and report the social demographics of the women
found that when private health information disclosures are        who anonymously shared their abortion narratives, which
deemed as being threatening or stigmatizing, one’s private        again hinders the generalizability of our findings. Finally,
health information remains concealed (Baxter & Akkoor,            the population of women who write an anonymous post
2011; Ebersole & Hernandez, 2016). This is important because      about their abortion experience may be different from those
secrecy of one’s abortion is associated with poorer coping        who do not.
(Major & Gramzow, 1999; Major et al., 1997), and may result          All of these limitations provide avenues for future research.
in further isolation and lack of social support from others       Most importantly, this single case study demonstrates the need
(Cockrill & Biggs, 2017).                                         for a broader, pluralistic, mixed-method research strategy that
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assesses women’s medication abortion narratives, particularly                Becker, K. A., & Freburg, K. (2014). Medical student storytelling on an
given its increased popularity amongst women seeking this type                  institutional blog: A case study analysis. Medical Teacher, 36(5),
                                                                                415–421. https://doi.org/10.3109/0142159X.2014.891007
of abortion provision. Such research could interview women                   Beynon-Jones, S. M. (2017). Untroubling abortion: A discourse analysis
who have had a medication abortion, as well as use surveys to                   of women’s accounts. Feminism & Psychology, 27(2), 225–242. https://
assess different variables such as demographic factors, health                  doi.org/10.1177/0959353517696515
literacy, and privacy management strategies employed when                    Biggs, M. A., Ralph, L., Raifman, S., Foster, D. G., & Grossman, D.
talking about one’s medication abortion.                                        (2019). Support for and interest in alternative models of medication
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                                                                                traception.2018.10.007
Conclusion                                                                   Braun, V., & Clarke, V. (2006). Using thematic analysis in psychology.
                                                                                Qualitative Research in Psychology, 3(2), 77–101. https://doi.org/10.
n sum, our findings show that the medication abortion experience
                                                                                1191/1478088706qp063oa
is rife with tension and contradiction. This complexity and duality          Cockrill, K., & Biggs, A. (2017). Can stories reduce abortion stigma?
are not evident in much of the larger cultural discourses and                   Findings from a longitudinal cohort study. Culture, Health & Sexuality,
political debates about abortion. Many women in this case study                 20(3), 335–350. https://doi.org/10.1080/13691058.2017.1346202
noted that their decision to have a medication abortion was not              Cockrill, K., & Nack, A. (2013). “I’m not that type of person”: Managing
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a flippant decision or an easy choice where women remained                      https://psycnet.apa.org/doi/10.1080/01639625.2013.800423
unscathed. Women’s narratives about their medication abortion                Ebersole, D. S., & Hernandez, R. A. (2016). “Taking good care of our
experience were complex, and no singular narrative fully encapsu-               health”: Parent-adolescent perceptions of boundary management
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medication abortion. Therefore, it is critical to transcend the                 https://doi.org/10.1080/01463373.2016.1176939
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silence in order to expose both sides of the debate and understand
                                                                                reproductive freedom. Praeger. http://publisher.abc-clio.com/
how these larger discourses influenced women’s personal language                9781440839856
choices when constructing their own abortion narrative and anon-             Fergusson, D. M., Horwood, J. L., & Boden, J. M. (2013). Does abortion
ymously sharing it with others online. The tensions and dialectical             reduce the mental health risks of unwanted or unintended pregnancy?
struggles experienced after having a medication abortion and                    A re-appraisal of the evidence. Australian & New Zealand Journal of
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attempting to share it with others remain silent from public dis-
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course and debate (Hallgarten, 2018). Presently, this silence posi-             (2005). Reasons U.S. women have abortions: Quantitative and quali-
tions one’s abortion story as an either-or, binary experience that is           tative perspectives. Perspectives on Sexual and Reproductive Health, 37
politically aligned with one movement or another. The larger                    (3), 110–118. https://doi.org/10.1363/psrh.37.110.05
discourses prevalent within both the Right to Life and Right to              Frank, A. W. (1995). The wounded storyteller: Body, illness and ethics.
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We would like to thank Chuck Donovan, Michaelene Fredenburg, and                Lichtenberg, E. S., & Paul, M. (2017). First trimester medication
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research process. We also want to thank Caroline Funk for her assistance        e0186487. https://doi.org/10.1371/journal.pone.0186487
with data analysis. In addition, we would like to recognize the women,       Jones, M., & Alony, I. (2008). Blogs – The new source of data analysis.
who through their own accord and as separate from this research study,          Journal of Issues in Informing Science and Information Technology, 5
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                               EXHIBIT 14

       Covert network provides pills for thousands of
      abortions in U.S. post Roe - The Washington Post




                                                                   App. 000301
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                                                   This article was published more than 1 year ago


rtion    Tracking abortion laws by state   Abortion on the ballot    Before Roe      Dobbs v. Jackson Women’s Health



Covert network provides pills for thousands of abortions in U.S. post
Roe
Amid legal and medical risks, a growing army of activists is funneling pills from
Mexico into states that have banned abortion

    29 min                         5214



                           By Caroline Kitchener

                    October 18, 2022 at 6:00 a.m. EDT



M
             onica had never used Reddit before. But sitting at her desk one afternoon in July — at least 10 weeks into an unwanted
             pregnancy in a state that had banned abortion — she didn’t know where else to turn.


“I need advice I am not prepared to have a child,” the 25-year-old wrote from her office, once everyone else had left for the day. She titled
her post, “PLEASE HELP!!!!!!!!”


Within hours, she got a private message from an anonymous Reddit user. If Monica sent her address, the person promised, they would
mail abortion pills “asap for free.”


Monica didn’t know it at the time, but her Reddit post connected her to a new facet of the battle for abortion access: the rise of a covert,
international network delivering tens of thousands of abortion pills in the wake of the Supreme Court ruling in June that struck down Roe
v. Wade.


The emerging network — fueled by the widespread availability of medication abortion — has made the illegal abortions of today simpler
and safer than those of the pre-Roe era, remembered for its back alleys and coat hangers. Distinct from services that sell pills to patients on
the internet, a growing army of community-based distributors is reaching pregnant women through word of mouth or social media to
supply pills for free — though typically without the safeguards of medical oversight.


“You’re truly [an] angel,” Monica wrote in a string of messages reviewed by The Washington Post. “I think tonight will be the first night i
will actually be able to sleep.”


This account of the illegal abortion movement that has grown quickly since the Supreme Court ruling is based on interviews with 16 people
with firsthand knowledge of the operation, and includes on-the-ground reporting in four U.S. cities and Mexico. Many who spoke to The
Post did so on the condition of anonymity to discuss activity that potentially breaks multiple laws, such as practicing medicine without a
license and providing abortions in states where the procedure is banned. The Post was permitted to observe distributors handling pills in
antiabortion states on the added condition that their locations not be identified.


Those interviewed described a pipeline that typically begins in Mexico, where activist suppliers funded largely by private donors secure
pills for free as in-kind donations or from international pharmacies for as little as $1.50 a dose. U.S. volunteers then receive the pills
through the mail — often relying on legal experts to help minimize their risk — before distributing them to pregnant women in need.




                                                                                                                     App. 000302
The system could upend Republican plans for a post-Roe America. Despite the strict abortion bans that have taken effect in over a dozen
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states, some antiabortion leaders fear that the flow of abortion pills could help make abortion more accessible than it was before Roe fell.
Las Libres, one of several Mexican groups at the center of the network, says its organization alone is on track to help terminate
approximately 20,000 pregnancies this year in the United States. That amounts to about 20 percent of all legal abortions that took place in
2019 in the 13 states where abortion is now almost entirely banned.


“Soon there will come a moment when we won’t be able to count any of this,” said Verónica Cruz Sánchez, the director of Las Libres,
adding that the group works with a U.S.-based volunteer network that numbers about 250 and is “growing, growing, growing.”


The leader of another Mexico-based group that supplies pills, Red Necesito Abortar, said the elaborate volunteer structure was “like a
spiderweb.”


“Once we get the pills into the U.S., they can distribute them across the whole country,” said Sandra Cardona Alanís, the group’s co-
founder.


Most people interviewed for this story acknowledged that the network they are building is far from ideal, with participants taking legal and
medical risks they would not face if abortion was still permitted nationwide.


The medication — a two-step regimen of mifepristone and misoprostol — was approved by the U.S. Food and Drug Administration in 2000
with a prescription, for use during the first seven weeks of pregnancy, a limit that was then extended to 10 weeks in 2016. But people
involved in the network described a process that goes beyond what the FDA has endorsed. Organizations like Las Libres offer abortion pills
without a prescription and, typically, without access to a medical professional — occasionally providing medication to those who say
they’re at or beyond the FDA’s 10-week limit. To avoid detection in antiabortion states, the group also mails pills unmarked and unsealed,
often in old bottles used previously for other medicines.


Some experts worry that as demand soars and cross-border networks expand to include less credible suppliers, women could start to
receive illegitimate pills that are ineffective or, worse, dangerous. Fake abortion pills have been circulating in other countries with strict
antiabortion laws, said Guillermo Ortiz, an OB/GYN and senior medical adviser with Ipas, an international abortion rights nonprofit.


“It’s scary,” he said. If women don’t know how to recognize real abortion pills, “it could cause huge harm.”


Other experts are less skeptical. Kristyn Brandi, a doctor and spokesperson for the American College of Obstetricians and Gynecologists,
the leading professional organization for OB/GYNs, said she feels confident that patients can carry out abortions safely without medical
supervision — as long as the pills they receive are clearly labeled.


“Medication abortion is one of the safest processes that you can go through,” she said. “Regardless of where you get that medication, based
on the science … what’s happening in your body shouldn’t be any different.”


Monica’s abortion pills arrived in the mail on a Friday afternoon, hidden inside a cat flea medication box. While the pills themselves were
sealed and labeled, Monica’s boyfriend said he wasn’t sure if she should take them.


“What if they’re fake?” he recalled asking. He’d recently read news reports of other drugs that had been laced with fentanyl.


“What if they’re sending you something that isn’t even the abortion pill?”


By that point, Monica — who relayed her experience to The Post in real-time texts and calls, and then later in a lengthy interview at her
home — had known about her pregnancy for over a month. She knew she wanted to have kids one day, but she and her boyfriend lived
paycheck to paycheck, without health insurance. At the end of the month, they’d sometimes get down to their last $40 — and have to
decide between groceries and gas.




                                                                                                                     App. 000303
Without the money or time to get an abortion out of state, Monica had tried to give herself a miscarriage — first with mugwort tea, an
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herbal remedy she read about online, then with a heavy night of drinking. When none of that worked, she turned to Reddit.


“I’m scared, too,” she said she told her boyfriend.


“But this is my only option.”




A nurse joins the network
Two weeks earlier, on the day Roe fell, a nurse in a different city rushed from room to room at the abortion clinic where she worked —
frantically telling patients where they could order illegal pills now that their state had banned abortion.


“Do you have Insta?” she asked at least 20 patients that day, waiting as they pulled up their Instagram accounts.


She instructed each patient to follow an online resource called Plan C, which compiles a list of sources where patients can buy abortion
pills on the internet. The nurse reviewed various options, including Aid Access, the prominent online service run by Dutch physician
Rebecca Gomperts, as well as various online pharmacies that sell abortion pills illegally to people in antiabortion states.


The next day, one of those patients found the nurse in the grocery store.


“I have the money,” the woman said, her eyes desperate. “Will you buy the pills for me?”


The nurse couldn’t remember the patient’s name, but she remembered other details the woman had shared about her life — pleading in
Spanish in the clinic hallway five hours after the Supreme Court overturned Roe. A mother of four, the woman was an undocumented
immigrant from Mexico with a history of severe pregnancy complications and a Catholic husband who did not believe in abortion.


She couldn’t order the pills herself, she explained, because she didn’t speak English and had no reliable access to the internet. If the pills
came to her home, she also worried her husband would find them.


Hyper-aware of the other grocery carts moving around her, the nurse considered all she might lose if she helped the woman and got
caught. Where she lived — a Republican-led state in the South — she knew she could be stripped of her nursing license for distributing
abortion pills. Maybe even go to jail.


The nurse promised herself she would do it just this once.


“I’ll tell you when I have them,” she said to the woman.


Securing the pills was easier than the nurse ever imagined: She called a friend, who sent her the number for Las Libres. The organization,
she learned, had been working with many volunteers like her — helping patients who, for one reason or another, couldn’t buy pills on their
own.


Many patients had never heard of Plan C or Aid Access. Some couldn’t afford the advertised price tag of $100 or more. Then there were
patients like the woman in the grocery store, desperate for pills but without a safe place to receive them.


On the phone with Las Libres, the nurse had requested just one set of abortion pills — enough to help her former patient. But, she said, the
package arrived three days later with the means to end five pregnancies.


Las Libres soon followed up with the address for a woman in a different city.



                                                                                                                    App. 000304
“Can you help her?” a Las Libres activist asked over text.
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The nurse, in her late 20s, thought about the lawmakers who had ushered in these laws — and those who had implemented similar
restrictions years ago in Mexico, where she’d had to secure her own illegal abortion at age 16. She still remembered her feet in the stirrups
in an empty apartment building. The unsure medical student who performed the abortion. The speculum and dilator boiling in a pot of
water on the stove.


“I want those politicians to feel powerless,” the nurse said of her decision to join the ranks of the illegal abortion movement. “I want them
to feel the same way my patients feel.”


She mailed her second set of pills the next day.




A supplier secures the pills
Before the pills arrived in the nurse’s mailbox, they occupied a corner of Cruz Sánchez’s closet — tucked away in the central Mexico
headquarters that has housed Las Libres for almost two decades.


The pill supplier and her team of seven employees work from a mountainside home in Guanajuato, hidden from the road by an eight-foot
electric gate and a tangle of red trumpet vines. Inside, the Las Libres office hums with the rhythms of a family: Cruz Sánchez’s nephew
brews a pot of coffee while her sister fries up leftover chilaquiles, chatting about everybody’s weekend plans before they all have to get to
work.


When Cruz Sánchez, 51, started Las Libres in 2000, she envisioned a feminist activist organization that would help Mexican women in
desperate situations. In its early years, the group provided legal counsel for victims of domestic violence and demanded freedom for
women whose abortions had landed them in jail. They’ve long provided free abortion pills without facing any legal trouble, despite recent
laws in Mexico that criminalized abortion.


It wasn’t until Texas banned most abortions in the fall of 2021 — one week before Mexico’s Supreme Court decriminalized the practice
across that country — that Las Libres began to consider an international expansion. Suddenly, Cruz Sánchez was getting calls from women
across the border, begging for pills.


“We wanted to help the women in Texas because we understood their situation,” Cruz Sánchez said. “We’d experienced it.”


Demand skyrocketed as soon as Roe was overturned in June, Cruz Sánchez said. Las Libres went from sending 10 sets of pills to the U.S.
every day to sending over 100 — all at no cost to the patient.


The rapid expansion has only been possible, Cruz Sánchez said, with the help of U.S. volunteers who find some of the patients and
shepherd the pills along to their final destinations. Since the Supreme Court decision, she said, she has been inundated with messages from
Americans eager to take a stand against the ruling. In one state, she says, she is working with a group of registered nurses. Elsewhere, 50
pastors and priests.


Some of the volunteers work with U.S.-based abortion funds and other abortion rights groups, connecting with pregnant patients through
established pipelines that existed long before Roe fell. Others are doing this work for the first time, Cruz Sánchez said.


“They just show up and say ‘I want to organize my community, my neighbors, my friends — and I’m going to make a network,’” she said.


These days, the women of Las Libres spend much of their time fielding calls and texts from Americans, hunched over laptops at a table
strewn with sticky notes and boxes of mifepristone. Cruz Sánchez regularly logs five or six Zoom calls a day — fundraising with American
donors, or teaching volunteers how to safely join her efforts.


                                                                                                                    App. 000305
Until recently, Cruz Sánchez said, Las Libres received all its pills as in-kind donations. International advocacy organizations mail large
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shipments of pills to their office, she said. Individuals come by with donations of misoprostol, widely available at Mexican pharmacies to
treat stomach ulcers. Sometimes Mexican pill distribution companies send over a batch of pills that is about to expire, free of charge, Cruz
Sánchez said.


When American demand started outpacing the stash in her closet, Cruz Sánchez said, she called her contacts around the world, searching
for the cheapest supplier. Las Libres had roughly $15,000 to spend, she said, from mostly American donors — the product of fundraising
efforts they’d stepped up since June. On one recent Zoom call, a leader of a U.S.-based abortion rights group pledged $4,000, adding that
she hoped to make the same payment quarterly.


Cruz Sánchez declined to disclose her group’s donors and said she has not been keeping detailed records of the money she has received
from donors in the United States. Between 2009 and 2018, Las Libres received at least $193,000 in public grants from the Mexican
government, according to government records.


On its search for cheap pills, Las Libres determined that Mexico-based suppliers were too expensive. One set of mifepristone and
misoprostol costs about 26 U.S. dollars in Mexico, Cruz Sánchez said. But in South Asia, pills are a fraction of that price, according to Chris
Purdy, chairman of the board of DKT International, one of the largest organizations that registers, imports and distributes abortion pills
around the world. In India, where many of the largest abortion-pill manufacturers are based, combo-packs of mifepristone and
misoprostol are widely available at pharmacies for as little as $1.50, Purdy said.


In mid-September, Cruz Sánchez boarded an overseas flight from Guanajuato, returning four days later with thousands of abortion pills.
From there, Cruz Sánchez began sending the pills to towns along the U.S.-Mexico border, where volunteers were waiting to carry them into
the United States.


When selling directly to patients, suppliers typically offer pills at a significant markup. Europe-based Aid Access prescribes and sells pills
for just over $100 per dose, sometimes offering discounts or free pills for low-income customers. Other online pharmacies charge
hundreds of dollars. A medication abortion at a licensed U.S. clinic typically costs between $500 and $600, on top of the price of
transportation and accommodations for those who have to travel out of state.


Cruz Sánchez says she will never charge patients for abortion pills, which she believes should be widely accessible to all. She is critical of
organizations that sell pills to patients for more than they bought them for, accusing these groups of engaging in the “corporatization” of
illegal abortions.


The Aid Access website invites people who can’t afford to pay for the pills to “tell us,” so the organization can help.


“Aid Access believes that a just and equal system means that women with the financial means can pay this way and also support the service
for women who cannot afford to pay,” Gomperts said.


While Gomperts and other Aid Access-affiliated physicians write prescriptions for abortion pills — and provide medical consultations to
anyone who asks for assistance up to 12 weeks of pregnancy — Cruz Sánchez and her network of volunteers offer their own, more informal
support services to women who need guidance while taking the pills. Cruz Sánchez has been expanding these connections, connecting with
U.S.-based hotline services and medical professionals.


As far as she knows, Cruz Sánchez said, no one in the U.S. has had severe medical complications after receiving pills from Las Libres.


For most Americans working with Las Libres, Cruz Sánchez said, the more pressing concern is a legal one. Many of her U.S.-based
volunteers are terrified of the prison sentence they could face if they get caught, adopting aliases and avoiding police.


Cruz Sánchez tells them not to worry.




                                                                                                                     App. 000306
“If they stop you, just point at your stomach and try to look old,” she advised one 80-year-old who picked up 500 pills en route home from
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her Mexican vacation.


“What’s the government going to do? Open every package in the mail? Conduct an inspection inside every woman’s home?”


“They don’t have a way to do it,” she’ll say with a smile. “There’s no way.”




A lawyer defines the ‘legal lines’
One thousand miles north, in Dallas, Tex., nearly 100 abortion rights advocates squeezed into a hotel conference room in late August to
learn about the illegal abortion movement — and the risks of signing up.


The lawyer at the front of the room did not explicitly mention the abortion pills flowing into the U.S. from Mexico. But she singled out a
group she calls “the helpers”: people who are helping American women secure pills in antiabortion states.


This group was particularly vulnerable to legal risk, she said.


At a conference led by SisterSong, a national reproductive justice group, attendees flocked to this particular session, “Self-Managed
Abortion in the US After Roe.” Many in the room worked for abortion funds and other abortion rights groups, eager to bring what they
learned back to their communities.


“Let’s say this one together,” the lawyer told the audience, gesturing to the all-caps message on the projector: “Don’t talk to cops.”


“One more time for the people outside.”


The room reverberated with dozens of voices: “DON’T TALK TO COPS.”


The lawyer leading the chants that day was Jill Adams, the executive director of If/When/How, an abortion rights group that in 2015
started supporting people prosecuted for ending their own pregnancies, or assisting in that process.


Staffed by over two dozen lawyers and bolstered by a network of law students, the organization runs a legal help line for those charged —
and those who fear they might be charged. The hotline now receives 14 times more calls than it did before the Supreme Court decision,
Adams said.


To get a sense of what their clients are facing, the group has been tracking pregnancy-related prosecutions over time. Between 2000 and
2020, 61 people were criminally investigated or arrested for either ending their own pregnancy or helping someone else end theirs,
according to a preliminary report the organization published in August.


That number is likely a significant undercount, Adams said — and almost certain to climb now that the Supreme Court has overturned Roe.


Adams and her team don’t know of anyone who has gone to jail for shepherding abortion pills since the June ruling, she said. But she
warned that could start happening soon. While the new wave of abortion bans explicitly prohibit prosecutors from going after the people
seeking abortions, volunteers caught securing or distributing abortion pills could be charged as abortion providers, Adams said — subject
to the same punishment as a doctor who performed a surgical abortion at a shuttered clinic. Across much of the South and Midwest, that
means at least several years in prison.


Adams, in an interview after the conference, said that If/When/How doesn’t promote breaking the law.


“We don’t encourage them,” she said of her clients. “We just provide the information so they can conduct their own risk analysis. Our job is
to make sure that everybody understands where the legal lines are drawn.”
                                                                                                                    App. 000307
The abortion pill pipeline creates a challenge for conservative state lawmakers, who had hoped the Supreme Court’s ruling would be a
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major step toward eliminating abortion. With the push for self-managed abortions and increased funding available for out-of-state travel,
Missouri state Rep. Mary Elizabeth Coleman (R) said in an interview that she expects the number of abortions to increase in the wake of
Roe’s reversal.


“People don’t know that it’s happening,” said Coleman, who has championed aggressive antiabortion legislation.


Now that strict new bans have taken effect across much of the country, some lawmakers have turned their attention to local prosecutors,
eager to make sure their laws are enforced.


Once prosecutors realize the extent of the illegal activity, Coleman said, “they are going to be interested in making sure that the law is
followed.”




A distributor hosts a ‘packing party’
By the time Roe was overturned, some abortion rights activists had been mailing pills illegally, without prescriptions, for years.


In one Republican-led state in the south, a leader of a high-profile abortion rights group launched her organization’s “shadow side” in
2019, sending medication to women who couldn’t make it to a clinic: Minors with antiabortion parents. Domestic violence victims trapped
with abusive partners. Anyone who couldn’t afford the high cost of clinic care.


When she first started out, the distributor mailed a few sets of pills a year.


Now, she mails 12 a day — more than the number of abortions performed at many clinics.


The distributor, in her sixties, messages Cruz Sánchez of Las Libres every few weeks to ask for more inventory. Once the pills arrive, she
convenes what she calls “packing parties” at her suburban home, where she and her colleagues mete out the medication, dose by dose.


“It would be nice to be able to send them something more professional,” the distributor said as she readied a new batch in early September,
pouring 150 misoprostol pills out of a calcium bottle.


The pills she poured into a bowl were slightly different shapes and sizes. Some scored, others smooth. The distributor plucked out a few
that had broken in half.


When she used to buy pills from various online pharmacies, the distributor said, they would arrive in individual blister packs, with an
expiration date. But those were $200 a set — and Cruz Sánchez sent hers for free.


“I want women to feel like it’s legitimate,” said another participant at the packing party, a younger activist. “Like they haven’t just gotten
drugs in a nightclub, you know?”


“Like we’re not a back-street type of organization,” said a third helper, an 80-year-old who had smuggled the pills from Mexico.


They did what they could to create a dignified operation in the distributor’s living room. While the pills were out on the coffee table, the
women would not eat. They would not drink wine. They would wear blue latex gloves.


“If I were taking pills that someone sent me, I’d hate to think that they’d been rumbling around in hands that might have just pet a dog,”
said the distributor, her fingers swirling around in the misoprostol.


The 80-year-old raised her eyebrows.

                                                                                                                    App. 000308
“You just pet your dog with that glove on,” she said.
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“I did?” said the distributor.


“Well, you know what?” said the younger activist, throwing up her hands. “We’re not f---ing doctors, we’re not health-care workers.
Everyone is taking some risk in this somewhere along the line, and what can you do when it’s illegal?”


Since Roe fell, the distributor has become a teacher of sorts for newcomers joining her in the abortion pill movement. Among her students
was the clinic nurse who had recently begun distributing Las Libres pills after reconnecting with a patient at a grocery store. By the end of
the summer, the nurse was receiving bulk shipments of 150 abortion pills and consulting with women across eight states.


On a call in late August, the distributor offered the nurse a long list of tips: Look up houses for sale to use as return addresses. Set your
messages with Las Libres to delete after 24 hours. Absolutely never meet a patient in person. If you have legal questions, reach out to
If/When/How.


“It’s legally risky to do this,” the distributor told the nurse. “You need to take every precaution possible.”


As these networks expand, the distributor said, there will be even more to worry about. She said she recently saw a public service
announcement issued by Ipas Partners for Reproductive Justice, the abortion rights nonprofit, warning about online abortion pill
scammers — a message that echoed concerns frequently voiced by antiabortion advocates.


“We don’t know what’s coming in the mail,” said Ingrid Skop, an OB/GYN and a senior fellow at the Charlotte Lozier Institute, an
antiabortion organization. “We’re inclined to think they’re getting misoprostol and mifepristone — but are there contaminants in the
drugs? Does it contain the quantities that is advertised?”


Asked if she worries about the authenticity of her pills, the distributor is quick to shake her head.


“I get them from a verified source,” she says, her tone reverent: “Verónica,” the founder of Las Libres.


With Cruz Sánchez’s blessing, the distributor says, she has helped send pills to women as far as 15 weeks along in their pregnancies. Many
in the medical community, including Brandi, the spokesperson for the American College of Obstetricians and Gynecologists, say it’s safe to
take abortion pills beyond the 10-week limit imposed by the FDA.


The distributor refers the later-term cases to an abortion doula she’s known for years, who counsels them over text about exactly what they
will see when they pass the pregnancy. A 12-week fetus is roughly the size of a plum; a 15-week fetus, the size of an apple.


These cases, in particular, present significant legal risk to the patient, who has to figure out how to surreptitiously dispose of the remains.
The abortion doula said she often sends a small amount of acid so the client can dissolve some of the fetus, and bury whatever is left.


“I try to emotionally prepare them and say, ‘It’s going to look like a baby,’” the doula said.


The distributor has seen enough of these complex cases to know how to respond, she said. She worries about the new volunteers joining
the movement: eager to help, but green.


“Someone is going to end up getting less than ideal treatment, and someone is probably going to get arrested,” the distributor said. “There
are just so many things that could go wrong.”


Sitting in her living room, the distributor shook her head and sighed: Time to focus on the things she could control. She powered up her
burner phone and logged into her Proton Mail account, an encrypted email service she uses to correspond with patients who need pills.




                                                                                                                     App. 000309
Some of the women get her contact information from Cruz Sánchez. A few hear through a friend, or a friend of a friend. One of the biggest
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spikes in demand came after the distributor met several volunteers who offer advice in a Reddit forum frequented by anonymous women
searching for abortion care.


“I can handle more traffic,” the distributor had told the volunteers.


She immediately started mailing packages to Reddit users — answering their frantic calls for help.




A woman takes the pills
Monica’s cramps didn’t start until she took the second set of pills on a Sunday morning. She said she lay down in bed as soon as she felt the
first one coming on, wearing her favorite oversized T-shirt and a diaper pad.


This was her first pregnancy, but Monica imagined this was what contractions might feel like: intense pain, a few minutes of relief, then
more pain — each wave of cramping a little worse than the one before. Balled up in the fetal position, she said she called a friend who’d had
a medication abortion a few years before at Planned Parenthood, with a doctor beside her.


“Dude, I don’t know if this is normal,” her friend said when Monica described the pain. “Maybe you should go to the hospital.”


But Monica couldn’t go to the hospital — surely, she thought, the doctors would know what she’d done and report her. Her boyfriend threw
some clothes in a bag anyway.


“Turn on the bath,” Monica said she yelled out to him. “I need to get in there.”


She felt a flood of liquid in her underwear and stepped into the bath with her clothes still on. Lying back in the tub, she said, she felt some
pressure release. Then she screamed.


The fetus was floating in the water. Slightly smaller than her palm, the fetus had a head, hands, and legs, she said. Defined fingers and toes.


She leapt from the bath and collapsed in her boyfriend’s arms. Desperate for some guidance, soaking wet and crying, she took out her
phone.


“I just passed the fetus,” Monica wrote to whomever had sent her the pills. She learned later that her fetus matched descriptions of those
roughly 13 weeks along, well beyond the 10-week cap set by the FDA for taking abortion pills.


“I’m just feeling a little scared,” she added.


The anonymous user, whose identity is not known by The Post, immediately started typing. Everything would be okay, they assured
Monica: The worst was over. Whatever she was feeling — sadness, relief, grief, anger — it was all normal.


“Going through an abortion can bring up a lot of emotions,” they wrote. “Just take some time for yourself.”


Three hours later, Monica said, she and her boyfriend selected a tree in a quiet corner of their favorite park — far enough back in the forest,
they hoped, that a dog wouldn’t catch the scent. While most people flushed the fetus down the toilet, the Reddit user had told her, others
preferred to do some kind of ritual.


Monica knew she wanted to say goodbye.




                                                                                                                    App. 000310
When she was ready, she gathered a handful of wildflowers. Her boyfriend dug a small hole. As Monica lowered the cardboard box into the
       Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                                  Page 314 of 467 PageID 9810
ground, she said, she knew she’d made the right choice. She couldn’t give that fetus a good life yet, she thought to herself. She wasn’t ready
to be a mom.


“I hope in the future, when I am ready, your soul will find me again,” Monica remembers saying as she knelt in the dirt.


“It just wasn’t our time.”


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Montejano Navarro contributed to this report.




                                                                                                                  App. 000311
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                               EXHIBIT 15

              FDA 2002 Citizen Petition of AAPLOG




                                                                   App. 000312
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       Citizen Petition re: Request for        1
       Stay and Repeal of the Approval of      1
       Mifeprex (mifepristone) for thk’Medica1 )
       Termination of Intrauterine Pkegnancy )
       through 49 Days’ Gestation              )
10

                  CITIZEN PETITIOl?$ AND, REQUEST FOR ADMINIST-RATIVE                                  STAY       ’


               The American Association of Pro Life Obstetricians and Gynecologists (“AAPLOG”),

      the Christian Medical Association (“CMA”), and ConcernedWomen for America (“CWA”)

      (collectively, “the Petitioners”) submit this Petition pursuant to 21 C.F.R. $0 10.30 and 10.35;

      21 C.F.R. Part 314, Subpart H ($5 314.500-314.590); and Section 505 of the FederalFood, Drug

      and Cosmetic Act (21 U.S.C. 0 355).’ The Petitioners urge the Commissioner of Food and Drugs

      to impose an immediate stay of the approval by the Food and Drug Administration (“FDA” or

20    “agency”) of MifeprexTM (mifepristone; also, “RU-486”),2 thereby halting all distribution and

      marketing of the drug, pending final action on this Petition. In addition the Petitioners urge the

      Commissioner to revoke FDA’s approval of Mifeprex and request a full FDA audit of the

      Mifeprex clinical studies.3



      ’ Federal Food, Drug, & Cosmetic Act of 1938 (“FD&C Act”), Pub. L. No. 75-717, 52 Stat. 1040 (1938) (codified
      as amended at 21 U.S.C. $9 301 etseq.).
      2 The New Drug Application for Mifeprex, which was filed by the Population Council, was approved on September
      28,200O. Mifeprex is distributed by Dance Laboratories, a licensee of the Population Council.
      3 The Petitioners will, at times, cite to documents contained in FDA’s January 3 I,2002 public release of documents
      (approximately 9,000 pages in 94 files) made pursuant to a Freedom of Information Act request (“FDA FOIA
      Release”) filed by the non-profit organization, judicial Watch These bracketedcitations will reflect the page
      numbering FDA has stamped on the bottom of each page, for example: [FDA FOIA Release: MIF OOOOOl-OS]. The
      FDA webpage posting the 94 tiles is: <http://www.fda.gov/cder/archives/mifepristoneldefault.h~~.       Since the
      initial release FDA has edited some of the 94 files. However, the stamped page numbers have not changed.
      Additionally, many footnotes refer to Appendix A to this Petition, which contains a selected bibliography.




                                                                                                      App. 000313
           Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24              Page 317 of 467 PageID 9813




                   The Petitioners respectfully requestthat the Commissioner immediately stay the approval

            of Mifeprex, thereby halting all distribution and marketing of the drug pending final action on

            this Petition. They urge the Commissioner to revoke market approval for Mifeprex in light of

       5    the legal violations and important safety concernsexplained below. In addition, they request a

            full FDA audit of all records from the French and American clinical trials offered in support of

            the Mifeprex NDA.




                                       II. INTERE~TOFTHEPETIT~~NERS

                   While it is true that the Petitioners have consistently opposed abortion and continue to do

            so, a careful examination of the claims made in this petition should alert people of conscience on

            either side of this issue that wornen are being harmed. Regardlessof one’s position on abortion,

      15    FDA’s violations of its standardsand rules have’put women’s health and lives at risk. The

            Petitioners are non-profit organizations that sharea great concern about women’s health issues.

            The American Association of Pro-Life Obstetricians and Gynecologists (“AAPLOG”) is a

            recognized interest group of the American College of Obstetricians and Gynecologists

            (“ACOG”), currently representing over 2,000 obstetricians and gynecologists throughout the

      20    United Statesof America. The Christian Medical Association, founded in 1931, is a professional

            organization with thousandsof physician members representing every medical specialty.

            Concerned Women for America (“CWA”), founded in 1979, is the largest public policy

            women’s organization in the United Stateswith members in every State and a total membership

            exceeding 500,000.

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‘-,


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                                                                                              App. 000314
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                                      III. STATEMENT OF GROUNDS

          A.        SUMMARY OFi THE ‘PkTITIDNERS’                      AlEi;GUil$EhTS

          Good causeexists to grant an immediate stay of the agency’s September28,200O

 Mifeprex approval4 Good causealso exists for the subsequentrevocation of that approval.5 As

 established herein, (1) the approval of tiifeprex violated the Administrative Procedure’hict’s

 prohibition on agency action that is arbitrary, capricious, an abuseof discretion, or otherwise not

 in accordancewith law;6 (2) FDA’s approval of Mifeprex violated 21 U.S.C. $355 becausethe

 drug does not satisfy the safety and labeling requirements of that section; and (3) the agency

 approved Mifeprex despite the presenceof substantial risks to women’s health.

          This Petition representsthe latest attempt by members of the medical community and

 other concerned observersto warn FDA of the dangersposed by Mifeprex abortions to the health

 of women.7 Women undergoing Mifeprex abortions risk, among other problems, uncontrolled

 fatal hemorrhage and serious bacterial infections. Mifeprex abortions particularly endanger

 women with ectopic pregnanciesand those whose pregnancieshave progressedbeyond 49 days.*

                                                                                                           ,..
 4 When FDA approved the Population Council’s NDA for mifepristone, it approved the drug for use in conjunction
 with misoprostol. In this Petition, “Mifeprex Regimen” will refer to the combined use of Mifeprex and misoprostol
 to effect an abortion.
 5 See 21 C.F.R. 5 314.530 (“Withdrawal    Procedures”).
 6 5 U.S.C. 9 706(2)(A).
 7 On February 28, 1995, Americans United for Life and other groups and individuals filed a Citizen Petition with
 FDA requesting it to “refuse to approve any NDA for RU 486.for use as a pharmaceutical abortifacient that does not
 contain adequate evidence that the drug has undergone nonclinical and clinical safety and effectiveness trials.” The
 petitioners also set forth a number of factors for the agency to consider. -Americans United for Life et al., Citizen
 Petition (Feb. 28 1995)[FDA FOIA Release: MIF 006144:62481; see also, Letter, Ronald G. Chesemore, Associate
 Commissioner for Regulatory Affairs, FDA, to’Gary L. Yingling, McKemra & Cuneo (March 20, 1995) (one-page
 letter suggesting that the petition was prematurely filed and claiming to be a “full response”)[FDA FOIA Release:
 MIF 0062501.
 * The gestational age of a pregnancy is based on the first day of a woman’s last menstrual period, which is
 designated as Day 1 of the pregnancy. On Day 49, a woman is deemed to be seven weeks pregnant, which means
 she has experienced 49 days of amenorrhea (time elapsed since the beginning of her iast menstrual period).



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                                                                                                   App. 000315
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       Warnings about these dangers,together with FDA’s own concernsabout the safety of the

       abortion regimen, went unheeded. On September28,2000, FDA approved the new drug

       application (“ND,“)      for Mifeprex.g The initial reports of life-threatening and fatal adverse

       events appear to bear out the safety concernsunderlying the pre-approval warnings. The Petition

 5    highlights a number of agency actions that were arbitrary, capricious, an abuseof discretion, or

      otherwise not in accordancewith the law. These serious departuresfrom standardagency

      practice allowed the NDA for Mifeprex, a drug that is not safe for its intended use, to be

      approved by FDA. lo

               First, the approval of Mifeprex violated the legal requirements of FDA’s Accelerated

10    Approval Regulations found in Subpart H.” Mifeprex is not a drug for the treatment of a serious

      or life-threatening illness. It does not demonstratethe potential to addressan unmet medical

      need becausea less dangerousand more effective alternative for performing abortions already

      exists. It appearsthat FDA’s decision to use Subpart H was motivated by its concern that,

      without restrictions, the drug couldJnotbe used safely; Rather than attempting to compensatefor


      Ovulation for the small percentage of woman with a perfect 28 day cycle typically takes place between Days 12 and
      14 and fertilization typically takes place 24 to 48 hours later.
      ’ See U.S. Department of Health and HumanServices, HHSNews, Press Release POO-19, “FDA Approves
      Mifepristone for the Termination of EariyPregn$ncy,” September 28,.26iSO. x selection of FDA ‘documents.
      relevant to its approval of Mifeprex may found at: <http://www.fda.gov/cder/drug~infopagelmifepristone~; and on a
      second page: ~http://www.fda.gov/cder/foi/nd2000~2~687~~ifepristone.htm~.
      lo FDA’s unlawful approval of Mifeprex may not be unprecedented. The medical-scientific community and the
      mainstream press have called attention to a number of other instances in which one could question whether drugs
      and medical devices have been improperly approved. See, e.g., Richard Horton, “Lotronex and the FDA: A Fatal
      Erosion of Integrity,” Lancet 357 (May 19,200l): 1544-1545; David Willman, “How a New Policy Led to Seven
      Deadly Drugs,” Los Angeles Times(Dec. 20,200O): at Al; Kit R. Roane, “Replacement Parts: How the FDA’Allows
      Faulty, and Sometimes Dangerous, Medical Devices onto -the Market,” U.S.News h World Report (July 29, iOQ2):
      54-59 (discussing FDA’s recent approval policies regarding medical devices).
      I1 21 C.F.R. QQ3 14.500-3 14.560. FDA’s Accelerated Approval Regulations are set forth at 21 C.F.R. Part 3 14,
      Subpart H (“Accelerated Approval of New Drugs for Serious or Life-Threatening Ifmesses”) (“Accelerated
      Approval Regulations” or “Subpart H”). The Accelerated Approval Regulations were promulgatedby FDA after
      notice and comment: New Drug, Antibiotic, and Biological Product Regulations; Accelerated Approval, Proposed
      Rule, 57 Fed. Reg. 13234 (April 15, 1992) (“‘Subburt H Piopohed Rule”) and New Drug, Antibiotic,’ and Biolbgical




                                                                                                        App. 000316
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              the inherent dangerousnessof Mifeprex by inappropriately resorting to the Subpart H approval
*       ,.’                                 /i,.   /,‘8 .,.   ,/               .
              mechanism, FDA should simply have refused to approve Mifeprex. (See Section III.D., in&.)

                       Second, Mifeprex was not proven to be “safe and effective” as required by law.12 The

              scientific quality of the trials used to support the NDA was undeniably deficient according to

    5         Congress’s statutory requirements and FDA’s well-established standards.13The trials were not

              blinded, randomized, or concurrently controlled. FDA failed to explicitly waive its rules or offer

              a reasonedexplanation for defying its own standards. (SeeSection IIIE., in@.)

                       Third, the Mifeprex Regimen requires that Mifeprex be used in conjunction with another

              drug, misoprostol. FDA, however, has never approvedmisoprostol as an abortifacient.

10            Although FDA normally opposesthe promotion of off-label uses,in connection with the

              Mifeprex NDA, the agency sanctioned‘anditself participated in the promotion of the off-label

              use of misoprostol. Mifeprex, the   label of which createsthe false impression that misoprostol is
                                               I/
              approved for use as an abortifacient, is misbranded.‘(SeeSection III.F., infra.)

                       Fourth, and most critically, the Mifeprex Regimen is dangerous. FDA sought, tiithout

15            success,to convince the drug sponsorto place safety restrictions on Mifeprex. When that failed,

              on June 1,2000, FDA itself proposed restrictions intended to reduce the unacceptablehealth

              risks associatedwith mifepristone abortions. Nevertheless,the agency, under concerted pressure

              from abortion advocatesand politicians, ultimately approved mifepristone for’use in a

              deregulated regimen that lacks key safeguards. For example, the regimen does not include a

20            requirement that transvaginal ultrasound be used to ~datepregnanciesand rule out ectopic



              Product Regulations; Accelerated Approval, Final Rule, 57 Fed. Reg. 58942 (De& 11, 1992) (“Subpart H Final
              Rule”) (available at: <http://www.fda.gov/cder/fedreg/frl9921211 .txt~).
              I2 See21 U.S.C. $355.
              I3 See 21 C.F.R. 9 3 14.126.




                                                                                                          App. 000317
                                           ;”   /             ,,   ,.              I




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     : pregnancies,which cannot be treated vvith the Mifeprex Regimen. In addition, FDA failed to

      restrict accessto mifepristone to physicians trainedin the provision of Mifeprex and surgical

      abortions and capable of treating complications arising from abortions. Concerns about the

      dangers of Mifeprex were confirmed when Dance and FDA announcedpublicly on April 17,

 5    2002, a number of serious adverseevents,including two deaths. (SeeSection III.G., in&~)

              Fifth, the drug’s sponsor’hasneglected to require Mifeprex providers to adhereto the

      limited restrictions contained in the approved regimen. The sponsor’s inaction is surprising in

      light of the fact that these restrictions are being flouted openly. Section 3 14.530 authorizes FDA

      to withdraw the approval of a Subpart H drug if a drug’s sponsor does not fulfill its responsibility

10    of ensuring compliance with the restrictions on the use of the drug. (SeeSection III.H., infra.)

              Sixth, the safeguardsemployed in the U.S. Clinical. Trial are not mirrored in the regimen

      that FDA approved. Transvaginal ultrasounds, for example, although employed in the U.S:

      Clinical Trial, are not required under FDA’s approved regimen. Nor are the trial requirements

      governing emergency care reproduced in the approved regimen. (SeeSection III.I., zkfra.)

15            Seventh, FDA’s waiver of its rule, 21 C.F.R. $ 314.55, requiring the testing of all new

      drugs for their potential effects on children, hasjeopardized the health and safety of American

      teenagegirls who may have abortions. FDA expressly contemplated the pediatric use of

      Mifeprex, but waived, without an adequatelyreasonedjustification, the requirement that the drug

      undergo pediatric testing. (See Section III. J., infra.)

20            Eighth, FDA did not require the sponsorof Mifeprex to honor its commitments for Phase

      IV studies, which provide the opportunity to study in-depth the drug’s safety and effectiveness

      after approval. When FDA approved Mifeprex, the agency permitted the Population Council to

      replace the six PhaseIV study commitments it had made in 1996 with two much narrower
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                                      :

                                                          6
                                                                           /             App. 000318
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  commitments. The modified studies will not adequately addressoutstanding questions, such as
                                                           *\,                            IL
  the effects of mifepristone abortions on women outside the tested age range of 18 to 35 years.

  (See Section III.K., infra.)

          In sum, FDA, in approving Mifeprex, acted in a manner inconsistent with its statutory

  authorization, regulations, and well-established policies. FDA did not provide a

  contemporaneousexplanation of its numerous departuresfrom past practice.14Its aberrant

  actions coupled with the absenceof explanations violated a fundamental principle of

 administrative law; an agency must either adhereto prior policies or fully explain khy it is’not

 doing so.” The approval of Mifeprex &as, therefore, arbitrary, capricious, an abuseof

 discretion, or otherwise not in accordancewith law. It must be reversed.


          B.    FDAAPPR~V~LOFTHI~MIFEPREX~EGIMEN
                1.       The Introduction, of Mifepristone into the United States
                                  I      I
          Roussel Uclaf, a French ~harmaceutical’“firm,first developed and tested mifefiristone

 (“RU-486”) as an abortifacient. By April 1990 the drug had become permanently available in



 l4 An agency must explain its reasons for acting in a particular manner. See, e.g., Securities & Exchange
 Commissionv. Chenery Corp., 332 U.S. 194, 196-97 (1947) (noting that a court should not “be compelled to guess
 at the theory underlying the agency’s action,” but rather “[i]f the administrative action is to be tested by the basis
 upon which it pm-ports to rest, that basis must be set forth with such clarity as to be understandable.“). Post hoc
 rationalizations cannot salvage the agency’s action with respect to Mifeprex. See,e.g., Martin v. Occupatiorial
 Safety and Health Review Commission,499 U.S. 144, 156-57 (1991) (‘posthoc rationalizations of counsel “do not
 constitute an exercise of the agency’s delegated lawmaking powers”)j Invkstment CompanyInstitute v. Camp, 401
 U.S. 6 17, 628 (197 1) (“Congress has delegated to‘theadminisirative official andnot to appellate counsel the
 responsibility for elaborating and enforcing statutory commands.“).
  I5 See,e.g., Greater Boston Television Corp. v. FCC, 444 F.2d 841,852 (D.C. Cir. 1970) (“[AIn agency changing
 its course must supply a reasoned analysis indicating that prior policies and standards are being deliberately
 changed, not casually ignored, and if an agency glosses over or swerves from prior precedents without discussion it
 may cross the line from the tolerably terse to the intolerably mute.“) (footnote omitted) (citing approvingly Motor
  Vehicle Manufacturers Ass ‘n v. State Farm M&ual Automobile Ins. Co., 463 U.S. 29, 57 (1983)); JSG Tiadiizg
 Corp. v. USDA, 176 F.3d 535,544 and 545 ‘@iC. Cir. 1999) (remanding agency action where “the agency
 manifestly failed to explain its abrupt departure from prior precedent” and noting that the agency “was obligated to
 articulate a principled rationale for departing from [its prior] test”) (citations omitted); Gilbert v. National Labor
 Relations Board, 56 F.3d 1438, 1445 (DC. Cir. 1995) (“It is, of course, elementary that an agency must conform to
 its prior decisions or explain the reason for its departure from such precedent.“).



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                                                                                                     App. 000319
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 France. According to Dr. Andre Ulmann, the Roussel project manager for the development of

 RU-486, Roussel prohibited the commencement of any new studies in the United States and took

 the position that “under no circumstance[s]” would it permit a new drug application to be filed

 with FDA.16 In fact, “the chairman of Hoechst [the parent company to Roussel] had officially

  declared that mifepristone was not compatible with the ethics of the company.“”

          Undeterred by Hoechst’s,reluctance to bring the drug to the United States,on January 22,

  1993, President Clinton directed,Department of Health and Human Services (“HHS”) Secretary

  Donna Shalala to assessinitiatives,to promote the testing and licensing of mifepristone or other

  antiprogestins in the United States.‘* Further signaling that approval of mifepristone by FDA

  was a top priority of his Administration, President Clinton reportedly “wrote to Hoechst asking

  the company to file a new drug application with the FDA (an unprecedentedsituation in the

  pharmaceutical industry!), which Hoechst intransigently refused to do.“l’

          In early 1993, Secretary Shalala and FDA Commissioner David Kessler “cornrmmicated

  with senior Roussel Uclaf officials to begin efforts to pave the way for bringing RU-486 into the

  American marketplace.“20 On May 16, 1994, the Population Council reached an agreementwith

  Roussel Uclaf, pursuant to which the European drug maker transferred “without remuneration,




  I6 See Andre Ulmann, M.D., “The Development of Mifepristone: A Pharmaceutical Drama in Three Acts,” Journal
  of the American Medical Women’sAssociation 55 (Supplement 2000): 117-20, at 119. In 1994 Roussel Uclaf joined
  with the German pharmaceutical fii, Hoechst AG, to form Hoechst Roussel Ltd. In 1995, this entity merged with
  a third firm, Marion Merrell Dow, to form Hoechst Marion Roussel. In December 1999 Hoechst and Rhone-
  Poulenc combined to form Aventis, S.A., headquartered in Strasbourg, France.
  i7 Ulmann, in&z Appendix A, at 120.
  i* See Memorandum for the Secretary of Health and Human Services, “Importation of RU-486,” Public Papers of
  the Presidents: Administration of William J Clinton, 1993 (Jan. 22, 1993) at 11.
  I9 Uhnann, infra Appendix A, at 120 (emphasis’in original).
  2o HHS Fact Sheet, “Mifepristone (RU-486): Brief Overview,” (rel. May 16, 1994). Available at:
  <http://www.hhs.gov/news/press/pre1995pres/9405  16.t~~.



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                                                                                              App. 000320
     Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                         Page 324 of 467 PageID 9820



       its United Statespatent rights for mifepristone (RU-486) to the”Population Council . . . .“2’

       Secretary Shalala was instrumental in bringing about the transfer of the patent rights to the

       Population Councilz2and even set a deadline - May 15, 1994 - for the transfer.23

               After obtaining the American patent rights to mifepristone, the Population Council

5      conducted clinical trials in the United Statesland filed a nely drug application in 1996. The

       Population Council established a non-profit corporation, American Health Technologies

       (“AHT”), to assist in the effort to bring the drug to the market.24The Population Council

       ultimately granted Dance Laboratories, LLC ((‘Dance”), which was incorporated in the Cayman

       Islands in 1995, “an exclusive license to manufacture, market, and distribute Mifeprex in the

10     United States.“25Dance, after a difficult searcht6selectedthe Chinese drug manufacturer,


       21 HHS Press Release, “Roussel Uclaf Donates U.S. Patent Rights for RU-486 to Population Council,” (rel. May 16,
       1994). Available at: <http://www.hhs.gov/news/press/pre1995pres/940516.tx~.
       22 Id. (“Shalala commended Roussel Uclaf and the Population Council for coming to closure after months of
       complex negotiations amid repeated urging from the Clinton administration.“)
                                                                  ;.
       23 See William J. Eaton, “Path Cleared for Abortion Pill Use Medicine: French Maker of RU-486 Gives Patent
       Rights to a Nonprofit Group,” Los Angeles T&es, May 17,1994, at Al (“Negotiations between the French
       manufacturer and the Population Council dragged on‘ for more than a year until Shalala set a May 15 deadline,
       producing the agreement. . . .“).
       24 Dr. Susan Allen, who once served as president and CEO of American Health Technologies, joined the staff of the
       Reproductive and Urologic Drug Products Division in FDA’s Center for Drug Evaluation and Research in 1998 as a
       medical officer and was promoted to team leader for reproductive drugs in January 1999. See “RU-486 Action Date
       Is Sept. 30; Allen Named Reproductive Division Director,” ThePink Sheet62 (June 12,200O): at 14. Dr. Allen
       became acting director of,the Division in January 2000 and permanent director on June 18,200O. Seeid. The Pink
       Sheet also commented, “Allen is presumably recused from the mifepristone review as a result of her prior
       experience with the product.” Id.
       25 Dance, “The History of Mifeprex,“available at <http://www.earlyoptionpill.com/history.php3~.   (Dance has
       dubbed mifepristone “the Early Gption Pill” for marketing purposes.) Little information about Dance is available.
       See Robert O’Harrow, “RU-486 Marketer Remains Elusive,” WashingtonPost (Oct. 12,200O): at Al8 (“Secretive
       and obscure, Dance is one of the most enigmatic companies in the pharmaceutical industry.“). Dance is apparently
       a successor entity to Advanced Health Technology. See “RU-486 Action Date Is Sept. 30; Allen Named
       Reproductive Division Director,” The Pink Sheet62 (June 12,200O): at 14 (reporting that Advanced Health
       Technologies had become Neogen, which, in mm, had become Dance, according to the Population Council and
       Dance, “with some management and investor changes”).
       26 In 1995 Dance contracted with a Hungarian pharmaceutical fq      Gideon Richter, to manufacture mifepristone
       for American distribution. After Gideon Richter reneged on the contract in February 1997, Dance sued Gideon
       Richter for breach of contract and began searching for a new producer. See “Ru-486: U.S. Partners Sue European
       Manufacturer,” Kaiser Daily Reproductive Health Report (June 12, 1997) (available at:
       ~http://www.kaisernetwork.org/reports/1997~06~a970612.1.htm1~).    This was one of a number of lawsuits stemming



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  Shanghai Hua Lin Pharmaceutical Company, to manufacture the drug.27Abortion advocates
                                                                                  :
  eagerly awaited the approval of mifepristone in the United Statesbecause,among other reasons,

  they anticipated that it would enhancewomen’s accessto abortion.28


                    2.       FDA Apfiroval of Mifepristone

           The Population Council filed a new drug application for “mifepristone 200 mg tablets”

  on March 18, 1996.*’ FDA initially accordedthe drug standardreview, but in a letter dated

  May 7, 1996, FDA’s Center for Drug Evaluation and Research”notified the Population Council

  that mifepristone would receive priority review.3o On September 18, 1996, FDA issued a letter


  from attempts to bring mifepristone to the United States. See,“Ru-486: Litigation Could Cause Delay For U.S.
  Introduction,” Kaiser Daily Reproductive Health Report (Dec. 17, 1996) (available at:
  <http://www.kaisemetork.org/reports/l996/~2/a961217.9.html>)       (describing some of the legal problems
  encountered by the Population Council inbringing the drug to market).
  27 Pamela Wiley, “Chinese Plant to Make RU-486 for U.S.,” (Oct. 15, 2000) (available at:
  <http://www.nurseweek.comlnews/00-10/1015-486.asp>).
  28 See Margaret Talbot, “The Little White Bombshell,” New York TimesMagazine (July 11, 1999): at 39-43 (“‘One of
  my real, and I think realistic, hopes for this method,’ says Carolyn Westhoff, an OB-GYN at Columbia University
  medical school who offers medical abortion as part of a clinical trial, ‘is that it will help get abortion back into the
  medical mainstream and out-of this ghettoized place it’s been in.’ And if that is indeed the scenario we’re looking at -
  a scenario in which abortion is folded far more seamlessly into regular medical practice - then it has implications not
  only for women’s experience of abortion but for the politics of abortion as well.“); id. (“Not only are m&p&tone
  abortions, by nature, more discreet than their surgical equivalents (like vacuum aspiration), but the practitioners who
  prescribe them will almost certainly constitute a larger and a more varied group than the dwindling corps of GB-GYNs
  willing to do surgical abortions.“) In fact, access to medical abortion, will continue to depend on the availability of
  surgical abortion, which serves as a back-up in FDA’S approved Mifeprex regimen. Thus, it is spurious to suggest that
  Mifprex abortions can safely be made available in places in which surgical abortion is not offered.
  2g The application was dated March 14, 1996 and received by FDA on March 18,1996. See Letter, FDA/CDER to
  Ann Robbins, Population Council (Sept. 18, 1996): at 1 (“1996 Mifepristone Approvable Letter”).
  3o See Letter, FDAKDER to Ann Robins, Population Council (May 7, 1996)[FDA FO’IA Release: MIF 00643 11.
  The Population Council filed its complete response on March 30,2000, which gave FDA until September 30,200O
  to act on the application. In fiscal year 2000 a “standard” designation would have given FDA at least ten months to
  consider the application. FDA accorded mifepristone “priority review, ” which typically required FDA to act within
  six months. See FDAKDER, “PDUFA Reauthorization Performance Goals and Procedures” (Nov. 16, 1997)
  (available at: <http://www.fda.gov/cder/news/pdufagoals.htm>)     (“Fiscal Year 2000”). Of 98 approvals in 2000,
  only 20 were Priority Review drugs. See FDA/CDER, Report to the Natibn (2000): at 6. FDA’s use of priority
  review appears inappropriate when considered in light of the agency’s current guidance on the issue, which states
  that priority review is appropriate when “[tlhe’drug product, if approved, would be a significant improvement
  compared to marketed products [approved (if such is required), including non-“drug” products/therapies] in the
  treatment, diagnosis, or prevention of a disease.” See FDA/CDER, “Review Management:’ Priority Review Policy,”
  Manual of Policies and Procedures (MAPP) 6020.3, at 1 (Apr. 22, 1996) (text bracketed as in original).



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       stating that the application was approvable and requestedmore information from the sponsor.31
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                                        /    “8,          !       ,_                    a .,. *
                                             _;
       FDA issued a second approvable letter for mifepristone, dated February 18,2000, setting forth

       the remaining prerequisites for approval.32The 20OO’MifepristoneApprovable Letter announced

       that FDA had “considered this application under the restricted distribution regulations contained

5      in 21 CFR 314.500 (Subpart H) and [had] concluded that restrictions as per [21] CFR 314.520 on

       the distribution and use of mifepristone are neededto assuresafe use of this product.“33

                On September 28,2000, FDA approved mifepristone (‘MifeprexTM”) “for the medical

       termination of intrauterine pregnanciesthrough 49 days’ pregnancy.“34Mifeprex was approved

       under Subpart H, which, FDA explained, “applies when FDA concludes that a drug product

10     shown to be effective can be safely used only if distribution or use is restricted, such as to certain

       physicians with certain skills or experience.“35The approvedregimen requires at least three

       office visits.36 FDA required the Population Council to include, on the Mifeprex Label, a “black

       box warning for special problems, particularly those that may lead to death or serious injury.“37


       31 1996 Mifepristone Approvable Letter at 1.
       32 2000 Mifepristone Approvable Letter at 1.
       33 2000 Mifepristone Approvable Letter at 5.
       34 Letter, FDA/CDER to Sandra P. Arnold, Population Council (Sept. 28, 2000): at 1 (“Mifeprex Approval Letter”).
       In conjunction with the Mifeprex Approval Letter, FDA issued a memorandum that expanded upon the basis for and
       the restrictions on the approval of Mifeprex. See Memorandum, FDA/CDER to “NDA 20-687 MIFEPREX
       (mifepristone) Population Council” (Sept. 28, 2000): at 6 (“Mifeprex Approval Memo”).
       35 Mifeprex Approval Memo at 6.
       36 Pursuant to the approved regimen, on “Day One: Mifeprex Administration” the patient reads the Medication
       Guide, signs the Patient Agreement, and ingests 600 mg of Mifeprex; on “Day Three: Misoprostol Administration”
       the patient ingests 400 micrograms of misoprostol orally (unless abortion has occurred and been confirmed by
       clinical examination or ultrasonographic scan); and, on or about “Day 14: Post-Treatment Examination” the patient
       returns to the practitioner for verification through a clinical examination or ultrasound that the pregnancy has been
       successfully terminated. See Mifeprex Label (“Dosage and Administration”)(available        at:
       <http://www.fda.gov/cder/foillabell2000/206871b1.pd~).
       37 Mifeprex Approval Memo at 2 (citing 21 CFR 201.57(e), which authorizes FDA to require such a warning). The
       terms “label,” “labeling,” and “package insert” are often used interchangeably in food and drug law literature. In
       this Petition, “Label” describes the fine-print “package insert” that accompanies a drug when it is purchased.
       However, the FD&C Act defines “label” as “a display of written, printed, or graphic matter upon the immediate
       container of any article . . . .” 21 U.S.?. $ 321(k). The term “labeling,” which will also appears in this Petition,


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       FDA also outlined the Population Council’s post-approval, PhaseIV study commitments38and

       waived, without explanation, FDA’s regulations providing that all new drugs must be tested for

       safety and effectiveness in children.3g


5               C.        BACKGROUN@.ON @DA’S Dl@G AppRQy&L PROCESS                       I
                          1.   FDA’s Default Pyles for E+ablishing Drug Safety and Effectiveness
                FDA’s regulations state that “[tlhe purpose of conducting clinical investigations of a drug

       is to distinguish the effect of a drug from other influences, such as spontaneouschange in the

10     course of the disease,placebo effect, or biased obse,rvation.‘“l’ FDA’s default criteria for

       establishing safety and effectivenessare commonly referred to as the agency’s “gold standard.“41

       At the core of this default standardis FDA’s recognition, reflecting the development of the

       scientific method and its application to pharmacology, that human bias and misperceptions are

       pervasive and that every precaution must be taken to avoid them. “The history of experimental
                                                                                             / a
15     medicine and researchpsychology,” Michael Greenbergwrites, “had demonstratedthat

       uncontrolled, unblinded clinical trials were
                                                )’ systematically vulnerable to experimenter bias,
       placebo effects, and the like.“42 Consequently, rigorous policies have been set forth by FDA and,



       encompasses “all labels and other written, printed, or graphic matter (1) upon any article or any of its containers or
       wrappers, or (2) accompanying such article.” 2 1 USC. 5 32 1(m). “Labeling” may even describe promotional
       materials used by the drug manufaciurer%icliidmg “[blrochures, booklets, mailmg’piecks, .‘. .‘price’lists, catalogs,
       house organs, letters, motion picture films, fihn strips, lantern slides, . . . and reprints and similar pieces of printed,
       audio or visual matter descriptive of a drug and references published (for example, the Physician’s Desk Reference)
       for use by medical practitioners, pharmacists, or nurses . . . .” 21 C.F.R. Q202.1(l)(2). FDA has provided more
       information on this terminology at: <http://www.fda.gov/cderfhandbooMadverdef.htm~.
       38 See Mifeprex Approval Memo at 7.
       3g See FDA Mifeprex Approval Letter at 3.
       4o 21 C.F.R. 5 314.126(a).
       41 See Jennifer Kulynych, “Will FDA Relinquish the ‘Gold Standard’ for New Drug Approval? Redefining
       ‘Substantial Evidence’ in the FDA Modernization Act of 1997,” Food and Drug Law Journal 54 (1999): 127-149, at
       129. We will refer to these criteria as the “default standard.”
       42 Michael D. Greenberg, “AIDS, Experimental Drug Approval, and the FDA New Drug Screening Process,”
       Legislation and Public Policy 3 (2000): 295-330, at 308.



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  more recently, by the International Conference on &rrnonisation (“ICH”) to eliminate bias from
                                   :-y  i            :
  the evaluation of drug safety and effectiveness.43

           FDA has been criticized for its zealous implementation of this policy,44but there is

  widespread recognition of the value of the default standard. The 1962 statutory arnendmentsto

  the FD&C Act “authorized the agency to review all NDAs, not only to assessdrug safety, but

  also to determine whether a manufacturer has provided ‘substantial evidence’ from ‘adequate

  and well-controlled investigations’ that a drug is effective for its intended use.“45In

  implementing regulations, FDA “required that the evidence include at least one (and usually two)

  well-controlled (preferably ‘blind’) trials showing statistically significant results for treatment of

  humans with the new drug.“46 “[B] arrm
                                       ’ g unusual circumstances,the agency ordinarily requires

  two successful and well-controlled clinical trials for new drug approval.“47FDA’s mandate for

  clinical trials “has two very important elements:”

           (1) a “controlled” trial, in which an experimental drug is compared to a placebo, or a
           known effective treatment in order to establish the comparative efficacy of the drug, and
           (2) a “double-blind” trial, which involves random assignmentof researchsubjects to the


  43 FDA, “International Conference on Harmonisation; Guidance on General Considerations for Clinical Trials,”
  Notice, 62 Fed. Reg. 66113 (Dec. 17,1997) (FDA Guidance (ICH: E8): General Considerations). The homepage,
  (www.ich.org), for the ICH describes the organization as follows: “The International Conference on Harrnonisation
  of Technical Requirements for Registration of Pharmaceuticals for Human Use (ICH) is a unique project that brings
  together the regulatory authorities of Europe, Japan and the United States and experts from the pharmaceutical
  industry in the three regions to discuss scientific and technical aspects of product registration. The purpose is to
  make recommendations on ways to achieve greater harmonisation in the interpretation and application of technical
  guidelines and requirements for product registration
                                                   -i .., I,. in order to reduce or obviate the need to duplicate the testing
  carried out during the research and development of new medicmes~ Th?objec%eof suchharmomsation is a more
  economical use of human, animal and material resources, and the elimination of unnecessary delay in the global
  development and availability of new medicines whilst maintaining safeguards on quality, safety and efficacy, and
  regulatory obligations to protect public health.”
  44 See, e.g., Henry I. Miller, “Failed FDA Reform,” Regulation 21 (Summer 1998): 24-30.
  45 Kulynych,   infia Appendix A, at 129 (citing 21 U.S.C. $355(d)).
  46 Greenberg, in.a Appendix A, at 307 (citing 21 C.F.R. 0 314.126 (1999). FDA comprehensively revised NDA
  evaluation rules in what is commonly referred‘to as the “NDA Rewrite.” SeeFinal Rule, “New Drug and Antibiotic
  Regulations,” 50 Fed. Reg. 7452 (Feb. 22, 1985). Section 314.126 was promulgated in that final rule. Id. at 7506-7.
  47 Kulynych, infra Appendix A, at 130.



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                       experimental and control groups, under conditions in which neither the doctors nor the
;   :                  researchsubjects know tiho is getting the experimental drug and who the contro1.48

                       Each of the mandated featureshelps to eliminate bias in trial results. First, in “double-

        5      blinded” studies neither the patient nor the provider team (physician, nurse, etc.) knows the

               identity of the drug administered. If that is not possible, the person evaluating the trial results

               will not know which treatment .h
                                             hasi/been ,admimstere,dto,whiqh subject. Second, a “randomized”

               study requires a random determination of which subject receiveswhich treatment. This

               determination is often effected through computer-generatedassignmentsdone before clinical

        10     testing begins. Finally, comparison-control (also known as “comparator-control”) requires that

               the experimental drug be compared c~~tcurrentlyto‘ the current best treatment, or, alternatively,

               to a placebo. A placebo is used when the drug being tested representsthe first treatment of its

               kind for the particular indication and no establishedtreatment exists.


        15                      2.       FDA Initiatives to Expedite the Approval of Drugs for the Very Sick
                       Largely in responseto FDA’s perceived sloivnessin approving drugs for human

               immunodeficiency virus (“HIV”) patients, the agency undertook severalinitiatives to either

               expedite the ability of seriously or terminally-ill patients to have accessto experimental drugs or

    20         to provide processes“intended to move drugs to market more quickly by compressing clinical

               development and FDA review times.“4g In 1988, FDA adopted an interim rule establishing

               Subpart E of 21 C.F.R. Part 312 (“Drugs Intended to Treat Life-Threatening and Severely-




               48 Greenberg, inj?a Appendix A, at 307-8 (footnotes omitted).
               4g Sheila R. Shuhnan and Jeffrey S. Brown, “The Food and Drug Administration’s Early Access and Fast-Track
             ‘ Approval  Initiatives: How Have They Worked?” Food and DIrug Law Journal 50 (1995): 503-53 1, at 503-4.



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       Debilitating Diseases”).” Subpart
                                     , E embodied several of the new proceduresthat FDA had used

       to bring the HIV medication, AL$T(zidoiudine), to market quickly.51 Subpart E also created a

       “collaborative framework in which early and repeatedconsultation between the FDA and

       pharmaceutical manufacturers servedto facilitate clinical trials, and to insure ex ante that

5      prospective researchdesigns would meet with subsequentregulatory approval.“52 “Taken

       together,” the innovations found in Subpart E, “served to radically alter the new drug approval

       processwith regard to life-threatening illnesses, particularly for AIDS.“53

                  On April 15, 1992, FDA took its procedural innovations further when it proposed an

       “Accelerated Approval” process(i.e., Subpart H). Shulman and Brown believe that Subpart H

10     “represent[ed] the most significant departure from the traditional FDA standardsfor drug

       approval.“54 Subpart H’s “major point of departure” from previously existing approval regimes

       was its focus on granting drug approval
                                         /         “on the basis of the drug’s effect on a surrogate endpoint
                                                 /          ‘. :     ., ‘ gzx, _’*                  ,-a   ‘,_
       that is reasonably likely to predict clinical benefit over time.“55 A “surrogate end point” or

       “surrogate marker” is “a laboratory parameter or physical sign that is used in a clinical trial as a

15     substitute for a clinically meaningful end point, such as mortality.“56 The value of surrogate




       5o SeeInterim Rule, “Investigational New Drug, Antibiotic, and Biological Drug Product Regulations; Procedures
       for Drugs Intended To Treat Life-Threatening and Severely ‘Debilitating Illnesses, ” 53 Fed. Reg. 4 1,5 16 (Oct. 2 1,
       1988). The Subpart E rules may be found at 21 C.F.R. QQ312.80-88.
       51
            See Greenberg, inj?a Appendix A, at 32 1.
            Greenberg, infra Appendix A, at 321 (citation omitted).
            Greenberg, infra Appendix A, at 323.
            Shuhnan and Brown, infra Appendix A, at 5 14.
          Shuhnan and Brown, infra Appendix A, at 5 14. Likewise, Greenberg observed that the “essential element of the
       accelerated approval regulations [i.e., Subpart H] was the provision that ‘surrogate endpoints’ could be employed as
       the empirical basis for FDA approval of a new drug.” Greenberg, inpa Appendix A, at 323 (citation omitted).
       56 Dennis F. Thompson, “Surrogate End Points, Skepticism, and the CAST Study,” editorial, Annals of
       Pharmacotherapy, 36 (Jan. 2002): 170-71, at 170 (citations omitted).




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       endpoints lies in their ability to predict   clinical outComes. As “examples of surrogate end
                                          7,,.*i / / .,s .,I -. .,( { _.. /                / ‘, 1”: : .’
       points that have been proven to be excellent predictprs of clinical outcomes and, hence, have
                                     .
       savedboth money and precious time expediting drugs to the patient care arena,” Dean Detiis

       Thompson cites “a diverse group of antihypertensive drugs approved on the basis of reduced

5      blood pressure effects [that] has shown clear benefits in reducing cardiovascular events and

       mortality.“58 With the passageof the Food and Drug Administration Modernization Act of 1997

       (“FDAMA”), Congresseffectively codified Section 314.510, the surrogate endpoint provision of

       Subpart H.5g

               Neither Sehulmanand Brown nor Greenbergfocused on a secondtype of drug approval

10     included in Subpart H - codified now at 21 C.F.R. $3 14.520.” This secondavenue for

       Subpart H approval is reservedfor circumstancesin which “FDA determines that a drug,

       effective for the treatment of a disease,can be used safely only if distribution or use is modified

       or restricted.“61 Pursuant to this provision “FDA may approve a treatment subject to special


       57 See Thompson, inj+a Appendix A, at 170.
       ‘* Thompson, infra Appendix A, at 170.
       5g This codification was part of Congress’s major reauthorization and modernization of the Federal Food, Drug &
       Cosmetic Act. Section 506(b) of FDAMA (21’U.S.C. Q 356) “in effect, codifie[d] in statute FDA’s Accelerated
       Approval Rule . . . , made final in 1991, which allows expedited marketing of certain new drugs or biological
       products intended to treat serious or life-threatening illneises and that appear &provide meaningful therapetitic
       benefits to patients compared with existing treatments.” FDA Centers for Drug Evaluation and Research and for
       Biologics Evaluation and Research, Guidancefor Industry: Fast Track Drug Development Programs - Des@ation,
       Development, and Application Review, at 2 (Sept. 1998) (footnote omitted). While clearly codifying Subpart H’s
       surrogate endpoint provision at 21 U.S.C. $ 35’6(b)( l), Congr&s does not appear to have enacted a parallel provision
       to Section 3 14.520, which pertains to “restricted use” drugs, under which Mifeprex was approved.
                                                         : :
       ” Section 3 14.520 (Approval with restrictions to ensure safe hse.) states:
                (a) If FDA concludes that a @g product shown to be effective can be safely used only if distribution or use
                           is restricted, FDA will require such postmarketing restrictions as are needed to ensure safe ‘use of
                           the drug product, such as:
                (1) Distribution restricted to certain ficilities or physicians with special training or experience; or
                (2) Distribution conditioned on the performance of specified medical procedures.
                (b) The limitations imposed Will be commensurate with the specific safety concerns presented by the drug
                           product.
       ” Subpart HFinal Rule, 57 Fed. Reg. at 58942.



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  distribution or use restrictions that-addressoutstanding safety issues.““2 Section 314.520

  balanced FDA’s desire to bring clinically beneficial drugs to the market with the agency’s

  concern that “[slome drugs, however, are so inherently toxic or otherwise potentially harmful

  that it is difficult to justify their unrestricted use.“63The agency explained “that some clinically

  beneficial drugs can be used safely only if distribution and use are modified and restricted.“”

           Section 3 14.520 is intended for, drugs that are vitally necessary,but which may impose

  greater than normal risks for the patient.65FDA was willing “to approve such high risk drugs for

  early marketing if the‘agency can be assuredthat postmarketing restrictions will be in place to

  counterbalancethe known safety concems.“66Postmarketing restrictions would be designed “to

  enhancethe safety of a drug whose risks would outweigh its benefits in the absenceof the

  restriction.“67 FDA intended to employ restrictions on distribution “only in those rare instances

  in which the agency believes carefully worded labeling
                                  ._                 r for a product granted accelerated
                                         I
  approval will not assurethe product’s safe use.“68In the absenceof restrictions, which “may

  vary with the circumstancesof each drug[,] . . . the drug would be adulterated under Section 501

  of the act, misbranded under Section 502 of the act, or not shown to be safe under Section 505 of

  the act.“69 In short, “[wlithout such restrictions, the drugs would not meet the statutory criteria,



  62 Geoffrey M. Levitt, James N. Czaban, and Andrea S. Paterson, “Chapter 6: Human Drug Regulation” in
  Fundamentals of Law and Regulation: An In-Depth Look at Therapeutic Products (David G. Adams, Richard M.
  Cooper, and Jonathan S. Kahan, eds.), vol. II (Washington, D.C.: Food and Drug Law Institute, 1997): at 206.
  63 Subpart H Proposed Rule, 57 Fed. Reg. at 13236.
  64 Subpart H Proposed Rule, 57 Fed. Reg. at 13236.
  65 Of course, “[v]irtually all drug[s] can be toxic to humans, and no drug is completely free of risk,” but,’ as the
  seriousness of an illness and the effect,of the drug on that illness increase, “the greater the acceptable risk from the
  drug.” Subpart H Proposed Rule, 57 Ped. Reg. at 13236.
  66 Subpart HProposed Rule, 57 Fed. Reg. at 13237.
  67 Subpart H Final Rule, 57 Fed. Reg., at 58952.
  68 Subpart H Final Rule, 57 Fed. Reg. at’58952 (emphasis added).
  69 Subpart H Proposed Rule, 57 Fed. Reg. at 13237.


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       could not be approved for distribution,‘and would not be available for prescribing or
                     ,/                        :          *
       dispensing.“70 Mifeprex was the third of four drugs approvedpursuant to Section 3 14.520.71


                D.       FDA’S APPROVAL OF MIF&PR&X IJNIJl$R ITS ACC@LERATl$D
5                        APPROVAL REGULATIONS (SUBPART H) WAS ARBITRARY,
                         CAPRICIOUS, AN ABUSE OF DTSCRETION, OR OTHERWISE NOT IN
                         ACCORDANC$ WITh LAW
                FDA’s acceleratedapproval regulations (Subpart H) apply to certain new drug products

10     “that have been studied for theirsafety and effectivenessin treating serious or life-threatening

       illnesses and that provide meaningful therapeutic benefit to patients over existing treatments

       (e.g., ability to treat patients unresponsiveto, or intolerant of, available therapy, or improved

       patient responseover available therapy.)“72 When it proposed Subpart H in 1992, FDA observed

       that the following types of illness would fall within the reach of Subpart H:

                        The terms “serio$s” and “life-threatening” would be used as FDA has defined
                them in the past. The seriousnessof a diseaseis a matter of judgment, but generally is
                based on its impact on such factors as survival, day-to-day functioning, or the likelihood
                that the disease,if left untreated, will progress from a less severecondition to a more
                serious one. Thus, acquired immunodeficiency syndrome (AIDS), all other stagesof
                human immunodeticiency virus (HIV) infection, Alzheimer’s dementia, angina pectoris,
                heart failure, cancer, and many ‘other diseasesare clearly serious in their ft& ”     ’
                manifestations. Further, many chronic illnesses that are generally well-managed by
                available therapy can have serious outcomes. For example, inflammatory bowel disease,

       7o Subpart H Final Rule, 57 Fed. Reg. at 5895 1. The agency continued: “The agency, as a matter of longstanding
       policy, does not wish to interfere with ime appropriate practice of medicine or pharmacy. In this instance; the agency
       believes that rather than interfering with physician or pharmacy practice, the regulations permit, in exceptional
       cases, approval of drugs with restrictions so that the drugs may be available for prescribing or dispensing.” Id. at
       58951-52.
       7’ On June 7,2002, the drug Lotronex (alosetron hydrochloride) was reintroduced to the market after a
       Supplemental NDA was approved pursuant to Subpart H’s redistricted distribution provision. See Letter,
       FDAKDER, Florence Houn, M.D., Director, Office of Drug Evaluation III to Olivia Pinkett, Product Director,
       Regulatory Affairs, GlaxoSmithKline (June 7, 2002): at 1 (“This supplemental application, considered for approval
       under 21 CFR 3 14, Subpart H at your ie@est,‘narrows the original approved indication to use of the drug in‘a
       population for whom the benefits of the drug may outweigh the risks and provides for a risk management
       program. . . . You have indicated your agreement with approval under restricted conditions.“).
       72 21 C.F.R. Q 314.500. The rule was amended in 1999 to remove the words “and antibiotic.” See Conforming
       Regulations Regarding Removal of Section 507 of the Federal Food, Drug, and Cosmetic Act, Final Rule, 64 Fed.
       Reg. 396,402 (Jan. 5, 1999).
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               asthma, rheumatoid arthritis, diabetesmellitus, systemic lupus, erythematosus,
               depression,psychoses,and many other diseasescan be serious for certain populations or
               in some or all of their phases.73“

5      According to FDA, the agency has approved 38 NDAs, including the Mifeprex application,

       under Subpart H.74Of these approvals, 20 were for the treatment of HIV and HIV-related

       diseases,nine were for the treatment of various cancers,and their symptoms, four were for severe

       bacterial infections, one was for erythema nodosum leprosum (leprosy), one was for

      hypotension, and, finally, one was for the termination of unwanted pregnancies.75

10             Pregnancy, without major complications, is not a “serious or life-threatening illness” for

       purposes of Subpart H. It is, rather, a normal physiological state experiencedby most females

       one or more times during their childbearing years, and it is rarely accompaniedby complications

       that threaten the life of the mother or the child. Following delivery, almost all women return to a

       normal routine without disability.I Thus, pregnancy is not the kind of exceptional circumstance
                                              <,
                                                          .:
15     that falls within the scopeof Subpart I% The fact that the Mifeprex Regimen is intended for

       healthy women provides further evidence of this point.




       73 Subpart H Proposed Rule, 57 Fed. Reg. at 13235. In the Subpart H Final Rule, FDA asserted that “serious and
       life-threatening illnesses” would be readily identifiable: “FDA discussed the meaning of the terms ‘serious’ and
       ‘life-threatening’ in its final rules on ‘treatment &D’s’ (52 FR 19466 at 19467, Iviay 22,1987) and ‘subpart E’
       procedures (54 FR 41516 at 41518-41519, October 21,1988). The use of these terms in this rule is the same as
       FDA defined and used the terms in those rulemakings. It would be virtually impossible to name every ‘serious’ and
       ‘life-threatening’ disease that would be within the scope of this rule. In FDA’s experience with ‘treatment IND’s’
       and drugs covered by the ‘subpart E’ procedures there have not been problems in determining which diseases fall
       within the meaning of the terms ‘serious’ and ‘life-threatening,’ and FDA would expect no problems under this
       accelerated approval program.” Subpart H Fihal Rule, 57 Fed. Reg. at 58945.
       74 These estimates are based on the version of FDA’s webpage, dated February 5,2002, listing Subpart H approvals,
       infra Appendix A.
       75 See FDAKJDER webpage, “NDAs Approved under Subpart H,” infra Appendix A. A copy of the most recently
       available version is reproduced in Appendix C (available at: <http://www.fda.gov/cder/rdmt/accapp.htm>).       See also
       “NDA Supplements Approved under Subpart II” (available an <http://w&v.fda.gov/cder/rdmt/accap$ri          :‘htni>)
       (supplemental approvals are not included in the figures set forth in the text because they refer to FDA actions
       regarding drugs that have already been approved).



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                                                                                                         App. 000331
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          In fact, the Population Council argued strenuously that its application for mifepristone
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  did not fall within the scope of Subpart H.76 In a letter to FDA written approximately three

 weeks before the final approval of the mifepristone NDA, the Population Council’s Sandra P.

  Arnold protested, “. . . it is clear that the imposition, of Subpart H is unlawful, unnecessary,’and

  undesirable. We ask FDA to reconsider.“77Arnold,argued correctly that “[nleither pregnancy

  nor unwanted pregnancy is an illness, and Subpart H is therefore inapplicable for that reason

  a1one.“78She continued, stating, ‘Neither is pregnancy nor unwanted pregnancy a ‘serious’ or

  ‘life-threatening’ situation as that term is defined in Subpart H.“7g In the next paragraph, after

  directly quoting the Supbart H Final Rule, Ms. Arnold assertedthat “[t]he plain meaning of these

  terms does not comprehend normal, everyday occurrencessuch as pregnancy and unwanted

  pregnancy.“so She added that, unlike HIV infection, pulmonary tuberculosis, cancer, and other

  illnesses, “pregnancy and unwanted pregnancy do not affect survival or day-to-day functioning
                                                                                           :
  as those terms are used in Subpart H.“81 She continued that, “although a pregnancy

  ‘progresses,“’ the development of a pregnancy “is hardly the sameas the worsening of a disease

  that physicians call progression.“82



  76 The Population Council appears to have been concerned about getting the drug approved “without invoking the
  Subpart H regulatory provisions that signal ‘big deal’ to the pharmaceutical industry.” Letter, Sandra Arnold to
  FDAKDER, Office of Drug Evaluation III, Division of Reproductive and Urolcgic Products (Sept.’ 6, 2000): at 4
  [FDA FOIA Release: MIF 001333-49](“Sandra Arnold Letter”). Sandra Arnold was “Vice President, Corporate
  Affairs” of the Population Council.
  77 Sandra Arnold Letter at 1.
  78 Sandra Arnold Letter at 1-2.
  7g Sandra Arnold Letter at 2.
  *’ Sandra Arnold Letter at 2.
  *i Sandra Arnold Letter at 2.
   *2 Sandra Arnold Letter at 2. Ms. Arnold also warned the agency that extending the scope of Subpart H to include
  pregnancy and unwanted pregnancy by exercising agency “judgment” was not defensible; the exercise of such
  judgment should go to whether or not “aparticular disease a&ally‘is serious; ‘not [act as] a means of’stietching the
   meaning of serious to cover entirely new categories
                                                 /     of non-serious situations.” Id.



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                                                                                                   App. 000332
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               Additionally, Mifeprex fails to meet the second
                                                           : requirement
                                                               ?’        set forth in Section 3 14.500
                                       I                   1                         I       ,I: ,.
       that drugs approved under Subpart H “provide meaningful therapeutic
                                                                  I,       benefit  to patients over

       existing treatments (e.g., ability to treat patients unresponsiveto, or intolerant of, available

       therapy, or improved patient responseover available therapy.)” As was noted above, the
                                                                                           -’ :
5      Mifeprex Approval Memo contends “that the termination of an unwanted pregnancy is a serious

       condition within the scopeof Subpart H [and] [t]he meaningful therapeutic benefit over existing

       surgical abortion is the avoidance of a surgical procedure.“83By defining the “therapeutic

       benefit” solely as the avoidance of the current standardof care’s delivery mechanism, FDA

       effectively guaranteesthat a drug will satisfy this secondprong of Subpart H as long as it

10     representsa different method of ‘therapy.84It does not appearthat such considerations formed the

       basis of any other Subpart H approval.

               When FDA adopted Subpart H,  I_:/it cited as “readily
                                                              f      understood illustrations of the intent
                                                                                                  ,,‘:
       of the [meaningful therapeutic benefit] requirement” an “improved responsecompared to

       available therapy” and the “ability to treat unresponsiveor intolerant patients.“*$ Based on these

15     illustrations, Mifeprex does not fall within the intent of the requirement. First, there is a less

       dangerous,more effective alternative to Mifeprex available for the termination of pregnancies:

       namely, surgical abortions. Dr. Jeffrey Jensenconducted a study to compare the safety and




                                              /
       83 Mifeprex Approval Memo at 6.
       84 The view that merely making a different mode of therapy available per se produces a benefit is inconsistent with
       the position the agency has articulated elsewhere. MAPP 6020.3, which defines eligibility for FDA priority review,
       suggests that drug therapies are not inherently superior to non-drug therapies. Specifically, a drug may be afforded
       priority review if it would provide a significant
                                                I _A.,,     improvement when compared with “marketed products . . . including
                                                     .,,..*..,‘
       non-k&g)) products/therapies.” See‘$DA/CD@&;L~~:e~~~w~a~ag~~~~~i-Pribrity
                                                                              $+$~eWP&~,M“&f$‘Pp &~0.3,~
       at 1 (Apr. 22, 1996).
       85 Subpart H Final Rule, 57 Fed. Reg. at 58947.




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       efficacy of medical abortion with that of’surgical abortion.86The study compared 178 patients

      who, as participants in the U.S. clinical trial in support of the Mifeprex NDA, underwent

      mifepristone/misoprostol abortions, with 199 patients who later received surgical abortions at the

       same clinical site. The primary procedure
                                       /     ?.I failed (i.e.,
                                                           ; there was a subsequentsurgical
5      intervention) in 18.3 percent of the mifepristone/misoprostol patients and 4.7 percent of the

       surgical patients.87Of the mifepi-istone/misoprostol patients who failed their primary procedure,

       12.5 percent required surgical intervention for acute bleeding, 43.8 percent for persistent

      bleeding, 15.6 percent for incomplete abortion, and 28.1 percent for ongoing pregnancy.” By

       contrast, the sole causefor surgical intervention among the surgical patients who failed their

10     primary procedure was persistent bleeding.” In addition, mifepristone/misoprostol patients

       “reported significantly longer bleeding” and “significantly higher levels of pain . . . , nausea . . . ,

       vomiting . . . , and diarrhea” than their ,surgicalcounterparts.go

               Second, Mifeprex does not treat a subsetof the female.population that is unresponsiveto,

       or intolerant of surgical abortion. To the contrary, because“medical abortion failures should be

15     managedwith surgical termination” the option for surgical abortion must be available for any

       Mifeprex patientg’ As the U.S. trial conducted in support of the NDA indicated, the possibility




       86 Jeffrey T. Jensen, Susan J. Astley, Elizabeth Morgan, and Mark D. Nicols, “Outcomes of Suction Curettage and
       Mifepristone Abortion in the United States: A Prospective Comparison Study,” Contraception 59 (1999): 153-l 59
       (“Jensen Study”)[FDA FOIA Release: MIF 000438-441.
       87 See Jensen Study, infia Appendix A, at 155, Table 2.
       ” See Jensen Study, inj?a Appendix A, at 156, Table 3.
       ” See Jensen Study, infia Appendix A, at 156, Table 3.
       go Jensen Study, inj?a Appendix A, at 156.
       ” Mifeprex Label (“Warnings”).




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      for failure is substantial.g2Thus, any patient who would be intolerant of surgical abortion, if such
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                                         I_
      a class of patients exists, cannot use the Mifeprex Regimen.

               As discussedbelow, FDA approvedMifeprex pursuant to Section 3 14.520 in order to

      impose safety restrictions to counteract the risks it had~identl:fied, FDA, confronted by the

5      sponsor’s refusal to establish vohu$ary restrictions on distribution,g3viewed Subpart H as the

      only available regulatory vehicle that had the potential to make Mifeprex safe.g4The

      inappropriate application of Section 3 14.520 servedthe agency’s immediate need of conditioning

      the drug’s approval on certain safety measures. However, Mifeprex fails to satisfy the Subpart H

      requirements because,although it presentsgreat risk to the user, it neither treats a serious or life-

10     threatening illness nor provides a therapeutic benefit above existing treatments. A drug with

       such characteristics should not have been approved.




       g2 FDA, “Medical Officer’s Review of Amendments 024 .,,~  and“.e,
                                                                      033:   Final*Reports for the U.S. Clinical Trials
                                                                       ._ ./ I.“.
       Inducing Abortion up to 63 Days Gestational Age and Complete Responses Regarding Distribution System and
       Phase 4 Commitments,” at 11 (Table 1) (reporting a failure rate of 8% for pregnancies less than or equal to 49 days’
       duration) (“Medical Officer’s Review”).
       g3 Early in the approval process, FDA anticipated that the Population Council would cooperate, thus obviating the
       need for Subpart H restrictions: “[Blecause the applicant has voluntarily proposed a system of limited distribution,
       imposition of further distribution restr$ctions under the Agency’s Subpart H regulations d&Snot appear *arranted.”
       See Memorandum, FDA/CDER to NDA 20-687 File (Sept. 16, 1996): at 2 [FDA FOIA Release MIF 000560-621.
       The voluntary restrictions placed on the drug Accutane, a drug for severe acne, illustrate that a cooperative drug
       sponsor may be able to obviate the need for Subpart H restrictions. Because Accutane can cause birth defects, the
       restrictions are designed to ensure that’women taking the drug are not and do not become pregnant. The “System to
       Manage Accutane Related TeratogenicityTM (S.M.A.R.T.TM),” controls the distribution of the drug through the
       issuance of yellow Accutane Qualification Stidkers. These stickers are distributed to physicians who meet a number
       of qualifications and they, in turn, distribute them to patients;who must undergo two tests to confirm they are not
       pregnant and must commit to use two forms of contraception. Pharmacists may fill prescriptions for the drug only if
       they bear the qualification sticker, were issued within the past week, and prescribe no more than 30 days’ worth of
       the drug. See Accutane Label.
       g4 This interpretation of the agency’s actions is supported by FDA spokeswoman Crystal Rice, tiho said Ithat
       outside of Subpart H, the FDA does not have another regulatory program to mandate safety restrictions on drug
       marketing for drugs used to treat ‘serious or life-threatening illnesses”’ and “that ‘other agreements [or rest&ions
       on the drug] not under Subpart H worked out beheen FDA and ,a sponsor would be essentially voluntary.“’ “Dance
       Medical Director Explains Mifepristone’s FDA Approval Not Fast-Tracked or Accelerated, Despite Media Reports,”
       Kaiser Daily Reproductive Health Report (March 29, 2001) (available at:
       ~http://report.kff.org/archive/repro/2001/3~010329.5.htm>).



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                                                                                                       App. 000335
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5             FDA’s approval of the Mifeprex NDA ran counter to Congress’s statutory requirements,

       the agency’s regulations and guidance documents, and FDA’s well-established standardsfor the

       quality and quantity of scientific evidenceneededto support an agency finding that a new
                                                                                              ,) drug is
       safe and effective. The clinicaJ trials submitted  by the Population Council to support its NDA
                                                   _.,. s.>

       did not use the full set of design featuresFDA typically requires to produce unbiased

10     investigations of drug safety and effectiveness. Becausethese trials were not blinded,

       randomized, or concurrently controlled, they did not establish the safety and effectiveness of the

       Mifeprex Regimen. Inexplicably, FDA failed to perform a statistical analysis of the data from

       the American trial. Furthermore, FDA’s approval of Mifeprex pursuant to Subpart H compounds

       the deficiencies in the trials becausesponsorsof Subpart H drugs. must demonstratethat  , the drug
                                         /
15     for which approval is being sought provides a “meaningful
                                                          j. I therapeutic
                                                                   .. . ,,.. _- benefit
                                                                                 , , over
                                                                                        >. ;,;existing
                                                                                                 ,./ 4.
       therapy.” BecauseMifeprex was approved in reliance on French and American trials that did not

       compare the Mifeprex Regimen with the existing standardof care for ending pregnancies (i.e.,

       surgical abortion), the trials cannot
                                         //. support this Subpart H approval.
                                                                       _.

20                     1.      The Clink$l Trials Underljring FDA’s Approval of Mifeprex

               FDA based its approval of Mifeprex on safety and effectivenessdata derived from two

       French clinical trials (“French Clinical,Trials”) and’oneU.S. clinical trial (“U.S. Clinical

       Trial”).g5 Neither the French Clinical Teals nor the)U.S.”CjinkaJ Trial, was bhnded, randomized,




       ” See Mifeprex Approval Memo, injka Appendix A, at 1.
                                                1:


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                                                                                           App. 000336
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      or concurrently
          ~1 _Z’ _, controlled
                      -_       - the hahmarks of unbiased; scientific analysis generally relied upon
                                 i, *     .‘/” i-i ..” ,,/,._ ,: ,                               ”
                                     I < _< I .          i
      by FDA.


                                  a.       The French Clinical.Trials

5              The French Clinical Trials, which formed the basis for the Population Council’s original

      NDA submission in 1996, were open-label, multi-center studies.g6One of these trials consisted

       of 1,286 patients at 24 centersin France (“French Trial I”).“’ The trial was limited to women

      who had pregnancies of no more than 49 days’ gestational age, as establishedby ultrasound, if

       available, or by the patient’s estimate.” On the first day of the procedure, the patient received

10     600 mg of mifepristone orally “in the presenceof a study investigator.“99 Approximately 48

       hours later, she returned and, unless the abortion had already taken place, ingested 400’                     ‘

       micrograms of misoprostol “in the presenceof a study investigator.““’ The patient remained

       under observation for four hours or more after-the ingestion of misoprostol and returned for “a

       final assessmentof the pregnancy termination procedure” eight
                                                                 ,,.. to I15 days later.“’




       g6.FDA’s Reproductive Health Drugs Advisory Committee (“FDA Advisory Committee”), which met in July 1996
       to consider the mifepristone NDA, based its conclusion primarily on the French trial along with preliminary data
       from the U.S. Clinical Trial, See FDA’ Advisory CommiGee,pearings dn fiew Drug Application& ?hk tie of
       Mifpristone for Interruption of Ear& Pregnancy, at 6, 132-33 (July 19, 1996) (FDA Hearirigs Transcript)[FDA
       FOIA Release: MIF 005200-901. Committee member Dr. Mary Jo O’Sullivan asked why the Committee meeting
       was being held “at this time when the data is not finalized.” I&. at 37. .Dr, C. Wayne Bardin, who was responsible
       for overseeing the Population Council’s NDA preparation, responded that “we have sufficient data . . . [fjrom the
       non-U.S. data to allow us to submit anapplication to the FDA.” Id.
       97 See FDA, Statistical Review and Evaluation, at 2-4 (May 21, 1996) (“Statistical Review”). This French trial is
      referred to as FFRl91/486/14.
       ” See Statistical Review, infra Appendix A, at 2. “Since the’ultrasound estimate of gestational age was more
       reliable than the patient’s estimate . . . gestational age based on the ultrasound examination was used if available.”
      Id. Investigators, in violation of study protocol, ‘included some women with pregnancies of more than 49 days. See
       Statistical Review, infra Appendix A, at 3.
       ” See Statistical Review, inj?a Appendix A, at 2.
       loo See Statistical Review, infra Appendix A, at 2.
       lo1 See Statistical Review, infia Appendix A, at 2.




                                                                                                        App. 000337
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                 The efficacy analysis of French Trial I encompassedonly 1,205 patients, while the safety
“’                                          I                  i
          analysis included all 1,286 participants.‘o2 The regimen resulted in “complete expulsion’ in 95.4

          percent of the 1,189 participants whose pregnancieswere 49 days or less.‘03The rate of complete

           expulsion declined with increase.dgestational age.‘04Sixty-one women had complete expulsions

     5    before taking misoprostol.‘05 Almost 86 percent of _I
                                                             patients in French Trial I experienced at least

           one adverseevent as a result of the procedure.1o6

                    The secondFrench clinical trial (“French Trial II”) enrolled 1,194 patients at 11

           centers.‘07The trial was limited to ,yomen who had pregnanciesof no more than 63 days’

           gestational age, as establishedby ultrasound, if available, or by the patient’s estimate.“’ The

 10        regimen used in French Study II was essentially the.sameas that described above in connection

           with French Study I, except that an additional 200 micrograms of misoprostol was administered

           if complete expulsion did not occur within three hours after taking the initial 400 microgram
*                                             ,_ I,       . i”          I            .
           dose of misoprostol.log Patients who received the seconddose of misoprostol remained under

           observation for a total of five hoI$+suO
                                                                           /



           lo2 See Statistical Review, infra Appendix A, at 3.
           lo3 See Statistical Review, infra Appendix A, at 3. Patients for whom expulsion of the embryo was complete at the
           end of the process were categorized as’successes, while patients with incomplete expulsions (2.8%), ongoing
           pregnancies (1.5%), and those who needed surgical procedures for bleeding (.3%)were classified as failures. See id.
           at 3 and 9 (Table 1).
           to4 See Statistical Review, irzfia Appendix A, at 3 (“[Tlhere was a statistically significant . . . inverse relationship
           between gestational age and the success rate as the success rate generally declined with increasing gestational age.“).
           *OSSee Statistical Review, infra Appendix A, at 3. Twenty-six of these women received misoprostol anyway,
           because the investigators did not realize that they had had complete abortions. See id.
           lo6 See Statistical Review, infia Appendix A, at 4.
           to7 See Statistical Review, infra Appendix A, at 4-7. This French trial is designated as FFl921486124.
           to8 See Statistical Review, in.a Appendix A, at 4-5.
           tog See Statistical Review, infra Appendix A, at 5.
           ‘lo See Statistical Review, infia Appendix A, at 5.



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               The efficacy analysis of French:Trial Ii encompassedonly 1,104 patients, while the

      safety analysis included all 1,194 participants.“’ The regimen resulted in “complete expulsion”

      in 92.8 percent of the participants.1’2 The rate of complete expulsion declined with increased

      gestational age.‘13Twenty-six women had complete expulsions before taking misoprostol.1’4

5     Almost 93 percent of patients in’French Trial II experiencedat least one adverseevent as aresult

      of the procedure.‘l’

               Among the deficiencies that characterizedboth French Clinical Trials was the absenceof

       an appropriate control group. Consequently, as an FDA statistician concluded after reviewing

       the data fkom the French Clinical Trials: “Jn the absence,of a concurrent con@01group in each of

10     these studies, it is a matter of clinical judgment whether or not the sponsor’s proposed

       therapeutic regimen is a viable alternative to uterine aspiration for the termination of

       pregnancy.“116


                                  b.        The U.S Clinical Trial

15              The U.S. Clinical Trial vyascarried out from September 13, 1994 to September 12, 1995

       at various qualified university hospitals and clinics.117Patients had to satisfy a number of criteria


       “’ See Statistical Review, infra Appendix A, at 5.
       ‘12 See Statistical Review, infia Appendix A, at 6. As in French Study I, patients for whom expulsion of the
       embryo was complete at the end of the process were categorized as successes, while patients with incomplete
       expulsions (4.0%), ongoing pregnancies (2.3%), and those who needed surgical procedures for bleeding (.9O;lb)were
       classified as failures. See id. at 5 and 12 (Table 4).
       ‘13 See Statistical Review, inJEaAppendix A, at 6.
       ‘14 See Statistical Review, inj?a Appendix A, at 6.
       i15 See Statistical Review, inj?a Appendix A, at 7.
       ‘I6 Statistical Review, infia Appendix A, at 7-8.
       iI7 See Medical Officer’s Review, infFa Appendix A, at 6. More specifically, the U.S. Clinical Trial consisted of
       “two prospective, open-label, multicenter clinical trials in theUnited States’according’to two identical protocols.”
       Medical Officer’s Review, infia Appendix A, at 6 and 9. In this Petition, the trials will be referred to as “the U.S.
       Clinical Trial,” because the protocols employed were identical, the results of the two trials were analyzed jointly,
       and the results were published in the same article. See Irving M. Spitz, M.D., C. Wayne Bardin, M.D., Lauri
                                              I”                ,..    .     “..



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      to be included in the study.“’ All patients were screenedby pelvic examination and ultrasound
                                              !
      to ensurethat their pregnancieswere not too advancedfor. the procedure.“’ On their first visit,

      patients took 200 mg of mifepristone orally “[i]n the presenceof the investigator.“‘20 Patients

      returned 36 to 60 hours later to ingest 400 micrograms of misoprostol orally in the presenceof

5     the investigator, unless the investigator determined that the termination was already complete.‘21

      Following ingestion of misoprostol, patients were observedfor a minimum of four hours.‘2f

       Patients were instructed to return again 12 days later for a follow-up assessment.‘23A patient’s

      pregnancy was terminated surgically “at any time if the investigator believed there was a threat

       to a woman’s health (medically indicated), at a woman’s request, or at the end of the study for an

10     ongoing pregnancy or incomplete abortion.“‘24



                                                      :
                                                                :     ,
       Benton, M.D.; and Ann Robbins, “Early Pregnancy Termination with Mifepristone and Misoprostol in the United
       States,” New England Journal ofMedicine 338 (Apr. 30, 1998): 1241-47 (“Spitz Article”) “)[FDA FOIA Release:
       MIF 006692-971. The members of the FDA Advisory Committee who were still working for _.          FDA at the
                                                                                                                -_ time
                                                                                                                     .~_ of _
       publication received a copy of the Spitz Article. Set?Medical,Officer’s Review, injka Appendix A, at 29. Although
       FDA considered data from the entire U.S. Clinical Trial, it alIpears that the agency formally approved Mifeprex
       based only on the portion of the U.S. Clinical Trial data that was generate’d among women whose pregnancies were
       no more than 49 days’ gestational age., See Mifeprex Approval Memo, infra 14ppendix A, at 1 (‘The U.S. trial
       consisted of 859 women providing safety data and 827 women provic ling effectiveness data‘for gestations of49 days
       or less, dated from the last menstrual period.“). See also Mifeprex Label (“Clinical St udies”).
       “’ Among the inclusion criteria were requirements that a patient be at least 18 years old, be in good health, have an
       intrauterine pregnancy of no more than 63 days (confirmed by a pelvic examination and ultrasound), and have
       agreed to a surgical abortion if the mifepristone-misoprostol abortion failed. Medical Officer’s Review, injka
       Appendix A, at 7-8. The study excluded women with certainhealth problems, such as liver, respiratory, or renal
       disease, cardiovascular disease, chronic hypertension, anemia, clotting problems, pelvic inflammatory disease, and
       ectopic pregnancies. See id. at 8. In addition, ‘women who were over 35 and smoked, had KIDS, Were breastfeeding,
       were unlikely to comply with study requirements, or who “[llived or worked more than one hour from the
       emergency care facility” were excluded. See id. at 8-9.
       “’ See Medical Officer’s Review, infia Appendix A, at 8.
       i2’ Medical Officer’s Review, infra Appendix A, at 9.
       i2’ See Medical Officer’s Review, i&a Appendix A, at 9.
                                                                                  .
       122See Medical Officer’s Review, infra Appendix A, at 7.
       ‘23 See Medical Officer’s Review, in? Appendix A, at 7.
       124Medical Ofticer’s Review, infra Appendix A, at 16.



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                                                                                                        App. 000340
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             The U.S. Clinical Trial consiste,dof2,121 subjects.“’ Of thesepatients, 2,015 were
                                                /          8                                   9
      evaluated for efficacy, lz6which “was defined as the termmation of pregnancy with complete

       expulsion of the conceptuswithout the ,needfor a surgical procedure.“‘27The remaining 106

      patients did not return for the third   visit.128
                                       “, ,.._-;
                                               “. ..,)1.1”The
                                                        .,“-   mifepristone-misoprostol combination was
                                                           “~/j>a^.//L~.

5      effective in 92 percent of patients with pregnanciesno greater than 49 days, 83 percent of

      patients with pregnanciesbetween 50 and 56 days, and 77 percent of women with pregnancies

      between 57 and 63 days.12’All 2,121 subjectswere evaluated for safety.13’Ninety-nine’percent

       of patients experienced adverse
                                  ., eventsand
                                             I. most of-. these-experienced
                                                          /        ,,     multiple adverseevents.13’

       Twenty-three percent of the adverseeffects experiencedby each gestational age group were

10     “severe.“‘32

                Finally, FDA did not conduct a,statistical re;view,of the~resultsof-the U.S. Clinical,,T+,ql. i

       FDA’s statistical reviewer explained
                                       -/ I this failure by noting that “[a] statistical evaluation of the
       European studies was completed previously “and “[t]he clinical results of the supporting U.S.
                                                                                                 ,




       I25 See Medical Officer’s Review, infra Appendix A, at 10.
       ‘26 See Medical Officer’s Review, infra Appendix A, at 10.
       127Medical Officer’s Review, inj?a Appendix A, at 16. The failure to establish a pre-trial, statistical definition for
       drug efficacy was a defect in trial design.
       12’ See Medical Officer’s Review, infra Appendix A, at 16. It would have been appropriate to include these 106
       patients in the efficacy analysis as “failures,” if for no other reason than,that they did not appear for all three
       required visits. Although “[fJor 92 of these patients, there was some information suggesting a successful outcome,”
       id. at 10, there was neither defmitive .evidence, of complete abortion nor, apparently, any information with respect to
       whether these women subsequently experienced any adverse effects. In fact, during their second visit, five of these
        106 women were diagnosed as having’continuing pregnancies. Id. at 10. ‘See also Spitz Article, infra Appendix A,
       at 1246 (“The ultimate outcome of these pregnancies is unknown, despite our repeated attempts to contact the
       women.“).
       12’ See Medical Officer’s Review, infia Appendix A, at 11 (Table 1).
       13’ See Medical Officer’s Review, infia Appendix A, at 10.
       13’ See Medical Officer’s Review, infia Appendix’&
                                                     II.‘      at 11.
       132See Medical Officer’s Review, in&a Appendix A, at 11, ’



                                                                  29
                                                                                                          App. 000341
                                               :                                                         ..’   _II,,*,   .I,.   /         ,,




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 studies . . . are similar “.enough
                              ^.I’.ii to the results of the European studies that, in the opinion of the
                                                                                                      1
 medical reviewer, a statistical evaluation of the results.pf-the ,LJ.S.studies is notrequired.“’


                    2.        Requirements for Proving Drug Safety and Effectiveness

          FDA has developed a rigorous default standardfor scientific demonstrations of.safety
                                                                                        I:     and

 effectiveness of human drug products.‘34Section 565(d)(5) of the FD & C Act provides, in

 relevant part, that FDA shall refuse to approve a new drug application when “there is a lack of

 substantial evidence that the drug will have the effect it purports or is representedto have under

 the conditions of,use prescribed, recommended, or suggestedin the proposed labeling.“135

 Section 505(d) defines “substantial evidence” to mean “evidence consisting of adequateand

 well-controlled investigations, including clinical investigations, by experts qualified by scientific

 training and experienceto evaluate the effectivenessof the drug involved . . . .“13’jFDA has

 statedthat “substantial evidence!’requnes a showing of clinic$ily significant evidence of

 effectivenessrather than mere.st,atistic@evidence of significance.‘37No such showing was made

 for Mifeprex, which has been demonstratedto be less effective than surgical abortion for all

 segmentsof the population.



                                          f.       ;..I”. . _ ...s. .1-.           ,( .x,_                     _,“. a,.             .,,        ,
  *33 FDA, “Statistical Comments on Amendment 024,” Memorandum to File NDA 20-687 (Feb. 14,200O). This
  document is available along with the agency’s,Statistical Review. See Statistical Review, in@-aAppendix A.
  134See the discussion of the development and requirements of FDA’s “gold standard,” supra Section 1II.C. 1.
  13521 U.S.C. 8 355(d)(5).
 13621 U.S.C. $ 355(d) (“the term ‘substantial evidence’ means evide,nceVconsisting of adequate and well-controlled
 investigations, including clinical investigations, by experts qualified by scientific training and experience to evaluate
 the effectiveness of the drug involved,‘o;;~~~~~iso~~~ich         it could fairly-andresponsibly be concluded by ‘such
 experts that the drug will have the effect it purl~orts or is represented to have -under the conditions of use prescribed,
 recommended, or suggested in the labeling or proposed labeling ‘thereof.“).
  *37See Warner-Lavnbert Co. v. Heckler, 787 F.2d 147, 155 (D.C. Cir. 1986) (“It is important to note that the
  Commissioner does not contend that the’effectiveness shown must amount,@ a ‘medical bre.a&$ough’, as ARW
  complains, but contends in his brief that’he would be satisfied w”ith even a modest clinical or therapeutic effect.“).



                                                               30
                                                                                                       App. 000342
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              Section 3 14.126 of FDAls rules statesthat “[rleports of adequateand well-controlled
                                      /
                         . ;,.        ; ‘. _;.. .*> ,., .;, ....,.-. :_.-TllljL ~‘*/,_,:                                          . ,,
      investigations provide the primary basis for determming whether there is Csub&m.ia~.e~denck;~ ’                        “-

      to support the claims of effectivenessfor new drugs.“13*The rule statesthat a major pu$ose of

       an adequateand well-designed study is to “permit[ ] a valid comparison with a control to provide

5      a quantitative assessmentof drug effect.“139According to Section 3 14.126(b), an adequate‘and

      well-controlled study servesto ensurethat the subjects of the trial have the diseaseor condition

      being studied,14’that the method of assigning patients to treatment and control groups minimizes

      bias (e.g., using randomization),~41and, that “[aldequate measuresare taken to minimize bias on

       the part of the subjects, observers,and analysts of the data? (e.g., blinding).142The criteria that

10     the rule establishes“have been developed over a period.of years and are recognized by the

       scientific community as the essentialsof an adequateand well-controlled clinical

       investigation.“‘43
                                     I                                                ,/_,
               Agency guidance provides !hat.FDA may a$rove %iiSLiA basedon only one, not two,

       effectiveness trials for drugs in one of the following three categories:

15             1) when effectivenessmay be demonstrated’adequatelywith existing studies of another
               claim or dose (e.g., approval for pediatric use on the basis of studies in adults); 2) when a
               controlled trial of a specific new use& supportedby evidence from adequately co,ntrolled
               trials from related uses,dosages,or endpoints; and 3) when a single multicenter trial
               provides statistically convincing andclinically meaningful evidence of effectiveness,
20             supported by contirmatoiy research.144


       13* 21 C.F.R. 5 3 14.126(a) (“Adequate and well-controlled        studies.“).
       13921 C.F.R. $j 314.126(b)(2) (d escribing “placebo concurrent control, ” “dose-comparison concurrent control,” “no
       treatment concurrent control,” “active treatment concurrent control,” and “historical control”).
       14’ 21 C.F.R. 6 314.126(b)(3).
       14’ 21 C.F.R. 0 314.126(b)(4).
       14’ 21 C.F.R. Q 314.126(b)(5).
       14321 C.F.R. 0 314.126(a).
       144Kulynych, infra Appendix A, at 146 (citing FDA, Guidancefor Industry: Providing Clinical Evidence of
       Efictiveness for Human Drug and Bi&ogical~P~oducts(May 1998) at S-17 (FDA Efictiveness Guidance).
                                                                ;


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                                                                                                       App. 000343                  I
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          Mifepristone did not fall within any of thesecategories. The first and second categorieswere

          inapposite becausemifepristone had not been approved for any use in any population in the

          United States; additionally, no evidence from adequateand well-controlled trials had ever been

          presentedto FDA regarding any’use for mifepristone. Becauseneither the French Clinical Trials

    5     nor the U.S. Clinical Trial was rjmdomjzed, blinded;‘45or comparator-controlled, none of these

          trials could provide the type of data necessaryfor the third category either. Furthermore, these

           studies lacked “clear, prospectively determined clinical and stat&&al analytic criteria.“146
                                                          /,,      ..)




                   Even though FDA takes the position elsewherethat the extent to which a trial’s design

          controls for various types of bias “is a critical determinant of its quality and persuasiveness,“147

    10    neither the French Clinical Trials nor the U.S. Clinicaj. Trial. were,r,andomized,concurrently

           controlled, or blinded. A control group “allow[s for] discrimination of patient outcomes (for

           example, changesin symptoms, signs, or
                                                : other  morbidity) caused., by the test treatment from
”                                        /     _..i   ;.    _.)_) ,. ,I ,”                     ‘i’/’
           outcomes causedby other factors, such as the natural progression of the disease,observer or

          patient expectations, or other treatrnent.“14’ Control groups also enable investigators to




                                                     ,.   /.                      .




           145Blinding is the normal method by which those who evaluate a medication’s effectiveness and side effects, are
           kept unaware of whether they are evaluating the comparator drug (sometimes a’placebo), or the new medication (or
           procedure) under study. If possible, the patient is also blinded and not allowed to know which treatment ‘she:is
           receiving (“double-blinding”).  According to standard
                                                              “,.“_.”scientific
                                                                      .”.,,.    and medical practice and the standards to which
           FDA holds pharmaceutical sponsors, all clinical‘research smdies~iirvestigating the effects ofneti drugs should be
           subjected to an assessment by a blinded evaluator. Conducting a concurrently-controlled, randomiied trial
           comparing surgical abortion with the mifepristone-misoprostol regimen is readily achievable. There are study
           designs that would have also allowed for blinding. Had blinding proved too difficult to perform, the requirement
           could have been waived based upon a satisfactory showing by the sponsor.
           146FDA Eflectiveness Guidance, infra’ Appendix A, at 12.
           147FDA, “Guidance for Industry: ElO’Choice of Control Group and Related Issues in Clinical Trials,” (Rockville,
           Md.: May 2001) at 3 (6 1.2.1) (FDA Guidance (ICH: ElO): Choice of Control Group). FDA’s publication of “ElO”
           is available at: <http://www.fda.gov/cder/guidance/4155fnl.pdf>.
           14*FDA Guidance (ICH: EIO): Choice of Control Group, i&a Appendix A, at 3 (0 1.2) (Introduction, “Purpose of
           Control Group”).



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                                                                                                            App. 000344
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      determine “what would have happenedto patients ifthey had not received the test treatment or if
                                                                                       a .^
      they had received a different treatment ‘known to be’effective.“i49

               A trial that employs a concurrent control group drawn fi-om the samepopulation yields

      the most robust data. Concurrent control groups are chosen from the samepopulation as the test

 5    group and are “treated in a defined way as part of the sametrial that studiesthe test treatment,

      and over the sameperiod of time.““’ When concurrent control groups are used, the treatment

      and non-treatment groups are similar in all baseline‘andnon-treatment variables that could

      influence the outcome or introduce bias into the study.‘“’
                                                                                                   ,,
               By contrast, in a trial using external or historical controls “the control group consists of

10    patients who are not part of the samerandomized study as the group receiving the investigational

      agent; i.e., there is no concurrently randomized control grou~.“‘~~ FDA cautions:

               “The external control may be defined (a specific group of patients) or non-defined (a
               comp*aratorgroup based on general medical knowledge of outcome). Use of the latter
               comparator is particularly treacherous(such ‘trials are usually considereduncontrolled)
15             becausegeneral impressions are so often inaccurate.“153

      In such a trial, “[tlhe control group is thus not derived from exactly~the samepopulation as the

      treated population.“154 If, as is most common, the external’control group is composed of “a well-

      documented population of patients observedat an earlier time,” the trial is said to be




      149FDA Guidance (ICH: EIO): Choice of Control Group, infra Appendix A, at 3 (Q 1.2).
      15’ FDA Guidance (ICH: ElO): Choice of Control Group, infa Appendix A, at 3 (0 1.2).
      15’ SeeFDA Guidance (ICH: El 0): Choice of Control Group, infra Appendix A, at 3 (0 1.2). “Bias here . . . means
      the systematic tendency of any aspects of the design, conduct, analysis, and interpretaticn of the results of clinical
      trials to make the estimate of a treatment effect deviate from its true value.” Id.
      152FDA Guidance (ICH: EIO): Choice of Co&o1 Group, infra Appendix A, at 26 (Q 2.5.1).
      153FDA Guidance (ICH: EIO): Choice of Control Group, infra Appendix A, at 5 (Q 1.3.5).
      154FDA Guidance (iCH: ElO): Choice of Control Group, infia Appendix A, at 26 (0 2.5.1).



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                                                                                                           App. 000345
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          “historically” controlled.‘55 Blinding and randomization are also not available to minimize bias
                                             i ,i             : :           _’                 1 ,i
          when external or historical controls are,used.ls6

                   According to FDA, the “[ilnability to control bias is the major and well-recognized

          limitation of externally controlled trials and is sufficient in many casesto make the design
,   5     unsuitable.“15’ A legal commentator recently cautioned courts about the scientific validity of

          experiments and trials that have no conc,urrentcontroJ.‘.5”She explained that “historically

          controlled subjects have not been subjected to exactly
                                                         ...,> 6 the same
                                                                     .,, / ,Iconditions
                                                                              ,_ , as the test subjects.“15’
                                                 <.,                                    “_         _*.
          Consequently, “one must be wary of” non-concurrently controlled studies (i.e., historical,

          external, or uncontrolled studies) becausetheir conclusions can be manipulated more easily than

    10    if concurrent controls are used.‘@              i


                            3.    FDA’s Accept&e of the French and U.S. Clinical Trial Data Viglated
                                  Section 3+4.126(e) of the Agency’s Rules
                                            !~
                                            !     ,,          I
    15             Section 3 14.126(e) of FDA’s rules statesunequivocally that “[u]ncontrolled studies or

          partially controlled studies are npt acciptable as the sole basis for the approval of claims of

          effectiveness.“161The section authorizesthe use of uncontrp&d~trials merely to present

          supporting evidence for controlled trials; uncontrolled trials, if they are “carefully conducted and



          ‘55 SeeFDA Guidance (ICH: ElO): Choice of Control Group, infia Appendix A, at 26 (9 2.5.1) (“but it could be a
          group at another institution observed contemporaneously, or even a group at the same institution but outside the
          study.“).
           156FDA Guidance (ICH: ElO): Choice of Control Group, i&-a Append’ix A, at 27 (9 2.5.2).
           15’ FDA Guidance (ICH: ElO): Choice of Control Group, infra Appendix A, at 26 (5 2.5.2).
           I58 Erica Beecher-Monas, “The Heuristics of Intellectual Due Process: A Primer for Triers of Science,” New York
           University Law Review 75: 1563-1657, 1628.
           lsg Beecher-Monas, infra Appendix A, at 1628, n.357.
          r6’ Beecher-Monas, infra Appendix A, at 1628, n.357 ((‘ ‘you can prove anything with selective controls,’ so one
          must be wary of historical controls,” Beecher-Monas quoting Jon Cohen, “Cancer Vaccines Get a Shot in the Arm,”
          262 Science 841,843 (1993)).
           16’ 21 C.F.R. Q 3 14.126(e)(emphasis added).




                                                                                                         App. 000346
                                               ,     . ,,.   ,.”   ,,   ,.__   ,,.   _I‘            1    .



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     documented, may provide corroborative support of well-controlled studies regarding efficacy
.                                    /
     and may yield valuable data regsirding safety of the test drug.“162

              FDA recognizes a limited role for external, historically controlled studies. The agency

     takes the position that “[hlistorical (external) controls can be justified in some cases,but

     particular care is important to minimize the likelihood of erroneousinference.“163Similarly,

     Section 3 14.126 cautions that “[blecause historical control populations usually cannot be as well

     assessedwith respect to pertinent variables as can concurrent controlled populations, historical

     control designs are usually reservedfor special circumstances.“164FDA cites as an example,

     “studies of diseaseswith high and predictable mortality (for example, certain malignancies),“‘65

     in which a decision might be made to offer all trial participants a potentially effective drug.

     Externally controlled studies also may suffice because“the effect of the drug is self-evident

     (general anesthetics,drug metabolism).“‘@

              The French and U.S. Clinic,al Trials, which did not employ either external or historical

     control groups, were uncontrolled. During the Advisory Committee Hearings, FDA’s Dr.

     Ridgley C. Bennett, who summarized the data from the French Clinical Trials, stated:

                 There are very few studies comparing medical methods and vacuum aspiration for
              termination of early pregnancy. To date, no large randomized controlled trials have
              compared mifepristone plus misoprostol with suction curettage abortion. However, large
              published serieshave demonstratedmorbidity rates associatedwith mifepristone plus
              prostaglandin to be similar to those of suction-curettage.‘67

      16221 C.F.R. 9 314.126(e).
     163FDA Guidance (ICH: E8): General Considerations, infia ‘Appendix A, 62 Fed. Reg. at 66117 ($ 3.2.2.2).
     According to FDA guidance, the “main advantage” of an     externally
                                                            _.._.. “!_    controlled trial “is that all patients can receive a
     promising drug, making the study more attractive to‘patrents and physicians.” FDA Guidance (ICH: ElOj: Choice of
     Control Group, infra Appendix A, at 27 (8 2.5.6).
      16421 C.F.R. Q 314.126(b)(2)(v) (“Historical control.“).
      16521 C.F.R. 8 314.126(b)(2)(v).
      16621 C.F.R. 0 314.126(b)(2)(v).
     ‘67 FDA Hearings Transcript, infra Appendix A,, at 130. Jensen and his fellow researchers conducted “[a]
     prospective, noncurrent, single center cohort
                                             ,     comparison.” Ske Jensen Study, infra Appendix A, at’ 153. The study
                                                                 :


                                                                        35
                                                                                                         App. 000347
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                                                                   :




 “Published series” and uncontrolled studies cannot serve,as,asubstitute for the we&controlled                                 ,

 clinical trials that FDA requires., A concurrent control group would have been feasible because

 the trial participants were preparedto receive surgical abortion in the event of a failed

 mifepristone abortion.

           The unusual circumstancesthat:sometim~es
                                                  justify relying on externally controlled trials

 are not applicable with respect to pregnancy termination, generally, or the termination using

 mifepristone and misoprostol, specifically. Randomized, concurrently-controlled, blinded trials

 would have allowed investigators to compare not only the relative rates of complete termination

 and expulsion, but also the nature, intensity, and duration of the numerous side effects. In the

  absenceof concurrent controls and blinding, the duration and intensity of cramping, nausea,

 bleeding, pain, and any emotional or psychological effects of the treatments would be subject to

 investigator and patient bias. The design of the U.S. Clinical Trial precluded unbiased

  comparison groups that could have helped analysts arrive “at a complete understanding of

 potential advantages,disadvantagesand differences” between medical and.surgical abortion.“j*

 FDA’s defacto waiver of Section 3 14.126(e) constituted a gross departure from its past practice

  and announced standardsfor the conduct,of adequateand well-controlled clinical trials.‘6g


  compared the data from Mifeprex patients at one of the sites that participated in the U.S. Clinical Trial with data
  from patients who subsequently underwent surgical abortions at the same site. Although the methodological quality
  of this study is arguably superior to either the French or US. Clinical ,Trials, had it been offered as trial data it also
  would have been a weak substitute foria randowed co,ntrolled trial establishing equivalent or superior efficacy to
  surgical abortion.
  16’ SeeJensen Study, in@aAppendix A, at 156. Dr. Cassandra Henderson, a member of the FDA A&Gory
  Committee, wondered about this point as well: “Since this regimen is not without any side effects and we know that
  spontaneous abortion is not an infrequent occurrence, is it appropriate to use historical controls in trying to evaluate
  the efficacy of this regimenand not a randomized placebo trial. 3” FDA Hearings Transcript, in.a Appendix A, at
  131 (FDA’s Dr. Ridgely C. Bennett gave the following puzzling response: “Well, I think it would be difficult to do a
  randomized trial of this nature. But I think it is, fair to use a historical
                                                                     ..,..,.“”._\_ control
                                                                                     - 1 for efficacy.“).
  16’ There is no evidence that FDA formally issued a waiver under Section 3 14.126(c) of the requirement for well-
  controlled studies or that the Ropulation Council ever requested such a waiver.
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                                                                   :     ,.
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                                                                                                        App. 000348
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                             4.       Subpart H’s St$ndard
                                                      I.(  for Proving
                                                                !       Drug Effectiveness
                                                                       /.,_   .,
                   The approval of a drug under Subpart H does not lower the applicable standardsfor

          proving the drug’s effectiveness. As FDA statedwhen it adopted Subpart H, “[a]11drugs

          approved [under Subpart H] will have had effectivenessdemonstratedon the basis of adequate

    5     and well-controlled studies.“‘7? In fact, Subpart H is available only for drugs “that have been

           studied for their safety and effectivenessin treating serious or life-threatening illnesses and that

          provide meaningful therapeutic benefit to patients
                                                          . over
                                                             * existing fe&zeizkv (e.g.,
                                                                                  ,__.. ability
                                                                                         _, ,_to treat
                                                                                                  ,,“...                           ,.
          patients unresponsive to, or intolerant of, available therapy, or improved patient responseover

           available therapy).“171Neither the French nor the U.S. Clinical Trials yielded scientifically valid

    10     comparisons with the existing therapy, surgical abortion, to support a finding of a “meaningful

          therapeutic benefit over existing’treatments.” FDA should have required the concurrent testing

           of mifepristone with surgical abortion to test the proposition that mifepristone has a meaningful
i                                           1’              ” (4                                    ‘( :
                                                    I
           therapeutic benefit over the standardmethod for terminating pregnancies. FDA did not require.
           the drug sponsor to perform such trials’for Mifeprex,, which departs fkom FDA’s normal

    15     treatment of Subpart H drugs generally and for the other drugs .approved under the restricted

           distribution provisions in Section 3 14.320.

                    Mifeprex appearsto be the only drug that FDA has approved
                                                                           ” under Section 3 14.520 of
           Subpart H without requiring compliance with the statutory and regulatory requirements that

           safety and efficacy be scientifically demonstratedthrough blinded, comparator-controlled, and

    20     randomized clinical trials capable of providing data for subjection to rigorous statistical analysis.



           I70 Subpart H Final Rule, 57 Fed. Reg. at 58953.
           17’ 21 C.F.R. 8 3 14.500 (emphasis added). The class of “existing treatments” to which there must be a cpmparison,
           as specified in this rule section, is not iimited to hhAtiaceuticals. For example, a potential chemotherapeutic agent
           might be compared to radiation therapy.                            ;


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                                                                          ).
                                                                                                            App. 000349
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              Aside from Mifeprex, only four drugs have been approved pursuant to Section 3 14.520, the

              restricted distribution prong of Subpart H. Each of ‘these-drugs,Xeloda,lt2”Thaiomkl,‘7f:Actiq;174

               and Tracleer,175
                              was an appropriate candidate for approval under Section 3 14.520. Moreover, in

              each case,studies were performed that allowed for a meaningful statistical analysis of the

         5    effectiveness of this drug in comparison with the current available standardof care. FDA’s                            ’

              decision to require randomized, comparator-controlled, blinded trial design for each drug, even

              in the face of urgent need for the treatments at issue, supportsthe claim that FDA’s treatment of

              the mifepristone NDA was aberrant.

                       XelodaTM(capecitabine) was approved for use in treating patients with widely metastatic

        10    (“Stage IV”) terminal breast cancer, for whom all other modalities of chemotherapy have failed

              or are contraindicated.176The averagelifespan of a patient with multi-drug resistant tumors

              participating
                     _    - in the clinical trials I’for this drub
                                                              ; ,. - was only
                                                                          ,i _- 8.5 months.
                                                                                     ,.i    ’ Bercause‘Xelodawas only
                                                    ./    _.,              .t.      *   ,.,
                                                                                              ”      .,...     ,. 4..
                                                                                                                      i   :



              modestly effective (25% of the recipients improved for an averageof five months), exhibited

              significant toxicity, and was a last resort treatment for dying patients, FDA approved it’under

        15    Section 3 14.520 with use restrictjons and commitments to further study the drug. Subsequent

              randomized, concurrent controlled, blinded evaluator trials demonstratedXeloda’s statistical

              superiority to the standardof care for metastatic colon and breast cancers.177



              172NDA 20896.
              173NDA 20785.
              174NDA 20747.
              175NDA 21290.
              176See “NDAs Approved under Subpart H,” infra Appendix A. The current version of the Subpart H approval chart
              (updated Aug. 8,2002) indicates that Xeloda is a“‘surrogate eudpoint” drug, rather than a restricted distribution
              drug. However, the two previous postings of the chart state the opposite. Furthermore, FDA’s approval letter states
              that the NDA “[was] approved under 21 CFR 3’14.520.” Letter, FDA/CDER to Cynthia Dinella, Croup Director,
              Regulatory Affairs, Hoffman-La Roche Inc. (Apr. 30, 1998).
”   ‘         177See Xeloda package insert.



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                                                                                                             App. 000350
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                   Thalidomide
                        .’ _. (Thalomidyf’.) was,b,.
                                                 approved under ‘Section 3 14.520 ‘for the treatment of ‘        ..
                                                            ,.                                   ,,, i
     ,

           leprosy, a disfiguring, chronically disabling, and often lethal-skin infection.17* Thalidomide is a

           drug the severetoxicity of which, particularly to fetuses,is well-documented. Children exposed

           to this drug in utero suffer dramatic birth defects,namely the partial absenceof hands, feet; arms

 5         and legs. The public outcry following the discovery that thalidomide causesthese alarming

          malformations helped to spur the scientific modernization of FDA drug approval policy and

          practices in the 1960s. Clinical trials involving leprosy are difficult and require long periods of

          time becausethe diseaseis very rare in the United States. Three randomized, doubleLblinded

          comparator-controlled clinical trials were performed to support the Thalomid NDA.17g

10                 Oral fentanyl citrate (ActiqTM) was approvedunder Section 3 14.520 as a powerful

          sedating narcotic painkiller, primarily for use to relieve the suffering of dying cancer patients.“’

          Actiq can be lethal, particularly to children, becauseit quickly abolishes a patient’s drive to
                                                              ,:
          breathe, unless the patient is already accustomedto narcotic analgesics. Moreover, Actiq, a

          powerful narcotic, has a high potential for abuseand diversion into the illegal drug market.

15        Actiq was evaluated in a “double blinded, placebo controlled” study for the treatment of

          breakthrough cancerpain and was shown to “produce statistically significantly more pain relief

          compared with placebo.““’ Actiq is restricted for use only by oncologists and pain specialists

          who are familiar with the managementof the side effects and complications of the drug’s use as

          approved.




          17* See “NDAs Approved under Subpart H,” infra Appendix A.
          I79 See Thalomid package insert.
          lgo See “NDAs Approved under Subpart H,” infra Appendix A.
          ‘*’ Actiq package insert.



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                                                                                              App. 000351
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P “_
   i                  TracleerTM(bosentantab@>-gas approved@muant to Section 3’14.520for use in ’
                                                                                                     I’
              treating pulmonary hypertension, a life threatening and frequently progressive condition of

              excessively high blood pressure‘in the lung blood vesselsresulting from chronic scarring and

              injury of the lung tissue.‘** Tracieer can causeliverldamage and major birth defects.Ttio

        5    randomized, double-blinded, placebo-controlled clinical trials demonstratedthe superiority of the

              drug over a placebo. Tracleer was compared to a placebo becausethere is no alternate standard

             of care for pulmonary hypertension. Despite its potential toxicity, Tracleer was approved subject

             to usagerestrictions under Section 3 14.520 becauseIt. is the only treatment available for a life

             threatening and debilitating condition. 183

   I”


                               5.       FDA Fail@to Require a Comprehensive.^ Audit       of Freti&Clini&l
                                                                                  _, 1.,.-,,
                                        Trial Data after Discovering ViolaGoodsof Good ‘cl~~~~~~“~~~~i~~~~”‘.    .

                    In June 1996, FDA inspected the trial records of a “French government-supported
                                                                                                    II ;
   15        abortion clinic” that participated in the French Clinical Trials. FDA issued a Form4$3’ detailing

             problems uncovered during the inspection. The problems identified by the investigator

             suggestedcarelessness,fraud, evidencetampering, and the systematic under-reporting of serious

             adverseevents. The inspection “revealed a failure to maintain complete and accuraterecords.”

             The violations that were discovered included: “laboratory reports that were missing” for 11’

  20         patients, “missing ultrasound documents” for 20 patients, “pages missing from the caserecord
                                                                          _
             files and unreported aspirations,” mclusion
                                                ’        of 4 ineligible patients, and “consent forms were

             dated after the start of study for some subjects, and the investigator had signed consent form




             lg2 See “NDAs Approved under Subpart H,” infra Appendix A.
             lg3 See Tracleer package insert.



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                                                                                                 App. 000352

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       sometimes in advance,up to 4 days before the subjectshad signed.“ls4 There were also ‘yunder-
l”.   1                                   t        /  ‘i     “/I.. (, ; : .~_. :”/ _ i”     ’ .m*.
                                                                                                / j ,i ,/ ,                            c
       reported side effects” such as,‘(a natient bleeding with two subsequentaspirations; convulsions

       reported as fainting; and expulsion which was actually a surgical evacuation; bleeding, nausea

       and contractions, or bleeding and pelvic pain.“ls5 After elaborating on the deficiencies found, the

       FDA inspector concluded: “Not$ithstanding theseobjectionable conditions; [redacted name of

       an FDA official] assuredDr. Aubeny that he would not recornmend_lratthe,Lsmdies
                                                                                   I - not
                                                                                        ._I...be
                                                                                              0_._.1\

       included in the evaluation~ofthe~,NDD.application.“‘86

                                                     data to ,,supportthe Mifeprex NDA. A complete
                 FDA should not have.allovved.t~ainted,

       audit of all French Clinical Trial .l.data is warranted
                                              ,w-x..-^l
                                                  *,.,ex           to
                                                      ,a”5‘1‘.*.^ih”;
                                                                  >I  /determine
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       trials must be performed to replace the tainted French trial data.


                 F.       THE wAs
                          USE AGENCY’S     DE FACTO APPROVAL
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                                                          ied-*    Qv MIfXlJlJ~RXG~~L’SL1sw&+!&~.~<~-
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                           OR OTHER.Y?$E’N~~ 1 IN, ACC$j~&NCE*  r. %‘Wm “R‘.i.,,,LAY
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                                                                     .Gij         I_ )” _.                         ,_      :

                 When FDA approved Mifeprex, it also took action witlr respectto a seconddrug -

       misoprostol. Taken alone, mifepristone is ineffective as an abortifacient.‘87 In orderto,achieve

       an abortion rate greater than 90 percent,
                                        1,    ,, the administration
                                                            L       of mifepristone is followed

        approximately two days later by a prostaglandin to complete the abortion. In the U.S. Clinical
                                              ‘              :
                                                           ,     ^‘..                         ,, 8
        ls4 Summary of Findings, Memorandum Accompanying FDA Form 483 Issued. to Dr. Elizabeth Aubeny (June 28,
        1996): at 1 [FDA FOIA Release: MIF pO4135;45].
        Is5 Summary of Findings, Memorandum Accompanying FDA Form 483 Issued
                                                                        ,”   to Dr. Elizabeth Aubeny (June 28,
        1996): at 1.
        186Summary of Findings, Memorandum Accompanying FDA Form 483 Issued to Dr. Elizabeth Aubeny (June 28,
        1996): at 9.
        lg7 Although some studies using mifepristone alone have produced completion rates as high as 60 to 80 percent, it is
        widely recognized that, on its own, mifepristo;le is not a viable,s,ubstitute for,surgical abortion. See, e.g., Mitchell
        D. Creinin, “Early Medical Abortion with Mifepristone or Memotrexate,: Qverview    . ,_ _._..) ” Early Medical Abortion with
        Mfipristone or Methotrexate: Overview and @@co1*,.Recoimendations
                                                                  x_-._. &“,,W>”  ._/ ,_x (Washington, D.C.: National Abortion
                                                                              *,,.._
        Federation, 2001) at 3 (reporting that “[flor gestations up to 49 days, complete abortion occurs in abproximately
        60% to 80%” of women using mifepristone alone); Helena~vdn’Hei-tzen; MD., “Research on Regiinens’for Early
        Medical Abortion,” Journal of the American Medical Wdmeg’sAssociation 55 (Supplement 2000): 133-36.




                                                                                                              App. 000353
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       Trial, the prostaglandin used was misoprostol, whichwas distributed by G.D Searle & Co.
     ;       I.,                       I, I    I,‘     “,. i     _:   .<                       II.
     . (“Searle”) as the anti-ulcer drug CytotccTM.Is* Uhimately, FDA based’its approval of Mifeprex

      on the combined action of a mifepristone                    ^., _ On the day FDA approved
                                             a, and misoprostol regimen.
      mifepristone, it notified Searle that “[tlhe drug mifepristone is now approved in a regimen with

5     misoprostol for termination, of pregnancy of 49 days or less.“‘8g

                Searle, which opposed the use of its drug in conjunction with Mifeprex as an

      abortifacient,‘godid not tile a Supplemental NDA for the use ofmis,oprostol as part of an abortion

      regimen. lgl Absent such an application, FDA lacked the basis for sanctioning a new indication

      for rnisoprostol. As Peter Barton Hutt, former FDA general counsel, observed,the agency’s

10    treatment of misoprostol “set[ ] an extraordinary precedent” becauseFDA was “seemingly




                            .._ ,._.          1 ‘j.   (      *, ., r             *;        ~~      .,    . . ii   ,~,_,;      ,,,’   _,.
      is8 After a series of corporate transactions, Searle is now part of Pharmacia Corporation, which is headquartered in
      Peapack, New Jersey. In 1985, G.D. Searle & ,Co. became the pharmaceutical unit of Monsanto. In April 2000,
      Monsanto merged with Pharmacia & Upjohn to create the Ph$ma~ia,Corporation. Pharmatiia & Upjohn had been
      created in 1995 when Pharmacia AB and, the Upjohn Company merged. On July 15,2002, Pfizer Inc. mounted
      that it would purchase Pharmacia.
      lsg Letter, Dr. Lilia Talarico, M.D., Director, FDA/CDER, Division of Gastrointestinal and Coagulation Drug
      Products, Office of Drug Evaluation III to Dr. Mary Jo Pritza, G.D. Searle & Co. (Sept. 28,200O): at.1 [FDA‘FGIA
      Release: MIF 008847-481. The Talarico Letter came in response to the August 8,200O application by Searle to
      obtain approval for changes that would have bolstered the Cytotec label’s discussion of adverse effects (presumably
      in anticipation of FDA’s approval of the mifepristone NDA). FDA chided Searle for attempting to make the
      proposed changes and summarily rejected them. Id. at 1, When it announced the*,Mifeprex approval, FDA referred
      to the “approved treatment” regimen. ” See FDA, Press Release, “FDA Approves Mifepristone for the Termination of
      Early Pregnancy” (Sept. 28,200O). S&e also FDA webpage, infia Appendix A, “Mifepristone Questions ‘and
      Answers 4/17/2002,” at Question 4 (referring to the “mifepristone treatment regimen”).
      lgo In fact, on August 23, 2000, Searle wrote an open letter to all health care practitioners stating that “Cytotec is not
      approved for the induction of la&r or aborti~;~~,‘,The letter
                                                           _,~.   i listed
                                                              w,_,,_       +$a‘;~>rwA;~~~..-.,...“~
                                                                     .r:X.‘_:   number of
                                                                                        *I potential “[slerious adverse events
      reported following off-label use of Cytotec in pregnant women includ[ing] maternal or fetal death.” Mi&hael Cullen,
      M.D., Medical Director.U.S., Searle, Open Letter to Health Care Providers (Aug. 23,2’000)[FDA FOIA Release:
      MIF 008022]. Officials of the American College of Obstetricians and Gynecologists, among others, decried
      Searle’s lack of cooperation, See Ralph W. Hale, M.D., and Stanley Zinberg, M.D., “The Use of Misoprostol in
      Pregnancy,” editorial, New England Jdurnal ofMedicine 344’(Jan. 4,ZOOi): 59-60. FDA’s approval of the
      Mifeprex Regimen in the face of Searle’s,opposition appears to have usurped Searle’s rights to control the
      distribution of its drug.
       igl Because Searle’s patent on misoprostol did not expire until July 2000, no other party would have been able to
       file a timely supplemental NDA for the use .of a generic form of misoprostol as an abortifacient.
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         encouraging a drug’s unapproved:”use.““’ He addedthat
                                                          !I’
                                                               the agency is in an “embarrassing and

         uncomfortable position.“lg3 FDA did more than encouragethe unanproved use of misom&tol; it

         mandated the unapproved use.


    5                         1.        Misopros’tol’s Use as an Abord[&&d +eI*,.
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                                                                                  N&w    Indication
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                                                                                                                        ,l,li,i.                       ~
                                        the Requisitk Slidplemental New Drug Application Was Not File.@
                     A drug that differs in any material
                                                -.       way (including
                                                                 4      in composition, effect, or intended

         use) from an approved drug is a new drug that must independently be establishedto be safe, and

10       effective.lg4 Furthermore, a drug already being used to treat one diseaseor part of the body.may

         be a new drug when used to treat another diseaseor part of the body.lg5 Misoprostol’s new use as

         an abortifacient, therefore, marks it as a “new drug.“lg6

                   New drugs must be shown to be safe and.effective. Specifically, FDA requires that “[a]11

         indications shall be supportedby substantial evidence of effectjveness.basedon adequate and
,
 15      well-controlled studies as defined in 0 3 14.126(b) . . . unfessthe requirement is waived . . . .“lg7

                                        ” “.     . ‘( I‘, _ !         ~ 1).-~*(.A
                                                                               * i              I-‘/ I *._, _     */L,_,~_, .,, _.,,? ~ \ , .‘ .,‘,? ( _ = _.”
                                                                                                                                                            __
         lg2 Rachel Zimmerman, “Clash Between Pharmacia and FDA May Hinder the Use of RU-486,” Wall Street Journal
         (Oct. 18,200O): at Bl.
                                            I                                                              _-
         lg3 Zimmerman at B 1.
          lg4 See Thompson v. WesternMedical Center, Brief for the Petitioners (filed by the Solicitor General of the United
          States), No. 01-344 (Dec. 2001): at 4 (“See Uriited Statesv. Generix Qrug Corp., 460 U.S. 453,460-461 (1983)
          (determination whether a product is a new drug takes into account both active’and inactive ingredients); 21 C.F.R.
          3 10.3(h) (discussing factors that make a drug a ‘new drug’).
          lg5 A drug may be deemed “new” because of ‘$t]he newness of use of such drug in diagnosing, curing, mitigating,
          treating, or preventing a disease, or to affect a”structure% function of t&body,’ even though such drug is not a new
          drug when used in another disease or to affe,ct ~an&er.s@ucture            or  function
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                                                                     ~,i - =lji Ilr%*hrirsl
                                                                                      A.>.            of the*a<
                                                                                                              body.”
                                                                                                               6 ias. 21 C.F.R. 0 3 10.3(h)(4).
                                                                                                “l-v-~~~“:~‘:,“^“-.
                                                                                                              ,,.,
           lg6 The “newness” of misoprostol in this indication was heightened by the fact that, when Mifeprex was approved,
           misoprostol was explicitly contraindicated for ‘4
                                                           pregnant       n...>.l ” The
                                                                         women.
                                                            .*,a.-I _* _._*          ,^ misoprostol label included the following
        : .black-box warning: “CYTOTEC (MIS&%GSTOL)                  ADMINISTRATION          By ANY ROUTE IS
           CONTRAINDICATED,          BECAUSE IT CAN CAUSE AB.O,RIION, IN WOMEN WHO ARE PREGNANT ; . . .”
           In April 2002, the Cytotec label was changed to “‘remove[ ] the contraindication and precaution that Cytotec should
           not be used in women, who are pregnant.” FDA, “Major Changes to Cyiotec Labeling” (April 17,2002).‘ The label
           now restricts the contraindication to pregnant women who are using Cytotec as a non-steroidal anti-inflammatory
           drug (“NSAID”).    The revised Cytotec label and, more specifically, the “Indications and Usage” section, however,
           continue to lack any reference to the use of misoprostol in the Mifeprex Regimen.
          ig7 21 C.F.R. 3 201.57(c)(2). To the best of the Petitioners’,knowledge,            FDA did not formally waive the
i       ( requirement for misoprostol as part of an abortion regimen.
                                                         : -i


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      A Supplemental NDA provides the necess,aryevidence in support of a new indication.19* Absent
                         _          !^I .‘/       *    j,:
      a waiver, a Supplemental NDA permits:‘F’D”Ato consider the evidence in support of the proposed
                                                    _
      change and approve related labehng changesin advance.‘ggEventhough a new use for
                                                                  ~I                      :
      misoprostol is an integral part of the Mifeprex Regimen, FDA sanctionedthis new misoprostol

5     indication without having received and considereda Supplemental NDA.

               Among the changesfor which FDA approval is necessaryare changesto statementsin a

      drug’s labeling indicating whether f‘[t]he drug, if used for a particular indication only in

      conjunction with a primary mode of therapy, e.g., diet, surgery, or some other drug, is an adjunct

      to the mode of therapy.“2ooA well-knoti             treatment regimen illustrates how FDA has typically

10    dealt with the labeling of two drugs that have been approved for combined use. The regimen

      pairs methotrexate and Leucovorin    Rescue.
                                 .._ Ie+j,.,,.
                                            .^,.. .‘./h.,,.1~Methotrexate
                                               l_,l_                        a chemotherapeuticagent, kills cancer
                                                             i.‘_. _ ,..&*&+.*,
      cells by depriving them of folic acid which is necessaryfor DNA synthesis,but, in the process,

     ” methotrexate deprives normal bone m%o&*ce@, of ~~~f~~~c,~~~~~~“~~~e~
                                                                     need. Leucovorm Rescue

      servesas an antidote to the toxic, effects.I,of
                                                   ,.a.methotrexate.
                                                      .-a
                                                        ”,_._..
                                                            <.*z
                                                             1.;.        The labeling for Leucovorin Rescue
                                                                a*/p%,*‘,.,,_
                                                                       ,_”~.,r,riri.;,.~~~r,r,~~
15    refers to its use “after high-dose methotrexate therapy in osteosarcoma,”which is an approved


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                                                                                                                    :



      19* A recent article noted: “To,obtain FDA approval for an additional use of a previously approved drug, the sponsor
      must submit a supplemental application (sNDA, sBLA, or sPMA) demonstrating the safety and efficacy of the drug
      when used in the new way or for the new indication. The supplemental application typically requires clinical data
      similar to those in the original application, but does not require the same extensive chemistry, manufacturing and
      controls, and preclinical pharmacology and toxicology data as in the original application.” Shane M. Ward,
      “Washington Legal Foundation and the ‘Iwo-Click.Rule; T&$irstv.d”_*..i*>
                                                                             Amendment    Inequity
                                                                                Ili%“&ew”>i~rn.
                                                                                        1.,*,
                                                                                           ‘(3.    of “the Food andDrug
      Administration’s Regulation of Off-Label Drug Use Information on the Internet,” Food and Drug Law Journal 56
      (2001): 41-56, at 44 (citations omitted).
       199See 21 C.F.R. $ 314.70(b). See also Richard A. Merrill, “The Architecture of Government Regulation of
       Medical Products,” Univ. of Virginia Law Review 82 (1996):’ 1753-1866, at 1775 (“FDA takes the position, which
       no manufacturer has sought to challenge in court, that any potentially significant modification of an approve’d new
       drug [application] likewise requires advance agency approval. As a consequence, not only attempts to expand the
       indications for a drug but other changes in labeling, in inactive ingredients, in the me-thod or location of
       manufacture, or in packaging must first be the. subject of an .,.
                                                                       approved
                                                                             . . Supplemental New Drug Application.“).
                                                                                                                   _I
       2oo See 21.C.P.R. 9 201.57(c)(l)(iv).  1       :
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                                                                                                        App. 000356
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                       ,“,. .,. ....‘,, < : ~Similarly,
     indication,for ,methotrexate.“’               i_,..,. methotrexate’s labeling refers to an approved use of
                                              ,/_,:,a
                                                                    .’ ‘: .
     Leucovorin Rescue.2o2                    (1                             _
             By contrast, in the Mifeprex labeling, an unipproved indication for misoprostol,,is

     discussed. In approving such labeling, FDA has taken the aberrantposition that the maker of one

5    drug (Mifeprex) can secureapproval of a new indicationfor another company’s drug

     (misoprostol) merely by describing that new use as part of a combined therapy. FDA

     circumvented its pwn regulations by failing to require that both drugs in the Mifeprex Regimen

     be approved for the indication in: question
                                             s - pregnancy
                                                       ,( termination.203
                                                                 .~, ”




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     ‘01 See Leucovorin Calcium for Injection Package Insert (“Indications and Usage”) (“Leucovorin calcium rescue is
     indicated after high-dose methotrexate therapy in osteosarcoma. Leucpvo#r calci~ is .also,,mdicated,to~dimin&r __
     the toxicity and counteract the effects of impaired methotrexate elimination and of inadvertent overdosages of folic
     acid antagonists.“). The package insert is available at:
     <http://www.xanodyne.com/leucovorm~calci~p1~2002.pdf>.
     202 The methotrexate package insert states that “[mlethotrexate in high doses followed by leucovorin rescue in
     combination with other chemotherapeutic agents is’effective’in prolonging relapse-free survival in patients with non-
     metastatic osteosarcoma who have undergone surgical resection or amputation for the primary tumor.” The package
     insert is available at: <http://www.rxlist.com/cgi/generic/mtx_ids.h~>..   _
     203 A recent approval of a biologic product also illustrates the principle that FDA-approved labeling lists only
     approved indications. On February 19,2002, FDA approved Zevalin for use in combina.tion with .Ritt&r            I__              I   .   .   .




     (rituximab) to treat low-grade B-cell non-Hodgkins Lymphoma (NHL). Rituxan had been approved previously and                  ”
     was already indicated “for the treatment of patients with relapsed or refractory, low-grade or follicular, CD20-
     positive, B-cell non-Hodgkin’s lymphoma.” See Rituxan Package Insert (“Indications and Usage”). Rituxan and
     Zevalin are monoclonal antibodies that can significantly shrink tumors by targeting white blood cells (B-cells)
     including malignant”B cells. The %&l&$io,ns ,and.Usage” section of Zevalin’s label describes the. drug as being
     “part of the ZEVALIN therapeutic regimen (see Dosage and Administration).”         The “Dosage” section directs that
     Rituxan be administered and then followed by Zevalin on Day One and then again seven to nine days later. After
     the Zevalin NDA was approved, detailed information about the administration of the.“Zevalm J’herapeutic
     Regimen” was added to the Rituxan label. & February 13; 2002, FDA’s”Center for Biologics Evaluation and
     Research approved a supplement to the Rituximab biologics license application “to revise the dosage and
     administration section of the package insert to include information regarding the use of Rituximab as a,component
     of the Zevalin therapeutic regimen . . . .” Letter, Dr. Karen D. Weiss, M.D., Director, Division of Clinical Trial
     Design and Analysis, Office of Therapeutics Research and Review, Center for Biologics Evaluation and Research,
     to Alice Wei, IDEC Pharmaceuticals (Feb. 19,’ 2002) (see <http://www,fda.gov/cber/approvltr/rituide021902L.ht@).



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                                                                                                       App. 000357
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                         2.       FDA
                                  Use asSggctioned t@ -‘Tomotion of I)@oprostol for an Unapproved
                                         .pi&xf ~~e:.~ifehrex’~~~imen

                  The use of misoprostol as an abortifacient is an unapproved or “off-label” use.2” FDA

5        objects to the promotion of off-lab,el uses,of drugs by ma&facturers~205“Off-1abel”‘uses:of:drugs.
                                                                                                     ’
         are common as physicians explore new ways of using approved drugs, but normally FDA strives

         to ensurethat physicians and patients are not misled into belie_vingthat FDA has approved such

         uses. In an effort to curb the promotion of offilabel,uses by pharmaceutical manufacturers,‘FDA

         issued regulatory guidance in 1996 pertaining to the dissemination of off-label.use info,mation. 206

10       In this case,however, FDA not only sanctioned,but participated in, the promotion of an,off-label

         use of misoprostol. FDA oversay.the cremation-of the
                                                            promotional materials for Mifeprex,*”

         which discussedthe off-label use of misoprostol.208FDA itself disseminated information about

                                               ,. ^A- ._* .. ..,” / “.-._ _.‘ ” _. /_            “‘_.   ,_      _        ~~. .;_ j ,_
        204 See generally James M. Beck and Elizabeth D. Azari, “FDA, Off-Label Use, and Informed Consent: Debunking ’
     -’ Myths and Misconceptions, ” Food & Drug L&v Journal 53 (1998): 71-104, at 71 n.2, which explains “off-label”
        use as follows:
                  “Off-label” has more accurately been termed “extra label” use. It~means only that a product is used,for a
                  condition or in a way not appearing on its FDA-regulated labeling, not that the agency has judged the use
                   adversely. See, e.g., Wushingion Leg& FouizB < ‘Ke$sbr, 880 FSupp. 2628 n.1 ‘(D;D:C. 1995). . .’ . Off-
                   label can mean many things. “[U]sing an approved drug to treat a disease that is-not indicated ,on its. label,
                  but is closely related to an indicated disease, treating’unrelated; unind~~~~ed.~~‘seases,‘giiatreating the
                   indicated disease.but varying from the indicated. dosage, regimen, or patient population may all be
                   considered off-label use.” Willi& L1 Christopher, Off-Label Drug Prescription: Filling the Regulatory
                    Vacuum, 48 FOOD & DRUG L.J. 247,24’8 (1993) (footnotes omitted).
         *OSSee,e.g., Subpart HFinal Rule, 57 Fed. Reg. at 58,953 (“Under the act, a drug approved for marketing may be
         labeled, promoted, and advertised by the manufacturer only for those uses for which the drug’s safety and
         effectiveness have been established and.) that
                                                   i‘_&  FDA , 4 has
                                                      (“_“,-T-i       approved.“).
                                                                 ,.*.%-Ly+,                                          .
         206 See FDA, “Advertising and Promotion; Guidances, ” Notice, 61 Fed. Reg. 52,800 (Oct. 8, 1996) (publishing two
         guidance documents: “Guidance to Industry on Dissemination of Reprints of Certain Published, Original Data” and
         “Guidance for Industry Funded Dissemination of Reference Texts”).
         *07 FDA reminded the Population Council in the Mifeprex’Approval Letter that, pursuant to 21 C.F.R. Q 3 14.550,
         the drug sponsor is obligated to submit Mifeprex promotional material for review~by the agency prior to
         dissemination to physicians and the public. See Mifeprex Approval Letter at 3.
         *‘* A Dance Laboratories webpage, for example, contains the following question and answer:
                 Q: How Does Mifeprex Work?
                 A: Mifeprex blocks progesterone, a hormone necessary for a pregnancy to continue. You take Mifeprex
                 followed by a prostaglandin, misoprostol, which causes uterine contractions, that.help to end pregnancy.
                   In more detail, Mifeprex blocks progesterone, a naturally produced hormone that prepares the lining of
     _           the uterus for a fertilized egg and helps maintain pregnancy. ‘Without progesterone, the lining of the uterus



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                                                                                                             App. 000358
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 the off-label use of misoprostol in documents such as the press releaseannouncing the approval
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                                         ; _! j^ _ I.: “- .^ __,:.-_: .,. , ,, .__ ‘, ,./ ,..a ).. ,
 of Mifeprex for use in conjunction with misoprostol.209Recently it did so again when the agency

 emphasized the importance of adhering to the approvedregimen, including the off-label use of




                  3.       Mifeprex Is Mis’branded: Its Labeling Promotes an Unapprdved Use of
                           Another Drug

         The labeling for Mifeprex is misleading becauseit directs physicians to use misoprostol for a

 purpose that FDA never approved.211l?D’AA’sability
                                             ,.
                                                    to regulate the marketing and distribution of

 drugs rests largely on its legal capacity,to strict$ control the content of a drug’s labeling. A~

 fundamental tenet of drug regulation is that FDA requires approval for every indication listed in the

 labeling of a drug.2’2..FDA would undercut its own authority if it did not also apply this rule to uses

 for a drug referenced on anotherdrug’s labeling.
       ._                        /;-   !I                     ”
                                 !                                                   I ‘, /
          The Mifeprex labeling createsfalse expectations.aboutmisoprostol. Physicians and

 patients arejustified in believing that any use or indication for “adrug, included in the “Indication

                                                                   :.                                                       I


         softens, breaks down and bleeding begins. Mifeprex is followed by a prostaglandin that causes the uterus
         to contract, which helps to complete the process. . . . The prostaglandin used following Mifeprex is”
         misoprostol, a drug already available in the United States.
 “Using Mifeprex: Frequently Asked User Questions, ” Dance Laboratories website at
 <http://www.earlyoptionpill.com/maytfaqs.php3>.    The electronic version of the Mifeprex Label contains a
 hyperlink to the Dance Laboratories website, ~w~.earlyoptionpill.com~,    which contains the’above-referenced
 webpage. (When printed, the hyperlink appears.to be ordinary text.)
 2og See, FDA, Press Release, “FDA Approves Mifepristone for the Termination of Early Pregnancy” (Sept. 28,
 2000) (“Under the approved treatment regimen, -/a woman      fist
                                                    ..“.” )11,<~. takes 600 milligrams of mifepristone’ (three 200     -’
 milligram pills) by mouth. Two days later, she takes 400 micrbgrams’(tio r’O~%icrogram $lii) of”inisoprostol, a
 prostaglandin.“).
 210 See FDA webpage, infra Appendix A, “Mifepristone Questions and Answers 4/17/2002,” at Question 6. In this
 same document, however, FDA cautions health care providers’agairist “using misoprostol ‘off-label,’ in other words,
 using misoprostol vaginally at different doses ; . . .” Id. at Question 9.
 211 Misoprostol receives more than a passing mention on the Mifeprex Label; the word “misoprostol”   appears
                                                                                                        : /, 34
 times (compared to 57 appearances of “mifepristone”
                                       / _. /_a       and 34 .i.appearances
                                                                       .~, of “Mifeprex”).
                                                                               . .       ,.

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                                                                                                  App. 000359
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      and Usage” section of an FDA-approved label, has been subjectedto the rigorous approval
                                                                                            1.”
                                                    .r_ $
                                                        ;
      process set forth in Section 505 of the $D&C.Act. section 201.6(a) of the Agency’s rules states

      that misbranding may arise from “a false or misleading representationwith respectto another

      dws* “213“When a physician, manufacturer, or other thirdparty stepsin to promote an
                                                          ! ,. I                             /.*. j
5     unapproved use of a drug by advertising or distribution to other physicians, the drug may become

      unlawful under Section 301(k) the FD&C Act, 21 U.S.C. 9 331(k)(1994), which prohibits

      misbranding, and Section 502(f)(l), 21 U.S.C. 5 352(f)( l)( 1994),
                                                                     ~ which requires a</drug’s
                                                                                            /,;
      labeling to bear ‘adequate directions for use.“‘2’4 Mifeprex is, therefore, misbranded.
                                                           L
                 Mifeprex is also misbranded becauseit is unsafe when used as directed in the approved

10    labeling. Section 502(j) of the FD& C Act statesthat “[a] drug or device shall be deemedto be

      misbranded . . . [i]f it is dangerousto health when used in the dosageor manner, or with the

        frequency or duration prescribed, recommended,or suggestedin the labeling thereof.“215As
     ,,                                 I
        discussedin the next section, FDA’s aiproved regimen’is unsafe becauseit‘lacks important

       safeguards.

15




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       *I2 See Elizabeth A. Weeks, “Is It Worth the Trouble? The New Policy on Dissemination of Information onOff-
       Label Drug Use under the Food and Drug Modernization Act ,of 1997,” FbOd and Drug Law Journal 54 (1999):
       645-65, at 647 n.13 (citing Merrill, (infra Appendix A), at 1853).
       213 See 21 C.F.R. 0 201.6(a).
       214 Merrill, infra Appendix A, at n.318 (emphasis added). See also 21 C.F.R. 5 314.530(a)(5) (authorizing the
       Secretary to withdraw approval of a Subpart B drug if “[t]he promotional materials are false or misleading”).
       215 21 U.S.C. 5 352(j). See also Jeffrey N. Gibbs and Judith E. Beach, ‘Chapter 7: Adulteration and Misbranding of
       Drugs” in Fundamentals of Law and I?e&&tion: An In-Dep&iobk’tit Thkrapeutic Products (David G. Adams,
      ‘Richard M. Cooper, and Jonathan S. Rahan, eds.), vol. II (Washington, D.C.: Food and Drug Law Institute, 1997): at
       229 (When the drug is dangerous to the health of the user even when used as recommended on the label, it is
       misbranded.“).
          I,                                                ,
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                                                                                                      App. 000360
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                         SAFEGUARDS IN FDA’S Al?&‘R(?V&JJ,&EGIMJZN                                           /
5              On February l&2000, FDA informed the Population Council that “adequate information

      ha[d] not been presentedto demonstratethat [mifepristone], when marketed in accordancewith

      the terms of distribution proposed [by the Population Council], is safe and effective for use as

      recommended.“216Over the next severalmonths, the Population Council and Dance refused to

      supplement its distribution plan with a meaningful patient safety component. This prompted

10    FDA, on June 1,2000, to privately convey to the sponsora set of proposed restrictions intended

      to rectify the sponsor’s omission. ‘The agency’s proposedrestrictions were soon leaked to the

      public. Amidst a vigorous political and‘editorial backlash; the sponsornot only rejected FDA’s

      proposal but, in what was describedby FDA as a “very s&nificant change,” repudiated

      restrictions the sponsor itself had proposed in 1996.217FDA succumbedand soon approved a

15    regimen that did not embody restrictions,sufficient to ,addressthe agency’s legitimate safety

      concerns.

               Early in the approval process,FDA expressedits intention to place restrictions on the use

      of mifepristone.218FDA’s position was informed, in part, by the international experiencewith




                                                        :
      216 2000 Mifepristone Approvable Letter, infra Appendix A, at 5 (emphasis added).
      217 See FDA Email (June 23,200O): at, 1 (explaining that the Population Council’s attorney “affirmed that the 1996
      proposals for distribution system as presented by the Pop Council .,_.   then,“jx-l
                                                                                     andj^_(...
                                                                                           agreed
                                                                                             “_ /_... to
                                                                                                      .,,.I.by
                                                                                                             ,.-Ithe [FDA Advisory
                                                                   -- “” c-1-
      Committee] and FDA are NOT what t&Pop ‘Council wants today. I explamed that this &ngeis very significant
      and that they need to provide their justification/rationale.“)[FDA      FOIA Release: MIF 0025231.
      218 In order to allay concerns of the drug’s European owner, FDA pledged, in the course of securing the U.S. patent
      rights for the Population Council, to “take appropriate measures . . . to assist throughthe N’DA~approval process in
      the creation of a regime for the distribution and use that will protect against misuse of the drug.” Letter, David A.
      Kessler, Commissioner of Food and Dmgs, to the President & CEO-of Roussel Uclaf [name redacted] and to
      Margaret Catley-Carlson, President of ,Population Council (May 16, 1994): at 1 [FDA FOIA Release: MIF 004992-
      931.
                                                                       j       ._                                 -, j


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                                                                                                              App. 000361
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                                                                     :

         mifepristone.21gThe NDA submitted by the Population Council on March 14, 1996’included a
                                          /      i’
         plan that would have limited distribution, of mifepristone to “licensed physicians (with prior
                                                                              ‘ .-
         training in assessingthe length of pregnancy, in diagnosing ectopic pregnancy, and [redacted]), i.

         who will attend e.ducatio,nalseminarsonthe   safe
                                                  ... s/m   use of this regimen.“22o
                                                        ‘e/“,~~lsL,r,l,.X1
                                                                   j/>:n*j*

5                The FDA Advisory Committee, when it met in July 1996, was not satisfied with,the

         restrictions proposed by the Population Council and expressed“serious reservationson how [the

         proposed drug distribution systeml’is currently described
                                                            )      in terms of assuring safe and adequate

         credentialing of providers.“22’ The Committee reconmended ad~~tio,~al.restrictions
                                                                                          ,,designed
                                                                                            ,,_      to

         ensure“that this dmg not be expandedto hands of physicians who are not already skilled in.

10       managing pregnancies,terminations, and complications of both.“222Accordingly, FDA’s 1996

         Approvable Letter required the submission of “a comprehensivedescription of the proposed

         distribution system.“223
     :          I        ‘<             I     j,a -       j                                    ,I
                  In subsequentsubmissions,however, the Population Council insisted that the drug was

         safe and proffered restrictions designedprimarily to control the manufacturing and retailing of

15       the drug product. On August 18, 1999, the Population Council proposed to:224(i) limit the

         number and type of distributors;’ (ii) limit distribution to distributor-registered physicians Gho


         2’g In Europe, for example, mifepristone is used,under more highly coxrtrolled conditions than were ultimately
         required in the United States. See Amendment. to .NDA 2Q-“68’7,International Product Labeling with English
         Translations (submitted March 21,20dO) (presenting English translation of mifepristone product label, approved
         July 6, 1999, used in Austria, Belgium; Den&irk, France, Germany, Greece, the Netherlands and Spain)[FDA FOIA
         Release: MIF 000493,-5061.
         220 Memorandum, FDAKDER     to NDA 20-687 File (Sept. 16, 1996): at 2 [FDA FOIA Release MIF 000560-621.
         221 FDA Advisory Committee, Minutes of July 19, 1996 Meeting (approved July 23, 1996): at 7 [FD A FOIA
         Release: MIF 000539-451.
         222 FDA Memorandum, “Highlights of the July 19, 1996 Reproductive Health Products Advisory Comrnittee (AC)
         Meeting on Mifepristone: Outstanding’ Issues for FDA to Address” (undated): at 3-4 [FDA FOIA Release:
         MIF 000534-381.
         223 1996 Mifepristone Approvable Letter , infra
                                                       (, Appendix A, at 1.
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                                               I-      /         I   !_       _                             i.:.          ,,




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     Case 2:22-cv-00223-Z Document 195-2 Filed 10/11/24                             Page 366 of 467 PageID 9862



      had provided certain assurances;225and, (iii) make available “training materials and information”
                                             I            I> --.                                I;
                                      I
      and medical consultation to health care providers and product information to patients12’6On

       January 2 1,2000, Dance opined that “[r]egardless of the distribution system for mifepristone, the

                                                        and proposed a distribution system that was
      medical safety of this drug is well documented.“227

5      designed”only to ensurethat Da&o would “exert[ ] positive ‘control over distribution of

       Mifeprex@through all phasesofimanufacturing, storage,shipment
                                                              .-.    and administration from
                                                                                         .(
      manufacturer to patient.“228

                In reaction to the sponsor’s recalcitrance, FDA took the position “that restrictions as per

       CFR 3 14.520 on the distribution and use of mifepristone are neededto assuresafe use of this

10     product.“22gThe agency neverthelesscontinued to encouragethe sponsorto take an active role in

       devising appropriate restrictions on the use of mifepristone. Instead, in March 2000, the

       Population Council again protested that such restrictions were unwarranted.230It submitted a


                                                       i
       224 See Medical Officer’s Review, infra Appendix A, at 2 1-23 (setting forth the Population Council’s complete
       response submitted to FDA on August l&1999).
       225 The physician would be required to provide a self-attestation covering the physician’s ability to accurately date
       pregnancies and determine the patient’s blood ,Rhfactor and the physician’s access to emergency medical facilities.
       Registering physicians would also agree to obtain from each patient an acknowledgement that she has received full
       information and is willing to comply with the’ treatment regimen, to ‘maintain certain records (including ultrasound
       and blood test records) for each patient, to report adverse events, and information about ongoing pregnancies, and to
       “[u]se every effort to ensure patients return for their follow up visit-14-20 days after taking the product.“. Seti
       Medical Officer’s Review, infru Appendix A, at 22-23.
       226 See Medical Officer’s Review, infia Appendix A, at 23.
       227 Amendment 039 to the NDA, Cover Letter, Dance to FDA (Jan. 21,20’00): at l.[FDA-FOIA Release: MIF
       000525-261. Dance attempted to attribute any deleterious effects of mifepristone abortions to misoprostol: “More
       serious adverse events are quite rare and are related to the entire treatment (not mifepristone per se), almost always
       following the use of the prostaglandin.” Id. at 2.
       228 See Amendment 039 to the NDA, Mifeprex Distribution Plan Executive Summary (Jan. 21,200O): at 3 [FDA
       FOIA Release: MIF 00053p-3 11.
       22g See 2000 Mifepristone Approvable Letter, ‘iafra Appendix A; at 5. See sbpra Section III.C.2 and 1II.D. for a
       discussion of Subpart H, Section 3 14.520; which is reserved for -drugs that are so inherently dangerous that their
       distribution and use must be restricted.,
       230 In the course of objecting to the approval of the drug under subpart H, which is “likely to falsely ‘mark’
       mifepristone as a highly toxic and risky drug,” t&Population Council insisted that “the FDA knows,     .I [Mifeprex]
                                                                                                                   1,         is
                                                                     “’         -^>


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                                                                                                           App. 000363
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               distribution plan that it characterizedas ‘(det&ed and
                                                                   I comprehensive” and “surely .,equalI,to its
. ...”              .(,    ._.
               purpose.“231Once again, the’pla$consrsted of restrictions intended only to control the

               manufacturing and retailing of the drug productu2 Again FDA objected that “[tlhe I proposed
                                                                                                        *._
                distribution system as submitted primarily addressessecurity for the manufacturer and

         5      distributor; it must also include safeguardsfor the patient.“233The agency requested“that

                sponsor present a proposal regarding provider qualifications
                                                                   I         that addressessafety concerns of

               patients receiving the drug product.“234

                                          On June 1,2000, FDA proposed the following set of “Qualifications for Physician

                Recipients:” (1) the physician must demonstratethat she is-licensed to practice medicine; (2) the

         10    physician must be “trained and authori?ed by law” to perform surgical abortions; (3) the

                physician must have “been trained to and ha[ve] the
                                                                 ,r* ability
                                                                          .” to
                                                                              .,. assess
                                                                                     ,. _,the,,.)_
                                                                                               age of.,.a pregnancy
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                accurately by ultrasound examination, to monitor abortion by ultrasound examination, and to
                                                      /                                       ,      ,_,._:                                                                                            ”   _
                diagnose an ectopic pregnancy by ultrasound exammation;” (4) the physician must have :
                                                        2
                “satisfactorily completed training certified by the distributor in the mifepristone treatment

         15     procedure, including mechanism of action, appropriate use, proper administration, follow-up,

                efficacy, adverseevents, adverseevent reporting, complications, and surgical indications;” and

                                                                           :                                        .          :                                          ^,
                                                                                                                                                                                             (.




                exceptionally safe and effective.” Responses by Population Council to “FDA Letter, [redacted] to Arnold, Sandra
                (February 18,200O)” (Mar. 2000): at ‘1 [FDA PdlA.Release: PF ~0@23,2?](“Ma;ch 2000 Response”).
                23’ March 2000 Response, ilzfra Appendix A, at 2.
                232 Specifically, the plan provided for “secure manufacturing’and shipping procedures, controlled returns, tracking of
                distribution of individual packages to the patient level, use of a limited number of distributors [redacted], account
                registration and other detailed ordering requirements for practitioners, direct distribution only to practitioners (not
                through retail pharmacies), and the use of signed patient agreements.” March 2000 Response, inpa Appendix A, at 2.
                233 Teleconference Meeting Minutes (between FDA staff and representatives of Population Council and Dance)                                                                        I

                (May 19,200O): at 1 [FDA FOIA Release: MIP PO781I-131.
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                                                                                                              Council
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                (May 19,200O): at 1. FDA wanted the sponsor to provide a set of auditable provider qualifications, a plan for
                auditing providers to ensure that they %ere-meeting these”criteria, and an arrangement for ^discontinuing
                                                                                                                      (_ distribution
                to unqualified providers. See id. at 2. ’ *     ” .’ ’    ‘.   ’            ’
                                                                                       ._




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        (5) the physician must have “continuing access(e.g., admitting privileges) to a medicaf facky  “,
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                                  ,,),, ,     ; _1,,, j. Is “j~.‘_I__
        equipped for instrumental pregnancy termination, resuscitation
                                                          .‘1    ,^ procedures,
                                                                        ,-          and
                                                                                     . blood
                                                                                         ..I.,. transfusion
                                                                                                 ,,.. ‘2.
        at the facility or [one hour’s] drive from the treatment facility.“235 FDA’s proposals were

        intended to addressconcerns about the safety of the.:s.,..I
                                                               womenb. undergoing mifepristone-
  5     misoprostol abortions that the Population Council and Dance had refused to take into account in

        crafting restrictions for the drug.23G

                 The Population Council and Dance objected strenuously to the proposed restrictions and
                                               i3, FD~Aieprim-&ae’d &e-Population. counci‘l forile&~.g ,tfie -
        aired their complaints in public.

        restrictions to the public and misrepresenting the nature of the restrictions.238The Executive Vice

 10     President of the American College of Obstetricians and Gynecologists
                                                                       _. submitted an analysis
                                                                                             ” of
        the leaked restrictions to FDA.23?The editorial and’political reaction,240
                                                                                 together with the


        235 See FDA, “FDA Proposed Restricted Distribution System for’NDA 20-687 on 6/l/00” (June 1,2000)[FDA
      * FOIA Release: MIF 0005221. See also American College of Obstetricians and Gynecologists, “Analysis of the
        Possible FDA Mifepristone Restrictions” (July 27,200O): at 1 (setting forth FDA’s second proposed restriction,
        which is redacted in the publicly available copy of FDA’s proposal; also providing the redacted portion of the fifth
        restriction)[FDA FOIA Release: MIF 001366~69].
        236 It should be noted, that even these restrictions would not have been sufficient to make mifepristone-misoprostol
        abortions safe. Among the key safeguards missing from FDA’s proposal were requirements that every prospective
        patient undergo an ultrasound and that pres&ibmg”physiciahs be required to have admitting privileges at facilities
        able to provide emergency care.
        237 Paul Blumenthal, M.D., Jane Johnson, and Felicia Stewart, M.D., “The Approval of Mifepristone (RU486) in the
        United States: What’s Wrong with this Picture ?” Medsc&e ~Women        ‘s Health 5 (2000) (reproduced in an internal
        FDA email)[FDA FOIA Release: MIF 00002597-991 (“At a meeting of early abortion providers and abortion
        advocates, the Population Council and”Danco revealed that the ‘U.S.‘“Food am@-ug Administration (FDA) had made
        a series of proposals regarding the labeling and distribution of mifepristone that would severely limit women’s
        access to the drug if and when it is approved.“).
        238See Teleconference Meeting Minutes (between FDA staff,a.nd representatives of the Population Council and
        Dance) (June 7,200O): at 1 (“Meeting Objective: . . . to discuss the misrepresentations by the Press regarding the
        proposed distribution system, and to agree on the need for serious, candid, and confidential discussions 9o resolve
        deficiencies of the application.“)[FDAFOTA   Releas& M@       0~2136-J7]~FDA
                                                                ._... _,. I,x_”         internal email (June 23,2ObO)i at 1
        (re: telephone conversation with PopulationCouncil attorney, Nancy But+ on 6123l’o”o)(“I&o        said’@ we were
        looking to Pop Council to be a responsible entity in manufacturing, distributing, and shepherding this drug and that
        most responsible entities make proposals rather than expect FDA to write labels and distribution systems’and obtain
        comments through the media.‘)pDA FOIA Release: MIF 0025231.
        23g See Letter, Ralph Hale, M.D. (Executive Vice President, ACOG) to Jane Henney, M.D. (July 24, 2000) and
        enclosure: ACOG, “Analysis of the Possible FDA Mifepristorie Restrictions” (July 27,2000)[FDA FOIA Release:
        MIF 00 1366-691. ACOG and the American Medical Association (“AMA”) also attempted to secure a meeting with
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           ___.,”
               .,*:‘.. /a...,. ,/,. ” ., ~    I‘?, _.)f ,*, ._\ ”-..‘I., e,&: “,. ,,.I.,u..,. .,, .. ,_, .‘ .N /,:_ ; ~ ,


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             impending approval deadline of $eptember 30, 2000,24*however,
                                                                     ,.I., had
                                                                           -. the desired effect of ’,
.   ?                                                        !.
             undermining FDA’s resolve.

                      At a meeting on July 19,2000, FDA yielded to the Population Council and Dance on a
                                                                                                     ,
             number of important issues.242FDA abandonedits proposal for auditable physician

        5    qualifications and agreedinstead to permit physicians to attest to their own qualifications.243

             Instead of requiring formal training, FDA merely “request[ed]
                                                                ,   ,      that the physician also attest.to

             having read and understood the training materials and labeling.“244FDA also agreednot to




             Dr. Jane Henney, FDA Commissioner, and her staff, in order to further discuss their opinion of the restrictions. See
             Letter, Ralph Hale, M.D. (Executive Vice President, ACOG) and E. Ratcliffe Anderson, Jr., M.D. (Executive Vice
             President, AMA) to Jane Henney, M.D. (July 24,200O): at 1 (“The undersigned organizations . . . are very
             concerned about restrictions . . . [FDA] has proposed for . . . mifepristone. . . . We would like the opportunity to
             meet with you and your staff to discuss this important issue. It’s imperative that the FDA fully understands the
             effect that these proposals would have on the quality of health care. It’s equally imperative that the FDA’s work be
             based solely on evidence from the drug’s clinical trials, and be entirely from political influence.“)[FDA FOIA
             Release: MIF 001363]. They were permitted only to meet with offidials’~~~~‘s’Offi~e-~f’~o~e~~             Health, an
             office within the agency that was not involved in’reviewing the’NlX”SiQ       Letter, Jane Henriey to Hale and ’
             Anderson (Aug. 11, 2000): at l-2 [FDA FGIA’Release:‘MIF 0;01361]. The questionable scientific basis for this
             challenge to FDA’s proposed restrictions was recently brought to the attentionof ACOG by one of the Petitioners.
             Letter, Donna Harrison, M.D. (Chairperson, AAPLOG-Committee on Mifeprex Use) to Ralph Hale, M.D.
             (Executive Vice President, ACOG) (May 23,2002) ( available,at <http://www.aaplog.org/acogmifeprexletter.htm>).
             240 See, e.g, Letter, U.S. Senator Barbara Boxer to Dr. Jane Henney (June 9,200O): at 1 (“According to news
             reports, the FDA is considering placing draconian restrictions on the accessibility of RU-486 as a condition of its
             approval . . . . In 1996, the FDA found RU-486 to be safe and effective.’ ‘Themfore, it is a‘mystery to me why the
             FDA would even consider restricting access to it.“)[FDA FOIA Release: MIF 0063761; Letter, Mark Green, Public
             Advocate for the City of New York, to Dr. Jane Hemrey (Sep. 22,200O): at 1 (“Earlier this week Planned
             Parenthood of New York City, NARAL-New York, the Access Project and Physicians for Reproductive Health and
             Choice joined me in convening a public hearing in New York City on pending action by [FDA] on mifepristone . . . .
             [I am] also concerned about the restrictions on Iaccessto RU-4.86 that ‘FDA is said to be considering?)[FDA FOIA
             Release: MIF 001288-13021; Sheryl Gay Stolberg, “F.D.A. Adds Hurdles in Approval of Abortion Pill,” New York
             Times(June 8,200O): at A21 (“The long-running effort to bring the French abortion pill to women in this country
             has encountered yet another obstacle: a suggestion by [FDA] that it may place tight restrictions on how the drug,
             RU-486, is distributed and who can prescribe it.“); Letter, U.S. Representative Lynn Woolsey to Dr. Jane Heiiney
             (June 22,200O): at 1 (“However, I am deeply c,oncerned abou~~recent
                                                                               >-._I.-press_,_
                                                                                            reports<,about
                                                                                                       “_,. proposed restrictions.“)
                                                                                                                            .    /
             FDA FOIA Release: MiF 0063721.
             24’ As noted above, because FDA had accorded priority review to mifepristone, the approval process was slated for
             completion by September 30,200K     ‘1       .
             242See Meeting Minutes, re: Approvability Issues Related to’@beling and”DistributionPlan      for Mifepristone (July
                                                                                 . . ,,                                     I
             19,200O): at 2-4 [FDA FOIA Release: MIF 004661-651.
             243See id. at 2.
             244Id. at 2.                                                                                         m-        /
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                                                                                                               App. 000366
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      require pre-procedure ultrasounds.      Furthermore, PDA stated“that it is not necessaryto require
                                                                      , ..,
                                                      ‘.”. I ,,^,_
                                                                i; .,       ,, .* _, .‘   ” .- ;;; ,__
                                                                                                     ,i __. ,<:
      the patient to take the drugs in the presenceof health care’prov~der.“‘i$6        .

               Among the unresolved issuesat the conclusion of the July i9; TO’oO’tic%&g‘%&~“thk

      question of whether prescribing physicians should be limited to those who were able to perform

      surgical abortions, a provider qualification FDA believed was necessary:

            FDA requeststhat the ability to perform vacuum aspirations and/or D&Cs be added to
            provider qualifications. Providers also need to have accessto emergency services. The
            need for surgical intervention is predictable unlike with other drugs. All OEi/GYNs ‘and
            other practitioners of women’s health have these skills. The countries with experience
            with mifepristone have tight provision of complete servicesand have a long record of
            good outcomes.247
                                                          j
      The Population Council later rejected FDA’s request,248  and the agency acquiesced.24g

               Despite its persistent concerns,FDA approved a regimen that posed the very risks to

      women’s health that the agency had previously identified. When it approved Mifeprex, FDA

      stated that “[ulnder 21 CFR 314520, distribution of the drug is restricted as follows:”

               MifeprexTM must be provided by or under the supervision of a physician who meets the
               following qualifications:
                    l  Ability to assessthe duration of pregnancy accurately.
                    l  Ability to diagnose ectopic pregnancies.
                    l  Ability to provide surgical intervention in casesof incomplete abortion or severe
                       bleeding, or have made plans to provide such care through other qualified
                       physicians, and are able to assurepatient accessto medical facilities equipped to
                       provide blood transfusions arid’resuscitation~if necessary.            .^ ‘. ‘- ’
25                  l  Has read and understood the prescribing‘information of MifeprexTM.



      245Seeid. at 3.
      246Id. at 3.
      247Id. at 3.
      248 See Amendment 954 to the NDA, re: Further Response Regarding Labeling and Distribution: Follow up to July
      19, 2000 Meeting (July 27,200O): at 6 (arguing that bolstering the provider qualifications in this way would be “not
      only unnecessary, but also in fact potentially counterproductive for patients”)[FDA FOIA Release: MIF 0001373-
      811.
      249 See Teleconference Meeting Minutes, re: status of pending review issues pertaining to this drug product (Aug.
      11,200O): at 1 [FDA FOIA Release: MIF 004587-881.
                                           i       ,i _/           iI        .” ...j _, ,.   s.               , / I_ _(_.


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                   l    Must provide eachpatient with a Medication Guide and must fully explain the
                        procedure to eachpatient, provide her with a copy of the Medication Guide ‘and‘
                        Patient Agreement, give her an opp&turiitytb read and discussboth’the        ’
                        Medication Guide and the Patient A~eement,%btain her signature on the Patient                    ~ ’
 5                      Agreement, and must sign it as well.
                   l    Must notify the sponsor’or its designatein writing as discussedin the Package
                        Insert under the heading DOSAGE AND ADMINISTRATION in the -eventof an
                        ongoing pregnancy, which is not terminated subsequentto the conclusionofthe’
                        treatment procedure.
10                 l    Must report any hospitaliiation, transfusion or other serious eventsto the sponsor
                        or its designate.
                   l    Must record the MifeprexTM package serialnumber in eachpatient’s records.25o

      In addition, the restrictions include a requirement that distribution be carried out in accordance

15    with the plan submitted to FDA by the Population Council in a March 30,200O submission.25’

      Even as it assentedto a regimen that lacked critical safeguards;FDA took a number of stepsthat

      indicated its lingering concernsabout the safety of the drug. First, FDA ultimately decided to

      rely on an infrequently used provision in Subpart H in hopes of ensuring that mifepristone would

      be used safely and, if necessary,could be withdrawn from market rapidly.252Second,the staff

20    insisted that the mifepristone label “include a black boxed warning describing the major

      requirements and conditions for use.“z53“ FDA generally reservesboxed warnings for serious or




                                                   /              l”~”      ”


      250 Mifeprex Approval Letter at 2.
      251 See Mifeprex Approval Letter at 2.
      252 See 21 C.F.R. 530 (“Withdrawal Procedures”). See also FDA, Memorandum, re: NDA 20-687 (Feb. 17,200O):
      at 3 [FDA FOIA Release: MIF 000583-851.‘ As late as Jiiljj lSr,2OOa,’the question of whether to use SubpartG was
      deemed to be an “Outstanding Issue.” See Mectmg Minutes, re: Approvability Issues (July 19,2OOi>): at 4 [PDA
      FOIA Release: MIF 094661-651.
      253 FDA, Memorandum, re NDA 20-687 (Feb. 17,200O): at 2. The Population Cotmcll,,which opposed the
      inclusion of such a warning, ultimatelv’persuadcd FDA to atieedto a da@d-do&i Black Box Warni% which would
      merely direct the prescribing physician ii) to plan in advance for emeriencycare,and(ii) to makea&able to the
      patient and provide her with the opport&i~ 7to.d@cuss
                                                        --      - patient information and patient agreement. See
                                                               the
      Amendment 054 to the NDA, re: Further Rg:sponse Regarding’Labelina and Distribution: Folhow up’to July 19,200O
      Meeting (July 27,200O): at l-2 [FDA FOIA Release h&F 0001373-811:



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                                                                                                    App. 000368
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      life-threatening risks that best can be minimized by conveying critical information to the
                                                                                               8,
      prescribing doctor in a highlighted ‘man.ner.‘7254

               FDA’s willingness to tailor the restrictions on Mifeprex to suit the demands of the

      Population Council and Dance will continue to manifest itself in serious adverseevents among
                                                                                               /
5     the women who use the Mifeprex Regimen. Some of the most critical flaws in the approved

      regimen are discussedbelow along
                                    / with serious adverseeventsthat have already been reported.

                         1.       The Appioved Regimen Is @safe Because It Does Not Require
                                  Ultrasoudd
10                                a.     Ultrasound Is Necessary to Accurately Date Pregnancies

               The gestational age of a woman’s pregnancy is a critical factor in determining whether

      she is an appropriate candidate for a mifepristone abortion. In order to minimize the risks of

      hemorrhage, incomplete abortion and continuing pregnancy, the gestational age of the pregnancy

15    must be less than or equal to 49 days255The authors Xthe’Spitz Article, for example, found that

      “[flailures, defined as casesrequiring surgical intervention for medical reasonsor becausethe

      patient requestedit, the abortion was incomplete, or the pregnancy was ongoing, increasedwith

      increasing duration of the pregnancy.“256Through the combination of mifepristone and

                                              1”,     ,_,




      254 Judith E. Beach et al., “Black Box Warnings in Prescription Drug Labeling: Results of a Survey’of 206 D’mgs,”
      Food and Drug Law Journal 53 (1998): 403-412, at 403 (available at:
      ~http://www.fdli.org/pubs/Joumalo/o2O’On~~e/53~3/art2.p~~.         See also 21 C.F.R. 8 201.57(e) (“Warnings”)
      255 As noted above, the gestational age of a pregnancy is based on the first day of a woman’s last menstrual period,
      which is designated as Day 1 of the pregnancy.
      256 Spitz Article, @-a Appendix A, at 1241. ‘The larger ;t increase was in failures representing ongoing pregnancy,
      which increased from 1 percent in the [less than or equal to] 4%days group to 9 percent in the?7-t~-63-days?group’
      (P<O.OOl).” Children born from ongoing pregnancies, after a failed’apphcation of the Mifeprex Regimen; may
      suffer birth defects, fertility problems, or other’“~kal~h.pio~ie;l;s‘l?;te~~~ hfe’e:-Researchers have found .evidence
      linking misoprostol and birth defects such as missing or deformed limbs and misshapen skulls. Much of this
      research was conducted in Brazil, where numerous women have attempted to induce abortions using misoprostol
      alone. See, e.g.., Sylvia Pagan Westphal, “Birth Defects Caused by Ulcer Drug Abortions,” NewSci&tis’t.boti (29
      Aug. 200 1) (“Several studr& in Bra&l,’ where up to 75 percent of clandestine abortions involve misoprostol, suggest
      the drug causes birth defects such as fused joints; grow&retardation and a condition known as Mobius syndrome,
      which is characterised by paralysis of the face.“); Ieda MI’Orioli
                                                                  T , L.‘L\_   and .*Ed&do-E.
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                                                                                                      ,,. ,,“Epidemiological
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                misoprostol, “pregnancy was terminated in 762 of the 827 women pregnant for[less than or
                                                        i :    ,%.
                                                                L j     I                               : I.
                equal to] 49 days (92 percent), 563 of the 678 women @regnantfor 50 to 56 days (83 percent),

                 and 395 of the 510 women pregnant for 57 to 63 days (77 percent) . . . .“257The study also found

                that “[albdominal pain, nausea,vomiting, diarrhea, and vaginal bleeding also increasedwith

          5     advancing gestational age.“258Due to the signi‘ficam incresse ih‘ failiires and com$ications‘\th
                                                      ,,
                increasing gestational age! FDA’apnroved Mifeprex only for pregnanciesof less than or equal to

                49 days’ gestation.25g

                          The only way to date a pregnancy with the degreeof accuracynecessaryto exclude’

                women whose pregnancies are beyond 49 days’ gestation is by use of transvaginal ultrasound.
                                                                  : .
          10    FDA severely undermined the limitation on gestational age,however, when it failed to require


                Assessment of Misoprostol Tetratogenicity,” British Journal of Obstetrics and G$aecology 107 (April 2000): 5 19-
                23, at 522 (“. . . there is an association of prenatal use of misoprostol
                                                                                 .,./“““,_.&,...as .an
                                                                                                    . ...abortifacient and congenital defects of
                vascular disruption type.“); F.R. Vargas et al., “Prenatai Exposure to Misoprostol and Vascular Disruption Defects:
                A Case-Control Study,” American Jtiurnal of A&diGi %&eiik95 (2OUO)1302-306,at 306 (“‘add[ing]-                             ’
                epidemiological basis to the growing body of evidence that prenatal exposure to misoprostol is related to the
                occurrence of vascular disruption defedts in some exposed fetuses.“). FDA determined that data submitted by the
                Population Council from a survey of fetal abnormalities in82 pregnancies that were exposed to mifepristone alone
                or in combination with misoprostol was inconclusive. See FDA Mifeprex Approval Memorandum, infia Appendix
                A, at 4. FDA acknowledged, however, the possible link between misoprostol and birth defects. See Medical
                Officer’s Review, inj?a Appendix A, at 18 ‘r‘. .’ . medical follow-up is required to ensure that surgical termination is
                performed in case the medical termination attempt fails since misoprostol has been reported to be teratogenic’in
                humans (limb defects and skull defects).“). The need for a study of the possible joint effects of niifepristone and
                misoprostol on babies born after a failed applidation of the‘&Iifeprex Regimen was highlighted by the abnormalities
                discovered in a fetus exposed to misoprostol and mifepristone; See Office of Postinarketing Drug Risk Assessment,
                AERS Report, ISR Number 3877547-X (March. 1,2002) (French report of numerous deformities in fetus that was
                exposed to mifepristone and misoprostol but survived until a subsequent surgical ‘abortion was performed, “The
                anatomopatbology examination showed a meningo-encephalotiele. The left hand was constituted ofonly two fmgers
                (oligodactylia), left and right foot were’ constituted of only one finger (monodactylia). There was a facial:
                dysmorphia.“).
                257Spitz Article, infra Appendix A, at 11241.
                258 Spitz Article, infia Appendix A, at 1241. In order to treat vag’mal bleeding, “[t’jwo percent of the women in the
                [less than or equal to] 49-days group, as compared with 4 percent in eacli,of the other two groups, were hospitalized,
                underwent surgical intervention, and refeived intravenous fluids (P=O.OOS).”Id.
                25g FDA’s Medical Officer’s Review noted: “The success of medical termination of pregnancy decreased with
                advancing gestational age and the incidence of adverse events’increased with advancing gestational age.” ‘Medical
                Officer’s Review, infra Appendix A, at 18. The review stated further: “This method of pregnancy termination is of
                limited value because of the relatively short window of opportunity, in whlich it can be employed. Its safety and
-/              effectiveness is based on its use durine’the seven “weeks following
                                                                            -~~- .--‘z the
                                                                                       -~~~firs t day of the last menstrual period.” Id.
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      *                                                            ,                   ._



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     the ultrasound dating of pregnancies. FDA’S approved    regimen relies instead on-a patient’s
                                              ,’     . _:
     recollection of her menstrual history and a physical examination. Dating based on menstrual

     history is inherently inaccurate becausewomen may not have a perfect 28-day menstrual cycle26o

     and because25 percent of women experiencebleedmg during the early stagesof pregnancy.261

5    Gestational dating through physical examination, even when carried out by experienced

     clinicians, can also be inaccurate.262Factors such aspatient body size, uterine fibroids, previous

     parity, and uterine position may impair’a clinician’s’ ability to assessuterine size.263Transvaginal

     ultrasound, by contrast, is accuratewithin plus or minus 3 days at gestational agesof 5 to 7

     weeks.264“Transvaginal ultrasonographic examination is necessaryto ensureaccurategestational



     260See, e.g., Leon Speroff, M.D., Robert H. Glass, M.D., and’Naman i;.‘K&$ n;r:~.l’Cli~i;7ai”i;yn~c~Z~~ic *
     EndocrinoZogy and Infertility, 5’ ed. (Baltimore: Lippincott Williams and Wilkins, 1994) at 219 (“The perfedt 28
     day cycle is indeed the most common mode, but it totaled.only 12.4% of Volhnan’s cycles. Overall, approximately
      15% of reproductive age cycles are 28 days in length. Only 0.5% of women experience a cycle less than 21 days
     long, and only 0.9%.a Cpdle greater than‘35 days. Most women have cycles that last from 24-35 days, but at least
     20% of women experience irregular cycles.“).
     261See Peter W. Callen, M.D., Ultrasonography in Obstetrics‘and Gynecology 2”d ed. (Phila, Pa: W.B.Saunders
     Company; Harcourt, Brace, Jovanovich, 1988) at 32 (“Threatened abortion is a common complication that odcurs in
     approximately 25% of clinically apparent pregnancies.“); Speroff, et al, %linical Gynecologic Endocrinolo@ and
     Infertility, 5& ed. (Baltimore: Lippincott Williams and Wilkins, 1994) at 536 (noting that “pregnancy and pregnancy-
     related problems such as ectopic pregnancy or spontaneous abortion” can cause uterine bleeding).
     262 Steven R. Goldstein, M.D., Francis R. M. Jacot, M.D., Claude Poulin, M.D., and D. Scott Poehhnann, M.D.,
     “Documenting Pregnancy and Gestational Age,” Chapter 4, in Maureen Paul et al., eds., I4 Clinician-‘s Gu’ide.to
     Medical and Surgical Abortion (Philadelphia: Churchill’Livirigstone l~Har&rrt”Brace~‘l999) C‘A &%?c%z+‘s ~
     Guide”): at 4 1 (“Although clinical sizing of the uterus during the first trimester can provide a rough estimate of
     gestational age, it is imprecise; misestimation of gestational age by uterine sizing alone can occur even ~mmehands
     of experienced clinicians.“).
     263SeeA Clinician ‘s Guide, infra Appendix A, at 41 (“a number of conditions such as leiomymas, multiple
     gestation, and obesity may severely limit, the atcuracy of gestational age assessment by physical examination,
     warranting preprocedure assessment by ultrasonography in known or suspected cases”) (footnotes omitted).
     264 See Salim Daya, M.B., “Accuracy of Gestational Age Estimation using Fetal Crown-rump Measurements,”
     American Journal of Obstetrics and Gynecology 168 (March 1993): 903-908; Ivar K. Rossavik, M.D., George 0.
     Torjusen, M.D., and William E. Gibbons, M.D., “Conceptual Age and IJltraso~d~Measurements of‘destation Age
     and Crow-Rump Length in in Vitro Fertilization Pregnancies,” F&tz%ty’hnd %&?$~9’ (1988)1-li)l2-i7.            Sek also ‘.
     Mitchell D. Creinin, M.D. and Heather Jerald, “Success R.ates:and Estimation of Gestational Age for Medical
     Abortion Vary with Transvaginal Ultrasonographic Criteria,” Amen’can-Journal of Obstetrics and.Gynecology 180
     (1999): 35-41. In this study comparisons of gestational age estimates based on the last reported menstrual period to
     those generated through ultrasound in patients presenting for medical abortion, revealed the former method to be
     significantly inaccurate in approximately half the cases. The authors observed: “It is interesting that in this
     population of women seeking abortion’the gestational age according to the LMP [last menstrual period] was verified



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     dating for provision of medical abortion actor-ding
                                                       _ to current standardsin clinical tiidelines
      _.      -          .   .          _.__          .(




                               _’                      _:/
     establishedby-the National Abortion Federation.“265


                                  b.           Ultrasound Is Necesgary to Identify Ectopic Pk&gGmcies
                                                                                                                       ,
5                 Approximately two percent of all
                                                ,_ pregnancies
                                                            > in the United .Statesare “ectopic

     pregnancies,” in which the pregnancy is located outside the uterus - often in the fallopian tube.266

     Mifeprex does not terminate ectopic pregnancies.267Therefore, if a woman who has an ectopic

     pregnancy undergoes a mifepristone-misoprostol abortion, she is at risk for tubal rupture and

     subsequenthemorrhage due to delay in,diagnosis and delay in treatment. The symptoms of an

     ectopic pregnancy - vaginal bleeiding,pelvic’pain, and
                                                         . , cramping - are confusingly similar to
     certain side effects of the Mifeprex Regimen.268A &Oman with an ectopic pregnancy is at risk of

     suffering massive intra-abdominal hemorrhage, damageto her reproductive organs, permanent

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                                                                                         -_\             .             .
     by the transvaginal ultrasonographic examination only 48% to 56% of the time when a gestational sac was present
     and only 55% to 64% of the time when’an embryonic poie was present . . . . These’results, though, do not even
     include those women who were excluded fromlthe studies because the uhrasonographic examination fmdings-were
     so different from the dates by LMP that the estimation of gestational age tias changed too much for them to be
     included.” Id.
     265 Mitchell D. Creinin, M.D. and Heather Jerald, “Success Rates and Estimation of Gestational Age for Medical
     Abortion Vary with Transvaginal Ultrasonographic Criteria,” American Journal of Obstetrics and.Gynecology 180
     (1999): at 35-41 (text preceding n. 8) (citation omitted).
     266 Centers for Disease Control, “‘Ectopic pregnancy -United States, 1990-1992,” Morbidity and Moriality Weekly
     Report (MMFVR)44 (No. 3) (Jan. 27, 1995): at 46. The number of,ectopic pregnancies may be even higher now
     because sexually transmitted diseases and other causes of ectopic pregnancy are more widespread than they were in
      1992 - the latest year for which the Centers for Disease Control have reported the number of ectopic pregnancies.
     Id. at 46-7.
     267 See, e.g., Beth Kruse et al., “Management of Side Effects and Complications in Medical Abortion,” American
     Journal of Obstetrics and Gynecology 183 (2000): S65375, ‘~~‘S72’(“liiiifep;ris~oneehas not proved effective in ’
     treating extrauterine pregnancy . . . .“).
     268 See American College of Obstetricians and Gynecologists, “Medical Management of Abortion,” ACOG Practice
     Bulletin: Clinical Management Guidelinesfor Obstetrician-Gynecologists 26 (April 200 1): at 6 (noting that in
     medical abortions, “women may even experience symptom resolution consistent with a complete medical abortion
     and still have a persistent gestational sac or even an ectopic pregnancy”) (“ACOG Practice Bulletin”). Vaginal
     bleeding, for example, is a normal consequence of the Mifeprex Regimen and may continue for weeks after a
     woman?ngests Mifeprex and misoprostol. -See,:erg., Spiti, infia Appendix A, at 1243 (“Vaginal bleeding is a
     natural consequence of the abortion process, and it occurred in all the women whose pregnancies were terminated

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      cterility, and even,death if not promptly treated by emergency surgery. ‘The authors of a French
                      ” I~                                               ;I ’
      mifepristone study in which a participant with an ectopic pregnancy underwent emergency

      surgery to stop heavy bleeding, concluded that:

               The caseof undiagnosed ectopic pregnancy, which ruptured suddenly 2 days after
5              misoprostol intake, indicates that (1) mifepristone plus misoprostol is not an effective
               treatment of ectopic pregnanciesand should not be used for this purpose, and (2) all
               medical means of detecting an ectopic pregnancy should be used before prescribing
               mifepristone plus misoprosto1.26g

10             Although the Mifeprex Label statesthat the Mifeprex Regimen is contraindicated for

      women with a “[c]onfirmed or suspectedectopic pregnancy,“27o
                                                                 FDA did not require that

      ultrasound be used to exclude women @h ectopic pregnancies. Instead, the approved regimen

      relies solely on a self-certificatiqn by the prescribing physician that she has the “[albility to

      diagnose ectopic pregnancies.“*” A physical examination alone cannot accurately identify

      ectopic pregnancies. Ultrasound, “[i]n addition to providing the best information for gestational

      age determination . . . can also provide useful diagnostic information regarding a wide variety of

      pathologies of early pregnancy,” including ectopic pregnancies.272




      medically. The median duration of bleeding or spotting was 13 days in the [less than or equal to] 49-days group and
      1.5days in the other two groups (P<O.OOl).“).
      26g Elizabeth Aubeny, et al., “Termination of Early Pregnancy (Up to 63 Days of Amenorrhea) with Mifepristone
      and Increasing Doses of Misoprostol,” International Journal of Fertility & Menopausal Studies 40 (1995): 85-91, at
      91.
       270 See Mifeprex Label (“Contraindications”).
       *‘I See Mifeprex Prescriber’s Agreement.
       272A Clinician’s Guide, infra Appendix A, at 47-8.


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                                FDA’s Approved Regimen Is Not ResQic@d_tq,qroperly Trained
                                Physicians who Have Admitting Privileges to Emergency Facilities

5             FDA’s approved regimen lacks any objective qualifications for prescribing physicians

      and administering health care providers. 273The health care provider administering the Mifeprex

      Regime need not undergo training, may not necessarilybe an obstetrician or gynecologist, may

      not have any surgical training or training in the managementof abortion complications, and may

      not even be a physician.274For example, the Mifeprex Regimen could be administered by a nurse

10    untrained in any type of abortion and under the remote supervision of a family practitioner who

      does not regularly practice obstetrics and is incapable of providing emergency care.

              Physicians and the health care staff that,they superviserequire formal training in both

      pharmaceutical and surgical abortion to minimize the morbidity inherent in performing

      mifepristone abortions.275National
                                      . _.Abortion
                                           ‘.,*1. .,IFederation
                                                      *.”Y,,_I .,.*./_ guidelines provide that “[a]11personnel

15    performing abortions must receive training in the performance of abortions and in the prevention,

                                                              ^         .    ,, __
      273 Self-certifications.do not~provide an effective substitute for imposing objective, auditable requirements. The
      Mifeprex Prescriber’s Agreement, for example, merely requires that the prescribing physician profess to have the
      “[albility to assess the duration of pregnancy accurately.” The vacuity of this stipulation is illustrated in remarks
      made by Dr. Susan Allen (who later became an FDA official) before the FDA Advisory Committee. Dr. Allen
      stated, “If you also recall when you go through medical school you learn how to date a pregnancy.” FDA Hearings
      Transcript, in&-aAppendix A, at 3 19.
      274 See Teleconference Meeting Minutes, re: status of pending review issues pertaining to this drug product (Aug.
      11,200O): at 1 (“the distribution system would allow for physicians to obtain the drug product after meeting all
      qualifications, but Mifeprex could be administered by someone yho is under the supervision of that physician such
      as midwives or nurse practitioners”)[FDA FOIA Release: MIF qO4587-881; see also, Mifeprex Approval Memo,
      inj?a Appendix A, at 4-5 (“Thus, physicians remain the initial populatron who will receive this drug for dispensing.
      This does not preclude another type of health care provider, acting under the supervision of a qualified physician
      from dispensing the drug to patients, provided state laws permit this.“).
      275 A survey of methotrexate abortion providers underscores the necessity of training in both medical and surgical
      abortion. See S. Marie Harvey, Linda .I. Beckman, and Sarah J. Satre, “Experiences and Satisfaction with Providing
      Methotrexate-Induced Abortions among U.S. Providers, ” Journal of the American Medical Womq ‘T&qcigtiqn~~5~
      (2000): 161-63, at 162 (In a study comparing methotrexate and surgical abortion, “[mlost providers felt strongly that
      all clinic staff should be familiar with both procedures and, thus, the training needs would be equivalent. This
      thought was echoedanot only by physicians, who must be prepared to perform an emergency surgical abortion if
      metbonexate fails, but also by other clinic personnel. Thirty-nine percent of providers thought that medical abortion




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          recognition, and management of complications.“276Additionally, AC06 recommends that
                            ,
          “[c]linicians other than obstetrician-gynecologists who wish to provide medical abortion services

          should work in conjunction with an obstetrician-gynecologist or be trained in surgical abortion in
                            .
                                                   Vet The necessity for training in. surgical abortion as
          order to offer medical abortion,treatment:~

    5     well as mifepristone abortion stemsprimarily from the high failure rate of the Mifeprex

          Regimen. In the U.S. Clinical Trial, the Mifeprex Regimen failed for 8 percent of women with

          pregnancies of less than or equal to 49 days’ gestational age.“*

                   Excessive bleeding, which is much more common following a Mifeprex abortion than a

          surgical abortion, is particularly likely to necessitateurgent surgical intervention. Based on an

    10    international study comparing surgical and medical abortion, FDA’s Medical Officer noted that

          “[o]n the whole, medical abortion patients reported significantly more blood loss than did

-         sureical
          - ---a-- --~abortion natients”
                               I                         d this as a ‘,‘seriouspotential disadvantageof the
                                         and characterizes

          medical method.“27gIn the U.S. Clinical Trial among patients whose pregnancieswere of no

          more than 49 days’ gestation, excessivebleeding resulted in one blood transfusion, two

    15    hospitalizations, two emergency room treatments, and thirteen surgical interventions.28oIn




          required more training; specifically, learning to do a vaginal ultrasound and to handle the unpredictable outcomes of
          methotrexate abortion required lengthy training.“).
          276 National Abortion Federation, “National Abortion Federation Chn&al Policy Guidelines, 1998,” Appendix, in
          Maureen Paul,,et al., eds., A Clinician ‘s Guide to Medical .pqdSurgical Abortion (Philadelphia: Churchill
          Livingstone / Harcourt Brace, 1999): at 256 (“A Clinician’s Guide”).
           *I’ ACOG Practice Hulletin, infia Appendix A, at 6.
           278 See Medical Ofqcer’s Review, inJ;a Appendix A, at Table 1. Seventeen percent of women with pregnancies of
           between 50 and 56 days’ gestational age and 23 percent of women with pregnancies between 56 and 63 days were
           failures. See id. In an international _,_study
                                                      /. reviewed by the Medical Officer, failure rates for mifepristone abortion
           were 5.2 percent, 8.6 percent and 16 percent in India, China and Cuba respectively, while comparable failure rates
           for surgical abortion were 0,0.4 percent, and 4.0 percent. See Medical Officer’s,Review, infra Appendix A, at 19.
           27g Medical Officer’s Review, infia Appendix A, at 19 (no citation by FDA Medical Officer).
           280 Medical Ofticerjs Review, infra Appendix A, at 17.



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                                                                                                                  App. 000375
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 addition, 5 percent of the patients in this group received uterotonic agentsto stem bleeding.281A
                                           .,             , “_,.”
 delay in intervention may be life-threatening,**’ as was illustrated by the experienceof one of the

 participants in the U.S. Clinical Trial. The treating physician describedthe incident to the FDA

 Advisory Committee:

                  In November of 1994, I was called to the [emergency room] for a woman who
          was bleeding due to a miscarriage, and was in obvious shock. A blood testx showed
                                                                                         .I, /_”
                                                                                               _ that                     I
          she had lost between one-half to two thirds of her blood,volu.m,e,. . . .,:
                  I had thought she was having an incomplete miscarriage, but her husband . . . told
          me that she had taken RU4,@ approximately 2 weeks before. It was my clinical opinion
          that she would die soon ifa“Ishe  did
                                       “.,i,“./ not have an immediate [dilation and curettage].
                                             *11,,”
                  Without even doing the routine ~~~~~~~~~~‘~~nonnally’do for surgery, I realized
          that I had to take her immediately to surgery to saveher life. I took her to the operating
          room and removed the contents,of her uterus,surgically. I gave her two units of packed
          red blood cells intraoperatively.
                  Even later that evening, . . . [s]he required two more units of blood b~ecause she
          was still orthostatic and symptomatic.283

          The Mifeprex Regimen is contraindicated for “any patient who does not have adequate

 accessto medical facilities,equipped to provide emergencytreatment.“284FDA’s approved

 regimen, however, does not require prescribing physicians to have admitting privileges to

 emergency facilities. The approved regimen requires only that a physician who is not able “to

 provide surgical intervention in casesof incomplete abortion or severebleeding . . . ma[k]e plans

 to provide such c:arethrough others, and [be] able to assurepatient accessto medical facilities

 equipped to provide blood transfusions and  resuscitation,
                                         j -,_.
                                             _~.,,~_.
                                                 c,*.*.. /_, if necessary.“285Plans for back-up care
                                                   .~,*_x/”


 28’ Medical Officer’s Review, infra Appendix A, at 17.
 282 When surgery is indicated because ofacute b&e&ng, significant, or even life threatening blood loss, has already
 taken place. The preoperative preparation of the patient is often compromised in the rush to complete the surgery,
 which results in higher infection rates and,more, anes.metic,complications, such as aspiration during intubation.
  283 FDA Hearings Transcript, z’nfraAppendix A, at 223-25 (testimony of Dr. Mark Louviere).
  284 See Mifeprex Label (“Contraindications”).
  285 Mifeprex Prescriber’s Agreement. FDA, however, took two steps that suggested that it has lingering concerns
  about the absence of a surgical intervention qualification for Mifeprex prescribers. First, the Mifeprex Label
  includes a “black box” warning governing surgical back-up. Second, FDA required the Population Council to
  perfotrn a post-approval study “[t]o ensure that the quality of care is not different for patients who are treated by


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      may be nothing more than “having the ability and responsibility to direct patients to hospitals, if

      needed.“286Moreover, the approved regimen does not include an objective geographical

      limitation to ensurethat the patient has easy accessto the designatedemergency care facility.287


5                       3.       The Sponsor’s &eceq$ “Dear     Doc$$r
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                                                                                 ‘%.<“*.  FDA’s
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                                 Webpage Announcing Serious Adverse Events Validate the
                                 Petitioners’ Cowerns

              On April 17,2002, 288Dance, with FDA’s assistance,issued a letter to health care

10    providers to alert them to “New Safety Information, ” to remind them that Mifeprex was

      approved for use in a prescribed regimen, and to encouragethem to provide patient counseling

      and report adverseevents.**’ The “New Safety Information” consisted of a number of reports of

      serious adverseeventsthat had been experiencedby women who were undergoing or had


                                                          __ _,I        *”    ;.            1. ~,
      physicians who have the skill for surgical intervention (as in the clinical trials) compared to those treated by
      physicians who must refer patients for surgical intervention . . . .” Mifeprex Approval Memo, infra Appendix A, at
      5.
      286 Mifeprex Approval Memo, inj?a Appendix A, at 5. FDA’s decision not to include a requirement that the
      prescribing physician have admitting privileges at a hospital could delay the patient’s admission for emergency care.
      Another likely consequence of not requiring the prescribing physician to have admitting privileges is underreporting
      of serious adverse events related to, the,,,$feprex Regimen. The treating physician, not privy to the Prescriber’s
      Agreement, may not file a serious adverse event report or notify the abortion provider of the complications that
      arose from the Mifeprex Regimen.
      287 The Chinese experience with mifepristone suggests that mifepristone should not be administered in facilities
      unable to provide potentially necessary emergency services. Thus, recently, the Chinese State Drug Administration
      responded to concerns that women were suffering as a result of lax controls on mifepristone by reiterating its policy
      that the drug “can only be administered at a hospital under a doctor’s supervision and cannot be sold at pharmacies
      even with a prescription.” See Kaiser Family Foundation, “China Reaffirms Restrictions on Unsupervised
      Mifepristone Use,” Kaiser Daily Reproductive HeaZthReport (Oct. 15, 2001) (available at:
      <http://www.kaisemetwork.org/daily_reports/rep_index.cfm?hint=2&DR_ID=7453>)            (reporting also that, “[tlhree
      years ago, the Shanghai Health Bureau restricted the use of mifepristone to certain hospitals in the area because of
      fears of complications”).
      288 The letter bears the date, April 19, 2002, but was disseminated to the public on April 17, 2002.
      28g Dance Laboratories, Open Letter to Health Care Providers (Apr. 19,2002) (“Dear Doctor Letter”) (available at:
      ~h~://www.fda.go~/medwatch/SAFETY/2002/mifeprex~deardoc.pd~).               Coincidentally, on the same day FDA and
      Dance publicized these serious adverse, events, the agency also announced major changes to the Cytotec
      (misoprostol) label. See FDA, “M ajor Changes to Cytotec Labeling” (April 17,2002). Pursuant to these labeling
      changes, pregnancy ‘was removed from the list of,contrainditcrati~~~,.~~~,~~Cytotec label and the black box warning
      cautioning pregnant women
                           _      not to take the .drug was also removed.



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                                                                                                         App. 000377
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      recently completed the Mifeprex Regimen.2v!A number of patients had suffered from ruptured

      ectopic pregnancies and one of these            from hemorhage.2v* The letter also reported
                                        .” wome,n,pie~d
                                                 .I
      “[t]wo casesof serious systemic bacterial infection (one fata1).“2v2The fatality apparently

      precipitated a halt in the Population Council’s Canadian clinkal trials of mifepristone.2v3Finally,

5     a 2 1 year old woman suffered a heart attack,threesdays after she completed the Mifeprex

      Regimen.294These and other adverseeventshad b,eenreportedto FDA through its Adverse

      Event Reporting System (AERS).295Two of the patients who were reported to have suffered life-

      threatening adverseeventswere 15 years o1d.2v6These incidents bear out the concerns about the

      safety of the regimen detailed above, and the relatively high rate of serious adverseevents among

10    adolescentsis of particular concern.


      290 The letter did not specify the number of adverse events about which Dance had, been informed, but five
      individual cases were discussed.
      291 See Dear Doctor Letter, infra Appendix A, at 1.
      292 See Dear Doctor Letter, infra Appendix A, at 1.
      293 It appears that the woman reported to have died from a systemic bacterial infection ;was a Canadian trial subject.
      See Marnie Ko, “A Volunteer Dies While Testing a Controversial New Drug, Bringing the Trial to a Halt,” The
      Report (Oct. 8,2001’) ( available at: <http://report.ca/archive/report/20011008/p48ai011008f.htmI>).          See also Hemy
      P. Kaiser Family Foundation, “Population Council Announces Death ofWo_man__.““...li.W._/(
                                                                                            Involved ,.._
                                                                                                     in Canadian
                                                                                                          Iji ,I _^l,“.. ”
      MifepristoneMisoprostol     Trial,” Daily Reproductive Health Report (Sept. 11,200l) (available at:
      <http://www.kaisemetwork.orgfl)aily_reports/rep_index.cfm?D~~~~~~S,~~~).             A Clostridium sordellii infection
      apparently caused the woman to suffer. septic shock. See generally G.L. Mandell, J.E. Bennett, and R. Dolin,
      Principles and Practice of Infectious Diseases(5” ed. 2000): at 255 1 (explaining that a disease process in which
      “clostridia clearly play a major pathogenic role i[s] uterine gas gangrene, now a rare complication that was
      previously seen in the setting of septic abortion. ” “C’sordellii has been reported as a cause of uterine gas
      gangrene . . . .“). See also FDA Q & A’s, infia Appendix A, at Question 3 (“Serious systemic bacterial infection is a
      severe life-threatening infection that spreads throughout the body and can cause death.“).
      294 See Dear Doctor’Letter, infra Appendix A, at 1.
      2v5 See, e.g., Office of Postmarketing Drug Risk Assessment, AERS Report, ISR Numbers 3819498-2 (Nov. 2,
      2001) (intervention to prevent permanent impairment or damage); 3806144-7 (Oct. 9,200l) (death of a patient with
      an ectopic pregnancy); 3769840-6 (July 30,200l) (hospitalization of patient with an ectopic pregnancy); 3769842-X
      (July 30,200l) (intervention to prevent permanent impairment or damage); 3719885-7 (May 8,200l) (death in
      conjunction with the use of misoprostol and Mifegyne, which is the trade name of mifepristone distributed in
      France); 3713452-7 (Apr. 27,200l) (intervention to prevent permanent impairment or damage); and, 3769838-8
      (July 30, 2001) (intervention to prevent permanent impairment or damage). The AERS depends on voluntary
      reporting and the accuracy of these reported adverse events cannot be verified, nor can the cause of these events be
      identified with certainty. There may have been other adverse events that were not reported.

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                                                                                                            App. 000378
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               Simultaneously with Dance’s distribution of the &ar Doctor Letter, FDA published a

      webpage with 14 questions and answersrelated to mifepristone in’an attempt to answer some of

      the questions likely to be prompted by the letter and to urge health care providers to adhere to the

      approved regimen.297FDA’s answers,however, leave much to be desired from a medical and

5     scientific standpoint.

               First, FDA has understatedthe possibility that the Mifeprex Regimen causedthe serious

      adverseevents reported in the letter.298FDA did not adequately explain why women who were

      apparently healthy prior to undergoing the Mifeprex Regimen experiencedlife-threatening or

      fatal complications such as ruptured ectopic pregnancies,heart attacks, and systemic bacterial

10    infections.

                Second, FDA inappropriately attempted to link these adverseeventsto the unapproved

      vaginal administration of misoprostol.29vIt was reckless for EDA to suggestthat the vaginal

       administration of misoprostol causedthese adverseeventswhile overlooking critical flaws in the



       2v6See Office of Pos,tmarketing Drug Risk Assessment, AERS Report, ISR Numbers 3803789-5 (Oct. 3,200l)                                 and
       3815629-9 (Oct. 26,200l).
       2v7 FDA, “Mifepristone Questions and Answers 4/17/2002” (“FDA Q & As”) (available at:
       <http://www.fda.gov/cder/drug/infopage/mifepristone/!7_O~.htm                  ).
       29s See Dear Doctor Letter, infra Appendix A, at 1 (“No causal relationship between any of these events and use of
       Mifeprex and misoprostol has been established.“). An FDA official interviewed (without attribution) downplayed
       the connection between the Mifeprex Regimen and the adverse events. See Susan Qkie, “Physicians Sent Abortion
       Pill Alert: Six Women Using RU-486 Taken Ill, and Two Died, Letter Says,” WashingtonPost (Apr. 18,2002): at
       A2 (“These are, in fact, a very small number of events. Some of them were clearly not caused by the drug
       regimen.“).
       2v9 The repeated references to the unapproved vaginal use of misoprostol in the FDA Q & As give rise to the
       inference that the reported adverse events are attributable to this single departure from the Mifeprex Regimen. See,
       e.g., FDA Q & As, infia Appendix A, at Question 1 (“In all of these cases, misoprostol was given vaginally, not
       orally, which is the approved regimen. FDA has not reviewed data on the safety and effectiveness of vaginal
       administration of misoprostol.“); id. at Question 4 (“We do not know what role, if any, Mifeprex and ‘off-label’ use
       of vaginal misoprostol may have in developing serious infections.“); id at Question 9 (“Why are physicians using
       misoprostol ‘off-label,’ in other words, using misoprostol vaginally at different doses? There are published studies
       of the use of mifepristone with vaginal administration of misoprostol for abortion. The misoprostol doses used in
       these studies are higher than those described in the Mifeprex labeling . . . .“); id. at Question 10 (“Are there risks
       with vaginal use of misoprostol?“).



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 approved regimen for Mifeprex use in the United States. FDA should have first assessed.

 essential aspectsof this regimen.

          It is clear, for example, that absentultrasonographic screening for ectopic pregnancy,

 there is increasedrisk that an intact or rupturing ectopic pregnancy will be misdiagnosed as a

 normally progressing Mifeprex abortion. Additionally, Mifeprex abortions may be performed by

 practitioners who are not physicians, who cannot perform surgical abortions, or who are unable

 to diagnose ectopic pregnancies and their complications.

          Nor is there reasonto believe that systemic bacterial infection is more likely to occur

  following vaginal, rather than oral, administration of misoprostol. Misoprostol is commonly

  administered vaginally for the induction of labor without higher reported rates of either

  intrauterine or systemic infection when compared to orally administered misoprostol or other

  methods of labor!induction. Rather, the occurrenceof life-threatening infection in women

  undergoing a Mifeprex abortion should raise questions about whether prolonged genital tract

  bleeding in the artificial hormonal milieu createdby the Mifeprex Regimen might foster or

  promote infectious complications. In addition, infection might occur in women who, believing

  that their abortion is complete and unaware that their uterus a@ually contains dead tissue, fail to

  return for follow-up visits.300This may be a particular problem when the Mifeprex Regimen is

  prescribed to adolescents.

           The occurrence of a heart attack in a 21 year old woman is always causefor significant

  concern. A French woman undergoing a mifepristone. abortion suffered a fatal heart attack in


  3oo A. Karen Kreutner, M.D., “Postabortion Infections,” Contemporary Ob/Gyn 1 (2001): at 37-42 (,‘. . . because
  medical termination may be incomplete in between 3% and 23% of patients, retained tissue and subsequent infection
  may go unrecognized in those lost to follow up. . . . Some experts fear there will be compliance problems with the
  third visit, especially when the patient terminates early. In these cases, retained tissue, thought by the patient to be
  normal bleeding, could lead to endometritis.“).



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           1991. A different prostaglandin (Sulprostone) administered by injection was used in that case.3o*
                                                                          I
           This new casehighlights the need for further investigation into a possible causal link between

           mifepristone-prostaglandin abortions and myocardial infarction.302

                    The ratio of serious adverseeventsto total usesof the Mifeprex Regimen cannot be

     5      ascertainedbecauseserious adverseevent reporting is likely incomplete and becauseit is not

           ‘publicly known how many times the Mifeprex Regimen has been used. Regardlessof the

           relative number of serious adverseevents,the nature of these eventsdemandsimmediate FDA

            action to prevent future patient injuries and deaths.303The Joint Commission on the

           Accreditation of Healthcare Organizations304
                                                      (“JCAHO” or “Joint Commission”) has developed

     10     an approach for investigating adverseevents similar in gravity to those that prompted the

           issuanceof the Dear Doctor Letter. The JCAHO looks for “sentinel events” which are

           “unexpected occurt-ence[s]involving death or serious physical or psychological injury, or the

           risk thereof.“3o5“,Sentinel events” signal the need for the commencementof a “root cause




           301 See ‘Noticeboard: A Death Associated with MifepristoneKulprostone,” Lancet 337 (April 20, 1991): at 969-70
           (“A spokeswoman for Roussel-Uclaf SA, the company that manufactures mifepristone, ‘said ‘the death was clearly
           from cardiovascular shock following ‘Nalador’ (Schering) injection.“‘).
           302 The Mifeprex Regimen should be contraindicated for women with cardiovascular risk factors until further
           clinical experience indicates that such contraindication is unnecessary.
           303 Even FDA acknowledged the rarity of the events referenced in the Dear Doctor Letter. With respect to bacterial
           infection, for example, FDA observed that ‘the rate of serious infection as a complication of pregnancy is 3.5 per
            1000 pregnancies. Uterine infection occurs in O.l-4.7% of first trimester surgical abortions and in O.O-6.1% of
           medical abortions. In the past, it was most often associated with illegal abortions. It rarely occurs with pelvic
           surgery or even with otherwise normal childbirth.” FDA Q & A’S, infra Appendix A, at Question 3. FDA similarly
           noted the unusual nature of a heart attack in a young woman: ‘The single heart attack occurred in a 21 year old. A
           heart attack in very young women is extremely rare. . . . In 1997, the rate among US women aged 20-24 years was
           0.19 per 100,000 women.” See id. at Question 4.
           304 The Joint Commission “evaluates and accredits nearly 18,000 health care organizations and programs in the
           United States. An independent, not-for-profit organization, JCAHO is the nation’s predominant standards-setting
           and accrediting body in health care. Since 195 1, JCAHO has developed state-of-the-art, professionally based
           standards and evaluated the compliance of health care organizations against these benchmarks.” Joint Commission
           webpage at: <http://www.jcaho.orglwhatwedo-frm.html>.
           305 Joint Commission webpage at: <http://www.jcaho.org/sentinellseqp.html#I.    Sentinel Events>.
.,                       ,,   ./(,    ,,            .) I ,.     _. ‘. _.      .

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                                                                                                          App. 000381
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                                     with the goal of developing an appropriate administrative response
         analysis” of the event(s),3o6

         from the health care organization that will prevent the occurrenceof future serious adverse

         events. A root causeanalysis of sentinel eventsis performed before a statistically significant

        number of injuries or deathsoccurs. It seeksto discern the facts surrounding each occurrence,

  5      distinguish factors peculiar to individuals from those pointing to procedural or administrative

         deficiencies, and recommend corrective measuresto such systemic failures in the delivery of a

        particular therapy.

                  It is particularly important that FDA react to these sentinel eventsbecausethe clinical

         trials underlying the approval of the Mifeprex Regimen did not adhereto FDA’s endorsed

 10      scientific methodology for such trials. The substandardtrial design of the U.S. and French

         Clinical Trials precluded an accurateestimation of the safety of the Mifeprex Regimen compared

         to the existing available alternatives. Moreover, FDA did not require the sponsor to conduct

         rigorous PhaseIV studies, which could have compensatedfor some of these deficiencies by

         generating additional safety data. The agency has not performed a root causeanalysis, but has

.‘I5     instead hastily postulated that the vaginal administration of misoprostol is the underlying cause

         of the adverseevents.3o7The Petitioners beli,evethat thereare probably more scientifically sound

         explanations for these adverseeventsand that the supposedsafety of the Mifeprex Regimen has

         been called into question. The occurrenceof the adverseeventsrelated to ectopic pregnancies

         and life-threatening systemic bacterial infections adds significant weight to the concernsof those


         306 The Joint Commission defines “root cause analysis” as “a process for identifying the basic or causal factors that
         underlie variation in performance, including the occurrence or possible occurrence of a sentinel event. A root cause
         analysis focuses primarily on systems and processes, not individual performance. It progresses from special causes
         in clinical processes to common causes in organizational processes and identifies potential improvements in
         processes or systems that would tend to decrease the .likelihood of such events in the future, or determines, after
         analysis, that no such improvement opportunities exist.” Joint Commission webpage at:
         4ntp://www.jcaho.org/sentinel/seqp.html#Root      cause analysis>.




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      who have long warned that mifepristone-misoprostol abortions are dangerous. FDA has

      previously dismissed such concernsbut now must respond to the accumulating evidence and act

      accordingly. Withdrawal of the approval is warranted.30X


5              H.        FDA’S APPRQVAL $BYYW!$P.WX.~.e
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                         R&STRICTIONe~.ON THE USI$ OF7MIFEPREX
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                                                            j*s_j/“. _, *                     ,. .?

               Mifeprex abortion providers openly flout the restrictions included in the approved

10    regimen without any reaction from FDA, Dance, or the Population Council.3o9Shortly after

      approval, FDA asserted that “[i]f restrictions are not adheredto, FDA may withdraw

      approval.“31oSubpart H authorizes FDA to withdraw approval of a drug approved under Section

       314.520 if “[tlhe applicant fails to adhereto the postmarketing restrictions agreedupon.“3”

      When it adopted Subpart H, FDA explained that “[t]he burden is on the applicant to ensurethat



       307See FDA Q & As, infra Appendix A, at Nos. 1,4,9, 10, and 11.
      308 The Secretary of HHS is authorized by 21 C.F.R. 0 3 14530(a) to withdraw approval of a Subpart H drug,
      subject to the applicant’s right to a hearing, if, among other things, “(3) [n]se after marketing demonstrates that
      postmarketing restrictions are inadequate to assure safe use of the drug; (4) [tjhe applicant fails to adhere to the
      postmarketing restrictions agreed upon; (5) [t]he promotional materials are false or misleading; or (6) [olther
      evidence demonstrates that the drug product is not shown to be safe‘br.effective under its conditions of use.”
       309 The absence of a reaction from Danco.may not be surprising in light of the cavalier attitude towards the FDA
       approval process exhibited by Dr. Richard Hausknecht, who is Dance’s medical director. As early as July 1994, Dr.
       Hausknecht, had used methotrexate and misoprostol in clinical tests in the. U.S. that Dr Mitchell Creinin, a
       prominent abortion researcher, described as “downright unethical” and which Sandra Waldman of the Population
       Council described as being “very risky.” Dr. Hausknecht stopped these experiments in September 1994 when the
       FDA told him to “stop performing the abortions unless he gets the backing of a medical institution and submits his
       data and procedures to the FDA for review.” Carol Jouzaitis, “Doctor’s Abortion-Drug” Technique Draws Fire,”
       Chicago Tribune (Sept. 12,1994): at 1 & 14. Dr. Hausknecht admitted, “ ‘This is a little bit uncharted.’ . . . . But
       he declared: ‘Damn it. I’m not going to wait. This is a step forward. This is important. I want to see this available
       to women where it’s not available now.’ ” Id. In ad&ion, Dr. Hausknecht’s website explains step two of the
       Mifeprex procedure that he employs: “At the conclusion of the [first] visit, the patient receives a packet containing
       tablets of misoprostol which’are to be taken orally or placed in the vagina depending on the regimen you and Dr.
       Hausknecht choose.” Available at: <http://www.safeabortion.com/procedure.htm>         (visited July 7, 2002). Both the
       home use and the vaginal administration of misoprostol contravene FDA’s approved regimen.
       310 See Letter, Melinda K. Plaisier, Associate Commissioner for Legislation (FDA) to Senator Tim Hutchinson (Oct.
       20,200O): at 2 [FDA FOIA Release: MIF 002648-521.
       311 21 C.F.R. 5 314.530(a)(4).



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                                                                                                           App. 000383
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      the conditions offuse under which the applicant’s product was approved are being followed.“3’2

      FDA should exercise its~,authorjtyto withdraw its approval for Mifeprex.

                Among the common departuresfrom the approvedregimen is the practice of offering the

      Regimen to women with pregnanciesbeyond sevenweeks313The “Mifepristone Medication

5      Guide” directs women not to take Mifeprex if “[i]t has been more than 49 days (7 weeks) since

      your last menstrual period began.” Moreover, women who use the Mifeprex Regimen sign a

      Patient Agreement, which includes a representationby the patient that “I believe I am no more

       than 49 days (7 weeks) pregnant.“).3*4Thus, the practice of offering Mifeprex to women beyond

       sevenweeks not only contravenesthe approvedregimen, but it also effectively requires patients

10     to make an untruthful representationin the Patient Agreement. The Los Angeles Times explained

       that, “[B]y offering mifepristone up to the ninth week of pregnancy,” Pamily Planning

       Associates, “the nation’s largest for-profit abortion chain,” “obtains a competitive edge over

       Planned Parenthood, which stays within the seven-weekguideline.“315

                In another comrnon deviation from the approved regimen, some abortion providers have

15     eliminated the secondof the three prescribed visits. During the initial visit, theseproviders give




       312Subpart H Final Rule, 57 Fed. Reg. at 58952.
       313 Liberty Women’s Health Care of Queens, NY, openly acknowledges its use of Mifeprex beyond seven weeks:
       “While the FDA has approved mifepristone for non-surgical abortions only up to 7 weeks, we use a modified
       method to extend this period of eligibility in selected patients an additional 14 days up to 9 weeks.” Available at:
       <http://www.abortbypill.com/2.html>       (visited Dec. 31,200l). Likewise, Preterm, an abortion clinic in Cleveland,
       Ohio, states that abortion using Mifeprex “is effective in terminating pregnancies up to 63 days (9 weeks) from the
       last normal menstrual period.” Available at: <http://www.preterm.org/nonsurg.htm>        (visited July 7,2002).
       314See Item 4 of the Patient Agreement for Mifeprex (mifepristone) Tablets (“Patient Agreement”).
       315 Denise Gellene, “RU-486 Abortion Pill Hasn’t Caught on in U.S.,” Los Angeles Times(May 3 1,200O): at Al
       (quoting Family Planning Associates’ official as saying, “You can’catch a lot of women in those two [extra] weeks”).
       Family Planning Associates’ website confirmed that the abortion provider offers Mifeprex to women with pregnancies
       up to nine weeks’ gestational age. Available at: <http://www.webworldinc.com/fpamg/abortionqill.htm>         (visited
       July 7,2002) (“Medical abortion is limited to patients less than nine weeks pregnant as verified by ultrasound.“).
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     the patient misoprostol, typically with instructions to administer it to herself vaginally316at home

     two days later.317Yet home administration of misoprostol runs counter to what patients agreeto

      in the Patient Agreement, which statesthat “I will . . . return to my provider’s office in 2 days

      (Day 3) to check,if my pregnancy has ended. My provider will give me misoprostol if I am still

5    pregnant.“318The Population Council argued in favor of and FDA consideredthe benefits of

      self-administration at home, chief among which is the reducedburden on abortion providers and

      their facilities, but the agency concluded that thesebenefits are outweighed by the significant

      risks to women.319The secondvisit affords the physician the opportunity to monitor the status of


      316 The likely reason that FDA’s approved regimen calls for oral administration is that it is the only mode of
      administering misoprostol that is currently approved by the FDA. As discussed above, however, the use of
      misoprostol in conjunction with mifepiistone’to effect aboitions’is itself an unapproved indication.
      317 Presidential Women’s Center in West Palm Beach, Florida, for example, gives women “four Misoprostol200
      mcg tablets to take home. Forty eight hours after the Mifepristone tablets have been administered the woman
      moistens four Misoprostol tablets with tap water and inserts them high into her vagina with her fingers.” Available
      at: <http://www.presidentialcenter.com/medical.html~       (visited July 7,ioOi). See also:
      <http://www.heritageclinic.com/abortibn/                                    (visited July 4,‘2002) (Two days after the
      patient takes mifepristone, she “inserts Cytotec vaginally, which causes the uterus to contract and expel^the embryo.
      This is very similar to the procedure that was FDA approved in 2000 and is approximately 98% effective. Note:
      The FDA approved protocol calls for 3 Mifeprex pills taken orally the first day and 2 Cytotec pills taken orally two
      days later. However, subsequent studies have show[n] 1 oral Mifeprex and 4 vaginal Cytotec to be as effective with
      less gastro-intestinal upset.“); see also: <http://www.fwhc.org/concord/pages/mifepristone.html>         (visited July 7,
      2002) (Concord Feminist Health Center’s web site describes the second phase of the procedure: “In a few days she
      inserts misoprostol tablets into her vagina. The pregnancy usually ends at home within four hours.“); see also:
      <http://www.gynemed.org/ru.html>        (visited July 7,2002) (Gynemed Surgi-Center’s web site states: “You will be
      given two doses of Misoprostol tablets and instructions on how to insert them into your vagina, which you wil[l] do
      48 hours after taking RU486.“); see also: <http://www.hopeclinic.com/medab.htm>            (visited July 7,2002) (Hope
      Clinic for Women, Ltd. Explains: “You will receive pills, misoprostol (“miss o pross tul”) to take home’with you.
      You will be instructed when to use them; they are placed vaginally.“):“~~,veii’~the‘~at~onal Abortion Federation,
      which initiated a nationwide advertising campaign for Mifeprex, sanctions home administration of misoprostol in its
      “Medical Abortion Start-Up Packet.” See National Abortion Federation, “Protocol Recommendations for Use of
      Mifepristone and Misoprostol in Early Abortion,” Early Medical Abortion with Mifpristone or Methotrexate:
      Overview and Protocol Recommemfations(Washington, D.C.: National Abortion Federation, 2001) at 36 (“Home
      administration of vaginal misoprostol has been found to be safe and effective up to 63 days’ gestation and is highly
      acceptable to patients.“).
      318See Patient Agreement, Item 14. See also Mifeprex Medication Guide, which explains that on “Day 3 at your
      provider’s office, ” “your provider will check to see if you are still pregnant,” and “[i]f you are still pregnant, take 2
      misoprostol tablets.”
      319 FDA, which in its 2000 Mifepristone Approvable Letter, agreed to the Population Council’s proposal to allow
      home administration of misoprostol, rejected that option after reconsideration of the issue. See Mifeprex Approval
      Memo, infia Appendix A, at 2-3 (“The approvable letter issued by FDA on 2/l 8/2000 agreed to the Population
      Council’s statement, that women could have the option of taking misoprostol on Day 3 either at home or at the



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     the termination320and assessthe need for misoprostol - tasks which cannot be delegated to the

     patient.321In addition, the secondvisit enablespatients whose abortions are complete to avoid

     having to take misoprosto1.322

              Dance and the Population Council have not effectively constrainedproviders of Mifeprex

5    to adhereto the approved regimen. It appearsinstead that Dance and the Population Council

     have ignored well-publicized departuresfrom that regimen. Deviations from the approved

     regimen are particularly troubling becausethe patient is told to disregard the regimen that she

     reads about in the Medication Guide,and pledges to follow in the Patient Agreement. When a

     drug is approved under Subpart H, the drug’s sponsoris responsible for ensuring compliance



     prescriber’s office. However, data provided by the Population Council supporting home use was re-reviewed and
     found not to provide substantial evidence for safety and efficacy. . . . Returning to the health care provider on Day 3
     for misoprostol, as in the U.S. clinical trial, assures that the misoprostol is correctly administered. This requirement
     has the additional advantage of contact between the patient and health care provider to provide ongoing care and to
     reinforce the need to return on Day 14 to confirm that expulsion has occurred.“).
     320 Because of the complications that can arise, periodic monitoring during the termination process is important.
     For the significant percentage of patients that fail to return for the third visit, the second visit may be the last
     opportunity for a health care provider to monitor the termination. In the U.S. Clinical Trial, five percent of patients
     failed to return for the third visit. See Medical Gffcer’s Review, infia Appendix A, at 10. In other studies, the
     “loss to follow-up has ranged from three to eleven percent.” See Spitz Article, irzfra Appendix A, at 1246 (citations
     omitted). The rate of patients who do not complete the entire regimen in routine clinical practice is likely to be even
     higher as they will not necessarily be subject to the U.S. Clinical Trial’s exclusion criteria, which, among other
     things, excluded women who were “unlikely to understand and comply with the requirements of the study.”
     Medical Officer’s Review, inJia Appendix A, at 9.
     321 See ACOG Practice Bulletin, infra Appendix A, at 6 (citing Mitchell Creinin, et al., “Methotrexate and
     Misoprostol for Early Abortion: A Multicenter Trial,” Contrtice$zkr 53 (1996): at 321-27) (“Women as well as
     their practitioners are often unable to judge correctly if the women have aborted by evaluating symptomatology. In
     clinical trials with methotrexate and misoprostol, only about half of women who thought they had aborted actually
     had done so.“); Beth Kruse et al., “Management of Side Effects and Complications in Medical Abortion,” American
     Journal of Obstetrics and Gynecology 183 (2000): S6.5-375, S73 (“Studies demonstrate that women may be unable
     to judge correctly on the basis of symptoms whether abortion has occurred.“).
      322 For those patients whose abortions are not complete, the benefits of in-clinic misoprostol use would be enhanced
      if patients were required to spend several hours afterward in the abortion facility, where they would have ready
      access to pain medication and other medical help even if the abortion does-not occur during the observation period.
      The Population Council persuaded FDA not to include this requirement, which was included in the protocol for the
      U.S. Clinical Trial. Forty-nine percent of the participants expelled their pregnancies during the four-hour
      observation period after the administration of misoprostol. See Spitz Article, inj?a Appendix A, at 1243.
      Nevertheless, a post-misoprostol waiting period was likely disfavored because the protracted presence of large
      numbers of bleeding and cramping women’could place a strain on abortion facilities.

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 with the restrictions included in the approved regimen for use of the drug.323The Population

 Council and Dance have shirked this responsibility. FDA, therefore, should withdraw its

 approval of Mifeprex.


          I.        Ti3E U.S. CLINICAL            TRIAL FOR MIFJ3PRISTONE DID NOT MIRROR
                    THE ANTICIPATED               CONDITION!3 FOR THE ULTIMATE USE OF THE
                    DRUG

          As a general rule, “Phase 3 trials are usually [conducted] in settings similar to those

 anticipated for the ultimate use of the drug.“324FDA, however, approved a regimen that does not

 contain important safeguardsthat were employed in the U.S. Clinical Tria1.325In the U.S.

 Clinical Trial, for example, the investigators relied on transvaginal ultrasonography (along with

 menstrual history and pelvic examination) to confirm the gestational age of eachpregnancy.326

 The use of ultrasonography also excluded women with ectopic pregnancies. Moreover,

 physicians participating in the U.S. Clinical Trial had experiencein performing surgical

 abortions, were trained in the administration of the mifepristone-misoprostol procedure, and had

 admitting privileges at medical facilities that could provide emergency care and

 hospitalization.327In addition, “[a]11patients were within one hour of emergency facilities or the


 323SeeSubpart H Final Rule, 57 Fed. Reg. at 58953 (“The limitations on distribution or use required under this rule
 are imposed on the applicant. Therefore, the burden is on the applicant to ensure that the conditions of use under
 which the applicant’s product was approved are being followed.“).
 324 Bertram G. Katzung, M.D., Ph.D., and Barry A. Berkowitz, Ph.D., “Basic & Clinical Evaluation of New Drugs”
 in Bertram G. Katzung, ed., Basic and Clinical Pharmacology, 4ti ed. (Norwalk: Appleton 8z Lange, 1989): at 56.
 325 The French Clinical Trials, which were not performed by the Population Council, are not discussed here because
 they were not conducted for the purpose of supporting the mifepristone NDA and, therefore, were not designed to
 reflect American conditions of use.
 32bSee Spitz Article, inj?a Appendix A, at 1242.
 327 “The types of skills physicians had ,$I the U.S. clinical trial were: 1) the ability to use ultrasound and clinical
 examination to date pregnancies and diagriose ectopic pregnancies, 2) the ability to perform surgical procedures,
 including dilation and curettage, vacuum suction, and for surgical abortions, for bleeding or incomplete abortion,
 and, 3) they had privileges at medical facilities to provide emerge&y resuscitation, transfusion, hospitalization, etc.
 Physicians were trained to use the drug per protocol. Fourteen of the seventeen physicians in the U.S. clinical trial
 were obstetricianslgjlnecologists.” Mifeprex Approval Memo, infra Appendix A, at 5. Medical Officer’s   _)       Review,



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  facilities of the principle [sic] investigator.“328In the U.S. Clinical
                                                                 .,       Trial, after taking

  misoprostol, “women were monitored for four hours for adverseevents.“32gFDA has not

  retained these requirements governing physician training, uhrasound, the post-misoprostol

  waiting period, or physician privileges at facilities that provide emergency care.33oFDA should

  not have extrapolated conclusions about the safety and efficacy of FDA’s approved regimen

  from data generatedunder trial conditions not mirroring’the approvedregimen. Effectively,

  therefore, the agency approved a drug regimen that it had not tested.


          J.        BY WAIVING THE PEDIATRIC STUDY REQUIREMENT, FDA MAY
                    HAVE ENDANGERED THE HEALTH OF ADOLESCENT GIRLS

          FDA’s approval of Mifeprex violated FDA’s regulations, effective April 1, 1999,

 requiring that new drugs be tested for safety and effectivenessin the pediatric population

  (collectively, the “Pediatric Rz.&“).~~’ Requiring data on girls age 18 and under also would have

 been consistent with the guidelines for trials in the pediatric population that FDA acceptedat the


 infra Appendix A, at 6 (The U.S. Clinical Trial was “conducted at centers that could perform abortions by either
 vacuum aspiration or dilatation and curettage and had access to facilities that provided blood transf?rsions and
 performed routine emergency resuscitation procedures.“).
 328 Mifeprex Approval Memo, inJ;a Appendix A, at 5. The “one hour travel distance restriction in the clinical trial
 was intended to ensure access by patients to emergency or health care services.” Id. FDA contends that concerns
 arising from the elimination of the geographical proximity rule have “been dealt with through labeling, which makes
 it clear that if there isn’t adequate access to emergency services, the medication is contraindicated.” Mifeprex
 Approval Memo at 5.
 32gSeeSpitz Study, inf;a Appendix A, at 1242.
 330 The Prescriber’s Agreement requires only that the supervising physician be “able to assure patient access to
 medical facilities equipped to provide blood transfusibns and resuscitation, if necessary? By dorm&t, the protocol
 for the U.S. Clinical Trial required that the physician have “privileges at medical facilities to provide emergency
 resuscitation, transfusion, hospitalization, etc.” Mifeprex Approval Memo, ‘infia Appendix ‘A, at 5. The shift in
 focus from access by the provider of the abortion to access by the woman who has the abortion, attenuated the link
 between the abortion provider and the emergency care provider, a link that is critical to ensuring thatwomen receive
 timely emergency care.
 331 See Regulations Requiring Manufacturers to Assess the Safety and Effectiveness of New Drugs and Biological
 Products in Pediatric Patients, Final Rule, 63 Fed. Reg. 66632 (Dec. 2, 1998) (Pediatric Adopting Release). The
 notice of proposed rulemaking was released as: Regulations Requiring Manufacturers to Assess  *,,.the   ISafety
                                                                                                     . “,Reg.    and
                                                                                                          _ - 4jgocib
 Effectiveness of Ne+ Drugs and Biolo~ic‘$IP~~~ucts”~~~~~~i~~i~ P~~fs;.“~~~~~~ed-~~l~~ 62.Fed.
 (Aug. 15, 1997).



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       International
            .<       Conference
                      ,;  _.... on Harmonization.332
                                    “;..   ,,.      Nevertheless,
                                                            ._.. in the Mifeprex
                                                                          ,”     Approval Letter,

       FDA stated, “We are waiving the pediatric study requirement for this action on this

       application.“333Thus, FDA approved Mifeprex for use without requiring safety and effectiveness

      testing for the pediatric population.334

5              As FDA noted when it adopted the Pediatric Rule, “many of the drugs and biological

      products that are,widely used in pediatric patients carry disclaimers stating that safety and

       effectiveness in pediatric patients have not been established.“335FDA observedthat “the absence

      of pediatric labeling information poses significant risks for children.“336The ICH has noted that

      adolescence“is a period of sexual maturation; medicinal products may interfere with the actions

10    of sex hormones ‘andimpede development.“337Such hormonal changesmay “influence the

      results of clinical studies.“33sThese concernsfor the health of infants, children, and adolescents



      332FDA Guidance: El1 Clinical Testingfor Pediatric Uses at 9 and 11 (Heading for Section 2.5.5). FDA,
      cognizant of the need for such studies, obtained a commitment from the sponsor in 1996 to conduct Phase IV studies
      to examine the safety and efficacy of the regimen in girls under 18 years of age. FDA subsequently curtailed this
      Phase IV study requirement when it approved the Mifeprex NDA.
      333 Mifeprex Approval Letter at 3.
      334 The Mifeprex Label accordingly included the standard disclaimer employed in drug labeling when the drug
      sponsor has not provided sufficient information to support a pediatric use-for ‘the drug: “Safety and effectiveness in
      pediatric patients have not been established.”
      335Pediatric Adopting Release,63 Fed. Reg. at 66632.
      336Pediatric Adopting Release,63 Fed. Reg. at 66632.
      337 FDA, “Guidance for Industry: El 1 Clinical Investigation of Medicinal Products in the Pediatric Population”
      (Rockville, Md.: Dec. 2000): at 11 (5 2.5.5) (“FDA Guidance: El1 Clinical Testingfor Pediatric Uses”). Section
      2.5.5 states that the adolescent subgroup should extend from “12 to 16-18 years (dependent on region).” Id. at 11-12
      (6 2.5.5).
      33aSeeFDA Guidance (ICH: El I): Clinical Testingfor Pediatric Usesat 12 (8 2.5.5). These ICH concerns, quoted
      below, pertaining to the difficulty of testing drugs in the adolescent population amplify the need for FDA to have
      required clinical study of the difficulties that might arise when teenage girls undergo the Mifeprex Regimen:
                   Many diseases are also influenced by the hormonal changes around puberty (e.g., increases in insulin
               resistance in diabetes mellitus, recurrence of seizures around menarche, changes in the frequency and
               severity of migraine attacks and asthma exacerbations). Hormonal changes may thus influence the results
               of clinical studies.
                 Within this age group, adolescents are assuming responsibility for their own health and medication.
               Noncompliance is a special problem, particularly when medicinal products (for example, steroids) affect



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          prompted FDA to begin the rulemaking that culminated with the issuanceof the Pediatric Rule,

          establishing “a pres?ption that all new drugs and biologics will be studied in pediatric patients”

          unless the requirement is waived.339More specifically, the Pediatric Rule requires that applicants

          seeking approval for new chemical entities, new biological products, new active ingredients, new

    5     indications, new dosageforms, new dosing regimens, and new routes of administration contain

          safety and effectivenessinformation on relevant pediatric age group~.~~O

                   FDA made clear that the Mifeprex NDA was coveredby the Pediatric RuZe.34’

          Nevertheless,FDA fully waived the rule for Mifeprex without explanation. Full or partial



                   appearance. In clinical studies compliance checks are important. Recreational use of unprescribed drugs,
                   alcohol, and tobacco should be specifically considered.
                       The upper age limit varies among regions. It may be possible to include older adolescents in adult
                   studies, although issues of compliance may present problems. Given some’of the unique challenges of
                   adolescence, it may be appropriate to consider studying adolescent patients (whether they are to be
                   included in adult or separate protocols) in centers knowledgeable and skilled in the care of this special
                   population.“).
          Id. at 12 ($ 2.5.5).
          33gPediatric Adopting Release,63 Fed. Reg. at 66634 (introduction to “II. Highlights of the Final Rule”). The
          importance of testing drugs in children was highlighted during the recent controversy surrounding FDA’s attempt to
          suspend the Pediatric Rule. FDA’s planned two-year suspension came in response to the passage of the Best
          Pharmaceuticals for Children Act, which offers incentives for manufacturers to test drugs in children. Public Law
          No. 107-109, 115 Stat. 1408 (“BPCA”). See also Association of American Physicians and Surgeons, Inc. v. FDA,
          Defendants’ Motion for Stay of Proceedings, CiGil Actiori No. OO-2898’@HK) (Mar: l&2002). FDA later reversed
          its position in response to criticism from physicians and members of Congress. FDA’s attempt to suspend the
          Pediatric Rule prompted the introduction of identical legislation in the House of Repr&kht&i~es and the Senate to
          codify the Pediatric Rule. See S. 2394, 107* Congress, 2”d Session (2002) (co-sponsors: Senators Hillary Rodham
          Clinton (D-NY), Mike DeWine (R-OH), and Chris Dodd (D-CT)j; and H.R. 4730,107* Congress, 2”d Session
          (2002) (co-sponsors: Representatives John D. Dingell (D-MI), Henry A. Waxman (D-CA), Rosa DeLauro (D-CT),
          Anna Eshoo (D-CA) and Sherrod Brown (D-OH)). As Senator Hillary Rodham Clinton, a co-sponsor of the Senate
          bill explained, “if we want to protect our children over the long term, then we in Congress need to step in and make
          the Pediatric Rule the law of the land. Short of taking that action, we iisk denying children the protection that we
          require for adults.” Press Release, “Senators Will Introduce Legisl&on ‘to Codify Pediatric Rule” (Apr. 17,2002)
          (available at: ~h~://c1inton.senate.gov/-c1inton/news/2002/04/20~24’17~1      l.html>). See also Marc Kaufman and
          Ceci Connolly, “U.S. Backs Pediatric Tests In Reversal on Drug Safety,” WashingtonPost (April 20,2002): at A3.
          340Pediatric Adopting Release,63 Fed. Reg. at 66634 (“A. Scope of the Rule”), and as required pursuant to 21
          C.F.R. 0 314.55(a).
          341 The Mifeprex Approval Letter stated: “Be advised that, as of April 1, 1999, all applications for new active
          ingredients, new dosage forms, new indications, new routes of administration, and new dosing regimens are required
          to contain an assessment of the safety and eff&tiveli&s of the piodtict in pediatric patients unless this requirement is
          waived or deferred (63 FR 66632). We are waiving the pediatric study requirement for this action on this
          application.” Mifeprex Approval Letter at 3. Because the Mifeprex NDA was filed before the Pediatric Rule went


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      waivers of the pediatric study requirement may be granted either upon request of the applicant or
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      by FDA on its own motron.342Both PDA-initiated andsponsor-requestedwaivers must satisfy

      certain criteria. FDA is required to grant a full or partial waiver “if the agency finds that there is

      a reasonablebasis on which to conclude that one or more of the grounds for waiver . . . have been

5     met .“343

                Section 3 14.55 provides three procedural tracks by which an applicant may obtain a

      waiver of the study requirement. The first requires that two conditions being met: 344(l)“[t]he

      drug product does not representa meaningful therapeutic benefit over existing treatments for

      pediatric patients,” and (2) the drug product “is not likely to be used in a substantial number of

10    pediatric patients.” With respect to this basis for waiver, FDA has “emphasize[d] that the study

      requirement applies to a product that offers a meaningful therapeutic benefit even if it is not used

      in a substantial number of pediatric patients, and vice versa.“345As noted above, FDA, in

      connection with its determination to approve Mifeprex under Subpart H, concluded that the

      Mifeprex Regimen provides a therapeutic benefit over the existing treatment - surgical




      into effect, if a waiver had not been granted, the Population Council would have had until December 2,200O to
      submit “an assessment of pediatric safety and effectiveness.” SeePediatric Adopting Release, 63 Fed. Reg. at
      66658-59 (“V. Implementation Plan”).
      342 Although it appears that FDA waived the rule ma sponte, FDA should have required the manufacturer to provide
      certain information to support the waiver. The agency has not released such documents to the public in response to
      FOIA requests. When it adopted the Pediatric Rule, the agency noted: “FDA agrees that the burden is on the
      manufacturer to justify waivers, but believes that the rule already adequately imposes that burden. The rule requires
      both a certification from the manufacturer that the grounds for waiver have been met and an adequate justification
      for the waiver request.” Pediatric Adopting Release,63 Fed. Reg. at 66648 (9 29).
      343 21 C.F.R. 9 3 14.55(c)(4)(“FDA   action on waiver.“).
      344 21 C.F.R. 0 314.55(c)(2)(i).
      345Pediatric Adopting Release,63 Fed. Reg at 66635 (“II.D.2. Waiver of the Study Requirement,” see first
      paragraph).




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      abortion.346This ,conclusionby itself precludes FDA from using the first method’ for granting

      waiver of the Pediatric Rule.347

               Even if FDA had not judged the Mifeprex Regimen to offer a “meaningful therapeutic

      benefit,” the secondrequirement for waiver in this first track is not met becauseMifeprex can be

 5    expectedto be used in a “substantial number of pediatric patients,” which FDA defines as

      “50,000 pediatric patients with the diseasefor which the drug or biological product is

      indicated.“348In the Pediatric Adopting Release,FDA statedthat the ‘“relevant age groups

      will . . . be defined flexibly.“34g With respectto Mifeprex, it would have been appropriate to

      classify girls under the age of 18 as pediatric patients becausesafety and effectivenessin this

10    population had not been studied.350If the pediatric population comprises all girls age 17 and

      under, then we estimate that there were 357,200 pediatric pregnanciesper year from 1995 to

      1997 in the United States.351If the pediatric population comprises all girls age 16 and under, then

      we estimate that there were a total of 196,520 pregnanciesper year from 1995 to 1997.352Even if

      the pediatric population encompassesonly girls age 15 and under, we estimate that there were


      34GSee Mifeprex Approval Memo at 6.
      347FDA noted that, for purposes of the Pediatric Rule, it would rely “in part, on CDER’s current administrative
      definition of a ‘Priority’ drug, applied to pediatric populations” to define “meaningful therapeutic benefit.” The
      phrase, “meaningful therapeutic benefit,” appears identical in the Subpart H and Priority review contexts. As noted
      above, Mifeprex was accorded priority review. The modifications to “meaningful therapeutic benefit” for purposes
      of the Pediatiic Rule appear to have broadened the scope of the phrase. See Pediatric Rule, 63 Fed. Reg. at 66646.
      348Pediatric Adopting Release,63 Fed. Reg. at 66647.
      34gPediatric Rule, 63 Fed. Reg. at 66634 (“C. Age Groups”). After noting comments to the proposed rule that
      argued for flexibility in setting age definitions (including a comment arguing for “pediatric patient” to include those
      “from 0 to 2 1 years”), FDA stated that “the age ranges identified in the proposal may be inappropriate in some
      instances” and that it had “deleted the references in the rule to specific age ranges.” Id. at 6665 1.
      350Although FDA acknowledged that the safety and effectiveness of Mifeprex were not studied in girls under age
      18 and required a statement to that effect in the labeling, the agency anticipated and even encouraged use in this
      population when it stated that: “there is no biological reason to expect menstruating females under age 18 to have a
      different physiological outcome with the regimen. The Spitz data actually suggests a trend towards increased
      success of medical abortion with younger patients.” Mifeprex Approval Memo at 7.
      351See infra Appendix B at B-3.
      352See infra Appendix B at B-4.


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      85,960/. pregnanciesper year from 1995 to 1997 in this age range.353
                                                                  ,.     Thus, under any definition

      of the pediatric population, the 50,000 patient cut-off set forth in the Pediatric Adopting Release

      is exceeded. In sum, neither of the requisite conditions for a waiver of the Pedi&c       RuZeunder

      the first waiver track provided in Section 3 14.55 is satisfied.354

 5              Second, FDA may also waive the pediatric study requirements if the “necessary studies

      are impossible or highly impractical because,e.g., the number of such patients is so small or

      geographically dispersed.“355FDA explained that “that this ground for waiver [must] be

      interpreted narrowly”:356

               Although the number of patients necessaryto permit a study must be decided on a case-
10             by-case basis, FDA agreesthat there are methods available to conduct adequatestudies in
               very small populations. . . . Becauseof the speedand efficiency of modern
               communications tools, geographic dispersion will justify a waiver only in extraordinary
               circumstances and will generally have to be coupled with very small population size.
               FDA is not persuadedthat inability to recruit patients becauseof parental fears associated
               with adrninistration of the drug is an adequatebasis to conclude that studies are
               impractical where there is also evidencethat similar products are regularly prescribed to
               pediatric patients outside of clinical trials.357

      Pediatric Mifeprex studies would not have been either “impossible or highly impractical.” As

20    described above and in Appendix B, the population of pediatric females that becomes pregnant

      each year is large and the female population is evenly distributed throughout the United States.

      Thus, this second’waiver track available under Section 3 14.55 could,not have been satisfied (and

      FDA apparently has not taken a position to the contrary).

               FDA may’ waive the pediatric study requirement under Section 3 14.55’s third waiver

25    track when “[tlhere is evidence strongly suggestingthat the drug product would be ineffective or


      353SeeinjPa Appendix B at B-4.
      354See 21 C.F.R. Q 3 14.55(c)(2)(i).
      355See 21 C.F.R. 0 3 14.55(c)(2)(ii).
      356f’ediqtric Adopting
                           : Release,63 Fe$ Reg. at 66647 (§ 26, final paragraph).



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                                                                                             App. 000393
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           unsafe in all pediatric age grou~s.“~~*As noted above,FDA endorsedthe proposition that “there
.                                                                   ,-
           is no biological reason to expect menstruating females under age 18 to have a different

           physiological outcome with the regimen.“359Thus, by suggestingthat Mifeprex could be used

           appropriately in the pediatric population, FDA eliminated this third track as a possible basis for

     5     waiver.

                     Absent a waiver or deferral, the Pediatric Rule requires any drug application to “contain

           data that are adequateto assessthe safety and effectivenessof the drug product for the claimed

           indication in all relevant pediatric subpopulations . . . .“360FDA is authorized instead to

           extrapolate such data from adult studies “[wlhere the course of the diseaseand the effects of the

    10     drug are sufficiently similar in adults and pediatric patients.“361The underlying adult studies,

          however, must be “adequate and well-controlled.“362 As noted above, the Population Council did

          not provide evidence
                           ! from adequateand well-controlled studies as to the safety and effectiveness
          of Mifeprex in the aduEtpopulation. Reliance on these flawed adult studies for a determination

          of the safety and effectivenessof Mifeprex in the pediatric population was inappropriate.

    15    Furthermore, to assumethat the effects of a potent antiprogesterone,mifepristone, and a




          357Pediatric Adopting Release,63 Fed. Reg. at 66647 (§ 26, final paragraph).
          35* 21 C.F.R. 0 314.55(c)(2)(iii).
          35g Mifeprex Approval Memo at 7.
          360 21 C.F.R. 5 3 14.55(a). FDA stated that it was waiving the Pediatric Rule. Mifeprex Approval Letter at 3. The
          agency did not assert that it had made a determination that pediatric studies were not required because the adult trials
          were sufficient to support extrapolation of conclusions as to safety and effectiveness in the pediatric population.
          However, because FDA failed to provide any justification for its waiver,, it is difficult to determine whether the
          agency was, in fact, relying on this provision to eliminate the pediatric study requirement for Mifeprex.
          361See 21 C.F.R. 5 314.55(a).
         ,, 362,.Sqq21 C.F.R. 0 314.55(a).




                                                                                                              App. 000394
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      powerful prostaglandin analogue, misoprostol, in pregnant adults can be extrapolated to pregnant
                                    .I._ “,
      adolescents,who are still developing physiologically and anatomically, is medically unsound.363

               FDA violated its own rules when it waived the Pediatric Rule in the face of explicit

      criteria that necessitatedcompliance with the rule.364Furthermore, FDA offered no explanation

 5    for its determination to waive the rule. As FDA’s treatment of other drugs illustrates, a waiver

      would have been appropriate only if Mifeprex had already been tested in children and labeled

      accordingly, or if the Pediatric Rule ‘s criteria for waiver were satisfied.365BecauseFDA waived

      the study requirement in the face of explicit criteria that appearto prohibit such action in this

      instance, the agency violated its rule. In addition to violating Section 3 14.55, FDA’s

10    unexplained waiver of the Pediatric Rule for the Mifeprex NDA constitutes agency action that is

      arbitrary, capricious, an abuseof discretion, or othewse not in accordancewith 1aw.366

                           :”
      363 The Mifeprex Regimen acts upon the reproductive system, which changes dramatically during adolescence.
      Adolescents, for exainple, could face disruptions in ovulaiory fuhction’as a resu’llof ;d’bn’&iitia&%of mifepristone
      in developing ovarian follicles, or other health problems. Moreover, teenagers may face heightened risks arising
      from decreased compliance with the full regimen, poor recall of their last men&n& period, and their reluctance to
      tell others about their pregnancies.
      364 Of course, a partial waiver of the study requirement is appropriate for the non-adolescent pediatric sub-groups.
      See 21 C.F.R. $ 314.55(c)(3). According to FDA Guidance (XH: Eli): Clinical Testingfor Pediatric Uses,the
      pediatric sub-populations other than “adolescents” are: 1) preterm newborn infants; 2) term newborn infants (0 to 27
      days); 3) infants andtdddlers (28 days to 23 months); 4) children (2 to 11 years). FDA Guidance (ICH: Ell):
      Clinical Testingfor Pediatric Usesat 9 (3 2.5).
      365 In April 2000, FDA approved a suitability petition for Pamidronate Disodium Injection, 3 mg/mL, 10 mL vials,
      and 9 mg/mL, 10 mL vials, the listed drug products for which are Aredia (Pamidronate Disodium for Injection), 30
      mg/vial and 90 mg/vial, and determined that the “pio$o&d change hi dosage foi!m is subject to tlik Pediatric Rule
      but that a full waiver of the pediatric study requirement . . . is appropritite.” See L&t&, FDA fd’ Mitchall G. Clark
      (April l&2000): at 1 (Docket No. OOP-0091/CPI) ( concluding “that +yestigations are not necessary to demonstrate
      the safety and effectiveness of your proposed product in the pediatic population sirice the necessary studies are
      impossible or highly ‘impractical because the number of patients is small and geographically dispersed”). See also
      Letter, FDA to The Weinberg Group, Inc. (June 13,200O): at l-2 (Dock& No. 99P-5447KPI) (approving a generic
      manufacturer’s petition to file an Abbreviated New Drug Application for Cefaclor Chewable Tablets, 125 mg, 187
      mg, 250 mg, and 375 mg, the listed drug products for which are Ceclor (Cefaclor) for Oral Suspension, 125
      mg/SmL, 187 mg/SmL, 250 mg/SmL, and 375 mg/SmL because FDA determined that the “proposed change in
      dosage form is subject to the Pediatric Rule” but “that investigations tie not necessary to demonstrate the safety and
      effectiveness of your proposed products iri the pediatric population, because the specific drug products tliat you
      reference are adequaiely labeled for pediatric use”). ^
      366 FDA has required numerous drug sponsors to comply with the Pediatric RUE!,,         but it approved Mifeprex without
      stating its basis for tiaivtig the requirekent; Se& e.g., Letiei, FDA tb”I(ing &‘ Spaldi&(Jmie 13,200O): at 1



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               K.
                         REQUIREMENTS WAS ARBITARY, CAPRICIOIJS, AN tiUSE OF
                         DISCRETION, OR OTHERWISE NOT IN ACCORDANCE %?I’lX LAW
5
               Not only did FDA improperly and without explanation waive its own pediatric testing

      requirements, but it also inexplicably narrowed the scopeof the Population Council’s

      commitments to conduct post-approval PhaseIV studies. As a general rule, the clinical trials

      required by FDA to support an NDA are adequateto establish short-term drug safety and

10    effectiveness. The standardpre-approval clinical trials, however, are typically incapable of

      providing either the amount or type of data necessaryto assessa drug’s long-term effects.367

      PhaseIV, which occurs after a drug is approved,provides the opportunity to “monitor[ ] the

      safety of the new drug under actual conditions of use in large numbers of patients.“368Not only


      (Docket No. 99P-2776KPI) (denying a generic manufacturer’s petition to file an Abbreviated New Drug
      Application for Oxycodone Hydrochloride and Acetaminophen Oral Solution, 7’.5 nig/50’0’;iigper 15 iiiL, the listed
      drug product for which is Oxycodone and Acetaminophen Tablets 7.5 mg/SOOmg, based on the fact that ‘FDA “has
                                                                                                           ._.”.,,
      determined that your proposed change in dosage form is’subject to the‘pediatric Rule and has concluded that
      investigations are necessary to demonstrate the safety and effectiveness in the pediatric‘population . .. . . Therefore,
      the Agency concludes that the proposed product should be evaluated for safety and efficacy in the pediatric
      population.“); Letter, FDA to Abbott Laboratories (Sept. 29, 1999): at 1-2‘(Docket No. 98P-082’l/CPI) (denying a
      generic manufacturer’s petition to file an Abbreviated New Drug Application for Hydromorphone Hydrochloride
      Injection, 0.2 mg/mL, 30 mL vials, the listed drug product ‘for which is Dilaudid-HP’Injection,     10 mglmi, 5 ri&
      ampoules and 50 mL vials, because the “proposed change in route of administration is subject to the Pediatric Rule,”
      “clinical trials are required for this specific drug product,” and “investigations are necessary to demonstrate the
      safety and effectiveness in the pediatric population”).
      367A.G. Gihnan, T.W. Rail, A.S. Nies, P. Taylor, eds., The Pharmacological Basis of Therapeutics, 8th ed. (New
      York: Pergamon Press, 1990): at 77 (“Although assessment of risk is a major objective of [clinical trials], this is far
      more difficult than is the determination of whether a drug is efficacious for a selected condition. IJsually’about 500 ’
      to 300 carefully selected patients receive a new drug during phase-3 clinical trials . . . . Thus, the most profound and
      overt risks that occur almost immediately after the drug is given can be detected in a phase-3 study, if these occur
      more often than once per 100 administrations. Risks that are medically important but delayed or less frequent than 1
      in 1000 administrations may not be revealed prior to marketing. It is ‘thus obvious that a number of unanticipated
      adverse and beneficial effects of drugs are only detectable after the drug is used broadly.“):
      368 Bertram G. Katzung, M.D., ed., Basic and Clinical Pharmacology, 4ti ed. (Norwalk, CT: Appleton & Lange,
       1989): at 56. “Final release of a drug for general prescription use should be accompanied by a vigilant
      postmarketing surveillance program. The importance of careful and complete reporting of toxicity after-marketing
      approval by the FDA can be appreciated by noting that many drug-induced effects have an incidence of 1: 10,000 or
      less. . . . Because of the small numbers of subjects in phases l-3, such low-incidence drug effects will not generally
      be detected before Phase 4, no matter how carefully the studies are executed. Phase 4 has no fixed duration.” Id. at
      56-7.                ;                                            ‘(’


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                                                                                                          App. 000396
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      did FDA approve the NDA on the basis of ciinidal trials so defective with respect to their design

       and execution as to render them insufficient to establish short-term safety and effectiveness,but

      FDA also permitted the Population Council to substantially pare down the PhaseIV trials that it

      would perform.

 5             In responseto an FDA request, on September 16, 1996, the Population Council agreedto

      conduct a set of PhaseIV studies.36gFDA “reminded” the Population Council of these

      commitments in both the 1996 and 2000 Approvable Letters.37oThe Population Council agreed

      to perform studies with the following objectives:

               1. To monitor the adequacyof the distribution and credentialing system.
10             2. To follow-up on the outcome of a representativesample of mifepristone-treated
                      women who have surgical abortion b,ecauseof method failure.
               3. To assessthe long-term effects of multiple use of the regimen.
               4. To ascertainthe frequency with which women follow the complete treatment regimen
                      and the outcome of those who do not.
15             5. To study the safety and efficacy of the regimen in women (1) under 18 years of age,
                      (2) over age 35, and (3) who smoke.
               6. To ascertainthe effect on children born after treatment failure.371

      These studies would have addressedsome of the health issuesthat were not evaluated during

      pre-approval testing.

20             The Mifeprex Approval Letter releasedon September28,2000, however, contains only

      two Phase4 study obligations, a radical curtailment of the earlier commitments.372The letter




      36g FDA made its request on August 22, 1996, after it had received Phase IV study recommendations from the FDA
      Advisory Committee. See Medical Officer’s Review, infra Appendix A, at 20-24.
      370See 1996 Mifepristone Approvable Letter, infia Appendix A, at 7-8 and 2000 Mifepristone Approvable Letter,
                                                                       ._ ._
      infra Appendix A, at 5.
      371 1996 Mifepristone Approvable Letter, infra Appendix A, at 7-8 and 2000 Mifepristone Approvable Letter, infra
      Appendix A, at 5.
      372 See Mifeprex Approval Letter, inj-a Appendix A, at 2-3.
                                             _ “.                   /_


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       stated that “the following Phase4 commitments, specified in‘[the Population Council’s]

      submission dated September l&2000 . . . replace allprevious commitments . . . .“373

                (1) “A cohort-based study of safety outcomes of patients having medical abortion under
                       the care of physicians with surgical intervention skills compared to physicians
 5                     who refer their patients for surgical intervention.“374
                (2) “A surveillance study on outcomes of ongoing pregnancies.“375

      FDA stated that “[plrevious study questions related to age, smoking, and follow-up on day 14

      (compliance with return visit) will be incorporated into this cohort study, as well as an audit of

10    signed Patient Agreement forms.“376The agency, thus, compounded its failure to require the

      Population Council and Dance to comply with the strictures of the Pediatric Rule when it

      permitted them to consider the effect of the Mifeprex Regimen on patients under 18 as part of

      another study rather than as a separatePhaseIV study.377The Approval Letter explained that


      373 Mifeprex Approval Letter, infia Appendix A, at 2.
      374Mifeprex Approval Letter, infra Appendix A, at 3. The Population Council acknowledged three weaknesses of
      this study. First, the sample size would be limited so that the sponsor “U;ill only be able% determine whether the
      combined safety rates of hospitalizations, medically necessary surgical interventions, and IV fluids in each of the
      two cohorts are within plus or minus 5 percentage points of the expected 2% rate. We will not be able to detect
      differences of individual safety outcomes such as blood transfusions and deaths.” See Amendment 062 to the NDA,
      Revised Materials (Sept. 19,200O): at 3. FDA FOIA Release: MIP 00789679031. Second, the Population Council
      predicted that it might have difficulty fmding women who were referred to another provider for care. Id. at 3-4.
      Third, it might be difficult to find women who did not return for’their follow-@visit.     Id. at 4. These three study
      weaknesses appear, at least in part, to stem from faulty selection criteria for study subjects.’ Patients should not be
      enrolled in a study unless they are willing to comply with follow-up visits and telephone inquiries. Additionally,
      informed consent forms authorize investigators to request medical records from other health care providers.
      375 Mifeprex Approval Letter, infia Appendix A, at 3.
      376 Mifeprex Approval Letter, injka Appendix A, at 3. These issues were characterized by the sponsor as
      “Secondary Study Objectives.” See Amendment 062 to the NDA (Sept.‘1 9; 2000): at 1: Th’e failure to consider
      each issue in a separate study is likely to compromise the quality of the data generated.
                                                                                        , d,.‘a*_~,.,,,Because
                                                                                                        .. . . I_~~the;.;study
                                                                                                                    I__,   ‘   is
      primarily focused on a provider-level variable (ability to provide surgical intervention), the study wrll not
      necessarily yield a meaningful sample size’for each o~~‘reI~S~~~a~~ntl~~l           variables (age-and smoking Siam).
      Patients will be enrolled “consecutively from each provider until the provider’s quota is met.” See id. at 2.
      377 ‘Ihe Population Council submitted data from the Spitz Study on 106 women age 35 and older and 51 patients
      under age 20. See Mifeprex Approval Letter, infra.Appendix A, at 7. Bowever, the effects and potential age-
      specific risks of the Mifeprex Regimen on women outside ‘the tested “ageraiige deserve separate consideration in
      studies with far more subjects. Approximately 279,000 girls nineteen and younger and more than 84,000 women
      over the age of 35 obtain abortions in the United States annually. See Appendix B, infra, at B-4 ($5 5 and 6). The
      Mifeprex Regimen, which directly interacts with the reproductive system, couldconceivably interfere with pubertal
      development, as discussed above, and might pose unique risks to women who are nearing the end of their
      reproductive years.
              .”


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                                                                                                              App. 000398
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             “the changesin postmarketing commitments reflect current postmarketing questions given
        .                              ,I.^     _.“__._;,_ ,   ,- ., ;. ._ :      ,
             establishment of final labeling, Medidation’Guide, and distribution system, along with

             availability of additional clinical data with the drug since 1996.“37*

                      It appears,however, that the modifications came largely in responseto the Population

       5     Council’s unwillingness to explore the ramifications of the Mifeprex Regimen. On August 18,

              1999, the Population Council acknowledged its PhaseIV commitments, but stated that “[w]e

             plan to discuss in more detail and develop a consensuswith the FDA post-NDA approva1.“37g

             The Population Council complained, for example, that “[a] prospective study of the long-term

             effects of multiple use of the regimen in all American women would be unduly burdensome,

       10    might result in an invasion of women’s privacy and would not likely produce a meaningful

             scientific result for decades.“380Similarly, the Population Council informed FDA that it was “not

             able to commit to tracking down those women who are lost to follow-up becausethis would be
                                               “’   .
             very difficult and extraordinarily expensive. We are also concernedabout the ethics of doing




             378 Mifeprex Approval Memo, infra Appendix A, at 7. FDA’s conclusion that the reduction to only two Phase IV
             studies “reflect[s] current postmarketing questions” ignores a number ofissues aboutMifeprex”that remain
             unexplored. Because mifepristone iritzrferes%im pregnancy by tiiiiit~~-fo’~e’progeste;one      receptor in the placenta,
             there is concern that the drug may affect not only the u&us, but ihe braik,‘bri?asts; ‘ad&al glands, ovariis, and
             immune cells, all of which also have progesterone receptors. Concerns that mifepristone may have a carcinogenic
             effect on breast tissue have also been expressed. See, e.g., Testimony of Dr. Joel B&d, FDA Hearings Transcript,
             infia Appendix A, at 172-175. Mifepristone also could affect the pituitary gland, the adrenal glands, and immune
             cells, all of which have glucocorticoid receptors. In addition, it is unclear whether a woman who undergoes multiple
             mifepristone-misoprostol abortions could suffer adverse effects. See AC,QG Practice‘Bulletin, &$-a Appendix A,
             at 9 (“No well-designed prospective studies address the issue of repeat medical abortion.“). Questions also remain
             about possible effects on the children born to women~who’have terminateda previous pregnancy ivith the Mifeprex
             Regimen. See, e.g., P. Van der Schoot and R. Baumgarten, ‘^‘Effects ofTreatment of”Male^‘and”F&n&e Rats in
                                                                                                                _,“.. .
             Infancy with Mifepristone on Reproductive Function in Adulthood,” Jou~~;l~~f~~~~~~~~~~~‘a~dFertilig’ 30
             (1990): 255-66 (finding that rats exposed to mifepri&rne in theirinfancy suffered mfertiiity in’aduhhood)[FDA
             FOIA Release: MIF 907165- 0071761.
             37g Medical Officer’s Review, infra Appendix A, at 24 (quoting from the Population Council’s submission to FDA
             onAug. 18, 1999).
             380 Medical Officer’s Review, infra Appendix A, at 24 (quoting from the Population Council’s submission to FDA
             on Aug. 18, 1999); see also Mifeprex Approval Memo at 7 (agreeing with the Population Council’s reasoning).
“..-                             .!          ,_ , /         \..-..        . . .:‘_ ,    < .


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                                                                                                                 App. 000399
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      this, as it could violate women’s privacy.“381The Population Council’s concernsabout privacy
                                                                    /. ,.
      lack merit. Patients who participate in clinical trials give their consentto participate and to be

      -monitored, thus eliminating concernsabout privacy. Similarly .’ FDA should not have accorded

      undue weight to the Population Council’s protestations about the potential expenseof the trials;

5     drug sponsors,who stand to profit from a drug’s sales,are responsible for bearing the expenses

      incurred in establishing the safety and efficacy of a drug.382

               FDA’s acquiescencein the Population Council’s reduction in its PhaseIV commitments

      compounded the Agency’s earlier failure to require the sponsorto conduct clinical trials in

      accordancewith the requirements of Section 3 14.126 of FDA’s rules. FDA’s inadequately

10    justified curtailment of the sponsor’s PhaseIV study commitments was arbitrary, capricious, an

      abuseof discretion, or otherwise not in accordancewith law:




      381 Medical Officer’s Review, irzfia Appendix A, at 24 (quoting from the Population Council’s submission to FDA
      on Aug. 18, 1999). The necessity of long-term monitoring is particularly’critical to compensate for the unusually
      short tracking periods employed m-the U~S.‘Cl&al Trial; in’which’investigators &nerallydiclnot        track.‘patients
      after their third visit.’ See Spitz Article; infia Appendix A,‘at 1242: “Poilowfup was extended beyond visit 3 if there
      was uncertainty about the completeness of the abortion or if bleeding persisted.” Id. ‘Five ‘percent of the participants
      in the U.S. ClinicalTrial were not tracked through the third visit (which would have occurred on Day 15) because
      they failed to return for it, suggesting that each of these women was last seen on Day 3; only 2 days after the initial
      administration of mifepristone. Se& Medical Officer’s Review, infia Appendix A, at 10. Abbreviated follow-up
      periods run counter to ICH standards, which state that in clinical~trials of drugs intended foruse during pregnancy,
      “followup of the pregnancy, fetus, and child is very important.“’ FE4 %Zd&z& (ICX:‘E8)~‘?&i%i~
      Considerations, infia Appendix A, 62 Fed. Reg. at 66117 (Q 3.1.4.3) (“Special populations”).
      382 In fact, the sponsors of Mifeprex received substantial outside funding to support their efforts. See “Mifepristone:
      FDA Approval Imminent, Advocates Predict,” Kaiser Daily Reproductive He&h Report (Sept. 28,200O) (available
      at: ~http://www.kaisemetork.org/reports/200’(’i~~cd                              Laboratories; LLC!; a small’New
      York-based company, will market the drug with funding from billionaire”flnancier WarrenBuffet and hedge-fund
      czar George Soros and a $10 million loan from the David and Lucile Packard Foundation.“); Sharon Bernstein,
      “Persistence Brought Abortion Pill to V.S.,” Los Angeles Times(Nov. 5,‘2000): at Al @he Population Council
      raised $16 million from like-minded foundations, including the Open Society Institute of New York, which iS the
      philanthropic arm of billionaire George Soros, and the California-based Kaiser Family Foundation.“).



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                                                                                                          App. 000400
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                                           ;_.        IV. PETITIONERS
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                                                                            . . .__.>                                                                ’”

                      The Petitioners respectfully inform FDA that they may file amendmentsto this Petition

       as information becomes available from Freedom of Information Act requestsmade before the

 5     filing date of this document.383


                                                                                 V. CONCLUSION
10
                      For the foregoing reasons,the Petitioners respectfully request that the Commissioner

       immediately enter an administrative stay to halt any further distribution and marketing of

      Mifeprex until final agency action is taken on this Petition. The Petitioners also respectfully

      request that the Commissioner revoke approval of Mifeprex for the medical termination of

15    pregnancies less than 49 days’ gestation. On the basis of the evidencepresentedabove, the

      Petitioners respectfully request a full PDA’audit of the Prench and b%. ‘Clin&i Trial~.~‘~




      383 The Petitioners have filed numerous Freedom of Information Act (“FOIA”) requests with FDA that remain
      unanswered, including: 1) FOIL Request, filed by Wendy Wright, ‘Director of Communications, CWA (Aug. 3 1,
      2001) (seeking “an entire copy of FDA’s letter to the Population Council dated, or mailed, on or about June 1,2000,
      along with any attachments, appendices, and other accompanying materials”); 2) POiA Request; filed by Wendy
      Wright, Director of Communications, CWA (Aug. 3 1,200l) (seeking “an entire copy of the new drug
                                                                                   ., .
      application . . . tiled 1. . on or about March 18,1996 (NDA20-687)“)j‘3)FOIA      Request, filed by Wendy Wright,
      Director of Communications, CWA (Sept.’ 14,200l) (seeking a copy of data submitted by the.sponsor “related to the
      use of mifepristone by women over the age of thirty-five, females under the age~ofeighteen, and women who
      SmOke))   and     of   the   Phase         Iv   Study   protbcols   suiimitted   I;y    ~~~   S~b;~~~~       ~~~   ,y-pha,~~   vial   iota)-        aiid;   ‘~)“FO~




      Request, filed by Wendy Wright, Director of Communications, CWA (Feb: 6,2002) (seeking a correct listing of all
      drug applications approved pursuant to 21 C.F.R. 6 3 14.520 and documents detailing FDA’s reasoning for
      approving drugs under this section of its rules).
      384An audit of the U.S. Clinical Trial is additionally warranted because of an unusual data management decision
      made bv the Population Council with the aunarent annroval of the FDA:
                 Thank you for speaking with me the other day about our data dilemma. In response to our conversation, we
                 have decided to create two versions ‘ofour electronic database from the mifepr&one study. .The first will
                 reflect exactly the physical copies of the patient record forms, and will be used as the basis for our
                 regulatory submissions to you. The second version will closely match the f&t, particularly on safety and
                 efficacy indicators, but certain variables will be modified to create an internally consistent database that we
                 can use easily for our planned scholarly publicatiohs~ on the-topic. We will keep careful‘ track’ of the
                 changes we make and we will be able to explain them‘to an FDA ‘auditor should the need arise. One result

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                                                                                             89’

                                                                                                                                                      App. 000401
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                    This Petition for withdrawal of approval of an NDA is categorically excluded under 2 1
                                                                                          .,“,,    .:...   .,.    A,.’   .: I.
     5     C.F.R. 5 25.3 l(d). An environmental%npact statementis, thus; not required.




 10                The Economic Impact information shall be submitted only &en and $&&&ted                               by the “’

          Commissioner following review of the Petition, in accordancewith 21 CF.R. 9 10.30:




15                 On behalf of the petitioner organizations listed,below, we the undersignedhereby certify
          that, to the best of petitioners’ knowledge, this Citizen Petition is true and accurate. It includes
          all available information relevant to this Petition ‘~~~c~~~~~~~‘~~~~rm,tio;l
                                                                                      born,,favorable and
                                                           ..,d,-.
          unfavorable to Petitioners’ position in this matter.  %S,X.
                                                                   .d”..
                                                                     +.e.

20

          So executedthis /< day of August’2002.

                                                                                                    mmittee on Mifeprex
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                                                                                                                         .       ‘.


                                                                         Eau Claire, MI 49111
                                                                         Phone: (616) 921-2513
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                  of this approach     to handling th<d&tais &at“cetiai;l as$e&s’of &rfkt&e publications may diff& ‘fioti
                  tabulatigns th;at appear in our re’gulatory submissions.                       ‘”
         Letter, Charlotte Elletison, population‘ cociiicil, toi .tResacted~~~~~~~~~~~~~~~~~~~~j~~~~~~~~~
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      So executedthis /3   day of August 2002.
                                                      2h
                                                      Associate ixecutive Director
5                                                     Christian Medical Association
                                                      P.O. Box 7500
                                                      Bristol, TN 37621
                                                      Phone: (423) 844-l 000




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                                                                                App. 000403
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 So executed this 2 O”l‘day of August 2002.    \San 0l.q -z.iA;
                                              Sandy Rios President
                                              Concern&l Women for America
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                                              Suite 1luu
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                                              Washington, D.C. 20005
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                          Citizen Petition (Mifeprex) Documents



Exhibit B: Statistics Usedin the Petition.
Exhibit C: FDA’s Subpart H Webpage (Chart).
Exhibit D: Printouts from Mifeprex abortion websites illustrating deviations from the
approved regimen.
David Willman, “How a New’Policy ‘Led to Seven Deadly Drugs,” Los Angeles Times
(Dec. 20,200O): at Al.
Kit R. Roane, “Repladement Parts: How the FDA Allows Faulty, and Sometimes




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Medical Aborfion with Mifepristone or Metbotrexate: Overview and Protocol
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Abortion with Mifepristone or Methotrexate: Overview and Protocol Recommendations
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Age for Medical Abortion Vary with Transvaginal Ultrasonographic Criteria,” American




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.Gyneco/ogists 26 (April 2001)(“ACOG Practice Bulletin”).



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                                Citizen Petition (Mifeprex) Documents                                                       2




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(May 31,200l): Al.                                                                                                      R
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Associated with Misoprostol Misuse in First Trimester of Pregnancy,” The Lancet 351
(1998): 1624-27.                                                                                                        T
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                               EXHIBIT 16

 FDA Letter to Population Council re NDA (Feb. 18, 2000)




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                               EXHIBIT 17

      FDA Approval Letter for Mifeprex (Sept. 28, 2000)




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                               EXHIBIT 18

  FDA Approval Memo to Population Council re NDA 20-
             687 Mifeprex (Sept. 28, 2000)




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                               EXHIBIT 19

     2003 Citizen Petitioners' Response to Opposition
    Comments filed by The Population Council, Inc. and
                     Danco Labs, LLC




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 October 10, 2003


 VIA HAND DELIVERY


 Dockets Management Branch
 U.S. Food and Drug Administration
 Document Control Room
 5630 Fishers Lane, First Floor
 Room 1061 (HFA-305)
 Rockville, Maryland 20852

         Re:      Docket No. 02P-0377
                  Response to Opposition Comments filed by The Population Council, Inc. and
                  Danco Laboratories, LLC

         We submit these comments on behalf of The American Association of Pro Life
 Obstetricians and Gynecologists (“AAPLOG”), the Christian Medical Association (“CMA”), and
 Concerned Women for America (“CWA”) (collectively, “the Petitioners”), in response to
 Opposition Comments filed by the makers/distributors of Mifeprex™ (mifepristone) 200 mg
 tablets (NDA 20-687).1 In particular, The Population Council, Inc. (“the Council”) and Danco
 Laboratories, LLC (“Danco”) (collectively, “the Sponsor”) submitted comments on March 13,
 2003 opposing the Citizen Petition and Request for Administrative Stay (“Petition”) filed by the
 Petitioners on August 20, 2002.2

         Not surprisingly, the Council and Danco ask the Food and Drug Administration (“FDA”)
 to maintain the status quo, so that they can continue to sell Mifeprex, a “non-surgical” alternative
 to abortion. By contrast, the Petitioners seek to protect women from the unknowing use of a
 dangerously unsafe drug by pursuing an immediate stay and withdrawal of FDA’s approval of
 the new drug application (“NDA”) for mifepristone.

       Although opposing comments were inevitable, the Petitioners are concerned that the
 Sponsor has refused to acknowledge any problems regarding the safety, effectiveness and overall



 1
  Opposition of The Population Council, Inc. and Danco Laboratories, LLC to Citizen Petition and Request for
 Administrative Stay Regarding Mifeprex® (Mifepristone), Docket No. 02P-0377 (March 13, 2003) (“Opposition
 Comments”) (available at: <http://www.fda.gov/ohrms/dockets/dailys/03/Mar03/031303/031303.htm>).
 2
   Citizen Petition of the American Association of Pro Life Obstetricians and Gynecologists, the Christian Medical
 Association, and Concerned Women for America, Request for Stay and Repeal of the Approval of Mifeprex
 (mifepristone) for the Medical Termination of Intrauterine Pregnancy through 49 Days’ Gestation, Docket No. 02P-
 0377 (filed Aug. 20, 2002) (available at: <http://www.aaplog.org/newscitizenpetitionru486.htm>).




                                                                                                  App. 000430
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 medical suitability of the Mifeprex Regimen.3 The Petitioners are not surprised, however, that
 the Sponsor has failed to produce medical-scientific data and adequate explanations for the
 administrative irregularities described in the Petition. This failure is consistent with the
 Petitioners’ contention that the clinical data in support of the Mifeprex Regimen are scarce, not
 the product of adequate and well-controlled trials, and cannot support a reasoned risk-benefit
 analysis by FDA. Instead, the available evidence points to the fact that Mifeprex should never
 have been approved by FDA.

         We have set forth below our responses to the Sponsor’s Opposition Comments, along
 with additional evidence that the safety and effectiveness of Mifeprex have not been established
 in accordance with FDA’s regulations. In particular, the drug, which was not lawfully entitled to
 consideration under Subpart H, could not have been approved apart from that provision’s special
 distribution restrictions; the clinical trials relied on to support the NDA were legally and
 clinically insufficient; the inclusion of misoprostol in the Mifeprex Regimen without a
 corresponding misoprostol approval was unlawful; and the Regimen’s use is inherently unsafe,
 as proven by recent life-threatening adverse events and even deaths. With this evidence, FDA is
 both statutorily empowered and obligated to grant an Administrative Stay to suspend the
 Mifeprex NDA approval and expedite withdrawal proceedings.

 I.      The Safety and Effectiveness of Mifeprex Have Not Been Established in Accordance
         with FDA’s Regulations.

         FDA’s approval of a drug product must rest on the Agency’s conclusion that the drug is
 safe and effective for its labeled conditions for use. In the case of Mifeprex, the Petitioners
 previously provided evidence that the NDA should not have been approved, and the Sponsor’s
 Opposition Comments did not rebut that evidence. In fact, as described below, although the
 Opposition Comments reiterate the Sponsor’s confidence in the safety and efficacy of the
 Mifeprex Regimen, they also expose the dearth of pre- or post-approval evidence for that
 position. Consequently, given the body of evidence now before FDA, the Agency should
 withdraw its approval of the Mifeprex NDA at this time.

         A.       Subpart H Enables FDA to Place Special Restrictions on Especially Risky
                  Drugs like Mifeprex.

         Although Petitioners maintain their original position that FDA’s reliance on Subpart H
 was unlawful for this drug, the Sponsor’s response that Mifeprex could have been approved
 alternatively under Section 505 is incorrect. The Sponsor’s Opposition Comments repeat an
 argument that the Sponsor made when it was trying to convince FDA not to use Subpart H – that
 “[t]he restrictions FDA imposed under Subpart H could as well have been imposed (and
 enforced) under Section 505 [of the FD&C Act]4 itself, without reference to Subpart H.”5 The

 3
  When FDA approved the Population Council’s NDA for mifepristone, it approved the drug for use in conjunction
 with misoprostol. In this Response, “Mifeprex Regimen” will refer to the combined use of Mifeprex and
 misoprostol to effect an abortion.
 4
   Federal Food, Drug, & Cosmetic Act of 1938 (“FD&C Act”), Pub. L. No. 75-717, 52 Stat. 1040 (1938) (codified
 as amended at 21 U.S.C. §§ 301 et seq.).




                                                                                               App. 000431
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 fact that FDA proceeded under Subpart H suggests that the Agency did not subscribe to this
 argument. Indeed, had FDA taken this position, it would not have promulgated the restricted
 distribution prong of Subpart H,6 but would simply have relied on Section 505 to impose
 restrictions. When FDA adopted Subpart H, it noted that “the restrictions to ensure safe use
 contemplated for approvals under [Subpart H] are authorized by statute.”7 FDA went on to
 explain that Subpart H would enable the Agency to impose on drugs restrictions “necessary to
 ensure that section 505 criteria have been met, i.e., restrictions to ensure that the drug will be
 safe under its approved conditions of use.”8 Additional restrictions are necessary because
 Mifeprex and other Subpart H drugs carry greater risks than drugs approved through the typical
 new drug approval processes.9 In short, when FDA adopted Subpart H, it added a new tool to its
 regulatory toolbox enabling it to approve drugs that otherwise could not have been approved
 because the safe usage mandates in Section 505 would not have been satisfied.10 Therefore, the
 Sponsor errs in asserting that the approval of the Mifeprex NDA is independently grounded in
 Section 505(d).

          The Sponsor also claimed that its cooperation with FDA to devise restrictions obviates
 the need to rely on Subpart H.11 The Sponsor’s unfailing confidence in the safety of mifepristone
 even in the face of scientific evidence to the contrary is part of the reason that restrictions under
 section 505 could not be effective. The Sponsor’s bias in favor of Mifeprex clouds its analysis of
 the inherent hazards of the Regimen. In fact, the Sponsor refused to participate in devising
 restrictions that were designed to protect Mifeprex patients.

        As “evidence” of its cooperation, the Sponsor pointed to the restricted distribution plan it
 proposed to an FDA advisory committee in 1996.12 The FDA Advisory Committee’s reaction to
 5
  See Opposition Comments at 3 (citing 21 U.S.C. § 355). See also Letter, Sandra Arnold to FDA/CDER, Office of
 Drug Evaluation III, Division of Reproductive and Urologic Products (Sept. 6, 2000): at 3-5 [FDA FOIA Release:
 MIF 001333-49].
 6
      21 C.F.R. § 314.520.
 7
   New Drug, Antibiotic, and Biological Product Regulations; Accelerated Approval, Final Rule, 57 Fed. Reg.
 58942, 58951, § 20 (Dec. 11, 1992) (“Subpart H Final Rule”).
 8
   Subpart H Final Rule, 57 Fed. Reg. at 58951, § 20. See also New Drug, Antibiotic, and Biological Product
 Regulations; Accelerated Approval, Proposed Rule, 57 Fed. Reg. 13234, 13237, sec. III.B.3. (April 15, 1992)
 (“Subpart H Proposed Rule”) (noting that without Subpart H restrictions, the drug “would be adulterated under
 section 501 of the act, misbranded under section 502 of the act, or not shown to be safe under section 505 of the
 act”).
 9
   See Subpart H Final Rule, 57 Fed. Reg. at 58952, § 23 (“The postmarketing restrictions set forth in the proposal
 and in this final rule are intended to enhance the safety of a drug whose risks would outweigh its benefits in the
 absence of the restriction.”).
 10
    FDA explained that “rather than interfering with physician or pharmacy practice, the regulations permit, in
 exceptional cases, approval of drugs with restrictions so that the drugs may be available for prescribing or
 dispensing.” Subpart H Final Rule, 57 Fed. Reg. at 58951-52, § 20.
 11
      See Opposition Comments at 5-6.
 12
   See Opposition Comments at 4. The Sponsor was referring to a plan presented to FDA’s Reproductive Health
 Drugs Advisory Committee (“FDA Advisory Committee”). See FDA Advisory Committee, Hearings on New Drug
 Application for the Use of Mifepristone for Interruption of Early Pregnancy, at 7 (July 19, 1996) (FDA Hearings
 Transcript)[FDA FOIA Release: MIF 005200-90, MIF 005209]. The Petitioners will, at times, cite to documents



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 the proposal, however, reveals its inadequacy; the Advisory Committee stated that “[w]e agree in
 concept with the proposal but have serious reservations on how it is currently described in terms
 of assuring safe and adequate credentialing of providers.”13 The Sponsor also cited to its
 “comprehensive distribution plan” submitted in January 2000 and to its revised distribution plan
 submitted to FDA in March 2000.14 The Sponsor indicated in its January 2000 submission that it
 was providing the proposal only “in light of the unique situation surrounding abortion provision
 in the United States and not out of any medical safety concerns,”15 and the March 2000
 submission was prefaced with a denial that mifepristone was “a highly toxic and risky drug.”16
 However, as the Petition explained, the plans that the Sponsor submitted on both occasions were
 not designed with the safety of the patient in mind and when FDA proposed a set of restrictions
 that focused on patient safety, the Sponsor balked.17 Further, even if the Sponsor had
 participated willingly in drawing up restrictions that embodied key safeguards for patients, FDA
 could not necessarily expect similar cooperation from future generic producers of mifepristone.18

            Conclusion

         As explained above, the Mifeprex approval cannot rest independently on Section 505(d)
 of the FD&C Act. The Sponsor refused to acknowledge that there are serious risks associated
 with the Mifeprex Regimen, let alone to propose restrictions designed to counteract those risks.
 FDA approved Mifeprex under Subpart H in order to impose mandatory safety restrictions on the
 distribution and use of the drug. That being said, the proper course would have been for FDA to
 have rejected the NDA because Mifeprex is unsafe and ineffective under Section 505 and fails to
 satisfy the Subpart H prerequisites that it treat a serious or life-threatening illness and provide a
 meaningful therapeutic benefit above existing treatments.19



 contained in FDA’s January 31, 2002 public release of documents (approximately 9,000 pages in 94 files) made
 pursuant to a Freedom of Information Act (“FOIA”) request (“FDA FOIA Release”) filed by the non-profit
 organization, Judicial Watch. These bracketed citations will reflect the page numbering FDA has stamped on the
 bottom of each page of the document cited, for example: [FDA FOIA Release: MIF 000001-05]. The FDA webpage
 posting the 94 files is: <http://www.fda.gov/cder/archives/mifepristone/default.htm>.
 13
   FDA Advisory Committee, Minutes of July 19, 1996 Meeting (approved July 23, 1996): at 7 [FDA FOIA
 Release: MIF 000539-45, MIF 000545] (citing statement voted on unanimously by the FDA Advisory Committee).
 14
      See Opposition Comments at 4-5.
 15
   Amendment 039 to the NDA, Cover Letter, Danco to FDA (Jan. 21, 2000): at 1 [FDA FOIA Release: MIF
 000525-26, MIF 000525]. The Sponsor’s reference to the “unique situation surrounding abortion provision in the
 United States” reveals the Sponsor’s primary concern in proposing restrictions, namely that the safety and
 confidentiality of abortion providers be maintained, not that patient safety be maximized.
 16
   Responses by Population Council to “FDA Letter, [redacted] to Arnold, Sandra (February 18, 2000)” (Mar.
 2000): at 1 [FDA FOIA Release: MIF 000523-24, MIF 000523].
 17
      See Section I.D. herein; see also Petition at 50-54.
 18
    See FDA, Memorandum, re: NDA 20-687 (Feb. 17, 2000): at 3 [FDA FOIA Release: MIF 000583-85, MIF
 000585] (“Subpart H approval will also allow the FDA to impose similar distribution restrictions and system on any
 future generic mifepristone approved for this indication.”).
 19
      See Petition at 18-23 (explaining why Mifeprex was an inappropriate candidate for Subpart H).




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            B.          The Mifeprex Clinical Trials Were Legally and Clinically Insufficient.

         The Petition describes numerous problems that plagued the clinical trials underlying the
 approval of Mifeprex. The Sponsor’s Opposition Comments, rather than demonstrating the
 sufficiency of the clinical trial data that formed the basis for the Mifeprex NDA, heightened the
 Petitioners’ concerns about the legal and clinical sufficiency of the French and U.S. Clinical
 Trials (collectively, “Mifeprex Trials”). First, a close reading of the Sponsor’s Opposition
 Comments reveals that the Mifeprex Trials were not historically controlled but, rather, were
 uncontrolled.20 Second, even if the Mifeprex trials were historically controlled, as the Sponsor
 maintains, the use of historically controlled trials to support this NDA violated clearly
 established FDA rules and agency policies.21 Finally, the Sponsor’s additional arguments in
 support of the scientific adequacy of the Mifeprex trials do not answer the objections presented
 in the Petition. Untested by adequate clinical trials, the Mifeprex Regimen cannot be deemed to
 be safe and effective; accordingly, the marketing of Mifeprex must be halted.

                        1.     The Mifeprex Trials Were Uncontrolled.

         A review of the record regarding the scope and methodology of the trials, prompted by
 the Sponsor’s defense of the Mifeprex Trials,22 reveals that the trials used to support the
 Mifeprex NDA were not historically controlled, but were uncontrolled.23 The Petition cited to
 the discussion between a member of FDA’s Advisory Committee and an FDA official in which
 the Mifeprex Trials were characterized as “historically” controlled.24 The Petitioners noted,
 however, that the Mifeprex Trials appeared to have been uncontrolled.25

        The French Clinical Trials consisted of two studies in which all participants were given a
 mifepristone-misoprostol regimen, and no concurrent control group underwent a different
 abortion treatment.26 The Sponsor did not describe any historical (or “external”) control group,27
 20
    Because the Mifeprex Regimen was the first drug regimen that FDA approved to induce abortions, in order to
 scientifically demonstrate the safety and effectiveness of this drug regimen, the Sponsor should have compared this
 new drug regimen to surgical abortions performed during the first 49 days after a woman’s last menstrual period.
 21
    The Petitioners believe that a longitudinal analysis of all past occasions on which FDA accepted uncontrolled and
 historically controlled trials as an adequate basis for an NDA and all past occasions on which it has rejected the use
 of uncontrolled or historically controlled clinical trials would demonstrate the inadequacy of the clinical trials
 underlying this NDA. FDA is uniquely qualified to perform such an analysis.
 22
      See Opposition Comments at 6-9.
 23
    One consequence of the failure to conduct properly controlled trials is that a statistical evaluation of effectiveness
 could not be made. As FDA’s statistical reviewer noted, with reference to the French trials: “[i]n the absence of a
 concurrent control group in each of these studies, it is a matter of clinical judgment whether or not the sponsor’s
 proposed therapeutic regimen is a viable alternative to uterine aspiration for the termination of pregnancy.” See
 FDA, Statistical Review and Evaluation (May 21, 1996): at 7-8.
 24
   Petition at 36, n.168 (referring to statements by Dr. Cassandra Henderson, a member of the FDA Advisory
 Committee, and FDA’s Dr. Ridgely C. Bennett at the Advisory Committee Hearings).
 25
      Petition at 35.
 26
    Letter, C. Wayne Bardin, Population Council, to FDA/CDER (June 5, 1995) (Submission Serial Number: 131) at
 3-4 (“Bardin Letter”)[FDA FOIA Release: MIF 004746-47]. The patients in the French Clinical Trials took 600 mg
 of mifepristone followed by 400 µg of misoprostol. In one of the French Clinical Trials, some patients received an



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 nor did the Sponsor indicate that any of the well-established scientific guidelines for selecting a
 proper control group before commencing a historically controlled study were used for the French
 Clinical Trials.28 The Sponsor, nevertheless, informed FDA that “[a]ll studies conducted with
 mifepristone in the induction of abortion can be regarded as having historical controls which
 consist of the body of information available on abortion using surgical procedures.”29 This
 observation appears to be the only basis for the Sponsor’s claim that the French Clinical Trials
 were historically controlled, and it is inadequate.

         The U.S. Clinical Trial mimicked the design of the French Clinical Trials.30 All
 participants were given a mifepristone-misoprostol regimen, and no concurrent control group
 underwent a different abortion treatment. Descriptions of the U.S. Clinical Trial do not mention
 a control group, historical or otherwise, or the procedures according to which a control group
 was selected.31 The absence of any reference to a control group suggests that the U.S. Clinical
 Trial was not historically (externally) controlled.32

         The Sponsor’s failure to precisely identify a historical control group is fatal to its claim
 that the Mifeprex Trials were historically controlled. Postulating the existence of some generic,



 extra 200 µg of misoprostol if the first 400 µg was not sufficient to complete the abortion. The approved Mifeprex
 Regimen consists of 600 mg of mifepristone followed by 400 µg of misoprostol.
 27
      Bardin Letter at 3-4.
 28
   FDA guidance lists “some approaches to design and conduct of externally controlled trials could lead them to be
 more persuasive and potentially less biased:”
            A control group should be chosen for which there is detailed information, including, where pertinent,
            individual patient data regarding demographics, baseline status, concomitant therapy, and course on study.
            The control patients should be as similar as possible to the population expected to receive the test drug in
            the study and should have been treated in a similar setting and in a similar manner, except with respect to
            the study therapy. Study observations should use timing and methodology similar to those used in the
            control patients. To reduce selection bias, selection of the control group should be made before performing
            comparative analyses; this may not always be feasible, as outcomes from these control groups may have
            been published. Any matching on selection criteria or adjustments made to account for population
            differences should be specified prior to selection of the control and performance of the study.”
 FDA, “Guidance for Industry: E10 Choice of Control Group and Related Issues in Clinical Trials,” (Rockville, Md.:
 May 2001): at 27 (§ 2.5.2) (ICH: E10). ICH: E10 is available at: <http://www.fda.gov/cder/guidance/4155fnl.pdf>.
 29
      Bardin Letter at 4.
 30
   For a description of the U.S. Clinical Trial, see Irving M. Spitz, M.D., C. Wayne Bardin, M.D., Lauri Benton,
 M.D., and Ann Robbins, “Early Pregnancy Termination with Mifepristone and Misoprostol in the United States,”
 New England Journal of Medicine 338 (Apr. 30, 1998): 1241-47 (“Spitz Article”) [FDA FOIA Release: MIF
 006692-97].
 31
      See, e.g., Spitz Article.
 32
    The Spitz Article does compare two groups, patients who are differentiated by the age of their pregnancies, but a
 comparison of that type does not generate data about whether mifepristone-misoprostol abortions are safe and
 effective. To the extent the Sponsor believed that a correlation existed between the age of the pregnancy and the
 safety and efficacy of mifepristone-misoprostol abortions, any historical control group that the Sponsor used should
 have been classified by, among other characteristics, gestational age.




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 undefined comparison group based on the literature about surgical abortion does not suffice.33 In
 sum, the Mifeprex Trials were uncontrolled and cannot support the Mifeprex NDA.34

                   2.       Mifeprex Is Not a Drug for Which Historically Controlled Trials Were
                            Appropriate.

         Assuming arguendo, as the Sponsor maintains, that the Mifeprex Trials were historically
 controlled, they were nevertheless not adequately controlled and did not provide an adequate
 basis for approving the Mifeprex NDA. In its Opposition Comments, the Sponsor erroneously
 suggested that “historically controlled” trials yield data of the same quality as data generated in
 concurrently controlled trials.35 In fact, the scientific community (and FDA specifically) regard
 historically controlled studies to be little better than uncontrolled studies and, therefore, generally
 disfavor their use with a few well-defined exceptions.36

        Mifepristone-misoprostol abortions do not fall within any of those exceptions. The
 Rochester Glossary states that historical controls are “mainly used in the study of rare diseases”
 in which sample size would not be sufficient to support a randomized clinical trial.37 This
 exception is inapplicable because the number of pregnant women seeking to terminate their
 pregnancies is large enough to support randomized, concurrently controlled trials. Section
 314.126(b)(2)(v) of FDA’s rules cautions that the use of historical controls is “usually reserved

 33
    In addition, the Sponsor, in its Opposition Comments, invented a historical control group ex post facto by
 comparing the rate of spontaneous abortions in the general population of pregnant women with the rate of abortions
 in patients who underwent a mifepristone-misoprostol regimen during the Mifeprex Trials. See Opposition
 Comments at 6-7 (“In these major studies, 92-95% of the 2508 women evaluated for efficacy had complete
 abortions … . By comparison, the rate of spontaneous abortion in the first trimester is assumed to be about 10%.”).
 Using the general population as a historical control group and retrospectively assuming a rate of spontaneous
 abortion in this group is not a scientifically acceptable approach to identifying a control group, particularly when, as
 here, an established surgical treatment group could have been used as the control group.
 34
    Section 314.126(e) of FDA’s rules states that “[u]ncontrolled studies or partially controlled studies are not
 acceptable as the sole basis for the approval of claims of effectiveness.” 21 C.F.R. § 314.126. A publicly available
 FDA staff presentation about clinical trials illustrates this point. The presentation explained, under the heading
 “Phase 3 – Comparative trial to evaluate drug,” “Comparator group important – Standard of care, placebo, never
 nothing in serious or life-threatening diseases (ICH E3, E9, E10).” See Peter A. Lachenbruch, “Some Things You
 Always Wanted to Know about Clinical Trials but Were Afraid to Ask,” Slide Presentation for CBER 101: An
 Introduction to the Center for Biologics Evaluation and Research (CBER) (March 24-26, 2003): at 5 (emphasis in
 original) (available at: http://www.fda.gov/cber/summaries/cber101032403pl.pdf).
 35
      See Opposition Comments at 6-8.
 36
    For example, the Research Subjects Review Board of the University of Rochester Medical Center authored a
 guidance document, which states that “[h]istorical controls are considered to be the least reliable because they
 compare results obtained in another time, in another place and by another investigator.” University of Rochester
 Medical Center, Research Subjects Review Board, “Glossary of Research Terms,” at 2 (“Rochester Glossary”)
 (available at: http://www.urmc.rochester.edu/rsrb/pdf/glossary.pdf ). Similarly FDA has explained, “[t]he
 limitations of historical controls are well known (difficulty of assuring comparability of treated groups, inability to
 blind investigators to treatment, etc.) and deserve particular attention.” FDA/CDER, Guideline for the Format and
 Content of the Clinical and Statistical Sections of an Application (July 1988): at 54.
 37
    Rochester Glossary at 2 (“Historical controls are mainly used in the study of rare diseases where the n is not
 sufficient for a randomized clinical trial.”).




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 for special circumstances” and cites “studies of diseases with high and predictable mortality (for
 example, certain malignancies) and studies in which the effect of the drug is self-evident (general
 anesthetics, drug metabolism).”38 Mifepristone-misoprostol abortions do not fit within either of
 these categories. First, the Regimen does not treat a condition with “high and predictable
 mortality.” Second, the effects of the Regimen are not “self-evident” as in the case of general
 anesthetics. The Sponsor’s discussion of the adequacy of its trial data reflects the Sponsor’s
 fundamental misconception that there are only two possible outcomes of the Mifeprex Regimen,
 both of which are self-evident: regimen failure (failed abortion) and regimen success (death and
 complete expulsion of the fetus). The Sponsor’s focus on this dyadic set of possibilities (failure
 (0) or success (1)) obscures a whole range of less easily measurable, but critically important,
 outcomes. Such outcomes include tissue retention, life-threatening hemorrhaging, persistent
 bleeding, infection, teratogenicity, pain, continued fertility, and psychological effects.

        The Sponsor’s reliance on FDA Guidance, ICH: E10, is also misplaced.39 Although ICH:
 E10 includes a discussion of situations in which externally controlled trials may be used, it also
 warns of their inherently problematic nature.40 The Sponsor’s reliance on the acknowledgement
 in ICH: E10 that historical controls are appropriate in some circumstances is misplaced. ICH:
 E10 explains:

            An externally controlled trial should generally be considered only when prior
            belief in the superiority of the test therapy to all available alternatives is so strong
            that alternative designs appear unacceptable and the disease or condition to be
            treated has a well-documented, highly predictable course. It is often possible,
            even in these cases, to use alternative, randomized, concurrently controlled
            designs (see section 2.1.5).41


 38
      21 C.F.R. § 314.126(b)(2)(v) provides:
            Historical control. The results of treatment with the test drug are compared with experience historically
            derived from the adequately documented natural history of the disease or condition, or from the results of
            active treatment, in comparable patients or populations. Because historical control populations usually
            cannot be as well assessed with respect to pertinent variables as can concurrent control populations,
            historical control designs are usually reserved for special circumstances. Examples include studies of
            diseases with high and predictable mortality (for example, certain malignancies) and studies in which the
            effect of the drug is self-evident (general anesthetics, drug metabolism).
 39
      Opposition Comments at 7.
 40
    See ICH: E10 at 29 (§ 2.5.7)(“The externally controlled study cannot be blinded and is subject to patient,
 observer, and analyst bias; these are major disadvantages. It is possible to mitigate these problems to a degree, but
 even the steps suggested in section 2.5.2 cannot resolve such problems fully, as treatment assignment is not
 randomized and comparability of control and treatment groups at the start of treatment, and comparability of
 treatment of patients during the trial, cannot be ensured or well assessed. It is well documented that externally
 controlled trials tend to overestimate efficacy of test therapies. It should be recognized that tests of statistical
 significance carried out in such studies are less reliable than in randomized trials.”). See also Henry Sacks, Ph.D.,
 M.D., Thomas C. Chalmers, M.D., Harry Smith, Jr., Ph.D., “Randomized Versus Historical Controls for Clinical
 Trials,” The American Journal of Medicine 72 (Feb. 1982): 233-240, 233 (“The data suggest that biases in patient
 selection may irretrievably weight the outcome of [historical controls] in favor of new therapies.”).
 41
      ICH: E10 at 28 (§ 2.5.4).




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 Even proponents of mifepristone-misoprostol abortions would not argue that such abortions are
 superior to alternative methods of abortion.42 In fact, the Mifeprex Regimen has been shown to
 be an inferior method of abortion.43 Absent a clear belief in the Regimen’s superiority,
 concurrently controlled trials should have been performed.44 Furthermore, pregnancies often do
 not follow a “well-documented, highly predictable course.”45 Mifepristone-misoprostol
 abortions do not satisfy either prong of the ICH: E10 prerequisite for the use of historically
 controlled studies.46

                    3.       The Mifeprex Clinical Trials Did Not Establish a “Meaningful and
                             Therapeutic Benefit” As Required By Subpart H.

          Drugs, like Mifeprex, approved pursuant to Section 314.520 (Subpart H) of the Agency’s
 rules,47 must provide a “meaningful therapeutic benefit to patients over existing treatments.”48
 Subpart H drugs “will have had effectiveness demonstrated on the basis of adequate and
 well-controlled studies.”49 The Sponsor argued that “meaningful therapeutic benefit” does not
 impose design features for the clinical trials required to support an NDA approved pursuant to
 Subpart H.50 The Sponsor’s position is inconsistent with the plain meaning of the rule. Subpart
 H is reserved for drugs that have a higher risk profile than drugs approved through standard FDA
 processes. A meaningful therapeutic benefit over available therapies justifies the heightened
 risks, and only well-controlled clinical trials can demonstrate that such a benefit exists.51

 42
    See, e.g., Richard Hausknecht, M.D., “Mifepristone and Misoprostol for Early Medical Abortion: 18 Months
 Experience in the United States,” Contraception 67 (2003): 463-65, 465 (“Hausknecht Article”) (“Which approach
 to early abortion, medical or surgical, is safer remains unknown but it does appear that medical abortion is as safe as
 early surgical abortion. There are no recent data on failed surgical abortions but the failure rate of
 mifepristone/misoprostol medical abortions is higher than that reported decades ago for suction curettage.”)
 43
   Petition at 21-22 (discussing Jeffrey T. Jensen, Susan J. Astley, Elizabeth Morgan, and Mark D. Nicols,
 “Outcomes of Suction Curettage and Mifepristone Abortion in the United States: A Prospective Comparison Study,”
 Contraception 59 (1999): 153-159 [FDA FOIA Release: MIF 000438-44]).
 44
    The Petitioners believe that trials comparing mifepristone-misoprostol abortion with the surgical alternative were
 not conducted for precisely this reason (i.e., such trials would have demonstrated that mifepristone-misoprostol
 abortions were inferior). Because of its inferiority, the Mifeprex Regimen is contraindicated.
 45
    Even though pregnancy occurs regularly, complications arise during pregnancy on a frequent basis (e.g.,
 approximately 2% of pregnancies are ectopic and others involve such complications as high blood pressure, ruptured
 placenta, infection, cysts, abnormal pain, anemia, and fetal malposition).
 46
    Even if mifepristone-misoprostol abortion were deemed to be an acceptable candidate for historically-controlled
 testing, the Sponsor should have attempted to devise concurrently controlled trials anyway. ICH: E10 states that
 even when historically controlled testing may be appropriate, “[i]t is often possible … to use alternative,
 randomized, concurrently controlled designs.” ICH: E10 at 28 (§ 2.5.4).
 47
      21 C.F.R. § 314.520.
 48
      21 C.F.R. § 314.500.
 49
      See Subpart H Final Rule, 57 Fed. Reg. at 58953, § 25.
 50
      Opposition Comments at 8.
 51
    The Sponsor also argued that by the time FDA decided to approve Mifeprex using Subpart H, the Sponsor had
 completed the Mifeprex Trials and that FDA could not have required the Sponsor to modify the trial design and
 perform new trials for Subpart H purposes. See Opposition Comments at 9, n. 4. FDA is under no obligation to



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         The Sponsor argued that two of the examples of “meaningful therapeutic benefit” listed
 in Section 314.500 (“ability to treat patients unresponsive to, or intolerant of, available therapy”)
 present situations in which comparative trials with the existing therapy are not feasible.52 Yet,
 sponsors who intend their drugs to treat unresponsive or intolerant patients are not exempt from
 the requirement to conduct “well-controlled” trials. In fact, Subpart H trials are routinely
 designed to compare, in unresponsive or intolerant patients, the safety and effectiveness of the
 new therapy with either the standard of care or a placebo.53

         The Sponsor further claimed that FDA “routinely approves Subpart H drugs on the basis
 of study designs that do not compare the Subpart H drug directly to existing therapy.”54 In
 support of this claim, the Sponsor offered one example, the Subpart H approval of the leprosy
 drug, Thalomid (thalidomide).55 That example is inapposite because the Thalomid NDA was
 supported by three controlled trials despite the existence of factors that might have supported an
 exemption from the standard trial requirements.56 In one of the three underlying trials,
 thalidomide plus the standard treatment was compared against the standard treatment alone plus
 a placebo.57 This study design allowed for a meaningful statistical analysis of the effectiveness
 of this drug in comparison with the current available standard of care – in direct contrast to the
 faulty study designs and minimal statistical analysis associated with the Mifeprex NDA.

            Conclusion

          By statute and agency regulation, drug applications must be supported by adequate and
 well-controlled studies. The failure of the Sponsor to offer legally and scientifically sufficient
 trial data should have been fatal to its NDA and now requires withdrawal of that approval.58

 approve an NDA at all, let alone to approve an NDA based on insufficient trial data. It is not uncommon at any
 stage of the NDA review process for FDA to require a drug sponsor to correct or amend an NDA by conducting
 properly designed and executed studies. Had the sponsor followed standard scientific norms and performed
 randomized, concurrently controlled trials comparing mifepristone-misoprostol abortion with surgical abortion it
 would have been able to supply comparative data.
 52
   See Opposition Comments at 8-9. Mifepristone-misoprostol abortions do not fall within either of these examples.
 Because surgical abortion, the standard of care, is the backup procedure if the Mifeprex Regimen fails, ipso facto the
 Regimen cannot be used to treat patients unresponsive to or intolerant of the standard of care.
 53
    Furthermore, in this instance, the Sponsor did not attempt to test the drug in populations that it identified as
 intolerant or unresponsive and, indeed, the Mifeprex Regimen is not an option for patients unresponsive to or
 intolerant of surgical abortion because surgical abortion is the back-up procedure for Mifeprex patients.
 54
      Opposition Comments at 9.
 55
      NDA 20-785.
 56
     The fact that leprosy is a rare disease in the U.S. makes it difficult to perform clinical trials. In addition, there are
 compassionate reasons for not awaiting the results of randomized, double-blinded comparator controlled clinical
 trials before treating patients suffering from leprosy. The fact that well-controlled trials were employed despite the
 existence of these mitigating factors is evidence of the value that the scientific community places on well-controlled
 trials.
 57
    See Petition at 39 (discussing the thalidomide trials). In one study, all participants received either thalidomide or
 a placebo in addition to the standard dapsone treatment.
 58
      See Petition at 30-35 (discussing statutory and regulatory requirements for clinical trials).



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           C.      The Inclusion of Misoprostol in the Mifeprex Regimen Was Unlawful.

         The Mifeprex Regimen combines the use of mifepristone and a second drug, misoprostol
 (Cytotec™). Although FDA never approved misoprostol as a stand-alone abortifacient, it
 approved misoprostol for use as an abortifacient in combination with mifepristone and mandated
 this use in the Mifeprex Package Insert. As explained in the Petition, FDA effectively
 sanctioned the use and promotion of misoprostol for an unapproved indication.59 The promotion
 of an unapproved use contradicts the FD&C Act, which takes the position that “a drug
 manufacturer may not promote [its] product for any use other than the ones for which the
 company received FDA approval.”60

         In its Comment, the Sponsor defended the de facto approval of misoprostol for a new
 indication as an abortifacient and asserted that “FDA routinely approves drugs for use in
 combination with previously approved drugs without requiring any change in the labeling of the
 previously approved drug.”61 The Sponsor denied that this practice “puts either FDA or the
 sponsor of the later-approved drug in the position of ‘promoting’ off-label use of the previously
 approved drug.”62 The Sponsor offered four examples to support its position that this practice is
 not uncommon.63

        In fact, the Sponsor’s four examples support the position set forth in the Petition that
 subsequently approved drugs (Drug Bs – like Mifeprex) may reference previously approved
 drugs (Drug As – like misoprostol) on Drug B’s labeling only for FDA-approved indications.64


 59
    See Petition at 41-48. The drug’s manufacturer, G.D. Searle & Co. (“Searle”), did not file a supplemental NDA
 to obtain approval for misoprostol’s use as an abortifacient. Searle has subsequently been purchased, most recently,
 by Pfizer. See Petition at 42, n.188.
 60
   See Elizabeth A. Weeks, “Is It Worth the Trouble? The New Policy on Dissemination of Information on Off-
 Label Drug Use under the Food and Drug Modernization Act of 1997,” Food and Drug Law Journal 54 (1999):
 645-65, 645.
 61
      Opposition Comments at 9.
 62
      Opposition Comments at 10.
 63
      Opposition Comments at 9-10.
 64
    The first example offered by the Sponsor is the approval by FDA on September 10, 2001 of the combination of
 Xeloda (capecitabine) and Taxotere (docetaxel) for treating patients with metastatic breast cancer that has
 progressed after treatment with an anthracycline-containing cancer therapy. FDA initially approved Xeloda, an oral
 therapy, for the treatment of breast cancer on April 30, 1998, and FDA approved Taxotere, an intravenous product,
 for the treatment of advanced breast cancer on May 15, l998. See FDA Press Release, “FDA Approves Xeloda in
 Combination with Taxotere for Advanced Breast Cancer” (Sept. 10, 2001) (available at:
 <http://www.fda.gov/bbs/topics/ANSWERS/2001/ANS01101.html>). Thus, when Xeloda and Taxotere are used
 together, each is being used for an FDA-approved use.
           The Sponsor’s second example is FDA’s approval on July 15, 1999 of Actos to improve glycemic control
 in patients with Type 2 diabetes. Actos is indicated as a monotherapy and for use in combination with a
 sulfonylurea, metformin, or insulin “when diet and the single agent does not result in adequate glycemic control.”
 Letter, FDA/CDER to Mikihiko Obayashi, President, Takeda America Research & Development Center, Inc. (July
 15, 1999). When used alone or together to treat Type-2 diabetes, each drug is being used for one of its FDA-
 approved indications.



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 Each example describes drug products that are being used in combination to treat indications
 approved for the single drugs at issue.

         Upon close examination, the Sponsor’s four examples underscore the fact that FDA’s
 approval of mifepristone for use in combination with misoprostol, a drug never approved as an
 abortifacient, constitutes a significant departure from FDA precedents. As Professor Richard
 Merrill explained, “[i]n FDA’s view, to promote any use of [its] new drug, the manufacturer
 must have agency approval – allowing that use to be included in the official labeling.”65 The
 approval in this instance struck at the heart of FDA’s long-held policy that in order for a new
 drug use to be promoted, the drug’s sponsor must submit an application seeking to demonstrate
 the safety and effectiveness of that new use.66 It defies logic to imagine that Danco could be
 allowed to do with misoprostol what Searle could not do with its own drug – that is, promote an
 unapproved use of misoprostol. Yet, that activity is exactly what FDA permitted in Mifeprex’s
 case. FDA’s regulatory framework would be rendered toothless if third parties were permitted to
 behave in this manner.

         In fact, Searle, which held the patent for misoprostol,67 apparently objected to adding an
 indication for abortion to the Cytotec label. Searle’s objections were overridden because only
 the combined regimen was effective. As the Sponsor explained, “[t]he fact is that mifepristone
 used as contemplated in 1983 was a failed drug – it was not sufficiently efficacious to have ever
 been approved.”68 Perhaps to avoid having to obtain Searle’s cooperation, in an unprecedented

           The Sponsor’s third example is FDA’s approval on October 26, 2001 of Viread (tenofovir disoproxil
 fumarate), a nucleotide reverse transcriptase inhibitor of HIV, for combined use with other antiretroviral agents for
 the treatment of HIV-1 infection in adults. The antiretroviral agents with which Viread is to be used have separately
 been approved for the treatment of HIV. Letter, FDA/CDER to Rebecca Coleman, Gilead Sciences, Inc. (Oct. 26,
 2001) (NDA 21-356). The fact that Viread was not approved for use as a monotherapy in the treatment of HIV does
 not alter the analysis, but rather makes it a useful comparison for mifepristone, which has been approved as an
 abortifacient only in conjunction with misoprostol. Thus, when used together, each drug is being used for one of its
 FDA-approved indications.
           The Sponsor offers as its fourth example FDA’s approval of Nexium (esomeprazole magnesium) on
 February 20, 2001 for the treatment of erosive esophagitis and other symptoms associated with GERD
 (Gastroesophageal Reflux Disease). Letter, FDA/CDER to Kathryn D. Kross, AstraZeneca, LP (Feb. 20, 2001)
 (NDA 21-153; NDA 21-154). For one of its approved indications, H. pylori eradication, Nexium is used in
 combination with amoxicillin and clarithromycin, both of which have been approved for treating H. pylori. Thus,
 when they are used in combination with Nexium, each drug is simply being used for one of its approved indications.
 65
    Richard A. Merrill, “The Architecture of Government Regulation of Medical Products,” Univ. of Virginia Law
 Review 82 (1996): 1753-1866, at 1766, n.40. As noted in the Petition, former FDA general counsel, Peter Barton
 Hutt, observed that FDA’s actions with respect to misoprostol “set[ ] an extraordinary precedent” because FDA was
 “seemingly encouraging a drug’s unapproved use.” See Petition at 42-43 (Hutt’s quotation was reported in Rachel
 Zimmerman, “Clash Between Pharmacia and FDA May Hinder the Use of RU-486,” Wall Street Journal (Oct. 18,
 2000): at B1).
 66
    A drug may be deemed “new” because of “[t]he newness of use of such drug in diagnosing, curing, mitigating,
 treating, or preventing a disease, or to affect a structure or function of the body, even though such drug is not a new
 drug when used in another disease or to affect another structure or function of the body.” 21 C.F.R. § 310.3(h)(4).
 67
   The patent for misoprostol has since expired, but at the time the Mifeprex Regimen was approved, Searle held
 exclusive rights to that patent.
 68
   Population Council Response to the Request for Revision of the Regulatory Review Period Determination for
 MIFEPREX® Submitted by Corcept Therapeutics Inc., Docket No. 01E-0363 (July 2, 2002): at 3 (“Sponsor’s



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 “joint decision” in July 1994, FDA and the Sponsor “determined that the NDA need not cover
 misoprostol as well as mifepristone.”69 The Sponsor subsequently explained, however, that
 “there can be no doubt that the approved human drug product contemplates both mifepristone
 and misoprostol, as shown in the approved labeling,”70 which “specifically states that
 administration of mifepristone must be followed by administration of misoprostol.”71 The
 Sponsor added that “FDA has made clear on numerous occasions, FDA review of an NDA is
 ‘inextricably intertwined’ with the proposed labeling for the product.”72 In so stating, the
 Sponsor speaks out of both sides of its mouth – acknowledging that combined use with
 misoprostol is necessary for Mifeprex’s effectiveness and labeling, but “agreeing” with FDA that
 a corresponding misoprostol approval is not necessary.

            Conclusion

        In summary, the inclusion of misoprostol in the Mifeprex Regimen, outside of the NDA
 approval process for misoprostol, was unlawful. In order to reverse the extraregulatory approval
 of misoprostol as an abortifacient, FDA must withdraw its approval of the Mifeprex NDA.

            D.       Mifeprex-Misoprostol Abortions Are Not Safe.

         The Sponsor continued in its Opposition Comments to defend the safety of Mifeprex, but
 has not allayed the concerns set forth in the Petition.73 Rather than address the scientific and
 medical issues raised in the Petition, the Sponsor has mischaracterized them. As discussed
 above, the trials submitted by the Sponsor to support its NDA did not establish the safety of
 mifepristone-misoprostol abortions, and post-approval data on the Regimen have done no better -
 - serving only to raise the Petitioners’ concerns about the safety of the Mifeprex Regimen.

                     1.      FDA Determined that Mifeprex Would Be Unsafe without Restrictions.

         FDA approved mifepristone under the restricted distribution prong of Subpart H, which
 FDA reserves for drugs that “can be used safely only if distribution or use is modified or
 restricted.”74 Accordingly, the Mifeprex Regimen includes a number of restrictions.75 As the

 Response to Corcept”). In this document, the Sponsor responded to Corcept’s June 10, 2002 request that FDA
 consider 1983 rather than August, 4, 1994 as the starting date for the regulatory review of the Mifeprex
 investigational new drug application (“IND”). The Sponsor sought to convince FDA that the appropriate period for
 determining patent length began on August 4, 1994, the date of the IND that allowed for the investigation of
 mifepristone plus misoprostol to induce abortions. The Sponsor did not obtain the patent extension that it sought.
 The initial ruling in the Population Council’s favor was reversed by FDA. See Note, Determination of Regulatory
 Review Period for Purposes of Patent Extension; Mifeprex; Amendment, 67 Fed. Reg. 65358 (Oct. 24, 2002).
 69
      Sponsor’s Response to Corcept at 2.
 70
      Sponsor’s Response to Corcept at 3.
 71
      Sponsor’s Response to Corcept at 2.
 72
      Sponsor’s Response to Corcept at 2-3 (citation omitted).
 73
      See Opposition Comments at 10-14.
 74
      Subpart H Final Rule, 57 Fed. Reg. at 58942 (“Summary”).




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 Petition explained, however, these restrictions were inadequate to make the drug safe.76
 Moreover, the Sponsor never acknowledged the inherent dangers posed by the approved
 Mifeprex Regimen, balked at implementing distribution restrictions, and dismissed out of hand
 the challenges about the adequacy of the restrictions to reduce the dangers of the Mifeprex
 Regimen.77 Now that it has FDA’s imprimatur to market the drug, the Sponsor takes minimal, if
 any, actions to carry out the required restrictions.78

         Additionally, FDA’s final decision to omit key restrictions from the approved Regimen
 has subjected patients who use the Mifeprex Regimen to unnecessary risks. A pre-procedure
 ultrasound, for example, is necessary to evaluate the gestational age because the Mifeprex
 Regimen has been shown to be less effective and riskier to the patient as gestational age
 increases.79 Ultrasound is also necessary to identify women whose pregnancies are ectopic and
 who should not undergo the Mifeprex Regimen.80 Further, because complications and failures
 are common and predictable and can seriously endanger the health of the patient, FDA should



 75
    For a list of the restrictions, see Letter, FDA/CDER to Sandra P. Arnold, Population Council (Sept. 28, 2000): at
 2 (“Mifeprex Approval Letter”). The Sponsor contends in its Opposition Comments that it cooperated with FDA by
 proposing restrictions. See Opposition Comments at 10-11. This contention reflects the Sponsor’s failure to
 distinguish between restrictions on the distribution of a drug to prescribing physicians and restrictions designed to
 ensure patient safety. Furthermore, contrary to the Sponsor’s suggestion that decisions about the restrictions in the
 Mifeprex Regimen were the product of “discussion, negotiation, give and take, debate, even on occasion disputes,
 between FDA and the Sponsors [that] is characteristic of the review process for many drugs” (Opposition Comments
 at 11), the Sponsor went to great lengths to avoid including safety restrictions in the Mifeprex Regimen. In fact,
 after the Sponsor failed to suggest appropriate restrictions to protect Mifeprex patients, FDA proposed its own set of
 restrictions. Then, the Sponsor complained publicly about the allegedly onerous restrictions. FDA relented and
 inappropriately eliminated a number of key restrictions. See Petition at 49-57 for a discussion of the development of
 and the Sponsor’s opposition to safety restrictions.
 76
      See Petition at 57-65.
 77
    See Opposition Comments at 10. The Petition did not assert that the approved regimen must exactly follow the
 regimen employed during the trials. Nevertheless, if trials include important safeguards that are omitted from the
 approved regimen, then the relevance of the data generated by those trials is undermined. For this reason, a trial
 should be designed to reflect the anticipated conditions under which a drug will be used. See Petition at 75-76. For
 example, had the Sponsor designed the trial to reflect anticipated conditions of use, misoprostol probably would
 have been administered vaginally during the trials, which appears to be the standard method of administration now
 that the Mifeprex Regimen is approved. Had the trial protocol called for vaginal administration, it would have
 drawn attention to the unlawful inclusion of misoprostol in the Regimen because misoprostol is approved only for
 oral use. As FDA has explained, “[i]n order to change or add a new dosing regimen to the labeling, the sponsor
 must submit data to FDA from clinical trials that show the new regimen is safe and effective.” See FDA,
 “Mifepristone Questions and Answers 4/17/2002” (“FDA Q & As”) at Question 9 (“Why are physicians using
 misoprostol ‘off-label,’ in other words, using misoprostol virginally at different doses?”) (available at:
 <http://www.fda.gov/cder/drug/infopage/mifepristone/mifepristone-qa_4_17_02.htm>).
 78
      See Section I.D.3, herein.
 79
      See Spitz Article at 1241 (“Results”).
 80
    The Sponsor’s Opposition Comments addressed the use of ultrasound only for the purpose of dating pregnancies.
 As explained in the Petition, ectopic pregnancies cannot be treated by the Mifeprex Regimen and the symptoms of
 ectopic pregnancy are likely to be mistaken as the normal effects of undergoing a Mifeprex abortion. For a more
 complete discussion of the necessity of using ultrasound to identify ectopic pregnancies, see Petition at 60-61.




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 have required prescribing physicians to be trained in mifepristone-misoprostol administration
 and surgical abortions and to have admitting privileges at a nearby emergency facility.81

        FDA determined that Subpart H restrictions were necessary because, without them,
 mifepristone-misoprostol abortions were not safe. Thus, the Petitioners’ concerns with the
 Regimen’s safety rest on the belief that the weakness of the Regimen’s restrictions is inconsistent
 with FDA’s decision to approve the drug under Subpart H.

                   2.       Post-approval Evidence Confirms that the Approved Distribution
                            Restrictions Were Insufficient to Adequately Protect Patients.

         The Sponsor’s analysis inaccurately characterized the post-approval experience with the
 Mifeprex Regimen.82 A number of life-threatening adverse events experienced by Mifeprex
 patients caused FDA to work with the Sponsor to issue a letter to health care providers.83 The

 81
    In fact, FDA proposed to include such restrictions in the Mifeprex Regimen. The set of restrictions proposed by
 FDA on June 1, 2000, would have required physicians prescribing Mifeprex to be “trained and authorized by law” to
 perform surgical abortions, to be trained in administering the Mifeprex Regimen and handling resulting adverse
 events, and to have “continuing access (e.g., admitting privileges) to a medical facility equipped for instrumental
 pregnancy termination, resuscitation procedures, and blood transfusion at the facility or [one hour’s] drive from the
 treatment facility.” See FDA, “FDA Proposed Restricted Distribution System for NDA 20-687 on 6/1/00” (June 1,
 2000) [FDA FOIA Release: MIF 000522]. See also American College of Obstetricians and Gynecologists,
 “Analysis of the Possible FDA Mifepristone Restrictions” (July 27, 2000): at 1 (setting forth FDA’s second
 proposed restriction, which is redacted in the publicly available copy of FDA’s proposal; also providing the redacted
 portion of the fifth restriction)[FDA FOIA Release: MIF 001366-69].
 82
     Opposition Comments at 10, 13-14. The Sponsor pointed to a recent article authored by the medical director of
 Danco, Dr. Richard Hausknecht, as evidence that Mifeprex is safe. See Opposition Comments at 10 (citing
 Hausknecht Article); regarding Dr. Hausknecht, see also Petition at 71, n.309. Unfortunately, the article, which
 reports on the drug’s use in the United States since approval, relies on data that are incomplete and of questionable
 quality. First, reliable data as to the number of patients who have undergone the Mifeprex Regimen is not available.
 Dr. Hausknecht used a figure of 80,000, which was derived from “sales figures [for Mifeprex] and known patterns
 of mifepristone utilization.” Hausknecht Article at 464. This number may be too high as it may not take into
 account drugs that were ordered but not used. Second, the number of adverse events reported is likely to be
 significantly underestimated. Abortion clinics, which (according to Dr. Hausknecht’s estimates) carried out
 approximately 90% of Mifeprex abortions, may have a disincentive to report adverse events from a procedure that
 they promote and may be less likely than physicians in private practice to report adverse events. In addition, it is
 likely that many patients were lost to follow up. In the U.S. Clinical Trial, 106 of the 2,121 patients (or nearly 5%)
 did not return for their third required visit. A higher “lost to follow up” number is to be expected outside of the
 clinical setting. Finally, the article’s descriptions of the adverse events that were reported generally appear to be
 incomplete and tend to downplay any possible connection with the Mifeprex Regimen. For example, the article
 explained that a twenty-one year old woman had suffered a coronary artery occlusion five days after she received
 misoprostol. See Hausknecht Article at 464, col. 2. The article provided few details about her Mifeprex abortion
 and pointed to her “strong family history of heart disease” without also mentioning that there are no data on the
 safety of the Mifeprex Regimen in women with cardiac problems and these women were excluded from the Clinical
 Trials. In sum, an objective assessment of the safety and efficacy of mifepristone-misoprostol abortions would
 require a concurrently-controlled, randomized comparison of a mifepristone-misoprostol regimen reflecting actual
 conditions of use with surgical abortion. The Sponsor did not conduct or provide data from such trials in support of
 its application and Dr. Hausknecht’s article – a very general overview without the first-hand, patient-level detail
 necessary to scientifically assess the safety of the Mifeprex Regimen – does not fill this void.
 83
   Danco Laboratories, Open Letter to Health Care Providers (Apr. 19, 2002) (“Dear Doctor Letter”) (available at:
 <http://www.fda.gov/medwatch/SAFETY/2002/mifeprex_deardoc.pdf>).




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 Petition discussed these life-threatening adverse events which included ruptured ectopic
 pregnancies, serious systemic bacterial infections, and a coronary event.84 The Sponsor, in its
 Opposition Comments, insisted that “FDA has not found any causal connection” between the
 Mifeprex Regimen and these adverse events.85 However, the clear implication of the issuance of
 the Dear Doctor Letter and FDA’s accompanying “Questions and Answers” is that such a causal
 link does exist.

         The serious adverse events reported to date are consistent with concerns about the drug
 regimen that were expressed prior to the approval.86 The recent death of Holly Patterson, an
 eighteen year old from Livermore, California, unfortunately epitomizes the concerns of the
 Petitioners.87 According to Ms. Patterson’s father, at the time of his daughter’s death, she was
 terminating her pregnancy with a Mifeprex Regimen prescribed by the Planned Parenthood in
 Hayward, California. Apparently, Ms. Patterson started the abortion procedure on Wednesday,
 September 10, 2003, by taking mifepristone tablets. On Saturday, September 13, 2003, she
 apparently took the misoprostol that the clinic had given her. By Sunday she was having such
 severe cramping and bleeding that her boyfriend took her to the emergency room. Ms. Patterson
 received pain killers and was sent home, but she continued to bleed severely and experienced
 acute pain that prevented her from walking. Early Wednesday, September 17, 2003, Ms.
 Patterson’s boyfriend took her back to the emergency room, where she died that afternoon.

          According to Mr. Patterson, the doctor told him that his daughter “hadn’t aborted all the
 fetus, and she had fragments left in her, and she had a massive systemic infection and went into
 septic shock.”88 The results of the coroner’s investigation are not expected to be released for
 several months, but Ms. Patterson’s apparent death of a serious systemic bacterial infection is not
 the first such death since FDA approved Mifeprex. As noted above, the Dear Doctor Letter


 84
    See Petition at 65-71. As the number of mifepristone-misoprostol abortions rises, the number of serious adverse
 events associated with these abortions is likely to increase as well. Because the normal progression of the Mifeprex
 Regimen is characterized by prolonged bleeding, the patient bears the responsibility for determining how much
 bleeding is excessive and whether she needs to seek medical assistance. Health care providers who are not
 experienced providers of abortion, generally, or mifepristone-misoprostol abortions, specifically, may be poorly
 equipped to assist the patient in determining whether medical intervention is necessary, let alone to provide the
 needed medical intervention.
 85
      See Opposition Comments at 13.
 86
   See Americans United for Life et al., Citizen Petition (Feb. 28 1995) (requesting FDA’s consideration of a
 number of potential hazards of mifepristone-misoprostol abortions) [FDA FOIA Release: MIF 006144-6248].
 87
    Julian Guthrie, “Pregnant Teen’s Death Under Investigation; East Bay Woman Had Taken RU-486, According to
 Father,” San Francisco Chronicle (Sept. 19, 2003): at A21 (available at: http://www.sfgate.com). See also Gina
 Kolata, “Death at 18 Spurs Debate Over a Pill for Abortion,” New York Times (Sept. 24, 2003): at A24 (“There were
 264 adverse reactions, including infections, bleeding, allergic reactions and tubal pregnancies.”).
 88
     Id. See also Julian Guthrie, Sabin Russell, and Katherine Seligman, “After Daughter’s Death, Father Wants Close
 Look at RU-486; Abortion Pill’s Safety Defended by Doctors as Better than Surgery,” San Francisco Chronicle (Sept.
 20, 2003): at A17 (available at: http://www.sfgate.com/cgi-bin/article.cgi?file=/chronicle/archive/2003/09/
 20/BA310011.DTL) (“Patterson said the attending physician at Pleasanton’s Valley Care Medical Center told him his
 daughter had died of septic shock – a severe bacterial infection. ‘The doctor told me she had fragments of the fetus
 still left in her uterus and that caused the infection.’”).




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 reported “[t]wo cases of serious systemic bacterial infection (one fatal).”89 The presence of
 retained products of conception can lead to the development of intrauterine or systemic infection,
 and it is possible that mifepristone could potentiate this possibility via negative effects on
 immune system function or normal protective mechanisms.90

         In addition to questions about Mifeprex causation in this case, questions also have been
 raised about the role that Ms. Patterson or her local hospital emergency room may have played in
 contributing to her death.91 These questions cannot be answered without recognizing that
 patients and emergency room physicians may be unable to distinguish the normal progress of the
 Regimen from a life-threatening situation. Consequently, it is not at all clear that emergency
 rooms will be able to rescue dangerously ill Mifeprex patients from the peril in which they have
 been placed by the Regimen. Consider the plausible scenario described in the footnote below.92
 The severity of the reported adverse events requires FDA action to remove Mifeprex from the
 market.
 89
   Dear Doctor Letter at 1. The fatality apparently precipitated a halt in the Population Council’s clinical trials of
 mifepristone in Canada.
 90
    Given the nature of the Mifeprex Regimen, the embryo or other products of conception will not be expelled from
 the uterus in a number of cases. It is well known that the presence of retained necrotic products of conception can
 lead to intrauterine and systemic infection. Furthermore, it is possible that mifepristone itself may alter the local
 immune response at the level of the endometrium or the cervix. There are numerous alterations of the immune
 system during pregnancy, and progesterone can affect immune system function. Therefore, it is plausible that a
 progesterone receptor antagonist like mifepristone could negatively affect the normal immune system within the
 uterus, or compromise antibacterial mechanisms of the cervix, making a woman more susceptible to infection. See,
 e.g., World Health Organization (WHO), “Pregnancy Termination with Mifepristone and Gemeprost: A Multicenter
 Comparison between Repeated Doses and a Single Dose of Mifepristone,” 56 Fertility & Sterility 32-40 (1991)
 (29.4% of patients with incomplete abortion compared with 2.6% of those with complete abortion received
 antibiotics during a six week follow-up period for suspected genitourinary infection; both groups combined
 accounted for 3.9% of the total study population).
 91
    See, e.g., Gina Kolata, “Death at 18 Spurs Debate Over a Pill for Abortion,” New York Times (Sept. 24, 2003): at
 A24 (“But it is unclear what happened to Holly Patterson. Did she have enough medical supervision while taking
 the pills? When did she seek medical attention? Did she wait until it was too late? Did she tell the doctors in the
 emergency room that she had taken mifepristone? Why, in fact, did she die?”).
 92
     A patient comes to the emergency room complaining of significant pelvic pain and cramps. She reports that she
 has taken Mifeprex and misoprostol for a medical abortion. At this time, she has no significant change in vital signs
 (i.e., no fever or very low grade fever – which can be related to misoprostol – and no significant tachycardia, etc.).
 The emergency room physician, knowing that this drug combination normally causes cramping at this stage in the
 process, assumes she has a personal low pain tolerance threshold, and, therefore, gives her pain medications to try to
 alleviate her discomfort until the abortion completes. However, the patient may be in the early stage of an
 intrauterine infection even though she is not yet manifesting other signs of that condition aside from pain and
 bleeding which are both part of the Mifeprex abortion process. At this stage, the emergency room physician has no
 good way to detect that an infection has begun. Furthermore, even if the emergency room physician found evidence
 of retained tissue in the uterus, the physician would not be surprised or alarmed by that discovery given the nature of
 mifepristone-misoprostol abortions. Unless the patient had significant hemorrhaging or evidence of infection, no
 intervention would be necessary or even warranted since one would presume that the abortion was going according
 to plan at that juncture (recall that bleeding can last up to several weeks duration). So to continue this hypothetical
 scenario, the patient goes home, and the infection subsequently becomes systemic. The patient goes into septic
 shock and is not able to be saved by the time she re-presents to the emergency room. It would not be surprising if
 Ms. Patterson’s death followed such a course given statements made to the press by her father. In this credible
 scenario the Mifeprex Regimen, after having placed her in great danger, effectively camouflaged the seriousness of
 her condition from the emergency room physician.




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         Furthermore, FDA cannot rely on the “spotty” reporting of adverse events for the
 Mifeprex Regimen. The usual flow of post-approval adverse event information will not be
 forthcoming for this drug. It is questionable whether individual lawful distributors of Mifeprex,
 who tend to be outside the mainstream pharmaceutical wholesale distribution industry, will
 routinely report adverse events to FDA.93 Also, because the drug is intended to be administered
 in physicians’ offices, a pharmacist is unlikely to dispense the product or hear of drug-drug and
 drug-food interactions, or other adverse events. Moreover, the types of facilities that provide
 medical and surgical abortions are often staffed with social-work counselors and health care
 workers who are not medical doctors and have limited medical training. As such, they may be
 unfamiliar with the adverse event reporting procedure for medical professionals (i.e.,
 MedWatch).

         Even for properly-licensed physicians, FDA’s MedWatch reporting is voluntary.94 Since
 privacy issues are often the primary concern of women who seek abortions, a physician may not
 file a MedWatch report in order to protect patient confidentiality. Accordingly, the Petitioners
 are concerned about the possibility that medical complications are not being reported. Finally, it
 is possible that other women who have suffered adverse events during a mifepristone-
 misoprostol abortion have sought assistance from crisis pregnancy centers, counselors, and
 charitable organizations,95 which may not be familiar with the MedWatch reporting system.
 Given the foregoing, the Petitioners believe that FDA’s continuing review of the safety profile of
 Mifeprex relies improperly on an incomplete database of post-approval adverse events.

                   3.       The Sponsor Has Failed to Require Adherence to the Restrictions.

         The Sponsor insisted that it “will continue, as [it] always intended, to honor [its]
 commitments to carry out the program of restrictions imposed in the approval letter.”96 Yet, the
 Sponsor has broken its promise. The Sponsor apparently has not taken steps to ensure that
 Mifeprex is used in accordance with the approved Regimen and has continued to distribute the
 drug to providers that depart from the Mifeprex Regimen. For instance, the Sponsor has
 asserted, in its Opposition Comments, the erroneous position that the guidelines in the
 Prescriber’s Agreement “do not state any specific dose or regimen for prescribing Mifeprex …
 .”97 The Sponsor’s statement reflects only one example of its continuing refusal to accept even
 FDA’s minimal restrictions issued pursuant to Subpart H.


 93
    Obviously, distributors of mifepristone who are outside the lawful channels of distribution are even less likely to
 report adverse events.
 94
      See <http://www.fda.gov/medwatch/report/hcp.htm>.
 95
   Consider Estate of Brenda Vise vs. Volunteer Women's Medical Clinic, L.L.C., et al. (Circuit Court of Hamilton
 County, Tennessee, filed August 14, 2002); Danlin Tang, Albert Ng vs. Dr. Soon Chon Sohn, Family Planning
 Associates Medical Group, and Does 1 – 50 (Superior Court of the State of California for the County of Los
 Angeles, Central District, notice to file dated December 13, 2002).
 96
      Opposition Comments at 6.
 97
      Opposition Comments at 14.




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         In the face of this recalcitrance, FDA should exercise its enforcement authority,
 investigate the Sponsor’s failed commitments under its NDA approval, and take appropriate
 action, as it has in other cases where risk management programs were deemed insufficient to
 protect patients.98 We note that, contemporaneous with the issuance of the Sponsor’s Dear
 Doctor Letter, FDA underscored the possibility that if providers “do not follow the agreement,
 the distributor may discontinue distribution of the drug to them.”99 Shortly after approving
 Mifeprex, the Agency wrote to a member of Congress and stated, “If restrictions are not adhered
 to, FDA may withdraw approval.”100

         Even assuming that the Sponsor’s responsibilities extend only as far as ensuring that the
 prescriber is adhering to the Prescriber’s Agreement, the Sponsor is failing to meet its due
 diligence obligation.101 The Prescriber’s Agreement requires, inter alia, that the prescriber “must
 fully explain the procedure to each patient, provide her with a copy of the Medication Guide and
 PATIENT AGREEMENT, give her an opportunity to read and discuss them, obtain her signature
 on the PATIENT AGREEMENT, and sign it yourself.”102 The Patient Agreement, which both
 the patient and the prescriber sign, states that the patient “believe[s] I am no more than 49 days
 (7 weeks) pregnant.”103 Yet numerous prescriber websites advertise the Mifeprex Regimen as
 being available for patients whose pregnancies have progressed beyond 49 days.104 The Patient
 98
     For example, GlaxoSmithKline voluntarily withdrew its NDA for Lotronex (alosetron hydrochloride) rather than
 accept restrictive risk management guidelines involving informing patients of risks, limiting access to closely
 monitored patients, and continued clinical research. See “FDA and Glaxo Still Working on Lotronex’s Return,”
 Dickinson’s FDA Webview (Jan. 24, 2002). Bayer voluntarily withdrew Baycol (cerivastatin) after reports of deaths
 due to severe rhabdomyolysis, when risk management efforts of labeling changes and “Dear Healthcare Provider”
 letters had little impact on physicians who continued to prescribe the drug at unrecommended higher doses. See “31
 Baycol-related Deaths Cause the Drug’s Withdrawal,” Dickinson’s FDA Webview (Aug. 8, 2001). Warner Lambert
 withdrew Rezulin (troglitzone) at FDA’s urging after label restrictions and recommended monitoring of liver
 function failed to control inappropriate prescribing. See “Rezulin Withdrawal a Defeat for FDA ‘Labeling Can Do
 It’ Theory”, Dickinson’s FDA Webview (Mar. 21,2000).
 99
       See FDA Q & As at Question 12.
 100
     See Letter, Melinda K. Plaisier, Associate Commissioner for Legislation (FDA) to Senator Tim Hutchinson (Oct.
 20, 2000): at 2 [FDA FOIA Release: MIF 002648-52].
 101
       See Opposition Comments at 14-15.
 102
       Mifeprex™ (Mifepristone) Tablets, 200 mg Prescriber’s Agreement (“Prescriber’s Agreement”).
 103
    See Item 4 of the Patient Agreement Mifeprex (mifepristone) Tablets (“Patient Agreement”). In addition, the
 Mifepristone Medication Guide (“Medication Guide”) states that you should not take Mifeprex if “[i]t has been
 more than 49 days (7 weeks) since your last menstrual period began.”
 104
     See, e.g., All Women’s Health Centers website (available at:
 <http://www.floridaabortion.com/services_abortion/nonsurgical.shtml>) (visited Sept. 5, 2003) (“Non-surgical
 abortions, sometimes called ‘medical abortions,’ are performed in the first 9 weeks of pregnancy. Non-surgical
 abortion can be administered in pill form (otherwise known as Mifeprex or RU-486).”); Family Planning Associates
 Medical Group, Phoenix and Tempe Arizona, (available at: <http://www.fpamg.com/medical.html>) (visited Sept.
 5, 2003) (noting that Mifeprex Regimens are “done until the 56th day of pregnancy”); Planned Parenthood Golden
 Gate (available at: http://www.ppgg.org/medical/abortion_medical.asp) (visited Oct. 1, 2003) (“Medical abortion is
 a way to end pregnancy without surgery. It is done with medications up to 63 days after the last period begins.”;
 Seattle Medical and Wellness Clinic (available at: <http://www.smawc.com/html/services.html>) (visited Sept. 5,
 2003) (including following description: “Medical Abortion (9 weeks LMP or less): We offer non-surgical
 abortion with Mifeprex (a.k.a. the Abortion Pill, RU486) and Cytotec (misoprostol).”).




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 Agreement also states that the patient “will take misoprostol in [her] provider’s office two days
 after [she] take[s] Mifeprex (Day 3).”105 Yet many prescribers’ websites indicate that patients
 take misoprostol at home rather than at the provider’s office.106 The discrepancies between the
 marketplace regimen being prescribed and the approved Regimen that the patient agrees to
 follow indicate that many prescribers are allowing patients to make false statements. Under its
 NDA duties, the Sponsor has an obligation to conduct due diligence about the prescribers to
 whom it sells Mifeprex, and it must stop those sales if the approved Regimen is breached.
 Furthermore, the Sponsor has a duty to keep records of these stopped distributions.107

        Given that these discrepancies are freely published on prescriber websites, the Sponsor
 should be aware of them.108 Therefore, the Sponsor knowingly continues to supply prescribers
 who are not following the guidelines in the Prescriber’s Agreement. These prescribers are
 knowingly eviscerating the requirements to provide patients with the Medication Guide, to

 105
    See Patient Agreement, Item 6. In addition, the Medication Guide states that the patient “must return to [her]
 provider on Day 3 and about Day 14” (emphasis in original).
 106
     See, e.g., Family Planning Associates Medical Group, Phoenix and Tempe Arizona, (available at:
 <http://www.fpamg.com/medical.html>) (visited Sept. 5, 2003) (explaining that “[t]he patient inserts 4 tablets of
 Misoprostol into the vagina at home 2-3 days” after ingestion of Mifeprex); Little Rock Family Planning website
 < http://www.lrfps.com/RU486.html > (visited Sept. 5, 2003) (describing the regimen employed by the clinic, which
 is “one of these regimes [sic] which has been shown to be safe and is more convenient for women using the
 method”: “Step Two, at home (or motel) … Six to 8 hours after the mifepristone pills have been swallowed 8
 Cytotec tablets are placed in the vagina. Step Three, this will depend on how far you live from our clinic: A) If
 you live within one hour of Little Rock … If you have not passed the pregnancy by 24 hours after you put the
 Cytotec tablets in your vagina, you will put a [sic] 4 tablets in your vagina and still plan to keep your appointment
 for the following week. B) If you live outside the Little Rock Area … You will return at 9AM the following morning
 to have an ultrasound to see if the abortion is complete. If the abortion is complete you will be discharged home
 and asked to take a urine pregnancy test in 3 weeks. … If you have not had a complete abortion you will be given 4
 Cytotec [sic] to place in your vagina … .”); Planned Parenthood Golden Gate (available at: <http://www.ppgg.org/
 medical/abortion_medical.asp>) (visited Oct. 1, 2003) (“Medical abortion using Mifepristone involves three steps.
 First, the doctor will give you mifepristone pills, which block progesterone, a hormone needed to maintain
 pregnancy. Two days later, as directed by your clinician, you will insert another medication called misoprostol as a
 vaginal suppository. Misoprostol causes the uterus to contract and empty which completes the abortion. Finally,
 women must return to the clinic a few days after taking the misoprostol for a follow-up.”); Women’s Health Practice
 website (available at: <http://www.womenshealthpractice.com/abortion.htm>) (visited Sept. 5, 2003) (explaining, as
 part of the medical abortion regimen that the clinic describes as “most similar to the FDA-approved regimen,” that
 “[t]he misoprostol will be provided to you with medication instructions that carefully explain the timing and route of
 administration.”).
 107
     21 C.F.R. § 314.81(b)(2) (requiring NDA sponsors to submit an annual report describing distribution data).
 State or federal agencies may need these data if patient deaths continue and the public outcry (and/or the plaintiffs’
 lawyers bar) demand investigations.
 108
     The Petition set forth a number of examples of Mifeprex provider websites that advertised noncompliance with
 the approved Mifeprex Regimen. See Petition at nn. 309, 313, 315, 317. Since the submission of the Petition, these
 websites have not been altered. (These websites were visited most recently on September 5-7, 2003. One of the
 website addresses changed and its content was updated, but it still states that “at home, the patient will insert four
 tablets [of misoprostol] into her vagina.” See <http://www.presidentialcenter.com/services_nonsurgical.html>
 (visited Sept. 7, 2003)). It appears, therefore, that the Sponsor, alerted by the Petition to these instances of
 noncompliance, has not taken any steps to require compliance with the approved regimen. Dr. Hausknecht, the
 medical director of Danco, operates one of the websites that continues to advertise a regimen that differs from the
 approved regimen. See <http://www.safeabortion.com/procedure.htm> (visited Sept. 7, 2003).




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 obtain their signatures on the Patient Agreement, and to give them the opportunity to read and
 discuss these documents. The Patient Agreement is intended by FDA to describe the Mifeprex
 Regimen as approved and to obtain the patient’s informed consent to adhere to the approved
 Regimen, all for the protection of the patient. Instead, some prescribers, with the Sponsor’s tacit
 approval, are permitting patients to sign the Patient Agreement while effectively directing them
 not to adhere to its requirements. In the face of such evidence, the Sponsor cannot be described
 as meeting its obligations with respect to the restrictions on Mifeprex.

            Conclusion

          Women are being told that Mifeprex is safe even if it is used in a manner different from
 the Regimen approved by FDA. This is a cavalier approach to distributing a drug that was
 deemed by FDA to be too dangerous to approve without restrictions. The Sponsor’s refusal to
 restrict distribution to physicians who adhere to the approved Regimen represents the
 continuation of a pattern of overlooking the risks to women’s health posed by Mifeprex. FDA
 should halt the marketing of this unsafe drug.

            E.       The Sponsor’s Revised Phase IV Commitments Are Inadequate.109

         The Sponsor’s Opposition Comments downplayed the significance of the changes prior
 to approval in the Sponsor’s Phase IV commitments.110 As noted in the Petition, those changes
 by the Sponsor relegated certain study objectives to secondary status, eliminated the commitment
 to study the long-term effects of multiple uses of the Regimen, and weakened the commitment to
 monitor the adequacy of the distribution and credentialing system.111

         The Sponsor’s insistence that the range of topics to be studied was not narrowed
 contradicts statements made by the Sponsor when it proposed modifications of its Phase IV
 commitments in September 2000.112 The Sponsor, citing feasibility concerns, decided not to
 study the long-term effects of multiple uses of the Mifeprex Regimen.113 Moreover, combining
 multiple study objectives into one study reduced the value of the data that would be generated

 109
     The Petitioners requested, pursuant to FOIA, information about the Phase IV Mifeprex study protocols and any
 data arising from the Phase IV studies submitted by the Sponsor. See FOIA Request, filed by Wendy Wright,
 Director of Communications, CWA (Sept. 14, 2001). To date, the Petitioners have not received any responsive
 information.
 110
      See Opposition Comments at 15-16. See also Letter, Sandra Arnold to FDA/CDER, Office of Drug Evaluation
 III, Division of Reproductive and Urologic Products (Sept. 15, 2000): at 1 [FDA FOIA Release: MIF 001326]
 (committing to conducting two Phase IV studies).
 111
       See Petition at 84-88.
 112
     See Letter, Sandra Arnold to FDA/CDER, Office of Drug Evaluation III, Division of Reproductive and Urologic
 Products (Sept. 6, 2000): at 5 [FDA FOIA Release: MIF 001333-49] (“As new data have become available, some of
 the studies originally proposed have become unnecessary. Other studies, on reflection, seem unlikely to gather
 useful data at any reasonable cost or, in some cases, at any cost.”).
 113
     See Memorandum, FDA/CDER to “NDA 20-687 MIFEPREX (mifepristone) Population Council” (Sept. 28,
 2000): at 7 (“Mifeprex Approval Memo”). As discussed in the Petition, the Sponsor, in asking for the elimination of
 this commitment, was motivated in part by concerns that conducting such a study would be burdensome for the
 Sponsor – a reason that is not generally persuasive with FDA. See Petition at 87.




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                                                                                                                       22

 with respect to the secondary study objectives.114 Given the importance of understanding the
 effect of a patient’s age, the effect of a patient’s smoking status, the rate of patient follow-up on
 Day 14, and the adequacy of the distribution and credentialing system, the Sponsor should not
 have been permitted to accord these study objectives secondary status.

         The Sponsor defended the changes in the study requirements by citing FDA’s approval
 memorandum for the proposition that the changes in the Phase IV Study commitments reflected
 changes to the distribution system and labeling.115 The Sponsor’s argument is misleading. By
 allowing the distribution of mifepristone to physicians who could not provide surgical
 intervention, an immediate need arose to study the effect of that major change; 116 accordingly,
 FDA added a primary study requirement.117 However, the September 2000 changes in
 distribution and labeling should have not have reduced or eliminated other primary Phase IV
 study commitments that were not related to the distribution or labeling changes.

           Conclusion

        FDA inappropriately granted the Sponsor’s request to reduce its original Phase IV
 commitments. As a consequence, key questions about the safety of the Mifeprex Regimen will
 remain unanswered.

           F.       The Approval of Mifeprex Without Supporting Pediatric Data Was Both
                    Unlawful And Imprudent.

         In its Opposition Comments, the Sponsor admitted that it did not conduct clinical studies
 in the pediatric population, but relied instead on an FDA “waiver” of pediatric testing. Yet, the
 FD&C Act and FDA’s approval regulations for NDAs require safety and effectiveness testing to
 support a new drug’s indications for use. In a case where the Sponsor does not intend to restrict
 the drug’s use in the pediatric population, FDA has only limited authority to cede the
 requirement for pediatric testing. In the case of Mifeprex, FDA’s decision to approve the NDA
 without pediatric data was arbitrary, capricious and unlawful agency action.


 114
     Specifically, the effects of age and smoking status and the frequency with which patients return for follow-up on
 Day 14 were to be studied as part of “[a] cohort-based study of safety outcomes of patients having medical abortion
 under the care of physicians with surgical intervention skills compare to physicians who refer their patients for
 surgical intervention.” See Petition at 86 (citing Mifeprex Approval Letter at 3). Furthermore, this study would be
 the only Phase IV study of another objective originally slated to be the focus of a separate Phase IV study, namely
 the adequacy of the distribution and credentialing system. See generally Mifeprex Approval Memo at 7.
 115
       See Opposition Comments at 15-16 (citing Mifeprex Approval Memo at 7).
 116
     This change was deemed significant enough to require the addition of a “black box” warning to physicians who
 could not perform surgical abortions. The black box warning directed them to make arrangements for the provision
 of emergency surgical intervention.
 117
     FDA correctly noted the need for a new study objective when it approved this change: “To ensure that the
 quality of care is not different for patients who are treated by physicians who have the skill for surgical intervention
 (as in the clinical trials) compared to those treated by physicians who must refer patients for surgical intervention,
 FDA has proposed and the Population Council has agreed to structure a Phase 4 monitoring study.” Mifeprex
 Approval Memo at 5.




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                     1.      FDA’s NDA Approval Regulations Required Pediatric Data.

         The law is clear that the clinical studies used to support an NDA must establish the drug’s
 safety and efficacy for the proposed conditions of use. Under the FD&C Act, a person may file
 an NDA requesting FDA approval of a new drug provided that the NDA contains, in relevant
 part, “full reports of investigations which have been made to show whether or not such drug is
 safe for use and such drug is effective in use . . . .”118 Likewise, FDA’s NDA approval
 regulations require “a description and analysis of each controlled clinical study pertinent to a
 proposed use of the drug.”119 This testing requirement exists separately from the so-called
 “Pediatric Rule,”120 which also delineates pediatric testing requirements.

        The Petitioners acknowledge that, as of October 17, 2002 and for the time being, FDA is
 enjoined from enforcing the Pediatric Rule.121 However, the Petitioners challenge the Sponsor’s
 contention that the issue of FDA’s proper administration of the Rule is moot, in light of the
 AAPS court’s decision to grant an appeal of the case, which is now pending.122 Rather, the
 Mifeprex NDA was subject to the Pediatric Rule, which was finalized and became effective
 while FDA was reviewing the NDA,123 and FDA should have administered it properly124 or
 waived it properly.125


 118
       21 USC § 355(b)(1)(A) (emphasis added).
 119
       21 C.F.R. § 314.50(d)(5)(ii) (emphasis added).
 120
    See Regulations Requiring Manufacturers to Assess the Safety and Effectiveness of New Drugs and Biological
 Products in Pediatric Patients, Final Rule, 63 Fed. Reg. 66632 (Dec. 2, 1998) (testing requirements set forth in 21
 C.F.R. § 314.55). See also Petition at 76-83 (discussing Pediatric Rule).
 121
       Association of American Physicians and Surgeons v. FDA, 226 F. Supp. 2d 204 (D.D.C. 2002) (“AAPS”).
 122
    The Elizabeth Glaser Pediatric AIDS Foundation and the American Academy of Pediatrics filed a motion to
 appeal on December 16, 2002. See Docket for Case No. 00-CV-2898 (entry no. 73).
 123
     The Pediatric Rule was promulgated on December 2, 1998 and became effective on April 1, 1999. FDA
 reviewed the Mifeprex NDA from March 18, 1996 until September 28, 2000, when it was approved.
 124
     Under the Pediatric Rule, FDA’s treatment of the Mifeprex NDA was improper, in part, because the agency did
 not require the Sponsor to submit supporting pediatric data. The regulation stated that, “where the course of the
 disease and the effects of the drug are sufficiently similar in adults and pediatric patients, FDA may conclude that
 pediatric effectiveness can be extrapolated from adequate and well-controlled studies in adults usually supplemented
 with other information obtained in pediatric patients, such as pharmacokinetic studies.” 21 C.F.R. § 314.55(a)
 (emphasis added). This requirement also was articulated earlier by FDA in the Prescription Labeling regulation.
 See 59 Fed. Reg. 64240 (Dec.13, 1994); 21 C.F.R. § 201.57(f)(9)(iv). As noted elsewhere in this Response, the
 Petitioners also question whether the Sponsor’s adult data were derived “from adequate and well-controlled studies.”
 125
     It should be noted that even if FDA concluded that pediatric effectiveness of the Mifeprex Regimen could be
 extrapolated from adult studies, this would not be an appropriate ground for an actual waiver of the Pediatric Rule.
 The Pediatric Rule provides three grounds for waiver from the obligation imposed by the rule on drug sponsors to
 demonstrate that their drug is safe and effective for pediatric patients. 21 C.F.R. § 314.55(c). In some instances,
 drug sponsors are able to provide sufficient adult data, usually supplemented by pediatric-specific data, from which
 pediatric safety and efficacy can be extrapolated. 21 C.F.R. § 314.55(a). FDA stated that it was waiving the
 pediatric rule with respect to Mifeprex, yet did not cite to any of the bases for waiver provided in paragraph (c) of
 the Pediatric Rule. Mifeprex Approval Letter at 3. For a comprehensive discussion on the ineligibility of Mifeprex
 for a waiver from the Pediatric Rule, see the Petition at 78-82.




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          Irrespective of the current status of the AAPS case, at the time of the approval of the
 Mifeprex NDA the Agency was obligated to meet the requirements of its NDA approval
 regulations. FDA erred in its failure to require the Sponsor to submit pertinent pediatric data and
 to assess those data in its review of the NDA for Mifeprex. In so doing, the Agency abrogated
 its role of protecting and promoting the public health and safety. This constitutes the type of
 “arbitrary and capricious” action that is generally prohibited under the Administrative
 Procedures Act (“APA”).126

                     2.       The Drug’s Expected Conditions of Use Included the Pediatric Population.

         Mifeprex is intended for use by menstruating females. The drug’s labeling states
 “Mifeprex is indicated for the medical termination of intrauterine pregnancy through 49 days’
 pregnancy.” Nothing in the “Indication and Usage” section of the labeling limits the drug’s use
 to adults.127 Likewise, Danco’s marketing claims are not targeted to a particular age group, such
 as women “over age 18.” The patient population therefore logically includes all females who
 can become pregnant – that is, as of the age their first menstrual period begins (i.e., “menarche”)
 until they no longer have a menstrual period (i.e., “menopause”). According to FDA, the
 average age of menarche in the United States is 12 years, although menstruation may commence
 in healthy females as early as age 10.128

         Under the pediatric labeling regulations, the Agency defines “pediatric population(s)”
 and “pediatric patient(s)” as the age group “from birth to 16 years, including age groups often
 called … adolescents.”129 Therefore, the population of menstruating females (i.e., 10 or 12 and
 older) and the pediatric population (i.e., up to 16) overlap by up to 6 years. Based on Danco’s
 labeling and marketing to the menstruating female population without any age restriction,
 pediatric use of this product was clearly contemplated. Because Mifeprex will be used by some
 number of adolescent girls who become pregnant, FDA should have required the Sponsor to
 produce safety and effectiveness data for the pediatric population.

                     3.       FDA Should Have Required the Submission of Pediatric Study Data
                              Prior to Approving Mifeprex.

        Under its broad authority granted by the FD&C Act, not only may FDA require the
 submission of pediatric data as part of a product’s NDA, but the Agency must require such data
 when the product’s conditions of use warrant pediatric testing. However, the Agency approved

 126
       5 USC § 706(2)(A).
 127
     Instead, the drug’s labeling contains one non-constructive statement in the “Precautions” section of the labeling:
 “Safety and effectiveness in pediatric patients have not been established.” Given the logical reading of the drug’s
 indication and the medical information on the age range of menstruation, this one sentence in a package insert of 15
 pages is valueless.
 128
    See On the Teen Scene: A Balanced Look at the Menstrual Cycle, FDA Consumer Magazine (Dec. 1993)
 (available at: <http://www.fda.gov/fdac/reprints/ots_mens.html>). In the U.S., the average age of the start of
 menopause is 51. See Taking Charge of Menopause, FDA Consumer Magazine (Nov.-Dec. 1999) (available at:
 <http://www.fda.gov/fdac/features/1999/699_meno.html>).
 129
       21 C.F.R. § 201.57(f)(9).




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 Mifeprex without requiring the Sponsor to submit pediatric data or, apparently, any review of the
 pertinent scientific literature. When approving Mifeprex based solely on the data submitted in
 the NDA (i.e., studies conducted in an adult population), FDA made the unsupported assumption
 that younger females (i.e., children and adolescents) would have the same physiological response
 to this product as adult females.130 Specifically, the Sponsor cited FDA’s conclusion that “the
 drug regimen is expected to be as safe and effective for pregnant women under the age of 18
 years as it is for those of the age of 18 ... ,” despite the Agency’s concession that most of the
 available data are from women 18 years and older.131 Further, the Sponsor noted that FDA has
 not found any “biological reason to expect that menstruating females under age 18 to have a
 different physiological outcome with the regimen.”132

         As stated in the Petition, however, FDA’s conclusion misreads the science. To assume,
 without specific data, that the effects of a potent antiprogesterone and a powerful prostaglandin
 analogue in pregnant adults will be the same for adolescents who are still developing in their
 physiologic, anatomic, and reproductive functions, is medically unsound. The relevant scientific
 evidence suggests that an assumption cannot be made that the effectiveness or safety of Mifeprex
 for adolescent girls is the same as for fully-developed adult women. Therefore, FDA’s decision
 to the contrary lacks a sound and justified scientific basis.

         Moreover, the Agency decision disregards decades of its own medical judgment. In the
 past, FDA has said that drugs should be studied directly in the pediatric population because “the
 action and adverse actions of pharmaceutical agents will vary as absorption, distribution,
 metabolism, and excretion, and receptor sensitivity are altered by the changes associated with
 growth and development.”133 For Mifeprex, these factors were not directly studied in children.

        Studying the subpopulation of adolescents is even more important, according to FDA.
 For example, “[t]he development of puberty and the known effects of sex hormones on drug
 metabolism warrant consideration in drug evaluation in the adolescent.”134 Other “special
 problems” arise from the intense concern with self-image, leading to increased use (both
 admitted and denied) of prescription and over-the-counter drugs, dietary supplements, and
 cosmetics for such purposes as altering physical growth and sexual development, regulating
 mood and behavior, and influencing physical appearance.135 FDA did not require a review of
 these adolescent-specific considerations with respect to the Mifeprex Regimen.



 130
       See Mifeprex Approval Memo at 7.
 131
    Opposition Comments at 15 (citing FDA, “Medical Officer’s Review of Amendments 024 and 033: Final
 Reports for the U.S. Clinical Trials Inducing Abortion up to 63 Days Gestational Age and Complete Responses
 Regarding Distribution System and Phase 4 Commitments,” at 28).
 132
       Opposition Comments at 15 (citing Mifeprex Approval Memo at 7).
 133
    FDA Guidance for Industry, “General Considerations for the Clinical Evaluation of Drugs in Infants and
 Children” (Sept. 1977), at 6 (hereafter, “Pediatric Study Guidance”).
 134
       Pediatric Study Guidance at 15.
 135
       See Pediatric Study Guidance at 16-17.




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        In addition, FDA has said previously that a drug’s safety profile may be different for
 adolescents because “medication may not be taken as prescribed. The adolescent frequently
 omits doses of medication, takes it at erratic intervals, and may take more than prescribed.
 Safety considerations should be addressed not only to the therapeutic dosage, but also to the
 consequences of suboptimal dosage and overdosage.”136 Given the two-drug-regimen and three-
 doctor-visit administration of the Mifeprex Regimen, a study of patient compliance issues in
 adolescents was warranted.

            Conclusion

         In summary, it is logical to conclude that Mifeprex is intended for use by a female
 population that, under the pertinent definitions adopted by FDA, includes pediatric females.
 Therefore, FDA should have required the submission of pediatric data with the NDA. Without
 any consideration of pediatric data, FDA’s approval of Mifeprex is an abrogation of its
 fundamental duty to conduct the drug approval process in a way that protects and promotes the
 public health and safety. In so doing, the Agency acted in a way that was arbitrary, capricious,
 and contrary to law and its own regulations.

 II.        FDA Is Both Statutorily Empowered and Obligated to Grant an Administrative
            Stay of the Mifeprex NDA Approval.

          The Sponsor’s Opposition Comments contain three technical objections to the request for
 an administrative stay of the Mifeprex NDA approval.137 First, the Sponsor alleges that an
 administrative stay is not the appropriate method by which FDA could withdraw the Mifeprex
 NDA. Second, the Sponsor alleges that the request is “untimely” because it was not filed within
 30 days of the effective date for the Mifeprex NDA approval. Third, the Sponsor makes a
 general allegation that the Petitioners do not meet the criteria for an administrative stay under
 FDA’s regulations. As described below, these allegations stem from an incorrect and overly
 restrictive reading of the Petitioners’ request. Instead of answering the serious substantive issues
 raised in the Petition, the Sponsor has focused on the way in which the Petitioners framed their
 request for FDA action. Even more disconcerting, the Sponsor asks FDA to place administrative
 procedures above the Agency’s statutory obligation to protect the public health.

            A.       FDA Has the Statutory Authority to Suspend the Mifeprex NDA
                     Pending the Outcome of a Decision to Withdraw the Application.

        The Petitioners’ request for administrative stay of the Mifeprex NDA approval is
 equivalent to a request for FDA to use its authority under section 505(e) of the FD&C Act to
 “suspend the approval of [the] application immediately.”138 The FD&C Act states that an NDA
 may be “suspended” whenever FDA makes a finding of “imminent hazard to the public


 136
       Pediatric Study Guidance at 15.
 137
       See Opposition Comments at 16-24.
 138
       21 U.S.C. § 355(e); see also 21 C.F.R. § 314.150(a)(1).




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 health.”139 In the Petition and in this Response, the Petitioners have provided extensive evidence
 that Mifeprex poses, under FDA’s definition, “a significant threat of danger to health, [and]
 creates a public health situation . . . that should be corrected immediately to prevent injury.”140
 Furthermore, an emergency or “crisis” situation is not required, but merely a “substantial
 likelihood that serious harm will be experienced during . . . any realistic projection of the
 administrative process.”141 In interpreting this definition, a court upheld an FDA decision similar
 to that which the Petitioners are requesting. Specifically, even though “respectable scientific
 authority [could] be found on both sides of this question”, and “much of the raw data used by the
 [Agency] in arriving at its conclusion had been available for some length of time,” these facts did
 not preclude FDA’s use of the data in finding an imminent hazard when “the magnitude of [the
 drug’s] risk was determined only after an extensive re-evaluation of the data.”142

         FDA’s authority is resolute and can be exercised immediately, notwithstanding any
 related issues regarding how the matter was initially raised (e.g., a Citizen Petition), who
 exercised the authority (e.g., HHS Secretary or FDA), and what actions follow it (e.g., notice and
 hearing).143 FDA should disregard the Sponsor’s attempt to redirect the Agency away from the
 substance of the Petition toward a focus on the administrative requirements of delegating
 authority, providing notice, and holding a hearing. Clearly, FDA’s suspension of the Mifeprex
 approval could occur during the pendency of any notice period or hearing which the Sponsor so
 forcefully claims to be entitled to under the FD&C Act, the APA and Constitutional due process
 provisions. Given the situation, the Petitioners are dismayed at the Sponsor’s insistence that its
 “property right to produce and market Mifeprex,”144 outweighs any concern for the safety of the
 patients that the Sponsor is seeking to “treat.”

         Furthermore, even if FDA finds that an imminent hazard does not exist in this case, FDA
 may still summarily withdraw approval of an NDA in certain circumstances. During its four-
 page discussion on notice and hearings, the Sponsor fails to mention that the FD&C Act’s “due
 notice and hearing” provision does not guarantee an NDA Sponsor a hearing, and also leaves
 FDA with discretion regarding the type of notice that is provided.145 Rather, FDA may proceed
 by summary judgment to withdraw an NDA in certain circumstances – for example, when there
 139
       See id.
 140
       21 C.F.R. § 2.5.
 141
    Forsham v. Califano, 442 F. Supp. 203, 208 (D.D.C. 1977) (citing Environmental Defense Fund v. EPA, 510
 F.2d 1292, 1297 (D.C. Cir 1975)).
 142
       Forsham v. Califano, 442 F. Supp. 203, 209 (D.D.C. 1977) (emphasis added).
 143
    Forsham v. Califano, 442 F. Supp. 203 (D.D.C. 1977) (on petition raised by a consumer health organization, the
 HHS Secretary referred the matter to FDA, which withdrew approval of a drug with notice but no formal hearing,
 based on a finding of imminent hazard to the public health).
 144
     Opposition Comments at 18. When the Sponsor included misoprostol as part of the Mifeprex Regimen, it did
 not demonstrate any concern for the property rights of Searle over misoprostol.
 145
     See John D. Copanos and Sons, Inc. v. FDA, 854 F.2d 510, 518, 520 (D.C. Cir. 1988) (“It is well settled that this
 [notice and hearing] provision does not guarantee the applicant a hearing in all circumstances.” and “The
 requirements of ‘due notice’ must depend upon the context of the agency’s action.”); Brandenfels v. Heckler, 716
 F.2d 553, 555 (9th Cir. 1983) (“The FDA is authorized to satisfy its own notice requirements by providing holders of
 new drug applications with either general or specific notice of opportunity for hearing.”).




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 is no genuine and substantial issue of fact, when the applicant does not meet the minimum
 regulatory requirements, or when it appears conclusively from the applicant’s pleadings that the
 applicant cannot succeed.146

         The Petitioners’ request for administrative stay contains ample evidence to support a
 finding in this case of imminent hazard or the requisite basis for summary withdrawal. Millions
 of women are being misled to believe that the Mifeprex Regimen is safe, while in actuality
 neither the data submitted in the original NDA nor the subsequent marketing history can support
 a safety profile that justifies the continued marketing of the drug product. There is simply no
 legal basis to assert that FDA lacks the authority to grant the requested remedy of a “stay” (i.e.,
 suspension) of the NDA pending resolution of a formal NDA withdrawal process.

            B.      The Request for Administrative Stay Was Timely Filed.

        An NDA is not a “static” document. Rather, it is a “living” document that is constantly
 being supplemented, updated, and reviewed by FDA.147 Therefore, FDA is constantly making a
 “decision” to allow an NDA approval to stand in light of new information that is submitted to the
 Agency. Likewise, a drug’s safety and efficacy profile and risk/benefit profile also require
 constant re-analysis by FDA. For example, over time “newer” medical evidence comes to light
 and adverse reactions are recorded in the patient population. FDA’s approval decisions on
 NDAs are not “stuck in time.” Instead, “FDA has an obligation to judge a drug’s effectiveness
 by contemporary scientific standards. If those standards change to the extent that it is
 questionable whether a drug can be regarded as having been shown to be effective, FDA may
 under the act appropriately review the drug’s status.”148

        FDA’s regulations state that a stay of action must be filed within 30 days of the “date of
 the decision involved” unless FDA permits a later filing for “good cause.”149 In this instance, the
 “decision involved” is FDA’s decision to uphold the Mifeprex NDA and to not suspend the
 approval despite the influx of new information. This decision is ongoing. The Petitioners are
 requesting that FDA “stay” that decision and suspend the NDA approval immediately in
 response to the imminent hazard presented by the Mifeprex Regimen.


 146
    See Weinberger v. Hynson, Westcott & Dunning, Inc., 412 U.S. 609, 620-1 (1973) (withdrawing approval of
 NDA without a hearing based on lack of evidence negating “new drug” status); John D. Copanos and Sons, Inc. v.
 FDA, 854 F.2d 510, 518 (D.C. Cir. 1988) (withdrawing approval of NDA without a hearing based on failure to
 comply with current good manufacturing practices); Cooper Laboratories, Inc. v. FDA, 501 F.2d 772, 780 (D.C. Cir
 1974) (withdrawing approval of NDA without a hearing based on insufficient evidence of efficacy).
 147
     See, e.g., 21 C.F.R. §§ 314.70, 314.72, 314.80, 314.81. At the very least, the Sponsor of the Mifeprex NDA is
 required to submit an annual report to FDA each year. 21 C.F.R. § 314.81(b)(2). The Sponsor’s misdirection on
 this matter is revealed by the fact that, under their interpretation of the “30 days” filing requirement, the Petitioners
 could “cure” the alleged timeliness defect by merely submitting the Petition within 30 days of any Mifeprex NDA
 Supplement or Annual Report.
 148
     50 Fed. Reg. 7452, 7488 (Feb. 22, 1985) (FDA’s rejection of an industry suggestion, on withdrawal of approval
 of an application under 21 C.F.R. § 314.150, that FDA’s conclusion concerning a drug product “should remain
 unchanged even if FDA later adopted new standards”).
 149
       21 C.F.R. § 10.35(b) (emphasis added).




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          Even if the request were considered to be “untimely” from a technical perspective, FDA
 should nevertheless still grant the requested stay pursuant to either (1) the Agency’s “imminent
 hazard” authority under section 505(e), which contains no time limitation; or (2) the “good
 cause” exception of 21 C.F.R. § 10.35(b). In fact, the “imminent hazard” authority and the
 “good cause” exception were included in the statute and regulations for the very reasons outlined
 in the Petitioners’ request. Namely, these provisions allow FDA to move quickly to protect the
 public from unsafe drug products without being slowed by overly technical readings of the
 regulations. Additionally, if FDA deemed the request to be untimely filed, the Agency still may
 stay its action on the NDA on its own initiative at any time. In other words, if FDA determines
 that the Petition’s underlying request has merit, FDA may suspend approval and/or initiate
 withdrawal proceedings independent of the Petitioners’ request.

           C.       The Petitioners Comply with the Spirit and Letter of the
                    Requirements for an Administrative Stay.

         As supported by the original submission, the Petitioners’ request for an administrative
 stay meets all of the requirements of 21 C.F.R. § 10.35(e). In particular, the Petitioners have
 demonstrated irreparable harm to American women and an overwhelming public policy reason
 for removing the Mifeprex drug product from the market. The Petitioners’ request is clearly not
 frivolous, and is being pursued in good faith. In response, the Sponsor has raised minor
 technical challenges that obfuscate and mischaracterize the issues raised by the Petitioners.
 Despite the evidence contained in the Petition concerning the harm that Mifeprex is inflicting on
 American women, and the Petitioners’ direct interest as their physicians in speaking for these
 women, the Sponsor has alleged that there is insufficient injury to justify an administrative stay.
 Specifically, the Sponsor argued that the Petitioners are not the actual injured party.150 Yet, that
 response is a mischaracterization of the Petitioners’ request. The Petition clearly stated that the
 Petitioners were seeking Agency action to prevent further injury to women seeking to terminate
 their pregnancies.151 The evidence submitted in the Petition and in this submission
 unequivocally demonstrates that women are being harmed by this drug product. In light of this
 fact, FDA is obliged to investigate whether the Mifeprex NDA approval should be suspended
 and ultimately withdrawn.




 150
       See Opposition Comments at 21-22.
 151
     Just as the Petitioners have with their Petition, patient advocacy groups routinely utilize the Citizen Petition
 process to request that FDA overturn its safety and effectiveness decision for drug products and, ultimately,
 withdraw them from the market. See Letter to FDA from AIDS Healthcare Foundation, August 19, 2003 (Docket
 number not assigned), requesting market removal of Trizivir (abacavir sulfate/lamivudine/zidovudine) due to poor
 efficacy results in post-approval clinical studies letter; Docket No. 02P-1778, Citizen Petition from Public Citizen
 and Arizona Arthritis Center, March 28, 2002, requesting market removal of Arava (leflunomide) due to patient
 deaths and severe liver failure; Docket No. 02P-0120, Citizen Petition from Public Citizen, March 19, 2002,
 requesting market removal of Meridia (sibutramine) due to patient deaths related to cardiovascular adverse effects.
 Many of these Citizen Petitions are ultimately successful. See e.g., Rezulin (troglitazone), banned March 2000 after
 a July 1998 Petition (Docket No. 98-0622); and Lotronex (alosetron HCl), banned November 2000 after an August
 2000 Petition (Docket No. 00P-1499).



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 III.   Conclusion.

         For the foregoing reasons, the Petitioners respectfully request that FDA immediately
 suspend the approval of the NDA for Mifeprex and enter an administrative stay to halt any
 further distribution and marketing of Mifeprex until final Agency action is taken to withdraw the
 NDA approval for Mifeprex. For copies of any of the reference materials cited herein, please
 contact the undersigned.

 Respectfully submitted,



 Gary L. Yingling



 Rebecca L. Dandeker




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                               EXHIBIT 20

  2011 FDA Supplemental Approval Letter to Danco Labs




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                  DEPARTMENT OF HEALTH AND HUMAN SERVICES


                                                                                   Food and Drug Administration
                                                                                   Silver Spring MD 20993

          NDA 020687/S-014
                                                                             SUPPLEMENT APPROVAL

          Danco Laboratories, LLC
                                         (b) (6)




          P.O. Box 4816
          New York, NY 10185
                           (b) (6)
          Dear                       :

          Please refer to your Supplemental New Drug Application (sNDA) dated September 16, 2008,
          received September 17, 2008, submitted under section 505(b) of the Federal Food, Drug, and
          Cosmetic Act (FDCA) for MIFEPREX® (mifepristone) Tablets. We note that NDA 020687 is
          approved under the provisions of 21 CFR 314.520 (Subpart H).

          This supplemental application provides for a proposed risk evaluation and mitigation strategy
          (REMS) for MIFEPREX (mifepristone) and was submitted in accordance with section 909(b)(1)
          of the Food and Drug Administration Amendments Act of 2007 (FDAAA). Under
          section 909(b)(1) of FDAAA, we identified MIFEPREX (mifepristone) as a product deemed to
          have in effect an approved REMS because there were in effect on the effective date of FDAAA,
          March 25, 2008, elements to assure safe use required under 21 CFR 314.520.

          We acknowledge receipt of your amendments dated December 9, 2008, November 8, 2010, and
          May 19 and 27, 2011.

          In accordance with section 505-1 of the FDCA, we have determined that a REMS is necessary
          for MIFEPREX (mifepristone) to ensure the benefits of the drug outweigh the risks of serious
          complications by requiring prescribers to certify that they are qualified to prescribe MIFEPREX
          (mifepristone) and are able to assure patient access to appropriate medical facilities to manage
          any complications.

          Your proposed REMS, as amended and appended to this letter, is approved. The REMS consists
          of a Medication Guide, elements to assure safe use, an implementation system, and a timetable
          for submission of assessments of the REMS.

          We remind you that section 505-1(f)(8) of FDCA prohibits holders of an approved covered
          application with elements to assure safe use from using any element to block or delay approval
          of an application under section 505(b)(2) or (j). A violation of this provision in 505-1(f) could
          result in enforcement action.




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          The REMS assessment plan will include the information submitted to FDA on May 27, 2011,
          and should include the following information:

                  a. Per section 505-1(g)(3)(A), an assessment of the extent to which the elements to
                     assure safe use are meeting the goal or goals to mitigate a specific serious risk listed
                     in the labeling of the drug, or whether the goal or goals or such elements should be
                     modified.
                  b. Per section 505-1(g)(3)(B) and (C), information on the status of any postapproval
                     study or clinical trial required under section 505(o) or otherwise undertaken to
                     investigate a safety issue. With respect to any such postapproval study, you must
                     include the status of such study, including whether any difficulties completing the
                     study have been encountered. With respect to any such postapproval clinical trial,
                     you must include the status of such clinical trial, including whether enrollment has
                     begun, the number of participants enrolled, the expected completion date, whether
                     any difficulties completing the clinical trial have been encountered, and registration
                     information with respect to requirements under subsections (i) and (j) of section 402
                     of the Public Health Service Act. You can satisfy these requirements in your REMS
                     assessments by referring to relevant information included in the most recent annual
                     report required under section 506B and 21 CFR 314.81(b)(2)(vii) and including any
                     updates to the status information since the annual report was prepared. Failure to
                     comply with the REMS assessments provisions in section 505-1(g) could result in
                     enforcement action.

          We remind you that in addition to the assessments submitted according to the timetable included
          in the approved REMS, you must submit a REMS assessment and may propose a modification to
          the approved REMS when you submit a supplemental application for a new indication for use as
          described in Section 505-1(g)(2)(A) of FDCA.

          Prominently identify future submissions containing the REMS assessments or proposed
          modifications with the following wording in bold capital letters at the top of the first page of the
          submission:

                  NDA 020687 REMS ASSESSMENT

                  NEW SUPPLEMENT FOR NDA 020687
                  PROPOSED REMS MODIFICATION
                  REMS ASSESSMENT

                  NEW SUPPLEMENT (NEW INDICATION FOR USE) FOR NDA 020687
                  REMS ASSESSMENT
                  PROPOSED REMS MODIFICATION (if included)

          If you do not submit electronically, please send 5 copies of REMS-related submissions.

          As part of the approval under Subpart H, as required by 21 CFR 314.550, you must submit all
          promotional materials, including promotional labeling as well as advertisements, at least 30 days



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          before the intended time of initial distribution of the labeling or initial publication of the
                                                                                                  (b) (6)
          advertisement. Send one copy to the                                                             and two
          copies of the promotional materials and the package insert directly to:

                  Food and Drug Administration
                  Center for Drug Evaluation and Research
                  Division of Drug Marketing, Advertising, and Communications
                  Food and Drug Administration
                  5901-B Ammendale Road
                  Beltsville, MD 20705-1266

          REPORTING REQUIREMENTS

          We remind you that you must comply with reporting requirements for an approved NDA
          (21 CFR 314.80 and 314.81).
                                                                                                  (b) (6)
          If you have any questions,


                                                        Sincerely,

                                                        {See appended electronic signature page}
                                                                           (b) (6)




          ENCLOSURES:
            REMS Document
            REMS Materials




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     ---------------------------------------------------------------------------------------------------------
     This is a representation of an electronic record that was signed
     electronically and this page is the manifestation of the electronic
     signature.
     ---------------------------------------------------------------------------------------------------------
     /s/
     ----------------------------------------------------
                            (b) (6)


     06/08/2011




                                                                                          App. 000464
Reference ID: 2957855
